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               JASON B. KOMORSKY – Bar No. 155677
          2    JESSICA L. BAGDANOV – Bar No. 281020
               BRUTZKUS GUBNER
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                          jkomorsky@bg.law
          6               jbagdanov@bg.law
          7    Special Litigation Counsel for
               Sarah L. Little, Chapter 7 Trustee
          8
                                         UNITED STATES BANKRUPTCY COURT
          9
                                         NORTHERN DISTRICT OF CALIFORNIA
          10
                                                      OAKLAND DIVISION
          11
               In re                                            Case No. 4:19-bk-40193-RLE
          12
               PACIFIC STEEL CASTING COMPANY LLC,               Chapter 7
          13
                                         Debtor,                Adv. No. 19-04057
          14
               ________________________________________
          15                                                    REQUEST FOR JUDICIAL NOTICE IN
               SARAH L. LITTLE, Chapter 7 Trustee,              SUPPORT OF THE TRUSTEE’S MOTION
          16                                                    FOR PARTIAL SUMMARY JUDGMENT
                                         Plaintiff,
          17   v.
                                                                Hearing:
          18   SPEYSIDE FUND, LLC, a Delaware limited
               liability company, et al.,                       Date: November 12, 2020
          19                                                    Time: 11:00 a.m.
                                         Defendants.            Place: Conducted by Court Call or Zoom
          20                                                    Judge: Hon. Roger L. Efremsky
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1           Sarah L. Little, the duly appointed and acting chapter 7 trustee (the “Trustee” or “Plaintiff”)
2    for the bankruptcy estate of Pacific Steel Casting Company LLC (the “Debtor”), pursuant to Fed. R.
3    Evid. 201, hereby requests that the Court take judicial notice of the following documents and
4    attached public records, in connection with the hearing on the Trustee’s Motion for Partial Summary
5    Judgment.
6           Plaintiff respectfully requests that the Court take judicial notice of its own files and,
7    specifically, the following documents:
8           1.      Exhibit 1: In re Second Street Properties, Case No. 14-41045, Dkt. No. 201-2, Asset
9    Purchase Agreement by and between Speyside Fund, LLC, and Pacific Steel Casting Company,
10   attached as Exhibit A to the Declaration of Charles H. Bridges, Jr., in Support of Motion to Approve
11   Overbid Procedures Re: Sale of Debtors’ Assets and Related Relief.
12          2.      Exhibit 2: In re Second Street Properties, Case No. 14-41045, Dkt. No. 1, Chapter 11
13   Voluntary Petition.
14          3.      Exhibit 3: In re Second Street Properties, Case No. 14-41045, Dkt. No. 201-1,
15   Declaration of Charles H. Bridges, Jr., in Support of Motion to Approve Overbid Procedures Re:
16   Sale of Debtors’ Assets and Related Relief.
17          4.      Exhibit 4: In re Second Street Properties, Case No. 14-41045, Dkt. No. 537,
18   Disclosure Statement for Debtors’ and Committee’s Second Amended Joint Chapter 11 Plan of
19   Reorganization dated April 30, 2015.
20          5.      Exhibit 5: In re Second Street Properties, Case No. 14-41045, Dkt. No. 204, Errata to
21   Motion to Approve Overbid Procedures re Sale of Debtors’ Assets and Related Relief.
22          6.      Exhibit 6: In re Second Street Properties, Case No. 14-41045, Dkt. No. 201, Motion
23   to Approve Overbid Procedures Re: Sale of Debtors’ Assets and Related Relief.
24          7.      Exhibit 7: In re Second Street Properties, Case No. 14-41045, Dkt. No. 227,
25   Declaration of Kevin Daugherty Regarding Good Faith by Speyside Fund, LLC in Proposed
26   Purchase of Debtor’s Assets [11 U.S.C. §363(m)].
27          8.      Exhibit 8: In re Second Street Properties, Case No. 14-41045, Dkt. No. 220, Order
28   Approving Overbid Procedures re Sale of Debtors’ Assets and Related Relief.



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1              9.    Exhibit 9: In re Second Street Properties, Case No. 14-41045, Dkt. No. 269, Order
2    Approving Motion to Approve Sale of Substantially All Assets Free and Clear of Liens and Related
3    Relief.
4              10.   Exhibit 10: In re Pacific Steel Casting Company LLC, Case No. 19-40193, Dkt. No.
5    1, Voluntary Petition for Non-Individuals Filing for Bankruptcy.
6              11.   Exhibit 11: In re Pacific Steel Casting Company LLC, Case No. 19-40193, Claim 1-1
7    filed January 28, 2019 on behalf of Berkeley Properties, LLC.
8              12    Exhibit 12: In re Pacific Steel Casting Company LLC, Case No. 19-40193, Claim 2-1
9    filed January 28, 2019 on behalf of Second Street Properties.
10             13.   Exhibit 13: In re Pacific Steel Casting Company LLC, Case No. 19-40193, Claims 4-
11   1 filed on February 28, 2019, 10-1 and 11-1, filed on April 8, 2019, all on behalf of the Pension
12   Benefit Guaranty Corporation.
13             14.   Exhibit 14: In re Pacific Steel Casting Company LLC, Case No. 19-40193, Claim
14   No. 27, filed on May 29, 2019, on behalf of Speyside Fund, LLC
15

16   DATED: October 2, 2020                        BRUTZKUS GUBNER
17
                                                   By:______________________________
18
                                                       Steven T. Gubner
19                                                     Jason B. Komorsky
                                                       Jessica L. Bagdanov
20                                                 Special Litigation Counsel for Sarah L. Little,
                                                   Chapter 7 Trustee
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                   EXHIBIT “1”

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PACIFIC STEEL-6/19/2014



                        ASSET PURCHASE AGREEMENT

                              BY AND BETWEEN


                             SPEYSIDE FUND, LLC

                                     AND




                       PACIFIC STEEL CASTING COMP ANY



                            Dated as of June 19, 2014




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                               ASSET PURCHASE AGREEMENT




       This Asset Purchase Agreement ("Agreement") is entered into by and between Pacific
Steel Casting Company, a California corporation (the "Debtor" or "Seller") and Speyside Fund,
LLC (the "Buyer" including any assignee of Buyer) as of this 19th day of June, 2014
("Agreement Date") (Seller and Buyer are sometimes referred to herein individually as a "Party"
and collectively as the "Parties".)

                                               Recitals

          A. Seller is engaged in the steel foundry business (the "Business").

       B. On March 10, 2014, the Debtor filed a voluntary petition under Chapter 11 of the
Bankruptcy Code ("Bankruptcy Code") (such petition, the "Petition") in the United States
Bankruptcy Court for the Northern District of California (the "Bankruptcy Court") initiating
Case No. 14-41045 (the "Bankruptcy Case"). No Trustee has been appointed and Seller operates
the Business as Debtor and Debtor in Possession pursuant to 11 U.S.C. 1107 et seq.

        C. Subject to the terms and conditions set forth in this Agreement and the entry of the
Sale Order (as defined in Exhibit A) Seller desires to sell to Buyer and Buyer desires to acquire
from Seller, substantially all of Seller's assets relating to the Business, in a transaction pursuant
to Sections 105, 363 and 365 of the Bankruptcy Code and Rules 6004 and 6006 of the Federal
Rules of Bankruptcy Procedure (the "Transaction").

        D. Seller's board of directors has determined that it is advisable and in the best interests
of the Seller and its constituencies to enter into this Agreement and to consummate the
transactions provided for herein, and it has approved the same.

        In consideration of the foregoing and the covenants, representations, warranties,
agreements and conditions set forth herein and other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the Parties, intending to be legally
bound hereby, agree as follows:

                                             ARTICLE I

                                           DEFINITIONS

       1.01 Definitions. Capitalized terms used in this Agreement shall have the meanings
ascribed to them in Exhibit A hereto or as may be set forth throughout this Agreement.




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                               PURCHASE AND SALE OF ASSETS

        2.01      Asset Acquisition.

                (a) Pursuant to Sections 105,363 and 365 of the Bankruptcy Code, subject to the
entry of the Sale Order and the terms and conditions of this Agreement, at the date this
Transaction closes (the "Closing Date"), Seller shall sell, assign, transfer, convey and deliver to
Buyer, free and clear of all Encumbrances and claims (except with respect to Assumed
Liabilities), and Buyer shall purchase, and take assignment and delivery of, all right, title and
interest in and to all of the assets, properties, goodwill and Business of every kind and
description and wherever located, whether tangible or intangible, personal or mixed, directly or
indirectly owned by Seller or to which it is directly or indirectly entitled and, in any case,
belonging to or used or intended to be used in the Business, other than the Excluded Assets. The
property to be acquired (all such assets, properties and rights purchased by Buyer being refen-ed
to herein as the "Acguired Assets") includes, without limitation, the following assets, properties
and rights of Seller:

                      (i)    all of Seller's inventory, including products, works in process,
processed parts, finished goods, raw materials, supplies, and components intended for sale
wherever located ("Inventory");

                       (ii)    all of Seller's tools, equipment, vehicles and other tangible
personal property that is used, held for use or intended for use in the Business, or which is being
utilized or operated by Seller, wherever located, together with any transfen-able warranty and
service rights applicable to Seller with respect to said Acquired Assets;

 .                  (iii)  all of Seller's right, title and interest relating to prepaid expenses,
advance payments and deposits other than those directly related to Excluded Assets;

                       (iv)    all accounts receivable, notes, evidences of indebtedness of any
kind, from third parties arising from the conduct of the Business, whether or not in the ordinary
course of business, together with any unpaid financing charges thereon, and all amounts which
have been earned by Seller but which have not yet been invoiced;

                         (v)    all rights of Seller under the Assumed Contracts;

                       (vi)     all franchises, permits, licenses, agreements, waivers and
authorizations issued by any Governmental Entity held or used by Seller in connection with, or
required for, the Business, to the extent transferable (collectively "Permits");

                      (vii) all of Seller's right, title and interest in, to and under all Intellectual
Property owned, licensed or sub licensed by or to Seller to the extent transferable;

                      (viii) books and records of Debtor other than those included in Excluded
Assets, including customer lists, invoices, shipping records, supplier lists, equipment
maintenance data, sales and sales promotional data and materials, cost and pricing information,

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quality control records and manuals, blueprints, research and development files, records and
laboratory books, patent disclosures, credit records, drawings, correspondence, and any other
records and data, and all computer software and programs and any rights thereto that are used in,
or relating to, the Business;

                      (ix)   all of Seller's promotional and advertising materials relating to the
Business as presently conducted, including all catalogs, brochures, plans, customer lists, supplier
lists, manuals, handbooks, equipment and parts lists, and dealer and distributor lists;

                                (x)     any and all goodwill of Seller relating to the Business; and

                     (xi)   except to the extent excluded herein, all rights and obligations
under non-disclosure or confidentiality and similar arrangements with or for the benefit of
employees, independent contractors and agents of Seller or with third parties;

                                (xii)   any and all telephone and facsimile numbers, domain names and
email addresses;

                       (xiii) all prior and current workers compensation Insurance Policies of
the Seller, and all rights of any nature with respect thereto, including all insurance recoveries
thereunder and rights to assert claims with respect to any such insurance recoveries, and rights to
be indemnified and defended w1der such Insurance Policies; and

                                (xiv)   all proceeds and products of the Acquired Assets.

              (b) All of the Acquired Assets are being sold to Buyer free and clear of all Liens,
Encumbrances and claims to the fullest extent permissible under Section 363(f) of the
Bankruptcy Code pursuant to an order by the Bankruptcy Court as described in Section 7.02
below (the "Sale Order").

               (c) Except as specificalJy provided in this Agreement, Seller makes no
representations or wananties whatsoever respecting the Acquired Assets. Except as specifically
provided in this Agreement, the Acquired Assets are sold "as is" and "where is".

       2.02 Excluded Assets. SelJer is not selJing, assigning, or transferring to Buyer, and
Buyer is not purchasing, and the term "Acquired Assets" does not include, any interest in the
folJowing (the "Excluded Assets"):

               (a) corporate and financial books and records of Seller, including Seller's
organization documents, minute and stock record books, tax returns, checkbook, cancelled
checks, provided that upon request, Buyer may have reasonable access to such books and records
and the opportunity to make copies thereof. Seller will retain a copy of the records of accounts
receivable and payable.

               (b) causes of action arising under Sections 544 through 552 of the Bankruptcy
Code and all proceeds thereof;

                         (c) rights of Seller under Contracts not included within the Assumed Contracts;

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               (d) all documents and personnel records of Seller's employees that Seller 1s
required by law to retain and is prohibited by law from providing a copy thereof to Buyer;

                   (e) all capital stock or other equity interests issued by Seller;

               (f) all prior and current Insurance Policies of the Seller and/or of Berkeley
Properties, LLC, and all rights of any nature with respect thereto, including all insurance
recoveries thereunder and rights to assert claims with respect to any such insurance recoveries, in
each case, other than workers compensation Insurance Policies;

              (g) all those certain deposits or prepaid amounts funded by Seller for the purpose
of the Bankruptcy Case including utility deposits, all as identified on in Schedule 2.02(g);

               (h) all Benefit Plans (including all assets, trusts, insurance policies and
administration service contracts related thereto) that are not assumed by Buyer;

             (i) all claims that the Seller may have against any Person solely with respect to
any Excluded Assets or any Excluded Liabilities:

             G) Seller's cash on hand or in bank or other depository accounts, money market
funds and other liquid investments, the Good Faith Deposit, and any proceeds of Excluded
Assets;

                (k) Any asset of the Seller that otherwise would constitute an Acquired Asset but
for the fact that it is sold or disposed of in the ordinary course of Seller's business during the
time from the Agreement date until the Closing Date;

         2.03      Liabilities.

                (a)     Other than the Assumed Liabilities, Buyer shall not assume or agree to
pay, perf01m or discharge, any debts, liabilities, obligations, claims, expenses, taxes, or
commitments of any kind or character, whether accrued or fixed, absolute or contingent, matured
or unmatured or detennined or undetennined (collectively, "Liabilities") of Seller or become
liable to Seller or any other Person, for any Liabilities of Seller. Liabilities include, without
limitation, any Liability of Seller relating to or arising from: (i) any infringement by Seller on the
rights of others in connection with the Business; (ii) any and all taxes of any nature with respect
to the period prior to Closing; (iii) any liability arising from a violation by Seller of any laws
governing employee relations, including anti-discrimination laws, wage and hour laws, labor
relations laws, occupational safety and health laws or any other laws applicable to Seller or the
Business or the Acquired Assets with respect to the period prior to Closing (other than Liabilities
under Assumed Plans described in Section 2.03(b)(iii); or (v) liability arising from Seller's fraud,
breach, malfeasance, misfeasance, negligence, strict liability in tort, injury to persons or prope1ty
or under any other theory relating to the Business, the Acquired Assets or the conduct,
performance or non-performance of Seller.

              (b)    At Closing, Buyer shall assume from Seller (and pay, perform, discharge,
and otherwise satisfy in accordance with their respective terms) the following liabilities (the
"Assumed Liabilities"):

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                          (i)   all Liabilities arising from the ownership of the Acquired Assets
after the Closing Date;

                      (ii)   all Liabilities of Seller arising under the Assumed Contracts to the
extent that such Liabilities first accrue on or after the Closing Date, and all obligation to
demonstrate adequate assurance of future performance required by the Bankruptcy Court under
365(b)(l)(C) of the Bankruptcy Code;

                        (iii)  the obligations to administer or to provide benefits, payments
under the Benefit Plans that Buyer assumes as listed on Schedule 2.03(b)(iii) (the "Assumed
Plans") after the Closing Date, and all Liability arising from Buyer's termination of or
withdrawal from any Assumed Plan; provided that with respect to any retiree under the Non-
Union Pension Plan, whose termination date occmTed after April 1, 2011, and prior to .the
Closing Date or is listed on Schedule 2.03(b)(iii). Buyer shall not assume any liability for and
Seller shall be solely responsible to pay any amounts in excess of the retirement benefit amounts
previously detennined to be due to such persons, all interest required to be paid to such persons
in respect of unpaid benefits. Seller shall establish a reserve for any such retirement benefits
amounts determined to be due by depositing $20,000 in the attorney trust account of Binder &
Malter LLP which deposit shall be held and used to fund such amounts and held in such account
until such benefit entitlement (or lack thereof) is definitely determined;

                       (iv)    all Liabilities and obligations of Seller arising under transferable
licenses, Permits and governmental authorizations of Seller identified on Schedule 2.03(b)(iv),
and Intellectual Property rights first accruing from and after the Closing Date;

                      (v)     any accrued but unpaid vacation obligations as of the Closing Date
to Seller's employees listed on Schedule 2.03(b)(v) (the amount of such obligations as of May
31, 2014, total $1,032,441.83) whom Buyer elects to hire, except that Buyer shall not assume
any such obligations resulting from accounting errors in .the calculations of accrued or unpaid
vacation obligations of Seller or Seller's agent pertaining to union employees whose vacation
was not properly adjusted on anniversary dates and for which Seller shall be liable;

                       (vi)    accounts payable and accrued expenses in the aggregate amount of
up to $1 million as listed on Schedule 2.03(b)(vi) and certain Liabilities for pending orders from
customers arising out of the conduct of the Business after the Closing Date, expenses for
customer rebates and for goods or materials received in transit but not yet invoiced as of the
Closing Date, as listed on Schedule 2.03(b)(vi); and

                     (vii)   all of Seller's Liabilities for all claims made or asserted by any
employee or former employee of Seller for workers compensation benefits for occunences or
claims made solely with respect to the policy years beginning April 1, 2012, April 1, 2013 and
April 1, 2014.

          2.04      Assumption of Contracts; Cure Amounts.

              (a)     Assumption of Contracts. Seller shall assume, and assign to Buyer, any
unexpired lease or executory contract (as those terms are used in Section 365 of the Bankruptcy
Code) to which Seller is a party ("Executory Contract"), and that is designated in a motion to

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assume and assign contracts filed by Seller with the Bankruptcy Court in conjunction with the
Sale Motion, which motion shall be filed within the time described in Section 7.02(b) (such
designated Executory Contracts are "Assumed Contracts"). Attached as Schedule 2.04(a) is a
list of the Executory Contracts including the Collective Bargaining Agreement, that are expected
to be Assumed Contracts, but the controlling designation of contracts, other than the Collective
Bargaining Agreement which must be an Assumed Contract (subject to appropriate
modifications agreed to by the parties), shall be in the order allowing and directing asswnption
and assignment of the Asswned Contracts to Seller. Seller shall also assume, and assign to
Buyer, any other Executory Contracts related to the Business and designated by Buyer, in its sole
discretion and by written notice to the Seller, for asswnption and assignment at any time and
from time to time after the Agreement Date and prior to the entry of an order rejecting such
Executory Contract. Buyer shall have the sole discretion to remove any Asswned Contract (other
than the Collective Bargaining Agreement) previously designated for assw11ption and
assignment, at any time and from tinle to time prior to the effective date of the assumption by the
Seller of such Executory Contract. The Seller shall not reject any Executory Contract without
providing Buyer (i) prior written notice of its intent to reject such Executory Contract, (ii) a copy
of such Executory Contract, and (iii) the prior opportunity to designate such Executory Contract
as an Asswned Contract. If Buyer removes a contract from the "assumed" list after the sale
hearing, Buyer shall reimburse the estate for any damages that the bankruptcy estate suffers
resulting from the rejection of the contract.

               (b)    Curing Defaults and Assignment. At Closing, the Seller shall assume each
of the Assumed Contracts pursuant to Section 365(a) of the Bankruptcy Code, and sell and
assign to Buyer each of the Assumed Contracts pursuant to Sections 363(b), (f) and (m) and
365(f) of the Bankruptcy Code. All amoW1ts, as determined by the Bankruptcy Court, or as
agreed between Seller and the non-debtor party, necessary to cure an Assumed Contract (the
"Cure Amounts") shall be paid by Seller at or before the Closing, or credited against the
Purchase Price. Buyer shall also provide each non-debtor party with adequate assurance of
future performance. The Cure Amounts must be sufficient to relieve Seller from all obligations
with respect to defaults arising or existing under the Executory Contracts prior to the Closing
Date.

                                          ARTICLE III

                                       PURCHASE PRICE

         3.01      Purchase Price.

                (a)     Good Faith Deposit. Upon execution of this Agreement the Buyer shall
pay $500,000 for deposit into the Binder & Malter LLP Client Trust Account in escrow on
behalf of Seller and Buyer by delivery of a cashier's check to Binder & Malter LLP or wire
transfer into said account. This is the "Good Faith Deposit."

                (b)    The purchase price for the Acquired Assets (the "Purchase Price") shall
consist of the following:

                         (i)    $10,800,000.00;

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                         (ii)   the Good Faith Deposit; and

                      (iv)      any additional amount the Buyer chooses, in its sole discretion, to
over-bid at the Auction.

The Parties agree that, as of the Agreement Date, not including any amount for overbid at the
Auction, the Purchase Price is approximately $11,300,000.00.

                   (c)   Purchase Price Adjustments.

                      (i)     Determination of Amount. The Purchase Price shall be increased
or decreased to account for the difference between $26,853,679 and the Net Working Capital on
the Closing Date. lfNet Working Capital is greater on the Closing Date, the Purchase Price shall
be increased by the amount of such difference. If Net Working Capital is lower on the Closing
Date, then the Purchase Price shall be reduced by such difference. Two (2) business days prior
to the Closing Date, Seller shall deliver to Buyer an estimated calculation of Seller's Net
Working Capital as of the Closing Date ("Estimated Closing Date Net Working Capital"). The
amount of the Estimated Closing Date Net Working Capital shall be used to determine the
Purchase Price payable by Buyer (subject to adjustment pursuant to this Agreement) on the
Closing Date.

                        (ii)   Procedure. Buyer intends to conduct a physical count of inventory
on hand at the Real Property on the Closing Date, and Seller may have representatives present
during such count. The results of such physical count shall be binding on the parties as to the
volume of inventory on hand at the plant, less damaged or otherwise unsaleable items. Inventory
of domestic castings shall be valued for purposes of this Agreement at the amounts per ton set
forth on Schedule 3.0l(c)(ii). All other inventory elements shall be valued in accordance with
GAAP. Accounts receivable shall be valued in accordance with GAAP, consistently applied.
Within twenty (20) business days after the Closing Date, Buyer shall deliver to Seller a written
and detailed calculation of tl1e Net Working Capital as of the Closing Date as determined by the
Buyer along with related work papers, together with a statement of the amount of the Purchase
Price adjustment ("Purchase Price Adjustment Statement"). After the delivery of the Purchase
Price Adjustment Statement, the Parties shall cooperate in connection with the review of the
Purchase Price Adjustment Statement, including reasonable access to materials used in the
preparation of the Purchase Price Adjustment Statement. Each Patty shall then have thirty (30)
days from receipt of the Purchase Price Adjustment Statement to formally notify the other Party
of any objections to or disputes of the Purchase Price Adjustment Statement (the "Dispute
Notice"). If either Party delivers a Dispute Notice, the Parties shall use reasonable, good-faith
effo1ts to resolve any such objections within ten (10) days following receipt of such Dispute
Notice, and if any such objections are so resolved within such ten (10) day period, the Purchase
Price Adjustment, with such changes as may have been previously agreed in writing by the
Parties, shall be final and binding to the extent of any items no longer in dispute. If all items of
dispute are so resolved, the Purchase Price Adjustment Statement (as so modified) shall be
conclusive and binding on all Patties. If the Parties fail to reach agreement with respect to all of
the matters set forth in the Dispute Notice within the aforementioned ten (10) day period, then
they shall, within seven (7) business days thereafter, retain a mutually acceptable national
independent accounting firm (the "Independent Accountant"), subject to approval of the

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Bankruptcy Comt, to resolve any amounts then remaining in dispute ("Disputed Items"), and any
amounts not so disputed (the "Undisputed Items") shall be final and binding on the Parties. The
Parties shall cooperate fully with the Independent Accountant so as to enable it to make snch
determination as quickly and as accmately as practicable. The Independent Accountant shall
have thirty (30) business days from its selection and appointment to resolve Disputed Items only
in writing with an explanation of the basis for its determination, with a copy to all Patties. The
Independent Accow1tants shall only decide the specific items under dispute by the Parties and
their decision for each Disputed Item must be within the range of values assigned to each such
item in the Purchase Price Adjustment Statement and the Dispute Notice, respectively. The
determination of the Independent Accountant shall be final and binding on the Parties, absent
manifest error or willful misconduct, and the cost of the Independent Accountant shall be borne
by the Party whose position is determined to be the least c01Tect by the Independent Accountant.
The Party owing the Purchase Price adjustment amount shall pay such amoU11t to the other Party
by wire transfer no later than ten (10) business days following (i) the delivery date of the
Purchase Price Adjustment Statement to Seller, or (ii) the Independent Accountant's final
determination with respect to the Purchase Price Adjustment Statement, as the case may be.

               (d)    The Purchase Price shall be paid in part by release to Seller of the Good
Faith Deposit, with the remainder paid in Cash (subject to the adjustments set forth herein) at or
before the Closing Date.

                (e)    Prorations. Except for amounts that Buyer must pay with respect to the
Assmned Liabilities, Seller shall be responsible for the expenses relating to the Acquired Assets
and the Business up to and through the Closing Date, and Buyer shall be responsible for the
expenses relating to the Acquired Assets and the Business after the Closing Date (for example ad
valorem taxes and utilities). Expenses relating to the Acquired Assets up to and through the
Closing Date shall be paid by Seller at or before the Closing Date. To the extent that the time
period for the assessment of any expenses falls both before and after the Closing Date, then those
expenses shall be prorated as of the Closing Date, and, to the extent required, reconciled after the
Closing Date.

                (f)    Allocation of Purchase Price for Tax Purposes.             As promptly as
practicable following the Agreement Date, Buyer shall deliver to the Seller a schedule, allocating
tl1e Purchase Price among the Acquired Assets for all tax and other reporting purposes, which
schedule shall be subject to the Seller's consent, not to be unreasonably withheld. After the
Seller grants its consent to such schedule, the Seller and the Buyer shall be bound by such
allocation (and if necessary, any adjusted allocation), and shall file an Internal Revenue Service
Form 8594 and all applicable federal, state, local and foreign income, and excise tax returns in a
manner that is consistent with such allocation. If the allocation is disputed by any Governmental
Entity, tl1e Party receiving notice of such dispute shall promptly notify the other Party
concerning the existence of such dispute and the Parties shall consult with each other with
respect to all issues related to the allocation in connection with such dispute. If a different
allocation proposed by the Internal Revenue Service (the "IRS") is finally determined, either
Party may file amended returns based on such allocation or any other allocation. An allocation
shall be considered to be finally determined when such allocation cannot be contested in any
court of competent jurisdiction.


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                (g)     Good Faith Deposit. If the Buyer makes a material breach of this
Agreement before the Closing Date and such breach continues without cure ten days after
Seller's written notice to Buyer of same, then Seller may tenninate this Agreement in accordance
with Sections 4.02 and 4.03, resulting in the Good Faith Deposit becoming Seller's prope11y,
which shall constitute the exclusive relief against Buyer in such event. If any of Seller's
representations or warranties were either untrue or inaccurate in a material respect when made or
become untrue or inaccurate in a material respect on or before the Closing Date or if the Seller
makes a material breach of this Agreement before the Closing Date, and such breach continues
ten days after Buyer's written notice to Seller of same, then Buyer may terminate this Agreement
in accordance with Sections 4.02 and 4.03 and the Seller shall immediately return the Good Faith
Deposit in full. The Good Faith Deposit will become non-refundable property of the Seller if
Buyer is approved as the winning bidder by the Bankruptcy Court in the Sale Order, and this
Agreement is not timely tenninated in accordance with Sections 4.02 and 4.03.

                                           ARTICLE IV

                                CLOSING AND TERMINATION

       4.01 Closing. The consummation of the Transaction (the "Closing") shall take place at
a time and date of Buyer's choosing within fifteen (15) business days after the entry of the Sale
Order, provided that the Sale Order has not been appealed or stayed, at the offices of Seller's
counsel.

                  (a)   Buyer Deliveries. At the Closing, Buyer shall deliver to Seller:

                      (i)    The Purchase Price, less the Good Faith Deposit, and any
adjustments or credits against the Purchase Price, including the Purchase Price adjustment and
any cure amounts owed with respect to the Assumed Contracts;

                      (ii)  To the extent necessary, assignment and assumption agreements
pet1aining to the Assumed Contracts, and bills of sale, duly executed by Buyer (as necessaiy), in
customary form and otherwise as counsel to Seller shall reasonably request to implement and
evidence the Transaction;

                     (iii)  such other agreements, documents and instruments as Seller and its
counsel may reasonably request.

                  (b)   Seller Deliveries. At the Closing, Seller shall deliver to Buyer:

                        (i)    assumption agreements pertaining to the Assumed Contracts, and
bills of sale, duly executed by Seller, in customary form and otherwise as counsel to Buyer shall
reasonably request to implement and evidence the Transaction;

                        (ii)    the required executed third party consents, if any;

                        (iii)   a cettified copy of the Sale Order; and



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                      (iv)   such other agreements, documents and instruments as Buyer and
its counsel may reasonably request.

       4.02 Termination.           This Agreement may be terminated at any time prior to the
Closing Date:

                    (a)   by the mutual written consent of Buyer and Seller;

                (b)  by Seller, if it is not in material breach of its obligations hereunder, upon a
material breach by Buyer of any of its representations, warranties, covenants or other obligations
hereunder which is not curable or, if curable, is not cured within 10 days after delivery of written
notice thereof;

                (c)   by Buyer, if not in material breach of its respective obligations hereunder,
upon a material breach by Seller of any of its representations, warranties, covenants or other
obligations hereunder which is not curable or, if curable, is not cured within 10 days after written
notice thereof;

                (d)     by Buyer, if not in material breach of its respective obligations hereunder,
if, before the Closing, Seller's Bankruptcy is converted to a Chapter 7 case under the Bankruptcy
Code or there is appointed an operating trustee or examiner with expanded powers;

               (e)    by Buyer or Seller if any court of competent jurisdiction or other
Governmental Entity issues, enacted, entered, promulgated or enforced any order, judgment,
decree, injunction or ruling which restrains, enjoins or otherwise prohibits the transaction and
such order, judgment, decree, injunction or becomes final and non-appealable;

               (f)     by Buyer or Seller if the Bankruptcy Court fails to enter the Sale Order
within four days of the conclusion of the Bankruptcy Court's sale hearing;

                (g)    by Buyer or Seller if the Closing shall not have occurred on or before 15
days after entry of the Sale Order, provided the te1minating Party is not otherwise in material
breach of its representations, warranties or other obligations hereunder.

               (h)     Automatically and without any action by either Buyer or Seller, if the
Bankruptcy Court approves a Transaction with any Person other than Buyer (provided, however,
that Buyer is not otherwise in material default under this Agreement);

                (i)     By Buyer, if any of the conditions set forth in Section 9.03 are not
satisfied on or prior to the dates designated in Section 9,03 for the satisfaction of such conditions
(provided, however, that Buyer is not otherwise in material default under this Agreement or any
other agreement that are part of the Transaction);

          4.03      Treatment of Good Faith Deposit Upon Termination.

                (a)      In the event that this Agreement is tenninated pursuant to Sections
4.02(a), (c), (d), (e), (f), (g), (h) or (i) above, then the Seller shall immediately return the Good
Faith Deposit in full.

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             (b)   In the event that this Agreement is tem1inated pursuant to Section 4.02(b)
above, then Buyer waives all claims to the Good Faith Deposit and it will become Seller's
property.

               (c)    In the event that this Agreement is terminated pursuant to Section 4.02(c)
then the Breakup Fee provisions of Section 7.03 shall survive termination and the Breakup Fee
shall be payable to Buyer from the proceeds of sale to a third party.

                                            ARTICLEV

                      REPRESENTATIONS AND WARRANTIES OF SELLER

        5.01 Representations and Warranties of Seller. Seller represents and wanants to
Buyer that, except as set forth in the disclosure schedules being delivered by Seller
contemporaneously herewith, but no later than five (5) business days after the Agreement Date
(the "Seller Disclosure Schedules"):

                (a) Organization and Qualification. Seller is a corporation duly organized, validly
existing and in good standing under the laws of the State of California, and is qualified to do
business in all other jurisdictions in which the failure to so qualify would constitute a Material
Adverse Effect, and bas all requisite corporate power and authority to own, lease and operate its
properties and to carry on its Business as it is now being conducted, subject to the limitations, if
any, imposed by applicable bankruptcy law. The jurisdictions in which each Seller is so qualified
are listed on Schedule 5.0l{a) hereto.

                 (b) Authorization of Transaction. Subject to the entry of the Sale Order, and
unless obviated by the Bankruptcy Code and other applicable law, the Seller has full corporate
power and authority to execute and deliver this Agreement and to perform its obligations
hereunder, and the execution and delive1y by Seller of this Agreement and the consummation of
the Transaction have been duly and validly authorized by all necessary corporate action on the
part of Seller. Subject to the enl!y of the Sale Order, this Agreement constitutes the legal, valid
and binding obligation of the Seller enforceable in accordance with its terms, and no other action
hy Seller is requisite to the valid and binding execution, delivery and performance by Seller of its
obligations under this Agreement and the consummation of the Transaction, except as expressly
set forth in this Agreement and/or the Sale Order, except as such enforcement may be limited by
applicable bankruptcy, insolvency, moratorium or other laws from time to time in effect which
affect creditors' rights generally and by legal and equitable limitations on the enforcement of
specific remedies.

                (c) Noncontravention. Subject to the entry of the Sale Order, no filing with, and
no permit, authorization, consent or approval of, any Governmental Entity is necessary for the
consurmnation by Seller of the Transaction. Subject to the ent1y of the Sale Order, neither the
execution and the delivery of this Agreement, nor the consummation of the Transaction, will (i)
violate any constitution, statute, regulation, rule, injunction, judgment, order, decree, ruling,
charge, or other restriction of any government, governmental agency, or court to which Seller is
subject or any provision of its articles of organization or other organizational document or (ii)
conflict with, result in a breach of, constitute a default under, result in the acceleration ot: create

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in any pa1iy the right to accelerate, terminate, modify, or cancel, or require any notice under any
agreement, contract, lease, license, instrument, or other arrangement to which Buyer is a party or
by which it is bound or to which any of its assets is subject.

                (d) Title to Assets. Subject to the entry of the Sale Order, the Seller, as of the
Agreement Date, has, or as of the Closing Date will have, good title to, valid leasehold interests
in, or license or other valid rights to use, all of the Acquired Assets.

               (e) Assets used in the Business. Except the Excluded Assets, the Acquired Assets
are the only assets used by Seller to conduct the Business. Seller believes that the Acquired
Assets include all rights, properties and other assets necessary to permit Buyer to conduct the
Business after the Closing Date in materially the same manner as it has been conducted by Seller
prior to the Agreement Date.

               (f) Operation of Business. From the Agreement Date through the Closing Date,
the Seller shall conduct the Business in accordance with the Bankruptcy Code, Bankruptcy
Rules, Orders of the Bankruptcy Court and applicable local guidelines. Except (i) as expressly
contemplated by this Agreement, (ii) with the prior written consent of Buyer (such consent not
be unreasonably withheld), or (iii) as required by the filing of the Bankruptcy Case or as
approved by the Bankruptcy Court and with adequate written notice to Buyer, the Seller shall not
amend, supplement, or terminate any of the Assumed Contracts; transfer any interest in any
Acquired Asset, except in the ordinary course of business; bring, settle, compromise or waive
any proceeding or legal right adversely affecting the validity or value of any Acquired Asset; or
authorize or enter into an agreement to do any of the foregoing.

               (g) Financial Statements. Seller has delivered to Buyer the Seller's audited
consolidated balance sheet as of March 31, 2013, and the related statements of operations,
stockholders' equity and cash flows (together with the auditors' repmi thereon) for the year ended
March 31, 2013, together with notes to such financial statements (tl1e "2013 Year-end Financial
Statements"). Seller has or within five (5) days of the Agreement Date shall deliver to Buyer
Seller's unaudited consolidated balance sheet as of April 30, 2014, and the related statement of
operations for the one-month period ended April 30, 2014 ("April 30, 2014 Interim Financial
Statements"). On or before July 31, 2014, Seller shall deliver to Buyer: Seller's audited
consolidated balance sheet as of March 31, 2014, and the related statements of operations,
stockholders' equity and cash flows (together with the auditors' report thereon) for the year ended
March 31, 2014, together with notes to such financial statements (the "2014 Year-end Financial
Statements"). On or before twenty (20) days after the end of each month, until the month in
which the Closing Date occurs, Seller shall deliver to Buyer Seller's unaudited consolidated
balance sheet as of tl1e last day of the prior month, and the related statement of operations for
such one-month period (the "Monthly Interim Financial Statements"). The 2013 Year-end
Financial Statements, 2014 Year-end Financial Statements, April 30, 2014 Interinl Financial
Statements and Monthly Interim Financial Statements are herein collectively referred to as the
"Financial Statements." Upon delivery, the respective Financial Statements shall have been
prepared in accordance with generally accepted accounting principles ("GAAP") consistently
applied throughout the periods covered tl1ereby, and be consistent with the books and records of
the Seller.


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               (h) Accounts Receivable. Each Account Receivable is a true and correct
statement of the account for goods delivered to or services actually performed for and accepted
by, such account debtor in the ordinary course of business materially consistent with past
practice. Except as set forth in Schedule 5.0l(h), all receivables that are reflected on the
Financial Statements (net of any reserves shown thereon) (i) are valid and existing, (ii) represent
monies due for goods sold and delivered or services rendered in the ordinary course of business
materially consistent with past practice, and (iii) are not subject to any refunds or adjustments or
any defenses, rights of set-off, credits, discounts, assignment, restrictions, security interests or
other Encumbrances. Seller has not factored any of the receivables.

                    (i) Taxes.

                       (i) All federal, state, foreign, county, local and other Tax Returns required
to be filed by or on behalf of Seller have been timely filed, or extensions of the time to file have
been obtained, and when filed were true and correct in all material respects, and the taxes due
and owing were paid or adequately accrued, except to the extent contested in good faith by
proper proceedings. Seller has duly withheld and paid all Taxes required to have been withheld
and paid relating to any employee, independent contractor, creditor, stockholder, or other third
party, and a11 Forrns W-2 and 1099 required with respect thereto have been properly completed
and timely filed and distributed.

                       (ii) The provision made for taxes on the Financial Statements is sufficient
for the payment of all material Taxes, whether or not disputed, at the date of such Financial
Statements and for all years and periods prior thereto.

                       (iii) There are no outstanding agreements or waivers extending the
statutory period of limitations applicable to any Tax Return or report of Seller or the period of
time within which any Tax Return of Seller must be filed.

                      (iv) Tri-Pacific, Inc., the majority shareholder of Seller, has received a
notice from TRS that it will be auditing the income tax returns of Tri-Pacific, Inc., Seller and
Berkeley Properties, LLC for the tax year ending March 31, 2012. Neither Buyer nor any of the
Acquired Assets shall be liable for any tax liability of Seller.

                G) Intellectual Property. Schedule 5.0 l(j) provides a true and complete list of all
Intellectual Property owned, used or held by Seller in the operation of the Business, in each case
indicating whether such Intellectual Property is owned by or licensed to Seller. Seller owns or
possesses adequate licenses or other valid rights to use all Intellectual Property used or held for
use in connection with Business and included in the Acquired Assets. To the Seller's
Knowledge, there is not been any assertion or claim challenging the validity of any Intellectual
Property. To the Seller's Knowledge, the operation of the Business by Seller does not conflict
with or infringe on the rights of any other Person, and Seller has not received any claim or
written notice, and has no reason to believe that there is any unasserted or potential claim, from
any Person to such effect. Seller has taken reasonable measures to protect the proprietary nature
of each item of Intellectual Property and to maintain in confidence all trade secrets and
confidential information that it owns or uses.



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                (k) Real Property. Schedule 5.0l(k) hereto lists the street address, the current
owner and the current use of each parcel of Real Property which is related to, used, useful or held
for use in the conduct of the Business (the "Real Property"). The Real Prope1iy constitutes all of
the real property used in the operation of the Business as cmrently conducted. Seller is in
exclusive possession of the Real Prope1iy and tl1e improvements thereon. Seller is not a paiiy to,
and the Real Property is not subject to, any service contract or agreement other that1 those listed
on Schedule 5.0l(k).

               (1) Litigation. Except as described in Schedule 5.01{1), to tl1e Seller's
Knowledge as of the Agreement Date, there is no action, suit, investigation or proceeding
pending or threatened against Seller or the Acquired Assets that is reasonably likely to have a
Material Adverse Effect on the operation or use of the Business, the Real Property or the
Transaction, and Seller has not received notice of any special assessment proceedings affecting
the Real Property.

                (m) Compliance. Except as set forth on Schedule 5.0l(m), to Seller's Knowledge
Seller is and at all tin1es within the time of applicable statute of limitations has complied in all
material respects with applicable laws, rules, regulations, judgments, orders and decrees and
Pe,mits applicable to the Acquired Assets or the conduct of the Business, except for violations
which would not reasonably be expected to have a Material Adverse Effect on the Business or
the Real Prope1iy. Except as provided on Schedule 5.0l(m), within the time of the applicable
statute of limitations, Seller has not received notice of any outstanding violation of any
applicable law, ordinance, or restriction from any governmental authority with respect to the
Business or the Real Property. Seller holds all material Permits necessary or required to operate
the Business as currently conducted. Set forth on Schedule 5.0l(m) is a list of all such Permits
(at1d the status thereof), all of which are valid, effective and in good standing. Each of such
Pennits is freely transferable to Buyer.

                     (n) Environmental Matters.

                        (i)    Except as set forth on Schedule 5.0l(n)(i) hereto, (A) the cunent
business operations of Seller are in material compliance with all Environmental Laws; (B) during
the five years ending on the Closing Date there has been no Release at any of the prope1iies
owned or operated by Seller (including the Real Prope1iy) which could have a Material Adverse
Effect; (C) during the five years ending on the Closing Date no Environmental Claim has been
asse1ied against Seller nor does Seller have Knowledge or notice of any threatened
Environmental Claim against Seller which could have a Material Adverse Effect; (D) during the
five years ending on the Closing Date no Environmental Claims have been asse1ied against any
facilities that may have received Hazardous Substances generated by Seller which could have a
Material Adverse Effect; (E) no property now owned or operated by Seller (including the Real
Property) has been used as a treatment or disposal site for any Hazardous Substance or contains
any underground storage tanks; (F) dming the five yeai·s ending on the Closing Date Seller has
not failed to report to the proper Governmental Entity any Release which is required to be so
reported by any Environmental Laws which could have a Material Adverse Effect; (G) Seller
holds all licenses, Pern1its and approvals required under any Environmental Laws in connection
with the current operation of the Business, except for such licenses, permits and approvals as to
which Seller's failure to maintain or comply with could not have a Material Adverse Effect; (H)

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during the five years ending on the Closing Date Seller has not received any notification
pursuant to any Environmental Laws that (x) any work, repairs, construction or capital
expenditures are required to be made as a condition of continued compliance with any
Environmental Laws, or any license, permit or approval issued pursuant thereto or (y) any
license, permit or approval referred to above is about to be reviewed, made subject to limitations
or conditions, revoked, withdrawn or terminated, in each case, except as could not have a
Material Adverse Effect; (I) to Seller's Knowledge, no Hazardous Substance is migrating from
or onto the Real Property that could reasonably be expected to give rise to any reporting,
investigation, remediation, or other liabilities or obligations under any Environmental Laws; (J)
to Seller's Knowledge, there are no conditions, circumstances, activities, practices, incidents,
actions, omissions or plans which reasonably could be expected to materially inte1fere with or
prevent compliance with the Environmental Laws as the Business is currently operated; and (I()
Seller has not undertaken or assumed any liability or obligation for corrective or remedial action,
or of any other Person relating to Environmental Laws.

                       (ii)   Schedule 5.0l(n)(ii) hereto identifies all material written
environmental, health and/or safety reports generated by or on behalf of Seller within the past
five years immediately preceding the Agreement Date that have been provided to the applicable
Governmental Entity as required by Environmental Law and/or Environmental Permits, and
except where such repo1is could not reasonably be obtained or were not so provided, all as
described in Schedule 5.0l(n)(ii). Schedule 5.0l(n)(ii) further includes all Phase I or Phase II
environmental assessments or environmental audits relating to the Real Property obtained by
Seller within the five years immediately preceding tl1e Agreement Date, and true and complete
copies of such reports have been provided to Buyer.

                       (iii)  Schedule 5.0l(n)(iii) hereto identifies all material Environmental
Permits, approvals or authorizations issued by any federal, state or local Government Entity to
Seller in connection with the Business or the Real Property witl1in tl1e two years immediately
preceding the Agreement Date, each such Enviromnental Penni! is valid and enforceable and in
full force and effect, and Seller is in compliance, in all material respects, with the terms and
conditions of all such Environmental Permits, approvals or authorizations and no other
Environmental Permits, approvals or authorizations are necessary for operating the Business or
the Real Property as currently conducted.

                        (iv)   To Seller's Knowledge, there is currently no Release on the
Property which could have a Material Adverse Effect regardless of whether the Release occurred
before or after the five-year period ending on the Closing Date.

               (o) Insurance. Schedule 5.0 I (o) hereto sets forth a summaiy of each insurance
policy carried by Seller (including any self-insurance programs) (collectively "Insurance
Policies"). All such insurance policies are valid and binding and in full force and effect, all
premiums due thereunder have been paid in full and Seller has not received any notice of
cancellation or termination in respect of any such policy nor is Seller in default thereunder.

             (p) Brokers. Except as set forth on Schedule 5.0l(p) hereto, Seller is not a patiy
to any agreement, arrangement or understanding with any Person which will result in the



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obligation of Buyer or Seller to pay any finder's fee, brokerage commission or similar payment
in connection with the transactions contemplated by this Agreement.

                     (q) Employee Benefit Plans.

                       (i)     Seller has furnished or made available to Buyer: (I) a complete
aud accurate copy of the plan document (and any funding medium, including any trust agreement
or annuity contract, if applicable) and summary plan description of each Benefit Plau (or other
descriptions of such Benefit Plan provided to employees), including all amendments thereto; (2)
a copy of the annual reports, financial statements and/or actuarial valuations, if any, with respect
to each Benefit Plan for the three (3) year period inunediately preceding the date of this
Agreement; (3) a copy of each swmnary of material modification for each Benefit Plan; (4) a
copy of IRS Form 5500 for each Benefit Plan for the three (3) plan years inunediately preceding
this Agreement, with all applicable schedules and accountants' opinions attached thereto; (5) the
most recent determination or opinion letter received from the IRS for each Benefit Plan which is
a 40l(k) plan or pension plau; (6) a copy of the latest account statement, if any, reflecting the
assets of any funded Benefit Plan; (7) a copy of the Summary Ammal Report as distributed to the
participants of the Benefit Plans, if applicable, for the three (3) year period immediately
preceding the date of this Agreement; and (8) any correspondence from any governmental
authority with respect to any Benefit Plan that threatens any litigation, claim, suit, investigation
or other proceeding against the Seller or any Benefit Plan that refers to or alleges any fact or
circumstance which could reasonably be expected to give rise to any such litigation, claim, suit,
investigation or other proceeding, together with any response thereto by or on behalf of the Seller
or the Benefit Plan.

                          (ii)  Except as disclosed in Schedule 5.0l(q): (I) there are no pending,
threatened, or to the Knowledge of the Seller, anticipated claims by any party, including auy
Governmental Entity, relating to any Benefit Plan, other than routine claims for benefits; (2) no
Benefit Plan is currently under investigation or audit by the IRS, the U.S. Department of Labor,
any state department of labor or any similar organization or entity; (3) since its respective
inception or effective date, each of the Benefit Plaus has complied in form and been operated and
maintained in all material respects in accordance with its tenns aud the requirements of all
applicable laws and regulations, and in accordance therewith, the plan docwnent underlying any
Benefit Plan has been amended aud/or restated, to the extent necessary and required by law to
have been amended and/or restated by"the Agreement Date and the Closing Date, to comply with
all applicable laws and regulations; (4) with respect to the Non-Union Pension Plan: a) all
premiwns (any interest, charges and penalties for late payment, if any applicable) due the PBGC
for which premiums are required have been paid; b) the Non-Union Pension Plan has not been
terminated under circumstances which would result in liability to the PBGC; c) the Non-Union
Pension Plan is intended to be qualified under Section 40l(a) of the Internal Revenue Code of
 1986, as amended ("!RC"), has received a favorable determination or opinion letter from the IRS
that it is so qualified, and any trust established in connection with the Non-Union Pension Plan is
intended to be exempt from federal income taxation under Section 50l(a) of the IRC has
received a determination letter from the IRS that it is so exempt, and to Seller's Knowledge no
fact or event has occurred since the date of such determination letter from tl1e IRS that could
reasonably be expected to result in the disqualification of the Non-Union Pension Plan or in the
loss of the exempt status of any such trust; d) the Seller has not ceased operations at a facility so

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as to become subject to the provisions of Section 4062(e) of ERISA, withdrawn as a substantial
employer so as to become subject to the provisions of Section 4063 of ERISA or ceased making
contributions on or before the date of the Closing to any Benefit Plan or ERISA Affiliate Plan
subject to Section 4064(a) ofERISA; e) the Seller has or will have, as of the Closing Date, made
all required contributions and payment of all interest, penalties and other amounts owed with
respect to the Non-Union Pension Plan; or f) in the last three years preceding the date hereof,
there has been no "reportable event" for Seller as defined in Section 4043(b) of ERISA and the
regulations under that Section other than those which have been reported in compliance with
ERISA or which will be the subject of the Voluntary Corrective Program submission described
in Section 7.12; (5) with respect to the Multiemployer Plan: a) the Seller has or will have, as of
the Closing Date, made all required contributions; and b) the Seller has not incurred any liability
under Title IV of ERISA, including any withdrawal liability for any period prior to the Closing
Date; (6) no condition, agreement or plan provision limits the right of the Seller to amend, cut
back or terminate any Benefit Plan that it sponsors (except to the extent such limitation arises
under ERISA); (7) all contributions, premiwns or payments required to be made with respect to
any Benefit Plan through the date of this Agreement and all unpaid liabilities of any Acquired
Seller with respect to any Benefit Plan that are not yet payable have been properly accrued in the
Seller's financial reports in accordance with GAAP; (8) all annual reports required to be filed
with any governmental agency or department have been filed on or before their respective due
dates, or the due date for same has been properly and timely extended; (9) to Seller's Knowledge
no individual associated with any of the Benefit Plans has engaged in any actions that constitute
a "prohibited transaction" under the provisions of ERISA Section 406, and no actions have
previously occurred which could reasonably be interpreted to be a prohibited transaction upon
which excise taxes may be imposed; (10) no excise taxes have been imposed, incurred or paid
under the provisions of IRC Section 4975 or any similar provision during such period, and no
excise tax reports or liabilities are currently pending; (11) no Benefit Plan which is a 401(k) plan
or pension plan has been detennined to have been "top-heavy" under the provisions of IRC
Section 416, and no such Benefit Plan has failed its required discrimination testing, during the
three (3) year period immediately preceding the date of this Agreement, without corrective
actions being taken to bring the plan back into compliance with discrimination testing; and (12)
except as provided on Schedule 5.0l(q), the Seller has no ERISA Affiliates. "ERISA Affiliate"
mean an entity that would be considered a single employer with the Seller under ERISA Section
400 I (b) or part of the same "controlled group" as the Seller for purposes of ERISA Section
 302(d)(3) or Section 414 of the IRC.

                        (iii) All cmTent recipients of payments from Seller's Pension Plans are
eligible to receive such payments.

               (r)     Supplementing Schedules. Seller shall promptly supplement or amend any
schedule with respect to any matter arising after the Agreement Date that, if it had existed on the
Agreement Date, would have been required to be described in such schedule.              No matter
disclosed in any such supplemental schedule shall be deemed accepted by Buyer, or to be a
waiver by Buyer of any breach of a representation othe1wise cured by such supplemental
disclosure, unless Buyer expressly waives the same in writing.




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                                           ARTICLE VI

                       REPRESENTATIONS AND WARRANTIES OF BUYER

       6.01 Representations and Warranties of Bnyer. Buyer represents and warrants to
Seller that, except as set forth in the disclosure schedules being delivered by Buyer
contemporaneously herewith, but no later than five (5) business days after the Agreement Date
(the "Buyer Disclosure Schedules"):

                (a)    Organization of Buyer. Buyer is a limited liability company duly
organized, validly existing, and in good standing under the laws of the State of Delaware, and
has all requisite limited liability company power and authority to own, lease and operate its
properties and to carry on its business as it is now being conducted. At Closing, Buyer or its
assignee is duly qualified to do business and is in good standing California, and in all
jurisdictions in which the failure to so qualify would reasonably be expected to have a material
adverse effect on the ability of Buyer to consununate the Transaction. The jurisdictions in which
each Buyer is so qualified are listed on Schedule 6.0l{a) hereto.

                (b)    Authorization of Transaction. Buyer has full power and authority to
execute and deliver this Agreement and to perform its obligations herennder, and the execution
and delivery by Buyer of this Agreement and the consummation of the Transaction have been
duly and validly authorized by all necessary corporate action on the part of Buyer. This
Agreement constitutes the legal, valid and binding obligation of Buyer enforceable in accordance
with its terms, except as such enforcement may be limited by applicable bankruptcy, insolvency,
moratorium or other laws from time to time in effect which affect creditors' rights generally and
by legal and equitable limitations on the enforceability of specific remedies.

                (c)     Noncontravention. Subject to the entry of the Sale Order, no filing with,
and no permit, authorization, consent or approval of, any Govermnental Entity is necessary for
the consummation by Buyer of the Transaction. Subject to the entry of the Sale Order, neither
the execution and the delivery of this Agreement, nor the consummation of the Transaction, will
(i) violate any constitution, statute, regulation, rule, injunction, judgment, order, decree, ruling,
charge, or other restriction of any government, governmental agency, or court to which Buyer is
subject or any provision of its articles of organization or other organizational document or (ii)
conflict with, result in a breach of, constitute a default under, result in the acceleration of, create
in any patty the right to accelerate, tenninate, modify, or cancel, or require any notice nnder any
agreement, contract, lease, license, instrument, or other arrangement to which Buyer is a patty or
by which it is bound or to which any of its assets is subject.

               (d)     Financial Statements. Buyer has the financial wherewithal and ability to
perform all of its obligations under this Agreement, including payment of the Purchase Price to
Seller.    Buyer shall have on the Closing Date sufficient unrestricted funds or committed lines
of credit on hand to pay the portion of the Purchase Price payable in cash at the Closing.

               (e)     Litigation. There is no claim, action, lawsuit, or proceeding, or to the
Knowledge of Buyer, any pending inquiry or investigation or any threatened claim, action,
lawsuit, proceeding, inquiry or investigation, in each case, by or against or affecting Buyer which

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has had or can be reasonably expected to have a material adverse effect on the ability of Buyer to
consummate the Transaction.

                (f)    Brokers. Buyer is not a party to any agreement, aiTangement or
understanding with any Person which will result in the obligation of Buyer or Seller thereof to
pay any finder's fee, brokerage commission or similar payment.

                                         ARTICLE VII

                               COVENANTS OF THE PARTIES

        7.01 Cooperation of the Parties. Except as expressly required by this Agreement,
each of the Parties will use its commercially reasonable efforts to take all actions and to do all
things necessary in order to promptly consummate and make effective the Transaction.

         7.02      Bankruptcy Court Matters.

                 (a)     Bidding Procedures. Promptly, but in any event, within five (5) days, after
the execution of this Agreement Seller will file a motion in the Bankruptcy Court for an order
approving bidding procedures for the sale of the Acquired Assets (the "Bidding Procedures
Order"), if such motion has not been filed previously. The Bidding Procedures Motion, shall,
among other things be in form and content reasonably acceptable to Buyer, and seek to designate
the Buyer as the "Stalking Horse Bidder", i.e. the patiy submitting the highest and best bid for
the Property prior to the auction to be conducted in accordance with bidding procedures subject
to Buyer's reasonable approval (the "Bidding Procedures"). Seller will seek approval of Bidding
Procedures that (i) approve the Break-Up Fee (as hereinafter defined), (ii) require that any
competing bidder for the Seller's assets must purchase them on substantially the same terms and
conditions as set forth in this Agreement (including the payment of the "Good Faith Deposit), but
for an amount at least $600,000 greater than the Purchase Price (the "Minimum Overbid"), and
(iii) that further bids must be made in increments of at least $100,000.

                (b)    Sale Motion. Promptly upon, but in any event, within five (5) days after
the entry of the Bidding Procedures Order, Seller shall file in the Bankruptcy Couti one or more
motions seeking authorization of all relief required for the Sale Order, including, among other
things approval of the sale of the Acquired Assets pursuant to this Agreement and the
assumption and assignment of the Assumed Contracts (the "Sale Motion"), which Sale Motion
shall be in form reasonably acceptable to Buyer..

                ( c)   Non-Assignment of Assets. Anything contained herein to the contrary
notwithstanding, this Agreement shall not constitute an agreement to assign any Acquired Asset
if, after giving effect to the provisions of sections 363 and 365 of the Bankruptcy Code, an
attempted assignment thereof, without obtaining a consent or approval required or necessary for
such assignment or transfer, would constitute a violation of the Bankruptcy Code, as expressly
determined by a final order of the Bankruptcy Court. If, after giving effect to the provisions of
sections 363 and 365 of the Bankruptcy Code, the Bankruptcy Couti determines by a final order
that such consent or approval is required but not obtained, and any Person refuses or fails to
perfom1 or to accept performance based on such non-assignability, then Seller shall, upon

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Buyer's request and at Buyer's sole cost and expense, cooperate with Buyer in any reasonable
arrangement designed to provide for Buyer the benefits and obligations of such Acquired Asset,
including enforcement for the benefit of Buyer of any and all rights and remedies of Seller
against a third party arising out of such third party's refusal or failure to perform or to accept
perfonnance based on such non-assignability, or any breach or cancellation. Any assignment to
Buyer of any Acquired Asset that shall, after giving effect to the provisions of sections 363 and
365 of the Bankruptcy Code, require the consent or approval of any third party for such
assignment as aforesaid as expressly determined by a final order of the Bankmptcy Cmut shall
be made subject to such consent or approval being obtained. Any contract that would be an
Assumed Contract but is not assigned in accordance with the terms of this Agreement shall not
be considered an "Assumed Contract" for purposes hereof unless and until such contract is
assigned to Buyer following the Closing Date upon receipt of the requisite consents or approvals
to assignment and Bankruptcy Court approval.

        7.03 Break-up Fee. In consideration of the real and substantial benefits conferred by
the Buyer upon the Seller's bankruptcy estate by providing a minimum floor bid upon which the
Seller, its creditors and the other bidders were able to rely and in consideration of the time,
expense and risks associated with serving as the "Initial Bidder," including legal fees and
expenses, overhead costs, due diligence expenses and other similar expenses related to the
negotiation and preparation of this Agreement and of all related transactional documentation, due
diligence and representation, Buyer has provided a material benefit to the Seller's estate by
increasing the likelihood that the best possible price for the Acquired Assets shall be received
and that the Break-Up Fee (as hereafter defined) is reasonable and appropriate in light of the size
and nature of the proposed sale transaction and comparable transactions, the commitments that
have been made and the efforts that have and shall be expended by the Buyer and was necessary
to induce the Buyer to pursue the transactions contemplated hereby under the terms of this
Agreement. Subject to the entry of the Bidding Procedures Order, if Buyer is not the successful
bidder for the purchase of the Acquired Assets and the Acquired Assets are sold to another
bidder, Seller will pay Buyer a break-up fee equal to five hundred thousand dollars
($500,000.00) (the "Break-up Fee").

        7.04 Notices and Consents. Except as expressly required by this Agreement, each of
the parties will promptly give any notices to, make any filings with, and use its cmmnercially
reasonable efforts to obtain any authorizations, consents, and approvals of Governmental Entities
to consummate and make effective the Transaction.

        7.05 Full Access. From the Agreement Date through the Closing Date, the Seller will
permit representatives of Buyer and its professionals to have full access at all reasonable times,
and in a manner so as not to unreasonably interfere with the normal business operations of the
Seller, to all books, records (including tax records), employees, contracts, and documents of or
pertaining to the Seller.

       7.06 Property Inspection and Testing. After the Agreement Date and prior to the
Closing Date, Buyer shall be permitted at its sole expense, to inspect (with consultants of its
choosing) the physical and environmental condition of the Real Property owned by Berkeley
Properties LLC and used by the Seller. Buyer's inspection right shall include the right to test for


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contamination, provided that Buyer shall restore such Real Property to the condition it was in
prior to the conduct of any such inspection and testing.

        7.07 Name Change.            As soon as practicable following the Closing, and subject to
approval of the Bankruptcy Court, Seller shall discontinue the use of its current name (and any
other trade names cun·ently utilized by any Seller) and shall not subsequently change its name to
or otherwise use or employ any name which includes the words "Pacific Steel Casting Company"
or any similar designation without the prior written consent of Buyer, and Seller shall cause the
name of Seller in tl1e caption of the Bankruptcy Case to be changed to the new name of Seller in
accordance with this Section 7.06. From and after the Closing, the Seller covenants and agrees
not to use or otherwise employ any of the trade names, corporate names, "d/b/a" names or any
mark that is confusingly similar to the Intellectual Property rights utilized by any of Seller in the
conduct of the Business or any Acquired Asset, which rights shall be included in the Acquired
Assets purchased hereunder. As soon as practicable following the Closing, Seller shall file all
necessary organizational amendments with the applicable Secretary of State of each Seller's
jurisdiction of formation and in each state in which each such Seller is qualified to do business
and with the Bankruptcy Court to effectuate the foregoing.

        7.08 Transfer Taxes. All taxes arising out of each transfer of the Acquired Assets and
any transfer taxes required to effect any recording or filing with respect thereto shall be borne by
Buyer. Seller and Buyer shall cooperate to timely prepare and file any tax return relating to such
transfer taxes, including, any claim for exempt or exclusion from the obligation or imposition of
any transfer taxes. Seller shall be solely liable for any income, capital gains or similar taxes
arising from the transfer of the Acquired Assets.

         7.09 Bulk Sales Laws. To the extent the bulk sales laws of any state are applicable to
tl1e transactions contemplated by this Agreement, the parties hereby waive compliance wiili such
bulk sales laws and the Buyer shall pay any Liabilities for any such noncompliance as a
purchaser of assets pursuant to applicable law; provided, ilia! Buyer shall in no case be deemed
to assume any Liabilities which are not otherwise Assumed Liabilities under Section 2.03(b) by
reason of such noncompliance, and Seller shall pay any Liabilities for any such noncompliance
as a seller of assets pursuant to applicable law.

          7.10      Multiemployer Plan.

                (a)    The Parties intend to comply with the requirements of Section 4204 of tile
Employee Retirement Income Security Act of 1974, as amended ("ERISA") in order to ensure
that the transactions contemplated by this Agreement shall not be deemed a complete or partial
withdrawal from the CMTA - Glass, Molders, Pottery, Plastics & Allied Workers Local #1648
Pension Trust (the "Multiemployer Plan"). Accordingly Seller and Buyer agree:

                       (i)  After the Closing Date, Buyer shall contribute to the
Multiemployer Plan with respect to the Seller's Business operations acquired by Buyer for
substantially the same number of "contribution base units" for which Seller had an "obligation to
contribute" to the Multiemployer Plan (as those terms are defined in Sections 400l(a)(J 1) and
4212 of ER!SA, respectively) pursuant to the Collective Bargaining Agreement. At or prior to



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the Closing Date, Seller shall assume and assign to the Buyer the Collective Bargaining
Agreement with the Union, effective as of the Closing.

                       (ii)    Buyer shall provide to the Multiemployer Plan, for a period of five
consecutive plan years commencing with the first plan year beginning after the Closing Date,
either a bond issued by a surety company that is an acceptable surety for purposes of Section 412
of ERISA or an amount held in escrow by a banlc or similar financial institution satisfactory to
the Multiemployer Plan. The amount of snch bond or escrow deposit shall be equal to the
greater of (A) the average annual contribution that Seller was required to make under the
Multiemployer Plan with respect to the operations of Seller's Business for the three plan years
immediately preceding the plan year in which the Closing Date occurs, or (B) the annual
contribution that Seller was required to make under the Multiemployer Plan with respect to the
operations of the Seller's Business for the last plan year immediately preceding the plan year in
which the Closing Date occurs. Such bond or escrow shall provide that it will be paid to the
Multiemployer Plan if Buyer withdraws from the Multiemployer Plan or fails to make a
contribution to the Multiemployer Plan when due, at any time during the first five plan years
beginning after the Closing Date. Buyer may, at its own cost and expense, seek any applicable
waiver or exemption from the Multiemployer Plan or the applicable Governmental Entity from
the requirement that it post a bond, as set forth in 29 C.F .R. Part 4204, and Seller shall cooperate
with Buyer in seeking such waiver or exemption, provided, however that Buyer shall comply
with all provisions of this Section 7. IO(a)(ii) for the period of time after the Closing Date in
which it is seeking but not yet obtained such a waiver or exemption.

                        (iii)   If Buyer completely or pa1iially withdraws from the
Multiemployer Plan prior to the end of the fifth plan year of the Multiemployer Plan beginning
after the Closing Date, and Buyer's liability of the Buyer with respect to the Multiemployer Plan
is not paid, then Seller shall be secondarily liable for any withdrawal liability Seller would have
had to the Multiemployer Plan with respect to Buyer's operations during such five-year period
but for Section 4204 ofERISA. Buyer shall indemnify Seller and hold Seller haimless from and
against any liability incurred by Seller pursuant to Section 4204 of ERISA and this subsection
(iii).

               (b)     Seller shall cooperate with Buyer if Buyer elects to prepare and submit to
the Multiemployer Plan or the Pension Benefit Guarantee Corporation ("PBGC") a request for a
variance or exemption from the bond/escrow requirement of Section 4204(a)(l )(B) ofERISA (as
described in clause (ii) of this subsection). Unless and until such a variance or exemption is
granted, Buyer shall comply with the bond/escrow requirement, except to the extent provided in
PBGC Regulation Section 2643.1 l(d).

               (c)     To the extent that this Section 7.10 (without regard to this subsection) fails
to comply with the requirements of Section 4204 of ERISA such that the withdrawal liability
exemption provided by Section 4204 would be unavailable to Seller, the Parties agree that this
Section 7.109 shall be deemed to include any tetm (including the modification of any express
term herein) that is reasonably necessary to invoke the withdrawal liability exemption resulting
from the application of Section 4204 to the Transaction.

          7.11      Post-Closing Transition and Cooperation.

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                (a)     The Parties agree that following the Closing of the Transaction, they shall
cooperate to facilitate the ownership transition of the Business and the Acquired Assets to the
Buyer by taking such actions and executing such documents as may be necessary and appropriate
for snch purpose. Bnyer shall cooperate with Seller by making available to Seller upon its
reasonable request and upon reasonable notice and for reasonable time periods, former Seller
personnel employed by Buyer who have specific and unique knowledge of Seller's pre-Closing
operations such that their assistance would be reasonable and necessary to enable Seller to
complete its disclosure statement and plan of reorganization in the Bankruptcy Case and to
otherwise substantially comply with the requirements of the Bankruptcy Code. The Parties agree
to negotiate a reasonable compensation arrangement pursuant to which Seller shall pay Buyer for
the reasonable value of the time expended by such personnel for Seller's benefit.

                (b)     Notwithstanding Seller's assignment of all its prior and current workers
compensation Insurance Policies to Buyer, Buyer shall cooperate with Seller as necessary to
facilitate the transition to Buyer the processing and administration of claims actually or
potentially covered under such workers compensation Insurance Policies for acts or occurrences
arising prior to the Closing Date.

        7.12. Non-Union Pension Plan. On or before the Closing Date, Seller shall file with
the IRS a submission under the Voluntary Correction Program ("VCP") to correct errors
identified in the 2011 restatement of the Non-Union Pension Plan. To the extent the IRS
disqualifies the Non-Union Pension Plan and seeks to impose taxes (including penalties and
interest) or other costs by reason thereof, or discovers and asserts any other qualification issues
arising from occurrences and circumstances prior to the Closing, or seeks to impose penalties or
costs on the Plan sponsor by reason thereof, Buyer shall assume and pay the same.

                                            ARTICLE VIII

                                     EMPLOYEE MATTERS

         8.01      Employees.

                   (a) Rehired Employees.

                       (i)    From the Agreement Date and only so long as the Buyer is not in
breach hereof, Seller shall cooperate with Buyer and permit Buyer to (i) meet with employees of
the Seller at such times as Buyer shall reasonably request, (ii) speak with such employees who
are being considered for employment by Buyer, (iii) distribute to such employees such forms and
other documents relating to potential employment by Buyer (including an incentive
compensation package to ce1iain members of management) after the Closing Date as Buyer may
reasonably request and (iv) permit Buyer to review personnel files and other relevant
employment information regarding employees of the Seller.

                      (ii)     As of the Closing Date, Buyer will have arranged the ability to
offer to rehire, in Buyer's sole discretion, all or part of the employees of Seller. Seller will
provide a complete list of all of their current employees with an indication of which employees
are represented by the Union. Withont limiting Buyer's discretion, one day after entry of the

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Sale Order, Buyer shall provide Seller with approximate lists of the number and categories of
employees to be offered employment. Any negotiations or discussions with members of the
Union or the Union Representative after the Closing Date shall be conducted according to the
requirements of the Collective Bargaining Agreement and applicable law. The employees who
accept Buyer's offer are referred to as the "Rehired Employees".

                     (iii)  To the extent not prohibited under applicable law, following the
Closing Date, Se11er shall make available to Buyer such non-confidential data in personnel
records of Rehired Employees as is reasonably necessary for Buyer to transition such Rehired
Employees into Buyer's records.

                       (iv)    On the Closing Date, Se11er sha11 pay to its employees, or reserve
for payment, the portion of the payroll and such other amounts as Seller is liable (including,
without limitation, applicable payroll taxes and amounts owed under Union Benefit Plans) that
first comes due following the Closing Date that relates to services performed by its employees
prior to the Closing Date. If reserved, such amount shall be paid in the next payroll coming due.

                      (v)     Effective immediately before the Closing, Seller shall terminate, at
its sole cost and expense, the employment of the Rehired Employees. Each Rehired Employee
who is not otherwise participating in the Union Benefit Plans shall be eligible to participate in all
of Buyer's employee benefit plans in accordance with the terms of those plans to the same extent
and in the same manner as new employees of Buyer, or Buyer may permit or require those
Rehired Employees to continue to patiicipate in the Assumed Plans.

                      (vi)   Except as othe1wise specifically set forth herein, Seller shall have
no responsibility whatsoever for any liabilities or obligations which relate in any way to such
Rehired Employee's employment service with Buyer.

               (b) Excluded Employees. Buyer shall have no obligation to offer employment to
any employee listed on Schedule 8.0l{b) (the "Excluded Employees"), but may hire them. Buyer
may amend Schedule 8.0l(b) from time to time on written notice to Seller; provided that such
Schedule 8.0l(b) shall be finalized no later than one day prior to the Closing Date. If an
Excluded Employee is hired by Buyer, he or she is no longer an Excluded Employees and
becomes a Rehired Employee. The Excluded Employees and all obligations to the Excluded
Employees shall remain the sole responsibility of Seller, including, without limitation, all
severance, constructive notice or other costs under any contract, agreement or understanding and
any applicable federal, state, county, city, municipal or other laws, statutes, rules, regulations,
orders, consent decrees, permits or licenses in connection with the Excluded Employees.

                                                ARTICLE IX

                       CONDITIONS TO THE OBLIGATIONS OF THE PARTIES

         9.01          Conditions to Closing Applicable to All Parties.

               (a)    Order. As a condition to Closing, the Bankruptcy Cami shall issue an
order (the "Sale Order"), which order shall be final and 11011-appealable and not be subject to any


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stay (unless the Parties waive the requirement that the Sale Order be final and non-appealable),
and which shall confirm the sale of the Acquired Assets to the Buyer, the assignment of the
Assumed Contracts to the Buyer, and authorization of the Transaction consistent with the tenns
of this Agreement, in form and content reasonably satisfactory to Buyer. In the event that entry
of the Sale Order is appealed, Seller and Buyer shall use their respective reasonable effmts to
defend such appeal.

               (b)     Conditions to the Obligations of Buyer and Seller. The obligations of
Buyer and Seller to consummate the Transaction shall be subject to the satisfaction, or waiver by
such Pa1ty, at or prior to the Closing Date, of the condition that there shall be no (i) suit, action
or other proceeding threatened or brought by any Governmental Entity which seeks to restrain or
prohibit in any material respect the consummation of the Transaction; or (ii) injunction, stay,
order, judgment or decree in effect and issued by any Governmental Entity which restrains or
prohibits in any material respect the consummation of the Transaction.

               (c)    Notice and Oppmtunity to Cure.         If on the Closing Date any of the
conditions set forth in this Article IX are not satisfied, then the Party whose obligation to
perform hereunder is subject to such condition shall provide written notice to the other Party, and
if such condition is not satisfied within three business days of receipt of such notice, then the
Paity giving notice shall have the right to terminate this Agreement by written notice given prior
to the Closing. If such notice of termination is given by Buyer, the Good Faith Deposit shall be
immediately refunded to Buyer.

       9.02 Conditions to the Obligations of Seller.            The obligations of Seller to
consummate the Transaction shall be subject to the satisfaction at or prior to the Closing of the
following conditions:

                 (a)    Representations and Warranties; Covenants. The representations and
wai-rai1ties of Buyer contained in this Agreement shall be true and correct in all material respects
as of the Agreement Date and on the Closing Date. Representations and warranties that are made
as of an earlier date shall be true and c01Tect as of such earlier date and on Closing.

                (b)     Buyer Deliveries. Seller shall have received from Buyer the deliverables
refen-ed to in Section 4.0l(a) in form and substance reasonably satisfacto1y to Seller;

               (c)    Sale Order. The Bankruptcy Court shall have entered the Sale Order
which as of the Closing Date shall be final and non-appealable and not subject to stay unless the
Buyer waives the requirement that the Sale Order be final and non-appealable.

        9.03 Conditions to the Obligations of Buyer. The obligations of Buyer to
consummate the Transaction shall be subject to the satisfaction at or prior to the Closing Date of
the following conditions:

               (a)     Representations and Warranties; Covenants. The representations and
waiTanties of Seller contained in this Agreement shall be true and correct in all material respects
as of the Agreement Date and on the Closing Date. Representations and wan-anties that are
made as of an earlier date shall be true and correct as of such earlier date and on the Closing
Date.

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                (b)     Bankruptcy Court Approval. The Bankruptcy Court shall have entered
each of the Bidding Procedures Order and the Sale Order in form and content reasonably
acceptable to Buyer which as of the Closing Date shall be fmal and non-appealable and not
subject to stay unless the Buyer waives the requirement that the Sale Order be final and non-
appealable. Among other things, the Sale Order must (i) approve, pursuant to Sections 105,363
and 365 of the Bankruptcy Code, (A) the execution, delivery and performance by Seller of this
Agreement, (B) the sale of the Acquired Assets to Buyer on the tenns set forth here, including
that such sale is free and clear of Encumbrances and claims (except with respect to the Assumed
Liabilities), with such Liens, Encumbrances and claims to attach only to the proceeds of the sale;
and (C) the performance by Seller of its obligations under this Agreement; (ii) authorize and
direct Seller to asswne and assign to Bnyer the Assumed Contracts, and Intellectual Property
Assignments pursnant to Section 365 of the Bankruptcy Code; (iii), find that Buyer is a "good
faith" buyer within the meaning of Section 363(m) of the Bankruptcy Code and that the Buyer is
entitled to have the protections afforded by that section; (iv) contains a finding that reasonable
and adequate notice of the sale and transfer of the Acquired Assets to Buyer, and assumption and
assigmnent of the Assumed Contracts to the Buyer, has been provided to all paiiies required to
be given notice under the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy
Rules for the Northern District of California; (v) contains a finding that neither Seller nor Buyer
has engaged in any conduct that would cause or permit the sale of the Acquired Assets to be
avoided under Section 363(11) of the Bankruptcy Code; (vi) bars any third parties from asserting
claims (including any claims for successor liability, including, withont limitation, claims arising
from unassumed unexpired leases or executory contracts), Liens or Encumbrances of any kind or
nature against Buyer or the Acquired Assets that arose prior to Closing; and (vii) provides that
the Sale Order is binding on any and all successors and assigns, including any trustee appointed
after entry of the Sale Order pursuant to Sections 70 I or 702 of the Bankruptcy Code. The Sale
Order shall be in full force and effect.

               (c)    Sale Order. Seller shall have delivered to Buyer (A) a certified copy of
the Sale Order and (B) copies of all affidavits of service of the Sale Motion seeking the Sale
Order or notice of such motion filed by or on behalf of Seller;

              (d)     Asswned Contracts. All of the Assumed Contracts shall be in full force
and assignable to, and assumable by, Buyer without the consent of the other paiiy thereto,
pursuant to Section 365 of the Bankruptcy Code, or the required consents with respect thereto
shall have been obtained. Buyer shall exert reasonable efforts to obtain any third party consents
required for the assignment of the Assumed Contracts to Buyer. Seller shall reasonably
cooperate in Buyer's efforts to obtain such consents.

                (e)     Seller Deliveries. Buyer shall have received from Seller the deliverables
refe1Ted to in Section 4.0l(b) in fo1m and substance reasonably satisfactory to Buyer.

               (f)     No Material Changes In Business, Acquired Assets. There shall have
been no change in the operation or use of the Business, the Acquired Assets or the Real Property
that is reasonably likely to have a Material Adverse Effect on the Business, the Acquired Assets
or the Real Property. Seller shall continue to operate in the ordinary course, including without
limitation backlogs within ordinary levels, orders met with ordinary timeliness, working capital
being maintained at ordinary levels, an absence of material customer order cancellation.

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               (g)     Import Castings In Transit. Seller's import castings in transit as listed on
the Accrued Expenses Breakdown in the Cleary Gull data room are not in the possession of
Seller, have not already been sold, and have customer orders for 100% of the paiiicularparts.

                (h)     Lease Of Real Property. Buyer shall have entered into a "triple net" lease
of the Real Property with Berkeley Properties, LLC, including monthly rent of $89,544.00, a 15-
year term with 5-year extension option in the form and on the terms and conditions described in
Exhibit 9.03(h) hereto ("Lease"). All representations and wan-anti es of the Landlord under the
Lease shall be true and accurate in all material respects as of the Closing Date. Beginning on the
Agreement Date to the Closing Date, Buyer shall reasonably cooperate with Seller's attempt to
obtain all certificates of occupancy and zoning ce1iificates necessary to take occupancy and
continue operations as a steel foundry from and after the Closing Date.

              (i)      Real Property Contamination. In the event that testing is conducted on
behalf of Buyer of the environmental condition of the Real Property owned by Berkeley
Properties, LLC under Section 7.06, Buyer shall have received environmental testing results for
the such Real Property which (i) conclude that such Real Property is not contaminated (other
than any contamination identified in the Phase I or Phase II testing repmis previously obtained
by the Company and disclosed to Buyer), or (ii) concludes such Real Prope1iy is contaminated
(other than contamination identified in such Phase I and Phase II testing repo1is) and the
estimated costs of remediation are less than $750,000 provided in such case that Seller either
assumes the obligation to remediate such contamination at Seller's expense, or reduces the
Purchase Price in the amount of the estimated remediation costs.

                G)     Real Property Condition. In the event that testing is conducted on behalf
of Buyer of the physical condition of the Real Property owned by Berkeley Properties, LLC,
under Section 7.06, Buyer shall have received inspection reports for the such Real Prope1iy
which notes conditions in need of repair, rehabilitation or replacement and the aggregate amount
thereof is less than $750,000. Any cost attributable to repair, rehabilitation or replacement of a
condition identified in the Phase I or Phase II testing reports described in Section 9.03(i) shall be
disregai·ded for purposes of detennining the aggregate amount of required repair, rehabilitation
or replacement costs. For purpose hereof any item of repair assumed by Berkeley Properties
LLC under the Lease shall be excluded from the aggregate amount of estimated repair items.

              (k)   Non-Union Pension Plan. Seller shall pay to the Non-Union Pension Plan,
all amounts necessary to meet the outstanding minimum contribution requirements for the Non-
Union Pension Plan with respect to the plan ending March 31, 2014, the estimated amount of
which is $760,000.

                                           ARTICLEX

                                       MISCELLANEOUS

       10.01 · Survival of Representations, Warranties and Covenants. The representations
and wan-anties of Buyer and Seller contained· in this Agreement and the covenants and
agreements of Buyer and Seller contained in this Agreement shall survive for a period of ninety
(90) days following the Closing Date and any claim of breach by either Party shall made in

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writing delivered to the breaching Patiy on or before the end of such ninety (90) day period.
Any dispute arising out of a claimed breach shall be submitted to and resolved by the Bankruptcy
Court pursuant to Section 10.08 hereof. Any amount determined to be due to Buyer (either by
agreement of the Parties or by order of the Bankruptcy Court) on account of any breach of a
representation, warranty or covenant by Seller shall be paid to Buyer through a reduction in the
amount of rent otherwise payable by Buyer to Berkeley Properties LLC under the Lease until the
amount of such rent abatement equals the amount determined to be due to Buyer, after which the
rent under the Lease shall be fully payable pursuant to the Lease terms. Buyer's sole and
exclusive remedy after the Closing Date for any Seller's breach of a representation, warranty or
covenant shall be such rent abatement. The Lease shall provide for Berkeley Properties LLC's
consent to and recognition of Buyer's rights of offset and rent abatement hereunder.

        10.02 No Third-party Beneficiaries. This Agreement shall not confer any rights or
remedies upon any Person other than the parties and their respective successors and permitted
assigns.

       10.03 Entire Agreement. This Agreement (including the exhibits, schedules and
Disclosure Schedules referred to herein) and the Sale Order constitutes the entire agreement
between the parties and supersedes any prior understandings, agreements, or representations by
or between the parties, written or oral, to the extent they relate in any way to the subject matter
hereof or thereof.

         10.04 Succession and Assignment. This Agreement shall be binding upon and inure to
the benefit of the patiies named herein and their respective successors and petmitted assigns. No
Party may assign either this Agreement or any of its rights, interests, or obligations hereunder
without the prior written approval of the other Party; provided, however, that nothing herein shall
prohibit the assigmnent of Buyer's rights and obligations) to any direct or indirect subsidiary or
affiliate (formed or to be fanned). No such Buyer assignment shall relieve it of its obligations
under this Agreement prior to the Closing. From and after the Closing and assuming payment in
full of the Purchase Price, Speyside Fund, LLC is released from further liabilities and obligations
hereunder, and its assignee subsidiary shall be solely liable for the obligations of the Buyer.

       10.05 Counterparts; Signatures. This Agreement may be executed in one or more
counterpatis, each of which shall be deemed an original but all of which together shall constitute
one and the smne instrument. Signatures of the parties transmitted by facsimile or by electronic
media or similar means shall be deemed to be their original signature for all purposes.

        10.06 Headings. The section headings contained in this Agreement are inserted for
convenience and reference purposes only and shall not affect in any way the meaning or
interpretation of this Agreement.

        10.07 Notices. All notices, requests, demands, claims, and other communications
hereunder shall be in writing. Any notice, request, demand, claim, or other communication
hereunder shall be deemed duly given if (and then two (2) Business Days after) it is sent by
registered or certified mail, return receipt requested, postage prepaid, and addressed to the
intended recipient as set forth below:



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        If to The Seller:

        Pacific Steel Casting Company
        c/o Katie Delsol
        85 Lakeside Drive
        Corte Madera, CA 94925
        Phone:
        Facsimile:

         Copy to:

        Michael Malter, Esq.
        Binder & Malter LLP
        2775 Park Avenue
        Santa Clara, CA 95050
        Phone: 408-295-1700
        Facsimile: 408-295-153 l
        Email: michael@bindermalter.com

         and

         Stephen A. Dennis, Esq.
         Thoits, Love, Hershberger & McLean
         285 Hamilton Avenue, Suite 300
         Palo Alto, CA 94301
         Phone: 650-327-4200
         Facsimile: 650-325-5572
         Email: sdennis@thoits.com

         Ifto Buyer:

         Speyside Fund, LLC
         Attn: Jeffrey Stone
         55 Bridge St.
         Lambe1tville, NJ 08530
         Phone: 800-897-9721
         Facsimile: 855-269-3979

         Copy to:

         Gary Kaplan, Esq.
         Farella Braun + Martel LLP
         235 Montgomery Street, 1?'h Floor
         San Francisco, CA 94104
         Phone: 415-954-4940
         Facsimile: 415-954-4480
         Email: gkaplan@fbm.com

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        Any Party may send any notice, request, demand, claim, or other communication
hereunder to the intended recipient at the address set forth above using any other means
(including personal delivery, expedited courier, messenger service, telecopy, ordinary mail, or
electronic mail), but no such notice, request, demand, claim, or other communication shall be
deemed to have been duly given unless and until it is actually received by the intended recipient.
Any Party may change the address to which notices, requests, demands, claims, and other
communications hereunder are to be delivered by giving the other Party notice in the manner
herein set forth.

     10.08 SUBMISSION TO JURISDICTION. THE PARTIES HEREBY AGREE
THAT ANY AND ALL CLAlMS, ACTIONS, CAUSES OF ACTION, SUITS AND
PROCEEDINGS RELATING TO THIS AGREEMENT OR THE OTHER AGREEMENTS
CONTEMPLATED HEREIN SHALL BE FILED AND MAINTAINED IN THE UNITED
STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,
OAKLAND DIVISION,

       10.09 Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of California, and where applicable, the Bankruptcy Code.

        10.10 Amendments and Waivers. No amendment of any provision of this Agreement
shall be valid unless the same shall be in writing and signed by Buyer, the Seller.        No
amendment of any provision of Section 7. IO affecting the treatment of the Multiemployer Plan
herew1der, shall be made without the written consent of the Multiemployer Plan. No waiver by
any Party of any default, misrepresentation, or breach of warranty or covenant hereunder,
whether intentional or not, shall be deemed to extend to any prior or subsequent default,
misrepresentation, or breach of warranty or covenant hereunder or affect in any way any rights
arising by virtue of any prior or subsequent such occurrence.

        10.11 Severability. Any term or provision of this Agreement that is invalid or
unenforceable in any situation in any jurisdiction shall not affect the validity or enforceability of
the remaining te1ms and provisions hereof or the validity or enforceability of the offending term
or provision in any other situation or in any other jurisdiction. To the extent legally permissible,
any illegal, invalid or unenforceable provision of this Agreement shall be replaced by a valid
provision that will implement the commercial purpose of the illegal, invalid or unenforceable
provision.

        10.12 Fees and Expenses. Except as otherwise provided in the Agreement, each Party
shall bear the fees, costs and expenses incurred by it, in connection with or in anticipation of this
Agreement and the consummation of the Transaction. In the event of the bringing of any action,
Bankruptcy Cowt proceeding or suit by a Party against another Party by reason of any breach of
any of the covenants or agreements or any material inaccuracies in any of the representations and
warranties on the part of the other Pa1ty arising out of this Agreement, the prevailing Party in
such action, Bankruptcy Court proceeding or suit, shall be entitled to have and recover of and
from the other Party all costs and expenses of suit, including reasonable attorneys' fees.




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         10.13 Construction. The parties have participated jointly in the negotlat10n and
drafting of this Agreement. In the event an ambiguity or question of intent or interpretation
arises, this Agreement shall be construed as if drafted jointly by the parties and no presumption
or burden of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any
of the provisions of this Agreement. Any reference to any federal, state, local, or foreign statute
or law shall be deemed also to refer to all rules and regulations promulgated thereunder, unless
tl1e context requires otherwise. The word "including" shall mean including without limitation.

       10.14 Fair Consideration. The Parties acknowledge and agree that the Purchase Price
represents fair consideration and reasonable equivalent value for the sale and transfer of the
Business and Acquired Assets, and the Transaction, covenants, and agreements set forth in this
Agreement, which consideration was agreed upon as the result of arm's-length good-faith
negotiations among the Parties and their respective representatives.

        10.15 Incorporation of Schedules. The Schedules and the Disclosure Schedules
identified in this Agreement are incorporated herein by reference and made a part hereof.

        10.16 Gender and Number. When the context of this Agreement requires, the general
of all words shall include the masculine, feminine, and neuter, and the number of all words shall
include the singular and plural.

     10.17 No Consequential or Punitive Damages. NO PARTY (OR ITS AFFILIATES
OR REPRESENTATIVES) SHALL, UNDER ANY CIRCUMSTANCE, BE LIABLE TO THE
OTHER PARTY (OR ITS AFFILIATES OR REPRESENTATIVES) FOR ANY
CONSEQUENTIAL, EXEMPLARY OR PUNITIVE DAMAGES CLAIMED BY SUCH
OTHER PARTY UNDER THE TERMS OF OR DUE TO ANY BREACH OF THIS
AGREEMENT, INCLUDING LOSS OF REVENUE OR INCOME, DAMAGES BASED ON
ANY MULTIPLIER OF PROFITS OR OTHER VALUATION METRIC, COST OF CAPITAL,
DIMINUTION OF VALUE OR LOSS OF BUSINESS REPUTATION OR OPPORTUNITY.

        10.18 Time of Essence. Time is of the essence of each and every term, condition,
obligation and provision hereof.

        10.19 Waiver. Any term or condition of this Agreement may be waived at any time by
the Party that is entitled to the benefit thereof, but only if such waiver is evidenced by a writing
signed by such Party. No failure on the part of any Party to exercise, and no delay in exercising
any right, power or remedy created hereunder, shall operate as a waiver thereof, nor shall any
single or partial exercise of any right, power or remedy by any such Party preclude any other or
further exercise thereof or the exercise of any otl1er right, power or remedy. No waiver by any
Patty of any breach of or default in any term or condition of this Agreement shall constitute a
waiver of or assent to any succeeding breach of or default in the same or any other term or
condition hereof.




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        IN WITNESS WHEREOF, the Patties, by their duly authorized reptesentatives, have
 executed tliis Agreement as of the date first set forth above.



                                         SELLER

                                        PACIFIC STEEL CASTJNG COMPANY




                                                Katie Delsol, President




                                         BUYER
                                         SPEYSIDE FUND, LLC



                                         By:-------------

                                         Na:tne: - - - - - - - - - - - - - ~ -
                                         Title: _ _ _ _ _ _ _~ - - - - - - -




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       IN \VITNESS \VHEREOF. the Parties, by their duly authorized representatives, have
executed this Agreement as of the date first set forth above.




                                        SELLER



                                        PAC!FlC STEEL CASTING COMPANY




                                        By:

                                                 Katie Delsol. President




                                        SPEYSIDE FUKD, LLC




                                        Title:




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                                             Exhibit A

                                             Definitions


Certain Definitions.    The following terms, as used in this Agreement, have the following
meanings:

"2013 Year-end Financial Statements" is defined in Section 5.01 (f).

"2014 Year-end Financial Statements" is defined in Section 5.0l(f).

"Acquired Assets" is defined in Section 2.0l(a).

"Agreement Date" is defined in the first paragraph of this Agreement.

"April 30, 2014 Interim Financial Statements" is defined in Section 5.0l(f).

"Assumed Contracts" is defined in Section 2.04(a).

"Assumed Liabilities" is defined in Section 2.03(b).

"Assumed Plan" means a Benefit Plan assumed by the Buyer.

"Bankruptcy Case" is defined in Recital B.

"Bankruptcy Code" is defined in Recital B.

"Bankruptcy Comt" is defined in Recital B.

"Benefit Plans" means all plans maintained, funded or administered by Seller for the benefit of
Seller's employees, including health, dental, vision, long-term disability, life insw-ance policy,
401(k) plans, and pension plans.

"Bidding Procedures Order" is defined in Section 7.02(a).

"Break-up Fee" is defined in Section 7.03.

"Business" is defined in Recital A.

"Buyer" is defined in the first paragraph to this Agreement.

"Buyer's Audited Financial Statements" is defined in Section 6.0l(d).

"Buyer's Financial Statements" is defined in Section 6.0l(d).

"Buyer's Interim Financial Statements" is defined in Section 6.01 (d).




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"Cash" and "Cash Equivalents" means currency, coins, checks received but not yet deposited,
checking accounts, petty cash, savings accounts, money market accounts, and short-term, highly
liquid investments with a maturity of three months or less at the time of purchase such as U.S.
treasury bills and commercial paper.

"Closing Date" is defined in Section 2.0l(a).

"Collective Bargaining Agreement" means the Agreement between Pacific Steel Casting
Company and Local l64B of the Glass, Molders, Pottery, Plastics & Allied Workers
International Union and establishes Seller's obligation to contribute to the CMTA-Glass,
Molders, Pottery, Plastics & Allied Workers (Local l64B) Pension Trust during the period
March 21, 2011 tlu-ough March 15, 2015.

"Contracts" means all contracts, licenses, sublicenses, agreements, commitments, leases,
arrangements, instruments, guaranties, bids and proposals to which the Seller is a party and
relating to the Business.

"Cure Amounts" is defined in Section 2.04(b).

"Debtor" is defined in the first paragraph of this Agreement.

"Encumbrances" means any interest, claim, Lien, m01igage, pledge, security interest, obligation,
encumbrance, lien (statutory or other), liability, charge, lease, covenant, easement, option, right
of others, hypothecation, conditional sale agreement or restriction (whether on voting, sale,
transfer, defenses, set-off or recoupment rights, disposition, or otherwise), whether imposed by
agreement, understanding, law, equity, or otherwise ..

"Environmental Claim" means all liabilities, damages, obligations, claims or losses of any kind
whatsoever imposed, incurred or arising from or under any Environmental Law or resulting from
the presence of any Hazardous Substance.

"Environmental Laws" means any federal, state, local or foreign statute, law, ordinance or
promulgated rule, regulation, code or directive, any duties imposed under common law, any
judicial or administrative decree, order or judgment (whether or not by consent), any request or
demand from a Governmental Entity, or any provision or condition of any permit, license or
other operating authorization relating to (i) the protection of the environment or human, worker
or public health and welfare, or the protection of the health and safety of any workers,
employees, and the public or (ii) the manufacture, processing, distribution, use, treatment,
storage, disposal, transp01i, handling or actual or potential release, discharge or emission of any
Hazardous Substance, including but not limited to the Clean Water Act, the Toxic Substances
Control Act, the Clean Air Act, the Comprehensive Environmental Response, Compensation and
Liability Act, the Resource Conservation and Recovery Act, the River and Harbor Act, the
Federal Insecticide, Fungicide and Rodenticide Act, the Toxic Substances Control Act, the
Federal Mine Safety and Health Act, the Occupational Safety and Health Act, and any state or
 local law, ordinance, rule, regulation, code or directive regulating the same or similar matters.

"Environmental Permits" means any and all Permits issued in accordance with or pursuant to any
Environmental Law.

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"ERISA" is defined in Section 7.lO(a).

"Excluded Assets" is described in Section 2.02.

"Execntory Contract" is defined in Section 2.04(a).

"Financial Advisor" is defined in Section 3.0l(c)(ii).

"Financial Statements" is defined in Section 5.0l(f).

"GAAP" is defined in Section 5.0l(f).

"Good Faith Deposit" is defined in Section 3.01.

"Governmental Entity" means any federal, state, municipal, local or foreign government,
political subdivision, legislature, court, agency, department, bureau, commission or other
govenunental or quasi-governmental or regulatory authority, agency, commission body or
instnunentality, including any industry or other non-goverrunental self-regulatory organizations.

"Hazardous Substances" means any substance, waste, contaminant, pollutant or material
regulated or governed by any Environmental Law, including, but not limited to, (a) all
substances, wastes, contaminants, pollutants and materials defined or designated as hazardous,
dangerous or toxic pursuant to any applicable Environmental Law and (b) asbestos, mold,
polychlorinated biphenyls ("PCBs") and petroleum.

"Initial Credit Bid" is defined in Section 3.01 (b)(i).

"Insurance Policies" is defined in Section 5.0l(o).

 "Intellectual Property" means (i) inventions, ideas or conceptions of potentially patentable
subject matter, whether or not reduced to practice, whether or not yet made the subject of a
pending patent application or applications, (ii) patents and patent applications (including any
continuations, continuations-in-part, divisionals, reissues, renewals and applications for any of
the foregoing), (i) and (ii) collectively, "Patents"), (iii) trademarks, service marks, trade dress,
designs, logos, trade names, corporate names, and any derivative, thereof, used by Seller in
connection with the operation of the Business, and general intangibles of like nature whether or
not registered, including all common law rights and registrations and applications for registration
thereof, together with all goodwill relating to the foregoing (collectively, 'Trademarks"), (iv)
copyrights, whether or not registered, and registrations and applications for registration thereof,
and all rights therein provided by multinational treaties or conventions (collectively,
"Copyrights"), (v) computer software, including, without limitation, source code, operating
systems and specifications, data, data bases, files, documentation and other materials related
thereto, (vi) trade secrets and confidential, technical or business information (including, without
limitation, ideas, inventions (whether or not patentable), formulas and compositions), (vii)
teclmology (including, without limitation, !mow-how and show-how), production processes and
techniques, research and development information, drawings, specifications, designs, sketches,
design archives, plans, proposals, technical data, copyrightable works, financial, marketing, and
business data, pricing and cost information, business and marketing plans and customer and

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supplier lists and information, whether or not confidential, whether current or historical, (viii) all
web sites, and domain names, and all content contained therein, (ix) all rights to obtain and apply
for Patents, and to register Trademarks and Copyrights, (x) copies and tangible embodiments of
all of the foregoing, in whatever form or medium, (xi) all rights to sue, recover and retain
damages (and costs and attorneys' fees) for present and past infringement of any of the
Intellectual Property hereinabove set out, and (xii) all common law rights with respect to the
Intellectual Property hereinabove set out.

"Interim Financial Statements" is defined in Section 5.0l(f).

"IRC" is defined in Section 5.0l(q)(ii).

"Inventory" means all of Seller's inventory, including products, works in process, processed
parts, finished goods, raw materials and components intended for sale wherever located.

"IRS" is defined in Section 3.0l(f).

"Knowledge" means the actual knowledge of any executive officer of the Seller, or any
executive officer of the Buyer, as the case may be.

"Lease" is defined in Section 9.03(h).

"Liabilities" is defined in Section 2.03(a).

"Liens" means any claim, lien (as defined in Section 101(37) of the Bankruptcy Code),
condition, pledge, option, charge, hypothecation, easement, security interest, right-of-way,
encroachment, mortgage, deed of trust, covenant, restriction, reservation, agreement of record,
restriction on use or voting (in the case of any security interest) preference, tax (including
foreign, federal, state or local income, gross receipts, sales, use, ad valorem, gains, profits,
excise, franchise or other taxes, fees, levies, or other duties or assessments imposed by any
Governmental Entity), or any other encumbrance of any nature whatsoever.

"Material Adverse Effect" shall mean any event, change, condition or effect which, when
considered either individually or in the aggregate together with other events, changes, conditions
or effects, is or is reasonably likely to be, materially adverse to the Acquired Assets, the Real
Property or the Business taken as a whole or to the Transaction, other than events, changes,
conditions or effects (i) affecting the United States economy generally, (ii) the industry in which
Seller operates, in each case without a disproportionate impact on the Business or (iii) arising
from the commencement of the Chapter 11 case or any action ordered by the Bankruptcy Court
and approved by Buyer.

"Minimum Overbid" is defined in Section 7.02(a).

"Multiemployer Plan" is defined in Section 7.lO(a).

"Net Working Capital" means the sum of the values of Seller's trade accounts receivable, net of
any allowances for doubtful accounts or unprocessed returns, and Inventory, net of reserves.
Accounts receivable shall be valued in accordance with GAAP, consistently applied, and shall

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satisfy all of the representations and warranties in Section 5.0l(h) in order to be included. To
avoid doubt, inter company accounts and accounts receivable due from affiliates shall be
excluded. Inventory of domestic castings (work in process and finished goods) shall be valued in
accordance with the amounts per ton for each category identified on Schedule 3.0l(c)(ii),
inventory of import castings and raw materials shall be determined in accordance with GAAP,
consistently applied. All Inventory shall be undamaged and in condition for use or sale in the
ordinary course. Inventory reserves shall be determined in accordance with GAAP, consistently
applied. Goods which have been paid for but have not been delivered by the Closing Date
constitute Inventory for purposes of calculating Net Working Capital.

"Non-Union Pension Plan" means the single employer defined benefit pension plan provided for
certain of Seller's current and fonner non-union employees entitled the Pacific Steel Casting
Company Defined Benefit Pension Plan and Trust (Tax ID XX-XXXXXXX).

"PBGC" is defined in Section 7.1 O(b ).

"Party" and "Patties" are defined in the first paragraph to this Agreement.

"Pension Plans" means collectively the Multiemployer Plan and the Non-Union Pension Plan.

"Permits" is defined in Section 2.0l(a)(vi).

"Person" means an individual, a partnership, a corporation, an assocmt10n, a joint stock
company, a trust, a joint venture, an unincorporated organization, or a Governmental Entity (or
any department, agency, or political subdivision thereof).

"Petition" is defined in Recital B.

"Petition Date" is March 10, 2014.

"Purchase Price" is defined in Section 3.0l(b).

"Purchase Price Adjustment Statement" is defined in Section 3.0l(c)(ii).

"Real Prope1ty" is defined in Section 5.0 I (k).

"Rehired Employees" is defined in Section 8.0 I (a)(ii).

"Release" means any spilling, leaking, pumping, pouring, em1ttmg, emptying, discharging,
injecting, escaping, leaching, seeping, migrating, dumping or disposing of any Hazardous
Substance (including the abandonment or discarding of barrels, containers and other closed
receptacles containing any Hazardous Substance) into the indoor or outdoor environment,
including, without limitation, the movement of Hazardous Substances through or in the ambient
air, soil, surface or ground water, or property.

"Sale Order" is the order by the Bankruptcy Comt as described in Section 9.0l(a).

"Seller" is defined in the first paragraph of this Agreement.


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"Seller Disclosure Schedules" is defined in Section 5.01.

"Taxes" all taxes, charges, fees, levies, penalties or other assessments imposed by any United
States federal, state, local or foreign taxing anthority, inclnding, bnt not limited to, income, gross
receipts, license, stamp, occnpation, premium, windfall profits, environmental, custom duty,
capital stock or other equity, excise, real property, personal prope1ty, water and sewer charges,
municipal utility district, ad valorem, sales, use, transfer, franchise, payroll, employment,
withholding, severance, social security or other tax of any kind whatsoever, including any
interest, penalties or additions attributable thereto, whether disputed or not.

"Tax Return" mean any return, declaration, report, claim for refund, information return or other
document (including any related or supporting information) reqnired to be filed with respect to
Taxes, inclnding any schedule or attachment thereto, and including any amendment thereof.

"Transaction" is defined in Recital C.

"Union Benefit Plans" means the CMTA-Glass, Molders, Pottery, Plastics & Allied Workers
(Local 164B) Pension Trust and the CMTA-Glass, Molders, Pottery, Plastics & Allied Workers
(Local l 64B) Welfare Plan.

"Union" means Local 164B of the Glass, Molders, Pottery, Plastics & Allied Workers
International Union.




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                                SCHEDULE 2.02(g)

                     Deposits and Prepaid Amounts Funded by PS



                    Vendor                               Amount

Pacific Gas and Electric                                             $849,786
Occidental Energy Marketing                                           120,000
Airgas USA                                                             20,000
AT&T                                                                   18,110
EBMUD                                                                   4,866
Sprint                                                                  4,118
Cogent                                                                  2,400
Chang, Ruthenberg & Love, P.C                                           4,524
Binder & Malter                                                       450,000
BPM                                                                    50,000




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                                 SCHEDULE 2.03(b}(iii}

                              Buyer assumed Benefit Plans



MEDICAL
Anthem Blue Cross of California Preferred Direct Access
Policy #253089
Kaiser Permanente - Northern California
Policy Number: #37173

DENTAL
Reliance Standard
Policy Number: # 136-4050-1

LONG-TERM DISABILITY
Reliance Standard
Policy Number: #120499

LIFE & ACCIDENTAL DEA TH & DISMEMBERMENT
Reliance Standard
Policy Number: # 146828

VISION
EyeMed Vision Care
Policy Number: 9681503

WELFARE PLAN
CMTA-Glass, Molders, Pottery, Plastics & Allied Workers (Local 164B) Welfare Plan

401Q() PLAN
Pacific Steel Casting Company Retirement Plan (TIN XX-XXXXXXX)

PENSION PLAN
Pacific Steel Casting Company Defined Benefit Pension Plan and Trust (TIN XX-XXXXXXX)

CMTA- Glass, Molders, Pottery, Plastics & Allied Workers Local #1648 Pension Trust, (TIN
94-612950 I)




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                                       SCHEDULE 2.03(b)(iii)

 Retirees under the Non-Union Pension Plan, whose termination date occurred after April
                         1, 2011 and prior to the Closing Date:

                                         Termination
 Payroll Name              Hire Date     Date
 Welch, Betty Jane         04/06/1994    01/10/2012
 Yost, Steven              05/12/1998    03/28/2013
 Dias, Fernando C.         09/29/1980    03/31/2012
 Emmerichs, Horst Joe      11/11/1963    03/31/2011
 Lee, Douglas M            08/01/1975    01/15/2012
 Neely, Robert Ward        03/12/1979    12/31/2013
 Patterson, John Carlton   01/05/1970    12/31/2013
 Scott, Barry George       06/10/1996    08/31/2013
 Soares, Richard S         06/15/1964    12/31/2013
 Soto, Marco A.            10/15/1990    03/31/2013




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                                        SCHEDULE 2.03(b)(iv)

                                  Transferable licenses, permits, etc.



I. Air- 3 Bay Area Air Quality Management District permits; one for each plant

2. Stonn water - General Industrial Storm Water Permit

3. Industrial Water-East Bay Municipal Utility District Discharge Permit

4. Hazardous Materials, Universal Waste, Hazardous Waste Generator - City of Berkeley Unified Program
   Consolidated Permit and Registration

5. Berkeley Business License




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         EXHIBIT “2”

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B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                       Northern District of California                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Pacific Steel Casting Company


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  1333 Second Street
  Berkeley, CA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         94710
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Alameda
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                  Case:14-41045
                 Case:  19-04057 Doc#
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                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Pacific Steel Casting Company
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                             03/10/14      Entered: 10/02/20
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                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Pacific Steel Casting Company
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Michael W. Malter
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Michael W. Malter #96533                                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Binder & Malter, LLP
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      2775 Park Avenue
      Santa Clara, CA 95050                                                                    Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (408) 295-1700 Fax: (408) 295-1531
     Telephone Number
     March 10, 2014
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ Charles H. Bridges, Jr.
     Signature of Authorized Individual
      Charles H. Bridges, Jr.                                                                  If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      Chief Financial Officer and Director                                                     A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.
      March 10, 2014
     Date
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                             Doc#185 Filed:
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                                                              United States Bankruptcy Court
                                                                     Northern District of California
 In re      Pacific Steel Casting Company                                                                        Case No.
                                                                                   Debtor(s)                     Chapter        11


                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                      Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
            accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
            persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
            the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
            If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
            address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
            name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                    (1)                                                (2)                              (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete              Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of          debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor       government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted         etc.)                    disputed, or           security]
                                                                                                                        subject to setoff
 AIRGAS USA LLC                               AIRGAS USA LLC                                   Trade debt                                      144,959.72
 PO BOX 7423                                  PO BOX 7423
 PASADENA, CA 91109-7423                      PASADENA, CA 91109-7423
                                              909-987-6295
 AMG RESOURCES                                AMG RESOURCES CORPORATION                        Trade debt                                      118,256.32
 CORPORATION                                  P.O.BOX 641321
 P.O.BOX 641321                               PITTSBURGH, PA 15264-1321
 PITTSBURGH, PA
 15264-1321
 CMTA - GLASS, MOLDERS,                       CMTA - GLASS, MOLDERS, POTTERY,                  Contingent            Contingent                27,756,684.00
 POTTERY, etc.                                etc.                                             withdrawal liabililty Unliquidated
 PENSION TRUST (LOCAL                         PENSION TRUST (LOCAL 164B)                       claims (calculated
 164B)                                        c/o Assoc. Third Party Administrators            through June 30,
 c/o Assoc. Third Party                       Alameda, CA 94502                                2013).
 Administrators
 1640 South Loop Road
 Alameda, CA 94502
 CRANE TECH INC                               Angela Darling                                   Trade debt                                      154,595.99
 3540 E. CARPENTER ROAD                       CRANE TECH INC
 STOCKTON, CA 95215                           3540 E. CARPENTER ROAD
                                              STOCKTON, CA 95215
                                              209-824-4500
 CRANE TECH INC.                              Angela Darling                                   Trade debt               Disputed               282,551.81
 3540 E. CARPENTER RD                         CRANE TECH INC.
 STOCKTON, CA 95215                           3540 E. CARPENTER RD                                                                             (0.00 secured)
                                              STOCKTON, CA 95215
                                              209-824-4500
 ECKMAN INDUSTRIES INC.                       ECKMAN INDUSTRIES INC.                           Trade debt                                      419,281.20
 PO BOX 1188                                  98 Cygnet Drive
 GENOA, NV 89411-1188                         Carson City, NV 89706
                                              775-246-1141
 HICKMAN WILLIAMS & CO                        HICKMAN WILLIAMS & CO                            Trade debt                                      138,779.80
 8838 CALABASH AVENUE                         8838 CALABASH AVENUE
 FONTANA, CA 92335                            FONTANA, CA 92335
                                              909-822-5591




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 In re     Pacific Steel Casting Company                                                              Case No.
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                    (1)                                              (2)                             (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete           Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of       debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor    government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted      etc.)                    disputed, or           security]
                                                                                                                     subject to setoff
 MONTEREY MECHANICAL                          MONTEREY MECHANICAL                           Trade debt                                      176,993.72
 8275 SAN LEANDRO                             8275 SAN LEANDRO STREET
 STREET                                       OAKLAND, CA 94621
 OAKLAND, CA 94621                            510-632-3173
 NINGBO DAMING                                NINGBO DAMING PRECISION                       Trade debt                                      463,729.27
 PRECISION CASTING CO.                        CASTING CO.
 HEHUA BRIDGE                                 HEHUA BRIDGE INDUSTRIAL
 INDUSTRIAL DISTRICT                          DISTRICT
 YUNLONG TOWN YIN                             YUNLONG TOWN YIN COUNTY
 COUNTY                                       NINGBO P.R., CHINA 00031-5135
 NINGBO P.R., CHINA                           86-574-88345377
 00031-5135
 NINGBO WORLD-LINK                            NINGBO WORLD-LINK                             Trade debt                                      300,633.88
 INTERNATIONAL                                INTERNATIONAL
 CORPORATION LIMITED                          CORPORATION LIMITED H.K.
 H.K.                                         Room L-1 Building Floor A-8
 Room L-1 Building Floor A-8                  CHINA 31500
 Ningbo
 CHINA 31500
 PACCAR INC.                                  PACCAR INC.                                   Trade debt                                      840,688.00
 P.O. BOX 95003                               P.O. BOX 95003
 BELLEVUE, WA 98009                           BELLEVUE, WA 98009
                                              425-468-7400
 PACIFIC GAS AND                              PACIFIC GAS AND ELECTRIC CO.                  Trade debt                                      369,413.42
 ELECTRIC CO.                                 P. O. BOX 997300
 P. O. BOX 997300                             SACRAMENTO, CA 95899-7300
 SACRAMENTO, CA
 95899-7300
 PORTER WARNER                                PORTER WARNER INDUSTRIES                      Trade debt                                      433,322.93
 INDUSTRIES                                   PO BOX 2159
 PO BOX 2159                                  CHATTANOOGA, TN 37409
 CHATTANOOGA, TN 37409                        423-266-4735
 PRAXAIR DISTRIBUTION                         PRAXAIR DISTRIBUTION INC                      Trade debt                                      149,671.76
 INC                                          ATTENTION: RODRIGO ROSA
 ATTENTION: RODRIGO                           1950 LOVERIDGED ROAD
 ROSA                                         PITTSBURG, CA 94565
 1950 LOVERIDGED ROAD                         925-439-0578
 PITTSBURG, CA 94565
 PROFESSIONAL FINISHING                       PROFESSIONAL FINISHING                        Trade debt                                      126,077.81
 PO BOX 742038                                PO BOX 742038
 LOS ANGELES, CA                              LOS ANGELES, CA 90074-2038
 90074-2038
 PYRO MINERALS                                PYRO MINERALS                                 Trade debt                                      539,167.73
 2510 WOOD STREET                             2510 WOOD STREET
 OAKLAND, CA 94607                            OAKLAND, CA 94607
                                              510-839-3900



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 In re     Pacific Steel Casting Company                                                               Case No.
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                           (Continuation Sheet)

                    (1)                                              (2)                              (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted       etc.)                    disputed, or           security]
                                                                                                                      subject to setoff
 S.L. FUSCO INC.             S.L. FUSCO INC.                                                 Trade debt                                      193,591.74
 P.O. BOX 5924               P.O. BOX 5924
 COMPTON, CA 90224           COMPTON, CA 90224
                             310-868-1010
 SENTRY INSURANCE            SENTRY INSURANCE                                                Trade debt                                      882,775.19
 1800 NORTH POINT DRIVE      1800 NORTH POINT DRIVE
 P. O. BOX 88372             P. O. BOX 88372
 MILWAUKEE, WI 53288-0372 MILWAUKEE, WI 53288-0372
                             1-800-373-6879
 U.S. Department of          U.S. Department of Homeland                                     US Department of                                401,255.25
 Homeland Security           Security                                                        Homeland Security
 Connie M. Cheung, Asst.     Connie M. Cheung, Asst. Chief                                   action.
 Chief Counsel               Counsel
 Office of the Chief Counsel Office of the Chief Counsel
 120 Montgomery Street,      San Francisco, CA 94104
 Suite 200                   202-345-7778
 San Francisco, CA 94104
 UNIVERSAL SERVICE           UNIVERSAL SERVICE RECYCLING                                     Trade debt                                      181,566.19
 RECYCLING LLC               LLC
 3200 SOUTH EL DORADO        3200 SOUTH EL DORADO STREET
 STREET                      STOCKTON, CA 95206
 STOCKTON, CA 95206          209-944-9555
                                          DECLARATION UNDER PENALTY OF PERJURY
                                        ON BEHALF OF A CORPORATION OR PARTNERSHIP
                     I, the Chief Financial Officer and Director of the corporation named as the debtor in this case, declare under
            penalty of perjury that I have read the foregoing list and that it is true and correct to the best of my information and
            belief.


 Date March 10, 2014                                                     Signature   /s/ Charles H. Bridges, Jr.
                                                                                     Charles H. Bridges, Jr.
                                                                                     Chief Financial Officer and Director

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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                                                               United States Bankruptcy Court
                                                                       Northern District of California
  In re         Pacific Steel Casting Company                                                                     Case No.
                                                                                                       ,
                                                                                       Debtor
                                                                                                                  Chapter                   11




                                                       LIST OF EQUITY SECURITY HOLDERS
     Following is the list of the Debtor's equity security holders which is prepared in accordance with Rule 1007(a)(3) for filing in this chapter 11 case.


       Name and last known address                                                   Security                Number              Kind of
       or place of business of holder                                                 Class                of Securities         Interest

      CAMLEE CORPORATION                                                             Common                 6.522% or 27,000
      89 Alvarado Road                                                                                      shares
      Berkeley, CA 94705

      DAVI ASSOCIATES                                                                Common                 7.004% or 29,000
      129 Sunnyglen Drive                                                                                   shares
      Vallejo, CA 94591

      EMMERICHS ASSOCIATES                                                           Common                 2.174% or 9,000
      1674 Glazier Drive                                                                                    shares
      Concord, CA 94521

      TRI-PACIFIC, INC.                                                              Common                 82.126% or
      85 Lakeside Drive                                                                                     340,000 shares
      Corte Madera, CA 94925-1037

      WESTRIDGE CAPITAL                                                              Common                 2.174% or 9,000
      89 Alvarado Road                                                                                      shares
      Berkeley, CA 94705




      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                   I, the Chief Financial Officer and Director of the corporation named as the debtor in this case, declare under penalty of
              perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
              information and belief.
     Date         March 10, 2014                                                         Signature /s/ Charles H. Bridges, Jr.
                                                                                                  Charles H. Bridges, Jr.
                                                                                                  Chief Financial Officer and Director


              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                             18 U.S.C §§ 152 and 3571.




      0       continuation sheets attached to List of Equity Security Holders
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                                                                                               Best Case Bankruptcy
                                                              United States Bankruptcy Court
                                                                     Northern District of California
 In re      Pacific Steel Casting Company                                                                     Case No.
                                                                                    Debtor(s)                 Chapter    11




                                                         CREDITOR MATRIX COVER SHEET



         I declare that the attached Creditor Mailing Matrix, consisting of 224 sheets, contains the correct, complete and current
names and addresses of all priority, secured and unsecured creditors listed in debtor's filing and that this matrix conforms with the
Clerk's promulgated requirements.




 Date: March 10, 2014                                                    /s/ Michael W. Malter
                                                                         Signature of Attorney
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                                                                         Binder & Malter, LLP
                                                                         2775 Park Avenue
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                    ADP, Inc.
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                    Bellow, Michael
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                    Oakland, CA 94609



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                    Oakland, CA 94621



                    BERKELEY FORGE AND TOOL
                    1331 EASTSHORE HIGHWAY
                    BERKELEY, CA 94710-1920



                    Berkeley Properties LLC
                    1333 Second Street
                    Berkeley, CA 94701




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                    BERKELEY PROPERTIES, LLC
                    85 LAKESIDE DRIVE
                    Corte Madera, CA 94925-1037



                    Berkeley Properties, LLC
                    1333 Second Street
                    Berkeley, CA 94710



                    BERKELEY WAREHOUSE & DRAYING CO INC
                    1920 SECOND STREET
                    BERKELEY, CA 94710



                    Bermudez Santiago, Miguel A.
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                    Richmond, CA 94806



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                    BERKELEY, CA 94702



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                    SAN LEANDRO, CA 94577




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                    Blake, Twon
                    117 Simonton St.
                    Vallejo, CA 94589



                    Blanco Escalante, Efrain
                    2625 McArthur Ave.
                    San Pablo, CA 94806



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                    ANNISTON, AL 36202



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                    Pinole, CA 94546



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                    RICHMOND, CA 94804



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                    BOWLIN EQUIPMENT COMPANY
                    1107 10TH STREET
                    BERKELEY, CA 94710



                    Boxer & Gerson, LLP




                    Boyce, Cory Christopher
                    953 40th Ave.
                    Oakland, CA 94601



                    Bradford, Deshawn
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                    San Francisco, CA 94117



                    BRADLEY TANKS INC
                    402 HARTZ AVENUE
                    BUILDING C
                    DANVILLE, CA 94526



                    Branco, Bruce J
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                    Vallejo, CA 94591



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                    Breaux, Steven J.
                    821 Fleming Ct.
                    Vallejo, CA 94591



                    Brewer, Dontae
                    2220 Leland Ct.
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                    BRYAN BARAJAS
                    73 HARBOR DRIVE
                    BAYPOINT, CA 94565



                    Bryant, Dorian H.
                    135 Shoreline Circle
                    Apt. 362
                    San Ramon, CA 94582



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                    Oakland, CA 94603



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                    716 Windward Dr.
                    Rodeo, CA 94572



                    BULBS.COM INC
                    243 STAFFORD STREET
                    WORCESTER, MA



                    Burke, Michael P.
                    2909 Bayview Dr.
                    Alameda, CA 94501



                    BURLINGAME ENGINEERS
                    1225 DAVID AVENUE
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                    Burton Sourcing Solutions
                    Attn: William W. Burton, Jr., Owner
                    4626 Addison Drive
                    Charlotte, NC 28211




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                    Burton, Bernard
                    288 Ebony Way
                    Hayward, CA 94544



                    Bustamante De Merino, Maria I.
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                    3435 MOMENTUM PLACE
                    CHICAGO, IL 60689-5334



                    C.M.A.T. - GLASS, MOLDERS, POTTERY,
                    PLASTICS, PENSION TRUST (LOCAL 164B)
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                    CABLE MOORE, INC.
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                    OAKLAND, CA 94614



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                    CALIFORNIA ELECTRIC STEEL
                    250 MONTE VERDE STREET
                    P. O. BOX 817
                    ANGELS CAMP, CA 95222



                    CALIFORNIA MILL EQUIPMENT COMPANY
                    213 C STREET
                    TURLOCK, CA 95380



                    CALPACIFIC EQUIPMENT COMPANY
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                    RICHMOND, CA 94804



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                    Campos, Fernando
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                    Richmond, CA 94801



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                    Cardoso, Alfredo A.
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                    Carrillo Monarrez, Modesta
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                    2e
                    Oakland, CA 94601



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                    CASS INC
                    PO BOX 24222
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                    Castano, Jose A
                    441 Marina Rd.
                    Bay Point, CA 94565



                    Castellanos, Daniel
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                    Madera, CA 93636



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                    Castillon, Jorge
                    5125 Fairfax Ave.
                    Oakland, CA 94601



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                    Oakland, CA 94621




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                    Ceja, Carlos
                    2519 Begonia St.
                    Union City, CA 94587



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                    Cervantes V, Alfredo
                    1884 22nd St.
                    San Pablo, CA 94806



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                    Chaves-F, Febronio
                    633 16th St. #C
                    Richmond, CA 94801



                    Chavez A, Eric Jaime
                    296 W Chanslor Ave.
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                                   232                                         99
                    Chavez, Julio Cesar
                    13325 Doolittle Dr.
                    San Leandro, CA 94577



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                    Richmonnd, CA 94801



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                    Oakland, CA 94606



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                    CHINO, CA 91710




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                    CHRISTOPHER BELL
                    516 HARRISON DRIVE
                    RICHMOND, CA 94806



                    CHRISTOPHER INGRAM
                    25816 FRANKLIN AVENUE
                    HAYWARD, CA 94544



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                    STOCKTON, CA 95203



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                    PO BOX 636525
                    CINCINNATI, OH 45263-6525



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                    1416 ALCATRAZ AVENUE
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                    CITRIX ONLINE, LLC
                    FILE 50264
                    LOS ANGELES, CA 90074-0264



                    City of Berkeley
                    Business License Renewal
                    1947 Center Street 1st Fl.
                    Berkeley, CA 94704-1155



                    Clark, Cassaundra
                    175 Marie Ave.
                    Tracy, CA 95376




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                    CLEARFLOW VALVES COMPANY
                    631 CAMELIA STREET
                    BERKELEY, CA 94710



                    CMAT - Glass, Molders, Pottery, etc.
                    Allied Workers (Local 164B)
                    c/o Assoc. Third Party Administrators
                    1640 South Loop Road
                    Alameda, CA 94502



                    CMTA - GLASS, MOLDERS, POTTERY, etc.
                    PENSION TRUST (LOCAL 164B)
                    c/o Assoc. Third Party Administrators
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                    CON-WAY WESTERN EXPRESS
                    PO BOX 5160
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                    Cooper, Nathan
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                    Cortez, Gilberto
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                    CRANE TECH INC
                    3540 E. CARPENTER ROAD
                    STOCKTON, CA 95215



                    CRANE TECH INC.
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                    Cunha, Carlos
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                    DEPENDABLE FOUNDRY EQUIPMENT
                    REDROD-CARVER FOUNDRY PRODUCTS CO.
                    P. O. BOX 953
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                    14076 COLLECTIONS CENTER DRIVE
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                    DLS WORLDWIDE
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                    Duarte, Manuel C.
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                    Duszynski, Robert G.
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                    PLUMBING & HEATING
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                    LOS ANGELES, CA 90024



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                    Estrada, Salomon
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                    SEATTLE, WA 98124-5664



                    EXAMINETICS INC
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                    KANSAS CITY, MO 64141-0047



                    EXPEDITORS INTL SFO
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                    BRISBANE, CA 94005



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                    UNION CITY, CA 94587




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                    FEDERAL EXPRESS CORPORATION
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                    PASADENA, CA 91109-7321



                    FERGUSON ENTERPRISES INC #795
                    FILE #56809
                    LOS ANGELES, CA 90074-6809



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                    SPECIALTY SUPER ALLOYS INC
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                    PITTSBURGH, PA 15243



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                    Attn: Theodora J. Fick, Owner
                    7406 27th Street, Ssuite 5
                    Tacoma, WA 98466



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                    Fierro, Daniel
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                    Pinole, CA 94564



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                    Franco Casio, Rodrigo
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                    GEORGIA-PACIFIC CHEMICALS LLC
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                    DALLAS, TX 75391-1343




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                    GOENGINEER, INC.
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                    DEPT 560 - 807665344
                    PALATINE, IL 60038-0001



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                    KENNIE C. KNOWLES INC
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                    MSC INDUSTRIAL SUPPLY
                    DEPT. CH 0075
                    PALANTINE, IL 60055-0075



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                    Munoz, Rena M.
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                    Philips, David
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                    Pires, Michael C.
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                    Ponce, Monica
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                    Prasad, Rawal J.
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                    PRAXAIR DISTRIBUTION INC
                    ATTENTION: RODRIGO ROSA
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                    6475 CHRISTIE AVENUE, SUITE 550
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                    Principal Life Insurance Co.
                    c/o Harvest Properties, Inc.
                    6475 Christie Ave., Suite 550
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                    Quach, Stanley
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                    Piedmont, CA 94611



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                    131 MAPLE ROW BLVD., # E-500
                    HENDERSONVILLE, TN 37075



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                    R+L CARRIERS INC
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                    RED WING SHOE STORE
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                    RICHMOND, CA 94805-1405



                    RED-D-ARC INC/NESCO
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                    Robertson, Michael J.
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                    Ruiz, Sergio
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                    Saechao, Chan Cheng
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                    Richmond, CA 94804



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                    Saeyang, Nai Fong
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                    Sanchez, Neri A.
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                    Sebastian, Gary
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                    Sermeno, Miguel A.
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                    Silveira, Antonio F.
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                    TED L. RAUSCH CO.
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                    THE BOBCOCK & WILCOX COMPANY
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                    Thornton, Morgan
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 6   Email: Wendy@bindermalter.com
 7   Attorneys for Debtors and Debtors-in-Possession
     PACIFIC STEEL CASTING COMPANY
 8
     and BERKELEY PROPERTIES, LLC
 9
                               UNITED STATES BANKRUPTCY COURT
10
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
11

12    In re                                                Case No. 14-41045-RLE
                                                           Case No. 14-41048-RLE
13    PACIFIC STEEL CASTING COMPANY,
      a California corporation,                            Chapter 11
14
                              Debtor.                      Cases Jointly Administered
15

16
      In re                                                Date:
17                                                         Time:
      BERKELEY PROPERTIES, LLC, a                          Courtroom: 201
18    California limited liability company,                1300 Clay Street, Oakland, CA 94612

19                             Debtor.

20

21
           DECLARATION OF CHARLES H. BRIDGES, JR. IN SUPPORT OF
22   MOTION TO APPROVE OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS
                          AND RELATED RELIEF
23
              I, Charles H. Bridges Jr., hereby declare:
24
              1.     I am the Chief Financial Officer (“CFO”) and a Director of the Debtor Pacific
25
     Steel Casting Company (“PSC”) and the proposed responsible individual. I make this
26

27
       DECLARATION
     Case:
      Case: 14-41045OFDoc#
           19-04057   CHARLES
                       Doc#85 H.Filed:
                            201-1BRIDGES,
                                    Filed: JR.
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 1   Declaration in support of the MOTION TO APPROVE OVERBID PROCEDURES RE SALE
 2   OF DEBTORS’ ASSETS AND RELATED RELIEF (“Motion”) filed by the Debtors herein.
 3          2.      I have personal knowledge of the matters set forth herein, except as to those

 4   matters alleged upon information and belief and as to those matters I believe them to be true. If

 5   called upon as a witness, I could and would testify as follows.

 6          3.      In my capacity as the CFO of PSC, I have access to, and I am familiar with, the

 7
     books and records kept by PSC and its’ wholly owned subsidiary Berkeley Properties, LLC

     (“BP”, together with PSC, the “Debtors”). These books and records have been generated,
 8
     recorded and compiled in the ordinary course of business of the Debtors. Further, these
 9
     documents were prepared at the time, or near the time, that the information was received or the
10
     events and transactions actually took place. It is the standard operating procedure of the Debtors
11
     to preserve these documents in a place of safekeeping on its business premises. I have personal
12
     access to these books and records and their continued safekeeping is maintained under my
13
     direction and supervision.
14
            4.      The Debtors move for entry of an order approving certain sale procedures in
15
     connection with the proposed sale of substantially all of PSC’s assets to Speyside Fund LLC (or
16
     its designee) (“Buyer”) or a successful overbidder.
17
            5.      On March 10, 2014, PSC filed a voluntary Chapter 11 case in the United States
18   Bankruptcy Court for the Northern District of California (the “PSC Bankruptcy Case”). BP is a
19   wholly owned subsidiary of PSC. BP also filed a chapter 11 petition on March 10, 2014 (the
20   “BP Bankruptcy Case”). The BP Bankruptcy Case was filed as a related case to the PSC

21   Bankruptcy Case pursuant to BLR 1015-1. The cases have been ordered jointly administered.

22   No trustee has been appointed and PSC and BP remain debtors-in-possession of their respective

23   bankruptcy estates pursuant to 11 U.S.C. §§ 1107 and 1108.

24          6.      PSC is a fourth-generation family-owned steel foundry that manufactures carbon,

     low-alloy and stainless steel castings for U.S. and international customers. PSC operates three
25
     separate plants that are located on eight-acres in Berkeley, California. Most of the real property
26

27
       DECLARATION
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 1   is owned by BP, who leases it to PSC. This real property is BP’s only significant asset1. PSC
 2   has grown into one of the largest independent steel-casting companies in the U.S. PSC supplies
 3   numerous industries with a wide variety of castings used in oil and gas drilling equipment,

 4   heavy-duty truck parts, valves and fittings, and mining and construction equipment. PSC’s

 5   plants incorporate some of the latest manufacturing technology, production capabilities and

 6   emissions controls which has allowed PSC to remain competitive with domestic and

 7
     international suppliers, and to maintain compliance with environmental regulations. PSC

     presently employs approximately 365 hourly employees and 45 salaried employees. The
 8
     majority of the hourly employees are represented by the Glass, Molders, Pottery, Plastics, and
 9
     Allied Workers International Union, AFL-CIO, CLC Local No. 164B (the “Union”). PSC
10
     currently enjoys a good working relationship with the Union. The current collective bargaining
11
     agreement will not expire until 2015.
12
             7.       When they filed their petitions, PSC and BP had only one large secured creditor,
13
     Wells Fargo Bank, N.A. (“Wells Fargo”), which was owed approximately $4.1 million
14
     collectively by the Debtors. Wells Fargo was not willing to provide the Debtors with post-
15
     petition financing. As a result, the Debtors obtained Court approval of a post-petition secured
16
     loan facility from Siena Lending Group, LLC (“Siena”), which paid the Wells Fargo obligations
17
     in full and provides PSC with a revolving credit facility of up to $8.5 million. The loan
18   transaction closed on April 11, 2014. As of June 19, 2014, the Debtors owed Siena
19   approximately $4,192,023.13. The amount of the Siena loan fluctuates daily.
20           8.       PSC has been diligently investigating possible purchasers or investors since

21   October 2013. On January 29, 2014, PSC retained the services of Cleary Gull Inc. (“Cleary

22   Gull”) to serve as its investment banker in connection with one or more possible sales, mergers

23   or other business combinations or transactions. Cleary Gull has assisted PSC by canvassing the

24   marketplace for potential investors or buyers. Cleary Gull prepared a confidential memorandum

     describing PSC’s business, history, financial position and results, and the investment
25

26
     1
        The BP Bankruptcy Case is considered a single asset real estate case within the meaning of 11 U.S.C.
27   §101(51B).
       DECLARATION
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       OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS AND RELATED RELIEF
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 1   opportunity, and prepared an electronic “data room” with significant financial and company
 2   records to allow potential investors and buyers to conduct due diligence. After filing bankruptcy,
 3   the Debtors received Bankruptcy Court approval to allow PSC to continue to employ Cleary

 4   Gull. Cleary Gull subsequently received eleven written initial indications of interest and five

 5   offers to purchase the assets of the Debtors by April 30, 2014. As a result of Cleary Gull’s

 6   efforts, PSC believes that there has been extensive marketing of the assets of the Debtors and

 7
     that said marketing has been directed at the parties most likely to have an interest in making an

     offer to purchase substantially all of the Debtors’ assets.
 8
             9.      Presently as many as five parties, including Buyer, may be interested in acquiring
 9
     substantially all of the assets of the Debtors. The Debtors believes there may be as many as six
10
     additional interested parties. PSC intends to conduct an auction of its assets on a going concern
11
     basis, and to assume and assign those leases and executory contracts that are critical to the
12
     ongoing business operation. The proposed bid procedures described herein will provide a formal
13
     process for competing bidders to make offers and for the Court to conduct an auction. The
14
     Debtors believe that they have identified those persons who could be interested in presenting a
15
     bid, all of whom will be provided notice of the hearing on this Motion and of the auction.
16
             10.     The Debtors believe the proposed sale to Buyer is in the best interest of creditors.
17
     It is anticipated that Buyer will offer employment to the vast majority of PSC’s employees,
18   including PSC’s Union employees under the existing collective bargaining agreement. The
19   assumption and assignment of many of PSC’s unexpired leases and executory contracts,
20   particularly the collective bargaining agreement with the Union and the related multi-employer

21   pension plan, will substantially reduce potential and contingent claims against PSC’s bankruptcy

22   estate that could well exceed $30 million. The Debtors believe that a sale pursuant to the

23   proposed bid procedures will allow the Debtors to maximize the value of their assets for the

24   benefit of their creditors.

             11.     Following several months of pre- and post-petition marketing by its appointed
25
     investment bankers Cleary Gull, PSC signed a letter of intent offered by Buyer, in which Buyer
26
     offered to buy substantially all of PSC’s assets (subject to specific exceptions described below)
27
       DECLARATION
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       OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS AND RELATED RELIEF
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 1   to assume certain specified pre- and post-petition liabilities of the Debtors (the “Sale”) pursuant
 2   to the terms of an asset purchase agreement (the “APA”) and to lease the real property owned by
 3   BP pursuant to a long-term lease (the “Lease”).2 PSC and the Buyer have executed the APA and

 4   a true and correct copy of the executed APA is attached hereto as Exhibit A and incorporated

 5   herein by reference.

 6              12.      The APA requires that Buyer pay $11,300,000 (the “Purchase Price”) in cash for

 7
     the assets being purchased, as well as assume certain liabilities (the “Assumed Liabilities”) and

     to lease the real property pursuant to the Lease. Buyer has delivered a good-faith deposit of
 8
     $500,000 concurrent with execution of the APA, with the remainder of the Purchase Price to be
 9
     paid at closing. The Purchase Price may be adjusted to reflect changes in PSC’s working capital
10
     as more particularly described in the APA. If Buyer chooses to pay any amounts necessary to
11
     cure (the “Cure Amounts”) the defaults under any executory contracts or leases to be assumed
12
     and assigned by PSC to Buyer under the APA (the “Assumed Contracts”), then such Cure
13
     Amounts paid by Buyer will be credited against the Purchase Price.
14
                13.      Under the APA, substantially all of PSC’s operational assets will be included in
15
     the Sale (the “Purchased Assets”) but the Sale excludes, among other things: (a) corporate and
16
     financial books and records of the Debtors, (b) utility deposits, cash on hand and in deposit
17
     accounts, (c) avoidance claims and causes of action arising under 11 U.S.C. §544 through §552,
18   and, (d) PSC’s membership interest in BP. The real property owned by BP is not part of the sale,
19   but as part of the APA the real property will be leased to the Buyer by BP pursuant to the Lease.
20   The APA further provides for PSC to assume and assign to Buyer the Assumed Contracts,

21   including the existing collective bargaining agreement between PSC and the Union. The sale of

22   the Purchased Assets will be free and clear of all liens, claims, encumbrances and other interests

23   to the fullest extent allowed by law except as expressly provided3. The post-petition secured

24   loan of Siena shall be paid in full from the proceeds of the Sale at closing. As a further term of

25

26
     2
         Capitalized terms not defined herein have the meaning ascribed to them in the APA and Lease, as applicable.
27
       DECLARATION
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       OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS AND RELATED RELIEF
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 1   the Sale, PSC will continue its operations in the ordinary course of business until the closing
 2   date.
 3            14.       Subject to PSC’s obligations to pay certain specified obligations pursuant to the

 4   APA, the Buyer will also assume significant liabilities of PSC, including: PSC’s single employer

 5   defined benefit (non-Union) pension plan obligations; PSC’s multi-employer pension plan

 6   obligations (with the Union pension trust); obligations of PSC under the collective bargaining

 7
     agreement; accrued severance, bonus, holiday and vacation benefits for all workers being rehired

     by the Buyer; and, specified accounts payable and accrued expenses capped at $1 million.
 8
              15.       As a condition to the Sale, Buyer must enter into a new triple-net lease with BP
 9
     on mutually-agreeable terms including monthly rent of $89,544.00, and a 15-year term with a 5-
10
     year extension option. BP will bring a motion to approve the terms of the new triple-net lease
11
     with the Buyer at the same time as the motion to approve the Sale.
12
              16.       PSC believes that conducting the Sale pursuant to the bid procedures described
13
     here (the “Bid Procedures”) will allow PSC to maximize the value of the assets for the benefit of
14
     its creditors. The Sale proceeds will pay PSC’s obligation to Siena in full, and will result in a net
15
     benefit to the Debtors’ Estates.
16
              17.       The Debtors intend to file the motions (i) to approve the sale (the “Sale Motion”),
17
     (ii) to approve the assumption and assignment of contracts and leases to the Buyer and to
18   conditionally reject the existing real property lease whereby BP is the lessor and PSC is the
19   lessee (the “Assumption Motion”), and (iii) to approve the terms of a new triple-net lease
20   between BP and the Buyer (the “New Lease Motion”), together with any other relief related to

21   the proposed sale transaction as soon as practicable after entry of the order on this motion (the

22   “Bid Procedures Order”), so that the motions may be heard and the auction conducted on a

23   specially set calendar on July 11, 2014 or such other date as the Court may specially set (the

24   “Sale Hearing”).

25

26   3
        Siena is the only party with a security interest in all of the Debtors’ assets and Siena will be paid in full at closing.
     However, in the event any bidder wishes to purchase BP’s real estate, then the sale will be free and clear of the
27   disputed mechanic’s liens of Crane Tech, Inc. and Bigge Crane and Rigging Company.
       DECLARATION
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       OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS AND RELATED RELIEF
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 1          18.      The proposed timing is critical to the Debtors for two reasons. First, the terms of
 2   the Debtors’ secured loan with Siena require that the Debtors enter into an asset purchase
 3   agreement and file a bid procedures motion not later than June 16, 2014; Siena has provided the

 4   Debtors with a short extension of that deadline but only through June 19, 2014. The Siena loan

 5   agreement also requires that the Debtors use their best efforts to schedule a hearing on the bid

 6   procedures motion and obtain an order by July 2, 2014 with an outside deadline for a bid

 7
     procedures order of July 9, 2014 and to hold an auction within 30 days thereafter. The Siena

     loan agreement further requires that the Debtors obtain an order approving the sale within 4
 8
     business days of the auction, and that the approved sale is consummated on or before fifteen days
 9
     after entry of the sale order. The Debtors believe they can comply with this mandated schedule
10
     by holding an auction and hearing on the Sale Motion, Assumption Motion and New Lease
11
     Motion on July 11, 2014 or such other date as the Court may specially set within the timeframes
12
     required by the Siena loan agreement. Second, the terms of the APA with Buyer require that
13
     PSC obtain an order approving the proposed sale not later than July 9, 2014. The APA further
14
     provides that Buyer shall close the sale within 15 days of entry of an order authorizing the Sale
15
     to the Buyer.
16
            19.      The proposed bid procedures include, among other things, a requirement that any
17
     competing bid must be to purchase the Purchased Assets and assume the Assumed Liabilities on
18   terms at least as favorable to PSC as those in the APA. The bid procedures also require a
19   minimum initial over-bid of $11,900,000 (i.e. an initial minimum overbid of $600,000), with
20   minimum subsequent overbids in increments of $100,000 in addition to assumption of the

21   Assumed Liabilities. The bid procedures also require that PSC pay Buyer a breakup fee of

22   $500,000 (the “Breakup Fee”) in the event a sale closes to another purchaser.

23          20.      The Sale Motion will also seek approval, consistent with the Siena Loan

24   Agreement and the order approving the Siena loan agreement, that the sale order provide for

     "indefeasible payment in full in cash" at closing of all amounts owed to Siena under the post-
25
     petition loan as well as delivery of releases to Siena by the Debtors’ estates. Consistent with the
26
     Siena loan agreement, the Sale Motion also requests approval of a procedure allowing Siena to
27
       DECLARATION
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       OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS AND RELATED RELIEF
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 1   make a credit bid to acquire the Purchased Assets for an amount sufficient to pay PSC’s
 2   obligations to Siena, but only if no one makes a bid to purchase PSC’s assets for an amount
 3   sufficient to pay Siena in full, in cash, no later than 15-days after the date set to close the Sale.

 4           21.     As an inducement to Buyer to agree to enter into the APA and act as the stalking

 5   horse subject to overbids and in order that the sale process will not be delayed by last minute

 6   offers, PSC believes that the Court should establish a competing bid procedure concerning bids

 7
     by other prospective buyers. PSC submits that the proposed Bid Procedures described in Exhibit

     “A” attached to the Motion and incorporated herein by reference (the “Bid Procedures”), are
 8
     reasonable and necessary under the circumstances, will facilitate the conduct of an orderly
 9
     auction, and will maximize the value of the Purchased Assets for the benefit of creditors.
10
             22.     If the Purchased Assets are sold to a purchaser other than Buyer, the APA
11
     obligates PSC to pay the Breakup Fee to Buyer at the closing. The Buyer has already incurred
12
     substantial expenses and it is expected that Buyer will continue to incur additional costs through
13
     the Sale Hearing.
14
             Executed on June 19, 2014 at Berkeley, Alameda County, California. I declare under
15
     penalty of perjury that the foregoing is true and correct.
16

17                                                           /s/ Charles H. Bridges, Jr.
                                                             Charles H. Bridges, Jr.
18

19

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27
       DECLARATION
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                    EXHIBIT “4”

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  7 Unsecured Creditors                                            Attorneys for the Debtors and Debtors-in-
                                                                   Possession, SECOND STREET PROPERTIES
  8                                                                and BERKELEY PROPERTIES, LLC

  9
                                      UNITED STATES BANKRUPTCY COURT
 10
                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 11

 12

 13
          In re                                                   Case No. 14-41045-RLE
 14                                                               Case No. 14-41048-RLE
          SECOND STREET PROPERTIES,
 15       a California corporation 1                              Chapter 11
                                 Debtor.
 16                                                               Cases Jointly Administered

 17                                                               DISCLOSURE STATEMENT FOR
                                                                  DEBTORS’ AND COMMITTEE’S
 18                                                               SECOND AMENDED JOINT
                                                                  CHAPTER 11 PLAN OF
 19                                                               REORGANIZATION DATED APRIL 30,
                                                                  2015
 20

 21       In re
 22       BERKELEY PROPERTIES, LLC, a
          California limited liability company,
 23
          Debtor.
 24

 25

 26

 27
 28   1
          Second Street Properties was formerly known as Pacific Steel Casting Company.

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       14-41045 Doc#
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  1                                               ARTICLE I
  2                                           INTRODUCTION
  3 A.        Purpose of the Disclosure Statement:
  4           Debtors and debtors in possession Second Street Properties (formerly known as Pacific

  5 Steel Casting Company) (“Second Street Properties”) and Berkeley Properties LLC (“Berkeley

  6 Properties”) (jointly, the “Debtors”), together with the Official Committee of Unsecured Creditors

  7 (the “Committee,” and collectively with the Debtors, the “Proponents”) prepared this Joint

  8 Disclosure Statement ("Disclosure Statement"). It is distributed to creditors to solicit acceptances

  9 of the Debtors’ and Committee’s Joint Chapter 11 Plan of Reorganization (the "Plan"). The Plan

 10 is served with the Disclosure Statement. This Disclosure Statement’s purpose is to provide all

 11 persons who hold claims against or interests in the Debtors ("Claimants") with information

 12 adequate to enable them to make informed judgments about the Plan in voting to accept or reject

 13 it.

 14 B.        How to Vote:
 15           The Debtors and the Committee will file a motion to establish the procedures for voting on

 16 the Plan which they will request the Court set at the same date and time as the hearing on the

 17 approval of this Disclosure Statement. Detailed voting procedures will be set forth in that motion,

 18 and will be posted for free at under the Key Documents section at the following website:
 19 http://dm.epiq11.com/PSC.

 20 C.        Enclosures:
 21           Enclosed with this Disclosure Statement is a copy of the Plan, a ballot (if your claim or

 22 equity interest is to be impaired under the Plan), the order approving this Disclosure Statement, a

 23 notice advising creditors of information regarding the Plan confirmation hearing along with a

 24 letter from the Committee recommending that creditors vote to support confirmation of the Plan.

 25 Alternatively, if you are not entitled to vote on the Plan, you will receive a notice of non-voting

 26 status.

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  1 D.       Definitions:
  2          This Disclosure Statement uses terms which are defined in the Plan. A term used in this

  3 Disclosure Statement or the Plan that is defined in the Bankruptcy Code has the meaning given to

  4 that term in the Bankruptcy Code. The rules of construction contained in the Bankruptcy Code

  5 and the Federal Rules of Bankruptcy Procedure apply in this Disclosure Statement. To the extent

  6 that terms defined in the Plan or Disclosure Statement are inconsistent with definitions or

  7 meanings provided by the Bankruptcy Code or Rules, the Bankruptcy Code or Rules shall control.

  8 E.       Plan Summary:
  9          The Plan is a reorganization plan. It provides for the replacement of the Debtors’ current

 10 management with new management led or selected by a Plan Administrator, for the continuation

 11 of the Debtors’ business of owning and leasing certain real property located in Berkeley,

 12 California to the buyer of its former steel casting business, and for treatment of the outstanding

 13 Allowed Claims against and Interests in the Debtors. The Plan does not provide for any

 14 substantive consolidation of the Debtors’ estates.

 15          Under the Plan, distributions are intended to be made to Holders of Allowed

 16 Administrative Expense Claims (Unclassified), Allowed Priority Tax Claims (Unclassified),

 17 Allowed Priority Non-Tax Claims (Class 1), Allowed Miscellaneous Secured Claims (Class 2),

 18 and Allowed General Unsecured Claims against Berkeley Properties (Class 5) and Allowed
 19 General Unsecured Claims against Second Street Properties (Class 6). The Holder of the Disputed

 20 CraneTech Claims (Class 3) will receive one of the alternative forms of treatment set forth herein

 21 as a Secured Claim if and only if it obtains a Final Order in the CraneTech Adversary Proceeding

 22 providing that some or all of the Disputed CraneTech Claims are Allowed Secured Claims.

 23 Otherwise, the Disputed CraneTech Claims will be treated as a General Unsecured Claims Against

 24 Second Street Properties to the extent that they are Allowed. The Holder of the Local 164B Claim

 25 (Class 4) will not receive a distribution of Cash in the Plan, but will receive a deed of trust

 26 encumbering the real property owned by the Berkeley Properties pursuant to an agreement with

 27 the Proponents. Holders of Interests in Second Street Properties (Class 7) will receive new
 28 Interests in Reorganized Second Street Properties and shall be deemed to grant to the Post-

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  1 Confirmation Committee an irrevocable proxy to exercise all voting and approval rights

  2 represented by those Interests until such time as the Holders of Allowed Claims of Classes 5 and 6

  3 have been paid in full with interest at the Legal Rate. Holders of Interests in Berkeley Properties

  4 (Class 8) shall retain their Interests. Second Street Properties is the sole interest holder of

  5 Berkeley Properties. After the proceeds produced by the assets of Berkeley Properties are used to

  6 pay the Holders of Allowed Class 5 Claims Against Berkeley Properties, said proceeds will be

  7 used to make distributions to the Holders of Allowed Class 6 Claims against Second Street

  8 Properties. Finally any remaining proceeds shall be distributed to the Class 7 Interest Holders.

  9          Until the Holders of Class 5 and Class 6 Claims are repaid in full with interest at the Legal

 10 Rate, the Debtors’ businesses and their obligations under this Plan will be run primarily by a Plan

 11 Administrator to be identified in the notice of hearing on confirmation of the proposed Plan. If the

 12 Plan Administrator is an individual, the Plan Administrator will be the sole officer and one of the

 13 three directors of Second Street Properties, and shall select the other two directors, whose

 14 identities will also be revealed in the notice of hearing on confirmation of the proposed Plan. If

 15 the Plan Administrator is a corporate entity, the Plan Administrator will select one of its members,

 16 officers, employees or agents to be the sole officer and one of three directors of Second Street

 17 Properties, and shall select the other two directors, all of whose identities will be revealed in the

 18 notice of hearing on confirmation of the proposed Plan. The Plan Administrator will be subject to
 19 the oversight of the Post-Confirmation Committee as provided herein. Also, until the Holders of

 20 Class 5 and Class 6 Claims are repaid in full with interest at the Legal Rate, the Interests in

 21 Reorganized Second Street Properties granted to Holders of Interests in Class 7 will be subject to

 22 an irrevocable proxy that gives all voting and approval rights to the Post-Confirmation Committee.

 23 Once the Holders of Class 5 and Class 6 Claims are repaid in full with interest at the Legal Rate,

 24 the proxy shall terminate.

 25          Certain documents implementing the terms of the Plan described above, including the deed

 26 of trust given to the Holder of the Local 164B Claim, the irrevocable proxy held by the Post-

 27 Confirmation Committee, and the amended and restated organizational documents for
 28 Reorganized Second Street Properties and Reorganized Berkeley Properties will be filed with the

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  1 Court by May 29, 2015 in a Plan Supplement. These documents may be obtained by contacting

  2 counsel for the Proponents at the addresses listed on the first page of this Disclosure Statement, or

  3 by visiting the Key Documents section at the following website: http://dm.epiq11.com/PSC

  4                                             ARTICLE II
  5         GENERAL BACKGROUND INFORMATION REGARDING THE DEBTORS
  6          Second Street Properties, founded in 1934, was a privately-owned steel foundry based in

  7 Berkeley, California. Second Street Properties manufactured carbon, low-alloy and stainless steel

  8 castings ranging from one ounce to 7,000 pounds. Second Street Properties manufactured castings

  9 based on customer’s specifications and shipped products on a just-in-time basis. Second Street

 10 Properties operated three separate plants on nine acres of land: a green sand plant, a shell mold

 11 plant and an air set plant. Second Street Properties’ plants incorporated some of the latest

 12 manufacturing technology, production capabilities and emissions controls. This allowed Second

 13 Street Properties to remain competitive with domestic and international suppliers, and maintain

 14 compliance with environmental regulations.

 15          The green sand plant, opened in 1934, was the company’s original production facility.

 16 This plant produced castings ranging from one pound to 1,500 pounds. The shell mold plant,

 17 which opened in 1975, specialized in smaller, more complex castings, ranging from one ounce to

 18 60 pounds. The air set plant opened in 1981 and is considered the world’s most efficient, high
 19 volume producer of castings up to 7,000 pounds.

 20          Second Street Properties earned an impressive reputation for quality. It specialized in the

 21 production of large, complex castings as well as providing design and engineering assistance on

 22 the front end and heat treating, machining and other processes on the back end. Primary end

 23 markets include oil drilling equipment and heavy-duty trucks.

 24          Since its inception as a six-man partnership in 1934, Second Street Properties grew into a

 25 significant force in the steel casting industry. Second Street Properties was incorporated as a

 26 California C-corporation in March 1946 and at the time of bankruptcy employed over 500 hourly

 27 and 50 salaried employees at its production and administrative facilities. The majority of the
 28 hourly employees are represented by the CTMA - Glass, Molders, Potter, Plastics and Allied

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  1 Workers International Union (Local 164B) (“Local 164B”). Second Street Properties was

  2 operated by the family/owners since inception, along with a talented group of professionals. This

  3 combined management team has been able to blend the latest technological developments in the

  4 industry with a plant modernization and expansion program to produce a rapidly growing

  5 company. During its history of over 80 years, Second Street Properties became one of the leading

  6 steel casting companies in the United States.

  7          In 2007, Second Street Properties created Berkeley Properties LLC, a wholly owned

  8 subsidiary of Second Street Properties. The title to the 10 separate parcels of real property (where

  9 Second Street Properties operated in Berkeley, California) was transferred into this LLC.

 10 Berkeley Properties continues to be 100% owned by Second Street Properties.

 11                                             ARTICLE III
 12                           REASONS FOR FINANCIAL DIFFICULTIES
 13          In 2008, when the Great Recession hit, Second Street Properties’ business slowed. At the

 14 same time as its operations were suffering due to this general slowing, the company encountered a

 15 wave of significant obstacles that combined to constrain its ability to operate and necessitated the

 16 filing of the voluntary chapter 11 petitions for Second Street Properties and Berkeley Properties.

 17 A.       DHS Audit and Resulting Terminations in Workforce:
 18          In early 2011, agents of the Immigration and Customs Enforcement, U.S. Department of
 19 Homeland Security (DHS) began an audit of Second Street Properties’ Employment Eligibility

 20 Verification Forms (commonly known as I-9 Forms). The DHS audit resulted in Second Street

 21 Properties terminating nearly 200 of its front-line manufacturing employees. Second Street

 22 Properties worked diligently to replace the employees lost as a result of the DHS audit and to train

 23 the new workers, but the loss of such a significant numbers of experienced workers severely

 24 affected productivity. In addition, the DHS provided notice in May 2013 that it intended to assess

 25 Second Street Properties with a civil penalty of $401,255.25 in connection with the audit. Second

 26 Street Properties was not in a financial position to pay the civil penalty and sought to negotiate a

 27 settlement agreement with the DHS.
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  1 B.       Litigation Spawned by Terminations, Including Class Action Suit and Settlement
  2          Thereof:
  3          In addition to reduced productivity, the terminations spawned litigation that further

  4 impacted Second Street Properties’ ability to operate outside of bankruptcy. Upon termination,

  5 many of the terminated employees immediately filed workers’ compensation claims against the

  6 company, which resulted in a four-fold increase in the company’s workers compensation

  7 insurance premiums. The terminations done as a consequence of the DHS audit also precipitated

  8 the filing of a wage-and-hour class action lawsuit against Second Street Properties entitled

  9 Roberto Rodriguez et al. v. Pacific Steel Casting Co., filed in Alameda County Superior Court as

 10 case number RG11609595 on December 23, 2011 (the “Class Action”). Second Street Properties

 11 vigorously defended the Class Action. A class of approximately 1,300 current and former

 12 employees of Second Street Properties was certified (the “Class Action Claimants”). The Class

 13 Action was scheduled for trial to commence in February, 2014. Following two years of litigation,

 14 the parties participated in an all-day mediation session on January 24, 2014. As a result of that

 15 mediation, the parties to the Class Action entered into a settlement agreement (“Class Action

 16 Settlement) which generally provided for a settlement of $5.4 million in full and complete

 17 settlement of the Class Action along with other pertinent terms. The Class Action Settlement also

 18 provided that the settlement claims administrator for the Class Action Claimants would be Gilardi
 19 & Co., LLC (“Class Action Claims Administrator”). The Class Action Settlement received

 20 preliminary approval from the Superior Court by order entered on February 28, 2014. Because of

 21 its financial difficulties Second Street Properties was not in a position to fund the Class Action

 22 Settlement, a fact which was fully disclosed during the mediation session. Rather, Second Street

 23 Properties disclosed during the mediation its intention to shortly file for chapter 11 protection and

 24 the Class Action Settlement therefore provide that in the event the bankruptcy case were to

 25 convert to chapter 7, the amount of the Class Action Settlement would increase to $25 million.

 26 C.       Lawsuit with Nearby Residents:
 27          In addition to the lawsuits arising from the terminations done after the DHS audit, Second
 28 Street Properties faced lawsuits from its neighbors in Berkeley, CA as well. In April 2012, Second

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  1 Street Properties settled a lawsuit brought on behalf of nearby residents alleging, among other

  2 things, negligence, battery and trespass. The settlement required a one-time payment of $190,000

  3 which was made in June of 2012. The settlement also requires that Second Street Properties

  4 identify one or more capital improvement projects that are intended to further identify, control,

  5 reduce, or minimize emissions and/or odors (with a value of $585,000 including maintenance for

  6 up to 10 years). Second Street Properties spent considerable time and money on legal support

  7 during the years that let up to this settlement. However, because of the other financial challenges it

  8 was facing, Second Street Properties has not yet funded the capital improvement projects.

  9 D.       Reduced Borrowing Capacity:
 10          Further, Second Street Properties’ business was also endangered by new constraints

 11 imposed by its pre-petition lender that severely limited Second Street Properties’ ability to borrow

 12 the funds necessary to finance its operations. Prior to the bankruptcy filing, Second Street

 13 Properties and Berkeley Properties had only one large secured creditor, Wells Fargo Bank, N.A.

 14 (“Wells Fargo”). Historically, Wells Fargo provided Second Street Properties with a line of credit

 15 to finance its day-to-day operations. Wells Fargo also provided a term loan secured on the

 16 Berkeley real estate owned by Berkeley Properties which loan was guaranteed by Second Street

 17 Properties and Second Street Properties’ majority shareholder. In the latter part of 2013, due to

 18 failure to meet certain performance covenants, Wells Fargo informed Second Street Properties that
 19 it would need to find an alternative source of financing. By agreement, Wells Fargo reduced the

 20 funds available to Second Street Properties under the line of credit in the second half of 2013 and

 21 eventually froze the line of credit in February, 2014.

 22 E.       Decision to Preserve Going Concern Value Through A Bankruptcy Sale Process:
 23          With all of the above challenges, Second Street Properties and Berkeley Properties realized

 24 that in order to preserve Second Street Properties’ steel casting business for the benefit of its

 25 creditors, employees, and estate, they would need to file for chapter 11 bankruptcy protection and

 26 seek to sell at least Second Street Properties’ assets as a going concern. Second Street Properties

 27 and Berkeley Properties began working with investment bankers at Cleary Gull to market their
 28 assets for such a sale in February 2014 at the same time as they began to prepare for their chapter

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  1 11 bankruptcy filings with their chosen bankruptcy counsel. An electronic data room was

  2 established and the Debtors commenced marketing their assets for a going concern sale in

  3 February 2014. The Debtors then filed their voluntary chapter 11 bankruptcy petitions on March

  4 10, 2014, commencing these Bankruptcy Cases.

  5                                             ARTICLE IV
  6                  RELEVANT EVENTS DURING THE BANKRUPTCY CASES
  7 A.       Case Commencement:
  8          The Debtors separately filed their voluntary petitions under chapter 11 of title 11 of the

  9 United States Code on March 10, 2014 (the “Petition Date”) and they continue to operate as

 10 debtors-in-possession pursuant to 11 U.S.C. §§ 1107 and 1108.

 11 B.       Retention of Professional by the Debtors:
 12          On April 1, 2014, the Court entered its order appointing Binder & Malter LLP as

 13 bankruptcy counsel to the Debtors in these cases. The Court subsequently also authorized the

 14 appointment of the following professionals to the Debtors: (i) Burr Pilger Mayer as financial

 15 advisors; (ii) Cleary Gull Inc. as investment bankers; (iii) Mowat Mackie & Anderson LLP as

 16 accountants; (iv) Chang, Ruthenberg & Long P.C. as ERISA counsel; (v) Thoits, Love,

 17 Hershberger & McLean as transactional counsel; and, (vi) Littler Mendelson P.C. as labor counsel.

 18 C.       Formation of Creditors’ Committee:
 19          The Office of the United States Trustee formed the Official Unsecured Creditors’

 20 Committee (the “Committee”) on March 21, 2014. The Committee retained Sheppard, Mullin,

 21 Richter & Hampton LLP as counsel and Arch & Beam Global LLC as financial advisors.

 22 D.       First Day and Related Motions:
 23          Immediately following the filing of the voluntary petitions, the Debtors sought relief from

 24 the Court including: (i) a motion to approve a stipulation with secured creditor Wells Fargo Bank

 25 authorizing the Debtors to continue to use cash collateral for normal operations pursuant to an

 26 operating budget pending a final hearing; (ii) a motion authorizing the Debtors to continue to use

 27 their pre-petition cash management practices and existing bank accounts; (iii) a motion authorizing
 28 the Debtors to pay pre-petition employee compensation, benefits and Union obligations; (iv) a

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  1 motion for joint administration; and, (v) a motion to limit notice. The Court approved the

  2 preliminary use of cash collateral and later also approved the final use of cash collateral following

  3 a fully noticed hearing. The Court approved the Debtors’ request to continue to utilize its existing

  4 cash management systems and to pay pre-petition employee compensation up to the priority limit,

  5 employee benefits and Union obligations in the ordinary course of business. The cases were

  6 ordered jointly administered. After a further hearing, the Court granted the request to limit notice,

  7 along with the appointment of Epiq Bankruptcy Solutions LLC (“Epiq”) as the official claims,

  8 balloting and noticing agent in these cases and approved the form of a substitute notice of

  9 commencement of cases, of the first meeting of creditors and the initial claims bar date.

 10 E.       Application to Appoint Responsible Individual:
 11          On March 13, 2014, the Court entered orders in both cases appointing Charles H. Bridges

 12 III, Chief Financial Officer of Second Street Properties, as the responsible individual for both

 13 Debtors. Subsequently, following closing of the sale of assets described below, the Debtors

 14 obtained an Order on September 5, 2014 appointed Catherine Delsol, President and CEO of

 15 Second Street Properties and the Managing Member of Berkeley Properties as the successor

 16 responsible individual in these cases.

 17 F.       Post-Petition Financing:
 18          Shortly after the Petition Date, the Debtors entered into a proposed debtor in possession
 19 credit agreement to provide the Debtors with post-petition financing for ongoing operations.

 20 Although the Debtors had received authorization to use the cash collateral of Wells Fargo Bank,

 21 Wells Fargo Bank was unwilling to further extend any credit to the Debtors post-petition. The

 22 Debtors knew based on anticipated cash flow projections including the annual renewal of their

 23 workers compensation insurance policy, that they could not continue normal operations in chapter

 24 11 without access to a credit facility. The Debtors therefore sought approval of a new revolving

 25 line of credit from Siena Lending Group (“Siena”) of up to $8.5 million for purposes of allowing

 26 the Debtors to repay the existing secured indebtedness owed to Wells Fargo Bank, as well as

 27 providing the Debtors with operating capital. After negotiating resolution to objections raised by
 28 the Committee, the Court granted approval of the post-petition financing motion which provided

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  1 Siena with a senior security interest in the Debtors’ assets and a superpriority administrative

  2 expense claim, as well as modification to the automatic stay and related relief.

  3 G.       Approval of Bid Procedures:
  4          Following extensive pre-petition and post-petition marketing of assets by their appointed

  5 investment bankers Cleary Gull Inc., the Debtors negotiated the terms of a comprehensive Asset

  6 Purchase Agreement (the “APA”) with a stalking horse bidder, Speyside Fund LLC or its assignee

  7 (“Speyside”), subject to overbid. The APA generally provided for the sale of Second Street

  8 Properties’ foundry business on a going concern basis and included the assumption and

  9 assignment of specific executory contracts and leases, as well as entering into a new long term

 10 lease between Speyside and Berkeley Properties for the use of the real property where the foundry

 11 operates. On June 19, 2014, the Debtors filed their MOTION TO APPROVE OVERBID

 12 PROCEDURES RE SALE OF DEBTORS’ ASSETS AND RELATED RELIEF (“Bid Procedures

 13 Motion”) which set forth the proposed schedule and process for approval of the sale of assets of

 14 the Debtors’ assets and auction. The relief requested in the Bid Procedures Motion was granted by

 15 order entered on June 30, 2014.

 16 H.       Approval of the Sale and Related Motions:
 17          On June 30, 2014, the Debtors filed their MOTION TO APPROVE SALE OF

 18 SUBSTANTIALLY ALL ASSETS FREE AND CLEAR OF LIENS AND RELATED RELIEF,
 19 together with related motions to (i) approve the assumption and assignment of leases and

 20 executory contracts; and, (ii) to conditionally approve a new real property lease between Berkeley

 21 Properties and Speyside and rejection of the existing real property lease between Second Street

 22 Properties and Berkeley Properties (collectively the “Sale Motions”). Notice of the Sale Motions

 23 and the auction hearing scheduled for July 28, 2014 was provided to creditors and potentially

 24 interested bidders pursuant to the Court’s order approving the Bid Procedures Motion. No other

 25 potential overbidding parties came forward prior to or at the time of the hearing. Based upon a

 26 resolution reached between the Debtors and Speyside, certain objections raised by the Committee

 27 and one of the affected landlords were resolved and the Sale Motions were approved. The Court’s
 28 orders approving the sale and related motions were thereafter entered on July 31, 2014.

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  1 I.       Closing of the Sale and Repayment of Siena:
  2          Following the hearing on July 28, 2014, the Debtors were ordered to give notice of the

  3 pending sale to Sentry Insurance (“Sentry”) and certain other parties. The Debtors and Speyside

  4 also used the intervening time to negotiate an amendment to the APA to clarify certain terms and

  5 conditions of the sale, including certain adjustments to the purchase price. The Court approved an

  6 ex parte application to amend the APA, however Sentry objected to the amendment. Ultimately,

  7 the parties were able to achieve a satisfactory resolution and the Court entered a further order that

  8 resolved Sentry’s concerns. The sale of substantially all assets closed on August 29, 2014 just

  9 prior to midnight to Pacific Steel Casting Company, a Delaware limited liability company

 10 (“Buyer” or “New Pacific Steel”), an assignee of Speyside. Funding of the sale transaction

 11 occurred the following business day and resulted in the repayment in full of the Siena DIP loan

 12 facility. Executory contracts and leases were assumed and assigned to the Buyer, including the

 13 collective bargaining agreement with the Union. The Buyer assumed responsibility for both of

 14 Second Street Properties’ pension plans. Cure payments were made to the holders of those

 15 executory contracts and leases that were assumed and assigned to the Buyer. The Buyer re-hired

 16 all but approximately 20 former employees of Second Street Properties.

 17 J.       Rejection of Leases and Executory Contracts:
 18          Following consummation of the sale of assets to the Buyer, the Debtors identified those
 19 remaining leases and executory contracts that Buyer had not agreed to be responsible for and for

 20 which Second Street Properties no longer had need for the personal property items being leased or

 21 the other services which were being provided to Second Street Properties as part of the operation

 22 of its steel foundry business that was sold to the Buyer. The Debtors brought a motion to reject

 23 those unnecessary leases and executory contracts which was granted by the Court, with a rejection

 24 claims bar date of November 14, 2014 also established.

 25 K.       Objection to Claim of IRS:
 26          The United States Internal Revenue Service (the “IRS”) filed claim #47 asserting a claim

 27 of $32,358,877 for corporate income taxes for the tax year ending March 31, 2012 (the “2011 Tax
 28 Year”) and alleging that the entire claim is entitled to priority treatment under Bankruptcy Code §

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  1 507(a)(8). Second Street Properties has filed an objection to claim #47 together with a motion to

  2 establish the amount of tax liability pursuant to 11 U.S.C. §505(a)(1). The objection states that the

  3 IRS Claim is based upon taxes that have not been assessed and Second Street Properties has no

  4 information or reason to believe that it is obligated to the IRS to pay any income taxes for the

  5 2011 Tax Year. Second Street Properties is informed and believes, and thereon alleges, that the

  6 IRS Claim is not based on any obligation, but is the result of a random informational audit

  7 currently being conducted by the IRS of Debtor’s business for the tax year in question as part of

  8 the “National Research Program” of the IRS. In fact, during the year in question, the Debtor filed

  9 a timely tax return with the IRS, reflecting a significant loss. Bankruptcy Code §505(a)(1)

 10 provides that the court may determine the amount or legality of any tax, whether or not it has been

 11 previously assessed, whether or not paid, and whether or not previously contested. The IRS has

 12 admitted that its claim is unliquidated. The objection to the claim of the IRS remains pending at

 13 this time and the determination of the IRS proof of claim will affect the amount available for

 14 distribution to general unsecured non-priority creditors. The Plan Proponents believe that the IRS

 15 claim should be estimated for purposes of plan confirmation at zero. Notwithstanding, the

 16 Debtors may still be required to complete the audit. The IRS has estimated that it would take until

 17 approximately July 31, 2015 to complete the audit.

 18 L.       Final Approval of the Class Action Settlement:
 19          Following Court approval of a stipulation for relief from stay, the Superior Court granted

 20 final approved to the Class Action Settlement on October 16, 2014.

 21 M.       Operations After the Sale of Assets:
 22          Following the closing of the sale of assets, the Debtors and the Committee have resolved

 23 issues related to the value of inventory and receivables with the Buyer, as well as overpayment of

 24 the Siena DIP loan. The Buyer as the tenant of Berkeley Properties is obligated to make monthly

 25 rental payment according to a written lease which is for an initial term of 15 years. As part of the

 26 First Amendment to the APA and Lease, monthly base rent is currently abated for a period of 11.1

 27 months; however the Buyer must still pay triple net charges such as real property taxes.
 28

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  1          After the sale of the foundry business, and until the appointment of the Plan Administrator

  2 pursuant to the Plan, Catherine Delsol has been the primary officer in charge the Debtors. Ms.

  3 Delsol joined Second Street Properties in 2003 and was the fourth generation of her family to lead

  4 Second Street Properties. Prior to Second Street Properties, she held positions in technical sales,

  5 financial management and real estate. Catherine has a Bachelor of Arts Degree in

  6 Communications from California State University, Chico. Catherine is now the sole person left

  7 supporting Second Street Properties and Berkeley Properties and is the appointed Responsible

  8 Individual and the managing member of Berkeley Properties. She has been involved in transition

  9 of all items following the close of the sale of Second Street Properties’ assets, including assisting

 10 with banking needs, communications, budget and expense containment, claims analysis and other

 11 “wind-down” requirements. Ms. Delsol is being compensated $150 hour for her services.

 12 N.       Claims Bar Dates:
 13          The Court established July 14, 2014 as the bar date for non-governmental units to file

 14 claims in these bankruptcy cases with Epiq. Certain other claims bar dates have been established

 15 for limited groups of creditors, such as those whose creditors whose contracts have been rejected

 16 and administrative claims arising prior to the closing of the sale of assets.

 17 O.       Cranetech Adversary Proceeding:
 18          In the context of its steel casting foundry operations, Second Street Properties used heavy
 19 machinery including moving equipment. Second Street Properties engaged the services of

 20 CraneTech Inc. (“CraneTech”) to service certain equipment. In February and March 2014,

 21 CraneTech recorded Mechanics’ Liens against the real property owned by Berkeley Properties in

 22 the collective amount of $322,551.81 contending that the outstanding amounts constitute a lien for

 23 labor, services, equipment and/or materials that was furnished for the construction of a building,

 24 improvement or structures on the real property. Berkeley Properties disputes this contention

 25 maintains that the unpaid invoices are for the maintenance and repair of equipment and do not

 26 constitute a proper basis for a mechanics’ lien against the real property. The Debtors filed a

 27 Complaint for Declaratory Relief, to Expunge Mechanics’ Liens and Avoid Statutory Liens
 28 (Adversary Proceeding No. 14-41048) which matter remains pending at this time. Since the

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  1 validity of the CraneTech mechanics’ liens have not yet been settled or determined at this time,

  2 CraneTech’s claims in these cases have been separately classified with the treatment of

  3 CraneTech’s claims dependent upon the outcome of the pending adversary proceeding.

  4 P.       Summary of Monthly Operating Reports:
  5          Attached hereto as Exhibit “A” are summaries of the most recent Monthly Operating

  6 Reports filed by the Debtors.

  7 Q.       Claims Related to the Defined Benefit Pension Plan:
  8          During the course of due diligence in connection with the sale of assets, the Debtors

  9 discovered that errors were made in 2011 by the administrator of Second Street Properties’ non-

 10 union pension plan, NH Hicks, Inc. and/or plan actuary Haness & Associates LLC. In July 2014,

 11 the Debtors filed with the IRS a Voluntary Correction Program Application (the “VCP”) to correct

 12 those errors as required by the asset purchase agreement. The IRS has recently responded by

 13 requesting additional documents regarding the VCP and the Debtors are complying with that

 14 request. Under the terms of the asset sale agreement, Debtors are responsible for any excess

 15 amount of retirement benefits (and any applicable interest) definitely determined by the IRS

 16 beyond that previously determined for any retiree whose termination date occurred after April 1,

 17 2011 and prior to the Closing Date. Pursuant to the terms of the asset sale agreement, $20,000

 18 remains on deposit in an attorney-client trust account as a reserve to be used to pay any such
 19 amounts until such benefit entitlement (or lack thereof) is definitively determined by the IRS. In

 20 the event the IRS were to disqualify the non-union pension plan due to the errors, the Buyer is

 21 responsible for the consequences of such an occurrence. The Debtors also reserve all rights and

 22 claims against plan administrator NH Hicks, Inc. and/or plan actuary Haness & Associates LLC

 23 for their actions which caused errors and caused the Debtors to incur damages, including filing

 24 fees and legal expenses, as well as future damages in an as yet unknown amount.

 25 R.       Claims by the Buyer:
 26          Under the terms of the asset purchase agreement as amended, the Buyer received a period

 27 of 90 days following the closing of the transaction during which time the Buyer could assert
 28 claims for alleged breaches of the representations and warranties made by Second Street

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  1 Properties in the asset purchase agreement. The sale transaction closed on August 29, 2014. On

  2 November 28, 2014 (the day after Thanksgiving), in an email communication the Buyer asserted a

  3 claim for returns of $256,000 and for uncollectable accounts receivable of $250,000. To date, the

  4 Buyer has provided no supporting details or documents to evidence such claims. The asset

  5 purchase agreement provides that such disputes shall be submitted to and resolved by the

  6 Bankruptcy Court (either by agreement or by order of the Court) and that the sole and exclusive

  7 remedy for any amounts ultimately payable by Second Street Properties as the Seller to the Buyer

  8 shall be paid through a reduction in the amount of rent otherwise payable by the Buyer to Berkeley

  9 Properties LLC under the real property Lease until the amount of such rent abatement equals the

 10 amount determined to be due to the Buyer.

 11 S.       Contingent Claim of Local 164B:
 12          The CMTA – Glass, Molders, Pottery, Plastics & Allied Workers (Local 164B) Pension

 13 Trust (the “Local 164B”) has filed a claim in the amount of $26,702,858 against Second Street

 14 Properties based on contingent withdrawal liability under the multi-employer union pension plan

 15 which Second Street Properties participates in pursuant to the collective bargaining agreement

 16 between Second Street Properties and Local 164B. Although the Buyer has expressly assumed

 17 responsibility for Second Street Properties’ obligations to Local 164B as part of the sale, by statute

 18 Second Street Properties remains secondarily liable to Local 164B on a contingent basis for a
 19 period of five (5) plan years following the closing of the sale through July 1, 2020 in the event that

 20 either (a) New Pacific Steel has not completely or partially withdrawn from Local 164B before

 21 July 1, 2020 or (b) New Pacific Steel has completely or partially withdrawn from Local 164B

 22 before July 1, 2020, and has completely satisfied all resulting withdrawal liability obligations to

 23 Local 164B when and as due, then, no later than 60 days following the occurrence of either (a) or

 24 (b) above . In lieu of posting a cash bond at the time of closing of the sale transaction, or

 25 withholding all distributions from unsecured creditors until the expiration of the 5 year period of

 26 contingent liability, the Plan Proponents and Local 164B have agreed to provide Local 164B with

 27 security for its contingent claim in the form of the Berkeley Deed of Trust. The Berkeley Deed of
 28 Trust is enforceable under its specific terms and conditions described in detail in the treatment of

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  1 the Class 4 Claim of Local 164B. Once the five year time period elapses and assuming there has

  2 been no ERISA triggering event, then Local 164B will be required to reconvey the Berkeley Deed

  3 of Trust and release its lien on the Berkeley real property.

  4                                              ARTICLE V
  5                                   PLAN OF REORGANIZATION
  6          The Plan does not provide for any substantive consolidation of the Debtors’ Estates.

  7 Claims against Second Street Properties shall be satisfied by the assets of Second Street

  8 Properties, and Claims against Berkeley Properties shall be satisfied by the assets of Berkeley

  9 Properties. Note however that because Berkeley Properties is a wholly owned subsidiary of

 10 Second Street Properties, once the Claims against Berkeley Properties are satisfied, the proceeds

 11 produced by the assets of Berkeley Properties (including, without limitation, the rental payments

 12 made to Berkeley Properties for use of the Berkeley Real Estate) shall be distributed to Second

 13 Street Properties, as Holder of 100% of the Interests in Berkeley Properties, and sole member of

 14 Class 8. Once such proceeds are distributed to Second Street Properties, they shall become assets

 15 of the Second Street Properties Estate and shall be used to satisfy Claims against and Interests in

 16 Second Street Properties in the manner set forth in this Plan.

 17 A.       Administrative Expense Claims
 18          As provided under Bankruptcy Code section 1123(a)(1), Administrative Expense Claims
 19 are not classified for purposes of voting on, or receiving distributions under, the Plan.

 20 Accordingly, holders of Administrative Expense Claims are not entitled to vote on this Plan.

 21          To the extent that Allowed Administrative Expense Claims have not already been paid,

 22 satisfied or otherwise released prior to the Effective Date, and except to the extent that a Holder of

 23 an Allowed Administrative Expense Claim agrees to a different treatment, each Holder of an

 24 Allowed Administrative Expense Claim shall receive Cash from either the Estate of Second Street

 25 Properties or the Estate of Berkeley Properties in an amount equal to such Allowed Claim, in full

 26 and final satisfaction, settlement and release and in exchange for such Claim, on the later of the

 27 Effective Date or the date such Administrative Expense Claim becomes an Allowed
 28

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  1 Administrative Expense Claim pursuant to a Final Order of the Bankruptcy Court, or as soon

  2 thereafter as reasonably practicable.

  3          1.      Applicable Bar Dates for Administrative Expense Claims.
  4          Except for applications for payment by Professionals under the Bankruptcy Code and fees

  5 payable to the United States Trustee pursuant to 28 U.S.C. § 1930, all requests for payment of

  6 outstanding Administrative Expense Claims incurred from the Petition Date through August 29,

  7 2014 were required to be filed and served by no later than October 31, 2014, as set forth in the

  8 Order of the Bankruptcy Court entered on September 16, 2014 as Docket No. 329.

  9          Except for applications for payment by Professionals under the Bankruptcy Code and fees

 10 payable to the United States Trustee pursuant to 28 U.S.C. § 1930, and except for taxes that arise

 11 after the Petition Date (which shall be paid as and when they come due), all requests for payment

 12 of outstanding Administrative Expense Claims incurred from August 30, 2014 through the

 13 Effective Date shall be filed and served on the Plan Administrator no later than thirty (30) calendar

 14 days after the Effective Date.

 15          2.      Professional Fees.
 16          All Professionals seeking an award by the Bankruptcy Court of compensation for services

 17 rendered or reimbursement for expenses incurred through and including the Effective Date in

 18 accordance with section 503(b) of the Bankruptcy Code, to the extent not already paid as a result
 19 of interim applications for such payment, shall file their respective final applications for allowance

 20 of compensation for services rendered and reimbursement of expenses incurred through the

 21 Effective Date by no later than that date that is thirty (30) calendar days after the Effective Date or

 22 such other date as may be fixed by the Bankruptcy Court. Such Professional fee and expense

 23 Claims shall be paid in full in such amounts as are Allowed by the Bankruptcy Court (i) on the

 24 date such Administrative Expense Claim becomes an Allowed Administrative Expense Claim, or

 25 as soon thereafter as is reasonably practicable, or (ii) upon such other terms as may be mutually

 26 agreed upon by such Holder of an Administrative Expense Claim and the Plan Administrator.

 27
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  1          3.      Statutory U.S. Trustee Fees.
  2          All United States Trustee fees payable by each Estate pursuant to 28 U.S.C. § 1930 shall

  3 be paid in full by each Estate in accordance with the Plan without the need for the Office of the

  4 United States Trustee to file any request for payment.

  5 B.       Priority Tax Claims:
  6          As provided under Bankruptcy Code section 1123(a)(1), Priority Tax Claims are not

  7 classified for purposes of voting on, or receiving distributions under, the Plan. Accordingly,

  8 holders of Priority Tax Claims are not entitled to vote on this Plan.

  9          To the extent that Allowed Priority Claims have not already been paid, satisfied or

 10 otherwise released prior to the Effective Date, and except to the extent that a Holder of an Allowed

 11 Priority Tax Claim agrees to a different treatment, on the later of the Effective Date or the date

 12 such Priority Tax Claim becomes an Allowed Priority Tax Claim, or as soon thereafter as is

 13 reasonably practicable, the Trustee shall pay to each Holder of an Allowed Priority Tax Claim, in

 14 full and final satisfaction, settlement and release and in exchange for such Claim, an amount in

 15 Cash equal to the unpaid amount of such Allowed Priority Tax Claim plus any interest that may be

 16 owing under Bankruptcy Code section 511, from either the assets of the Estate of Second Street

 17 Properties or the assets of the Estate of Berkeley Properties.

 18 C.       CLASSIFICATION OF CLAIMS AND INTERESTS - SUMMARY OF
 19          CLASSIFICATIONS:
 20          The Plan is intended to address all Claims and Interests against the Debtors and any

 21 property or assets of the Debtors or their Estates, of whatever character. Claims and Interests,

 22 other than Administrative Expense Claims and Priority Tax Claims, are classified for all purposes

 23 including voting (unless otherwise specified), confirmation and distribution pursuant to the Plan as

 24 set forth below.

 25          A Claim or Interest is placed in a particular Class only to the extent that the Claim or

 26 Interest falls within the description of that Class, and is classified in other Classes to the extent

 27 that any portion of the Claim or Interest falls within the description of such other Classes. A Claim
 28 or Interest is placed in a particular Class for the purpose of receiving distributions pursuant to the

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  1 Plan only to the extent that such Claim or Interest is an Allowed Claim in that Class and such

  2 Claim or Interest has not been paid, released or otherwise satisfied prior to the Effective Date.

  3 Multiple Proofs of Claim filed by a Claim Holder which qualify for inclusion within the same

  4 Class shall be aggregated, and if Allowed, shall constitute a single Allowed Claim.

  5 D.       Classes Under the Plan:
  6     Class 1                         Priority Non-Tax Claims            Unimpaired, deemed to
                                                                           accept
  7     Class 2                         Miscellaneous Secured Claims       Unimpaired, deemed to
                                        (each secured creditor in a        accept
  8                                     separate class identified as
                                        Class 2A, 2B, etc.)
  9     Class 3                         Disputed CraneTech Claims          Unimpaired, deemed to
                                                                           accept
 10
        Class 4                         Local 164B Claim                   Impaired, entitled to vote, but
 11                                                                        have consented to treatment
                                                                           by settlement
 12     Class 5                         General Unsecured Claims           Impaired, entitled to vote
                                        Against Berkeley Properties
 13     Class 6                         General Unsecured Claims         Impaired, entitled to vote
                                        Against Second Street
 14                                     Properties
        Class 7                         Interests in Second Street       Impaired, entitled to vote
 15                                     Properties
        Class 8                         Interests in Berkeley Properties Unimpaired, not entitled to
 16                                                                      vote
 17
      E.     TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS:
 18
             Class 1 – Priority Non-Tax Claims.
 19
             1.      Impairment and Voting.
 20
             Class 1 is unimpaired. Holders of Priority Non-Tax Claims are deemed to have accepted
 21
      this Plan under Bankruptcy Code section 1126(f) and are not entitled to vote on the Plan.
 22
             2.      Treatment.
 23
             Each Holder of an Allowed Class 1 Claim, unless otherwise mutually agreed upon by the
 24
      Holder of such Claim and the Debtor, will receive Cash in an amount equal to such Allowed Class
 25
      1 Claim on the later of (a) the Initial Distribution Date, or (b) the date such Claim becomes an
 26
      Allowed Claim pursuant to a Final Order, or as soon thereafter as is practicable, from either the
 27
      Estate of Second Street Properties or the Estate of Berkeley Properties, as applicable.
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  1          Class 2 – Miscellaneous Secured Claims.
  2          1.      Impairment and Voting.
  3          Class 2 is unimpaired under the Plan. Holders of Miscellaneous Secured Claims are

  4 deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy Code and are not

  5 entitled to vote on the Plan. For purposes of distributions under the Plan, each holder of a

  6 Miscellaneous Secured Claim in Class 2 is considered to be in its own separate subclass within

  7 Class 2, and each such subclass is deemed to be a separate Class for purposes of the Plan.

  8          2.      Alternative Treatment.
  9          On the Initial Distribution Date, the Plan Administrator shall select one of the following

 10 alternative treatments for each Allowed Miscellaneous Secured Claim in Class 2, which treatment

 11 shall be in full and final satisfaction, settlement, release, and discharge of, and exchange for, such

 12 Allowed Miscellaneous Secured Claim:

 13                  a.     Abandonment or Surrender.

 14          The Plan Administrator will abandon or surrender to the holder of such Claim the property

 15 securing such Claim, in full satisfaction and release of such Claim.

 16                  b.     Cash Payment.

 17          The Plan Administrator will pay to the holder of such Claim Cash equal to the amount of

 18 such Claim, or such lesser amount to which the holder of such Claim shall agree, in full
 19 satisfaction and release of such Claim, from either the assets of the Estate of Second Street

 20 Properties or the assets of the Estate of Berkeley Properties, as applicable.

 21                  c.     Unimpairment.

 22          The Plan Administrator will leave the rights of the holder of such Claim unimpaired or

 23 provide for such other treatment as necessary to otherwise satisfy the requirements of the

 24 Bankruptcy Code.

 25          3.      Unsecured Deficiency Claim.
 26          Any Unsecured Deficiency Claim asserted by a Holder of an Allowed Miscellaneous

 27 Secured Claim in Class 2 shall be filed with the Bankruptcy Court within thirty (30) days
 28 following the date of the abandonment or surrender of such Creditor’s collateral or such Creditor’s

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  1 receipt of its distribution under the Plan. Any such Allowed Unsecured Deficiency Claim shall be

  2 treated as a Class 5 General Unsecured Claim against Berkeley Properties or a Class 6 General

  3 Unsecured Claim against Second Street Properties, as applicable.

  4          Class 3 – Disputed CraneTech Claims.
  5          1.      Impairment and Voting.
  6          Class 3 is unimpaired under the Plan. The Holder of the Disputed CraneTech Claims is

  7 deemed to have accepted the Plan under Section 1126(f) of the Bankruptcy Code and is not

  8 entitled to vote on the Plan.

  9          2.      Initial Treatment of Claim.
 10          The Class 3 Disputed CraneTech Claims are not Allowed as the validity and priority of

 11 their asserted status as secured claims is subject to the CraneTech Adversary Proceeding. Unless

 12 and until a Final Order is entered allowing the Disputed CraneTech Claims in any amount, the

 13 Plan Administrator shall reserve for the Disputed CraneTech Claims as if they were Class 5

 14 General Unsecured Claims Against Berkeley Properties, as provided in Section VIII.I.2 of the

 15 Plan.

 16          3.      Treatment if Claim is Allowed by a Final Order.
 17          If the Bankruptcy Court enters a Final Order allowing the Disputed CraneTech Claims as

 18 Secured Claims, then the Plan Administrator shall pay to the holder of such Claims Cash equal to
 19 the amount of such Claims, or such lesser amount to which the Holder of such Claims shall agree,

 20 in full satisfaction and release of such Claims, from either the assets of the Estate of Second Street

 21 Properties or the assets of the Estate of Berkeley Properties, as applicable.

 22          If the Bankruptcy Court enters a Final Order allowing the Disputed CraneTech Claims but

 23 only as General Unsecured Claims against either or both Estates, then the Disputed CraneTech

 24 Claims shall receive the treatment provided in this Article VI of the Plan for an Allowed General

 25 Unsecured Claim against the relevant Estate or Estates.

 26          If the Disputed CraneTech Claims are Allowed, either as Secured Claims or General

 27 Unsecured Claims, they shall be limited to one recovery from the Debtors’ Estates. In other
 28

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  1 words, the same Claim asserted against each Estate shall receive a distribution from only one

  2 Estate.

  3           Class 4 – Local 164B Claim.
  4           1.     Impairment and Voting.
  5           Class 4, which is comprised of the Local 164B Claim, is impaired under the Plan. The

  6 Holder of the Local 164B Claim is entitled to vote on the Plan, however the Holder of the Local

  7 164B Claim has consented to its Claim’s treatment in this Plan as described below.

  8           2.     Treatment.
  9           The Proponents and Local 164B have reached an agreement on the treatment of the

 10 Local 164B Claim, which is as follows. On the Effective Date, the Plan Administrator on behalf

 11 of Berkeley Properties shall execute a deed of trust (the “Berkeley Deed of Trust”) that encumbers

 12 the Berkeley Real Property and secures payment of the contingent Local 164B Claim in the full

 13 amount asserted by Local 164B – i.e., $26,702,858. The Berkeley Deed of Trust shall be in the

 14 form attached to the Plan Supplement. If (a) New Pacific Steel has not completely or partially

 15 withdrawn from Local 164B before July 1, 2020, or (b) New Pacific Steel has completely or

 16 partially withdrawn from Local 164B before July 1, 2020, and has completely satisfied all

 17 resulting withdrawal liability obligations to Local 164B when and as due, then, no later than 60

 18 days following the occurrence of either (a) or (b) above, Local 164B shall execute and deliver to
 19 the Plan Administrator a substitution of trustee and full reconveyance that reconveys the Berkeley

 20 Deed of Trust.

 21           If New Pacific Steel completely or partially withdraws from Local 164B before July 1,

 22 2020, then Local 164B shall promptly deliver written notice of the same to the Plan Administrator

 23 accompanied by notice of Local 164B’s calculation of the amount of the withdrawal liability of

 24 Second Street Properties that may be triggered under ERISA § 4204, 29 U.S.C. §§ 1384 (and such

 25 notice shall satisfy any notice requirement to the Plan Administrator under ERISA § 4219(b), 29

 26 U.S.C. § 1399(b)). Thereafter, the Plan Administrator may request review of and contest Local

 27 164B’s calculation of the amount of Second Street Properties’ withdrawal liability that may be
 28 triggered in accordance with ERISA §§ 4219(b) and 4221, 29 U.S.C. §§ 1399(b) and 1401.

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  1 Except as provided in the preceding sentence and notwithstanding any other provision hereof,

  2 neither the Plan Administrator, the Post-Confirmation Committee, nor any other party may, or

  3 shall have standing to, file or prosecute any objection to, seek review or reconsideration of, or

  4 request estimation of the Local 164B Claim. If the withdrawal liability is uncontested and/or

  5 confirmed through the dispute resolution procedures of ERISA § 4221, 29 U.S.C. § 1401, then the

  6 Local 164B Claim shall be an Allowed Claim.

  7          If New Pacific Steel, following a complete or partial withdrawal from Local 164B that

  8 occurs prior to July 1, 2020, fails to make any withdrawal liability payment when and as due, and

  9 such failure to pay is not cured by New Pacific Steel or the Plan Administrator in the 60-day

 10 period following receipt of written notification as provided in ERISA § 4219(c)(5)(A), 29 U.S.C.

 11 § 1399(c)(5); and the Plan Administrator subsequently fails to pay said Allowed Local 164B

 12 Claim as and when provided by law or the parties’ agreement, then Local 164B shall become

 13 entitled to exercise any and all remedies available to it under the Berkeley Deed of Trust,

 14 including foreclosing on the Berkeley Real Property pursuant to the power of sale in the Berkeley

 15 Deed of Trust.

 16          In the event that Local 164B conducts a non-judicial foreclosure on the Berkeley Real

 17 Property in order to collect on the Local 164B Claim, Local 164B shall not be entitled to any

 18 Claim against either Estate for any deficiency. Such a deficiency claim shall be deemed fully and
 19 finally waived as of the date title to the Berkeley Real Property passes pursuant to such a non-

 20 judicial foreclosure sale. The Berkeley Deed of Trust and the foregoing provisions regarding the

 21 Berkeley Deed of Trust shall constitute the sole source of recovery against either Estate for the

 22 Local 164B Claim. Local 164B also waives any and all existing or potential future claims for

 23 partial or complete withdrawal liability against the Class 7 Interest Holders, to the extent such

 24 claims may arise under applicable non-bankruptcy law. For clarification, the distribution of the

 25 Initial Distributable Cash and the Periodic Distributable Cash made to holders of allowed Claims

 26 pursuant to the Plan from the payment of rents and other monies received during the term of this

 27 Plan shall not trigger withdrawal liability under ERISA because the Berkeley Deed of Trust
 28

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  1 satisfies the requirement for the posting of a bond under 29 U.S.C. § 1384(a)(3) and Local 164B

  2 consents thereto.

  3          Class 5 – General Unsecured Claims Against Berkeley Properties.
  4          1.      Impairment and Voting.
  5          Class 5 is impaired under the Plan. Holders of General Unsecured Claims against

  6 Berkeley Properties are entitled to vote on the Plan.

  7          2.      Treatment.
  8          On or as soon as practicable following the Effective Date, each Holder of such an Allowed

  9 General Unsecured Claim against Berkeley Properties shall receive a Pro Rata share of the Initial

 10 Distributable Cash of the Berkeley Properties Estate on the Initial Distribution Date and a Pro Rata

 11 share of the Periodic Distributable Cash of the Berkeley Properties Estate on such Periodic

 12 Distribution Dates as are established by the Plan Administrator. As set forth in the definition of

 13 Initial Distributable Cash, no part of the Speyside Sale Proceeds constitutes the Initial

 14 Distributable Cash of the Berkeley Properties Estate. To the extent there are sufficient funds with

 15 which to pay it, Holders of Allowed General Unsecured Claims against Berkeley Properties are

 16 entitled to interest at the Legal Rate.

 17          Class 6 – General Unsecured Claims Against Second Street Properties.
 18          1.      Impairment and Voting.
 19          Class 6 is impaired under the Plan. Holders of General Unsecured Claims against Second

 20 Street Properties are entitled to vote on the Plan.

 21          2.      Treatment.
 22          On or as soon as practicable following the Effective Date, each Holder of such an Allowed

 23 General Unsecured Claim against Second Street Properties shall receive a Pro Rata share of the

 24 Initial Distributable Cash of the Second Street Properties Estate on the Initial Distribution Date

 25 and a Pro Rata share of the Periodic Distributable Cash of the Second Street Properties Estate on

 26 such Periodic Distribution Dates as are established by the Plan Administrator. To the extent there

 27 are sufficient funds with which to pay it, Holders of Allowed General Unsecured Claims against
 28 Second Street Properties are entitled to interest at the Legal Rate.

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  1          Class 7 – Interests in Second Street Properties
  2          1.      Impairment and Voting.
  3          Class 7 is impaired under the Plan. Holders of Interests in this Class are entitled to vote on

  4 the Plan.

  5          2.      Treatment.
  6          Holders of Class 7 Interests in Second Street Properties shall receive common stock in

  7 Reorganized Second Street Properties in an amount equal to the common stock held by such

  8 Interest Holders on the Petition Date, as follows:

  9       Interest Holder                    Security Class     Number of Shares and % of Issued
                                                                and Outstanding Shares
 10       CAMLEE CORPORATION                 Common             27,000 shares, or 6.522%
          89 Alvarado Road
 11       Berkeley, CA 94705
          DAVI ASSOCIATES                    Common             29,000 shares, or 7.004%
 12       129 Sunnyglen Drive
          Vallejo, CA 94591
 13       EMMERICHS ASSOCIATES               Common             9,000 shares, or 2.174%
          1674 Glazier Drive
 14       Concord, CA 94521
          TRI-PACIFIC, INC.                  Common             340,000 shares or 82.126%
 15       85 Lakeside Drive
          Corte Madera, CA 94925-1037
 16
          WESTRIDGE CAPITAL                  Common             9,000 shares or 2.174%
 17       89 Alvarado Road
          Berkeley, CA 94705
 18
 19
             Such newly issued common stock shall be represented by stock certificates issued by the
 20
      Plan Administrator on behalf of Reorganized Second Street Properties on the Effective Date.
 21
      Stock certificates representing the pre-petition Interests held by such Holders on the Petition Date
 22
      shall be deemed cancelled as of the Effective Date of the Plan.
 23
             Holders of Class Interests shall also receive a Pro Rata share of the Periodic Distributable
 24
      Cash, if any, remaining after payment of Class 5 General Unsecured Claims against Berkeley
 25
      Properties and Class 6 General Unsecured Claims Against Second Street Properties in full with
 26
      interest at the Legal Rate. Such distributions, if any, shall be made by the Plan Administrator on
 27
      such Periodic Distribution Dates as are established by the Plan Administrator. Among other
 28

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  1 things, such distributions to Holders of Class 7 Interests may include distributions from the

  2 proceeds of a sale of the Berkeley Real Property after such proceeds are used to satisfy all Class 5

  3 General Unsecured Claims against Berkeley Properties and Class 6 General Unsecured Claims

  4 Against Second Street Properties in full with interest at the Legal Rate. The Plan Administrator

  5 shall also give advance written notice to Holders of Allowed Class 7 Interests prior to listing the

  6 Berkeley Real Property for sale.

  7          Holders of Class 7 Interests shall be deemed to grant to the Post-Confirmation an

  8 irrevocable proxy to exercise all voting and approval rights represented by the Interests under the

  9 Debtors’ organizational documents until such time as all Holders of Allowed Claims in Classes 5

 10 and 6 are repaid in full with interest at the Legal Rate. Upon such repayment, the proxy shall be

 11 automatically revoked.

 12          Class 8 – Interests in Berkeley Properties
 13          1.     Impairment and Voting.
 14          Class 8 is unimpaired under the Plan. Holders of Interests in this Class are deemed to

 15 accept the Plan.

 16          2.     Treatment.
 17          Holders of Class 8 Interests in Berkeley Properties shall retain their Interests in

 18 Reorganized Berkeley Properties, which will be governed by an Amended and Restated Operating
 19 Agreement to be attached to the Plan Supplement. As described in Article III of this Plan, the sole

 20 Holder of Interests in Berkeley Properties is Second Street Properties. Thus, after the proceeds

 21 produced by the assets of Berkeley Properties are used to pay Holders of Allowed Class 5 Claims

 22 against Berkeley Properties, said proceeds will be used to make distributions to Holders of

 23 Allowed Class 6 Claims against Second Street Properties and Class 7 Interests in Second Street

 24 Properties in the manner described above.

 25 F.       PRELIMINARY ESTIMATES OF ALLOWED CLAIMS
 26          The Debtors and the Committee have done a very preliminary analysis of the claims filed

 27 in the Bankruptcy Cases in order to develop projections of the range of estimated allowed claims
 28 in each class for the purposes of this Disclosure Statement. Those estimates are set forth on the

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  1 chart below, and include estimates for both unclassified claims and classified claims. Parties in

  2 interest must bear in mind when reviewing these estimates though that they very preliminary. The

  3 asserted claims against the estates greatly exceed those set forth in the chart below, and therefore

  4 the chart represents a rough estimate of how claim objections commenced by the Plan

  5 Administrator following the confirmation of this Plan will be resolved. Without the benefit of the

  6 further analysis and discovery that would be involved in those many claim objections, the

  7 estimates below are very preliminary and non-binding. The actual allowed claims in each class

  8 may vary significantly from the estimates or ranges set forth below. The estimates represent

  9 simply the best effort of the Debtors and the Committee to provide information to interested

 10 parties at this stage of the Bankruptcy Cases. By providing these estimates, the Debtors and the

 11 Committee are in no way binding themselves or the Plan Administrator to the estimates or limiting

 12 their ability or the Plan Administrator’s ability to object to any claims at a later point in time.

 13 With those caveats and limitations, the Debtors and the Committee currently estimate the Allowed

 14 unclassified and Classified claims to be as follows:

 15                Class    Description                    Estimated Allowed Amount
                   No.
 16                N/A      Allowed Administrative         TBD 2
                            Expense Claims
 17                N/A      Allowed Priority Tax           $60,000 3
                            Claims
 18                1        Priority Non-Tax Claims        $124,650
                   2        Miscellaneous Secured          $0
 19

 20   2
       The Allowed Administrative Expense Claims are comprised of Professional Fees, U.S. Trustee
      Fees, Administrative Expense Claims under Section 503(b)(9) of the Bankruptcy Code, and other
 21   Administrative Expenses. The Plan Proponents currently estimate that the Allowed 503(b)(9)
 22   Claims will be ultimately be roughly $375,000 if all anticipated objections are sustained, with a
      maximum exposure of roughly $500,000. The other large piece of this analysis consists of
 23   Professional Fee Claims. The Estate Professionals indicated at the hearing on approval of the
      Disclosure Statement that they estimated Professional Fee Claims incurred and unpaid for the
 24   second interim period through March 31, 2015 to be approximately $630,000. This is an estimate
      only, and is subject to change when applications are filed by the Estate Professionals.
 25
      3
     The Internal Revenue Service has filed a “protective claim” in excess of $32 million based on a
 26 random audit that would, if Allowed, constitute a Priority Tax Claim. The audit is expected to be
    complete by July 31, 2015. As explained elsewhere in this Disclosure Statement, given the
 27 significant losses suffered by Second Street Properties during the period of time in question, the
 28 Plan Proponents do not believe the audit will result in any Allowed Claim against the Estate of
    Second Street Properties.

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  1                         Claims
                   3        Disputed Crane Tech            $0
  2                         Claim
                   4        Local 164B Claim               Contingent Liability Up to
  3                                                        $26,702,858, Secured by
                                                           Berkeley Deed of Trust Which
  4                                                        is the Sole Source of Recovery
                                                           for this Claim
  5
                   5        General Unsecured Claims $183,000
  6                         Against Berkeley
                            Properties
  7                6        General Unsecured Claims $15,000,000
                            Against Second Street
  8                         Properties
  9
                                                 ARTICLE VI
 10
                                      ALTERNATIVES TO THE PLAN
 11
      A.     General:
 12
             The Debtors and Committee believe that the Plan provides their creditors with the greatest
 13
      value that is likely to be obtained on their respective claims. The primary alternative to
 14
      Confirmation of the Plan is liquidation of the estates under Chapter 7 of the Bankruptcy Code.
 15
      B.     Best-Interests–of-Creditors Test and Chapter 7 Liquidation Analysis:
 16
             The Bankruptcy Code requires as a condition to confirmation of any plan of
 17
      reorganization that a plan provide that creditors will, as of the effective date of a plan on account
 18
      of their claims, receive not less than the amount that the holder would receive if the
 19
             Debtors were liquidated in Chapter 7 on the same date.
 20
             There are three significant financial differences between the proposed chapter 11 Plan and
 21
      liquidation in Chapter 7. First, under the terms of the approved settlement of the Rodriguez Class
 22
      Action Settlement, if Second Street Properties case were to convert to chapter 7, then the amount
 23
      of the Allowed unsecured claim held on behalf of the class of claimants in the Rodriguez Class
 24
      Action would increase from $5.4 million to $25 million. This would adversely affect the pro-rata
 25
      distribution received by all other creditors holding Class 6 Allowed unsecured Claims.
 26
             Second, conversion of either the Second Street Properties or Berkeley Properties
 27
      bankruptcy cases to Chapter 7 would create in a “triggering event” under ERISA the result of
 28

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  1 which would mean that the Debtors would be liable for contingent withdrawal liability to the

  2 Pension Trust as part of a multi-employer pension plan of which Second Street Properties has

  3 participated. The Pension Trust has filed a proof of claim in the amount of $26,702,858 for such

  4 contingent withdrawal liability. If either bankruptcy case were to convert to chapter 7, that

  5 contingent claim would become a fixed and Allowed Claim, which together with the claim of the

  6 Rodriguez Class Action claimants would swamp the Class 6 unsecured creditor class and would

  7 adversely affect the pro-rata distribution received by all other Class 6 unsecured creditors holding

  8 Allowed Claims.

  9          Last, in a Chapter 7 liquidation, a chapter 7 panel trustee is appointed. A Chapter 7 trustee

 10 is compensated based upon a commission set by statute. 11 U.S.C. §326(a) provides that a chapter

 11 7 trustee’s compensation is 25% of the first $5,000 disbursed or turned over to parties in interest,

 12 10% of the next $45,000, 5% of the next $950,000, and reasonable compensation not to exceed

 13 3% of any amounts in excess of $1 million. Such fees would constitute an additional expense

 14 born by the Debtors’ estates in a chapter 7 case. On top of the chapter 7 trustee’s commission, the

 15 Chapter 7 trustee would likely hire his own counsel, unfamiliar with the cases, whose fees and

 16 costs would add yet another layer of administrative expenses that would need to be paid before

 17 general unsecured creditors. The chapter 7 trustee’s professionals would each need to learn about

 18 claims and avoidance actions that the Debtors’ counsel has prepared to assert, as well as filing
 19 income tax returns. In a chapter 7, there would also be costs associated with noticing new claims

 20 bar dates which is significant in these cases due to there being over 1700 creditors. The reopened

 21 bar date would further increase the burden of reviewing and objecting to new claims or different

 22 claims filed after such a new bar date.

 23          In addition to the above economics, there would be no interim distributions in a Chapter 7

 24 case and a final distribution would likely not occur for several years after conversion. As a result,

 25 the best-interests-of-creditors test has been met.

 26

 27
 28

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  1                                             ARTICLE VII
  2                                             FEASIBILITY
  3          The Bankruptcy Code requires a finding that confirmation of the Plan is not likely to be

  4 followed by either liquidation or the need for further reorganization. The Proponents’ ability to

  5 confirm a Plan in this case depends upon the availability of funds on hand and the future payment

  6 of cash through the rents received by Berkeley Properties from the Buyer and/or the sale of the

  7 Real Property. With the available cash on hand, the Debtors have sufficient funds to make all

  8 payments that will be due on the Effective Date.

  9          The Debtors are obligated to pay, as expenses of administration, any taxes that became due

 10 and owing after the Petition Date. Prior to the closing of the asset sale, Second Street Properties

 11 utilized a payroll service and therefore all post-petition payroll related taxes have been paid in full

 12 at this time. Second Street Properties has also filed a final 2014 return with the California State

 13 Board of Equalization for Sales and Use Taxes and has paid all taxes due thereunder. The Debtors

 14 have consulted with their appointed CPAs regarding projected income taxes for the tax year April

 15 1, 2014 through March 31, 2015 and have been advised that there will be zero income tax liability

 16 due as a result of (a) accumulated operating losses, (b) the sale of assets at a loss and (c) operating

 17 loss for the current tax year. Hence, the Plan is feasible.

 18          Second Street Properties currently hold more than $2 million that is available for

 19 distribution to creditors following confirmation. Approximately $620,000 of this amount will be

 20 needed on the Effective Date to pay unclassified claims, including pre-petition priority wage

 21 claims under 11 U.S.C. §507(a)(7) and administrative claims under 11 U.S.C. §503(b)(9) for the

 22 value of goods delivered to Second Street Properties during the 20 day period immediately

 23 preceding the Petition Date. Following confirmation, Second Street Properties will also be

 24 required to pay for pre-confirmation professional fees subject to approval of the Court following

 25 one or more hearings on duly noticed applications for compensation by the professionals

 26 appointed in these cases.

 27          There are several factors that will ultimately affect the amount and timing of distributions
 28 to general unsecured creditors. These factors include: (1) the outcome of the pending objection to

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  1 the $32 million priority tax claim of the Internal Revenue Service, (2) the ongoing performance of

  2 the Buyer under the (i) real property lease agreement and (ii) multi-employer union pension plan,

  3 and (3) the amount of proceeds received when the real property currently owned by Berkeley

  4 Properties is eventually sold.

  5          If the claim of the IRS is valued at zero or some other nominal amount for purposes of

  6 confirmation the Plan, then an interim distribution to Class 6 Allowed Claims shortly after the

  7 Effective Date will be possible.

  8          If the Buyer makes rental payments according to the terms of the real property lease, then

  9 following the second year after the Effective Date of the Plan, additional interim distributions to

 10 Class 6 Allowed Claimants would also be possible. Eventually when the Berkeley real property is

 11 sold following the fifth year after the Effective Date, the sale proceeds are expected to be more

 12 than sufficient to repay the balance owed to Class 6 and 7 Allowed Claims in full with interest.

 13 This also presumes that the real property, which value was estimated at $13,225,000 on the

 14 Petition Date, will not substantially decline in value before it is sold. The Debtors expect based on

 15 the advice of their CPA’s that their operating losses for pre-petition years as well losses as for the

 16 post-petition period and losses on the sale of assets, will be upheld and provide the ability to offset

 17 potential tax gains realized on the future sale of the real property under Internal Revenue Code

 18 Section 1231 because the real property was used in the operation of a business.
 19                                             ARTICLE VIII
 20                                           CONFIRMATION
 21 A.       Voting:
 22          In order to confirm the Plan, two-thirds in amount and a majority in number of Allowed

 23 Claims in each impaired class of creditors must vote in favor of the Plan. The majorities for each

 24 are determined by the number and amount of those who actually vote on the Plan and are entitled

 25 to vote on the Plan under Bankruptcy Rule 3018.

 26          If a class which is impaired under the Plan does not vote in favor of the Plan, the Debtors

 27 may seek confirmation under 11 U.S.C. § 1129(b).
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  1 B.       Confirmation Standards:
  2          For the Plan to be confirmed and binding on all creditors and shareholders, the Court must

  3 determine that the following requirements under 11 U.S.C. §§ 1129(a)(1) through (16), as

  4 applicable in these cases, have been satisfied:

  5          1.      The Plan complies with the provisions of the Code;

  6          2.      The Proponents have complied with the provisions of the Code;

  7          3.      The Plan has been proposed in good faith and not by any means forbidden by law;

  8          4.      Any payment made or to be made by the Debtors for services or costs in connection

  9 with the Bankruptcy Case has been or will be subject to approval by the Court as reasonable;

 10          5.      The Proponents have disclosed the identity and affiliations of any individual to

 11 serve after Confirmation as an officer or director of the Debtors, an affiliate of the Debtors

 12 participating in a joint plan, or a successor to the Debtors under the Plan, and the identity of and

 13 compensation payable to any insider that will be employed by the reorganized debtor;

 14          6.      Any rate change provided for in the Plan has been approved or is subject to

 15 approval by the regulatory commission with jurisdiction over such rates, if any;

 16          7.      The holder of each claim or interest in each class of impaired claims or interests has

 17 accepted the Plan or will receive under the Plan not less than the holder would receive if the

 18 Debtors’ estates were liquidated under Chapter 7 of the Code;
 19          8.      Each class of claims or interests has accepted or is not impaired by the Plan;

 20          9.      Holders of allowed administrative or priority claims under the Code will receive

 21 Cash in the full amount of their claims on the Effective Date, unless the holder thereof agrees to a

 22 different treatment;

 23          10.     At least one impaired class of claims has accepted the Plan;

 24          11.     Confirmation is not likely to be followed by liquidation or further reorganization of

 25 the debtor unless such liquidation or reorganization is proposed in the Plan;

 26          12.     All fees payable to the U.S. Trustee under 11 U.S.C. §1930 have been paid or the

 27 Plan provides for the payment of such fees;
 28

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  1          13.    The Plan provides after its Effective Date for the continuation of all retiree benefits,

  2 as and when required by 11 U.S.C. §1129(a)(13);

  3          14.    All transfers of property under the Plan shall be made in accordance with any

  4 applicable provisions of nonbankruptcy law; and

  5          15.    The principal purpose of the Plan is not avoidance of taxes or the avoidance of the

  6 security laws of the United States.

  7 C.       Modification:
  8          Under the Code and the Bankruptcy Rules, the Proponents may, subject to the Code and

  9 Bankruptcy Rules and Bankruptcy Court approval, modify the Plan after the Plan has been

 10 submitted for acceptance or rejection. In addition, the Plan may be modified after Confirmation

 11 and at any time until the Plan has been substantially consummated by the Debtors or any creditor.

 12 The manner in which the Plan may be modified is set forth in 11 U.S.C. § 1127 and Bankruptcy

 13 Rule 3019. In general, the Court may approve a modification of the Plan without a re-solicitation,

 14 so long as (a) the Plan, as modified, continues to comply with the applicable provisions of the

 15 Bankruptcy Code, and (b) modification does not adversely change the treatment of creditors.

 16                                             ARTICLE IX
 17          FEDERAL INCOME TAX CONSEQUENCES OF PLAN FOR CREDITORS
 18          Implementation of the Plan may result in federal income tax consequences to creditors.
 19 Tax consequences to a particular creditor may depend on the particular circumstances or facts

 20 regarding the claim of the creditor. No tax opinion has been sought or will be obtained with

 21 respect to any tax consequences of the Plan, and the following disclosure does not constitute and is

 22 not intended to constitute either a tax opinion or tax advice to any person. Rather, the following

 23 disclosure is provided for informational purposes only.

 24          The federal tax consequences of the Plan to a hypothetical creditor typical of the holders of

 25 claims or interests in this case depend to a large degree on the accounting method adopted by that

 26 hypothetical creditor. A “hypothetical creditor” in this case is defined as a general unsecured

 27 creditor. In accordance with federal tax law, a holder of such a claim that uses the accrual method
 28 and who has posted its original sale to one of the Debtors as income at the time of the product sold

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  1 or the service provided hypothetically should adjust any net operating loss to reflect the amounts

  2 paid by the Debtors under the Plan provided that holder previously deducted the liability owed by

  3 Second Street Properties as a “bad debt” for federal income tax purposes. Should that holder lack

  4 a net operating loss, then in accordance with federal income tax provisions, the holder should treat

  5 the dividend paid as ordinary income, again provided the holder previously deducted the liability

  6 of Second Street Properties as a “bad debt” for federal income tax purposes. If the accrual basis

  7 holder of the claim did not deduct the liability as a “bad debt” for federal income tax purposes,

  8 then the amount paid by the Debtors has no current income tax implication. A holder of a claim

  9 that uses a cash method of accounting would, in accordance with federal income tax laws, treat the

 10 amount paid as income at the time of receipt.

 11          THE PROPONENTS MAKE NO REPRESENTATIONS REGARDING THE

 12 PARTICULAR TAX CONSEQUENCES OF CONFIRMATION AND CONSUMMATION OF

 13 THE PLAN AS TO ANY CREDITOR. EACH PARTY AFFECTED BY THE PLAN SHOULD

 14 CONSULT HER, HIS OR ITS OWN TAX ADVISORS REGARDING THE SPECIFIC TAX

 15 CONSEQUENCES OF THE PLAN WITH RESPECT TO A CLAIM.

 16                                              ARTICLE X
 17                                            CONCLUSION
 18 A.       Effect of Confirmation:
 19          If the Plan is confirmed, its terms and conditions will be binding on all creditors and

 20 shareholders.

 21 B.       Recommendation:
 22          This Disclosure Statement has been presented for the purpose of enabling you to make an

 23 informed judgment to accept or reject the Plan. You are urged to read the Plan in full and consult

 24 with counsel if you have questions. The Debtors and the Committee believe that acceptance of the

 25 Plan is in the best interest of all creditors, and will provide the best recovery in these Bankruptcy

 26 Cases.

 27                                       [Signature Page Following]
 28

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  1 Dated: April 30, 2015        SECOND STREET PROPERTIES

  2
                                 By:    /s/ Catherine Delsol
  3                                     Catherine Delsol
                                        President and Responsible Individual
  4
      Dated: April 30, 2015      BERKELEY PROPERTIES LLC
  5

  6                              By:    /s/ Catherine Delsol
                                        Catherine Delsol
  7                                     Managing Member and Responsible Individual

  8 Dated: April 30, 2015        BINDER & MALTER, LLP

  9
                                 By:    /s/ Julie H. Rome-Banks
 10                                     Julie H. Rome-Banks
                                        Attorneys for Debtors-in-Possession
 11                                     Second Street Properties and Berkeley Properties LLC

 12 Dated: April 30, 2015        OFFICIAL COMMITTEE OF UNSECURED CREDITORS’

 13
                                 By:    /s/ Dawn White
 14                                     Dawn White, its Chair

 15 Dated: April 30, 2015        SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP

 16
                                 By:    /s/ Michael Lauter
 17                                     Michael Lauter
                                        Attorneys for Official Committee of Unsecured Creditors
 18
 19

 20

 21

 22

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     Michael W. Malter (SBN 96522)
 1   Julie H. Rome-Banks (SBN 142364)
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 2   BINDER & MALTER, LLP
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 3   Santa Clara, CA 95050
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 4   Fax: (408) 295-1531
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 5   Email: Julie@bindermalter.com
     Email: Wendy@bindermalter.com
 6
     Attorneys for Debtors and Debtors-in-Possession
 7   PACIFIC STEEL CASTING COMPANY
     and BERKELEY PROPERTIES, LLC
 8

 9
                             UNITED STATES BANKRUPTCY COURT

10              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

11
      In re                                            Case No. 14-41045-RLE
12                                                     Case No. 14-41048-RLE
      PACIFIC STEEL CASTING COMPANY,
13    a California corporation,                        Chapter 11
14                          Debtor.                    Cases Jointly Administered

15

16    In re                                            Date:
                                                       Time:
17    BERKELEY PROPERTIES, LLC, a                      Courtroom: 201
      California limited liability company,            1300 Clay Street, Oakland, CA 94612
18
                             Debtor.
19

20
     MOTION TO APPROVE OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS
21                        AND RELATED RELIEF

22

23

24

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21   11 U.S.C. §365 .............................................................................................................................. 11

22              Pacific Steel Casting Company (“PSC”) and Berkeley Properties, LLC (“BP”) (together

23
     the “Debtors”) hereby move for entry of an order approving certain sale procedures in

     connection with the proposed sale of substantially all of PSC’s assets to Speyside Fund LLC (or
24
     its designee) (“Buyer”) or a successful overbidder, including a breakup fee and establishing
25
     procedures to determine cure amounts and deadlines for objections for certain contracts and
26
     leases proposed to be assumed and assigned to the Buyer by the Debtors. This Motion is made
27                                                                                                                                                        3
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 1   pursuant to 11 U.S.C. §363 and FRBP 2002, 6004 and 6006. The Motion is supported by the

 2   declarations of Charles H. Bridges Jr. and Julie H. Rome-Banks filed concurrently and such

 3   other evidence and argument as may be presented at the hearing on the Motion.

 4
     I.      FACTUAL BACKGROUND
             1.       On March 10, 2014, PSC filed a voluntary Chapter 11 case in the United States
 5
     Bankruptcy Court for the Northern District of California (the “PSC Bankruptcy Case”). BP is a
 6
     wholly owned subsidiary of PSC. BP also filed a chapter 11 petition on March 10, 2014 (the
 7
     “BP Bankruptcy Case”). The BP Bankruptcy Case was filed as a related case to the PSC
 8
     Bankruptcy Case pursuant to BLR 1015-1. The cases have been ordered jointly administered.
 9
     No trustee has been appointed and PSC and BP remain debtors-in-possession of their respective
10
     bankruptcy estates pursuant to 11 U.S.C. §§ 1107 and §1108.
11
             2.       PSC is a fourth-generation family-owned steel foundry that manufactures carbon,
12
     low-alloy and stainless steel castings for U.S. and international customers. PSC operates three
13
     separate plants that are located on eight-acres in Berkeley, California. Most of the real property
14   is owned by BP, who leases it to PSC. This real property is BP’s only significant asset1. PSC
15   has grown into one of the largest independent steel-casting companies in the U.S. PSC supplies
16   numerous industries with a wide variety of castings used in oil and gas drilling equipment,
17   heavy-duty truck parts, valves and fittings, and mining and construction equipment. PSC’s

18   plants incorporate some of the latest manufacturing technology, production capabilities and

19   emissions controls which has allowed PSC to remain competitive with domestic and

20   international suppliers, and to maintain compliance with environmental regulations. PSC

21
     presently employs approximately 365 hourly employees and 45 salaried employees. The

     majority of the hourly employees are represented by the Glass, Molders, Pottery, Plastics, and
22
     Allied Workers International Union, AFL-CIO, CLC Local No. 164B (the “Union”). PSC
23
     currently enjoys a good working relationship with the Union. The current collective bargaining
24
     agreement will not expire until 2015.
25

26   1
        The BP Bankruptcy Case is considered a single asset real estate case within the meaning of 11 U.S.C.
     §101(51B).
27                                                                                                             4
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 1          3.      When they filed their petitions, PSC and BP had only one large secured creditor,

 2   Wells Fargo Bank, N.A. (“Wells Fargo”), which was owed approximately $4.1 million

 3   collectively by the Debtors. Wells Fargo was not willing to provide the Debtors with post-

 4
     petition financing. As a result, the Debtors obtained Court approval of a post-petition secured

     loan facility from Siena Lending Group, LLC (“Siena”), which paid the Wells Fargo obligations
 5
     in full and provides PSC with a revolving credit facility of up to $8.5 million. The loan
 6
     transaction closed on April 11, 2014. As of June 18, 2014, the Debtors owed Siena
 7
     approximately $ 4,192,023.13. The amount of the Siena loan fluctuates daily.
 8
            4.      PSC has been diligently investigating possible purchasers or investors since
 9
     October 2013. On January 29, 2014, PSC retained the services of Cleary Gull Inc. (“Cleary
10
     Gull”) to serve as its investment banker in connection with one or more possible sales, mergers
11
     or other business combinations or transactions. Cleary Gull has assisted PSC by canvassing the
12
     marketplace for potential investors or buyers. Cleary Gull prepared a confidential memorandum
13
     describing PSC’s business, history, financial position and results, and the investment
14   opportunity, and prepared an electronic “data room” with significant financial and company
15   records to allow potential investors and buyers to conduct due diligence. After filing bankruptcy,
16   the Debtors received Bankruptcy Court approval to allow PSC to continue to employ Cleary
17   Gull. Cleary Gull subsequently received eleven written initial indications of interest and five

18   offers to purchase the assets of the Debtors by April 30, 2014. As a result of Cleary Gull’s

19   efforts, PSC believes that there has been extensive marketing of the assets of the Debtors and

20   that said marketing has been directed at the parties most likely to have an interest in making an

21
     offer to purchase substantially all of the Debtors’ assets.

            5.      Presently as many as five parties, including Buyer, may be interested in acquiring
22
     substantially all of the assets of the Debtors. The Debtors believes there may be as many as six
23
     additional interested parties. PSC intends to conduct an auction of its assets on a going concern
24
     basis, and to assume and assign those leases and executory contracts that are critical to the
25
     ongoing business operation. The proposed bid procedures described herein will provide a formal
26
     process for competing bidders to make offers and for the Court to conduct an auction. The
27                                                                                                       5
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 1   Debtors believe that they have identified those persons who could be interested in presenting a

 2   bid, all of whom will be provided notice of the hearing on this Motion and of the auction.

 3             6.       The Debtors believe the proposed sale to Buyer is in the best interest of creditors.

 4
     It is anticipated that Buyer will offer employment to the vast majority of PSC’s employees,

     including PSC’s Union employees under the existing collective bargaining agreement. The
 5
     assumption and assignment of many of PSC’s unexpired leases and executory contracts,
 6
     particularly the collective bargaining agreement with the Union and the related multi-employer
 7
     pension plan, will substantially reduce potential and contingent claims against PSC’s bankruptcy
 8
     estate that could well exceed $30 million. The Debtors believe that a sale pursuant to the
 9
     proposed bid procedures will allow the Debtors to maximize the value of their assets for the
10
     benefit of their creditors.
11
     II.       SUMMARY OF SALE
12
               7.       Following several months of pre- and post-petition marketing by its appointed
13
     investment bankers Cleary Gull, PSC signed a letter of intent offered by Buyer, in which Buyer
14   offered to buy substantially all of PSC’s assets (subject to specific exceptions described below)
15   to assume certain specified pre- and post-petition liabilities of the Debtors (the “Sale”) pursuant
16   to the terms of an asset purchase agreement (the “APA”), and to lease the real property owned by
17   BP pursuant to a long-term lease (the “Lease”).2 PSC and the Buyer have executed the APA and

18   a true and correct copy of the executed APA is attached as Exhibit A to the Declaration of

19   Charles H. Bridges, Jr. filed with this Motion.

20             8.       The APA requires that Buyer pay $11,300,000 (the “Purchase Price”) in cash for

21
     the assets being purchased, as well as assume certain liabilities (the “Assumed Liabilities”), and

     to lease the real property pursuant to the Lease. Buyer has delivered a good-faith deposit of
22
     $500,000 concurrent with execution of the APA, with the remainder of the Purchase Price to be
23
     paid at closing. The Purchase Price may be adjusted to reflect changes in PSC’s working capital
24
     as more particularly described in the APA. If Buyer chooses to pay any amounts necessary to
25

26
     2
         Capitalized terms not defined herein have the meaning ascribed to them in the APA and Lease, as applicable.
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 1   cure (the “Cure Amounts”) the defaults under any executory contracts or leases to be assumed

 2   and assigned by PSC to Buyer under the APA (the “Assumed Contracts”), then such Cure

 3   Amounts paid by Buyer will be credited against the Purchase Price.

 4
               9.       Under the APA, substantially all of PSC’s operational assets will be included in

     the Sale (the “Purchased Assets”) but the Sale excludes, among other things: (a) corporate and
 5
     financial books and records of the Debtors, (b) utility deposits, cash on hand and in deposit
 6
     accounts, (c) avoidance claims and causes of action arising under 11 U.S.C. §544 through §552,
 7
     and, (d) PSC’s membership interest in BP. The real property owned by BP is not part of the sale,
 8
     but as part of the APA the real property will be leased to the Buyer by BP pursuant to the Lease.
 9
     The APA further provides for PSC to assume and assign to Buyer the Assumed Contracts,
10
     including the existing collective bargaining agreement between PSC and the Union. The sale of
11
     the Purchased Assets will be free and clear of all liens, claims, encumbrances and other interests
12
     to the fullest extent allowed by law except as expressly provided3. The post-petition secured
13
     loan of Siena shall be paid in full from the proceeds of the Sale at closing. As a further term of
14   the Sale, PSC will continue its operations in the ordinary course of business until the closing
15   date.
16             10.      Subject to PSC’s obligation to pay certain specified obligations pursuant to the
17   APA, the Buyer will also assume significant liabilities of PSC, including: PSC’s single employer

18   defined benefit (non-Union) pension plan obligations; PSC’s multi-employer pension plan

19   obligations (with the Union pension trust); obligations of PSC under the collective bargaining

20   agreement; accrued severance, bonus, holiday and vacation benefits for all workers being rehired

21
     by the Buyer; and, specified accounts payable and accrued expenses capped at $1 million.

               11.      As a condition to the Sale, Buyer must enter into a new triple-net lease with BP
22
     on mutually-agreeable terms including monthly rent of $89,544.00, and a 15-year term with a 5-
23

24

25
     3
        Siena is the only party with a security interest in all of the Debtors’ assets and Siena will be paid in full at closing.
26
     However, in the event any bidder wishes to purchase BP’s real property, then the sale will be free and clear of the
     disputed mechanic’s liens of Crane Tech, Inc. and Bigge Crane and Rigging Company.
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 1   year extension option. BP will bring a motion to approve the terms of the new triple-net lease

 2   with the Buyer at the same time as the motion to approve the Sale.

 3          12.     PSC believes that conducting the Sale pursuant to the bid procedures described

 4
     here (the “Bid Procedures”) will allow PSC to maximize the value of the assets for the benefit of

     its creditors. The Sale proceeds will pay PSC’s obligation to Siena in full, and will result in a net
 5
     benefit to the Debtors’ estates.
 6
            13.     The Debtors intend to file the motions (i) to approve the sale (the “Sale Motion”),
 7
     (ii) to approve the assumption and assignment of contracts and leases to the Buyer and to
 8
     conditionally reject the existing real property lease whereby BP is the lessor and PSC is the
 9
     lessee (the “Assumption Motion”), and (iii) to approve the terms of a new triple-net lease
10
     between BP and the Buyer (the “New Lease Motion”), together with any other relief related to
11
     the proposed sale transaction as soon as practicable after entry of the order on this motion (the
12
     “Bid Procedures Order”), so that the motions may be heard and the auction conducted on a
13
     specially set calendar on July 11, 2014 or such other date as the Court may specially set (the
14   “Sale Hearing”).
15          14.     The proposed timing is critical to the Debtors for two reasons. First, the terms of
16   the Debtors’ secured loan with Siena require that the Debtors enter into an asset purchase
17   agreement and file a bid procedures motion not later than June 16, 2014; Siena has provided the

18   Debtors with a short extension of that deadline but only through June 19, 2014. The Siena loan

19   agreement also requires that the Debtors use their best efforts to schedule a hearing on the bid

20   procedures motion and obtain an order by July 2, 2014 with an outside deadline for a bid

21
     procedures order of July 9, 2014 and to hold an auction within 30 days thereafter. The Siena

     loan agreement further requires that the Debtors obtain an order approving the sale within 4
22
     business days of the auction, and that the approved sale is consummated on or before fifteen days
23
     after entry of the sale order. The Debtors believe they can comply with this mandated schedule
24
     by holding an auction and hearing on the Sale Motion, Assumption Motion and New Lease
25
     Motion on July 11, 2014 or such other date as the Court may specially set within the timeframes
26
     required by the Siena loan agreement. Second, the terms of the APA with Buyer require that
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 1   PSC obtain an order approving the proposed sale not later than July 9, 2014. The APA further

 2   provides that Buyer shall close the sale within 15 days of entry of an order authorizing the Sale

 3   to the Buyer.

 4
             15.     The proposed bid procedures include, among other things, a requirement that any

     competing bid must be to purchase the Purchased Assets and assume the Assumed Liabilities on
 5
     terms at least as favorable to PSC as those in the APA. The bid procedures also require a
 6
     minimum initial over-bid of $11,900,000 (i.e. an initial minimum overbid of $600,000), with
 7
     minimum subsequent overbids in increments of $100,000, in addition to assumption of the
 8
     Assumed Liabilities. The bid procedures also require that PSC pay Buyer a breakup fee of
 9
     $500,000 (the “Breakup Fee”) in the event a sale closes to another purchaser.
10
             16.     The Sale Motion will also seek approval, consistent with the Siena Loan
11
     Agreement and the order approving the Siena loan agreement, that the sale order provide for
12
     "indefeasible payment in full in cash" at closing of all amounts owed to Siena under the post-
13
     petition loan as well as delivery of releases to Siena by the Debtors’ estates. Consistent with the
14   Siena loan agreement, the Sale Motion also requests approval of a procedure allowing Siena to
15   make a credit bid to acquire the Purchased Assets for an amount sufficient to pay PSC’s
16   obligations to Siena, but only if no one makes a bid to purchase PSC’s assets for an amount
17   sufficient to pay Siena in full, in cash, no later than 15-days after the date set to close the Sale.

18   III.    REQUESTED BID PROCEDURES

19           A.      Breakup Fee

20           17.     As an inducement to Buyer to agree to enter into the APA and act as the stalking

21
     horse subject to overbids and in order that the sale process will not be delayed by last minute

     offers, PSC believes that the Court should establish a competing bid procedure concerning bids
22
     by other prospective buyers. PSC submits that the proposed Bid Procedures described in Exhibit
23
     “A” attached hereto and incorporated herein by reference (the “Bid Procedures”), are reasonable
24
     and necessary under the circumstances, will facilitate the conduct of an orderly auction, and will
25
     maximize the value of the Purchased Assets for the benefit of creditors.
26

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 1          18.      If the Purchased Assets are sold to a purchaser other than Buyer, the APA

 2   obligates PSC to pay the Breakup Fee to Buyer at the closing. The Buyer has already incurred

 3   substantial expenses and it is expected that Buyer will continue to incur additional costs through

 4
     the Sale Hearing.

            B.       Scheduling of Sale Hearing and Objection Dates
 5
            19.      In furtherance of the Sale, the Debtors requests that the Sale Hearing and auction
 6
     (including the Sale Motion, the Assumption Motion and the New Lease Motion) be specially
 7
     scheduled by the Court on July 11, 2014 (or such other date that the Court may specifically set) .
 8
     Based on the extensive marketing over the past months by Cleary Gull, the Debtors do not
 9
     believe that additional time will yield any additional bids. Because the APA contemplates PSC’s
10
     assignment and assumption of various executory contracts and unexpired leases, there are also
11
     numerous third parties to executory contracts and unexpired leases who may be impacted by the
12
     requested relief. If any particular issues arise regarding a request for adequate assurance of
13
     future performance or a dispute over cure amounts (which are not anticipated), PSC is confident
14   that such issues can be addressed in a timely fashion in order that the Sale may close as
15   contemplated.
16          20.      In connection with the Sale, PSC requests that the Court establish the dates and
17   manner of service for various notices and establish certain objection deadlines including the date

18   by which persons must object to PSC’s proposed cure amounts in connection with the

19   Assumption Motion.

20          21.      The Sale Motion (to the extent it seeks to sell free and clear of liens and interests)

21   and the Assumption Motion require 28 days’ notice pursuant to BLR 9014-1(c)(1) which

22   provides that, “where relief is sought against an identified, named entity the motion, notice of the

23   hearing, supporting declarations, memoranda, and all other papers shall be filed and served at

24   least 28 days before the actual scheduled hearing date.” BLR 6006-1 requires that motions for

25   relief pursuant to 11 U.S.C. §365 regarding leases and executory contracts shall be on notice to

26   the other contracting parties, the creditors’ committee, and parties who have requested special

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 1   notice. As to general creditors, only 21 days’ notice of the hearing on the Sale Motion is

 2   required to be given under BLR 9014-1(c)(2).

 3          22.     FRBP 2002(a)(2) provides that twenty-one (21) days’ notice shall be given to all

 4   creditors and parties in interest regarding the proposed use, sale, or lease of property of the estate

 5   other than in the ordinary course of business. This Court previously entered its Order Granting

 6   Motion For Order Limiting Notice in these cases on March 24, 2014 (docket # 90) (“Order

 7   Limiting Notice”) which modified the requirements of FRBP 2002(a)(2). Therefore, the Debtors

 8   propose to serve notice of the Sale Motion, Assumption Motion and New Lease Motion pursuant

 9   to the Order Limiting Notice.

10          23.     The Debtors therefore request approval of the Court to serve notice of the Sale

11   Motion, Assumption Motion and New Lease Motion together with a copy of the Bid Procedures

12   in the form substantially similar to that attached hereto as Exhibit “A”, by first class mail (or

13   through CM/ECF on those persons who have elected to receive electronic notice) within 48

14   hours after entry of the order approving this Bid Procedures Motion on the following parties:

15                  A.      the responsible individual;

16                  B.      the Committee and its appointed counsel;

17                  C.      the office of the U.S. Trustee;

18                  D.      parties who have requested special notice in these cases;

19                  E.      parties as to whom the Debtors seek to sell free and clear of liens;

20                  F.      counter-parties to those executory contracts and leases which the Buyer

21   proposes be assumed and assigned and which are the subject of the Assumption Motion;

22                  G.      the Pension Benefit Guaranty Corporation (PBGC) through its counsel

23   who has appeared in these cases;

24                  H.      the Union;

25                  I.      the trustees or counsel who have appeared in these cases for the (i) non-

26   union defined benefit pension plan, and (ii) the multi-employer union pension plan.

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 1                  J.      All government taxing authorities that have, or as a result of the sale of

 2   any assets may have, claims, contingent or otherwise, against the Debtors;

 3                  K.      Buyer’s counsel and any persons designated by the Buyer; and,

 4                  L.      All persons and entities which within the last three months have expressed

 5   an interest to the Debtors, their counsel or Cleary Gull in purchasing any of the Purchased

 6   Assets. The Debtors request authorization to file the certificate of service of such persons under

 7   seal in order to preserve the integrity of the auction, with copy provided only to counsel for the

 8   Committee, and the U.S. Trustee.

 9           24.    The Debtors requests that objections, if any, to the Sale, must: (a) be in writing;

10   (b) comply with the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules; (c)

11   be filed with the Clerk of the Bankruptcy Court for the Northern District of California, Oakland

12   Division, 1300 Clay Street, 3rd Floor, Oakland, California 94612, not later than seven days prior

13   to the Sale Hearing, and (d) be served not later than seven days prior to the sale hearing upon (i)

14   Debtor’s counsel, Michael W. Malter and Julie H. Rome-Banks of Binder & Malter, LLP, 2775

15   Park Avenue, Santa Clara, California, 95050, facsimile (408) 295-1531, email: michael@

16   bindermalter.com and julie@bindermalter.com; (2) counsel for Buyer, Gary Kaplan of Farella

17   Braun + Martel LLP, 235 Montgomery Street, 17th Floor, San Francisco, California 94104,

18   email: GKaplan@fbm.com; (3) the Office of the United States Trustee, Attn: Margaret H.

19   McGee, 1301 Clay Street, Suite 690N, Oakland, CA 94612, facsimile (510) 637-3220; email:

20   Maggie.mcgee@usdoj.gov; and (4) counsel for the Official Committee of Unsecured Creditors,

21   Ori Katz and Michael Lauter, Sheppard, Mullin, Richter and Hampton, 4 Embarcadero Center,

22   17th Floor, San Francisco, California 94111, email: okatz@sheppardmullin.com and

23   mlauter@sheppardmullin.com (the foregoing are collectively referred to as the “Service

24   Parties”).

25                  C.      Cure Procedures

26

27                                                                                                        12
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 1          25.     PSC further requests that the non-debtor parties to the Assumed Contracts (each a

 2   "Counterparty" and collectively, the "Counterparties") have until seven days prior to the sale

 3   hearing to (a) object to the assumption and assignment of any of the Assumed Contracts, (b)

 4
     object to the proposed amount of the Cure Amount contained in the Assumption Motion, (c)

     object that the Buyer has not provided adequate assurance of future performance of the Assumed
 5
     Contract, or (d) assert that non-monetary defaults, conditions or pecuniary losses or other
 6
     amounts must be cured or satisfied (including all compensation for any pecuniary loss resulting
 7
     from a default in respect of the Assumed Contracts) under any of the Assumed Contracts in order
 8
     for such Assumed Contracts to be assumed and assigned (such objection, a “Contract
 9
     Objection”).
10
            26.     A Counterparty party must file with the Court and serve its Contract Objection
11
     upon the Service Parties setting forth the basis for the Contract Objection and if applicable, the
12
     amount the Counterparty asserts as the Cure Amount and the amount of all compensation for any
13
     actual pecuniary loss resulting from a default in respect of the Assumed Contract (with
14   appropriate documentation in support thereof). If no objection is timely filed and served, the
15   Cure Amounts attached to the Assumption Motion shall be controlling as to the amount
16   necessary to be paid to cure under 11 U.S.C. § 365(b)(1). In such case, the Counterparty to the
17   Assumed Contract shall be forever barred from asserting any claims for the Cure Amount

18   including for compensation for losses that otherwise might have been asserted by the

19   Counterparty against the Debtors, the Buyer or other purchaser of the Purchased Assets, through

20   the closing. Absent a timely filed and served objection, each Counterparty to any Assumed

21
     Contracts shall be deemed to have consented to the assumption and assignment of the Assumed

     Contract to Buyer or any other purchaser of the Purchased Assets.
22
            27.     To the extent the parties are unable to consensually resolve a Contract Objection
23
     prior to the Sale Hearing, then such objection will be heard at the Sale Hearing, or Buyer (or
24
     successful overbidder, as applicable), at its option, may remove the relevant contract from the
25
     schedule of Assumed Contracts.
26

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 1   IV.    LEGAL ARGUMENT
            A.  This Court Should Approve the Proposed Bid Procedures Because the
 2              Procedures Are Fair, Reasonable And In The Best Interests of the Estates.
 3

 4          Bankruptcy Code § 363(b) and FRBP 6004 authorize a debtor to sell assets of the estate

 5   other than in the ordinary course of business after notice and a hearing. FRBP 6004(f)(1)

 6   provides that sales of property outside of the ordinary course of business may be by private sale

     or public auction. Here, PSC believes that its ability to select the highest and best bidder at a
 7
     Court-supervised auction enhances and benefits the marketing process by providing a motivation
 8
     for bidders to submit a qualified bid with a high market value.
 9
            Among the bid procedures commonly approved by bankruptcy courts is the requirement
10
     that a competing bid exceed the initial offer by a specified minimum amount. The initial bid by
11
     an Acceptable Bidder (defined in the Bid Procedures) must include the Purchase Price, plus an
12
     initial overbid increment of $600,000 cash (the “Initial Overbid”), in addition to assumption of
13
     the Assumed Liabilities. The Initial Overbid requirement protects the estate from the Breakup
14
     Fee of Buyer and costs associated with the transaction. The Court’s Guidelines for Early
15
     Disposition of Assets, Pre-Packaged Plans and the Sale of Substantially All Assets under §363
16
     (“Guidelines”) provides that each overbid must be at least 5% more than the amount of the
17   original offer. The proposed Initial Overbid of $600,000 is 5% of the cash component being paid
18   by the Buyer of $11,300,000. When the proposed Initial Overbid is considered against the total
19   consideration which includes assumption of $1 million of accounts payable and accrued

20   expenses, assumption of the multi-employer union pension plan with contingent liability

21   estimated at $27.8 million, assumption of the non-union frozen defined benefit pension plan,

22   with liability estimated at $4.3 million, assumption of the collective bargaining agreement, and

23   entry into the Lease providing for rent payments aggregating approximately $16 million among

24
     other, the proposed Initial Overbid is approximately 1% of the total consideration. The Debtors

     believe the Initial Overbid amount is reasonable and appropriate given the nature of the assets
25
     being sold. The Court has discretion to modify the Guidelines and the Debtors believe this
26

27                                                                                                       14
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 1   minor modification is appropriate under the circumstances. The Bid Procedures also require

 2   further bids after the Initial Overbid be in cash increments of $100,000 at the Auction (the

 3   “Overbid Increment”). PSC believes the Overbid Increment is appropriate for this case and will

 4
     encourage meaningful overbids. PSC has also reserved the right in the Bid Procedures to request

     that the Court modify the Overbid Increment during the Auction.
 5
              Sellers of assets often employ bidding protections in order to encourage the making of
 6
     bids. Breakup fees can be “important tools to encourage bidding and to maximize the value of
 7
     PSC’s assets.” Official Committee of Subordinated Bondholders v. Integrated Resources, Inc. (In
 8
     re Integrated Resources, Inc.), 147 B.R. 650, 659 (S.D.N.Y. 1992), app. dism. on jurisdictional
 9
     grounds at 3 F.3d 49 (2d Cir. 1993). Courts that limit or deny such breakup fees do so not
10
     because they lack statutory authority, but because they find the fee or amount is not in the best
11
     interests of the various parties and/or the estate. See, Calpine Corp. v. O’Brien Envtl. Energy,
12
     Inc. (In re O’Brien Envtl. Energy, Inc.), 181 F.3d 527 (3d Cir. 1999) (denying § 503 claim for
13
     breakup fee for lack of showing of benefit to the estate).
14            An informal survey of Section 363 sales in the Northern District of California reveals
15   allowance of a breakup fee and/or expense reimbursement to a stalking horse bidder have
16   generally ranged between one and five percent depending on the size of the transaction4. The
17   Breakup Fee proposed here is $500,000--which is 4% of the cash consideration being paid and

18   less than 1% of the total consideration being by the Buyer--is consistent with the range of

19   breakup fees typically approved, particularly in view of the nature and complexity of the Sale

20   transaction.

21

22
              4
23               See, e.g., In re Impeva Labs, Inc., Case No. 10-53056 (purchase consideration of $2 million in cash and
     $690,000 in assumed liabilities, with expense reimbursement not to exceed $150,000 (representing 5.6% of the
24   value of the transaction); In re Aviza Technology, Inc. et seq., Case No. 09-54511 (value of purchase price estimated
     at $50 million, with expense reimbursement not to exceed $1 million representing 2% of the estimated gross
     proceeds of sale; In re RedEnvelope, Case No. 08-30659 (stalking horse bid of $5.7 million, with breakup fee of
25
     $256,500 representing 4.5% of the purchase initial purchase price; In re Andronico’s Markets, Inc., Case No. 11-
     48963 (purchase consideration approximately $20 million with breakup fee of $250,000).
26

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 1             The Breakup Fee is also fair and reasonable in view of the real and substantial benefits

 2   conferred by the Buyer upon the Debtors’ estates by providing a minimum floor bid upon which

 3   the Debtors, their creditors and potential bidders may rely, and in consideration of the time,

 4
     expense and risks associated with serving as the “stalking horse bidder,” including legal fees and

     expenses, overhead costs, due diligence expenses and expenses related to the negotiation and
 5
     preparation of the APA, Lease and related transactional documentation. The Breakup Fee
 6
     benefits the Debtors because it assists in maximizing the value to the bankruptcy estates by
 7
     facilitating a sale of PSC’s business assets as a going concern rather than in a “fire sale”
 8
     liquidation which might occur in the absence of Buyer’s offer. See, In re O’Brien Envtl.
 9
     Energy, Inc., 181 F.3d at 537 (explaining that a breakup fee could be found to be a benefit to the
10
     estate where “assurance of a breakup fee promoted more competitive bidding”).
11
               PSC does not believe that the amount of the Breakup Fee is so substantial so as to chill
12
     other potential bidders from submitting competing bids. Rather, the amount of the Breakup Fee
13
     is reasonable compared to the total consideration under the APA, and will only be paid if the
14   assets are sold to a bidder other than Buyer that must provide greater value for the Purchased
15   Assets.
16             Further, the Breakup Fee has arguably already encouraged competitive bidding, in that
17   Buyer would not have agreed to negotiate and execute the APA without this provision. The

18   Breakup Fee thus has “induc[ed] a bid that otherwise would not have been made and without

19   which bidding would [be] limited.” Id. Similarly, Buyer’s offer provides a minimum bid on

20   which other bidders can rely, thereby “increasing the likelihood that the price at which the [assets

21
     will be] sold will reflect [their] true worth.” Id.

               Protection of stalking horse bidders is the price paid for the Debtors’ enjoyment of the
22
     best of both worlds - the assurance of a contractually bound purchaser at a fair price on the one
23
     hand, and at the same time the potential of an even better bid with the corresponding enhanced
24
     benefit to the estate at the auction. The Debtors’ agreement to the Breakup Fee enables it to
25
     ensure the sale of PSC’s assets to a contractually-committed bidder. Under the circumstances,
26
     the Debtors believes that the Breakup Fee is within their reasonable business judgment and
27                                                                                                        16
       MOTION
     Case:     TO APPROVE
           14-41045
           19-04057   Doc#OVERBID PROCEDURES
                           201 Filed:
                           85    Filed:
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                                        06/19/14  SALE OF DEBTORS’
                                                   Entered:10/02/20ASSETS
                                                            06/19/14      AND Page
                                                                    13:34:49
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                                                                                    16 of
28
       RELATED RELIEF
                                             699
                                              18                                          364
 1   should be approved. See, e.g.,. In re Integrated Resources, Inc., 147 B.R. 746, 752 (Bankr.

 2   S.D.N.Y. 1992)(applying business judgment standard to breakup fee).

 3   V.     CONCLUSION

 4
            The Debtors believes that the foregoing Bid Procedures and the Breakup Fee are fair,

     reasonable, and are appropriately structured to ensure that PSC will obtain the best price for the
 5
     Purchased Assets. The proposed Bid Procedures allow PSC to maximize the value of the
 6
     Purchased Assets while also ensuring that (a) only legitimate overbids are received; and (b) any
 7
     overbid is sufficient to cover the Breakup Fee required to be paid to Buyer if an overbid is
 8
     accepted and the sale consummated. PSC further believes, in its reasoned business judgment that
 9
     the proposed sale (subject to the Bid Procedures) is in the best interests of the estate and creditors
10
     because it will maximize the value of PSC’s assets.
11
            WHEREFORE, the Debtors respectfully requests that the Court enter its order as follows:
12
            1.      Granting the Motion;
13
            2.      Designating the Buyer as the initial bidder;
14          3.      Approving the Bid Procedures as set forth on Exhibit “A” hereto;
15          4.      Approving the Breakup Fee as set forth herein;
16          5.      Scheduling the hearing on the Sale Motion, the Assumption Motion, the New
17          Lease Motion and any other related relief together with the auction for July 11, 2014 (or

18          such other date as the Court may specially set within the deadlines imposed under the

19          Siena loan agreement and the availability of counsel);

20          6.      Providing for service of the motions, supporting pleadings and required notices as

21
            set forth herein and determining that such notice and manner of service is adequate and

            reasonable under the circumstances;
22
            7.      To the extent necessary, shortening time with respect to service of notice of the
23
            hearing on the Sale Motion, Assumption Motion, New Lease Motion and any other
24
            related relief so that they may be heard on July 11, 2014 (or such other date as the Court
25
            may specially set within the deadlines imposed under the Siena loan agreement and the
26
            availability of counsel);
27                                                                                                      17
       MOTION
     Case:     TO APPROVE
           14-41045
           19-04057   Doc#OVERBID PROCEDURES
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28
       RELATED RELIEF
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 1          8.     Providing that the deadline for opposition to the Sale Motion, Assumption Motion

 2          and Lease Motion shall be seven days before the hearing date including any objections to

 3          the proposed Cure Amounts; and

 4
            9.     For such other and further relief as the Court deems appropriate.

 5
     Date: June 19, 2014                                BINDER & MALTER, LLP
 6

 7
                                                        By: /s/ Julie H. Rome-Banks
 8
                                                                Julie H. Rome-Banks
                                                                Attorney for Debtors
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       MOTION
     Case:     TO APPROVE
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           19-04057   Doc#OVERBID PROCEDURES
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                                        06/19/14  SALE OF DEBTORS’
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28
       RELATED RELIEF
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                                              18                                          366
                 EXHIBIT “7”

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                                         699                                          367
                          1       Gary M. Kaplan (State Bar No. 155530)
                                  FARELLA BRAUN + MARTEL LLP
                          2       235 Montgomery Street, 18th Floor
                          3       San Francisco, CA 94104
                                  Telephone: (415) 954-4400
                          4       Facsimile: (415) 954-4480
                                  Email: gkaplan@fbm.com
                          5
                                  Attorneys for Party In Interest
                          6       SPEYSIDE FUND, LLC
                          7

                          8                                  UNITED STATES BANKRUPTCY COURT

                          9                                  NORTHERN DISTRICT OF CALIFORNIA

                       10                                                 OAKLAND DIVISION

                       11
                                  In re                                         Case No. 14-41045-RLE
                       12         PACIFIC STEEL CASTING COMPANY,
                                  a California corporation,                     Chapter 11
                       13
                                                                Debtor.         (Jointly Administered)
                       14
                                  In re
                       15         BERKELEY PROPERTIES, LLC, a
                                  California limited liability company,         Case No. 14-41048-WJL
                       16
                                                                Debtor.         Chapter 11
                       17

                       18         DECLARATION OF KEVIN DAUGHERTY REGARDING GOOD FAITH BY SPEYSIDE
                                   FUND, LLC IN PROPOSED PURCHASE OF DEBTOR’S ASSETS [11 U.S.C. §363(m))
                       19

                       20                I, Kevin Daugherty, declare:

                       21                1.      I am a principal of Speyside Fund, LLC, which is a party to that certain Asset

                       22         Purchase Agreement (the “APA”) with Pacific Steel Casting Company, a debtor in the above-

                       23         captioned case (“PSC”), along with Berkeley Properties, LLC (“BP,” and with PSC, the

                       24         “Debtors”). I am authorized to make this Declaration in that capacity. I have personal

                       25         knowledge of the facts set forth below and if called upon to do so, could and would testify

                       26         competently thereto.

                       27                2.      I make this Declaration in accordance with the Bid Procedures established by the

                       28         Bankruptcy Court’s Order Approving Overbid Procedures re Sale of Debtors’ Assets and Related
   Farella Braun + Martel LLP
          Russ Building
                          th
235 Montgomery Street, 17 Floor
                                  K. DAUGHERTY DECL. RE SPEYSIDE
    San Francisco, CA 94104       GOOD FAITH RE ASSET PURCHASE
                     Case:
                     Case:19-04057
         (415) 954-4400
                           14-41045 Doc#
                                    Doc#85
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                          1       Relief.
                          2                 3.     I have been directly involved on behalf of Speyside in the negotiations of the APA
                          3       with the Debtors’ representatives and professionals. Subject to the Bankruptcy Court’s approval,
                          4       the APA provides for the purchase of specified assets of PSC (the “Assets”) by Speyside or its
                          5       assignee (collectively, “Buyer”), pursuant to the terms set forth therein.
                          6                 4.     I am informed and believe that Buyer has not had any pre- or post-petition
                          7       relationships with: any other bidder for PSC’s Assets; the Debtors; the Debtors’ current or former
                          8       officers, directors, agents or employees; or any of the Debtors’ major creditors or equity security
                          9       holders, except for the following:
                       10                   Buyer communicated with the Debtor’s representatives and professionals both pre-and
                       11         post-petition regarding the potential purchase of the Debtors’ assets.
                       12                   5.     Buyer does not anticipate any relationship after the purchase of the Assets with
                       13         any of the Debtors’ current or former officers, directors, or agents except for the following:
                       14                   After consummating the purchase of the Assets, Buyer anticipates retaining certain of the
                       15         Debtors’ officers in operating the business in the ordinary course, as contemplated by the APA..
                       16                   6.     No offers of employment or compensation have been or will be made by Buyer to
                       17         any of the Debtors’ current or former officers, directors, agents or employees, except for the
                       18         following:
                       19                   After consummating the purchase of the Assets, Buyer anticipates retaining certain of the
                       20         Debtors’ officers and employees in operating the business in the ordinary course, as contemplated
                       21         by the APA.
                       22                   7.     Buyer has not paid and does not contemplate paying consideration in connection
                       23         with the purchase of the Assets to any person other than the Debtors, except for the following:
                       24                   Pursuant to the APA, Buyer is undertaking certain obligations of the Debtors, including
                       25         with respect to their multi-employer pension plan, non-union single-employer pension plan,
                       26         employee collective bargaining agreement, other employee-related obligations (including accrued
                       27         vacation liabilities), specified accounts payable and accrued expenses owed to the Debtors’
                       28         creditors and obligations under specified executory contracts and unexpired leases being assumed
   Farella Braun + Martel LLP
          Russ Building           K. DAUGHERTY DECL. RE SPEYSIDE
                          th
235 Montgomery Street, 17 Floor                                 -2-
    San Francisco, CA 94104       GOOD FAITH RE ASSET PURCHASE
                     Case:
                     Case:19-04057
         (415) 954-4400
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                          1       and assigned to Buyer pursuant to the APA.
                          2                8.       I am informed and believe that Buyer has acted in good faith with respect to its
                          3       proposed purchase of the Assets, and has not engaged in any fraud or collusion with any other
                          4       bidder, or the Debtors or any agent or employees of the bankruptcy estates.
                          5                I declare under penalty of perjury under the laws of United States that the foregoing is true
                          6       and correct. Executed on this 26 day of June, 2014 in Lambeth, New Jersey.
                          7
                                                                                               /s/Kevin Daugherty
                          8                                                                        Kevin Daugherty

                          9       30224\4442005.1

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   Farella Braun + Martel LLP
          Russ Building           K. DAUGHERTY DECL. RE SPEYSIDE
                          th
235 Montgomery Street, 17 Floor                                 -3-
    San Francisco, CA 94104       GOOD FAITH RE ASSET PURCHASE
                     Case:
                     Case:19-04057
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                  EXHIBIT “8”

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                                         699                                          371
                                                     Entered on Docket
                                                     June 30, 2014
                                                     EDWARD J. EMMONS, CLERK
                                                     U.S. BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF CALIFORNIA


 1   Michael W. Malter (SBN 96522)
     Julie H. Rome-Banks (SBN 142364)
 2   Wendy W. Smith (SBN 133887)
     BINDER & MALTER, LLP
 3   2775 Park Avenue                             The following constitutes
                                                  the order of the court. Signed June 27, 2014
     Santa Clara, CA 95050
 4   Tel: (408) 295-1700
     Fax: (408) 295-1531
 5   Email: Michael@bindermalter.com
     Email: Julie@bindermalter.com                   ______________________________________________
 6   Email: Wendy@bindermalter.com                   Roger L. Efremsky
                                                     U.S. Bankruptcy Judge
 7   Attorneys for Debtors and Debtors-in-Possession
     PACIFIC STEEL CASTING COMPANY
 8
     and BERKELEY PROPERTIES, LLC
 9
                              UNITED STATES BANKRUPTCY COURT
10
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
11

12    In re                                            Case No. 14-41045-RLE
                                                       Case No. 14-41048-RLE
13    PACIFIC STEEL CASTING COMPANY,
      a California corporation,                        Chapter 11
14
                             Debtor.                   Cases Jointly Administered
15

16
      In re                                            Date: June 25, 2014
17                                                     Time: 2:00 p.m.
      BERKELEY PROPERTIES, LLC, a                      Courtroom: 201
18    California limited liability company,            1300 Clay Street, Oakland, CA 94612

19                           Debtor.

20

21    ORDER APPROVING OVERBID PROCEDURES RE SALE OF DEBTORS’ ASSETS
                          AND RELATED RELIEF
22
              Pacific Steel Casting Company (“PSC”) and Berkeley Properties, LLC (“BP”) (together
23
     the “Debtors”) having filed a Motion for Order Approving Overbid Procedures re Sale of
24
     Debtors’ Assets and Related Relief (the “Motion”) in connection with the proposed sale of
25
     substantially all of PSC’s assets to Buyer Fund LLC (or its designee) (“Buyer”) or a successful
26
     overbidder; the Motion having come on for hearing before the Court pursuant to an order
27
       ORDER
     Case:
     Case:    APPROVING
           19-04057
            14-41045    OVERBID
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28
       RELATED RELIEF
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 1   shortening time; notice of the hearing on the Motion having been properly given; Julie H. Rome-
 2   Banks of Binder & Malter LLP having appeared on behalf of the Debtors and other appearances
 3   as noted in the Court’s record; the Court having considered the Motion and the arguments of

 4   counsel; and good cause appearing,

 5           IT IS HEREBY ORDERED that:

 6           1.       The Motion is approved.

 7
             2.       The Buyer1 is designated as the initial or stalking horse bidder.
             3.       The Bid Procedures set forth in Exhibit “A” to the Motion are approved as if fully
 8
     set forth herein with the following modifications. The Debtors are authorized to serve a copy of
 9
     the Bid Procedures which conform to this Order along with notices of hearing on the Sale
10
     Motion, the Assumption Motion, the New Lease Motion and any other related relief (the
11
     “Motions”).
12
                      A.       The hearing on the Motions shall be held together with the auction on July
13
     28, 2014 commencing at 10:00 a.m. (the “Hearing Date”).
14
                      B.       The Preliminary Bid Documents (as defined in Section B of the Bid
15
     Procedures) shall be delivered to the required parties not later than July 17, 2014 at 5:00 p.m.
16
     California time. Copies of Preliminary Bid Documents delivered by any bidder to Debtors’
17
     counsel shall be promptly furnished to attorney Dennis D. Miller on behalf of his client and to
18   any other lessor affected by the Assumption Motion who requests such documents from Debtors’
19   counsel.
20                    C.       The Bid Deadline (as defined in Section D of the Bid Procedures) shall be

21   July 24, 2014 at 5:00 p.m. California time.

22                    D.       Any counterparty to an executory contract or lease which is the subject of

23   the Assumption Motion shall file and serve written objections as to all issues not later than July

24   14, 2014, except that objections by landlords and lessors as to adequate assurance of future

     performance may be filed as late as 48 hours prior to the Hearing Date. Any reply brief shall be
25

26
     1
       Capitalized terms shall have the meaning set forth in the Motion and Bid Procedures exhibit unless otherwise
27   indicated.
       ORDER
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     Case:    APPROVING
           19-04057
            14-41045    OVERBID
                      Doc#
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28
       RELATED RELIEF
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 1   filed and served not later than July 21, 2014, except that parties may also reply to objections to
 2   adequate assurance of future performance at the hearing. Unless objections to adequate
 3   assurance of future performance are resolved prior to or at the hearing, the Court will treat the

 4   Hearing Date as a status conference as to such issues and order an expedited briefing and further

 5   hearing schedule.

 6                  E.      Pursuant to B.L.R. 9014-1(c)(1), objections to any request of the Debtors

 7
     to sell free and clear of liens and encumbrances shall be filed and served by any directly affected

     party not later than July 14, 2014. Any optional reply brief shall be filed and served not later
 8
     than July 21, 2014.
 9
                    F.      Pursuant to B.L.R. 9014-1(c)(1), general objections to the Motions shall
10
     be filed and served not later than July 14, 2014. Any optional reply brief shall be filed and
11
     served not later than July 21, 2014.
12
                    G.      Notwithstanding the Bid Procedures, the Debtors may request that the
13
     Court approve multiple backup bids at the hearing.
14
                    H.      Notwithstanding the Bid Procedures or any request in the Sale Motion,
15
     any request that the Court make good faith findings pursuant to 11 U.S.C. §363(m) is waiveable
16
     by the Buyer and any bidder.
17
            4.      The Breakup Fee as set forth in the Motion and in the Asset Purchase Agreement
18   with the Buyer is approved.
19          5.      Pursuant to the Order Granting Motion for Order Limiting Notice in these cases
20   on March 24, 2014 (docket #90) (“Order Limiting Notice”), notice of the Sale Motion,

21   Assumption Motion and New Lease Motion together with a copy of the conformed Bid

22   Procedures shall be served by email, first class mail or through CM/ECF on those persons who

23   have elected to receive electronic notice within two business days after entry of this Order on the

24   following parties:

                            A.      the responsible individual;
25
                            B.      the Committee and its appointed counsel;
26

27
       ORDER
     Case:
     Case:    APPROVING
           19-04057
            14-41045    OVERBID
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28
       RELATED RELIEF
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 1                          C.      the office of the U.S. Trustee;
 2                          D.      parties who have requested special notice in these cases;
 3                          E.      parties as to whom the Debtors seek to sell free and clear of liens;

 4                          F.      counter-parties to those executory contracts and leases which the

 5   Buyer proposes be assumed and assigned and which are the subject of the Assumption Motion;

 6                          G.      the Pension Benefit Guaranty Corporation (PBGC) through its

 7
     counsel who has appeared in these cases;

                            H.      the Union;
 8
                            I.      the trustees or counsel who have appeared in these cases for the (i)
 9
     non-union defined benefit pension plan, and (ii) the multi-employer union pension plan.
10
                            J.      All government taxing authorities that have, or as a result of the
11
     sale of any assets may have, claims, contingent or otherwise, against the Debtors;
12
                            K.      Buyer’s counsel and any persons designated by the Buyer; and,
13
                            L.      All persons and entities which within the last three months have
14
     expressed an interest to the Debtors, their counsel or Cleary Gull in purchasing any of the
15
     Purchased Assets. The Debtors shall file the certificate of service of such persons under seal in
16
     order to preserve the integrity of the auction, with copy provided only to counsel for the
17
     Committee, and the U.S. Trustee.
18          6.      Any order approving the sale of assets shall provide, consistent with the post-
19   petition secured loan of Siena Lending Group, LLC (“Siena”), that Siena shall receive
20   indefeasible payment in full in cash of all obligations (as defined in the post-petition secured

21   loan agreement) from the proceeds of the sale at closing together with the releases mandated by

22   the Siena post-petition secured loan agreement.

23   APPROVED AS TO FORM:

24
     Dated: June 27, 2014                                  STEIN & LUBIN LLP

25                                                 By: /s/ Dennis D. Miller
                                                          Dennis D. Miller
26                                                        Attorneys for Lessor Principal Life Ins. Co.

27                                         **END OF ORDER**
       ORDER
     Case:
     Case:    APPROVING
           19-04057
            14-41045    OVERBID
                      Doc#
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28
       RELATED RELIEF
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 1                                 COURT SERVICE LIST
 2
     None.
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       ORDER
     Case:
     Case:    APPROVING
           19-04057
            14-41045    OVERBID
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28
       RELATED RELIEF
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                  EXHIBIT “9”

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                                         699                                          377
                                                 Entered on Docket
                                                 July 31, 2014
                                                 EDWARD J. EMMONS, CLERK
                                                 U.S. BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA




       MICHAEL W. MALTER, #96533
   1   JULIE H. ROME-BANKS, #142364
       WENDY W. SMITH, #133887
   2   Binder & Malter, LLP            The following constitutes
       2775 Park Avenue                the order of the court. Signed July 31, 2014
   3   Santa Clara, CA 95050
       Telephone: (408)295-1700
   4   Facsimile: (408) 295-1531
       Email: michael@bindermalter.com
   5   Email: julie@bindermalter.com      ______________________________________________
       Email: wendy@bindermalter.com      Roger L. Efremsky
   6                                             U.S. Bankruptcy Judge
       Attorneys for Debtors and Debtors-in-Possession
   7   PACIFIC STEEL CASTING COMPANY and
       BERKELEY PROPERTIES, LLC
   8

   9                            UNITED STATES BANKRUPTCY COURT
  10              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
  11

  12    In re                                              Case No. 14-41045-RLE
                                                           Case No. 14-41048-RLE
  13    PACIFIC STEEL CASTING COMPANY,
        a California corporation,                          Chapter 11
  14
                               Debtor.                     Cases Jointly Administered
  15

  16                                                       Date: July 28, 2014
        In re
                                                           Time: 10:00 a.m.
  17                                                       Courtroom: 201
        BERKELEY PROPERTIES, LLC, a
                                                           1300 Clay Street, Oakland, CA 94612
  18    California limited liability company,

  19                            Debtor.

  20

  21     ORDER APPROVING MOTION TO APPROVE SALE OF SUBSTANTIALLY ALL
               ASSETS FREE AND CLEAR OF LIENS AND RELATED RELIEF
  22

  23            The MOTION TO APPROVE SALE OF SUBSTANTIALLY ALL ASSETS FREE
  24   AND CLEAR OF LIENS AND RELATED RELIEF (“Motion”) of the Debtors Pacific Steel
  25
       Casting Company (“PSC”) and Berkeley Properties, LLC (“BP”) (together the “Debtors”) came
  26

  27
       ORDER APPROVING MOTION TO APPROVE SALE OF SUBSTANTIALLY ALL ASSETS FREE AND CLEAR OF LIENS AND
  28 19-04057
Case:
       RELATED RELIEF
                    Doc# 269
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       on for hearing at the above-referenced date and time; Julie Rome-Banks and Michael W. Malter
   1

   2   of Binder & Malter LLP appeared on behalf of the Debtors and other appearances were as noted

   3   in the Court’s record; reasonable and adequate notice of the hearing on the Motion and the relief

   4   sought therein having been provided to all parties required to be given notice under the Federal
   5   Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the Northern District of
   6
       California; the objections to the Motion having either been resolved or withdrawn on the record
   7
       for the reasons stated; the Court having considered the Motion, as well as any opposition to the
   8
       Motion, any reply thereto, the evidence presented, offers of proof and the arguments of counsel;
   9

  10   the Court having stated its findings of fact and conclusions of law on the record; and good cause

  11   appearing:

  12           IT IS HEREBY ORDERED that:
  13           1.       The Motion is granted.
  14
               2.       PSC’s sale of the Acquired Assets to Speyside Fund, LLC or its assignee
  15
       (“Buyer”) pursuant to the terms of the Asset Purchase Agreement (“APA”) 1 attached to the
  16
       supporting Declaration of Charles H. Bridges, Jr., and pursuant to the terms set forth in the
  17

  18   Motion is approved pursuant to Sections 105, 363 and 365 of the Bankruptcy Code.2 The

  19   Acquired Assets do not include customer owned patterns.

  20           3.       The Debtors shall immediately provide notice by overnight mail to Sentry
  21   Casualty Company (“Sentry”) of the Motion, and the assignment to Buyer, pursuant to the APA,
  22
       of PSC’s workers compensation insurance policies with Sentry. Sentry shall have 14 days from
  23
       service of such notice to file and serve any objections thereto. If the parties are unable to resolve
  24

  25
       1 Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion, or the APA, as
  26   applicable.
       2 All references to the Bankruptcy Code are to 11 U.S.C. §§ 101 et seq.
  27
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       any objections to such assignment, then the parties may set the matter for hearing on shortened
   1

   2   time.

   3           4.      The sale to Buyer and the terms of this Order shall be binding on any and all

   4   parties in interest in this case and their respective successors and assigns, including any trustee
   5   appointed after entry of this order pursuant to Sections 701 or 702 of the Bankruptcy Code.
   6
               5.      PSC is authorized to execute, deliver and perform the terms of the APA.
   7
               6.      Subject to paragraph 9 below, the sale of the Acquired Assets shall be free and
   8
       clear of Liens, Encumbrances and claims (except with respect to the Assumed Liabilities),
   9

  10   including, without limitation, the Liens, Encumbrances and claims of (a) Joy Global Longview

  11   Operations, LLC, (b) Crane Tech, Inc., (c) United Rentals (North America), Inc. and (d) Bigge

  12   Crane and Rigging Company (the “Lien Claimants”), with such Liens, Encumbrances and
  13   claims, if any, of the Lien Claimants to attach only to the proceeds of the sale with the same
  14
       force, effect, validity and priority that previously existed against the Acquired Assets and subject
  15
       to any claims and defenses the Debtors and these estates may possess with respect thereto.
  16
               7.      The Court finds that the sale to Buyer is in good faith and in the best interest of
  17

  18   creditors pursuant to 11 U.S.C. §363(m), so that the Buyer is entitled to the protections afforded

  19   by that section, and that neither PSC nor Buyer has engaged in any conduct that would cause or

  20   permit the sale to be avoided under 11 U.S.C. § 363(n).
  21           8.      Third parties are barred from asserting claims (including any claims for successor
  22
       liability, including, without limitation, claims arising from unassumed unexpired leases or
  23
       executory contracts), Liens or Encumbrances of any kind or nature against the Buyer or the
  24
       Acquired Assets that arose prior to Closing except pursuant to Assumed Liabilities in accordance
  25
       with the APA.
  26

  27
       ORDER APPROVING MOTION TO APPROVE SALE OF SUBSTANTIALLY ALL ASSETS FREE AND CLEAR OF LIENS AND
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              9.      Notwithstanding anything herein to the contrary, the Debtors shall provide for the
   1

   2   indefeasible payment in full in cash at closing of the sale for all amounts owed by the Debtors to

   3   Siena Lending Group, LLC (“Siena”) under the Debtor in Possession Loan and Security

   4   Agreement dated as of April 10, 2014 (the “Loan Agreement”) among Debtors, and Siena,
   5   including all principal, interest, fees, costs and expenses, together with cash collateral for any
   6
       contingent obligations as required in the Loan Agreement, in each case as set forth in a payoff
   7
       letter to be provided to the Debtors by Siena. The Debtors are authorized to deliver releases to
   8
       Siena by the Debtors’ estates as provided in the Siena Loan Agreement. Upon closing of the
   9

  10   sale, Siena has no further obligation or commitment to make loans, advances or extend any credit

  11   to the Debtors and any obligations of Siena with respect to the Carve Out under the final

  12   financing order are terminated and satisfied. All indemnifications obligations and
  13   reimbursement obligations of the Debtors to Siena that survive termination of the Loan
  14
       Agreement, as set forth therein, shall survive.
  15
              10.     The Court retains jurisdiction to enforce and implement the terms and provisions
  16
       of this Order, the new lease with the Buyer, all amendments thereto, any waivers and consents
  17

  18   thereunder, and each of the documents executed in connection therewith in all respects.

  19          11.     The stay of FRBP 6004(h) is hereby ordered waived.

  20
       APPROVED AS TO FORM:
  21
       Dated: July 30, 2014                   BLANK ROME LLP
  22

  23
                                              By: __/s/ Regina Stango Kelborn____________
  24                                                 Regina Stango Kelbon
                                                     Attorneys for Secured Creditor
  25                                                 Siena Lending Group LLC
  26

  27
       ORDER APPROVING MOTION TO APPROVE SALE OF SUBSTANTIALLY ALL ASSETS FREE AND CLEAR OF LIENS AND
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                                          699                                           381
       Dated: July 30, 2014                  FARELLA BRAUN + MARTEL LLP
   1

   2
                                             By: ___Gary M. Kaplan_________
   3                                                Gary M. Kaplan
                                                    Attorneys for Buyer
   4
       Dated: July 30, 2014                  SHEPPARD MULLIN RICHTER & HAMPTON LLP,
   5

   6                                         By: __Ori Katz_____________
                                                   Ori Katz
   7                                               Counsel to the Official Unsecured
   8                                               Creditors’ Committee

   9

  10                                         **END OF ORDER**
  11

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                                            COURT SERVICE LIST
   1

   2   None.

   3

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  27
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            EXHIBIT “10”

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                                         699                                          384
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pacific Steel Casting Company LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1333 Second Street                                              P.O. Box 6486
                                  Berkeley, CA 94710                                              Moraga, CA 94570
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Alameda County                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                                                                                                  page
Debtor    Pacific Steel Casting Company LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3325

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                         Northern District of
     separate list.                              District   California                    When       3/10/14                    Case number   14-41045
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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                                                                                                                  page
Debtor   Pacific Steel Casting Company LLC                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                Other     PCB contamination in ground by prior tenant.
                                                                              1333 Second Street
                                             Where is the property?           Berkeley, CA, 94710-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?

                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Pacific Steel Casting Company LLC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 25, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jerry Johnson                                                        Jerry Johnson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President of Finance




18. Signature of attorney    X   /s/ Tracy Green                                                           Date January 25, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tracy Green 114876
                                 Printed name

                                 Wendel, Rosen, Black & Dean LLP
                                 Firm name

                                 1111 Broadway, 24th Floor
                                 Oakland, CA 94607-4036
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (510) 834-6600                Email address      tgreen@wendel.com

                                 114876 CA
                                 Bar number and State




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                                                                                                                 page
 Fill in this information to identify the case:

 Debtor name         Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 25, 2019                        X /s/ Jerry Johnson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jerry Johnson
                                                                       Printed name

                                                                       Vice President of Finance
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




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 Fill in this information to identify the case:

 Debtor name            Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,904,841.67

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,904,841.67


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           823,963.37


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,024,223.70

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,580,788.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,428,975.31




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         General Account                 7282                                     $1,401.89




           3.2.     Bank of America                                         Disbursement Account            6395                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,401.89
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case:
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                 19-40193 Doc#
                          Doc# 85 Filed:01/25/19
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 Debtor         Pacific Steel Casting Company LLC                                                     Case number (If known)
                Name


           11a. 90 days old or less:                                 62,605.15   -                                   0.00 = ....                 $62,605.15
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 93,173.54   -                                   0.00 = ....                 $93,173.54
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $155,778.69
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 39.       Office furniture
           Desks, chairs, file cabinets                                                             $0.00      Comparable sale                     $1,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, printers, Ring Central phones                                                 $0.00      Comparable sale                     $1,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                       $2,000.00
           Add lines 39 through 42. Copy the total to line 86.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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           Case:
           Case: 19-04057
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 Debtor         Pacific Steel Casting Company LLC                                             Case number (If known)
                Name



 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Foundry machinery & equipment                                                    $0.00                                      $100,000.00



 51.       Total of Part 8.                                                                                                        $100,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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           Case:
           Case: 19-04057
                 19-40193 Doc#
                          Doc# 85 Filed:01/25/19
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 Debtor         Pacific Steel Casting Company LLC                                             Case number (If known)
                Name

            55.1.    Debtor leased
                     property at 1333
                     Second Street,
                     Berkeley, California,
                     94710 and vacated
                     property on
                     November 28, 2018.
                     Personal property left
                     in the premises.                                                  Unknown                                                   $0.00




 56.        Total of Part 9.                                                                                                                  $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Pacific Steel logo                                                              $0.00                                          Unknown



 61.        Internet domain names and websites
            Pacificsteel.com domain                                                         $0.00                                          Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists for Pacific Steel and Vancouver
            Iron & Steel                                                                    $0.00                                          Unknown



 64.        Other intangibles, or intellectual property
            Emission Reduction Credits                                                      $0.00      Quotes                            $36,000.00



 65.        Goodwill
            Reputation                                                                 Unknown                                             Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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            Case: 19-40193
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                           Doc# 185 Filed:
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 Debtor         Pacific Steel Casting Company LLC                                            Case number (If known)
                Name


 66.        Total of Part 10.                                                                                                      $36,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Sentry Insurance
            Letter of Credit against future expenses related to
            workers' comp claims which Debtor estimates exceeds
            the value of future claims.                                                                                           $1,575,813.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Rigger spilled transformer fluid containing PCB. Costs
            to clean up spill.                                                                                                        $33,848.09
            Nature of claim
            Amount requested                                             $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Property contaminated at the time Debtor took
            possession. Set off rights against landlord and right to
            reimbursement for some clean up that Debtor
            performed.                                                                                                                  Unknown
            Nature of claim
            Amount requested                                             $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
            Case: 19-40193
            Case: 19-04057 Doc#
                           Doc# 185 Filed:
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                                                   699                                          395
 Debtor         Pacific Steel Casting Company LLC                                            Case number (If known)
                Name

           country club membership

 78.       Total of Part 11.                                                                                          $1,609,661.09
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 6
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                          Doc# 185 Filed:
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                                                                                         of 88
                                                  699                                          396
 Debtor          Pacific Steel Casting Company LLC                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,401.89

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $155,778.69

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $100,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $36,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,609,661.09

 91. Total. Add lines 80 through 90 for each column                                                         $1,904,841.67            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,904,841.67




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                           Doc# 185 Filed:
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                                                                         13:34:49 Page
                                                                                   Page13397 of
                                                                                          of 88
                                                   699                                          397
 Fill in this information to identify the case:

 Debtor name          Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    Speyside Fund LLC, Agent                      Describe debtor's property that is subject to a lien                       $823,963.37           $700,000.00*
        Creditor's Name                               All assets
        24 Frank Lloyd Wright Dr.,                                                                                   *estimate
        Ste. 3225
        P.O. Box 484
        Ann Arbor, MI 48106
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement and Recorded UCC Filing
                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
        10/28/17                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                $823,963.37

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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                           Doc# 185 Filed:
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                                                       Entered:01/25/19
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                                                                         13:34:49 Page
                                                                                   Page14398 of
                                                                                          of 88
                                                   699                                          398
 Fill in this information to identify the case:

 Debtor name         Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $19,318.00          $0.00
           Abel Rodriguez                                            Check all that apply.
           1444 154th Avenue, #107                                      Contingent
           San Leandro, CA 94579                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Severance Pay
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $129,122.00          $129,122.00
           Alameda County Tax Collector                              Check all that apply.
           1221 Oak Street                                              Contingent
           Oakland, CA 94612                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Unsecured Property Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 33
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            Case: 19-40193
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                           Doc# 185 Filed:
                                     Filed:01/25/19
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                                                                                          of 88
                                                   699                                          399
 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,012.20    $0.00
          Aldo Mora                                                  Check all that apply.
          3112 Castilla court                                           Contingent
          Modesto, CA 95355                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $14,180.80    $0.00
          Andres Morales                                             Check all that apply.
          2346 Downer Avenue                                            Contingent
          Richmond, CA 94804                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $15,354.40    $0.00
          Andres Rivera                                              Check all that apply.
          1251 Ashby Avenue                                             Contingent
          Berkeley, CA 94702                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $16,891.30    $0.00
          Angel Reyes                                                Check all that apply.
          353 40th Street                                               Contingent
          Richmond, CA 94805                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 33
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                                                                                         of 88
                                                  699                                          400
 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,634.50    $0.00
          Antonio Ochoa                                              Check all that apply.
          1425 100th Avenue                                             Contingent
          Oakland, CA 94603                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,239.30    $0.00
          Antonio Sanchez                                            Check all that apply.
          1010 Allston Way                                              Contingent
          Berkeley, CA 94710                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $12,957.40    $0.00
          Antonio E Melgoza                                          Check all that apply.
          328 Stoneford Avenue                                          Contingent
          Oakland, CA 94603                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $11,019.70    $0.00
          Armando Campos-Hernandez                                   Check all that apply.
          9005 Walnut Street                                            Contingent
          Oakland, CA 94603                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 33
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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,169.30    $0.00
          Barboza Catalina Lomeli                                    Check all that apply.
          2451 Church Lane, Apt. 96                                     Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $110.80     $0.00
          Barboza Federico Lomeli                                    Check all that apply.
          2451 Church Lane, Apt. 96                                     Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,996.80    $0.00
          Bounlouam Sithideth                                        Check all that apply.
          1989 21st Street                                              Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $12,484.30    $0.00
          Carlos Martinez                                            Check all that apply.
          1958 21st Street                                              Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $110.80     $0.00
          Chan Cheng Saechao                                         Check all that apply.
          2967 Oxford Avenue                                            Contingent
          Richmond, CA 94806                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,657.40    $0.00
          Cheng Chieng Saechao                                       Check all that apply.
          5135 Brookfield Court                                         Contingent
          Fairfield, CA 94534                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $49,356.00    $49,356.00
          City of Berkeley                                           Check all that apply.
          Finance Department                                            Contingent
          1947 Center Street                                            Unliquidated
          Berkeley, CA 94704                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2017-2018                                                  Business License Fee
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,840.40    $0.00
          Cuong N Lieu                                               Check all that apply.
          5928 E. 17th Street                                           Contingent
          Oakland, CA 94621                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,372.60    $0.00
          David Islas                                                Check all that apply.
          4005 Gagos Drive                                              Contingent
          Modesto, CA 95356                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,049.00    $0.00
          Delfino Solano                                             Check all that apply.
          936 37th Avenue                                               Contingent
          Oakland, CA 94601                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,766.60    $0.00
          Edward L Flores                                            Check all that apply.
          3820 Cannon Avenue                                            Contingent
          Oakland, CA 94602                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,063.80    $0.00
          Enrique Miramontes-Guevara                                 Check all that apply.
          1347 Battery Street                                           Contingent
          Richmond, CA 94801                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $16,015.00    $0.00
          Enrique Perez                                              Check all that apply.
          1727 Buena Vista Avenue                                       Contingent
          Alameda, CA 94501                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,730.20    $0.00
          Escalante Efrain Blanco                                    Check all that apply.
          2625 McArthur Avenue                                          Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,858.50    $0.00
          Fidencio S Reyes                                           Check all that apply.
          1394 Gilmore Dr.                                              Contingent
          San Leandro, CA 94577                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,124.20    $0.00
          Frank Pepe                                                 Check all that apply.
          519 Chesterfield Drive                                        Contingent
          Patterson, CA 95363                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,996.80    $0.00
          Gonzalez Jose Ortiz                                        Check all that apply.
          1825 Fruitvale Avenue, Apt. 7                                 Contingent
          Oakland, CA 94601                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,898.90    $0.00
          Hector Vargas                                              Check all that apply.
          9229 A Street, Apt. C                                         Contingent
          Oakland, CA 94603                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,063.80    $0.00
          Hernandez Miguel Ruelas                                    Check all that apply.
          633 Stewart Street, Apt. 7                                    Contingent
          Manteca, CA 95336                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $19,318.00    $0.00
          Ignacio Torres                                             Check all that apply.
          2623 Shamrock Drive                                           Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,507.20    $0.00
          James Figueroa                                             Check all that apply.
          15886 Via Del Sol                                             Contingent
          San Lorenzo, CA 94580                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $12,093.70    $0.00
          Jesus Ortiz Rodriguez                                      Check all that apply.
          2129 California Avenue                                        Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $16,013.20    $0.00
          John Ortiz                                                 Check all that apply.
          1302 Tuolummne Way                                            Contingent
          Oakley, CA 94561                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,766.60    $0.00
          Jose Aranda                                                Check all that apply.
          5027 Clinton Avenue                                           Contingent
          Richmond, CA 94806                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,510.60    $0.00
          Jose Ortiz                                                 Check all that apply.
          2608 17th                                                     Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,730.20    $0.00
          Jose Francisco Carreno                                     Check all that apply.
          826 Lisbon Avenue                                             Contingent
          Oakland, CA 94601                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,336.20    $0.00
          Jose G Rojo                                                Check all that apply.
          16 Willian Way                                                Contingent
          Pittsburg, CA 94565                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,675.50    $0.00
          Jose J Hernandez                                           Check all that apply.
          1315 Fred Jackson Way                                         Contingent
          Richmond, CA 94801                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $19,318.00    $0.00
          Jose Q Tamayo                                              Check all that apply.
          1749 Lexington Avenue                                         Contingent
          El Cerrito, CA 94530                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,462.70    $0.00
          Juan A Lozano                                              Check all that apply.
          935 34th Street                                               Contingent
          Richmond, CA 94805                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,840.40    $0.00
          Juan Piceno Perez                                          Check all that apply.
          447 Sycamore Avenue                                           Contingent
          Manteca, CA 95336                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,537.90    $0.00
          Kao Meuy Saechao                                           Check all that apply.
          551 Vallejo Avenu                                             Contingent
          Rodeo, CA 94572                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,748.50    $0.00
          Lopez Salvador Esparza                                     Check all that apply.
          15941 Via Arroyo                                              Contingent
          San Lorenzo, CA 94580                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $21,267.40    $0.00
          Lorenzo Aranda                                             Check all that apply.
          1419 Santa Clara St                                           Contingent
          Richmond, CA 94804                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,657.40    $0.00
          Luis Reynoso                                               Check all that apply.
          2223 9th Street                                               Contingent
          Berkeley, CA 94710                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,336.20    $0.00
          Manuel Escalante                                           Check all that apply.
          2625 Macarthur avenue                                         Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,239.30    $0.00
          Manuel Munoz                                               Check all that apply.
          9814 Birch Street                                             Contingent
          Oakland, CA 94603                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,462.70    $0.00
          Manuel Santoyo                                             Check all that apply.
          1657 15th Street                                              Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,063.80    $0.00
          Martin Duenas                                              Check all that apply.
          1187 61st Avenue                                              Contingent
          Oakland, CA 94621                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $15,354.40    $0.00
          Martin F Velasco                                           Check all that apply.
          2021 88th Avenue                                              Contingent
          Oakland, CA 94621                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,452.10    $0.00
          Miguel A Rodriguez                                         Check all that apply.
          1331 Cherry Street                                            Contingent
          Richmond, CA 94801                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $14,033.20    $0.00
          Miranda Pedro Blaz                                         Check all that apply.
          150 16th Street                                               Contingent
          Richmond, CA 94801                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $110.80     $0.00
          Monarrez Modesta Carrillo                                  Check all that apply.
          2233 E. 23rd Street, Apt. A                                   Contingent
          Oakland, CA 94606                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,125.20    $0.00
          Nelson Costa                                               Check all that apply.
          1293 Gilmore Drive                                            Contingent
          San Leandro, CA 94577                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $22,018.00    $0.00
          Nicolas Salazar                                            Check all that apply.
          1520 Valle Vista                                              Contingent
          Vallejo, CA 94589                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,766.60    $0.00
          Onofre Vasquez                                             Check all that apply.
          319 Gramercy Place                                            Contingent
          Oakland, CA 94603                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,851.00    $0.00
          Pablo Martinez Zurita                                      Check all that apply.
          1335 Sanford Avenue, Apt. E                                   Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,569.10    $0.00
          Pedro Martinez                                             Check all that apply.
          1528 Bush Avenue                                              Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,919.60    $0.00
          Pulido Raul Villasenor                                     Check all that apply.
          1541 Pine Avenue                                              Contingent
          San Pablo, CA 94806                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $16,015.90    $0.00
          Refugio G. Lopez                                           Check all that apply.
          533 S. 28th Street                                            Contingent
          Richmond, CA 94804                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,840.40    $0.00
          Richard G Mitchell                                         Check all that apply.
          4505 McGlothen Way                                            Contingent
          Richmond, CA 94806                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,372.60    $0.00
          Robert M Simas                                             Check all that apply.
          708 Buriat Street                                             Contingent
          San Leandro, CA 94577                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $19,978.60    $0.00
          Rui P Costa                                                Check all that apply.
          118 Boxwood Lane                                              Contingent
          Hercules, CA 94547                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,087.80    $0.00
          Salvador Moreno                                            Check all that apply.
          183 Maureen Circle                                            Contingent
          Bay Point, CA 94565                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,372.60    $0.00
          Salvador Suarez                                            Check all that apply.
          1770 Birchwood Lanue                                          Contingent
          Tracy, CA 94376                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,228.70    $0.00
          Salvador Navarro Zandoval                                  Check all that apply.
          232 South 43rd Street                                         Contingent
          Richmond, CA 94804                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Pacific Steel Casting Company LLC                                                               Case number (if known)
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,363.20    $0.00
          Sergio Pedroza                                             Check all that apply.
          1005 Delaware St                                              Contingent
          Berkeley, CA 94710                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $14,339.20    $0.00
          Sonny Louang                                               Check all that apply.
          1529 Coalinga Avenue                                          Contingent
          Richmond, CA 94801                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $26,584.60    $0.00
          Tony R. Silva                                              Check all that apply.
          6362 Ebensburg Lane                                           Contingent
          Dublin, CA 94568                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,063.80    $0.00
          Tyrone E. Osborne                                          Check all that apply.
          77 Solano Square , #256                                       Contingent
          Benicia, CA 94510                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Severance Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor        Pacific Steel Casting Company LLC                                                              Case number (if known)
               Name

 2.71       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $6,766.60    $0.00
            Von Lavanh                                               Check all that apply.
            5014 Creely Avenue                                          Contingent
            Richmond, CA 94804                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Severance Pay
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $3,729.40    $0.00
            Yuheng He                                                Check all that apply.
            412 International Blvd                                      Contingent
            Oakland, CA 94606                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Severance Pay
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,334.85
           Airgas USA LLC                                                              Contingent
           P.O. Box 7423                                                               Unliquidated
           Pasadena, CA 91109-7423                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $105.68
           Amprocorp USA Inc                                                           Contingent
           4111 S.W. 47Th Avenue Suite 325                                             Unliquidated
           Ft Lauderdale, FL 33314                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,187.29
           Associated Flow Controls                                                    Contingent
           30 Beta Court                                                               Unliquidated
           San Ramon, CA 94583-1202                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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 Debtor       Pacific Steel Casting Company LLC                                                       Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,278.40
          AT&T                                                                  Contingent
          P.O. Box 5019                                                         Unliquidated
          Carol Stream, IL 60197-5019                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $365.69
          AT&T                                                                  Contingent
          P.O. Box 5025                                                         Unliquidated
          Carol Stream, IL 60197-5025                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $413.39
          AT&T Mobility                                                         Contingent
          P.O. Box 6463                                                         Unliquidated
          Carol Stream, IL 60197-6463                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Atwell LLC                                                            Contingent
          Two Town Square Suite 700                                             Unliquidated
          Attn: Tim Augustine                                                   Disputed
          Southfield, MI 48076
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,776.45
          Bay Alarm Company                                                     Contingent
          P.O. Box 7137                                                         Unliquidated
          San Francisco, CA 94120-7137                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,474.87
          Bcm Service & Engineering                                             Contingent
          1418 Mariani Court                                                    Unliquidated
          Suite 160                                                             Disputed
          Tracy, CA 95376-2854
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,303.92
          Bearing Engineering Company                                           Contingent
          667 Mccormick Street                                                  Unliquidated
          San Leandro, CA 94577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,926.00
          Berkley Surety Group LLC                                              Contingent
          P.O. Box 9010                                                         Unliquidated
          Westbrook, ME 04098                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,597.97
          Bordanaro And Son                                                     Contingent
          1690 Riverlake Road                                                   Unliquidated
          Discovery Bay, CA 94505                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29.04
          California Janitorial Supply Co.                                      Contingent
          2040 Junction Avenue                                                  Unliquidated
          San Jose, CA 95131                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          California Metals Coalition                                           Contingent
          2971 Warren Lane                                                      Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,085.64
          Castellon & Funderburk LLP                                            Contingent
          3201 Danville Boulevard                                               Unliquidated
          Suite 267                                                             Disputed
          Alamo, CA 94507
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,045.90
          Caterpillar Financial Services Corp                                   Contingent
          P.O. Box 100647                                                       Unliquidated
          Pasadena, CA 91189-0647                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,057.00
          City Of Berkeley                                                      Contingent
          Finance-Treasury Division                                             Unliquidated
          P.O. Box 1910                                                         Disputed
          Berkeley, CA 94701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,299.00
          City Of Berkeley                                                      Contingent
          P.O. Box 23523                                                        Unliquidated
          Oakland, CA 94623-0523                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,923.58
          Clark Pest Control                                                    Contingent
          P.O. Box 1480                                                         Unliquidated
          Lodi, CA 95241-1480                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,608.00
          Conner Strong & Buckelew                                              Contingent
          P.O. Box 989                                                          Unliquidated
          Marlton, NJ 08053                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,456.25
          Core Security Solutions Inc                                           Contingent
          2701 Telegraph Ave, Suite 200                                         Unliquidated
          Oakland, CA 94612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,668.19
          Crestmark Equipment Finance                                           Contingent
          P.O. Box 233756                                                       Unliquidated
          3756 Momentum Place                                                   Disputed
          Chicago, IL 60689-5337
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,029.81
          Cromer Equipment Company                                              Contingent
          P.O. Box 14338                                                        Unliquidated
          Oakland, CA 94614-2388                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4.00
          Department Of Motor Vehicles                                          Contingent
          P.O. Box 825339                                                       Unliquidated
          Sacramento, CA 94232-5339                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,852.00
          DMV Renewal                                                           Contingent
          P.O. Box 942894                                                       Unliquidated
          Sacramento, CA 94294-0895                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,258.00
          DNV Gl Maritime                                                       Contingent
          Long Beach Station                                                    Unliquidated
          3800 Kilroy Airport Way - Suite 410                                   Disputed
          Long Beach, CA 90806
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,127.85
          Dun & Bradstreet                                                      Contingent
          P.O. Box 75434                                                        Unliquidated
          Chicago, IL 60675-5434                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,100.60
          East Bay Propane                                                      Contingent
          8255 San Leandro Street                                               Unliquidated
          Oakland, CA 94621                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,272.60
          EBMUD Payment Center                                                  Contingent
          P.O. Box 1000                                                         Unliquidated
          Oakland, CA 94649-0001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,327.69
          EKI Environment & Water Inc                                           Contingent
          577 Airport Blvd Suite 500                                            Unliquidated
          Burlingame, CA 94010                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,023.54
          Emerald Transformer                                                   Contingent
          7850 Colin Mckinney Pkwy Suite 130                                    Unliquidated
          Mckinney, TX 75070                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106.92
          Enthalpy Analytical LLC                                               Contingent
          P.O. Box 741137                                                       Unliquidated
          Los Angeles, CA 90074-1137                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,310.48
          Estes Express Lines                                                   Contingent
          P.O. Box 25612                                                        Unliquidated
          Richmond, VA 23260-5612                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $395.10
          Farella Braun & Martel                                                Contingent
          Attorneys At Law                                                      Unliquidated
          235 Montgomery Street                                                 Disputed
          San Francisco, CA 94104
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $406.77
          Fedex Freight                                                         Contingent
          Dept La P.O. Box 21415                                                Unliquidated
          Pasadena, CA 91185-1415                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,605.21
          Freeman Manufacturing & Supply Co.                                    Contingent
          1101 Moore Road                                                       Unliquidated
          Avon, OH 44011-1011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $464.00
          G.E. Tennison Co.                                                     Contingent
          5761 Seneca St.                                                       Unliquidated
          Elma, NY 14059                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,174.38
          GF Industries                                                         Contingent
          122 North Harbor Blvd                                                 Unliquidated
          Suite 201                                                             Disputed
          Fullerton, CA 92832
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $129,122.70
          Henry C. Levy                                                         Contingent
          Treasurer And Tax Collector                                           Unliquidated
          1221 Oak Street Room 131                                              Disputed
          Oakland, CA 94612-4285
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,673.39
          Herc Rentals                                                          Contingent
          P.O. Box 936257                                                       Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $235.98
          Hunter Foundry Machinery Corp                                         Contingent
          2222 Hammond Drive                                                    Unliquidated
          Schaumburg, IL 60196-1094                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $978.33
          Image Business Solutions                                              Contingent
          28339 Beck Road Suite F2                                              Unliquidated
          Wixom, MI 48393                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,294.26
          Inland Water Inc                                                      Contingent
          P.O. Box 2925                                                         Unliquidated
          Dublin, CA 94568                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,613.52
          Intellichief                                                          Contingent
          A Quadrant Software Company                                           Unliquidated
          13095 North Telecom Parkway                                           Disputed
          Tampa, FL 33637
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $640.00
          J.S. & P. Enterprises Corp                                            Contingent
          14950 Avenida Anita                                                   Unliquidated
          Chino Hills, CA 91709                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,184.00
          Kacee Company                                                         Contingent
          3570 Hiawatha Way                                                     Unliquidated
          Antelope, CA 95843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $288.99
          King Tester Corporation                                               Contingent
          308 Schell Lane                                                       Unliquidated
          Phoenixville, PA 19460                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,791.00
          L.J. Kruse Company                                                    Contingent
          P.O. Box 2900                                                         Unliquidated
          Berkeley, CA 94702                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,970.00
          Linde LLC Los Angeles                                                 Contingent
          P.O. Box 100691                                                       Unliquidated
          Pasadena, CA 91189-0691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,137.50
          Linkedin Corporation                                                  Contingent
          1000 W. Maude Avenue                                                  Unliquidated
          Sunnyvale, CA 94085                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          Logistics Dynamics Inc                                                Contingent
          155 Pineview Drive                                                    Unliquidated
          Amherst, NY 14228                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,903.54
          M Cooper Consulting                                                   Contingent
          8309 Ne 147Th Place                                                   Unliquidated
          Kenmore, WA 98028                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,175.00
          Marsh USA Inc.                                                        Contingent
          P.O. Box 846112                                                       Unliquidated
          Dallas, TX 75284-6112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $467.59
          Melrose Metal Products Inc.                                           Contingent
          44533 South Grimmer Blvd.                                             Unliquidated
          Fremont, CA 94538                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          Microsoft Corporation                                                 Contingent
          P.O. Box 842103                                                       Unliquidated
          Dallas, TX 75282-2103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.40
          Mobile Fleetcare                                                      Contingent
          P.O. Box 7354                                                         Unliquidated
          Berkeley, CA 94707-0354                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $254.54
          Motion Industries Inc                                                 Contingent
          1605 Alton Road                                                       Unliquidated
          Birmingham, AL 35210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7463
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,616.92
          Optimas Oe Solutions LLC                                              Contingent
          P.O. Box 74008133                                                     Unliquidated
          Chicago, IL 60674-8133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Peerless Pattern Works                                                Contingent
          3325 Nw Yeon Ave                                                      Unliquidated
          Portland, OR 97210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $517,591.49
          PG&E                                                                  Contingent
          P.O. Box 997300                                                       Unliquidated
          Sacramento, CA 95899-7300                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.00
          Pitney Bowes Global Financial                                         Contingent
          Services LLC                                                          Unliquidated
          P.O. Box 371887                                                       Disputed
          Pittsburgh, PA 15250-7887
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29.99
          Pitney Bowes Postage By Phone                                         Contingent
          P.O. Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,500.00
          Polymeric Technology Inc                                              Contingent
          Poly-Tek                                                              Unliquidated
          1900 Marina Blvd. Suite A                                             Disputed
          San Leandro, CA 94577
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Portland Manufacturing                                                Contingent
          7715 Ne 21St Ave                                                      Unliquidated
          Portland, OR 97211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $734.49
          Posi-Flate                                                            Contingent
          Jessie Howe                                                           Unliquidated
          1125 Willow Lake Blvd                                                 Disputed
          St Paul, MN 55110
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,991.85
          Praxair Distribution Inc                                              Contingent
          Dept La 21511                                                         Unliquidated
          Pasadena, CA 91185-1511                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Pacific Steel Casting Company LLC                                                       Case number (if known)
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,339.53
          Professional Finishing                                                Contingent
          P.O. Box 742038                                                       Unliquidated
          Los Angeles, CA 90074-2038                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $912.00
          Q C Services & Associates                                             Contingent
          23101 Foley Street                                                    Unliquidated
          Hayward, CA 94545                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,328.35
          Quincy Compressor LLC                                                 Contingent
          Dept 3427 Lockbox 893427                                              Unliquidated
          P.O. Box 123427                                                       Disputed
          Dallas, TX 75312-3427
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,814.02
          Rain For Rent                                                         Contingent
          File 52541                                                            Unliquidated
          Los Angeles, CA 90074-2541                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,235.83
          Republic Services #851                                                Contingent
          P.O. Box 78829                                                        Unliquidated
          Phoenix, AZ 85062-8829                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,834.68
          Ridge Cast Metals Corp                                                Contingent
          1554 Doolittle Drive                                                  Unliquidated
          San Leandro, CA 94577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $524.70
          RJMS Corporation                                                      Contingent
          Toyota Material Handling                                              Unliquidated
          P.O. Box 398526                                                       Disputed
          San Francisco, CA 94139-8526
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 29 of 33
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 Debtor       Pacific Steel Casting Company LLC                                                       Case number (if known)
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,125.00
          Robert Half Management Resources                                      Contingent
          P.O. Box 743295                                                       Unliquidated
          Los Angeles, CA 90074-3295                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,025.15
          Rosemount Analytical - Pad Raio                                       Contingent
          22737 Network Place                                                   Unliquidated
          Chicago, IL 60673-1227                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,169.07
          Rotex Inc                                                             Contingent
          P.O. Box 630317                                                       Unliquidated
          Cincinnati, OH 45263-0317                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225.75
          S.L. Fusco Inc.                                                       Contingent
          P.O. Box 5924                                                         Unliquidated
          Compton, CA 90224                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,162.36
          Saia Motor Freight Line LLC                                           Contingent
          P O Box 730532                                                        Unliquidated
          Dallas, TX 75373-0532                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $192,475.87
          Sentry Insurance                                                      Contingent
          P.O.Box 8045                                                          Unliquidated
          Stevens Point, WI 54481-8045                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $320.00
          Shell Core Specialties                                                Contingent
          27640 Se Hwy 212 Suite A                                              Unliquidated
          Boring, OR 97009                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Pacific Steel Casting Company LLC                                                       Case number (if known)
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,371.38
          Shred-It USA                                                          Contingent
          28883 Network Place                                                   Unliquidated
          Chicago, IL 60673-1288                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,220.41
          Simpson Technologies Corporation                                      Contingent
          39618 Treasury Center                                                 Unliquidated
          Chicago, IL 60694-9600                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,008.43
          Speyside Fund LLC                                                     Contingent
          P.O. Box 530426                                                       Unliquidated
          Livonia, MI 48153                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          State Water Resources Control Board                                   Contingent
          Attn: Afrs                                                            Unliquidated
          P.O. Box 1888                                                         Disputed
          Sacramento, CA 95812-1888
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,585.94
          Talx Uc Express                                                       Contingent
          4076 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674-4076                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          The Howard E Nyhart Company Inc                                       Contingent
          Attn: Finance Department                                              Unliquidated
          8415 Allison Pointe Blvd. Suite 300                                   Disputed
          Indianapolis, IN 46250
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,429.44
          Thermo Electron North America LLC                                     Contingent
          P.O. Box 742775                                                       Unliquidated
          Atlanta, GA 30374-2775                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 31 of 33
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 Debtor       Pacific Steel Casting Company LLC                                                       Case number (if known)
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $890.00
          Tomas Padilla Welding Services                                        Contingent
          1241 Peach Place                                                      Unliquidated
          Concord, CA 94518                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,085.22
          Tyco Integrated Security LLC                                          Contingent
          P.O. Box 371967                                                       Unliquidated
          Pittsburgh, PA 15250-7967                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $700.00
          Uhy LLP                                                               Contingent
          P.O. Box 8505                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,000.00
          United Contract Services Inc                                          Contingent
          1161 Ringwood Court Suite 170                                         Unliquidated
          San Jose, CA 95131                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,701.91
          Valley Rubber & Gasket                                                Contingent
          A Lewis-Goetz Company                                                 Unliquidated
          P.O. Box 31001-1893                                                   Disputed
          Pasadena, CA 91110-1893
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,041.88
          Vancouver Iron And Steel Inc                                          Contingent
          1200 W 13Th St                                                        Unliquidated
          Vancouver, WA 98660-2726                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,025.62
          Wells Fargo Vendor Fin Serv                                           Contingent
          P.O. Box 51043                                                        Unliquidated
          Los Angeles, CA 90051-5353                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 32 of 33
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 Debtor       Pacific Steel Casting Company LLC                                                       Case number (if known)
              Name

 3.95      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $441.03
           Wille Electric Supply Co                                             Contingent
           P.O. Box 3246                                                        Unliquidated
           Modesto, CA 95353                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.96      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,670.01
           XPO Logistics Freight Inc                                            Contingent
           P.O. Box 5160                                                        Unliquidated
           Portland, OR 97208-5160                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.97      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $12,056.12
           XPO Logistics Inc                                                    Contingent
           27724 Network Place                                                  Unliquidated
           Chicago, IL 60673-1277                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                     1,024,223.70
 5b. Total claims from Part 2                                                                            5b.   +    $                     1,580,788.24

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        2,605,011.94




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 33 of 33
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                                                  699                                          431
 Fill in this information to identify the case:

 Debtor name         Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Lease of 15 Forklifts
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                2/22/2019                   Returned 11/14/18
                                                                                      TIP Capital (Crestmark Bank)
             List the contract number of any                                          40950 Woodward Ave., Ste. 201
                   government contract                                                Bloomfield Hills, CA 48304


 2.2.        State what the contract or                   Lease of Sweeper
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                7/2/2020                    Returned 11/14/18
                                                                                      All-Lines Leasing
             List the contract number of any                                          100 Prairie Center Drive
                   government contract                                                Eden Prairie, NM 55344


 2.3.        State what the contract or                   Real Property Lease for
             lease is for and the nature of               facilities located at:
             the debtor's interest
                                                          1333 Second St.
                                                          1310 Third St.
                                                          640 Gilman
                  State the term remaining                8/29/2029                   Returned to Landlord 11/28/18
                                                                                      Berkeley Properties LLC
             List the contract number of any                                          7 West 41st Ave., #523
                   government contract                                                San Mateo, CA 94403




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fimpimill in this information to identify the case:

 Debtor name         Pacific Steel Casting Company LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                           $21,362,708.00
       From 1/01/2018 to 10/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $23,421,793.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                           $19,404,624.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor       Pacific Steel Casting Company LLC                                                         Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Littler Mendelson                                           11/30/18                           $7,208.00           Secured debt
               P.O. Box 45547                                                                                                     Unsecured loan repayments
               San Francisco, CA 94145                                                                                            Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Legal Fees

       3.2.
               McKissick                                                   11/30/18                           $6,461.22           Secured debt
               2801 Dawson Road                                                                                                   Unsecured loan repayments
               Tulsa, OK 74101                                                                                                    Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Refund on
                                                                                                                               overpayment of casting
                                                                                                                               invoice

       3.2.
               Wendel, Rosen, Black & Dean LLP                             12/20/18                           $4,084.75           Secured debt
               1111 Broadway, 24th Floor                                                                                          Unsecured loan repayments
               Oakland, CA 94607                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Attorney Fees

       3.4.
               NRC Environmental Services                                  1/3/19                           $17,000.00            Secured debt
               1605 Ferry Place                                                                                                   Unsecured loan repayments
               Alameda, CA 94501                                                                                                  Unsecured loan repayments
                                                                                                                                  Services
                                                                                                                                  Other

       3.5.
               Wendel, Rosen, Black & Dean LLP                             1/9/19                             $5,000.00           Secured debt
               1111 Broadway, 24th Floor                                                                                          Unsecured loan repayments
               Oakland, CA 94607                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Attorney Fees

       3.6.
                                                                           1/23/19                          $10,000.00            Secured debt
               Hassle-Free Haulers
                                                                                                                                  Unsecured loan repayments
               2354 9th Ave.
                                                                                                                                  Unsecured loan repayments
               San Francisco, CA 94116
                                                                                                                                  Services
                                                                                                                                  Other ___________

       3.7.
               Techordia                                                   11/30/18                           $8,756.25           Secured debt
               1900 North Loop Road                                        1/11/19                          $10,054.16            Unsecured loan repayments
               Alameda, CA 94502                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other IT Services

       3.8.
               See Attachment A                                                                             $35,000.00            Secured debt
               Union Employees' Severance Pay                                                                                     Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Severance Pay




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 Debtor       Pacific Steel Casting Company LLC                                                         Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Krishnan Venkatesan                                         12/31/17 -                      $283,652.65           Compensation
               1631 Angsley Lane                                           12/15/18
               San Ramon, CA 94710
               President of Pacific Steel, LLC Member

       4.2.    Krishnan Venkatesan                                         1/22/18 -                          $6,272.02          Reimbursement of Expenses
               1631 Angsley Lane                                           9/14/18
               San Ramon, CA 94710
               President of Pacific Steel, LLC Member

       4.3.    Jerry Johnson                                               1/15/18 -                       $281,948.32           Compensation
               P.O. Box 6784                                               12/31/18
               Moraga, CA 94570
               VP Finance of Pacific Steel

       4.4.    Jerry Johnson                                               10/31/18                         $50,000.00           Compensation
               P.O. Box 6784
               Moraga, CA 94570
               VP Finance of Pacific Steel

       4.5.    Jerry Johnson                                               1/24/18                            $1,000.00          Expense reimbursement
               P.O. Box 6784
               Moraga, CA 94570
               VP Finance of Pacific Steel

       4.6.    Jerry Johnson                                               3/27/18 -                          $3,100.88          Expense Reimbursement
               P.O. Box                                                    12/17/18
               Moraga, CA 94570
               VP Finance of Pacific Steel

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was               Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


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 Debtor       Pacific Steel Casting Company LLC                                                             Case number (if known)




           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    HFR Properties LP v. Pacfic                       Unlawful Detainer            Alameda County Superior                       Pending
               Steel Casting Company LLC                                                      Court                                         On appeal
               RG18915202                                                                     1225 Fallon Street                            Concluded
                                                                                              Oakland, CA 94612

       7.2.    Holt of California v. Pacific                     Unpaid Invoices              San Joaquin County                            Pending
               Steel Casting Company LLC                                                      Superior Court                                On appeal
               STK-CV-LBC-2018-5344                                                           180 E. Weber Avenue                           Concluded
                                                                                              Stockton, CA 94612

       7.3.    United Contract Services Inc.                     Unpaid invoices              Alameda County Superior                       Pending
               v. Pacific Steel Casting                                                       Court                                         On appeal
               Company LLC                                                                    1225 Fallon Street                            Concluded
               RS18890288, RS18889992                                                         Oakland, CA 94612

       7.4.    Adobe Lumber Inc. dba                             Unpaid Invoices              Napa County Superior                          Pending
               Industrial Wholesale v. Jerry                                                  Court                                         On appeal
               Johnson dba Pacific Steel                                                      825 Brown Street                              Concluded
               Casting Co.                                                                    Napa, CA 94559
               18SC000252

       7.5.    The Board of Trustees in their                    Union Dispute                U.S. District Court - ND of                   Pending
               capacities as Trustee of the                                                   California                                    On appeal
               CMTA-Glass, Molders,                                                           400 Golden Gate Avenue                        Concluded
               Pottery, Plastics, et al. v.                                                   San Francisco, CA 94102
               Pacific Steel Casting
               Company, et al.
               17-cv-04572-WHA

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss               Value of property
       how the loss occurred                                                                                                                                         lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers
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 Debtor        Pacific Steel Casting Company LLC                                                        Case number (if known)




11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received                         If not money, describe any property transferred           Dates      Total amount or
                the transfer?                                                                                                                      value
                Address
       11.1.    Focus Management Group
                P.O. Box 22127                                                                                                 9/2017 -
                Tampa, FL 33630                                                                                                6/2018       $255,425.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    Wendel, Rosen, Black & Dean
                LLP
                1111 Broadway, 24th Floor
                Oakland, CA 94607-4036                               Attorney Fees                                             10/19/17       $50,000.00

                Email or website address
                tgreen@wendel.com

                Who made the payment, if not debtor?




       11.3.    Wendel, Rosen, Black & Dean
                LLP
                1111 Broadway, 24th Floor
                Oakland, CA 94607-4036                               Attorney Fees                                             4/30/18        $10,000.00

                Email or website address
                tgreen@wendel.com

                Who made the payment, if not debtor?




       11.4.    Wendel, Rosen, Black & Dean
                LLP
                1111 Broadway, 24th Floor
                Oakland, CA 94607-4036                               Attorney Fees                                             10/22/18       $15,000.00

                Email or website address
                tgreen@wendel.com

                Who made the payment, if not debtor?




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                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.5.    Wendel, Rosen, Black & Dean
                LLP
                1111 Broadway, 24th Floor
                Oakland, CA 94607-4036                               Attorney Fees                                             12/20/18               $4,084.75

                Email or website address
                tgreen@wendel.com

                Who made the payment, if not debtor?




       11.6.    Wendel, Rosen, Black & Dean
                LLP
                1111 Broadway, 24th Floor
                Oakland, CA 94607-4036                               Attorney Fees                                             1/9/19                 $5,000.00

                Email or website address
                tgreen@wendel.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    1333 Second Street                                                                                         8/29/14 - 11/28/18
                Berkeley, CA 94710

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?
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            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services         If debtor provides meals
                                                                 the debtor provides                                                  and housing, number of
                                                                                                                                      patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Pacific Steel Casting Company LLC 401(k) Plan                                              EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    CMTA Molders & Allied Workers Pension Trust                                                EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Wells Fargo Bank NA                             XXXX-7011                   Checking                 10/28/18                      $44,024.00
                 555 12th Street                                                             Savings
                 Oakland, CA 94607                                                           Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Wells Fargo Bank NA                             XXXX-7029                   Checking                 10/28/18                              $0.00
                 555 12th Street                                                             Savings
                 Oakland, CA 94607                                                           Money Market
                                                                                             Brokerage
                                                                                             Other



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                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.3.    Wells Fargo Bank NA                              XXXX-7037                   Checking                 10/28/18                             $0.00
                555 12th Street                                                              Savings
                Oakland, CA 94607                                                            Money Market
                                                                                             Brokerage
                                                                                             Other

       18.4.    Wells Fargo Bank NA                              XXXX-2028                   Checking                                                $1,000.00
                555 12th Street                                                              Savings
                Oakland, CA 94607                                                            Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Richmond Warehouse                                            Warehouse closed                     Patterns and Castings                   No
       900 Brookline Drive                                           4/28/18                                                                      Yes
       Richmond, CA 94801



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

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            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       UHY LLP                                                                                                                    8/2014 - 7/2017
                    27725 Stansbury Blvd., Ste. 200
                    Farmington Hills, MI 48334

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jerry Johnson
                    VP Finance of Debtor
                    P.O. Box 6486
                    Moraga, CA 94570

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
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                None

       Name and address
       26d.1.       Wells Fargo Capital Finance
                    2450 Colorado Ave., Ste. 300W
                    Santa Monica, CA 90404
       26d.2.       GMP United Steelworkers Union
                    608 East Baltimore Pike
                    Media, PA 19063-1735

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jerry Johnson                                  P.O. Box 6784                                       Vice President of Finance
                                                      Moraga, CA 94570

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Krishnan Venkatesan                            1631 Angsley Lane                                   President, Manager                    1.7%
                                                      San Ramon, CA 94710

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jeffrey Stone                                  24 Frank Lloyd Wright Dr.                           Manager                               10%
                                                      Ann Arbor, MI 48106

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kevin Dougherty                                24 Frank Lloyd Wright Dr.                           Manager
                                                      Ann Arbor, MI 48106

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Steve Wessels                                  8821 N. University St.                              Manager
                                                      Peoria, IL 61615

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brian Holt                                     8821 N. University Street                           Manager
                                                      Peoria, IL 61615

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alcast Company                                 8821 North University Street                        Class A Member                        41.65%
                                                      Peoria, IL 61615




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       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Speyside Fund LLC                              24 Frank Lloyd Wright Drive                         Class A Member                   41.65%
                                                      Suite H3225
                                                      P.O. Box 484
                                                      Ann Arbor, MI 48106
       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Eric Wiklendt                                  8100 Reinhart Road                                  Class C Member                   5%
                                                      Carleton, MI 48117



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates         Reason for
                                                                 property                                                              providing the value
       30.1 Speyside Fund LLC
       .    24 Frank Lloyd Wright Dr
               Suite H3225
               P.O. Box 484                                                                                              1/18/18 -     Payments on
               Ann Arbor, MI 48106                               3,780,000.00                                            10/31/18      Secured Debt

               Relationship to debtor
               LLC Member


       30.2 Krishnan Venkatesan
       .    1631 Angsley Lane                                                                                            1/15/18 -
               San Ramon, CA 94710                               283,652.65                                              12/15/18      Compensation

               Relationship to debtor
               President of Pacific Steel,
               LLC Member


       30.3 Krishnan Venkatesan
       .    1631 Angsey Lane
               Suite H3225
               P.O. Box 484                                                                                              1/22/18 -     Expense
               Ann Arbor, MI 48106                               6,272.02                                                9/14/18       Reimbursement

               Relationship to debtor
               President of Pacific Steel,
               LLC Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 11
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                                                  699                                          444
 Debtor      Pacific Steel Casting Company LLC                                                          Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates       Reason for
                                                                 property                                                            providing the value
       30.4 Jerry Johnson
       .    P.O. Box 6784                                                                                                1/15/18 -
               Moraga, CA 94570                                  281,948.32                                              12/31/18    Compensation

               Relationship to debtor
               VP Finance of Pacific Steel


       30.5 Jerry Johnson
       .    P.O. Box 6784
               Moraga, CA 94570                                  50,000                                                  10/31/18    Compensation

               Relationship to debtor
               VP Finance of Pacific Steel


       30.6 Jerry Johnson
       .    P.O. Box 6784                                                                                                            Expense
               Moraga, CA 94570                                  1,000                                                   5/4/18      reimbursement

               Relationship to debtor
               VP Finance of Pacific Steel




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 Debtor      Pacific Steel Casting Company LLC                                                          Case number (if known)




       30.7 Jerry Johnson
       .    P.O. Box                                                                                                     3/27/18 -         Expense
               Moraga, CA 94570                                  3,100.88                                                12/17/18          reimbursement

               Relationship to debtor
               VP Finance of Pacific Steel


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 25, 2019

                 /s/ Jerry Johnson                                      Jerry Johnson
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Vice President of Finance

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
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                                               UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA

 In re                                                                           Case No.
           Pacific Steel Casting Company LLC




                                                 Debtor(s).             /


                                                             CREDITOR MATRIX COVER SHEET


        I declare that the attached Creditor Mailing Matrix, consisting of 22 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms with the Clerk's promulgated requirements.

DATED: January 25, 2019


                                                                            /s/ Tracy Green
                                                                            Signature of Debtor's Attorney or Pro Per Debtor




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M
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x




     Abel Rodriguez
     1444 154th Avenue, #107
     San Leandro, CA 94579



     Airgas USA LLC
     P.O. Box 7423
     Pasadena, CA 91109-7423



     Alameda County Tax Collector
     1221 Oak Street
     Oakland, CA 94612



     Aldo Mora
     3112 Castilla court
     Modesto, CA 95355



     Amprocorp USA Inc
     4111 S.W. 47Th Avenue Suite 325
     Ft Lauderdale, FL 33314



     Andres Morales
     2346 Downer Avenue
     Richmond, CA 94804



     Andres Rivera
     1251 Ashby Avenue
     Berkeley, CA 94702



     Angel Reyes
     353 40th Street
     Richmond, CA 94805




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                                           699                                          450
 Antonio Ochoa
 1425 100th Avenue
 Oakland, CA 94603



 Antonio Sanchez
 1010 Allston Way
 Berkeley, CA 94710



 Antonio E Melgoza
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 Oakland, CA 94603



 Armando Campos-Hernandez
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 Associated Flow Controls
 30 Beta Court
 San Ramon, CA 94583-1202



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 Carol Stream, IL 60197-5019



 AT&T
 P.O. Box 5025
 Carol Stream, IL 60197-5025



 AT&T Mobility
 P.O. Box 6463
 Carol Stream, IL 60197-6463




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                                       699                                          451
 Atwell LLC
 Two Town Square Suite 700
 Attn: Tim Augustine
 Southfield, MI 48076



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 Barboza Federico Lomeli
 2451 Church Lane, Apt. 96
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 San Francisco, CA 94120-7137



 Bcm Service & Engineering
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 Suite 160
 Tracy, CA 95376-2854



 Bearing Engineering Company
 667 Mccormick Street
 San Leandro, CA 94577



 Berkley Surety Group LLC
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 Westbrook, ME 04098



 Bordanaro And Son
 1690 Riverlake Road
 Discovery Bay, CA 94505




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                                       699                                          452
 Bounlouam Sithideth
 1989 21st Street
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 California Janitorial Supply Co.
 2040 Junction Avenue
 San Jose, CA 95131



 California Metals Coalition
 2971 Warren Lane
 El Dorado Hills, CA 95762



 Carlos Martinez
 1958 21st Street
 San Pablo, CA 94806



 Castellon & Funderburk LLP
 3201 Danville Boulevard
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 Caterpillar Financial Services Corp
 P.O. Box 100647
 Pasadena, CA 91189-0647



 Chan Cheng Saechao
 2967 Oxford Avenue
 Richmond, CA 94806



 Cheng Chieng Saechao
 5135 Brookfield Court
 Fairfield, CA 94534




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 City of Berkeley
 Finance Department
 1947 Center Street
 Berkeley, CA 94704



 City Of Berkeley
 Finance-Treasury Division
 P.O. Box 1910
 Berkeley, CA 94701



 City Of Berkeley
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 Oakland, CA 94623-0523



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 Lodi, CA 95241-1480



 Conner Strong & Buckelew
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 Core Security Solutions Inc
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 Crestmark Equipment Finance
 P.O. Box 233756
 3756 Momentum Place
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 Cromer Equipment Company
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 Oakland, CA 94614-2388




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 Cuong N Lieu
 5928 E. 17th Street
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 David Islas
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 Modesto, CA 95356



 Delfino Solano
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 Oakland, CA 94601



 Department Of Motor Vehicles
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 Sacramento, CA 94232-5339



 DMV Renewal
 P.O. Box 942894
 Sacramento, CA 94294-0895



 DNV Gl Maritime
 Long Beach Station
 3800 Kilroy Airport Way - Suite 410
 Long Beach, CA 90806



 Dun & Bradstreet
 P.O. Box 75434
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 East Bay Propane
 8255 San Leandro Street
 Oakland, CA 94621




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 EBMUD Payment Center
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 Edward L Flores
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 Emerald Transformer
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 Enthalpy Analytical LLC
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 Escalante Efrain Blanco
 2625 McArthur Avenue
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 Estes Express Lines
 P.O. Box 25612
 Richmond, VA 23260-5612



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 235 Montgomery Street
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 Fedex Freight
 Dept La P.O. Box 21415
 Pasadena, CA 91185-1415



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 Frank Pepe
 519 Chesterfield Drive
 Patterson, CA 95363



 Freeman Manufacturing & Supply Co.
 1101 Moore Road
 Avon, OH 44011-1011



 G.E. Tennison Co.
 5761 Seneca St.
 Elma, NY 14059



 GF Industries
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 Fullerton, CA 92832




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 Gonzalez Jose Ortiz
 1825 Fruitvale Avenue, Apt. 7
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 Herc Rentals
 P.O. Box 936257
 Atlanta, GA 31193



 Hernandez Miguel Ruelas
 633 Stewart Street, Apt. 7
 Manteca, CA 95336



 Hunter Foundry Machinery Corp
 2222 Hammond Drive
 Schaumburg, IL 60196-1094



 Ignacio Torres
 2623 Shamrock Drive
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 Image Business Solutions
 28339 Beck Road Suite F2
 Wixom, MI 48393




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 Inland Water Inc
 P.O. Box 2925
 Dublin, CA 94568



 Intellichief
 A Quadrant Software Company
 13095 North Telecom Parkway
 Tampa, FL 33637



 J.S. & P. Enterprises Corp
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 Chino Hills, CA 91709



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 John Ortiz
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 Jose Aranda
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 Jose Francisco Carreno
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 King Tester Corporation
 308 Schell Lane
 Phoenixville, PA 19460



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 M Cooper Consulting
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 Microsoft Corporation
 P.O. Box 842103
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 Miranda Pedro Blaz
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 Birmingham, AL 35210



 Nelson Costa
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 San Leandro, CA 94577



 Nicolas Salazar
 1520 Valle Vista
 Vallejo, CA 94589




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 Onofre Vasquez
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 Optimas Oe Solutions LLC
 P.O. Box 74008133
 Chicago, IL 60674-8133



 Pablo Martinez Zurita
 1335 Sanford Avenue, Apt. E
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 Pedro Martinez
 1528 Bush Avenue
 San Pablo, CA 94806



 Peerless Pattern Works
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 Portland, OR 97210



 PG&E
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 Sacramento, CA 95899-7300



 Pitney Bowes Global Financial
 Services LLC
 P.O. Box 371887
 Pittsburgh, PA 15250-7887



 Pitney Bowes Postage By Phone
 P.O. Box 371874
 Pittsburgh, PA 15250-7874




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 Polymeric Technology Inc
 Poly-Tek
 1900 Marina Blvd. Suite A
 San Leandro, CA 94577



 Portland Manufacturing
 7715 Ne 21St Ave
 Portland, OR 97211



 Posi-Flate
 Jessie Howe
 1125 Willow Lake Blvd
 St Paul, MN 55110



 Praxair Distribution Inc
 Dept La 21511
 Pasadena, CA 91185-1511



 Professional Finishing
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 Pulido Raul Villasenor
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 San Pablo, CA 94806



 Q C Services & Associates
 23101 Foley Street
 Hayward, CA 94545



 Quincy Compressor LLC
 Dept 3427 Lockbox 893427
 P.O. Box 123427
 Dallas, TX 75312-3427




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 Rain For Rent
 File 52541
 Los Angeles, CA 90074-2541



 Refugio G. Lopez
 533 S. 28th Street
 Richmond, CA 94804



 Republic Services #851
 P.O. Box 78829
 Phoenix, AZ 85062-8829



 Returned 11/14/18
 TIP Capital (Crestmark Bank)
 40950 Woodward Ave., Ste. 201
 Bloomfield Hills, CA 48304



 Returned 11/14/18
 All-Lines Leasing
 100 Prairie Center Drive
 Eden Prairie, NM 55344



 Returned to Landlord 11/28/18
 Berkeley Properties LLC
 7 West 41st Ave., #523
 San Mateo, CA 94403



 Richard G Mitchell
 4505 McGlothen Way
 Richmond, CA 94806



 Ridge Cast Metals Corp
 1554 Doolittle Drive
 San Leandro, CA 94577




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 RJMS Corporation
 Toyota Material Handling
 P.O. Box 398526
 San Francisco, CA 94139-8526



 Robert Half Management Resources
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 Los Angeles, CA 90074-3295



 Robert M Simas
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 Rosemount Analytical - Pad Raio
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 Rotex Inc
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 Cincinnati, OH 45263-0317



 Rui P Costa
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 S.L. Fusco Inc.
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 Compton, CA 90224



 Saia Motor Freight Line LLC
 P O Box 730532
 Dallas, TX 75373-0532




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 Salvador Moreno
 183 Maureen Circle
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 Salvador Suarez
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 Tracy, CA 94376



 Salvador Navarro Zandoval
 232 South 43rd Street
 Richmond, CA 94804



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 Stevens Point, WI 54481-8045



 Sergio Pedroza
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 Shell Core Specialties
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 Boring, OR 97009



 Shred-It USA
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 Chicago, IL 60673-1288



 Simpson Technologies Corporation
 39618 Treasury Center
 Chicago, IL 60694-9600




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                                       699                                          468
 Sonny Louang
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 Richmond, CA 94801



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 P.O. Box 530426
 Livonia, MI 48153



 Speyside Fund LLC, Agent
 24 Frank Lloy Wright Dr., Ste. 3225
 P.O. Box 484
 Ann Arbor, MI 48106



 State Water Resources Control Board
 Attn: Afrs
 P.O. Box 1888
 Sacramento, CA 95812-1888



 Talx Uc Express
 4076 Paysphere Circle
 Chicago, IL 60674-4076



 The Howard E Nyhart Company Inc
 Attn: Finance Department
 8415 Allison Pointe Blvd. Suite 300
 Indianapolis, IN 46250



 Thermo Electron North America LLC
 P.O. Box 742775
 Atlanta, GA 30374-2775



 Tomas Padilla Welding Services
 1241 Peach Place
 Concord, CA 94518




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                                                             13:34:49 Page
                                                                       Page85469 of
                                                                              of 88
                                       699                                          469
 Tony R. Silva
 6362 Ebensburg Lane
 Dublin, CA 94568



 Tyco Integrated Security LLC
 P.O. Box 371967
 Pittsburgh, PA 15250-7967



 Tyrone E. Osborne
 77 Solano Square , #256
 Benicia, CA 94510



 Uhy LLP
 P.O. Box 8505
 Carol Stream, IL 60197



 United Contract Services Inc
 1161 Ringwood Court Suite 170
 San Jose, CA 95131



 Valley Rubber & Gasket
 A Lewis-Goetz Company
 P.O. Box 31001-1893
 Pasadena, CA 91110-1893



 Vancouver Iron And Steel Inc
 1200 W 13Th St
 Vancouver, WA 98660-2726



 Von Lavanh
 5014 Creely Avenue
 Richmond, CA 94804




Case: 19-40193
Case: 19-04057 Doc#
               Doc# 185 Filed:
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                                10/02/20 Entered:
                                           Entered:01/25/19
                                                    10/02/2015:24:49
                                                             13:34:49 Page
                                                                       Page86470 of
                                                                              of 88
                                       699                                          470
 Wells Fargo Vendor Fin Serv
 P.O. Box 51043
 Los Angeles, CA 90051-5353



 Wille Electric Supply Co
 P.O. Box 3246
 Modesto, CA 95353



 XPO Logistics Freight Inc
 P.O. Box 5160
 Portland, OR 97208-5160



 XPO Logistics Inc
 27724 Network Place
 Chicago, IL 60673-1277



 Yuheng He
 412 International Blvd
 Oakland, CA 94606




Case: 19-40193
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               Doc# 185 Filed:
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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      Pacific Steel Casting Company LLC                                                              Case No.
                                                                                   Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Pacific Steel Casting Company LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 25, 2019                                                      /s/ Tracy Green
 Date                                                                  Tracy Green 114876
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Pacific Steel Casting Company LLC
                                                                       Wendel, Rosen, Black & Dean LLP
                                                                       1111 Broadway, 24th Floor
                                                                       Oakland, CA 94607-4036
                                                                       (510) 834-6600 Fax:(510) 834-1928
                                                                       tgreen@wendel.com




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           Case: 19-40193
           Case: 19-04057 Doc#
                          Doc# 185 Filed:
                                    Filed:01/25/19
                                           10/02/20 Entered:
                                                      Entered:01/25/19
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            EXHIBIT “11”

Case: 19-04057   Doc# 85   Filed: 10/02/20 Entered: 10/02/20 13:34:49   Page 473 of
                                         699                                          473
  Fill in this information to identify the case:

  Debtor 1         Pacific Steel Casting Company LLC

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the:           Northern               District of         CA
                                                                                         (State)
  Case number           19-40193 RLE




Official Form 410
 Proof of Claim                                                                                                                                                       04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                  Berkeley Properties, LLC
                                  Name of the current creditor (the person or entity to be paid for this claim)

                                  Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                   ~     No
   someone else?                   □ Yes. From whom?
3. Where should notices           Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                        different)
   creditor be sent?
                                  Berkeley Properties, LLC c/o Michael Lauter                                 Berkeley Properties, LLC, attn: Matthew English
   Federal Rule of                Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                 4               Embarcadero Center, 17th Floor                              7               West 41st Avenue - #523
                                  Number           Street                                                     Number          Street
                                  San Francisco                    CA                        94111            San Mateo                CA                      94403
                                  City                             State                           ZIP Code   City                             State               ZIP Code

                                  Contact phone             (415) 434-9100                                    Contact phone             (415) 839-8488
                                                                                                                                       ssp.bp.pa@arch-
                                  Contact email        mlauter@smrh.com                                       Contact email               beam.com


                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend           ~     No
   one already filed?
                                   □     Yes. Claim number on court claims registry (if known)                                            Filed on
                                                                                                                                                     MM / DD / YYYY



5. Do you know if anyone           ~     No
   else has filed a proof
   of claim for this claim?        □     Yes. Who made the earlier filing?


   Official Form 410                                                        Proof of Claim                                                                   page 1

             Case:
               Case19-04057
                     19-40193 Doc# 851-1Filed:
                               Claim           10/02/20
                                            Filed 01/28/19Entered: 10/02/20
                                                            Desc Main       13:34:49 Page
                                                                       Document       Page1 of474 5 of
                                                                                        American LegalNet, Inc.

                                                      699
                                                                                        www.FormsWorkFlow.com
                                                                                                               474                                   [ ========-.. . : . .,_
 Part 2:      Give Information About the Claim as of the Date the Case Was Filed

 6. Do you have any number        [8J No
    you use to identify the
    debtor?
                                  □ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:

7.    How much is the claim?        $           1,732,869.90                . Does this amount include interest or other charges?
                                                                               [8J No
                                                                              □    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                  Limit disclosing information that is entitled to privacy, such as health care information.


                                  Breach of Lease (See Addendum)


 9. Is all or part of the claim   [8J No
    secured?
                                  □ Yes. The claim is secured by a lien on property.
                                            Nature of property:

                                           □  Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.

                                           □ Other.
                                             Motor vehicle

                                           □        Describe:



                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                            Value of property:                           $
                                            Amount of the claim that is secured:         $

                                            Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                   amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                $


                                            Annual Interest Rate (when case was filed)               %

                                            □   Fixed

                                            □   Variable



10. Is this claim based on a
    lease?                        □ No
                                  [8J Yes. Amount necessary to cure any default as of the date of the petition.                $   N/A - Lease Terminated


11. Is this claim subject to a    [8J No
    right of setoff?
                                  □ Yes. Identify the property:

     Official Form 410                                                Proof of Claim                                                             page 2
            Case:
              Case19-04057
                    19-40193 Doc# 851-1Filed:
                              Claim           10/02/20
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                                                                                                                                        www.FormsWorkFlow.com
                                                     699
12.Is all or part of the claim    ~      No
  entitled to priority under
  11 U.S.C. § 507(a)?             □ Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly            □ 11Domestic support obligations (including alimony and child support) under
                                          U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                     $
   priority and partly
   nonpriority. For example,
   in some categories, the
   law limits the amount
                                         □ personal,
                                           Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
                                                     family, or household use. 11 U.S.C. § 507(a)(7).                                             $
   entitled to priority.

                                         □ bankruptcy
                                           Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                                      petition is filed or the debtor’s business ends, whichever is earlier.                      $
                                              11 U.S.C. § 507(a)(4).
                                                                                                                                                  $
                                         □ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                         □ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $


                                         □ Other. Specify subsection of 11 U.S.C. § 507(a)(                      ) that applies.                  $
                                         * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.




Part 3: Sign Below

The person completing            Check the appropriate box:
this proof of claim must
sign and date it.                ~ I am the creditor.
FRBP 9011(b).
                                 □ I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP             □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes            □ I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
courts to establish local
rules specifying what a          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
signature is.                    amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,      and correct.
 imprisoned for up to 5
 years, or both.            I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.                                              01/28/2019
                            Executed on date
                                                           MM / DD / YYYY




                                         Signature



                                 Print the name of the person who is completing and signing this claim:

                                 Name                 Matthew English
                                                          First name                          Middle name                             Last name

                                 Title                Manager of Arch & Beam Global, LLC, Court Appointed Plan Administrator
                                 Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                 Address              7                     West 41st Avenue - #523
                                                          Number            Street

                                                      San Mateo                                                       CA             94403
                                                          City                                                         State          ZIP Code

                                 Contact phone        (415) 839-8488                                                  Email    ssp.bp.pa@arch-beam.com


Official Form 410                                                            Proof of Claim                                                                page 3

          Case:
            Case19-04057
                  19-40193 Doc# 851-1Filed:
                            Claim           10/02/20
                                         Filed 01/28/19Entered: 10/02/20
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Case:
  Case19-04057
        19-40193 Doc# 851-1Filed:
                  Claim           10/02/20
                               Filed 01/28/19Entered: 10/02/20
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                                                          Document       Page  477
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                                         699                                           477
                                                                    .
                                  ro         s                  .
                       o lF   r                                         .

                     15% of Future Rent (502(b)(6)    $1,732,869.90
                     Cap)

             o          r c          s    s rr   r       r m s s o rk l
 ro r s     oor co    o . mo o r          s    r ms sw r        s ll r co m
      r o s m r ls sc r       o o      r ms s                     r mo     s m
  m s rom      r m s s r or o           mo r w c     s l o loo               o l
  m s low       rom s c loo    .   rk l    ro r s s        roc ss o c lc l     s
     o l m s w c r o s            c o     c o      kr c o s c o
w ll          m       m m        o s roo o l m           r      .

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   m       m m           rm ss l         r   lc l l w          l      o l roo s o cl m or
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or ro      r .

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          or     o r      rso     rso s      or       s.   rk l     ro r s   r ssl
r s r s ll r   s ccr         o          l  o     s roo o   cl m s o               s o l
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  ro r s r     s cl ms    or c s s o c o s.




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Case:
  Case19-04057
        19-40193 Doc# 851-1Filed:
                  Claim           10/02/20
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                                         699                                           478
                          AIR COMMERCIAL RE_A L ESTATE ASSOCIATION
               STANDARD INOUSTRIAUCOMMERCIAL SINGLE-TENANT LEASE-- NET
                                            (DO NOT USE THIS FORM FOR MUL Tl•TENANT BUILDINGS)

      1.         Basic Provisions ("Basic Provisions").
                 1.1     Partios: This Leaso ("Loaso"), dated for reference purposes only                                 August 29,          2 0 14
      is made by and between Be.r k eley P.roperties ,                LLC, a California l i mited liability company
                                                                                                                                                            ("Lessor")
      and Pacific Steel Casting Company LLC,                             a Delaware limited liability company
                                                                                                                                                           ("Losso "),
      (collectively Iha "Partie,.," or individually a "Party").
                 1.2     Premises: That certain real property, lndudlng all Improvements !herein or to be provided by Lessor under !he terms of this Lease ,
      and commonly known       es 13 33 2 nd Street, 1310 3rd Street, and 64 0 Gilman St.re et , 13erkeley
      located In tho County or _
                               A_l _run
                                     _ e_d_a _ _ _ _ _ _ _ _ _ _ _ _ __                         . State of California
      and generally desclibed as (descr1be briefly lhe nature of the property and, If applicable , lhe "ProJoct", If the property Is located within   a Project)



      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ("Premises"). (See also Paragraph 2)
            1.3 Term: 15        years and 0      months("OrlglnalTerm")commencingAug)lSt 29, 2 0 14
      ("Commencomont Dato") and ending August               28 , 2029                                                ("Expiration Date"), (See also Paragraph 3)
                 1.4     Early Possession: If the Premises ore available Lessee may have non-exctuslvo possession of 1116 Promises commencing
      N/A                                                                                     ("Early Possession Date") . (See also Paragraphs 3.2 and 3.3)
                 1.5     Base Rent: $8 9 1 5 54 . 00         per month ("Base Rent''), payeble on the first                                                        day of
      aaeh month commencing on t h e commencement Date
                                                                                                                                            • (See atso Paragraph 4)
      li!l If this box Is checked. there are provisions In this Lease for the Base Rent to be adjusted. See Paragraph -"5-=l_ _ _ _ __

                 1.6    Security Dopoelt: $89,554.00 ("Security Depo111t")
                 •'h,li--l:IHe.f'l,ent-and.Qlher-Monlff.f'•~ec;11tlont
      - - - - --{aajj---liiB~•'"">-Rlil,en"-$Q . Q(j                    kl~eliod


                                                                                  ("Securlty-e.poall"), ~Sue alto l'ar&graflh-4)
                                                                                   lor uie peftod


                         !&)     Tollll Due Upon &uculioA oflhl1 LHH: $Q . QQ

                 1.7     Agrood Uso: cast s eel foun d .ry operation, related office function s and any other
      legall y permitted uses                                                                                                           •   (See also Paragraph& 6


                 1.8     Insuring Party: bei&9f Le6&ee Is the "Insuring P1rty" unless otherwise stated herein. (See also Paragraph 8)
                 1.9     Real Estato Brokers: (See also Paragraph 15)
                         (a) Representation: The following real eslate brokers (the "Brokers") and brokerage relationships exist In this tran saction (cheek
      applicable boxes):

      □ NIA                                                                                                   represents Lenor exclusively ("Lenor's Broker'');
      O N/A                                                                                               reprosents Lessee excluslvoly ("Lessee's Broker"): or
      ON/A                                                                                         represents both Lessor and Lessee C'Dual Agency").
                         (b) Payment to Brokers: Upon execution and delivery of this Lease by both Parties, Lessor shall pay to the Broker the fee agreed to
      In their separate written agreement (or II there Is no such agreement, the sum of N/ A                         or N/ A                % or the total Base Rent)
      ror the brokerage services rendered by tho Brokers.
                 1.10    Gu1rantor. The obllgaUons or the Lessee under lhis Leese are to be guarunteecl by _ _ _ _ _ _ _ _ _ _ _ _ _ __
      - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - ("Guuantor''). (See also Paragraph 37)
            1.11 Attachments. Altaehed hereto are tho fo llowing, an o( whfcll consmuto a part of this Lease:
      It! a ~ Addo~dun,i, consisting of Paragraphs 51                                          through   _6_0_ _ _ _ _ __
      D a plot plan depicting Iha Promises:
      0 a current set of the Rules and Regulatlons:
      0 a Work Letter;
      0    other (specify): - -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                                                                    PAGE 1 OF 18

      INITIALS
                                                                                                                                                          :::W::
                                                                                                                                                          INITIALS

      @2001 • AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                                         FORM STN-11-8/0BE
Case:
 Case19-04057
      19-40193 Doc#
               Claim851-1 Filed:
                           Part 210/02/20     Entered:Desc
                                    Filed 01/28/19     10/02/20 13:34:49
                                                           Exhibit          Page
                                                                   1(a) - Lease   4791of
                                                                                (Part
                                         699
                  - split up into 3 due to file size) Page 1 of 8                        479
       2.           Premises.
                    2.1        Letting. Lessor hereby leases to Lessee, and Lessee hereby leases lrom Lessor, the Premises, for the term, al the rental. and
       upon all of the terms, covenants and condrtions set forth in this Lease. While the approximate square footage of the Premises may have been used in
      the marketing of the Premises for purposes of comparison, the Base Rent stated herein is NOT tied to 5'1Uare footage and is not subject to adjustment
       shou ld the actual size be determined to be different. Note: Lessee is advised to verify the actual size prior lo executing this Lease.
                    22         Condition. Lessor shall deliver the Premises to lessee broom dean and free of debris on the Commencement Oate or the Early
       Possession Date, whichever first occurs ("Start Date") .. and, 68 lang as Iha mquired ••~•se Gaatraol• desGl'ibed in Pa,agraptl 7 1(Ill bola,.. am

      oll1alned b>t Lessee and in el'kl61 '"lilllin lllilly days lollouong lho Stall Qaie.'"""""1£
                                                                                                 lllat lee,:;or makee no repreeentatlon or warrant;y ihat the
      existing eleclrical. plumbing, fire sprinkler, lighting, heaUng, ventilaUng and air conditioning systems ("HVAC"), loading doors. sump pumps, tt any, and
      all other such elements In the Premises, olAer U,a,n these sensmi61ed by bossea, shall be in good operating condition on said date, that the structural
      elements of lho roof. bearing walls and foundation of any buildings on the Premises (the "Building") shall be free of material defects. or and that the
      Premises do not contain hazardous levels of any mold or fungi defined as toxic under applicable slate or federal law. If a nan somplianse ,.;111 sai~
      ~ 6 " < l r lhe Stall !:.late, er if one of 6'1Gh sysl-6 or ele,..enl£ should malfimGlien er fail willlin Ille apl'f'IIIR3te                     ""'"""1¥ pe,;ed, bessa,
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      '"'alf.anl)· peFieds shall be as fulleurs ; (i) G months as te the Ml 4A,C sysloms, aad !iil 30 da)ls as to Ille mmaining ~•toms and other elements or lhe
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      er fall are   shall tie the obligaUoA ef Lessee at uissoe's solo so61 and 01t11onso,

               2.3    Compliance. Leaeor repreaenta and warranta that uee of the Premleee ae a foundry with related
      office and warehouee uee le a permitted uee within the zone wherein the Premleee le located under the City of
      Berkeley ordlnancea. Leeeor ehall ol1taln and deliver to Leeeee prior to occupancy a Zoning Reaearch Letter
      from the City of Berkeley confirming that euch uee le permitted. If required by the City of Berkeley, Leeeor ehall
      aleo o11taln a certificate of occupancy with reepect to the Prem/eee leeued by tho City of Berkeley In connection
      with Leeeee'e occupancy of the Premleee, and ehall at Leeeor'e expenee addreee and correct any mattere
      requ ired by the City fn order to ol1taln the Certificate of Occupancy. Except ae provided al,ove. Lessor makee no
      repreeentatlon or warranty that maf!'anl£ lllat 10 Ille best ol ils kA8'·4edge the improvements on the Premises comply with Ille building cedes,
      applicable laws. covenants or restrictions of record , regulations, and ordinances ("Applicable Requirements") lllal wore in el'kl61 at the time Illa! sash
      impm•,emeAt, or peFIJen llleraof, was GOA61A!oled . Saia ,,,-amint,,• does aot apply le tl'le use ta whi~ bessee will pul Ille P r a m i ~
      may be ro~uimd by Ille AmeriGaAs ..,,Ill l:.lisabililios A61 er aay similarla,.,s as a ms"II ofLosseo's use {soe Parag,apl'I 5Qj, orie aAy Alterallaas or I.Jtlllty

      lmtal ·                                                ~ NOTE: lessee Is Fe&p8A&lbl& fer determining whett:ier
      or net Ule Applicable Reqwiroments, and e&pecially Ule 20Aing, are appropriate fer be66ee's Intended u68, and
      ackne,...,1edges lt:iat past wses ef tile PF&mises may A8 lenger be allewed. If Ille PremiO&G do not oomply u;ith said •-,amiAty,
      Losser shall. o~sopt as ollloR,•iso pre.,.aea , !)'8mptly after reseipl or wlillon neijsa !fem Lessee sol~ng lollh u;th speGifiGily ll'lo nature a Ad el<loat or
      suGh A8A Gompliaaso , raGUfy Ille same at bessa(s e~pense . II Lessee does Aol gl'"o Lessor "'Allen AoUso of a Aon oomplian68 u~th lllis "OIFl'aaly •,•;thin
      li--moo!h6 follo,•4Ag Iha Start l:.lato, GSA"-eGijQA of lhal AOA 68mplianGO &hall be #lo oeligaUon el Lessee al L06688'S solo 6861 ana 0ltll0A60,                     If the
      Applicable Requirements are hereafter changed so as to require during the term of this Lease the construction of an addillon                    to or an alteration of the
      Premises and/or Building, the remediation of any Hazardous Substance. or the reinforcement or other phys,cal modification of the Unit, Premises
      and/or Building C'Capltal Expenditure"), Lessor and Lessee shall allocate the cost of such work as follows:
                         (a) Subject to Paragraph 2.3(c) below, whether or not if such Capital Expenditures are required as a resu lt of the specific and
      unique use of the Premises by Lessee as compared with uses by tenants in general, Lessee shall be fully responsible for the cost thereof, provided ,
      however that If such Capital Expenditure Is required during the last 2 years of this Lease and the cost thereof exceeds 6 months' Base Rent, Lessee
      may instead terminate this Lease unless l essor notifies Lessee, in writing, within 10 days after receipt of lessee's termination notice that Lessor has
      elected to pay the difference belween the actual cost thereof and an amount equal to 6 months' Base Rent. If Lessee elects terminalion , Lessee shall
      immediately cease the use of the Premises which requires such Capi1al Expenditure and deriver to Lessor written notice specifying a termination date at
      least 90 days thereafter. Such termination date shall, hOwever, In no event be earlier then the last day that Lessee could legally utilize the Premises
      without commencing such Capilal Expendtture .
                              (b) If sucl'I Capilal !.ltllon<lituFe is ROI tho resull ol tho spoGif<s aad uAique use of Ille Premises by Lossoo (suGh as, gouommentally
      mandated solsml& -dificaUonsj . tla9n Lesser shall pay lar sush Capilal E!qlonditum an<l Lessee shall only be ot>ligaled to pay, eash month dufiRg-llle
      remainder of Ilia to,m of 1111& Lease or oAy extension lheraol, an tho date lllal on u<Jl\ct, tho Base Ren \ Is d ~ ta 144111 of the pollion of
      &uGh 68616 masoAably alllibutablo to l/1e Pmmisos, Lessee shall pay ln18rest on Ille balan68 llut may prepay its obligahA at aAy lilRo , 11, h0'"8"8f,
      sush Capltal !.ltlleadilure is Fe quired ourang Ille last   2 yea,i; of lhis baaso er   ~   bossor masenall~ detem:1ines lhat it is net ooonemisally feasilllo le pay
      lls share ll'lemel, Lesser shall hauo 1110 oplloA lo te,minale this bease upen 9g day& prior ~lie A Rolise 18 Lessee unle66 Lessee notifies Lesser, iA
      WRIIA!~...U:IIA--W-<la"IS--all--~~>l-l.--'6-ll8"114Aalk>A-RGttik  'GO:&-IU!ihalal~bo&lG>llS.088&-<o'"'llqll-ill~ Capital elCl)0Adilure . If b8668F doee A9t oloGI 18
      tem1inate, BAO falls lo 18A98r Its sham ol any 6UGh Capilal e,q,)8Adltura, Lessee may ad•-an68 6UGR funds and deduct same , .. ,11; IAtemst , !fem ReAI
      UAtil Losse(s sha<e ol sueh 00616 ha"o bee A fully paid, If b86699 is unable le fiR0R60 l066Q(S Gha~. or if 1118 balaAG0 al tho Ro Al QUO and payable fur
      ~-eaGe-ls-not--suffiGienl..~sot-basis..,l,essee--6hall-rni~~
      days "',men AOQC0 18 Ul6G9r
                              (c) Notwithstanding 1he above, the provisions ccnceming Capital Expenditures are intended to apply only to non-voluntary,
      unexpected, and new Applicable Requirements . If the Capital Expenditures are Instead triggered by Lessee as                         a   resutt of an actual or proposed
      change In use, change in Intensity or use , or modification to the Premises then, and in that even~ Lessee shall either: (i) immediately cease such
      changed use or intensity of use and/or take such olher steps as may be neaissary to eliminate the requirement for such Capital Expenditure,                           or (ii)
      complete such Capital Expenditure at Its own expense. Lessee shall not, however, have any right to terminate this Lease.
                    2.4       Acknowledgements. Lessee aeknowledges that: (a) tt has been given an opponunlly 10 inspect and measure the Premises, (b) it
      has been advised by L e s s o r ~ to satisfy ltse~ with respect to the size and condition of the Premises (indudlng but not limited to the



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      INITIALS
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                                                                                                                                                                   INITIALS

      ©2001 • AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                                                  FORM STN-11 -8/0BE
Case:
 Case19-04057
      19-40193 Doc#
               Claim851-1 Filed:
                           Part 210/02/20     Entered:Desc
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                                                           Exhibit          Page
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                                                                                (Part
                                         699
                  - split up into 3 due to file size) Page 2 of 8                        480
       electrical, HVAC and fire sprinkler systems, security, environmental aspects, and compliance with Applicable Requirements and the Americans with
       Disabilities Act), and their suitability for Lessee's intended use, (c) Lessee has made such investigation es It deems necessary with reference 10 such
       matters and assumes all responsibility therefor as the same relate lo lls occupancy of the Premises, (d) It Is not relying on any representation "'1•rdln9

      as to 11\o siioo of the Premises made by Bfakers ar Lessor, llXCept for 'the represertt.atlons set forth in this Lease, (e) !he square footage of the
      Premises was not malerial to Lessee's decision lo lease the Premises and pay !he Rent stated herein, and (f) neither Lessor, nor Lessofs agenls, ""'
      8rol<&/6 have made any oral or written representations or warranties with respect to said matters other than as set forth in this Lease. IR a<ldilion .
       bassar aGkna>·4oogas llaal: ~) llmko,s l<a•<e m a ~ n •. pmmisos or ""'minbos mnsorning bossao's ability 10 AOAOr tho boasa or
      &Yilabilil}• 10 a-.py tho Promises, and   (•l ii is bossMs solo responsibility la IA"'O&ligalo tho fiRaMial sapability and/or s"11al!i~ly of all proposed leRaAts,
                 2.5       bessee as PFiar OwnorlOGGupanl. ll1e waRaAties made              ~   Lo66or   ~   P:ar-agrapR 2 sRall be of AB k!Rie er effest if imn:iedialely




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      ~ o Stal'! [)ale bossoo •uas tho omnor or OGG.,pant 8f Illa PromiGos, In ouGh o~ont beGGeo sllall bo r-esponsifllo lor any noaosaaP/ Goorooliva



      3.         Tenn.
                 3.1       Tonn. The Commencement Date, Expiration Date and Original Term of !his Lease are as specified in Paragraph 1.3.
                 3.2       Earty Possession.      Any pm•osion heroin 9raAl.lng bessee liarljl Possession of tho Promises is subjeGI 10 and GORdltiOROG upon tt.o
      Fife mises being available fer sush "9SsessioR pFier lo Ille CemmenGement ~ I of Ea.rly PossessloR only oon·reys a ROA e~Glusl'"O Fight 10
      OGGupy Ille Promises. If bessee totally or pallially ossupies llle Pfomises pFior to tho CommonGomonl Dalo, Ille obligatioR to pay Base Rani shall be
      abaled fer Illa p0Fio0 of SYGh l!ar1y Possession . 011 olllor terms of this beaso (inslulling bul not llmilod to !ho obligaUons to pay Real Pmporl)' Ta~es
      and insuranG8 premlYms and to maintain Ille Premises) sllall be In offoGI during suGh pei:iod. 0J1y suGll l!aw,, Possession shall nal aff-661 !he elflliraoon
      Gate.
               3.3       Delay In Possession. Lessor ehall agroe>&-18-1a168-illl-<M161-<.0m;i-cially-ffl<1SO<mble-eff<>ll6-IO deliver possession of the Premises
      to Lessee by lhe Commencement Date . If, despite said efforts, Lessor is unable to deliver possession by such date, Lessor shall- be subject lo 3IIY

      lia bility lherefor, AOF shall suGll failwre a#e61 lhe ·mliail\' ef lt,is Lease. In addition to any other remedies available to Lee;eee, Lessee shall not,
      oowe-.        be obligated lo pay Rent or perform its other obligations until Lessor delivers possession of lhe Premises and any period at rent abatement
      !hat Lessee would olherwise have enjoyed shall run from lhe dale of delivery of possession and continue for a period equal lo What Lessee would
      otherwise have enjoyed under lhe lerms hereof, but minus any days of delay causeC1 by the acts or omissions of Lessee. If possession is no! delivered
      wilhin 60 days after lhe Commencemenl Dale, Lessee may, at its option, by notice in writing o•ithin 10 eays after lhe end of such 60 day period , cancel
      !his Lease, in which event lhe Parties shall be discharged from all obligations hereunder.
      ~ . bes&oe·s llglll lo sanGel &hall lermlnale. If po&sessioA of tho Promises is not doli.. ero<I ~"~Y• aftaf tho GemmoAGemoAI Oale , this
      b&ase-shall-~8fiil)F8&FA8Al&-aro-f&aehed bot•reeA beSSO( aAd 6416688 , iA "''Rting.
                 3.4       Lessee Compliance. Lessor shall no! be required to deliver possession of the Premises to Lessee until Lessee complies with Its
      obligalion to provide evidence of insurance (Paragraph 8.5).          Pending delivery of such evidence, Lessee shall be required 10 perform all of ils
      obligations u nder !his Lease from and after Ille Start Date, including lhe payment of Renl, notwilhstanding Lessor's election lo withhold possession
      pending receipt of such evidence of insurance. Further, WLessee is required to perform any olher conditions prior to or concurrenl with the Start Date,
      the Start Date shall occur but Lessor may elect to withhold possession until such conditions are satisfied.
      4.         Rent
                 4.1.      Rent Defined. All monetary obligations of Lessee to Lessor under the terms of lhis Lease (except ror the Security Deposit) are
      deemed to be rent ("Rent").
                 4.2       Payment      Lessee shall cause payment of Rent to be received by Lessor in lawful money ol lhe United States, without offset or
      deduction (except as specifically permitted in this Lease), on or before the day on which it is due. All monelary amounts shall be rounded lo the nearest
      whole dollar. In the event lhal any invoice prepared by Lessor is inaccurate such inaccuracy shall not conslitute a waiver and Lessee shall be obligated
      lo pay the amount set forth in this Lease . Rent fo r any pe~od during !he term hereof which is for less lhan one full calendar month shall be prorated
      based upon the actual number or days of said monlh. Payment of Rent shall be made to Lessor at its address stated herein or lo such other persons or
      place as Lessor may from time to time designate in writing. Acceptance of a payment which Is less than the amount lhen due shall not be a waiver of
      Lessofs rights to Ille balance of such Rent, regardless of Lessor's endorsement of any check so slating. In Ille event that any check, draft. or other
      instrument of payment given by Lessee to Lessor is dishonored for any reason , Lessee agrees to pay to Lessor the sum of $25 In addition lo any Late
      Charge and Lessor, at its option, may require all future Ren! be paid by cashier's cheek. Payments wm be applied first lo accrued lale charges and
      attorney's fees, second to accrued interest, lhen to Base Rent, Insurance and Real Property Taxes, and any remaining amount to any olher oulstanding
      charges or costs.
                 4,3       A&&eGiatien Fees,      In adoiijoA lo Illa Base Roni, lessee shall pay lo Lessor oasa moRth aA ameuAI equal te                   anv 0""181'-6
      a660GiatieA or GOAdorriRlum lees l& .. ied or asse&sed agalAst lhe Promises. Said -Ries shall be paid at Ille sarre tlmfHl!'ld IA the same manner as the
      Qase..R&Ak

      5.       Security Deposit Lessee shall deposit with Lessor on or prior to the Commencement Date ~ the Securily
      Deposit as securily for Lessee's faithful performance of its obligations under this Lease. If Lessee fails to pay Ren!, or olhetwise Defaults under this
      Lease , Lessor may use, apply or retain all or any portion of said Security Deposit for the payment of any amount already due Lessor, for Rents which
      will be due In the future, and/ or to reimburse or compensate Lessor for any liability, expense, loss or damage which Lessor may suffer or incur by
      reason thereof. If Lessor uses or applies all or any portion oJ lhe Security Deposit, Lessee shall within 1O days after wrillen requesl therefor deposit
      monies wilh Lessor sufficient to restore said Security Deposil to the full amount required by this Lease. If tile Base Roni insroasos dufiAg tile lorm of
      !his lease. bessoe shall, upon "~illen request f«lm bossoF, eepesil aaditional moAios nqlh lessor so lllal Ille 101a1 amOIHlkll the Sas,,rily oloposil shall
      al all Umas boaf Illa same pFopollion lo lllo inGroased Basa Rant as Ille in"ial S8GYRI)' Deposit bore 10 Illa initial Base Rent Should tile ◊.greed Use be
      amoAdee le aGoommodato a malei:ial shango in 11<0 llusinoss of basso a or lo aGoommodate a sublessee or assignee , bosser sl<all ha•,e Ille i:igl<I le


      may sulfilr as a row~                                                                is boase and fellowing susll GllaA90 llao fiAanGi al COll<lilioA of bessoe is,
      ~ ( s r-easonaklle judgment. signifisand)• roducad, bossee shall deposit sucil addllional monies "';th lessor as shall be suffiGianl 10 cause lhe
      SoGYFily Ooposil lo bo-al-a--Goo!meri;ially •oasonablo leuel based on &uGh Ghango iA fiAanGlal GOndilion . Lessor shall not be required lo keep the



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      INITIALS                                                                                                                                              INITIALS

      © 2001 - AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                                           FORM STN-11-8/0SE
Case:
 Case19-04057
      19-40193 Doc#
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                                                                                (Part
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                  - split up into 3 due to file size) Page 3 of 8                        481
      Security Deposit separate from its genera l accounts. Wllllin 90 days alter the expiration or termination of lhis Lease. Lessor shall return that portion of
      the Security Deposit not used or applied by Lessor. No part of the Security Deposit shall be consldered to be held in trust. to bear interest or to be
      prepayment tor any monies 10 be paid by Lessee under this Lease.
      6.            Use.
                    6 .1        Use. Lessee shall use and occupy the Premises only for the Agreed Use. or any other legal use which is reasonably comparable
      thereto . and for no other purpose. Lessee shall not use or permit the use of the Premises in a manner that is unlawful, &rnaleG daR1age , or waste e.-a
      nuisan&e , •r lhat di&Mts GG""pants er •r sauus damage t• neig!'lt>afing premise• er p""pe,tiet . Other 111an guide . signal and seeing eye deas.-i.e-
      Gtia ll   Rot keep or allo"' in tile Pr-eFRises a~ pat£. aAiJJ1als. DiFd&. fisf;I. gr FOplilo&-- Lessor shall not unreasonabty withhold or delay its oonsent to any
      written request for a modification of the Agreed Use, so long as the seme will not Impair the struCIIJral Integrity of the Improvements on the Premises or
      the mechanical or electrical systems therein, and/or is not significantly more burdensome to the Premises. If Lessor elects to withhold consent , Lessor
      shall withi n 7 days after such request give written notification of same , which notice shall include an e,q, lanallon of Lesso(s objections to the change in
      the Agreed Use.
                    6.2        Hazardous Substances.
                               (a) Reportable Uses Require Consent           The term ""Ha.zardous Substance" as used in lhis Lease shall mean any product,
      substance, or waste whose presence. use. manufaCIUre, disposal, transportation. or release, either by itself or in combination with other materials
      expecied to be on lhe Premises. Is either: (i) potentially Injurious to the public health , safety or welfare, the environment or the Premises, (ii) regulated
      or monitored by any governmen tal authority, or (iii) a basis for potential liability ol Lessor lo any governmental agency or third party under any applicable
      statute or common law theory. Hazardous Substances shall Include, bul nol be limited lo, hydrocarbons, petroleum. gasoline, and/or crude oil or any
      products, by-products or fractions thereof. Lessee shall not engage In any activity in or on the Premises which constitutes a Reportable Use of
      Hazardous Subslances without th e express prior written consent of Lessor and timely compliance (at Lessee's expense) with all Applicable
      Requirements. ""Reportable Use" shall mean (I) the installation or use of any above or below ground storage tank, (iQ the generation . possession ,
      storage, use , transportation, or disposal of a Hazardous Substance that requires a permit lrom, or with respect to which a report, notice, registration        or
      business plan is required to be filed with, any governmental authority, and/or (Ill) the presence at the Premises of a Hazardous Substance with re spect
      to which any Applicable Requirements requires lhal a notice be given to persons entering or occupying the Premises or neighboring properties.
      Notwithstanding the foregoing, Lessee may use any ordinary and customary materials reasonably required to be used in the norma.I course of the
      Agreed Use, ordinary office supplle.s (copier toner, liquid paper, glue, etc.) and common household cleaning materials, so long as such use Is in
      compliance with all Applicable Requirements. is not a Reportable Use, and does not expose the Premises or neighboring property to any meaningful
      risk of contamination or damage or expose Lessor to any liability therefor. In addition, Lessor may condition Its consent to any Reportable Use upon
      receiving such additional assurances as Lessor reasonably deems necessary to protect itself. the public, the Premises and/or the environment against
      damage, contamination, injury and/or liability, including, but not limited to, the Tn stallation (and removal on or before Lease expiration or termination} of

      proteciive modifications (sueh as concrete encasements) and/or increasing the Security Deposit.                  Notwlthetanalne anyth lne              to the
      contrary In the fore0oln0, Leeeor l e deemed to cone1ent to Reportat,/e Ueee of a k ind and character made In the
      operation            of the eteel caetln01:1 foundry l,uelneee1 acq,ulrea t,y Lee;e1ee concurrently with thle Leaee, e1ul,Ject to
      Le00ee' 0 continuing ol1I10atlon0 to comply with all Appllcal,l e Req,ulremente; in connecti on therewith .
                      (b) Duty to Inform Lessor. If Lessee knows, or has reasonable cause lo believe, that a Hazardous Substance has come to be
      localed in, on, under or about the Premises, other than as previously consented lo by Lessor, Lessee shall immediately give written notice of such fact
      to Lessor, and provide Lessor with a copy of any report. notice. daim or other documentation which it has concerning th e presence of such Haza rdous
      Substance.
                               (C) Lessee Remediation. Lessee shall not cause or permtt any Hazardous Substance to be spilled or re leased in, on , under,            or
      about the Premises (Incl uding through the plumbing or senitary sewer system) and shall promptly, at Lessee's expense, comply with all Applicable
      Requirements and take all investigatory and/or remedial action reasonably recommended. whether or not formally ordered or req uired, for the cleanup
      of any contamination of. and for the maintenance, security and/or monitoring of the Premises or neighboring propertJes, that was caused or materially
      contributed to by Lessee, or pertaining 10 or nvolvlng any Hazardous Substance brought onto the Premises during the term of this Lease. by or fo r
      Lessee, or any third party.
                               (d) Lessee lndemnffication. Lessee shall indemnify, defend and hold Lessor, its agents, employees, lenders and ground less0<,
      If any, ham,less from and against any and all loss of rents and/or damages, liabilities, judgments, claims, expenses, penalties, and attorneys' and

      consultants· fees arising out ol or involving any Hazardous Substance brought onto the Premises by or for Lessee. or any third party               au r ing the
      tenn hereof (provided. however. that Lessee shall have no liability under lhls Lease wilh respect to underground migration of any Hazardous
      Substance under tile Premises from adjacent properties not caused or contributed to by Lessee) . Lessee's obligations shall include, but not be limted
      to, the effects of any contamination or injury to person , property or the environment created or suffered by Lessee, and the cost of invesUgation,
      re moval, remed iation, restoration and/or abatement, and shall survive lhe expiration or termination of this Lease. No termination, cancellation or
      release agreement entered into by Lessor and Lessee shall release Lessee from its obligations under this Lease w ith respect to Hazardous
      Substances, unless specifically so agreed by Lessor In writing at the time of such agreement

                               (e) Lessor Indemnification.                Lessor and its successors and assigns shall indemnify , defend ,
      reimburse and hold Lessee , its employees and lenders , harmless from and against any and all environmental
      damages , includ ing the cost of remediation,                         which result from ' Undiec loeed Hazardoue 5ul1&tance&" a& defined
      1,elow In paragraph          56,    l=la!aFde~s s~eslaRses wh i sh e*isted BR the Promises prier le lessee's ess~~aAGY or
      which are caused by the gross negl igence or willful misconduct of Lessor, its agents or employees.                                                  Lessor's
      obligations , as and when required by the Applicable Requirements, shall include, but not be limited to , the cost
      of investigation , removal , remed i ation , restoration and/or abatement, and shall survive the expiration o r
      termination of this Lease. Leeeor ehall l,e entitled                       to a credit aealnet lte Indemnification ol1ll 0atlone                   under thle
      Paraeraph 6 .2(e) eq,ua l             to   the amount       of any purchae;e price reduction or other econom i c 1,eneftt received t,y
      Leaeee under            or purauant to the Aat'Jet Purchat'Je Aereement (ae; aeecrll,ed In Paraeraph 56) w ith reapect to
      the       event or circumstance elvlng r lee to Leeeor'e In demnification ol111 0atl on.

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      INITIALS

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Case:
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                                                                   1(a) - Lease   4821of
                                                                                (Part
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                  - split up into 3 due to file size) Page 4 of 8                        482
                           (f) Investigations and Remediations.          Lessor shall retain the responsibility and pay for any investigations or remediation

      measures required by governmental entities having jurisdiction with respect ta the exJstence of Undlecloeed Hazardous Substances on the Premises
      prior to Lessee's omipancy, ~Riess s~sR Fo111e'Eliati0R FRoaewFS is i:eq1:1ir-ed as a RIGi..I1 gf bescee's use (including NNtorations•, as defined in pa,=agraFJl=I
      7.3(a) bol8'"') 9f Ille Premises. IA ·YRIGh O'"ORI lo66eo shall bo rospaRsible   fur"'""'' 11aymont     Lessee shall cooperate fully in any such acti'lities   at the
      request of Lessor, lndudlng allowing Lessor and Lesso~s agents to have reasonable access to the Premises at reasonable times in order to carry out

       Lesso~s investigative and remedial responsibilities. !_e99or 9hall l.>e entitled        to   a credit agaln9t lt9 payment o1111gatlon9 under thl9
       Paragraph       6.2(f)   equal   to   the amount of any purchaee price reduction or other economic benefit received                                 l,y Leeeee
      under or pureuant          to   the Aeeet Purchaee Agreement (ae deecril>ed In Paragraph                             56)   with reepect      to   the event or
      c lrcumetance giving riae         to   Lea,;ior'a payment oblfgatlon.
                           (g) Lessor Termlnatlon Option. If a Hazardous Subslance Condition Involving   an Undlecloaed Hazardoua Sul>etance
      (see Paragraph 9.1(e)) occurs during the term of this Lease, unless Lessee is legally responsible therefor (In whic/1 case Lessee shall make the
      investigation and remediation thereof required by the Applicable Requirements and this Lease shall continue in full force and effect. but subject to

      Lessors rights under Paragraph 6.2(d) and Paragraph 13), Lessor 5hall may, at Lesso(s option . either (i) investigate and remediate such Hazardous
      Substance Condibon, if required, as soon as reasonably possible al Lessors expense.. in whic/1 event this Lease shall conUnue In full force and effect.

      or (ii) if the estimated cost to remedlate such condition exceeds~       18 times the      then monthly Base Rent or                $100,000,      whichever
      isgreater. give written notice to Lessee, within 30 days after receipt by lessor of knowledge of the oca,rrence of such Hazardous Substance
      Conditt on, of Lessors desire lo term!nate this lease as of the date 60 days following the date of such notice. In the event Lessor elects to give a
      Iermination notice, Lessee may , within 10 days thereafter, give written nolice lo Lessor of Lessee's commilment to pay the amount by which the cost of

      the remediation of suc/1 Hazardous Substance Condition exceeds an amount equal to ~                     18   times the then monthly Base Rent                    or
      $100,000, whichever is           greater. Lessee shall provide Lessor with said funds or satisfactory assurance thereof within 30 days following such
      commitment.      In such event, this Lease shal l continue in full force and effect.. and Lessor shall proceed to make such remediation as soon as
      reasonably possible after the required funds are avaUable. If Lessee does not give such notice and provide the required funds or assurance thereof
      within the time provided, this Lease shall terminate as of the date specified In Lessofs notice of termination .
                 6.3       Lessee's Compliance wiUl Applicable Requirements. Elccepl as otherwise pro'lided in this Lease. Lessee shall , at Lessee's
      sole expense, fully, diligently and in a timely manner, materially comply with all Applicable Requirements, the requlremenlS of any applicable fire
      insurance underwriler or rating bureau, and the recommendations of Lessol's engineers and/or consultants which relate in any manner to the such
      Requirements, without regard to whether such RequiremenIs are now In effect or become effective after the Start Date. Lessee shall , within 10 days
      after receipt of Lesso~·s wntten request, provide lessor with copies of all permits and other documents. and other information evidencing Lessee's
      compliance with any Applicable Requirements specified by Lessor, and shall immediately upon receipt, notify lessor in writing (with copies of any
      documents involved) of any threatened or actual claim. notice, citation, warning, complaint or report pertaining to or involving the failure of Lessee or the
      Premises to comply with any Applicable Requirements.~ i , • e wmleR Aetiae to besser el:                                             i11 aiay "'a!or damage 18 Ille
      P,emi6es aRd a,iy suspeGled 68epage, pooling, dampn&&6 or otl:ler aoMilioR oondual·e 10 ll>e produGllon of mold : er ~ll a,iy mustines6 o r ~

      tJ;al-might indisa1e Ille p,esence of mold In the Premi&e6. Notwlth5tandl ng anything to the contrary In the foregolne, Leeeee
      shall not 11e re(\u lred to remedy            or to expend funde to correct any violation of Appllcal:>le Requirements existing
      on   the Commencement Date lnaofar ae euch                               remedy       or   correction would            reG\ufre repair, alteration,              or
      Improvement         of the Premlees, which ehall 1:>e Leeeor'e; eole reeponell:>llity.
            6.4            Inspection; Compliance. Lessor and Lessor"s "Lendel'' (as defined In Paragraph 30) and consultants shall have the right lo
      enter into Premises al any time, in the case of an emergency . and otherwise at reasonable times after reasonable notice. for the purpose of inspecting
      the condition of the Premises and for verifying compliance by Lessee with this Lease. The cost of any such inspections shall be paid by Lessor, unless
      a violation of Applicable Requirements, or a Hazardous Substance Condition (see paragraph 9.1) Is found to exist or be imminent, or the inspection is

      requested or ordered by a governmental authority ae; a r e5ult of U:5$<1e'6 epeclflc Ufle of the Premiee5. In such case, Lessee shall upon request
      reimburse Lessor for the cost of such inspection, so long as such inspection is reasonably related to the violation or contamination. In addition, Lessee
      sMII pro'lide copies of all relevant materia l safety data sheets (MSOS) to Lessor within 10 days of the receipt of a wntten request therefor.
      7.         Maintenance; Repairs, Utility lns1allations ; Trade Fixtures a.nd Alterations.
                 7.1       Lessee's Obligations.
                           (a) In General. Subject to the pro'lislons of Paragraph 2.2 (Condition), 2.3 (Compliance), 6.3 (Lessee's Compliance with Applicable
      Requirements), 7.1(d) (Replacement), 7.2 (Lessor's Obligations), 9 (Damage or Destruction), and 14 (Condemnation), Lessee shall, at Lessee's sole
      expense, keep the Premises. UUlity Installations (intended for Lessee's exclusive use, no matter where localed), and Alterations in good order, condition
      and repair (whether or not the portion of the Premises requiring repairs, or lhe means of repairing the same, are reasonably or readily accessible to
      Lessee , and whether or not the need for such repairs oca,rs as a resuH or Lessee's use, any prior use, the elements or the age of such portion of the
      Premises), Including, but not limited 10, all equipment or facilities, such as plumbing, HVAC equipment, electrical, lighting lacllilles, boilers, pressure
      vessels. fire protection system. fortures, walls (interior and exterior), foundations, ceilings, roofs, roof drainage systems, floors, windows, doors , plate
      glass, skylights. landscaping, driveways, par1<ing lots, fences, retaining walls, signs. sidewalks and parkways located In , on, or adjacent to the
      Premises. Lessee, In keeping the Premises in good order. condition and repair. shall exercise and perform good maintenance practices, spealliaall)•
      ~-llle-pmwrament a11~ mainlenance of tt>o &oPAGe GORlraGlB re~"i,ed by Paragraph 7.1(b) bel8'"'. Lessee's obligations shall include restorations,
      replacements or renewals when necessary to keep the Premises and all improvements thereon or a part thereof In good order, condition and state of

      repair. Lessee shall, during the lerm of this Lease, keep the exterior appea rance of the Building In good a lirGI cla&6 condition (including, e.g. graffiti
      removal) consistenl with paet practlcee; a nd the exterior appearance of other similar facilities of comparable age and size in the vicinity, including,
      when necessary, the ex1erior repainting of the Building . Notwlthetandln0 anyth ing to the contrary In the foregoln0. Leeeee
      has accepted the Premleee without Leeeor warrantlee ae                                to   conditi on and repair and lntenda                 to   operate lte
      ateel caetln0e l:>uelneee In the current condition and etate                                  of   repair      of   the Premleee.          Leeeee reeervee
      d i scretion to conduct maintenance and repair In accordance with lte                                    own   operating needs and practlcee and
      need    not   comply with any Leeeor rt:G\ueete for repair, repl acement                           or   and maintenance of partlcular lteme ae



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      19-40193 Doc#
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      they exlet on the Commencement Date, except to the extent the rel\uee;ted fteme; are reae;onal,ly expected to
      advere;ely affect health and eafety of occupante; and lnvlteee; of the Premie;ee.


      swstoma,y fo,m aRd s,
      impre1,ements, if any, if and when in&lalle<t on ihe PRlmises: fi) MHAC &'twipmenl, (ii) ~eileF, and pr.es&uRl Hessel&, fiii~ fiFe e1'1in9wic~ing ~;sio~s.
      iAGl"ding fire ala,m and/or smoke deteGlioA. ~") laAdscapiAg aAd lmgaijon &ystoms.         M mot oo•oeliAg aAd draiAs, aAd {•;) Glalifiers. Mc,,.,euer,   bessc,r
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      demand, tor tile GOSl U,e1oot

                        (c) Failure to Perfonn. If Lessee fails to perfonn Lessee"s obligations under this Paragraph 7.1 after written notice ana a
      reasomil:>le oppDrtunity to cur e, Lessor may enter upon the Premises after 10 days' prior written notice to Lessee (except in the case of an
      emergency, in which case no notice shall be required), perfonn such obligations on Lessee's behalf. and put the Premises In good order. condition and

                                                              100% of the cost thereof. Notwithotandlng anything to the




                                                                                                                                                                                Claim 1-1 Part 2 Filed 01/28/19 Desc Exhibit 1(a) - Lease (Part 1
      repair. and Lessee shall prompUy pay to Lessor a sum equal t ~
      contrary In the foregoing, Lessor shall not have the right to make maintenance or repairs of any item which
      Lessee, In the proper exercise of ite discretion under Section 7.1(a), chooeeo not to make or to defer to a later
      time.
                           (d) Replacement Subject to Lessee's indemnification of Lessor as set forth in Paragraph 8.7 below, and without relieving Lessee


      repaired other than at a cost which is in excess of 50% of the cost of replacing such item. then such item shall be replaced by Lessor, and the cost
      thereof shall be prorated between the Parties and Lessee shall only be obligated to pay, each month during the remainder of the term of this Lease, on
      the date on which Base Rent is due, an amount equal to the product of multiplying the cost of such replacement by a fraction, the numerator of which is
      one, and the denominator of which is 144 (ie. 11144th of the cost per month). Lessee shall pay Interest on the unamortized balance but may prepay its
      obligation at any time.




                                                                                                                                                                                   - split up into 3 due to file size) Page 6 of 8
              7.2      Lessor's Obligations. Subject to the provisions of Paragraphs 2.2 (Condition), 2.3 (Compliance), 7.1(d) (Replacement). 9
      (Damage or Destruction) and 14 (Condemnation), it Is intended by the Parties hereto that Lessor have no obligation, in any manner whatsoever, to
      repair and maintain the Premises, or the equipment therein, all of which obligations are intended to be that of the Lessee. It is the intention of the
      Parties that the terms of this Lease govem the respective obligations of the Parties as to maintenance and repair of the Premises, and they expressly
      waive the benefit of any statute now or hereafter in effect to the extent it is inconsistent with the terms of this Lease.
                7 .3       Utility Installations; Trade Fixtures; Alterations.
                           (a) Definitions. The tern, "Utllity Installations• refers to all floor and window coverings, air and/or vacuum lines, power panels ,
      electrical distribution, security and fire protection systems, communi cation cabling, lighting fixtures, HVAC equipment, plumbing. and fencing in or on
      the Premises. The tenn "Trade Fixtures" shall mean Lessee's machinery and equipment that can be removed without doing material damage to the
      Premises. The tenn "Alterations" shall mean any modification of the improvements, other than Utility Installations or Trade Fixtures, whether by
      addition or deletion. "Lessee Owned Alteration s and/or Utility Installations" are defined as Alterations and/or Utility Installations made by Lessee
      that are not yet owned by Lessor pursuant to Paragraph 7.4(a).
                           (b) Consent Lessee shall not make any Alterations or Utility Installations to the Premises without Lessor's prior written consenl
      Lessee may, however, make non-structural Alterations or Utility Installations to the interior of the Premises (excluding the roof) without such consent but
      upon notice to Lessor, as long as they are not visible from the outside, do not involve puncturing, relocating or removing the roof or any existing walls,




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      may, as a precondition to granting such approval, require Lessee to utilize a contractor chosen and/or approved by Lessor. Any Alterations or Utility
      Installations that Lessee shall desire to make and which require the consent of the Lessor shall be presented to Lessor in written form with detailed
      plans. Consent shall be deemed conditioned upon Lessee's: (Q acquiring all applicable governmental pennits, (ii) furnishing Lessor with copies of both
      the permits and the plans and specifications prior to commencement of the worl<, and (iiQ compliance with all conditions of said permits and other
     Applicable Requirements in a prompt and expeditious manner. Any Alterations or Utility Installations shall be performed in a workmanlike manner with
      good and sufficient materials. Lessee shall promptly upon completion furnish Lessor with as-built plans and specifications. l'or "''"R< ulhich soots aR
     amoaRt IR e." 6ess of oRe moRIA's Base ReRI, lessor may ooRditioR ii& OORS8RI apoR Le66ee pm•;diRg a lien aRd sempletieA boRd iA aA amoaAI eqaal
     to 1§0'1', of U,e estimated oost ef SYGh l\lteratieA or Ylilil)' laslallatioA aRd4lr apon Lessee's postiag aA aaaitional Seoonly Qepos~ with lessor.




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                           (c) Liens; Bonds. Lessee shall pay, when due, all claims for labor or materials furnished or alleged to have been fumished to or
     for Lessee at or for use on the Premises. which claims are or may be secured by any mechanic's or materialmen's lien against the Premises or any
     interest therein. Lessee shall give L essor not lass than 10 days notjce prior to lhe commencement of any worl< In, on or about the Premises, and
      Lessor shall have the right to post notices of no~responsibility. If Lessee shall contest the validity of any such lien. claim or demand, then Lessee
      shall. at its sole expense defend and protect Itself. Lessor and the Premises against the same and shall pay and satisfy any such adverse judgment that
      may be rendered thereon before the enforcement thereof. If Lessor shall require, Lessee shall furnish a surety bond in an amount equal to 150% of the
     amount of such contested lien. daim or demand, Indemnifying Lessor against liability for the same.
     Lessee shall pay Lesse(s allomeys· fees aaa sests
                7 .4       Ownership; Removal; Su"ender; and Restoration.

                            (a) Own ership. SabjeGI to Lesso(& light to reqai,e •e-"'al e, eleGI e 'Re~hip as he,eiRaller pre•Sdedrall A ll Alterations and
     Utility Installations made by Lessee shall be the property of Lessee, but considered a part of the Premises. bessor may, at aRy time. ele61 i R ulriliRg te


     "8rool;-all All Lessee Owned Alterations and Utility Installations shall, at the expiration or tennination of this Lease, become the property of Lessor and
     be surrendered by Lessee with the Premises.
                           nil Remo •at. Qv del~•ep; to bessee el• llilleR Rellse lrem Lesso, Rel eallie, lhan-00 aRd ROI later tllaR-3Q <Jays plier to U.e eRd of



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     ©2001 - AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                                        FORM STN-11-8/0BE
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                                                                  699                                                                                                     484
      roqYiF&d oonsent
                              (c) Summder; Restoration. Lessee shall surrender the Premises by the Expiration Dale or any eartier termination date, with all of

      the improvements, parts and surfaces thereof broom clean and free of debris, and in good operating order, condition and state of repair,             liut no
      l>etter than the condition and state of repair on the Commencement Date, ordinary wear and tear excepted.                          "Ordinary wear
      and tear" shall not include any damage or detertoration that would have been prevented by good maintenance practice. "•~ ;1hstanding U,e feregoing,
      ii lllis l ease is far U menllls or less. lllen lessee shall surrender Ille Premises in Ille same sendilioA as deli•,ered l o - ~ l a F t Elate with ~JO
      allo..,anse fer ordinaF)· n,ear and tear. Lessee shall repair any damage occasioned by the Installation. maintenance or removal of Trade Fixtures,
      Lessee owned Alterations and/or Utility Installations, furnishings, and equipment as well as the removal of any storage tank installed by or for Lessee.
      Lessee shall GGmplelely remove from the Premises any and all Hazardous Substances brought onto the Premises by or for Lessee, or any third party

      during the tem, hereof (except Hazardous Substances which were deposited via underground migration from areas outside of the Premises) to the
      extent required by Appllcai:>le Law e•ren ii sush remewl nreuld re<1wire lessee le perfe,m er pay fer n,efl< Uaat e11seods &laMory reqwi,emonts.




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      Trade Fixtures shall remain the property of Lessee and shall be removed by Lessee. Any personal property of Lessee not removed on or before the
      Expiration Date or any eartier termination date shall be deemed to have been abandoned by Lessee and may be disposed of or retained by Lessor as
      Lessor may desire. The failure by Lessee to timely vacate the Premises pursuant to this Paragraph 7.4(c) without the express written consent of Lessor
      shall constitute a holdover under the provisions of Paragraph 26 below.
      8.             Insurance~ Indemnity.
                 8.1          Payment For Insurance.      Lessee shall pay for all insurance required under Paragraph 8 except to the extent of the cost
      attributable to liability Insurance carried by Lessor under Paragraph 8.2(b) in excess of $2,000,000 per occurrence. Premiums for policy periods
      commencing prior to or extending beyond the Lease term shall be prorated to correspond to the Lease term. Payment shall be made by Lessee to
      Lessor within 10 days following receipt of an invoice.
                 8.2          Liability Insurance.




                                                                                                                                                                                 - split up into 3 due to file size) Page 7 of 8
                              (a) Carried by Lessee. Lessee shall obtain and keep in force a Commercial General Liability policy of insurance protecting Lessee
      and Lessor as an additional insured against claims for bodily injury, personal injury and property damage based upon or arising out of the ownership,
      use, occupancy or maintenance of the Premises and all areas appurtenant thereto. Suell insurance shall be on an occurrence basis providing single
      limit coverage in an amount not less than $1 ,000.000 per occurrence with an annual aggregate of not less than $2,000,000. Lessee shall add Lessor as
      an additional insured by means of an endorsement at least as broad as the Insurance Service Organization's "Addilional Insured-Managers or Lessors
      of Premises• Endorsement. The policy shall not contain any intra-Insured exclusions as between insured persons or organizations. but shall include
      coverage for liability assumed under this Lease as an "insured contract" for the performance of Lessee's Indemnity obligations under this Lease. The
      limits of said insurance shall not. however, lim~ the liability of Lessee nor relieve Lessee of any obligation hereunder. Lessee shall provide an
      endorsement on its liability policy(ies) whieh provides that its insurance shall be primary to and not contributory with any similar insurance carried by
      Lessor, whose insurance shall be considered excess insurance only.
                            (b) Carried by Lessor. Lessor may, a~ it,; oole CC5t and expenee, &llall-rnaintain liability insurance as described in Paragraph
      8.2(a), in addition to, and not in lieu of, the insurance required to be maintained by Lessee. Lessee shall not be named as an additional insured the<ein.
                 8.3         Property Insurance - Building, Improvements and Rental Value.

                             (a) Building and Improvements. The Insuring Party shall obtain and keep in force a policy or policies in the name of Lessor and
      Le55ee, with toss payable to Lessor, Lee,;ee, any ground-lessor, and to any Lender insuring loss or damage to the Premises. The amount of sueh
      insurance shall be equal to the full insurable replacement cost of the Premises, as the same shall exist from time to time, or the amount required by any
      Lender, but In no event more than the commercially reasonable and available Insurable value thereof.                  Lessee Owned Alterations and Utility
      Installations. Trade Fixtures. and Lessee's personal property shall be insured by Lessee Rot by lessor. If the coverage i s avanable and commercially
      appropriate, sueh policy or policies shall insure against all risks of direct physical loss or damage (except the perils of flood and/or earthquake IIRkl6&
      ,equi,ee b\ a beAee,), Including coverage for debris removal and the enforcement of any Applicable Requirements requiring the upgrading, demolition,
      reconstruction or replacement of any portion of the Premises as the result of a covered loss. Said policy or policies shall also contain an agreed
      valuation provision in lieu of any coinsurance clause, waiver of subrogation, and inflation guard protection causing an increase in the annual property
      insurance coverage amount by a factor of not less than the adjusted U.S. Department of Labor Consumer Price Index for All Urban Consumers for the
      city nearest to where the Premises are located. If sueh insurance coverage has a deductible clause, the deductible amount shall not e x c e e d ~
      $250,000 per occurrence, and lessee shall be liable for such deductible amount in the event of an Insured Loss.
                             (bl Rental Value. The Insuring Party shall obtain and keep in force a policy or policies in the name of Lessor with loss payable to




                                                                                                                                                                              Case 19-40193
      Lessor and any Lender. insuring the loss of the full Rent for one year with an extended period of indemnity for an additional 180 days ("Rental Value
      insurance"). Said insurance shall contain an agreed valuation provision in lieu of any coinsurance clause. and the amount of coverage shall be
      adjusted annually to reflect the projected Rent otherwise payable by Lessee. for the next 12 month period. Lessee shall be liable          tor any deductible
      amount in the event of such loss.
                             !6) Adja;enl P,emises If Uae Premises a,e part of a larger building, or of a grc,up of buileings O"A'l&d by besser,•mish ara a<ljasent
      le !Re Premises, the lessee shall pa~ fer      awt ins,,ease iA Iha   premiums .-.,, the properly iA<wraAse of s•sh buildiAg or bwlleings ii sale ln,;,ease is


                 8.,


      and Lessee Owned Alterations and Utility Installations. Such insurance shall be full replacement cost coverage with a deductible of not to exceed

      $126,000,000    $250,000 per occurrence. The proceeds from any such insurance shall be used by Lessee for the replacement of personal
      property, Trade Fixtures and Lessee Owned Alterations and Utility Installations. Lessee shall provide Lessor with written evidence that such Insurance
      is in force.
                             (II) Swsine&& lnloFAlplion    lessee shall obtain and mainlain loGG of insome and el(lfa e*pense inswranse in amownls as           "'•II
      er attRlcnlt391o ie pF0110Rtien ef assess &a tl:le Pre~ises as a Fesult of suoh poRIG



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                           (c) No Representation of Adequate Coverage. Lessor makes no representation that the limlts or forms of coverage of insurance
      specified herein are adequate to cover lessee's property, business operations or obligations under this Lease.
                 8.5       Insurance Policies. Insurance required herein Shall be by companies duty licensed or admitted to transact business in the stale
      where the Premises are located, and maintaining during the policy term a "General Policyholders Rating" of at least A•, VI, as set forth in the most
      current issue of "Best's Insurance G<Jide". or such other rating as may be required by a Lender. Lessee shall not do or permit to be done anything
      which invalidates the required insurance policies. Lessee shall. prior to the Start Date. deliver to Lessor certified copies of policies of such insurance or
      cerlificates evidencing the existence and amounts of the required insurance. No such policy shall be cancelable or subject to modificatioo except after
      30 days prior written notice to Lessor. Lessee shall, at least 10 days prior to the expiration of such policies, furnish Lessor with evidence of renewals or
      "Insurance binders" evidencing renewal thereof, or Lessor may order such insurance and charge the cost thereof to Lessee, which amount shall be
      payable by Lessee to Lessor upon demand. Such policies shall be for a term of at least one year, or the length of the remaining term of this Lease,
      whichever is less. If either Party shall fail to procure and maintain the insurance required to be carried by it, the other Party may, but shall not be
      required to, procure and maintain the same.
                 8.6       Waiver of Subrogation. Without affecting any other rights or remedies, Lessee and lessor each hereby release and relieve the




                                                                                                                                                                             Claim 1-1 Part 2 Filed 01/28/19 Desc Exhibit 1(a) - Lease (Part 1
      other, and waive their entire right to recover damages against the other, for loss of or damage to Its property arising out of or Incident to the perils
      required to be insured agains1 herein. The effect of such releases and waivers is not limited by the amount of insurance carried or required, or by any
      deductibles applicable hereto. The Parties agree to have their respective property damage insurance carriers waive any right to subrogation that such
      companies may have against Lessor or Lessee, as the case may be. so long as the insurance is not invalidated thereby.
                 8.7       Indemnity. Except for Lesso("11f{>86 negligence or willful misconduct, Lessee shall indemnify, protect, defend and hold harmless
      the Premises, Lessor and Its agents. Lesso(s master or ground lessor, partners and Lenders, from and against any and all claims, loss or rents and/or
      damages, liens, Judgments. penalties, attorneys' and consultants· fees. expenses and/or liabili1ies arising out of, involving, or in connection with, the use
      and/or occupancy or the Premises by Lessee. If any action or proceeding is brought against Lessor by reason of any of the foregoing matters, Lessee
      shall upon notice defend the same at Lessee's expense by counsel reasonably satisfactory to Lessor and Lessor shall cooperate with Lessee in such
      defense. Lessor need not have first paid any such claim in order to be defended or Indemnified.
                 8.8       Exemption of lessor and its Agents from Liability. Notwiths1anding the negligence or breach of this Lease by Lessor or its




                                                                                                                                                                                - split up into 3 due to file size) Page 8 of 8
      agents, neitller Lessor nor its agents shall be liable under any circumstances for: (I) injury or damage to the person or goods, wares, merchandise or
      other property of Lessee, Lessee's employees. contractors, invitees. cus1orners. or any other person in or about the Premises, whether such damage or
      injury Is caused by or results from fire. steam, electricity, gas, water or rain, indoor air quality, the presence of mold or from the breakage, leakage,
      obstruction or other defects of pipes. fire sprinklers, wires, appliances. plumbing, 'r-NAC or lighting fvctures, or from any other cause, whether the said
      injury or damage results from conditions arising upon the Premises or upon other portions of the building of which the Premises are a part, or from other
      sources or places, (fi) any damages aris,ng from any act or neglect of any other tenant of Lessor or from the failure of Lessor or its agents to enforce
      the provisions of any other lease in the Project, or (iii) injury to Lessee's bus,ness or for any loss of income or profit therefrom. Instead, " is intended
      that Lessee's sole recourse in the event of such damages or injury be to file a claim on the insurance policy(ies) that Lessee is required to maintain

      pursuant to the provisions of paragraph 8.
                 8.9      Failure to Provide Insurance. Lessee acknowledges that any failure on its part to obtain or maintain the insurance required




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      ins,ease in 8ase Rent reQFeGenl6 lair and reasenallle sempensaijen for Ille additional RGk'<aesls IRal Lesser o;il ins,., by ,easen el Lessee's lailu,e le




      9.         Damage or Destruction.
                 9.1      Definitions.
                           (a) "Prem ises Partial Damage" shall mean damage or destruction to the improvements on the Premises, other than Lessee
      Owned Alterations and Utility Installations, Which can reasonably be repaired in 6 months or less from the date of the damage or destruction. Lessor
      shall notify Lessee in writing within 30 days from the date of the damage or destruction as to whether or not the damage is Partial or Total.
      Notwithstanding the foregoing, Premises Partial Damage shall not include damage to windows. doors, and/or other similar items which Lessee has the
      responsibility to repair or replace pursuant to the provisions of Paragraph 7.1.
                           (b) "Premises To1al Destruction" shall mean damage or des1ruction to the Premises. other than Lessee Owned Alterations and




                                                                                                                                                                             Case 19-40193
      Utility Installations and Trade Fixtures, which cannot reasonably be repaired In 6 months or less from the date of the damage or des1ruction. Lessor
      shall notify Lessee In writing within 30 days from the date of the damage or destruction as to whether or not Ille damage is Partial or Total.
                           (c) "Insured Loss" shall mean damage or destruction to improvements on the Premises, other than Lessee Owned Alterations and
      Utility lns1allatioos and Trade Fixtures, which was caused by an event covered by lm;urance or required to be covered by the Insurance described in
      Paragraph 8.3(a). irrespective of any deductible amounts or coverage limits involved.
                          (d) "Replacemen t Cost" shall mean the cost to repair or rebuild the improvements owned by Lessor at the time of the occurrence
      to their condition existing immediately prior thereto, including demol~ion, debris removal and upgrading required by the operation of Applicable
      Requirements, and without deduction for depreciation.
                          (e) "Hazardous Substance Condition" shall mean the occurrence or discovery of a condition involving tlle presence of, or a
      contamination by, a Hazardous Substance , in, on, or under the Premises which requires remediation.
               9.2       Partial Damage • Insured Loss. If a Premises Partial Damage that is an Insured Loss occurs, then Lessee l.esoor--shall~
      Less•~• e"flense, repair such damage {bYI net Lessee's Trade F0011Fe6 er Le66ee o, ll'led /IJ~•atiens and Utility lnslallatiens) as soon as reasonably




      available to Lessee on a reasonable bas,s for that purpose. Notwitllstanding the foregoing, if the required insurance was not in force or the insurance




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      proceeds are not sufficient to effect such repair, the Insuring Party shall promptly contribute the shortage in proceeds (o,..;opt as le IRo dodwGliblo whiGll
      iG bessee's re&pensibilily) as and When required to complete said repairs.         In tile e•,ent, llO e ,er, swell sllertage   a& aue le Ille   raGt IRal, by reason ol
      ttae uRiqwo nalllre el IRe i"'pre'"o"'onl6,   r..11 replaoo ...ont oost insw,aneo oo•,e,ago ""'" ROI Ge"'"'efGially reasonable a•d auailable, lesser shall lla•,e ne
      obligatioA to pay lor the che~ago iA iAcuranse preceodc or to iwuy R11&&0F0 &t;ie 1..mi~ue 36f)BGIS of ~e ProFRisec wAless bessee pF9Hidoc boccor wilR lAe
      t.,nde t• G9'18f ca..,e, er adequate accu,anee IRemef, within 10 days felle"';nQ reeeipt el ...,;uen neijee ef cum clleFlaQe and mquect ttae,efer II bosso,




      chertage in pl'8GeeGs, In '"lhiGll ease Ihle boase shall mmain in 1<,11 18,ce and -GI. or (iij ha•,e ttalc beace terminate JO days tllemafteF. lessee shall
      nel be enijded 18 ,eimbw.,somenl 91 an•, funds oonl/ibuled b,• lessee le mpair an>, cueh damaQe er deG1.-..Glien. Pmmisec Partial l:lamaQe due lo ft<>od




                            PartJal Damage - Uninsured Loss.            If a Premises Partial Damage that is not an Insured Loss occurs, unless caused by a




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      RegligeRI er wil lful m lxonduct aGI of Lessee (in Which event Lessee shall make the repairs at Lessee's expense), Lessee l.66S9I' may either. (i)
      repair such damage as soon as reasonably possible a t ~ Les see's e>Q:>ense, in Which event this Lease shall continue In full force and effect. or
      (ii) terminate this Lease by giving written notice to ' - - Lessor within 30 days after receipt by i . -               Lessee of knowfedge of the occurrence of
      such damage. Such termination shall be effective 60 days following the date of su ch notice. In the event b<>&6<>, Lessee elects to terminate this Lease,
      leo6e& Lessor shall have the right within 1O days aft.er receipt of the termination notice to give written notice to L - Le,;see of l86668!& Lesoor',;
      commitment to pay for the repair of such damage without reimbursement from b<l&69< Lessee. be66II& l.e5sor shall provide b<l&69< Le,;see with said
      funds or satisfactory assurance thereof within 30 days aft.er making such commitment. In such event this Lease shall continue in full force and effect.

      and i . - Les5ee shall proceed to make such repairs as soon as reasonably possible after the required funds are available. I f ~ Lessor does
      not make the required commitmenL this Lease shall terminate as of the date specified in the termination notice.

                 9.4       Tot.al Destruction. Notwithstanding any other provision hereof, if a Premises Total Destruction occurs, Lessee may elect                       to
      tenninate this Lease cllall loFmiRate 60 days following a Pr emises Total Deetroction cuGll Qestruc:tiOA. If Le,;s ee d oe,; not elect to tennlnate
      this Lease, Le ssee shall repair a nd restore the Prem ise,; in accordance with Section 9 .2. 11 IRe damage ar deolRlc:lien was sawoed by tile
      ~ • • or willl<,I miocaRdwGI er l essee. lesser &llall lla•,e ttao rigi'lt te '9G8''8F bo&&e(& damages frQm lessee. oxeept as pl'<l•;de<I is
      Pa,ag,apll 8.6
                 9.5       Damage Near End of Term. If at any time during the last 6 months of this Lease there is damage for which the cost to repair




                                                                                                                                                                                                 Two of Three) Page 1 of 7
      exceeds one month's Base Rent, whether or not an Insured Loss, b<l&69< Lessee may terminate this Lease effective 60 days following the date of
      occurrence of such damage by giving a wrttten termination nofice to ' - - Lessor within 30 days after the date of occurrence of such damage.
      ~l•~••lhctaading ttae femgolag, if beccee at lhat time Ila• an 8lC81Cicable aptioR to el<leRd ttais lease er ta puFGllaso tlao PmFRises, tllon lessee FRay
      P'968A'8 tlais lease by, !al OK8FGi 6iRH SUGA eetian and !bl proYi<Jian besser u;lh aRv shertane iR iRSUFaAGe PFG68096 (er adequate a6GUFaR68 tla8Fe81l




      <eacaAable e•peAce. repair sueh daFRage as..,;oen as reasonably possible ana lllis lease shall seRijRue iR 11,11 ferne aRG effeGI                    If lessee fails4o
      ""8FGise swell aetioA aAd eFG•Ade sueh fuRds er assw<anee du<iAa sweh ee<i8d. then tlais boace sllall termiRate eR 1"8 date see~e<miRatlaA


                 9.6       Abatement of Rent; Lessee's Remedies.

                           (a) Abatemenl In the event of Premises Partial Damage or Premises Total Destruction or a Hazardous SubStance Condition                        for
      which Lessee is not responsible under this Lease,                 the Rent payable by Lessee for the period required for the repair, remediation or
      restoration of such damage shall be abated in proportion to the degree to Which Lessee's use of the Premises is impaired, bwt Ml 18 &J<Geed the
      p,oeeedc mceh,ed '"'"' ttae ReRlal l<alue iRsu,a•••· All other obligations of Lessee hereunder shall be performed by Lessee, and Lessor shall have no
      liability for any such damage, des1ruction, remediation, repair or restoration except as provided herein.
                           (b) Remedies. If Lessor is obligated to repair or restore the Premises and does not commence. in a substantial and meaningful
      way, such repair or restoration within 90 days aft.er such obligation shall accrue, Lessee may, at any time prior to the commencement of such repair or
      restoration, give written notice to Lessor and to any Lenders of Which Lessee has actual notice, of Lessee's election to terminate this Lease on a date
      not less than 60 days following the giving of such notice. If Lessee gives such notice and such repair or restoration is not commenced within 30 days
      thereafter, this Lease shall terminate as of the date specified in said notice. If the repair or restoration is commenced within such 30 days, this Lease




                                                                                                                                                                                       Case 19-40193
      shall continue in full force and effect. "Commence· shall mean either the unconditional authorization of the preparation of the required plans, or the
      beginning of the actual work on the Premises, whichever first occurs.
                 9.7       Termination; Advance Payments. Upon termination of this Lease pursuant to Paragraph 6.2(g) or Paragraph 9, an equitable
      adjus~n ent shall be made concerning adVance Base Rent and any other advance payments made by Lessee to Lessor. Lessor shall, in addition, return
      to Lessee so much of Lessee's Security Deposit as has not been, or is not then required to be, used by Lessor.
      10.        Real Property Taxes.
                 10.1      Definition.    As used herein, the term "Real Property Taxes" shall mea n all real p roperty t axes a nd gen eral, special
      district asseooments, rental receipts tax or other govemmtental Impositions Imposed on the Preml5e5 or Projeet. Real Property
      Taxes sha ll not Includ e any t axes Imposed on t he Met Income of Lesoor, any franchise or corporate taxes Imposed on Leseor, any
      t>uslrn:oo license fees Imposed on Lesoor or any transfer taxes asseooed on a sale or t ransfer of the Premises or Project. iRclude aRy
      form el assesoFReRI; real estate. gene,al, spesial, erdiM~• er eJ<traeFGiRary, er reAtal 18'')' er taic (otlaer ttaa• iRheetaRGe, pe,senal iAG8FR8 er estate




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      er any inereaco tllereia• (ij iFRpesed by reaseR al ewnts eoourriRg du<ing Ille term al tlai& lease, iRGl~ding but Rat 1;..,;199 to, a cllaRge in Ille eumersllip



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      el Ille F>,emises, and Eii) le•;ed er assessed en mas~in•FY er •~wipment pF8••ded ~)' lesser ta lessee pu,suant ta lllis lease.
                 10.2      Payment of Taxes. In addition to Base Rent. Lessee shall pay to Lessor an amount equal to the Real Property Tax installment
      due at least 20 days prior to the applicable delinquency date. If any such installment shall cover any period of time prior to or after the expiration or
      tenmination of this Lease, Lessee's share of such installment shall be prorated. In the event Lessee incurs a late charge on any Rent payment, Lessor
      may estimate the current Real Property Taxes, and require that such taxes be paid in advance to Lessor by Lessee monthly in advance with the
      payment of the Base Renl Such monthly payments shall be an amount equal to the amount of the estimated Installment of taxes divided by the
      number of months remaining before the month in which said installment becomes delinquent When the actual amount of the applicable tax bill is
      known. the amount of such equal monthly advance payments shall be adjusted as required to provide the funds needed to pay the applicable taxes. If
      the amount collected by Lessor Is Insufficient to pay such Real Property Taxes when due, Lessee shall pay Lessor, upon demand, such additional sum
      as is nece.ssary. Advance payments may be intenmingled with other moneys of Lessor and shall not bear interest. In the event of a Breach by Lessee
      in the perfonmance of its obligations under this Lease, then any such advance payments may be treated by Lessor as an additional Security Deposit.
                 10.3      Joint Assessment. If the Premises are not separately assessed, Lessee's liabifity shall be an equitable proportion of the Real
      Property Taxes for all of the land and improvements included within the tax parcel assessed, such proportion to be condusively detenmined by Lessor




                                                                                                                                                                               Claim 1-1 Part 3 Filed 01/28/19 Desc Exhibit 1(b) - Lease (Part
      from the respective valuations assigned in the assesso(s work sheets or such other infonmation as may be reasonably available.
                 10.4      Personal Property Taxes. Lessee shall pay, prior to delinquency, all taxes assessed against and levied upon Lessee Owned
      Alterations, Utility Installations. Trade Fixtures, furnishings, equipment and all personal property of Lessee. When possible, Lessee shall cause its
      Lessee Owned Alterations and Utility Installations, Trade Fix!ures, furnishings, equipment and all other personal property to be assessed and billed
      separately from the real property of Lessor. If any of Lessee's said property shall be assessed with Lesso(s real property, Lessee shall pay Lessor the
      taxes attributable to Lessee's property within 10 days after receipt of a written stalement setting forth the taxes applicable to Lessee's property.
      11.       Utilities and Services. Lessee shall pay for all water, gas, heat, light, power, telephone, trash disposal and other utilities and services
      supplied to the Premises, together with any taxes thereon. If any such services are not separately metered or billed to Lessee, Lessee shall pay a
      reasonable proportion, to be detenmined by Lessor, of all charges joinUy metered or billed. There shall be no abatement of rent and Lessor shall not be
      liable in any respect whatsoever for the inadequacy, stoppage. interruption or discontinuance of any utility or service due to not. strike. labor dispute,
      breakdown, accident. repair or other cause beyond Lesso(s reasonable control or in cooperation with governmental request or directions.
      12.       Assignment and Subletting.
                12. 1      Lessor's Consent Required.
                           (a) Lessee shall not voluntarily or by operation of law assign, transfer, mortgage or encumber (collectively, "assign or
      assignment'') or sublet all or any part of Lessee's interest in this Lease or in the Premises without Lessor's prior written consent.




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                           (II) Unless lessee is a GelfleFatien and it,; Gl&Gk is P•llliGI\' tFadea en a RatieRal sleGk e~GMRge. a Gllange in Ille Gentrol ef Lessee
      Shall OOAStiMe OR assiGMlent rea•iliRa CMSeAt. The traRSfeF. 8A a ""mYlatiH& basis. 91" ~S'llo OF IOOl'8 of Ille uotlna GORtml of bessee shall C9RStilYle a


                           (c) The involvement of Lessee or its assets In any transaction, or series of transactions (by way of merger, sale, acquisition ,
      financing. transfer, leveraged buy-out or otherwise). whether or not a fonmal assignment or hypothecation of this Lease or Lessee's assets occurs,
      which results or will result in a reduction of the Net Worth of Lessee by an amount greater than 25% of such Net Worth as it was represented at the
      time of the execution of this Lease or at the time of the most recent assignment to which Lessor has consented, or as it exists immediately prior to said
      transaction or transactions constituting such reduction, Whichever was or is greater, shall be considered an assignment of this Lease to which Lessor
      may withhold its consent. "Net Worth of Lessee" shall mean the net worth of Lessee (exduding any guarantors) established under generally accepted
      accounting principles.
                           (d) An assignment or subletting without consent shall, at Lessor's option. be a Default curable after notice per Paragraph 13.1(c), or
      a noncurable Breach without the necessity of any notice and grace period. II besse, eleGls le !real """~ •nappre,.ed assignment er sw~lelling as a
      AORGYFable llF8aGh, Lesser may eilllo~ (ll tormiRalo this Lease, er (M) Ypen 30 days uoilten netic;e, incf8aso Ille menllll)• !lase Roni le 110'llo el li1e Base
      Roni then in 011061. ~wflller. in the e•'8nl of swsh Breash and reRtal adj•stment, (i) !Re puFGhase pfise er any eptien le P•FGhase !Re Premises held by




                           (e) Lessee's remedy for any breach of Paragraph 12.1 by Lessor shall be limited to compensatory damages and/or injunctive relief.
                           f) Lessor may reasonably withhold consent to a proposed assignment or subletting if Lessee is in Default at the time consent is
      requested.
                           (g) Notwithstanding the foregoing, allowing a de mlnimis portion of the Premises, ie. 20 square feet or less, to be used by a third
      party vendor in connection with the installation of a vending machine or payphone shall not constitute a subletting.




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                     (h) Notwlthetandlng the foregoing, In the event of any propoeal l,y Leeeee to aeelgn thle Leaee
     to (a) an entity controll!ng, controlled l,y or under common control with Leeeee. (t,) a eucceeeor entity related
     to Le0eee l,y merger, acG\ulettlon, coneol!dation, reorganization, or (c) a purchaser of eut,etantlally all of
     Le00ee'0 a00et0 located In the Premleee, Leeeor may not withhold or condition lte coneent provided that, the
     net worth of the aeelgnee ehall t,e eG\ual to or greater than 100% of the net worth of Lefleee at the time of
     touch atotoignment. Letoeee ehall provide the Leeeor with not leee than twenty (20) l,uelneee daye advance
     notice of any touch propotoed atoelgnment and Leeeee ehall provide Leeeor with reaeonal,le flnanclal Information
     regarding the net worth of the Letoeee and the propoeed aetoignee.
                12.2       Tenms and Conditions Applicable to Assignment and Subletting.
                           (a) Regardless of Lesso(s consent, no assignment or subletting shall: (l) be effective without the express written assumption by
     such assignee or sublessee of the obligations of Lessee under this Lease, (ii) release Lessee of any obligations hereunder, or (iii) atter the primary

     liability of Lessee for the payment of Rent or for the pertonmance of any other obligations to be pertonmed by Lessee, provided that upon an
     aeelgnment of thl e Leaee          to an entity of equal or euperlor creditworthlneee ae                  Leeeee at the time of &uch aeelgnment.
      Leeeee wtll l>e releaeed from all further lial>llity under thl& Lea11e.
                         (b) Lessor may accept Rent or perfonmance of Lessee's obligations from any person other than Lessee pending approval or




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      disapproval of an assignment. Neither a delay In the approval or disapproval of such assignment nor the acceptance of Rent or performance shall
      oonstilute a waiver or estoppel of Lessors right to exercise Its remedies for Lessee's Default or Breach.
                           (c) Lessors consent to any assignment or subletting shall not constitute a consent to any subsequent assignment or subletting.
                           (d) In the event of any Default or Breach by Lessee, Lessor may proceed directly against Lessee. any Guarantors or anyone else
      responsible for the performance of Lessee's obligations under this Lease. including any assignee or sublessee, without first exhausting Lessors
      remedies against any other person or entity responsible therefor to Lessor. or any security held by Lessor.
                           (e) Each request for consent to an assignment or subletting shall be in writing. accompanied by information relevant to Lessors
      determination as to the financial and operational responsibility and appropriateness of the proposed assignee or sublessee. including but not limited to
      the intended use and/or required modification of the Premises. if any, together with a fee of $500 as consideration for Lessors considering and
      processing said request. Lessee agrees to provide Lessor with such other or additional information and/or documentation as may be reasonably
      requested. (See also Paragraph 36)
                           (f) Any assignee of, or sublessee under, this Lease shall. by reason of accepting such assignment. entering into such sublease. or
      entering into possession of the Premises or any portion thereof, be deemed 10 have assumed and agreed to conform and comply with each and every




                                                                                                                                                                          Claim 1-1 Part 3 Filed 01/28/19 Desc Exhibit 1(b) - Lease (Part
      term. covenant. condition and obligation herein to be observed or performed by Lessee during the term of said assignment or sublease. other than such
      obligalions as are contrary to or inconsistent with provisions of an assignment or sublease to which Lessor has speclfically consented to In writing.




                12.3
      Lessee of all or any part of the Premises and shall be deemed included in all subleases undler this Lease whether or nol expressly incorporaled therein:
                          (a) Lessee hereby assigns and lransfers lo Lessor all of Lessee·s interest In all Rent payable on any sublease. and Lessor may
      colled such Rent and apply same toward Lessee's obligations under this Lease; provided, however, that until a Breach shall occur in the performance
      of Lessee's obligations, Lessee may collect said Rent. In the event that the amount collected by Lessor exceeds Lessee's then outstanding obligations
      any such excess shall be refunded to Lessee. Lessor shall not, by reason of the foregoing or any assignment of such sublease, nor by reason of the
      collection of Rent. be deemed liable to the sublessee for any failure of Lessee to perform and comply with           any   of Lessee's obligations to such
      sublessee. Lessee hereby irrevocably authorizes and directs any such sublessee, upon receipt of a written notice from Lessor stating that a Breach
      exists in the performance of Lessee's obligations under this Lease, to pay to Lessor all Rent due and to become due under the sublease. Sublessee
      shall rely upon any such notice from Lessor and shall pay all Rents to Lessor without any obligation or light to inquire as to whether such Breach exists,
      notwithstanding any claim from Lessee lo the contrary.




                                                                                                                                                                                    Two of Three) Page 3 of 7
                          (b) In the event of a Breach by Lessee, Lessor may, at its option, require sublessee lo attom to Lessor, in which event Lessor shall
      undertake the obligations of the sublessor under such sublease from the time of the exercise of said option to the expiration of such sublease; provided,
      however, Lessor shall not be liable for any prepaid renls or security dleposit paid by such sublessee to such sublessor or for any prior Oefaulls or
      Breaches of such sublessor.
                          (c) Any matter requiring the consent of the sublessor under a sublease shall also require the consent of Lessor.
                          (d) No sublessee shall further assign or sublet all or any part of the Premises without Lessor's prior written consent.
                          (e) Lessor shall deliver a copy of any notice of Default or Breach by Lessee to the sublessee, who shall have the right to cure the
      Default of Lessee within the grace period, if any. specified in such notice. The sublessee shall have a right of reimbursement and offset from and
      against Lessee for any such Defaults cured by the sublessee.
      13.       Default; Breach; Remedies.
                13.1      Default; Breach. A "Default'' is defined as a failure by the Lessee to comply with or perform any of lhe terms, covenants,
      conditions or Rules and Regulations under this Lease. A "Breach" is defined as the occurrence of one or more of the following Defaults, and the
      failure of Lessee to cure such Default within any applicable grace period:
                          (a) The abandonment of the Premises: or the vacating of the Premises without providing a commercially reasonable level of
      security, or where the coverage of the property insurance described in Paragraph 8.3 is jeopardized as a result thereof, or without providing reasonable
      assurances lo minimize potenlial vandalism.
                          (b) The failure of Lessee to make any payment of Rent or any Security Deposit required to be made by Lessee hereunder, whether
      to Lessor or to a third party, when due, lo provide reasonable evidence of insurance or surety bond,    or to fulfill any obligation under this Lease which
      endangers or threatens life or property, where such failure continues for a period of 35 business days following written notice to Lessee. THE
      ACCEPTANCE BY LESSOR OF A PARTIAL PAYMENT OF RENT OR SECURITY DEPOSIT SHALL NOT CONSTITUTE A WAIVER OF ANY OF
      LESSOR'S RIGHTS, INCLUDING LESSOR'S RIGHT TO RECOVER POSSESSION OF THE PREMISES.




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                          (c) The failure of Lessee to allow Lessor and/or its agenls access to the Premises or the commission of waste. aGI ar aGl6

      saRstilwtiRg publiG er pAvalo Rul6aRG&, and/or an illegal activity on the Premises by Lessee, where such actions continue for a period of 35 business
      days following written notice to Lessee.
                          (d) The failufe by Lessee to provide (i) reasonable written evide,-.ce of compliance with Applicable Requirements. (ii) Ille seAose
      seRl/aGl6, (iii) the rescission of an unauthorized assignment or subletting, (iv) an Estoppel Certificate er fiRaRGial statemeRIS, (v) a requested

      subordination purauant to this Lease, 0•) e••doRGe seRsemiRg aRy guaramy aAd'er GuaraRter, (vii) any document requested under Paragraph 42,
      (vi1i) material safety data sheets (MSDS). or (ix) any other documentation or information which Lessor may reasonably require of Lessee under the

      terms of this Lease, where any such failure continues for a penod of 4030 days following written notice to Lessee.
                           (e) A Default by Lessee as to the terms, covenants, conditions or provisions of this Lease, or of the rules adopted under Paragraph
     40 hereof, other than those described i n subparagraphs 13.1(a), (b), (c) or (d), above, where such Defaull continues for a period of 30 days after written
      notice; provided, however, that if the nature of Lessee's Default is such that more than 30 days are reasonably required for its cure, then it shall not be
      deemed to be a Breach if Lessee commences such cure within      said 30 day period and thereafter diligently prosecutes such cure to completion.
                          (f) The occurrence of any of the following events: (i) the making of any general arrangement or assignment for the benefit of
      creditors; (fi) becoming a "debtor" as defined in 11 U .S.C. §101 or any successor statute thereto (unless. in the case of a petition filed against Lessee,
      the same is dismissed within 60 days): (iii) the appointment of a trustee or receiver to take possession of substantially all of Lessee's assets located at
     the Premises or of Lessee's interest In this Lease, where possession is not restored to Lessee within 30 days; or (iv) the attachment. execution or other



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      judicial seizure of substantially all of Lessee's assets located at the Premises or of Lessee's Interest In this Lease. wnere such seizure Is not discharged
      within 30 days; provided, however, in the event that any provision of this subparagraph is contrary to any applicable law, such provision shall be of no
      force or effect, and not affect the validity of the remaining provisions.




      basis, aAd b&ssee's failuFe, '"AflliA 60 days felle,.;Ag wlitlen AoliGe of aAy such e•.,AI, to pm•;de '"llilleA allemali•"' assuraase OF seGWrity, umish, umen
      sousled ''"ii~ the theA existiae FesouF&es of Lessee. eeuals or e*seeds the sombiAed fiAanGial FesouF&es of Lessee and the Guaranler& 01al exisled al


              13.2      Remedies. If Lessee falls to perform any of its affirmative duties or obligations. within 4'130 days after written notice (or in case of
      an emergency, without notice), Lessor may, al its option, perform such duty or obligation on Lessee's beha~. inciuding but not lim ited to the obtaining of
      reasonably required bonds, Insurance policies, or governmental licenses, permits or approvals. Lessee shall pay to Lessor an amount equal to 115% of




                                                                                                                                                                             Claim 1-1 Part 3 Filed 01/28/19 Desc Exhibit 1(b) - Lease (Part
      the costs and expenses incurred by Lessor in such performance upon receipt of an invoice therefor. In the event of a Breach, Lessor may, with or
      withoul further notice or demand, and without limiting Lessor in the exercise of any right or remedy which Lessor may have by reason of such Breach:
                            (a) Terminate Lessee's right to possession of the Premises by any lawful means. in which case this Lease shall terminate and
      Lessee shall lmmedlatety surrender possession to Lessor. In such event Lessor shall be entlUed to reoover from Lessee: (i) the unpaid Rent which had
      been earned at the time of termination; (ii) the worth   at the time of award of the amount by which the unpaid rent which would have been earned after
      termination until the time of award exceeds the amount of such rental loss that the Lessee proves oould have been reasonably avoided; (iii) the worth at
      the time of award of the amount by which the unpaid rent for the balance of the term after the time of award exceeds the amount of such rental loss that
      the Lessee proves could be reasonably avoided; and (iv) any other amount necessary to oompensate Lessor for all the detriment proximately caused by
      the Lessee's failure to perform its obligations under this Lease or which in the ordinary oourse of things would be likely to result therefrom, including but
      not limited to the cost of recovering possession of the Premises. expenses of reletting, including necessary renovation and alteration of the Premises,
      reasonable attorneys' fees. and that portion of any leasing commission paid by Lessor in connection with this Lease applicable to the unexpired term of
      this Lease. The worth at the time of award of the amount referred to In provision (iii) of the immediately preceding sentence shall be oomputed by
      discounting such amount at the disoount rate of the Federal Reserve Bank of the District within which the Premises are located at the time of award
      plus one percent. Efforts by Lessor to m~igate damages caused by Lessee's Breach of this Lease shall not waive Lesso(s right to recover damages
      under Paragraph 12. If termination of this Lease is oblained through the provisional remedy of unlawful detainer, Lessor shall have the right to recover




                                                                                                                                                                                       Two of Three) Page 4 of 7
      In such proceeding any unpaid Rent and damages as are recoverable therein, or Lessor may reserve the right to recover all or any part thereof in a
      separate suit. If a notice and grace period required under Paragraph 13.1 was not previously given, a notice to pay rent or quit, or to perfOrm or quit
      given lo Lessee under the unlawful detainer statute shall also constiMe the notice required by Paragraph 13.1. In such case, the applicable grace
      period required by Paragraph 13, 1 and the unlawful detainer statute shall run ooncurrenUy, and the failure of Lessee to cure the Default within the
      greater of the two such grace periods shall constitute both an unlawful delainer and a Breach of this Lease entiUing Lessor to the remedies provided for
      i n this Lease and/or by sa.i d statute.
                            (b) Continue the Lease and Lessee's right to possession and recover the Rent as it beoomes due, in w!lich event Lessee may
      sublet or assign, subject only to reasonable limitations, Acts of maintenance, efforts to relet. and/or the appointment of a receiver to protect the
      LessMs interests. shall not oonslltute a termination of the Lessee's right to possession.
                            (c) Pursue any other remedy now or hereafter available under the laws or judicial decisions of the stale wherein the Premises are
      located. The expiration or termination of this Lease and/or the termination of Lessee's right to possession shall not relieve Lessee from liability under
      any indemnity provisions of this Lease as to matters occurring or accruing during the term hereof or by reason of Lessee's occupancy of the Premises.
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      iAdusemeAI i>FOl'isioR shall be immeeialely eue ane payable by bessee lo be••••· ne~·,lhstandiRg af'I\I subse~uenl """' of said Breach by Lessee. The
      aooeptan68 by Lessor of FOAi or the GYF8 of lhe Breash whish inltiatee Ille operation er this paragraph shall Rel be eee,.,ee a""'""" by besseF of the
      pu»osiens of lhis parag,apl, uRless speGifiaally •• 61ated in '"IRtiAg by LessoF al the time of sush aooeplaAGB.
                 13.4       Late Charges.        Lessee hereby acknowledges that late payment by Lessee of Rent will cause Lessor to incur costs not




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      contemplated by this Lease. the exact amount of which will be extremely diff,cult to ascertain. Such oosts include, but are not limited to. processing and
      accounting charges, and late charges which may be imposed upon Lessor by any Lender. Accordingly, if any Rent shall not be received by Lessor

      within 510 days after such amount shall be due, then. without any requirement for notice to Lessee. Lessee shall immediately pay to Lessor a one-time
      late charge equal I ~ 57. of each such overdue amount or $100, whichever is greater. The Parties hereby agree that such late charge represents a
      lair and reasonable estimate of the costs Lessor will Incur by reason of such late payment. Acceptance of such late charge by Lessor shall in no event
      constitute a waiver of Lessee's Defauh or Breach with respect to such overdue amount, nor prevent the exercise of any of the other rights and remedies
      granted hereunder. In the event that a late charge is payable hereunder, whether or not collected, for 3 consecutive installments of Base Rent. then
      notwithslanding any provision of this Lease to the oontrary, Base Renl shall, at Lesso(s opUon, beoome due and payable quarterly in advance.
                 13.5       tnteresL    Ally monetary payment due Lessor hereunder. other than late charges, not received by Lessor. when due as lo
      scheduled payments (such as Base Rent) or within 30 days following the date on which It was due for non-scheduled payment, shall bear Interest from
      the date when due, as to scheduled payments, or the 31st day after It was due as to non-scheduled payments. The interest ("Interest'') charged shall
      be computed al the rate of 10% per annum but shall not exceed the ma,omum rate allowed by law. Interest Is payable in addition to the potential late
      charge provided for in Paragraph 13.4.
                 13.6       Breach by Lessor.
                            (a) Notice of Breach. Lessor shall not be deemed in breach of this Lease unless Lessor fails within a reasonable time to perform
      an obligation required to be performed by Lessor. For purposes of this Paragraph, a reasonable time shall in no event be less than 30 days after



                                                                    PAGE 12 OF 1!
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      receipt by Lessor, and any Lender whose name and address shall have been furnished Lessee in writing for such purpose, of written notice specifying
      wherein such obligation of Lessor has not been pert'ormed; provided, however, that if the nature of Lesso(s obligation is such that more than 30 days
      are reasonably required for its pert'ormance, then Lessor shall not be in breach if pert'ormance is commenced within such 30 day period and thereafter
      diligenUy pursued to completion.
                               (b} Performance by Lessee on Behalf of Lessor. In the event that neither Lessor nor Lender cures said breach within 30 days
      after receipt of said notice, or if having commenced said cure they do not diligenUy pursue it to completion, then Lessee may elect to rure said breach

      at Lessee's expense and offset from Rent the actual and reasonable cost to pert'orm such rure. provided,
                                                                                         however, that all euch offeete a hall
      not cumulatively exceed an amount equal to three (:3) tlmee the initial month'e Baee Rent under thie Leaeie. reeervlng
      Leeeee'e right to eeek relmllureement from Leeeor for any euch expenee In exceee of eiuch offeet.                       J)FO'iiEleEI,
      however, that suoh offset sl'lall not mEGeeEI an amount eE1ual to the §Feater of one month's Base Rent
      or tl=le Seouri~ OeJ)osit, reservin§ bessee's ri§At to seek reimeursement ffom bessor for any suoh
      eiEJ)ense in OlEGOSS of SUGA offset. Lessee shall document the cost of said cure and supply said documentation to Lessor.
      14.        Condemnation. If the Premises or any portion thereof are taken under the power of eminent domain or sold under the threat of the exercise




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      of said power (collectively "Condemnation"), this Lease shall terminate as to the part taken as of the date the condemning authority takes tiUe or
      possession, whichever first occurs. If more than 10% of the Building, or more than 25% of that portion of the Premises not occupied by any building, Is
      taken by Condemnation, Lessee may, at Lessee's option. to be exercised in writing within 10 days after Lessor shall have given Lessee written notice of
      such taking (or in the absence of such notice, within 10 days after the condemning authority shall have taken possession) terminate this Lease as of the
      date the condemning authority takes such possession. If Lessee does not terminate this Lease in accordance with the foregoing, this Lease shall
      remain in full force and effect as to the portion of the Premises remaining, except that the Base Rent shall be reduced in proportion to the reduction in
      utility of the Premises caused by such Condemnation. Condemnation awards and/or payments shall be Iha property of Lessor, whether such award
      shall be made as compensation for diminution in value of the leasehold, the value of the part taken, or tor severance damages; provided, however, that
      Lessee shall be entitled to any compensation paid by Iha condemnor for Lessee's relocation expenses, loss of business goodwill and/or Trade Fixtures,
      without regard to whether or not this Lease is terminated pursuant to the provisions of this Paragraph. All Alterations and Utility Installations made to
      the Premises by Lessee, for purposes of Condemnation only, shall be considered the property of the Lessee and Lessee shall be entiUed to any and all
      compensation which is payable therefor. In the event that this Lease is not terminated by reason of the Condemnation, Lessor shall repair any damage
      to the Premises caused by such Condemnation.
      15.        Brokerage Fees. NI"
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      amounts due as aAd fer brokerage fees pef!aining 18 lllis Lease •WleA due, lllen suGh amounts shall 3661"119 laleresl IA additien, if bessor fails 18 pay




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      16.        Estoppel Certificates.
                            (a) Each Party (as "Responding Party") shall within 10 days after written notice from the other Party (the " Requesting Party")
      execute, acknowledge and deliver to the Requesting Party a statement in writing in form similar to the then most rurrent "Estoppel Certificate" form




                                                                                                                                                                                   Case 19-40193
      published by the AIR Commercial Real Estate Association, plus such additional information, confirmation and/or statements as may be reasonably
      requested by the Requesting Party.
                           (b) If the Responding Party shall fail to exerute or deliver the Estoppel Certificate within such 10 day period, the Requesting Party
      may ex.ecute an Estoppel Certi0cate stating that (Q the Lease is In full force and effect without modification except as may be represented by the
      Requesting Party, (iO thare are no uncured defaults in the Requestlng Party's pert'ormance. and (iii) WLessor is the Requesting Party, not more than one
      month's rent has been paid in advance. Prospective purchasers and enrumbrancers may rely upon the Requesting Party's Estoppel Certificate, and the
      Responding Party shall be estopped from denying the truth of the fads contained in said Ceiiificate.
                           (c) If Lessor desires lo finance, refinance, or sell the Premises, or any part thereof, Lessee and ail Guarantors shall within 10 days
      after written notice from Lessor deliver to any potential lender or p urchaser designated by Lessor such financial statements as rnay be reasonably
      required by such lender or purchaser, including but not limited to Lessee's financial statements for the past 3 years. All such financial statements shall
      be received by Lessor and such lender or purchaser in confidence and shall be used only for the purposes herein set forth.
      17.        Definition of Lessor. The term "Lessor" as used herein shall mean the owner or owners at the time in question of the fee tiUe to the
      Premises, or, if this is a sublease, of Ille Lessee's interest In Ille prior lease. In Ille event of a transfer of Lessofs title or interest in the Premises or this
      Lease. Lessor shall deliver to the transferee or assignee ~n cash or by a-edit) any unused Security Deposit held by Lessor. Upon such transfer or
      assignment and delivery of the Serurity Deposit. as aforesaid, the prior Lessor shall be relieved of all liability with respect to the obligations and/or
      covenants under this Lease thereafter to be pert'ormed by the Lessor. Subje<:t to the foregoing, the obligations and/or covenants in this lease to be


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      performed by the Lessor shall be binding only upon the Lessor as hereinabove defined.
       18.        Severabllity. The invalidily of any provision of this Lease, as determined by              a court of competent jurisdiction, shall in no way affect the
      validity of any other provision hereof.
      19.         Days. Unless otherwise specifically indicated to the contrary, the word "days· as used in this Lease shall mean and refer 10 calendar days.
      20.         Limitation on Liability. The obligations of Lessor under this Lease shall not conslilule personal obligations of Lessor or Its partners,
      members. directors, officers or shareholders, and Lessee shall look to the Premises, and to no other assets of lessor, for the satisfaction of any liability
      of lessor with respect to this lease, and shall not seek recourse against Lesso(s panners, members. directors, officers or shareholders. or any of their
      personal assets for such satisfaction.
      21.         TIme of Essence. Time is of the essence with respect to the performance of all obligations to be performed or observed by the Parties under
      this Lease.
      22.         No Prior or Other Agreements; Broker Disclaimer. This lease contains all agreements between the Parties with respect to any matter
      mentioned herein, and no ot.h er prior or contemporaneous agreement or understanding snail be effective. Lessor and Lessee each represents and
      warrants to the Brokers that it has made, and is retying solely upon, its own Investigation as to the nature, quality, character and financial responsibility




                                                                                                                                                                                            Claim 1-1 Part 3 Filed 01/28/19 Desc Exhibit 1(b) - Lease (Part
      of the other Party to this Lease and as to the use, nature, quality and character of the Premises. Brokers have no responsibility with respect thereto or
      with respect to any defaull or breach hereof by either Party.
      23.         Notices.
                  23. 1      Notice Requirements. All notices required or permitted by this lease or applicable law shall be in writing and may be delivered in

      person (by hand or by courier) or may be sent by ~ cer11fied er reglstere~ mail or U .S. Postal Service Express Mail or ower nationally
      recognized overnight courier. with postage prepaid, or by facsimile transmission, and shall be deemed sufficiently given if served in a manner
      specified in this Paragraph 23. The addresses noted adjacent to a Party's signature on this lease shall be that Panly's address for delivery or mailing of
      notices. Enher Party may by written notice to the other specify a different address for notice, except that upon Lessee's taking possession of the
      Premises. the Premlses snail constitute Lessee's address for notice. A copy of all notices to lessor shall be concurrenUy transmitted to such party or
      parties at such addresses as Lessor may from time to time hereafter designate in writing.

                 23.2        Date of Notice. Any notice sent by ,egiste,ed er certified mail, return receipt requested,             U.5. Postal Service       Exp re55 M ail or
      other nationally recognized overnight courier shall be deemed given on the date or delivery shown on the receipt card or t he delivery record5
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      transmitted by facsimile transmission or similar means shall be deemed delivered upon telephone confirmation of receipt (confirmation report from fax
      machine is sufficient), provided a copy is also delivered via delivery or mail. If notice fs received on a Saturday. Sunday or legal hor.day, it shall be
      deemed received on the next business day.
      24.        Waivers.
                             (a)        No waiver by Lessor of the Default or Breach of any term, covenant or condition hereof by Lessee, shall be deemed a
      waiver of any other term. covenant or condition hereof, or of any subsequent Default or Breach by Lessee or the same or of any other term, covenant or
      condmon hereof. Lesso(s consent to, or approval of, any act shall not be deemed to render unnecessary the obtaining of Lessor's consent to, or
      approval of, any subsequent or similar act by Lessee, or be construed as the basis of an estoppal to enfon:e the provision or provisions of this lease
      requiring such consent.
                             (b)        The acceptance of Rent by Lessor shall not be a waiver of any Default or Breach by Lessee. Any payment by Lessee
      may be acoepted by Lessor on account of moneys or damages due Lessor, notwithstanding any qualifying statements or conditions made by Lessee in
      connection therewith, which such stalements and/or conditions shall be of no force or effect whatsoever unless specifically agreed to in writing by
      Lessor at or before the time of deposit of such payment.
                             (c)        THE PARTIES AGREE THAT THE TERMS OF THIS LEASE SHALL GOVERN W ITH REGARD TO ALL MATTERS
      RELATED THERETO AND HEREBY WAIVE T HE PROVISIONS OF ANY PRESENT OR FUTURE STATUTE TO THE EXTENT THAT SUCH
      STATUTE IS INCONSISTENT WITH THIS LEASE.
      25.



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                 No Right To Holdover. Lessee has no right to retain possession of the Premises or any part thereof beyond the expiration or tennination of
      this Lease. In the event that Lessee holds over, then the Base Rent shall be increased to 150% of the Base Rent applicable immediately preceding the




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      explraUon or letmination. Nothing contained herein shall be construed as consent by Lessor to any holding over by Lessee.
      27.        Cumulative Remedies. No remedy or election hereunder shall be deemed exdusive but shall, wherever possible, be cumulative with all
      other remedies at law or in equity.
      28.        Covenants and Conditions; Construction of Agreement All provisions of this Lease to be observed or perfonned by Lessee are both
      covenants and conditions. In construing this Lease, all headings and tilles are for lhe convenience of lhe Parties only and shall not be considered a
      part of this Lease. Whenever required by the context, the singular shall include the plural and vice versa. This Lease shall not be construed as                  n
      prepared by one of the Parties, but rather according to its fair meaning as a whole, as n both Parties had prepared it.
      29.        Binding Effect; Choice of Law. This Lease shall be binding upon the Parties, their personal representatives, successors and assigns and
      be governed by the laws of the State in which the Premises are located. So long a& l.eeeor·e current l>ankruptcy caee remain& open (Northern
      Dietrlct of California, Oakland Dlvlelon, C116" No. 1+-41048-RLE), any lltlgatlon l>etweon the Partlee here-i:o concerning thl,:; Leaee
      ehall l>e Initiated In the United Statee Bankruptcy Court for the Northern Dletrlct of Californi a, Oakl and DMslon. Followtne such time
      ae Le,;eor'e current l>ankrupt<:y case hae l>een cloeed, any litigation between the Parties hereto concerning this Lease shall be initiated in the
      county in which the Premises are located.
      30.        Subordination; Attomment; Non-Disturbance.




                                                                                                                                                                                             Two of Three) Page 7 of 7
                 30.1      Subordination. This Lease and any Option granted hereby shall be subject and subordinate to any ground lease, mortgage, deed
      of trust. or olher hypothecation or security device {collectively. "Security Device"), now or hereafter placed upon lhe Premises, to any and all advances
      made on lhe security thereof, and to all renewals, modifications, and extensions thereof. Lessee agrees that the holders of any such Security Devices
      (in this Lease together referred to as "Lender") shall have no liability or obligation to pertorm any of the obligations of Lessor under this lease. My
      Lender may elect to have this Lease and/or any Option granted hereby superior to the lien of its Security Device by giving written notice thereof to
      Lessee, whereupon this Lease and such Options shall be deemed prior to such Security Device, notwithstanding the relative dates of the
      documentation or recordation thereof.
                30.2      Attommenl In the event that Lessor transfers title to the Premises, or the Premises are acquired by anolher upon the foreclosure
      or tennination of a Security Devise to which this Lease is subordinated (i) Lessee shall, subject to the non-disturbance provisions of Paragraph 30.3,
      attom to such new owner, and upon request, enter Into a new lease, containing all of the tenns and provisions of this Lease, with such new owner for
      the remainder of the tenn hereof, or. at the election of the new owner. this Lease will automatically become a new lease between Lessee and such new
      owner, and {ii) Lessor shall thereafter be relieved of any further obligations hereunder and such new owner shall assume all of Lessor's obligations,
      except that such new owner shall not: {a) be liable for any act or omission of any prior lessor or with respect to events occurring prior to acquisttion of
      ownership; {b) ll&-rubje61 to aay off6ets or eefenses whlGll besseo might hauo asaiAst aay pfior ~ bound by prepayment of more than one
      month's rent, e, {d) be liable f,n tile"'"'"' of aAy soGYFity eeposlt paid to aAy pFier lesse, 111hish ""'" sot.paid~• ..-ediled kl   ••sh"""' 0""'"'·
                30.3      Non-Disturbance. l.eeeor repre5ent5 and warrante that no Security Devlcee currently affect the Premi5e5, Wilh
      respect to Security Devices entered into by Lessor after the execution of this Lease, Lessee' s subordination of this Lease shall be subject 10 receiving a
      commercially reasonable non-disturbance agreement (a "Non-Disturbance Agreement") from the Lender which Nor>-Disturbance Agreement provides
      that Lessee's possession of the Premises, and this Lease, including any options to extend the tenn hereof, will not be disturbed so long as Lessee is
      not in Breach hereof and attoms to the record owner of the Premises. l'uRhe,, ,.;111Ia fiO days after tile OlleGutiOA ef IRIS bease , besso, shall, ii
      F&qY861e(jby bessee. ~se a& G8mR1orGial1¥ Feas<mable effeits to obtain a ~IOA OistwFt>aAG8 l>.gR1eR1eRI fmRI Ille llolde, of aAy pre e,e6ling Sesulily




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                 30.4
      provided, however, that, upon written request from Lessor or a Lender in connection with a sale, financing or refinancing of the Premises, Lessee and
      Lessor shall execute such further writings as may be reasonably required to separately document any subordination, attomment and/or
      Nor>-Disturbance Agreement provided for herein.
      31 .       Attorneys' Fees. If any Party eF-8r<lkef brings an action or proceeding involving the Premises whether founded in tort, contract or equity, or
      to declare rights hereunder, the Prevailing Party (as hereafter defined) in any such proceeding, action, or appeal thereon. shall be entiUed to reasonable
      attorneys' fees. Such fees may be awarded in the same sutt or recovered In a separate suit, whelher or not such action or proceeding is pursued to
      decision or judgment. The tenm, "Prevailing Party" shall include, without limitation, a Pa r t y ~ who substantially obtains or defeats the relief
      sought, as the case may be, whelher by compromise, settlement, judgmenl, or the abandonment by the other Party .....a.ekef of its claim or defense.
      The attorneys' fees award shall not be computed in accordance with any court fee schedule, but shall be such as to fully reimburse all attorneys' fees
      reasonably incurred. In addition, Lessor shall be entiUed to attorneys' fees, costs and expenses incurred in the preparation and service of notices of
      Default and consultations in connection therewith, whether or not a legal action is subsequently commenced in connection with such DefauH or resulting
      Breach ($200 Is a reasonable minimum per occurrence for such services and consultation).
      32.        Lessor's Access; Showing Premises; Repairs. Lessor and Lessor's agents shall have the right to enler the Premises at any time, in the
      case of an emergency, and otherwise at reasonable times after reasonable prior notice for the pufl)Ose of shOw;ng the same to prospective purchasers.


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      INITIALS                                                                                                                                              INITIAi.$

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      lenders, or, during    the last six months of the         urm hereof, tenants.       and making such alterations. repairs, improvements or additions to the




      33.        Auctions. Lessee shall not conduct. nor permit to be conducted, any auction upon the Premises without Lessors prior written consent.
      Lessor shall not be obligated to exercise any standard of reasonableness in determining whether to permrt an auction.
      34.        Signs. Lessor may p!aoe on the Premises ordinary "For Sate• signs at any time and ordinary " For Lease• signs during the last 6 months of
      the term hereof. Exoept for ordinary "for sublease· slgns, Lessee shall not p laoe any slgn upon the Premises without Lessors prior written consent All
      signs must comply with all Applicable Requirements.
      35.        Termination; Merger. Unless specifically stated otherwise in writing by Lessor. the voluntary or other surrender of this Lease by Lessee, the
      mutual termination or canoellation hereof, or a termination hereof by Lessor for Breach by Lessee, shall automatically terminate any sublease or lesser
      estate in the Premises: provided, however, that Lessor may elect to continue any one or all existing subtenancies. Lessors failure within 10 days
      following any such event to elect to the contrary by written notice to the holder of any such lesser interest, shall constitute Lessors election to have




                                                                                                                                                                                     Claim 1-1 Part 4 Filed 01/28/19 Desc Exhibit 1(c) - Lease (Part
      such event constitute the termination of such interest.
      36.        Consents. Except as otherwise provided herein, wherever in this Lease the consent of a Party is required to an aCI by or for the other Party,
      such consent shall not be unreasonably withheld or delayed. Lesso(s actual reasonable costs and expenses (including but not limited to architects',
      attorneys·, engineers' and other consultants' fees) incurred in the consideration of, or response to, a request by Lessee for any Lessor consent,
      including but not limited to consents to an assignment, a subletting or the presenoe or use of a Hazardous Substanoe. shall be paid by Lessee upon
      receipt of an invoice and supporting documentation therefor.              Lessors consent to any act, assignment or subletting shall not consHtute an
      acknowledgment that no Default or Breach by Lessee of this Lease exists, nor shall such consent be deemed a waiver of any then existing Default or
      Breach, except as may be otherwise specifically stated in writing by Lessor al the time of such consent. The failure to specify herein any particular
      conditlon to Lessors consent shall not preclude the imposijion by Lessor at the time of consent of such further or other conditions as are lhen
      reasonable with reference to the particular matter for which consent is being given. In the event that either Party disagrees with any determination
      made by the other hereunder and reasonably requests the reasons for such determination, the determining party shall furnish its reasons in writing and
      in reasonable detail within 10 business days following such request.
      37.        Guarantor.
                 37.1       Execution. The Guarantors, if any, shall each execute a guaranty in the form most recenUy publlshed by the AIR Commercial Real




                                                                                                                                                                                              Three of Three) Page 1 of 6
      Estate Association , and eact, such Guarantor shall have the same obligations as Lessee under this Lease.
                 37.2       Default. It shall constitute a Default of the Lessee if any Guarantor fails or refuses. upon request to provide: (a) evidence of the
      execution of the guaranty, including the authority of the party signing on Guarantors behalf to obligate Guarantor, and in the case of a corporate
      Guarantor. a certified copy of a resolution of ijs board of directors authorizing the making of such guaranly, (b) current financial statements, (c) an
      Estoppel Certificate. or (d) written confirmation that the guaranty is still in effect.
      38.        Quiet Possession.       Subject to payment by Lessee of the Rent and performance of all of the covenants. cond~ions and provislons on
      Lessee's part to be observed and performed under this Lease, Lessee shall have quiet possession and quiet enjoyment of the Premises during the term
      hereof.
      39.        Options. If Lessee is granted an Option, as defined below, then the following provisions shall apply:
                 39.1      Definition. ..Option" shall mean: (a) the right to extend or reduce the term of or renew this Lease or to extend or reduoe the term
      of or renew any lease that Lessee has on other property of Lessor. (b) the light of first refusal or first offer to lease either the Premises or other property
      of Lessor; (c) the rtgh1 to purchase, the right of first offer to purchase or the right of first refusal to purchase the Premises or other property of Lessor.
                 39.2      Oplion& Por&onal 1'o Original b0&&0a •ay Optiea gr.mted lo bessee ia lllis bease is peR;oaal lo Ille ORginal bessee. and GallAOt




                 39.3      Multiple Options. In the event that Lessee has any multiple Options to extend or renew this Lease, a later Option cannot be
      exercised unless the prior Option.s have been validly exercised.
                 39.4      Effect of Default on Options.
                           (a) Lessee shall have no right to exercise an Option: (i) during the period commencing with the giving of any notice of Default and
      continuing until said Default is cured,   ~il duriag Ille peROO of time 811\1 ReAI is YApaid , ..,thout <egam 19 ..,hether A911Ge thereof is gp•en bessee),      (iii)
      during the time Lessee is in Breach of this Lease. or (iv) in the event that Lessee nas been given 3 or more notices of separate Default, wnether or not
      the Defaults are cured, during the 12 month period immediately preceding the exercise of the OpUon.




                                                                                                                                                                                     Case 19-40193
                           (b) The period of time within which an Option may be exercised shall not be extended or enlarged by reason of Lessee's inability to
      exercise an Option because of the provisions of Paragraph 39.4(a).
                           (<>).AA-0,>tiea shall le,miaate and be of ae ful'll1er fG<Ge or effeGI. ne~•;lllstaading bessoo'c duo and timely OJ<O(()ice of the Option. if.




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      all reasonable Riles and regulaliens whiGh lesser may make f1'em time 19 time !Gr the management, eafGI)', and G<IRl ef said properties, I R G I ~
      Gare aRd sleaRlinoes el Ille g<eunlls anll inslulling Ille par1<ing, leading anll wnleadiag ef "•hisles, and le Gause ils employees. swpplief6, shippef6,


      eueh l'\llee and rogulatieRs.
     4 1.        Security Measures. Lessee hereby acknowledges that the Rent payable to Lessor hereunder does not include the cost of guard service or
      other security measures. and that Lessor shall have no obligation whatsoever to provide same. Lessee assumes all responsibility for u,e protection of
      the Premises, Lessee. its agents and invitees and their property from the acts of third parties.




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      reaseRably requesled by bosser to elfeSluate aRy •••" easemenl ligllts. dedisalien. map er reslliGti9R6.
      43.            Perfonnance Under Protest. If al any time a dispute shall arise as to any amount or sum of money to be paid by one Party to the other
      under the provisions hereof, the Party against whom the obligation to pay U,e money Is a sserted shall have U>e right to make payment •under protest"
      and such payment shall not be regarded as a voluntary payment and there shall survive the right on the part of said Party to institute suit for recovery of
      such sum. If it shall be adjudged that there was no legal obligation on the part of said Party to pay such sum or any part thereof, said Party shall be
      entitled to recover such sum or so much thereof as It was not legally required to pay. A Party who does not initiate suit for the recovery of sums paid
      "under protest" with 6 months shall be deemed to have waived Its right to protest such payment.
      44.            Authority; Multiple Parties; Execution.
                               (a)       If either Party hereto is a corporation, trust. limited liability company,   partnership. or similar entity, each individual
      executing this Lease on behalf of such entity represents and warrants that he or she is duty authorized to execute and deliver this Lease on its behalf.
      Each Party shall, within 30 days after request, deliver to the other Party satisfadory evidence of such authority.
                               (b)       If this Lease is executed by more than one person or entity as "Lessee·. each such person or entity shall be JoinUy and
      severally liable hereunder. It is agreed that any one of the named Lessees shall be empowered to execute any amendment to this Lease, or other




                                                                                                                                                                              Claim 1-1 Part 4 Filed 01/28/19 Desc Exhibit 1(c) - Lease (Part
      document ancillary thereto and bind all of the named Lessees. and Lessor may rely on the same as if all of the named Lessees had executed such
      document.
                               (c)       This Lease may be executed by the Parties in counterparts. each of which shall be deemed an original and all of which
      together shall constitute one and the same instrument.
      45.            Conflict. Any conflid between the printed provisions of this Lease and typewritten or handwritten provisions shall be controlled by the
      typewritten or handwritten provisions.
      46.            Offer. Preparation of this Lease by either Party or their agent and submission of same to the other Party shall not be deemed an offer to
      lease to the other Party. This Lease l.s not intended to be binding until executed and delivered by all Parties hereto.
      47.            Amendments. This Lease may be modified only in writing. signed by the Parties in interest at the time of the modification. /\s l0ng as •Rey
      de Ae1 A=ia&oRall'/ &hange bessoo'& eGligatiens Aolliwndor; bocsee a9F0es te make sw&h roasenable nen Alone&ar,• modifisatienc te U:.is boase as may be
      reas0nabty req•ired by a beRder I• G9RR8Gti9n ,.AA U,9 0b1aining 01 normal finanGing 9r refinanGing el the Premises.
      48.            Waiver of Jury Trial.     THE PARTIES HEREBY WAIVE THEIR RESPECTIVE RIGHTS TO TRIAL BY JURY IN ANY ACTION OR
      PROCEEDING INVOLVING THE PROPERlY OR ARISING OUT OF THIS AGREEMENT.
      49.            Arbitration of Disputes. All Addendum requiring the Arbitration of all disputes between the Parties and/or Brokers arising out of this Lease




                                                                                                                                                                                       Three of Three) Page 2 of 6
      0     Is   O    is not attached to this Lease.
      50.            Americans with Disabilities AcL Since compliance with the Americans with Disabilities Ad (ADA) is dependent upon Lessee's specific use
      of the Premises, Lessor makes no warranty or representation as to whether or not the Premises comply with ADA or any similar legislation. In the
      event that Lessee's use of the Premises requires modifications or additions to the Premises in order to be in ADA compliance. Lessee agrees to make
      any such necessary modifications and/or additions at Lessee's expense.


      L ESSOR ANO LESSEE HAVE CAREFULLY READ ANO REVIEWED T HIS LEASE ANO EACH TERM AND PROVISION CONTAINED HEREIN, ANO
      BY THE EXECUTION OF THIS LEASE SHOW THEIR INFORMED AND VOLUNTARY CONSENT THERETO. THE PARTIES HEREBY AGREE
      THAT. AT THE TIME THIS LEASE IS EXECUTED, T HE TERMS O F T HIS LEASE ARE COMMERCIALLY REASONABLE AND EFFECl\JATE T HE
      INTENT AND PURPOSE OF LESSOR AND LESSEE WITH RESPECT TO THE PREMISES.
      A.T TI;NTION: NO REPRESENTATION OR RECOMMENDATION IS MADE BY THE AIR COMMERCIAL REAL ESTATE ASSOCIATION OR BY ANY
      BROKER AS TO THE LEGAL SUFFICIENCY, LEGAL EFFECT, OR TAX CONSEQUENCES OF THIS LEASE OR THE TRANSACTION TO WHICH
      IT RELATES. THE PARTIES ARE URGED TO:
      1. SEEK ADVICE OF COUNSEL AS TO THE LEGAL ANO TAX CONSEQUENCES OF THIS LEASE.
      2.    RETAIN APPROPRIATE CONSULTANTS TO REVIEW ANO INVESTIGATE THE CONDITION OF THE PREMISES.                                          SAID INVESTIGATION
      SHOULD INCLUDE BUT NOT BE LIMITED TO: THE POSSIBLE PRESENCE OF HAZARDOUS SUBSTANCES, THE ZONING OF THE PREMISES,
      THE STRUCl\JRAL INTEGRllY, THE CONDITION OF THE ROOF ANO OPERATING SYSTEMS, ANO THE SUITABILITY OF THE PREMISES FOR
      LESSEE'S INTENDED USE.


      WARNING: IF THE PREMISES IS LOCATED IN A STATE OTHER THAN CALIFORNIA, CERTAIN PROVISIONS OF THE LEASE MAY NEED TO
      BE REVISED TO COMPLY WITH THE LAWS OF THE STATE IN WHICH THE PREMISES IS LOCATED.




                                                                                                                                                                              Case 19-40193
      The parties hereto have executed this Lease at the place and on the dates specified above their respective signatures


      Executed at:        \ C) '. t) () (kyY)                                          Executed at: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      On:               '8 (? qj\ '1                                                   On: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      By LESSOR:                                                                      By LESSEE:
      Berkeley Properties, LLC                                                         Pacific Steel Casting Company LLC
      A California l imited l i ab i l ity company                                     A Delaware limited liability company

      By:
      Name Printed:
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      Address:                                                                         Address:




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       46.             Offer. Praparauon of lhis Loa:se by either Party or th.ir ag&nl end lubmlsslOf'I or anmo lo the otf'ler Party shall n ot be deemed an ottor lo
       lease to the olher Pally, Thia                 Louo ls not lnlendod lo bo binding unhl oxeeuted ,no delivered by rlA Panios hereto
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       48              Waiver o1 Ju,y Trial-                    THE PARTIES HEREBY WAJVE THEIR RESPECTIVE RIGHTS TO TRIAL BY JURY IN ANV ACTION OR
       PROCEEDING INVOLVING THE PROPERTY OR ARISING OUT OF THIS AGREEMENT.
       49.             Arbltrollon or Dl1putu, An Addendum raqulrlng ttio Arbt1r,t1on 01 all d1$put0t b• twocn IM Perties a,wor e,0~0, 1 arising oot ol thl• Leaso
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              Is        11 not attochod to 1h11 Lease.
       50.             American, with DloabllfllH Act. Slace oompllaooe with tho Amcrleans with DiaablJllos Act (ADA) Is depond1nt upon Lo11ea's spocino uso
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       LESSOR AND LESSEE HAVE CP.REFVLLV RJ;AD ANO REVIEWED THIS LEASE ANO EACH TERM ANO PROVISION CONTAINED HEREIN, P.NO
       BY THE EXECUTION OF THIS LEASE SHOW THEIR INFORMED AND VOLUNTARY CONSENT THERETO. THE PARTIES HEREBY AGREE
      THAT, AT THE TIME THIS LEASE IS EXECUTED, THE TERMS OF THIS LEASE ARE COMMt;RCI/\LLY REASONA8LE ANO EFFECTUATE THE
       INTENT AND PURPOSE OF LESSOR ANO LESSEE WITH RESPECT TO THE PREMISES.
      ATTENTION;              NO REPRESfNTATION OR RECOMMENDATION IS MADE BY THE AIR COMMeRCIAL REAL ESTATE ASSOCIATION OR BY ANY
      BROKER AS TO THE LEGAL SUFFICIENCY, LEGAL EFFECT, OR TAX CONSEQUENCES OF THIS LEASE OR THE TRANSACTION TO WHICH
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      1. SEEK ADVICE OF COUNSEL AS TO THE LEGAL AND TAX CONSl:QUENCES OF THIS Ll:ASE.
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      SHOULO INCLUDE BUT NOT BE LIMITED TO: THE POSSIBLE PRESENCE OF HAZARDOUS SUBSTANCES, THE ZONING OF THE PREMISES,
      THE STRUCTURAL INTl:GRITV, THE CONDITION OF THE ROOF ANO OPERATING SYSTEMS, ANO fHE SUITABILITY OF THE PREMISES FOR
      LESSEE'S INTENDED                       use.
      ~                     tF THE PREMISES IS LOCATED IN A STATE OTHER THAN CALIFORNIA, CERTAIN PROVISIONS OF THE LEASE MAV NEED TO
      BE REVISED TO COMPLY WITH THE LAWS OF THE STATE IN WHICH THE PRl:M!SES IS LOCATED,


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      Telephone:(_      )                                                      Telephone:(_ _)




                                                                                                                                                    Claim 1-1 Part 4 Filed 01/28/19 Desc Exhibit 1(c) - Lease (Part
      Facsimile:(__)                                                           Facsimile:(___)
      Federal ID No.                                                           Federal ID No.


      NOTICE: These fonms are often modified to meet changing requirements of law and industry needs. Always write or call to make sure you
      are utilizing the most current fonm:   AIR Commercial Real Estate Association, 800 W 6th Street, Suite 800, Los Angeles, CA 90017.
      Telephone No. (213) 687-8TT7. Fax No.: (213) 687-8616.


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      INITIALS
                                                                                                                               &-
                                                                                                                                INITIALS

     ©2001 • AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                    FORM STN-11-8/0SE
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                                                 ADDENDUM

  Date: August 29, 2014

  By and Between (Lessor) Berkeley Properties, LLC, a California limited liability company
                 (Lessee) Pacific Steel Casting Company LLC, a Delaware limited liability company

  Address of Premises: 1333 2°d Street, 1310 Third Street and 640 Gilman Street, Berkeley, CA




                                                                                                                         Claim 1-1 Part 4 Filed 01/28/19 Desc Exhibit 1(c) - Lease (Part
  Paragraphs 55-60

  55.       Lessor agrees that any amount detennined to be due to Lessee (as Buyer) under Section 10.01
  (the "10.01 Amount") of that certain Asset Purchase Agreement dated as of June 19, 2014 by and
  between Speyside Fund, LLC, and Pacific Steel Casting Company, a California corporation ("Seller"), as
  amended by the First Amendment to Asset Purchase Agreement dated August--> 2014 (as so amended,
  the "Asset Purchase Agreement"), on account of any breach of a representation, warranty or covenant by
  Seller under the Asset Purchase Agreement shall be paid to Lessee through an abatement in the amount of
  base rent otherwise payable by Lessee to Lessor under this Lease. The abatement shall commence on the
  later of (i) the end of the rent abatement provided for in Section 57 below or (ii) the final determination of




                                                                                                                                  Three of Three) Page 5 of 6
  the 10.01 Amount, and sha ll continue until the amount of such base rent abatement equals the 10.01
  Amount., after which the rent under the Lease shall be fully payable pursuant to the terms of this Lease.

  56.      Pursuant to the terms of the Asset Purchase Agreement, Seller provided to Lessee due diligence
  materials, including without limitation certain environmental reports identified in Schedule 5.01(n)(ii)
  thereto relating to the Premises (collectively "Asset Purchase Agreement Disclosures"), and Lessee has
  also had an opportunity to conduct its own physical and regulatory environmental investigations of the
  Premises ("Lessees's Environmental Due Diligence") prior to the closing of the transaction under the
  Asset Purchase Agreement. The Asset Purchase Agreement provides for a rent abatement in the event any
  contamination by Hazardous Materials not disclosed in the Asset Purchase Agreement Disclosures is
  discovered at any time up to ninety (90) days following the closing. For purposes of this Lease, the term
  "Undisclosed Hazardous Substances" means any Hazardous Substances which (i) existed on the Premises
  prior to Lessee's occupancy, (ii) was not disclosed in any of the Asset Purchase Agreement Disclosures,
  and (ii) the existence of which was made aware to Lessee or any of Lessee's employees or agents as a
  result of Lessee's Environmental Due Diligence before the closing or within ninety (90) days thereafter.

  Lessor shall have no responsibility or payment obligation for the investigation or remediation of any
  Hazardous Substances except with respect to Undisclosed Hazardous Substances as expressly provided in



                                                                                                                         Case 19-40193
  Paragraphs 6.2(e), 6.2(f), and 6.2(g), unless required by law or governmental authority.

  57.     Lessee shall be entitled to an abatement in the amount of base rent otherwise payable by Lessee
  to Lessor under this Lease commencing on the Commencement Date of the Lease and continuing until the
  amount of such rent abatement equals $1,000,000, after which the rent under the Lease shall be fully
  payable pursuant to the terms of this Lease, subject to any other provisions hereof expressly permitting
  abatement of base rent.

  58.     The Property Condition Assessment prepared by Atwell, LLC for Lessee identifies certain areas
  of possible current noncompliance of the Premises with the Americans With Disabilities Act ("Possible
  ADA Noncompliance"). Notwithstanding anything to the contrary in Sections 8.7 and 50 of this Lease,
  Lessor shall indemnify, protect, defend and hold harmless Lessee, its members, managers, officers,
  agents and lenders from and against any and all claims, damages, judgments, penalties attorneys' and
  consultants' fees, expenses and/or liabilities arising out of, involving, or in connection with (i) notices of




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                                                  699                                                              498
  violation or other regulatory compliance actions or proceedings relating to Possible ADA
  Noncompliance, and (ii) future private claims or legal proceedings under the ADA based in whole or in
  part on areas of Possible ADA Noncompliance. If Lessor defaults or unreasonably delays paying or
  peforming the indemnity in this Section, after written notice from Lessee, Lessee may pay or perform the
  liabilities and obligations for which indemnity is sought and recover the reasonable amounts so paid by
  Lessee., by means of an abatement of base rent hereunder, in addition to abatements described in Sections
  55, 57 and 59 hereof. Notwithstanding the foregoing, Lessor shall have no obligation of indemnity and to
  the extent such liabilities arise from any application by Lessee to make changes to the Premises or




                                                                                                                        Claim 1-1 Part 4 Filed 01/28/19 Desc Exhibit 1(c) - Lease (Part
  changes made by Lessee to the Premises.

  59.      The Property Conclition Assessment prepared by Atwell, LLC for Lessee identifies certain areas
  of possible current noncompliance of the Premises with the Applicable Requirements with regards to fire
  prevention and safety ("Possible Fire Safety Noncompliance"). Notwithstanding anything to the contrary
   in Section 8.7 of this Lease Lessor shall indemnify, protect, defend and hold harmless Lessee, its
  members, managers officers, agents and lenders from and against any and all claims, damages,
  judgments, penalties attorneys' and consultants' fees, expenses and/or liabilities arising out of, involving,
  or in connection with notices of violation or other regulatory compliance actions or proceedings relating
  to Possible Fire Safety Noncompliance. In the event that officials of the City of Berkeley require any
  repairs or alteration of the Premises to remedy any of the areas of Possible Fire Safety Noncompliance
  ("Required Work"), Lessor agrees to perform the Required Work in a timely fashion at Lessor's expense.




                                                                                                                                 Three of Three) Page 6 of 6
  If Lessor defaults or unreasonably delays in performing the Required Work or otherwise to indemnify
  Lessee hereunder after written notice from Lessee, Lessee may perform the Required Work and recover
  the reasonable amounts paid by Lessee to unaffiliated third parties to perform the Required Work, by
  means of an abatement of base rent hereunder, in addition to abatements described in Sections 55, 57 and
  58 hereof. Notwithstanding the foregoing, Lessor shall have no obligation to make any repairs or
  alterations to the Premises if the requirement is related to any application by Lessee to make changes to
  the Premises, or changes made by Lessee to the Premises and this Section 59 in no way constitutes a
  representation or warranty by Lessor with respect to the safety of the Premises.

  60.      The Premises includes that certain real property, including all improvements thereon, owned by
  Lessor, commonly known as 648 Page Street, 1314, 1320, 1333, 1420 and 1421 2nd Street, 1310 3rd
  Street, 640 Gilman St. and 1305 and 1401 Eastshore Highway in the City of Berkeley, located in
  Alameda County, State of California, more particularly described on Exhibit A, attached hereto.




                                                                                                                        Case 19-40193




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                                                 699                                                              499
      Berkeley Properties LLC
      7 West 41st Avenue - #523
      San Mateo, CA 94403


November 16, 2018


VIA EMAIL AND OVERNIGHT COURIER

Jerry Johnson
Pacific Steel Casting Company LLC
1333 2nd Street, Berkeley, CA 94710
Email: jjohnson@pacificsteel.com

Re:     Notice of Application of Security Deposit under that certain Lease Agreement dated
        August 29, 2014 (the “Lease”) between Berkeley Properties, LLC (“Berkeley
        Properties”), as lessor, and Pacific Steel Casting Company LLC (“PSCC”), as lessee


Dear Jerry:

As set forth our letter to PSCC dated November 2, 2018, PSCC has not timely paid the rent
owed for the month of November 2018 under Section 1.5 of the Lease in the amount of
$89,554. PSCC has not paid the amount since receipt of the November 2nd letter, and thus the
failure to pay November 2018 rent constitutes a Default under Section 13.1(b) of the Lease.

This letter serves as written notice that as a consequence of the above Default, Berkeley
Properties has applied the security deposit in the amount of $89,554 under the Lease to the
unpaid rent for November 2018.

Nothing contained herein nor any action, inaction or delay by Berkeley Properties in the
exercise of any contractual, legal or equitable right, remedy, power or privilege under the Lease
shall (a) operate as an amendment of the Lease or a waiver of any such right, remedy, power or
privilege; (b) be construed as a consent to or forbearance with respect to any default under the
Lease; (c) obligate Berkeley Properties to make any accommodation; or (d) otherwise impair
any right, remedy, power or privilege of Berkeley Properties afforded to it by contract (including,
without limitation, the Lease), law, equity or otherwise. Furthermore, neither the single nor
partial exercise of any contractual, legal or equitable right, remedy, power or privilege with
respect to any default shall preclude any other or further exercise thereof, or the exercise of any
such other right, remedy, power or privilege. The rights, remedies, powers and privileges
afforded to Berkeley Properties by contract (including, without limitation, the Lease), law, equity
or otherwise are cumulative and not exclusive of one another or of any other right, remedy,
power or privilege to which Berkeley Properties is otherwise entitled. No notice to or demand
upon PSCC in any instance shall in itself entitle PSCC to any other or further notice or demand
in similar or other circumstances or constitute a waiver of the right of Berkeley Properties to take
any other or further action in any circumstance without notice or demand.

Should you have any questions, please do not hesitate to contact the undersigned.




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                   Application of Security                                          500
Jerry Johnson
November 16, 2018
Page 2



Very truly yours,



Berkeley Properties, LLC


By: Arch & Beam Global LLC, in its capacity as
Plan Administrator for Berkeley Properties, LLC


      By: _______________________
          Matthew English
          its Managing Director



SMRH:488441112.1


cc:     Howard Bailey
        Brendan Cronin
        Michael Lauter
        Tracy Green




Case:Case
      19-04057  Doc#Claim
          19-40193   85 Filed:  10/02/20
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                   Application of Security                                          501
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  Fill in this information to identify the case:

  Debtor 1         Pacific Steel Casting Company LLC

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the:           Northern               District of         CA
                                                                                         (State)
  Case number           19-40193 RLE




Official Form 410
 Proof of Claim                                                                                                                                                       04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                  Second Street Properties
                                  Name of the current creditor (the person or entity to be paid for this claim)

                                  Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                   ~     No
   someone else?                   □ Yes. From whom?
3. Where should notices           Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                        different)
   creditor be sent?
                                  Second Street Properties c/o Michael Lauter                                 Second Street Properties, attn: Matthew English
   Federal Rule of                Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                 4               Embarcadero Center, 17th Floor                              7               West 41st Avenue - #523
                                  Number           Street                                                     Number          Street
                                  San Francisco                    CA                        94111            San Mateo                CA                      94403
                                  City                             State                           ZIP Code   City                             State               ZIP Code

                                  Contact phone             (415) 434-9100                                    Contact phone             (415) 839-8488
                                                                                                                                       ssp.bp.pa@arch-
                                  Contact email        mlauter@smrh.com                                       Contact email               beam.com


                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend           ~     No
   one already filed?
                                   □     Yes. Claim number on court claims registry (if known)                                            Filed on
                                                                                                                                                     MM / DD / YYYY



5. Do you know if anyone           ~     No
   else has filed a proof
   of claim for this claim?        □     Yes. Who made the earlier filing?


   Official Form 410                                                        Proof of Claim                                                                   page 1

             Case:
               Case19-04057
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                               Claim           10/02/20
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                                                                                        American LegalNet, Inc.

                                                      699
                                                                                        www.FormsWorkFlow.com
                                                                                                               503                                   [ ========-.. . : . .,_
 Part 2:      Give Information About the Claim as of the Date the Case Was Filed

 6. Do you have any number        [8J No
    you use to identify the
    debtor?
                                  □ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:

7.    How much is the claim?        $           24,294,699.00               . Does this amount include interest or other charges?
                                                                               [8J No
                                                                              □    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                  Limit disclosing information that is entitled to privacy, such as health care information.


                                  Indemnity Obligations in APA (See Addendum)


 9. Is all or part of the claim   [8J No
    secured?
                                  □ Yes. The claim is secured by a lien on property.
                                            Nature of property:

                                           □  Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.

                                           □ Other.
                                             Motor vehicle

                                           □        Describe:



                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                            Value of property:                           $
                                            Amount of the claim that is secured:         $

                                            Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                   amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                $


                                            Annual Interest Rate (when case was filed)               %

                                            □   Fixed

                                            □   Variable



10. Is this claim based on a      [8J No
    lease?
                                  □ Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a    [8J No
    right of setoff?
                                  □ Yes. Identify the property:

     Official Form 410                                                Proof of Claim                                                          page 2
            Case:
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                                                                                                   504
                                                                                                                                     www.FormsWorkFlow.com
                                                     699
12.Is all or part of the claim           No
  entitled to priority under
  11 U.S.C. § 507(a)?             □ Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly            □ 11Domestic support obligations (including alimony and child support) under
                                          U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                     $
   priority and partly
   nonpriority. For example,
   in some categories, the
   law limits the amount
                                         □ personal,
                                           Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
                                                     family, or household use. 11 U.S.C. § 507(a)(7).                                             $
   entitled to priority.

                                         □ bankruptcy
                                           Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                                      petition is filed or the debtor’s business ends, whichever is earlier.                      $
                                              11 U.S.C. § 507(a)(4).
                                                                                                                                                  $
                                         □ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                         □ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $


                                         □ Other. Specify subsection of 11 U.S.C. § 507(a)(                      ) that applies.                  $
                                         * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.




Part 3: Sign Below

The person completing            Check the appropriate box:
this proof of claim must
sign and date it.                ~ I am the creditor.
FRBP 9011(b).
                                 □ I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP             □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes            □ I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
courts to establish local
rules specifying what a          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
signature is.                    amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,      and correct.
 imprisoned for up to 5
 years, or both.            I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.                                              01/28/2019
                            Executed on date
                                                           MM / DD / YYYY




                                         Signature



                                 Print the name of the person who is completing and signing this claim:

                                 Name                 Matthew English
                                                          First name                          Middle name                             Last name

                                 Title                Manager of Arch & Beam Global, LLC, Court Appointed Plan Administrator
                                 Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                 Address              7                     West 41st Avenue - #523
                                                          Number            Street

                                                      San Mateo                                                       CA             94403
                                                          City                                                         State          ZIP Code

                                 Contact phone        (415) 839-8488                                                  Email    ssp.bp.pa@arch-beam.com


Official Form 410                                                            Proof of Claim                                                                page 3

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                  19-40193 Doc# 852-1Filed:
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        Addendum to Proof of Claim Submitted by Creditor Second Street Properties

                   In the Bankruptcy Case of Pacific Steel Casting Company LLC

                                         Case No. 19-40193 RLE

            United States Bankruptcy Court for the Northern District of California,
                                     Oakland Division



        This Addendum forms a part of and is incorporated into the proof of claim (the “Proof of
Claim”) submitted by creditor Second Street Properties, f/k/a Pacific Steel Casting Company
(“Second Street”) in the bankruptcy case of debtor Pacific Steel Casting Company LLC
(“PSCC”), pending in the United States Bankruptcy Court for the Northern District of California,
Oakland Division (the “Bankruptcy Court”) as Case No. 19-40193 RLE (the “Bankruptcy
Case”).

        Second Street, as seller, and Speyside Fund, LLC, as buyer, are parties to that certain
Asset Purchase Agreement dated June 19, 2014 (as amended, the “APA”). Section 10.04 of the
APA purports to assign all rights and obligations of Speyside Fund, LLC as buyer to its
subsidiary, PSCC, following closing of the transactions contemplated in the APA. Closing under
the APA occurred on August 29, 2014. Second Street is evaluating whether the indemnity
claims that form the basis of this proof of claim are properly brought against Speyside Fund,
LLC, PSCC, or both. Second Street files this proof of claim based on said indemnity claims
against PSCC in order to preserve such claims against PSCC in the event that either (x) a
reviewing court were to determine that PSCC were the sole party liable for such claims, or (y) a
reviewing court were to determine that PSCC was jointly and severally liable for such claims
with Speyside Fund, LLC.

         In Section 7.10(a) of the APA, PSCC and/or Speyside Fund, LLC indemnify Second
Street for all withdrawal liability under ERISA that may be triggered by PSCC and/or Speyside
Fund, LLC. In particular, Section 7.10(a)(iii) provides in part that: “Buyer shall indemnify Seller
and hold Seller harmless from and against any liability incurred by Seller pursuant to Section
4204 of ERISA and this subsection (iii).”

        The liability of Second Street and Berkeley Properties to the multi-employer pension plan
in question, CMTA-Glass, Molders, Pottery, Plastics and Allied Workers Local 164B Pension
Trust (the “Pension Trust”) is secured by a first position deed of trust recorded against all of the
real property owned by Berkeley Properties, LLC (the “Deed of Trust”). 1

        In October 2017, PSCC announced that it would be going out of business. On
December 14, 2017, PSCC cancelled the bond required to be posted by PSCC under ERISA
section 4204(a)(1)(B). On December 28, 2017, the Pension Trust send a default letter to Second

1
 Berkeley Properties, LLC is a wholly owned subsidiary of Second Street. The deed of trust was given under
Section 4204 of ERISA as part of a confirmed chapter 11 plan in the bankruptcy cases of Second Street and
Berkeley Properties, which were and are before this Court as Case Nos. 14-41045 and 14-41048.

SMRH:489282078.1                                      -1-
Case:
  Case19-04057
        19-40193 Doc# 852-1Filed:
                  Claim           10/02/20
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Street and Berkeley Properties under the Deed of Trust, notifying them that PSCC’s cancellation
of its bond had triggered withdrawal liability under ERISA for Second Street in the amount of
$24,294,699.00.

       Second Street thus submits a claim against PSCC under the indemnity provisions of
Section 7.10 of the APA for the amount of the withdrawal liability triggered by PSCC as asserted
by the Pension Trust: $24,294,699.00.

        Second Street reserves the right to: (i) amend or supplement this proof of claim to the
maximum extent permissible under applicable law, and (ii) file additional proofs of claim for
additional claims which may be based on the same or additional documents. This proof of claim
is made without prejudice to the filing by Second Street of additional proofs of claim with
respect to any other indebtedness or liability of any of PSCC to Second Street. Filing this proof
of claim is not a waiver or release of Second Street’s rights against any person, entity or
property.

        By executing and filing this proof of claim, Second Street does not waive any right to any
security or any other right or rights with respect to any claim it has or may have against any
PSCC, or any other person, persons, entity or entities. Second Street expressly reserves all rights
accruing to it and the filing of this proof of claim is not intended and should not to be construed
to be as an election of remedies, or a waiver or limitation of any Second Street’s rights, claims,
or causes of actions.




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                                                                     EXHIBIT A

PACIFIC STEEL-6/19/2014



                         ASSET PURCHASE AGREEMENT

                                BY AND BETWEEN


                               SPEYSIDE FUND, LLC

                                       AND




                        PACIFIC STEEL CASTING COMPANY



                              Dated as of June 19, 2014




 167478.00 l/594498v6


Case:
 Case 19-04057
 Case: 14-41045 Doc#
       19-40193  Doc#85
                Claim 2-1  Filed:
                          Part
                      225-3     2 10/02/20
                                    Filed
                                Filed:         Entered:
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                              ASSET PURCHASE AGREEMENT




       This Asset Purchase Agreement ("Agreement") is entered into by and between Pacific
Steel Casting Company, a California corporation (the "Debtor" or "Seller") and Speyside FW1d,
LLC (the "Buyer" including any assignee of Buyer) as of this 19th day of June, 2014
("Agreement Date") (Seller and Buyer are sometimes referred to herein individually as a "Pa1ty"
and collectively as the "Parties".)

                                              Recitals

         A. Seller is engaged in the steel foundry business (the "Business").

       B. On March 10, 2014, the Debtor filed a voluntary petition under Chapter 11 of the
Bankruptcy Code ("Bankruptcy Code") (such petition, the "Petition") in the United States
Bankruptcy Court for the Northern District of California (the "Bankruptcy Court") initiating
Case No. 14-41045 (the "Bankruptcy Case"). No Trustee has been appointed and Seller operates
the Business as Debtor and Debtor in Possession pursuant to 11 U.S.C. l l 07 et seq.

        C. Subject to the terms and conditions set fo1ih in this Agreement and the entry of the
Sale Order (as defined in Exhibit A) Seller desires to sell to Buyer and Buyer desires to acquire
from Seller, substantially all of Seller's assets relating to the Business, in a transaction pursuant
to Sections 105,363 and 365 of the Bankruptcy Code and Rules 6004 and 6006 of the Federal
Rules of Bankruptcy Procedure (the "Transaction").

        D. Seller's board of directors has determined that it is advisable and in the best interests
of the Seller and its constituencies to enter into this Agreement and to consummate the
transactions provided for herein, and it has approved the same.

        In consideration of the foregoing and the covenants, representations, wan-anties,
agreements and conditions set forth herein and other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the Paities, intending to be legally
bound hereby, agree as follows:

                                           ARTICLE I

                                          DEFINITIONS

       1.01 Definitions. Capitalized terms used in this Agreement shall have the meanings
ascribed to them in Exhibit A hereto or as may be set forth throughout this Agreement.




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                                             ARTICLE II

                                 PURCHASE AND SALE OF ASSETS

          2.01      Asset Acquisition.

                (a) Pursuant to Sections 105,363 and 365 of the Bankruptcy Code, subject to the
entry of the Sale Order and the terms and conditions of this Agreement, at the date this
Transaction closes (the "Closing Date"), Seller shall sell, assign, transfer, convey and deliver to
Buyer, free and clear of all Encumbrances and claims (except with respect to Assumed
Liabilities), and Buyer shall purchase, and take assignment and delivery of, all right, title and
interest in and to all of the assets, properties, goodwill and Business of every kind and
description and wherever located, whether tangible or intangible, personal or mixed, directly or
indirectly owned by Seller or to which it is directly or indirectly entitled and, in any case,
belonging to or used or intended to be used in the Business, other than the Excluded Assets. The
property to be acquired (all such assets, propetiies and rights purchased by Buyer being referred
to herein as the "Acquired Assets") includes, without limitation, the following assets, prope11ies
and rights of Se11er:

                      (i)    all of Seller's inventory, including products, works in process,
processed parts, finished goods, raw materials, supplies, and components intended for sale
wherever located ("Inventory");

                       (ii)    all of Seller's tools, equipment, vehicles and other tangible
personal property that is used, held for use or intended for use in the Business, or which is being
utilized or operated by Seller, wherever located, together with any transferrable warranty and
service rights applicable to Seller with respect to said Acquired Assets;

                    (iii)  all of Seller's right, title and interest relating to prepaid expenses,
advance payments and deposits other than those directly related to Excluded Assets;

                       (iv)    all accounts receivable, notes, evidences of indebtedness of any
kind, from third parties arising from the conduct of the Business, whether or not in the ordinary
course of business, together with any unpaid financing charges thereon, and all amounts which
have been earned by Seller but which have not yet been invoiced;

                           (v)    all rights of Seller under the Assumed Contracts;

                       (vi)     all franchises, permits, licenses, agreements, waivers and
authorizations issued by any Governmental Entity held or used by Seller in connection with, or
required for, the Business, to the extent transferable (collectively "Permits");

                     (vii) all of Seller's right, title and interest in, to and under all Intellectual
Prope11y owned, licensed or sublicensed by or to Seller to the extent transferable;

                      (viii) books and records of Debtor other than those included in Excluded
Assets, including customer lists, invoices, shipping records, supplier lists, equipment
maintenance data, sales and sales promotional data and materials, cost and pricing information,

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quality control records and manuals, blueprints, research and development files, records and
laboratory books, patent disclosures, credit records, drawings, correspondence, and any other
records and data, and all computer software and programs and any rights thereto that are used in,
or relating to, the Business;

                      (ix)    all of Seller's promotional and advertising materials relating to the
Business as presently conducted, including all catalogs, brochures, plans, customer lists, supplier
lists, manuals, handbooks, equipment and parts lists, and dealer and distributor lists;

                          (x)     any and all goodwill of Seller relating to the Business; and

                     (xi)   except to the extent excluded herein, all rights and obligations
under non-disclosure or confidentiality and similar arrangements with or for the benefit of
employees, independent contractors and agents of Seller or with third parties;

                          (xii)   any and all telephone and facsimile numbers, domain names and
email addresses;

                       (xiii) all prior and current workers compensation Insurance Policies of
the Seller, and all rights of any nature with respect thereto, including all insurance recoveries
thereunder and rights to assert claims with respect to any such insurance recoveries, and rights to
be indemnified and defended under such Insurance Policies; and

                          (xiv)   all proceeds and products of the Acquired Assets.

              (b) All of the Acquired Assets are being sold to Buyer free and clear of all Liens,
Encumbrances and claims to the fullest extent permissible under Section 363(t) of the
Bankruptcy Code pursuant to an order by the Bankruptcy Court as described in Section 7.02
below (the "Sale Order").

               (c) Except as specifically provided in this Agreement, Seller makes no
representations or warranties whatsoever respecting the Acquired Assets. Except as specifically
provided in this Agreement, the Acquired Assets are sold "as is" and "where is".

       2.02 Excluded Assets. Seller is not selling, assigning, or transfening to Buyer, and
Buyer is not purchasing, and the term "Acquired Assets" does not include, any interest in the
following (the "Excluded Assets"):

               (a) corporate and financial books and records of Seller, including Seller's
organization documents, minute and stock record books, tax returns, checkbook, cancelled
checks, provided that upon request, Buyer may have reasonable access to such books and records
and the opportunity to make copies thereof. Seller will retain a copy of the records of accounts
receivable and payable.

               (b) causes of action arising under Sections 544 through 552 of the Bankruptcy
Code and all proceeds thereof;

                   (c) rights of Seller under Contracts not included within the Assumed Contracts;

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               (d) all documents and personnel records of Seller's employees that Seller is
required by law to retain and is prohibited by law from providing a copy thereof to Buyer;

                    (e) all capital stock or other equity interests issued by Seller;

               (f) all prior and current Insurance Policies of the Seller and/or of Berkeley
Properties, LLC, and all rights of any nature with respect thereto, including all insurance
recoveries thereunder and rights to assert claims with respect to any such insurance recoveries, in
each case, other than workers compensation Insurance Policies;

              (g) all those certain deposits or prepaid amounts funded by Seller for the purpose
of the Bankruptcy Case including utility deposits, all as identified on in Schedule 2.02(g);

               (h) all Benefit Plans (including all assets, trusts, insurance policies and
administration service contracts related thereto) that are not assumed by Buyer;

             (i) all claims that the Seller may have against any Person solely with respect to
any Excluded Assets or any Excluded Liabilities:

             G) Seller's cash on hand or in bank or other depository accounts, money market
funds and other liquid investments, the Good Faith Deposit, and any proceeds of Excluded
Assets;

                (k) Any asset of the Seller that otherwise would constitute an Acquired Asset but
for the fact that it is sold or disposed of in the ordinary course of Seller's business during the
time from the Agreement date until the Closing Date;

          2.03      Liabilities.

                (a)     Other than the Assumed Liabilities, Buyer shall not assume or agree to
pay, perform or discharge, any debts, liabilities, obligations, claims, expenses, taxes, or
commitments of any kind or character, whether accrued or fixed, absolute or contingent, matured
or unmatured or detennined or undetermined (collectively, "Liabilities") of Seller or become
liable to Seller or any other Person, for any Liabilities of Seller. Liabilities include, without
limitation, any Liability of Seller relating to or arising from: (i) any infringement by Seller on the
rights of others in connection with the Business; (ii) any and all taxes of any nature with respect
to the period prior to Closing; (iii) any liability arising from a violation by Seller of any laws
governing employee relations, including anti-discrimination laws, wage and hour laws, labor
relations laws, occupational safety and health laws or any other laws applicable to Seller or the
Business or the Acquired Assets with respect to the period prior to Closing (other than Liabilities
under Assumed Plans described in Section 2.03(b)(iii); or (v) liability arising from Seller's fraud,
breach, malfeasance, misfeasance, negligence, strict liability in tort, injury to persons or prope1iy
or under any other theory relating to the Business, the Acquired Assets or the conduct,
performance or non-performance of Seller.

              (b)    At Closing, Buyer shall assume from Seller (and pay, perform, discharge,
and otherwise satisfy in accordance with their respective terms) the following liabilities (the
"Assumed Liabilities"):

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                             (i)   all Liabilities arising from the ownership of the Acquired Assets
after the Closing Date;

                      (ii)   all Liabilities of Seller arising under the Assumed Contracts to the
extent that such Liabilities first accrue on or after the Closing Date, and all obligation to
demonstrate adequate assurance of future perfonnance required by the Bankruptcy Court under
365(b)(l)(C) of the Bankruptcy Code;

                        (iii)  the obligations to administer or to provide benefits, payments
under the Benefit Plans that Buyer asswnes as listed on Schedule 2.03(b)(iii) (the "Assumed
Plans") after the Closing Date, and all Liability arising from Buyer's termination of or
withdrawal from any Assumed Plan; provided that with respect to any retiree under the Non-
Union Pension Plan, whose te1mination date occmred after April 1, 2011, and prior to the
Closing Date or is listed on Schedule 2.03(b)(iii), Buyer shall not assume any liability for and
Seller shall be solely responsible to pay any amounts in excess of the retirement benefit amounts
previously determined to be due to such persons, all interest required to be paid to such persons
in respect of unpaid benefits. Seller shall establish a reserve for any such retirement benefits
amounts determined to be due by depositing $20,000 in the attorney trust account of Binder &
Malter LLP which deposit shall be held and used to fund such amounts and held in such account
until such benefit entitlement (or lack thereof) is definitely determined;

                       (iv)    all Liabilities and obligations of Seller arising under transferable
licenses, Permits and governmental authorizations of Seller identified on Schedule 2.03(b)(iv),
and Intellectual Property rights first accruing from and after the Closing Date;

                      (v)     any accrued but unpaid vacation obligations as of the Closing Date
to Seller's employees listed on Schedule 2.03(b)(v) (the amount of such obligations as of May
31, 2014, total $1,032,441.83) whom Buyer elects to hire, except that Buyer shall not assume
any such obligations resulting from accounting errors in the calculations of accrued or unpaid
vacation obligations of Seller or Seller's agent pertaining to union employees whose vacation
was not properly adjusted on anniversary dates and for which Seller shall be liable;

                        (vi)   accounts payable and accrued expenses in the aggregate amount of
up to $1 million as listed on Schedule 2.03(b)(vi) and ce11ain Liabilities for pending orders from
customers arising out of the conduct of the Business after the Closing Date, expenses for
customer rebates and for goods or materials received in transit but not yet invoiced as of the
Closing Date, as listed on Schedule 2.03(b)(vi); and

                     (vii)   all of Seller's Liabilities for all claims made or asserted by any
employee or f01mer employee of Seller for workers compensation benefits for occurrences or
claims made solely with respect to the policy years beginning April 1, 2012, April 1, 2013 and
April l, 2014.

         2.04          Assumption of Contracts; Cure Amounts.

              (a)     Assumption of Contracts. Seller shall assume, and assign to Buyer, any
unexpired lease or executory contract (as those terms are used in Section 365 of the Bankruptcy
Code) to which Seller is a party ("Executory Contract"), and that is designated in a motion to

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assume and assign contracts filed by Seller with the Bankruptcy Court in conjunction with the
Sale Motion, which motion shall be filed within the time described in Section 7.02(b) (such
designated Executory Contracts are "Assumed Contracts"). Attached as Schedule 2.04(a) is a
list of the Executory Contracts including the Collective Bargaining Agreement, that are expected
to be Assumed Contracts, but the controlling designation of contracts, other than the Collective
Bargaining Agreement which must be an Assumed Contract (subject to appropriate
modifications agreed to by the parties), shall be in the order allowing and directing assumption
and assignment of the Assumed Contracts to Seller. Seller shall also assume, and assign to
Buyer, any other Executory Contracts related to the Business and designated by Buyer, in its sole
discretion and by written notice to the Seller, for assumption and assignment at any time and
from time to time after the Agreement Date and prior to the ently of an order rejecting such
Executory Contract. Buyer shall have the sole discretion to remove any Assumed Contract (other
than the Collective Bargaining Agreement) previously designated for assumption and
assignment, at any time and from time to time prior to the effective date of the assumption by the
Seller of such Executory Contract. The Seller shall not reject any Executory Contract without
providing Buyer (i) prior written notice of its intent to reject such Executory Contract, (ii) a copy
of such Executory Contract, and (iii) the prior opportunity to designate such Executory Contract
as an Assumed Contract. If Buyer removes a contract from the "assumed" list after the sale
hearing, Buyer shall reimburse the estate for any damages that the bankruptcy estate suffers
resulting from the rejection of the contract.

               (b)    Curing Defaults and Assignment. At Closing, the Seller shall asswne each
of the Assumed Contracts pursuant to Section 365(a) of the Bankruptcy Code, and sell and
assign to Buyer each of the Assumed Contracts pursuant to Sections 363(b), (f) and (m) and
365(f) of the Bankruptcy Code. All amounts, as determined by the Bankruptcy Court, or as
agreed between Seller and the non-debtor patty, necessary to cure an Assumed Contract (the
"Cure Amounts") shall be paid by Seller at or before the Closing, or credited against the
Purchase Price. Buyer shall also provide each non-debtor party with adequate assurance of
future performance. The Cure Amounts must be sufficient to relieve Seller from all obligations
with respect to defaults arising or existing under the Executory Contracts prior to the Closing
Date.

                                          ARTICLE Ill

                                       PURCHASE PRICE

         3.01      Purchase Price.

                (a)    Good Faith Deposit. Upon execution of this Agreement the Buyer shall
pay $500,000 for deposit into the Binder & Malter LLP Client Trust Account in escrow on
behalf of Seller and Buyer by delivery of a cashier's check to Binder & Malter LLP or wire
transfer into said account. This is the "Good Faith Deposit."

                (b)    The pw:chase price for the Acquired Assets (the "Purchase Price") shall
consist of the following:

                         (i)    $10,800,000.00;

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                         (ii)   the Good Faith Deposit; and

                      (iv)      any additional amount the Buyer chooses, in its sole discretion, to
over~bid at the Auction.

The Parties agree that, as of the Agreement Date, not including any amom1t for overbid at the
Auction, the Purchase Price is approximately $11,300,000.00.

                   (c)   Purchase Price Adjustments.

                      (i)     Determination of Amount. The Purchase Price shall be increased
or decreased to account for the difference between $26,853,679 and the Net Working Capital on
the Closing Date. If Net Working Capital is greater on the Closing Date, the Purchase Price sha11
be increased by the amount of such difference. If Net Working Capital is lower on the Closing
Date, then the Purchase Price shall be reduced by such difference. Two (2) business days prior
to the Closing Date, Seller shall deliver to Buyer an estimated calculation of Seller's Net
Working Capital as of the Closing Date ("Estimated Closing Date Net Working Capital"). The
amount of the Estimated Closing Date Net Working Capital shall be used to determine the
Purchase Price payable by Buyer (subject to adjustment pursuant to this Agreement) on the
Closing Date.

                        (ii)   Procedure. Buyer intends to conduct a physical count of inventory
on hand at the Real Property on the Closing Date, and Seller may have representatives present
during such count. The results of such physical count shall be binding on the parties as to the
volume of inventory on hand at the plant, less damaged or otherwise unsaleable items. Inventory
of domestic castings shall be valued for purposes of this Agreement at the amounts per ton set
forth on Schedule 3.0l(c)(ii). All other inventory elements shall be valued in accordance with
GAAP. Accounts receivable shall be valued in accordance with GAAP, consistently applied.
Within twenty (20) business days after the Closing Date, Buyer shall deliver to Seller a written
and detailed calculation of the Net Working Capital as of the Closing Date as determined by the
Buyer along with related work papers, together with a statement of the amount of the Purchase
Price adjustment ("Purchase Price Adjustment Statement"). After the delivery of the Purchase
Price Adjustment Statement, the Parties shall cooperate in connection with the review of the
Purchase Price Adjustment Statement, including reasonable access to materials used in the
preparation of the Purchase Price Adjustment Statement. Each Party shall then have thirty (30)
days from receipt of the Purchase Price Adjustment Statement to fo1mally notify the other Party
of any objections to or disputes of the Purchase Price Adjustment Statement (the "Dispute
Notice"). If either Party delivers a Dispute Notice, the Parties shall use reasonable, good-faith
efforts to resolve any such objections within ten ( I 0) days following receipt of such Dispute
Notice, and if any such objections are so resolved within such ten (10) day period, the Purchase
Price Adjustment, with such changes as may have been previously agreed in writing by the
Parties, sha11 be final and binding to the extent of any items no longer in dispute. If all items of
dispute are so resolved, the Purchase Price Adjustment Statement (as so modified) shall be
conclusive and binding on all Pru.ties. If the Parties fail to reach agreement with respect to all of
the matters set forth in the Dispute Notice within the aforementioned ten (10) day period, then
they shall, within seven (7) business days thereafter, retain a mutually acceptable national
independent accounting firm (the "Independent Accountant"), subject to approval of the

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Bankruptcy Court, to resolve any amounts then remaining in dispute ("Disputed Items"), and any
amounts not so disputed (the "Undisputed Items") shall be final and binding on the Paities. The
Parties shall cooperate fully with the Independent Accountant so as to enable it to make such
determination as quickly and as accurately as practicable. The Independent Accountant shall
have thirty (30) business days from its selection and appointment to resolve Disputed Items only
in writing with an explanation of the basis for its determination, with a copy to all Patties. The
Independent Accountants shall only decide the specific items under dispute by the Parties and
their decision for each Disputed Item must be within the range of values assigned to each such
item in the Purchase Price Adjustment Statement and the Dispute Notice, respectively. The
determination of the Independent Accountant shall be final and binding on the Patties, absent
manifest enor or willful misconduct, and the cost of the Independent Accountant shall be borne
by the Party whose position is determined to be the least correct by the Independent Accountant.
The Party owing the Purchase Price adjustment amount shall pay such amount to the other Party
by wire transfer no later than ten (10) business days following (i) the delivery date of the
Purchase Price Adjustment Statement to Seller, or (ii) the Independent Accountant's final
determination with respect to the Purchase Price Adjustment Statement, as the case may be.

               (d)    The Purchase Price shall be paid in part by release to Seller of the Good
Faith Deposit, with the remainder paid in Cash (subject to the adjustments set forth herein) at or
before the Closing Date.

                (e)    Prorations. Except for amounts that Buyer must pay with respect to the
Assumed Liabilities, Seller shall be responsible for the expenses relating to the Acquired Assets
and the Business up to and through the Closing Date, and Buyer shall be responsible for the
expenses relating to the Acquired Assets and the Business after the Closing Date (for example ad
valorem taxes and utilities). Expenses relating to the Acquired Assets up to and through the
Closing Date shall be paid by Seller at or before the Closing Date. To the extent that the time
period for the assessment of any expenses falls both before and after the Closing Date, then those
expenses shall be prorated as of the Closing Date, and, to the extent required, reconciled after the
Closing Date.

                (t)    Allocation of Purchase Price for Tax Purposes. As promptly as
practicable following the Agreement Date, Buyer shall deliver to the Seller a schedule, allocating
the Purchase Price atnong the Acquired Assets for all tax and other reporting purposes, which
schedule shall be subject to the Seller's consent, not to be unreasonably withheld. After the
Seller grants its consent to such schedule, the Seller and the Buyer shall be bound by such
allocation (and if necessary, any adjusted allocation), and shall file an Internal Revenue Service
Fotm 8594 and all applicable federal, state, local and foreign income, and excise tax returns in a
manner that is consistent with such allocation. If the allocation is disputed by any Governmental
Entity, the Pa1ty receiving notice of such dispute shall promptly notify the other Party
concerning the existence of such dispute and the Parties shall consult with each other with
respect to all issues related to the allocation in connection with such dispute. If a different
allocation proposed by the Internal Revenue Service (the "IRS") is finally determined, either
Party may file amended returns based on such allocation or any other allocation. An allocation
shall be considered to be finally determined when such allocation cannot be contested in any
cou1t of competent jurisdiction.


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                (g)     Good Faith Deposit. If the Buyer makes a material breach of this
Agreement before the Closing Date and such breach continues without cure ten days after
Seller's written notice to Buyer of same, then Seller may tenninate this Agreement in accordance
with Sections 4.02 and 4.03, resulting in the Good Faith Deposit becoming Seller's property,
which shall constitute the exclusive relief against Buyer in such event. If any of Seller's
representations or warranties were either untrue or inaccurate in a material respect when made or
become untrue or inaccurate in a material respect on or before the Closing Date or if the Seller
makes a material breach of this Agreement before the Closing Date, and such breach continues
ten days after Buyer's written notice to Seller of same, then Buyer may te1minate this Agreement
in accordance with Sections 4.02 and 4.03 and the Seller shall immediately return the Good Faith
Deposit in full. The Good Faith Deposit will become non-refundable property of the Seller if
Buyer is approved as the winning bidder by the Bankruptcy Court in the Sale Order, and this
Agreement is not timely terminated in accordance with Sections 4.02 and 4.03.

                                               ARTICLE IV

                                    . CLOSING AND TERMINATION

       4.01 Closing. The consummation of the Transaction (the "Closing") shall take place at
a time and date of Buyer's choosing within fifteen ( 15) business days after the entry of the Sale
Order, provided that the Sale Order has not been appealed or stayed, at the offices of Seller's
counsel.

                  (a)       Buyer Deliveries. At the Closing, Buyer shall deliver to Seller:

                      (i)    The Purchase Price, less the Good Faith Deposit, and any
adjustments or credits against the Purchase Price, including the Purchase Price adjustment and
any cure amounts owed with respect to the Assumed Contracts;

                      (ii)  To the extent necessary, assignment and assumption agreements
pertaining to the Assumed Contracts, and bills of sale, duly executed by Buyer (as necessary), in
customary form and otherwise as counsel to Seller shall reasonably request to implement and
evidence the Transaction;

                    (iii)   such other agreements, documents and instruments as Seller and its
counsel may reasonably request.

                      (b)   Seller Deliveries. At the Closing, Seller shall deliver to Buyer:

                        (i)    assumption agreements pertaining to the Assumed Contracts, and
bills of sale, duly executed by Seller, in customary fmm and othe1wise as counsel to Buyer shall
reasonably request to implement and evidence the Transaction;

                            (ii)    the required executed third party consents, if any;

                            (iii)   a certified copy of the Sale Order; and



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                       (iv)   such other agreements, documents and instruments as Buyer and
 its counsel may reasonably request.

        4.02 Termination.          This Agreement may be terminated at any time prior to the
 Closing Date:

                    (a)   by the mutual written consent of Buyer and Seller;

                 (b)  by Seller, if it is not in material breach of its obligations hereunder, upon a
 material breach by Buyer of any of its representations, warranties, covenants or other obligations
 hereunder which is not curable or, if curable, is not cured within 10 days after delivery of written
 notice thereof;

                 ( c)  by Buyer, if not in material breach of its respective obligations hereunder,
 upon a material breach by Seller of any of its representations, wananties, covenants or other
 obligations hereunder which is not curable or, if curable, is not cured within 10 days after written
 notice thereof;

                 ( d)    by Buyer, if not in material breach of its respective obligations hereunder,
 if, before the Closing, Seller's Bankruptcy is converted to a Chapter 7 case under the Bankruptcy
 Code or there is appointed an operating trustee or examiner with expanded powers;

                (e)    by Buyer or Seller if any court of competent jurisdiction or other
 Governmental Entity issues, enacted, entered, promulgated or enforced any order, judgment,
 decree, injunction or ruling which restrains, enjoins or otherwise prohibits the transaction and
 such order, judgment, decree, injunction or becomes final and non-appealable;

                 (f)     by Buyer or Seller if the Bankruptcy Court fails to enter the Sale Order
. within four days of the conclusion of the Bankruptcy Court's sale hearing;

                 (g)    by Buyer or Seller if the Closing shall not have occurred on or before 15
 days after entry of the Sale Order, provided the terminating Party is not otherwise in material
 breach of its representations, warranties or other obligations hereunder.

                (h)     Automatically and without any action by either Buyer or Seller, if the
 Bankruptcy Cami approves a Transaction with any Person other than Buyer (provided, however,
 that Buyer is not otherwise in material default under this Agreement);

                 (i)     By Buyer, if any of the conditions set fmih in Section 9.03 are not
 satisfied on or prior to the dates designated in Section 9,03 for the satisfaction of such conditions
 (provided, however, that Buyer is not otherwise in material default under this Agreement or any
 other agreement that are part of the Transaction);

          4.03      Treatment of Good Faith Deposit Upon Termination.

                 (a)      In the event that this Agreement is tenninated pursuant to Sections
 4.02(a), (c), (d), (e), (f), (g), (h) or (i) above, then the Seller shall immediately return the Good
 Faith Deposit in full.

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             (b)   In the event that this Agreement is terminated pursuant to Section 4.02(b)
above, then Buyer waives all claims to the Good Faith Deposit and it will become Seller's
property.

               (c)    In the event that this Agreement is terminated pursuant to Section 4.02(c)
then the Breakup Fee provisions of Section 7.03 shall survive termination and the Breakup Fee
shall be payable to Buyer from the proceeds of sale to a third party.

                                            ARTICLEV

                         REPRESENTATIONS AND WARRANTIES OF SELLER

       5.01 Representations and Warranties of Seller. Seller represents and warrants to
Buyer that, except as set forth in the disclosure schedules being delivered by Seller
contemporaneously herewith, but no later than five (5) business days after the Agreement Date
(the "Seller Disclosure Schedules"):

                (a) Organization and Qualification. Seller is a corporation duly organized, validly
existing and in good standing under the laws of the State of California, and is qualified to do
business in all other jurisdictions in which the failure to so qualify would constitute a Material
Adverse Effect, and has all requisite corporate power and authority to own, lease and operate its
prope1ties and to ca1Ty on its Business as it is now being conducted, subject to the limitations, if
any, imposed by applicable bankruptcy law. The jurisdictions in which each Seller is so qualified
are listed on Schedule 5.0l(a) hereto.

                 (b) Authorization of Transaction. Subject to the entry of the Sale Order, and
unless obviated by the Bankruptcy Code and other applicable law, the Seller has full corporate
power and authority to execute and deliver this Agreement and to perform its obligations
hereunder, and the execution and delivery by Seller of this Agreement and the consummation of
the Transaction have been duly and validly authorized by all necessary corporate action on the
prut of Seller. Subject to the entry of the Sale Order, this Agreement constitutes the legal, valid
and binding obligation of the Seller enforceable in accordance with its terms, and no other action
by Seller is requisite to the valid and binding execution, delivery and performance by Seller of its
obligations under this Agreement and the conswnmation of the Transaction, except as expressly
set forth in this Agreement and/or the Sale Order, except as such enforcement may be limited by
applicable bankruptcy, insolvency, moratorium or other laws from time to time in effect which
affect creditors' rights generally and by legal and equitable limitations on the enforcement of
specific remedies.

                (c) Noncontravention. Subject to the entr·y of the Sale Order, no filing with, ru1d
no permit, authorization, consent or approval of, any Governmental Entity is necessary for the
consummation by Seller of the Transaction. Subject to the entry of the Sale Order, neither the
execution and the delivery of this Agreement, nor the consummation of the Trru1saction, will (i)
violate any constitution, statute, regulation, rule, injunction, judgment, order, decree, ruling,
charge, or other restriction of any government, governmental agency, or cowt to which Seller is
subject or any provision of its articles of organization or other organizational document or (ii)
conflict with, result in a breach of, constitute a default under, result in the acceleration of, create

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in any party the right to accelerate, terminate, modify, or cancel, or require any notice under any
agreement, contract, lease, license, instrument, or other arrangement to which Buyer is a party or
by which it is bound or to which any of its assets is subject.

                (d) Title to Assets. Subject to the entry of the Sale Order, the Seller, as of the
Agreement Date, has, or as of the Closing Date will have, good title to, valid leasehold interests
in, or license or other valid rights to use, all of the Acquired Assets.

               (e) Assets used in the Business. Except the Excluded Assets, the Acquired Assets
are the only assets used by Seller to conduct the Business. Seller believes that the Acquired
Assets include all rights, prope1ties and other assets necessary to permit Buyer to conduct the
Business after the Closing Date in materially the same manner as it has been conducted by Seller
prior to the Agreement Date.

               (f) Operation of Business. From the Agreement Date through the Closing Date,
the Seller shall conduct the Business in accordance with the Bankruptcy Code, Bankruptcy
Rules, Orders of the Bankruptcy Court and applicable local guidelines. Except (i) as expressly
contemplated by this Agreement, (ii) with the prior written consent of Buyer (such consent not
be unreasonably withheld), or (iii) as required by the filing of the Bankruptcy Case or as
approved by the Bankruptcy Court and with adequate written notice to Buyer, the Seller shall not
amend, supplement, or terminate any of the Assumed Contracts; transfer any interest in any
Acquired Asset, except in the ordinary course of business; bring, settle, compromise or waive
any proceeding or legal right adversely affecting the validity or value of any Acquired Asset; or
authorize or enter into an agreement to do any of the foregoing.

               (g) Financial Statements. Seller has delivered to Buyer the Seller's audited
consolidated balance sheet as of March 31, 2013, and the related statements of operations,
stockholders' equity and cash flows (together with the auditors' report thereon) for the year ended
March 31, 2013, together with notes to such financial statements (the "2013 Year-end Financial
Statements"). Seller has or within five (5) days of the Agreement Date shall deliver to Buyer
Seller's unaudited consolidated balance sheet as of April 30, 2014, and the related statement of
operations for the one-month period ended April 30, 2014 ("April 30, 2014 Interim Financial
Statements"). On or before July 31, 2014, Seller shall deliver to Buyer: Seller's audited
consolidated balance sheet as of March 31, 2014, and the related statements of operations,
stockholders' equity and cash flows (together with the auditors' rep01i thereon) for the year ended
March 31, 2014, together with notes to such financial statements (the "2014 Year-end Financial
Statements"). On or before twenty (20) days after the end of each month, until the month in
which the Closing Date occurs, Seller shall deliver to Buyer Seller's unaudited consolidated
balance sheet as of the last day of the prior month, and the related statement of operations for
such one-month period (the "Monthly Interim Financial Statements"). The 2013 Year-end
Financial Statements, 2014 Year-end Financial Statements, April 30, 2014 Interim Financial
Statements and Monthly Interim Financial Statements are herein collectively referred to as the
"Financial Statements." Upon delivery, the respective Financial Statements shall have been
prepared in accordance with generally accepted accounting principles ("GAAP") consistently
applied throughout the periods covered thereby, and be consistent with the books and records of
the Seller.


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               (h) Accounts Receivable. Each Account Receivable is a true and correct
statement of the account for goods delivered to or services actually performed for and accepted
by, such account debtor in the ordinary course of business materially consistent with past
practice. Except as set forth in Schedule 5.0l(h). all receivables that are reflected on the
Financial Statements (net of any reserves shown thereon) (i) are valid and existing, (ii) represent
monies due for goods sold and delivered or services rendered in the ordinary course of business
materially consistent with past practice, and (iii) are not subject to any refunds or adjustments or
any defenses, rights of set-off, credits, discounts, assignment, restrictions, security interests or
other Encumbrances. Seller has not factored any of the receivables.

                        (i) Taxes.

                       (i) All federal, state, foreign, county, local and other Tax Returns required
to be filed by or on behalf of Seller have been timely filed, or extensions of the time to file have
been obtained, and when filed were true and correct in all material respects, and the taxes due
and owing were paid or adequately accrued, except to the extent contested in good faith by
proper proceedings. Seller has duly withheld and paid all Taxes required to have been withheld
and paid relating to any employee, independent contractor, creditor, stockholder, or other third
party, and all Forms W-2 and 1099 required with respect thereto have been properly completed
and timely filed and distributed.

                       (ii) The provision made for taxes on the Financial Statements is sufficient
for the payment of all material Taxes, whether or not disputed, at the date of such Financial
Statements and for all years and periods prior thereto.

                       (iii) There are no outstanding agreements or waivers extending the
statutory period of limitations applicable to any Tax Return or report of Seller or the period of
time within which any Tax Return of Seller must be filed.

                      (iv) Tri-Pacific, Inc., the majority shareholder of Seller, has received a
notice from IRS that it will be auditing the income tax returns of Tri-Pacific, Inc., Seller and
Berkeley Properties, LLC for the tax year ending March 31, 2012. Neither Buyer nor any of the
Acquired Assets shall be liable for any tax liability of Seller.

                (j) Intellectual Property. Schedule 5.0l(j) provides a true and complete list of all
Intellectual Property owned, used or held by Seller in the operation of the Business, in each case
indicating whether such Intellectual Property is owned by or licensed to Seller. Seller owns or
possesses adequate licenses or other valid rights to use all Intellectual Property used or held for
use in connection with Business and included in the Acquired Assets. To the SelJer's
Knowledge, there is not been any asse1tion or claim challenging the validity of any Intellectual
Property. To the Seller's Knowledge, the operation of the Business by Seller does not conflict
with or infringe on the rights of any other Person, and Seller has not received any claim or
written notice, and has no reason to believe that there is any unasserted or potential claim, from
any Person to such effect. Seller has taken reasonable measures to protect the proprietary nature
of each item of Intellectual Prope1ty and to maintain in confidence all trade secrets and
confidential information that it owns or uses.



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                (k) Real Property. Schedule 5.0l(k) hereto lists the street address, the current
owner and the current use of each parcel of Real Property which is related to, used, useful or held
for use in the conduct of the Business (the "Real Property''.). The Real Property constitutes all of
the real property used in the operation of the Business as currently conducted. Seller is in
exclusive possession of the Real Prope1iy and the improvements thereon. Seller is not a paiiy to,
and the Real Property is not subject to, any service contract or agreement other than those listed
on Schedule 5.0l(k).

               (1) Litigation. Except as described in Schedule 5.0 l(l), to the Seller's
Kt:wwledge as of the Agreement Date, there is no action, suit, investigation or proceeding
pending or threatened against Seller or the Acquired Assets that is reasonably likely to have a
Material Adverse Effect on the operation or use of the Business, the Real Prope1ty or the
Transaction, and Seller has not received notice of any special assessment proceedings affecting
the Real Property.

                (m) Compliance. Except as set forth on Schedule 5.0l(m), to Seller's Knowledge
Seller is and at all times within the time of applicable statute of limitations has complied in all
material respects with applicable laws, rules, regulations, judgments, orders and decrees and
Pe1mits applicable to the Acquired Assets or the conduct of the Business, except for violations
which would not reasonably be expected to have a Material Adverse Effect on the Business or
the Real Property. Except as provided on Schedule 5.0l(m), within the time of the applicable
statute of limitations, Seller has not received notice of any outstanding violation of any
applicable law, ordinance, or restriction from any govermnental authority with respect to the
Business or the Real Property. Seller holds all material Permits necessary or required to operate
the Business as currently conducted. Set forth on Schedule 5.0l(m) is a list of all such Pennits
(and the status thereof), all of which are valid, effective and in good standing. Each of such
Permits is freely transferable to Buyer.

                      ( n) Environmental Matters.

                        (i)    Except as set forth on Schedule 5.0l(n)(i) hereto, (A) the current
business operations of Seller are in material compliance with all Environmental Laws; (B) during
the five years ending on the Closing Date there has been no Release at any of the properties
owned or operated by Seller (including the Real Property) which could have a Material Adverse
Effect; (C) during the five years ending on the Closing Date no Environmental Claim has been
asserted against Seller nor does Seller have Knowledge or notice of any threatened
Enviromnental Claim against Seller which could have a Material Adverse Effect; (D) during the
five yeai·s ending on the Closing Date no Environmental Claims have been asse1ied against any
facilities that may have received Hazardous Substances generated by Seller which could have a
Material Adverse Effect; (E) no property now owned or operated by Seller (including the Real
Property) has been used as a treatment or disposal site for any Hazardous Substance or contains
any w1derground storage tanks; (F) during the five yeai·s ending on the Closing Date Seller has
not failed to report to the proper Governmental Entity any Release which is required to be so
reported by any Environmental Laws which could have a Material Adverse Effect; (G) Seller
holds all licenses, Permits and approvals required under any Environmental Laws in connection
with the current operation of the Business, except for such Iicenses, permits and approvals as to
which Seller's failure to maintain or comply with could not have a Material Adverse Effect; (H)

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during the five years ending on the Closing Date Seller has not received any notification
pursuant to any Environmental Laws that (x) any work, repairs, constmction or capital
expenditures are required to be made as a condition of continued compliance with any
Environmental Laws, or any license, pem1it or approval issued pursuant thereto or (y) any
license, pennit or approval refen-ed to above is about to be reviewed, made subject to limitations
or conditions, revoked, withdrawn or terminated, in each case, except as could not have a
Material Adverse Effect; (I) to Seller's Knowledge, no Hazardous Substance is migrating from
or onto the Real Property that could reasonably be expected to give rise to any reporting,
investigation, remediation, or other liabilities or obligations under any Environmental Laws; (J)
to Seller's Knowledge, there are no conditions, circumstances, activities, practices, incidents,
actions, omissions or plans which reasonably could be expected to materially interfere with or
prevent compliance with the Environmental Laws as the Business is currently operated; and (K)
Seller has not undertaken or assumed any liability or obligation for corrective or remedial action,
or of any other Person relating to Environmental Laws.

                       (ii)   Schedule 5.0 Hn)(ii) hereto identifies all material written
environmental, health and/or safety reports generated by or on behalf of Seller within the past
five years immediately preceding the Agreement Date that have been provided to the applicable
Governmental Entity as required by Environmental Law and/or Environmental Permits, and
except where such reports could not reasonably be obtained or were not so provided, all as
described in Schedule 5.0l(n)(ii). Schedule 5.0l(n)(ii) further includes all Phase I or Phase II
environmental assessments or environmental audits relating to the Real Property obtained by
Seller within the five years immediately preceding the Agreement Date, and true and complete
copies of such reports have been provided to Buyer.

                       (iii)  Schedule 5.0l(n)(iii) hereto identifies all material Environmental
Permits, approvals or authorizations issued by any federal, state or local Government Entity to
Seller in connection with the Business or the Real Property within the two years immediately
preceding the Agreement Date, each such Environmental Permit is valid and enforceable and in
full force and effect, and Seller is in compliance, in all material respects, with the terms and
conditions of all such Environmental Permits, approvals or authorizations and no other
Environmental Permits, approvals or authorizations are necessary for operating the Business or
the Real Property as currently conducted.

                        (iv)   To Seller's Knowledge, there is currently no Release on the
Property which could have a Material Adverse Effect regardless of whetl1er the Release occurred
before or after the five-year period ending on the Closing Date.

               (o) Insurance. Schedule 5.0l(o) hereto sets forth a summary of each insurance
policy carried by Seller (including any self-insurance programs) (collectively "Insurance
Policies"). All such insurance policies are valid and binding and in full force and effect, all
premiums due thereunder have been paid in full and Seller has not received any notice of
cancellation or te1mination in respect of any such policy nor is Seller in default thereunder.

             (p) Brokers. Except as set forth on Schedule 5.0l(p) hereto, Seller is not a party
to any agreement, arrangement or understanding with any Person which will result in the


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obligation of Buyer or Seller to pay any finder's fee, brokerage commission or similar payment
in connection with the transactions contemplated by this Agreement.

                       (q) Employee Benefit Plans.

                        (i)    Seller has furnished or made available to Buyer: ( l) a complete
and accurate copy of the plan document (and any funding medium, including any trust agreement
or annuity contract, if applicable) and summary plan description of each Benefit Plan (or other
descriptions of such Benefit Plan provided to employees), including all amendments thereto; (2)
a copy of the annual reports, financial statements and/or actuarial valuations, if any, with respect
to each Benefit Plan for the three (3) year period immediately preceding the date of this
Agreement; (3) a copy of each summary of material modification for each Benefit Plan; (4) a
copy of IRS Fann 5500 for each Benefit Plan for the three (3) plan years immediately preceding
this Agreement, with all applicable schedules and accountants' opinions attached thereto; (5) the
most recent determination or opinion letter received from the IRS for each Benefit Plan which is
a 40 l (k) plan or pension plan; (6) a copy of the latest account statement, if any, reflecting the
assets of any funded Benefit Plan; (7) a copy of the Summary Annual Report as distributed to the
participants of the Benefit Plans, if applicable, for the three (3) year period immediately
preceding the date of this Agreement; and (8) any correspondence from any governmental
authority with respect to any Benefit Plan that threatens any litigation, claim, suit, investigation
or other proceeding against the Seller or any Benefit Plan that refers to or alleges any fact or
circumstance which could reasonably be expected to give rise to any such litigation, claim, suit,
investigation or other proceeding, together with any response thereto by or on behalf of the Seller
or the Benefit Plan.

                          (ii)   Except as disclosed in Schedule 5.0l(q): (l) there are no pending,
threatened, or to the Knowledge of the Seller, anticipated claims by any party, including any
Governmental Entity, relating to any Benefit Plan, other than routine claims for benefits; (2) no
Benefit Plan is currently under investigation or audit by the IRS, the U.S. Department of Labor,
any state department of labor or any similar organization or entity; (3) since its respective
inception or effective date, each of the Benefit Plans has complied in form and been operated and
maintained in all material respects in accordance with its tenns and the requirements of all
applicable laws and regulations, and in accordance therewith, the plan document underlying any
Benefit Plan has been amended and/or restated, to the extent necessary and required by law to
have been amended and/or restated byJhe Agreement Date and the Closing Date, to comply with
all applicable laws and regulations; (4) with respect to the Non-Union Pension Plan: a) all
premiums (any interest, charges and penalties for late payment, if any applicable) due the PBGC
for which premiums are required have been paid; b) the Non-Union Pension Plan has not been
terminated under circumstances which would result in liability to the PBGC; c) the Non-Union
Pension Plan is intended to be qualified under Section 401(a) of the Internal Revenue Code of
1986, as amended ("IRC"), has received a favorable determination or opinion letter from the IRS
that it is so qualified, and any trust established in connection with the Non-Union Pension Plan is
intended to be exempt from federal income taxation under Section 50I(a) of the IRC has
received a determination letter from the IRS that it is so exempt, and to Seller's Knowledge no
fact or event has occurred since the date of such determination letter from the IRS that could
reasonably be expected to result in the disqualification of the Non-Union Pension Plan or in the
loss of the exempt status of any such trust; d) the Seller has not ceased operations at a facility so

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as to become subject to the provisions of Section 4062(e) of ERISA, withdrawn as a substantial
employer so as to become subject to the provisions of Section 4063 of ERISA or ceased making
contributions on or before the date of the Closing to any Benefit Plan or ERISA Affiliate Plan
subject to Section 4064(a) ofERISA; e) the Seller has or wiil have, as of the Closing Date, made
all required contributions and payment of all interest, penalties and other amounts owed with
respect to the Non-Union Pension Plan; or f) in the last three years preceding the date hereof,
there has been no "reportable event" for Seller as defined in Section 4043(b) of ERISA and the
regulations under that Section other than those which have been reported in compliance with
ERISA or which will be the subject of the Voluntary Corrective Program submission described
in Section 7.12; (5) with respect to the Multiemployer Plan: a) the Seller has or will have, as of
the Closing Date, made all required contributions; and b) the Seller has not incurred any liability
under Title N of ERISA, including any withdrawal liability for any period prior to the Closing
Date; (6) no condition, agreement or plan provision limits the right of the Seller to amend, cut
back or terminate any Benefit Plan that it sponsors (except to the extent such limitation arises
under ERISA); (7) all contributions, premiums or payments required to be made with respect to
any Benefit Plan through the date of this Agreement and all unpaid liabilities of any Acquired
Seller with respect to any Benefit Plan that are not yet payable have been properly accrued in the
Seller's financial repotts in accordance with GAAP; (8) all annual reports required to be filed
with any governmental agency or department have been filed on or before their respective due
dates, or the due date for same has been properly and timely extended; (9) to Seller's Knowledge
no individual associated with any of the Benefit Plans has engaged in any actions that constitute
a "prohibited transaction" under the provisions of ERISA Section 406, and no actions have
previously occurred which could reasonably be interpreted to be a prohibited transaction upon
which excise taxes may be imposed; (10) no excise taxes have been imposed, incuued or paid
under the provisions of IRC Section 4975 or any similar provision during such period, and no
excise tax reports or liabilities are currently pending; (11) no Benefit Plan which is a 401 (k) plan
or pension plan has been determined to have been "top-heavy" under the provisions of IRC
Section 416, and no such Benefit Plan has failed its required discrimination testing, during the
three (3) year period immediately preceding the date of this Agreement, without corrective
actions being taken to bring the plan back into compliance with discrimination testing; and (12)
except as provided on Schedule 5.01 (q), the Seller has no ERISA Affiliates. "ERISA Affiliate"
mean an entity that would be considered a single employer with the Seller under ERISA Section
4001(b) or palt of the same "controlled group" as the Seller for purposes of ERISA Section
302(d)(3) or Section 414 of the IRC.

                       (iii)  All cuuent recipients of payments from Seller's Pension Plans are
eligible to receive such payments.

               (r)    Supplementing Schedules. Seller shall promptly supplement or amend any
schedule with respect to any matter arising after the Agreement Date that, if it had existed on the
Agreement Date, would have been required to be described in such schedule.              No matter
disclosed in any such supplemental schedule shall be deemed accepted by Buyer, or to be a
waiver by Buyer of any breach of a representation otherwise cured by such supplemental
disclosure, unless Buyer expressly waives the same in writing.




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                                           ARTICLE VI

                       REPRESENTATIONS AND WARRANTIES OF BUYER

       6.01 Representations and Warranties of Buyer. Buyer represents and warrants to
Seller that, except as set forth in the disclosure schedules being delivered by Buyer
contemporaneously herewith, but no later than five (5) business days after the Agreement Date
(the "Buyer Disclosure Schedules"):

                (a)    Organization of Buyer. Buyer is a limited liability company duly
organized, validly existing, and in good standing under the laws of the State of Delaware, and
has all requisite limited liability company power and authority to own, lease and operate its
properties and to carry on its business as it is now being conducted. At Closing, Buyer or its
assignee is duly qualified to do business and is in good standing California, and in all
jurisdictions in which the failure to so qualify would reasonably be expected to have a material
adverse effect on the ability of Buyer to consummate the Transaction. The jurisdictions in which
each Buyer is so qualified are listed on Schedule 6.0l(a) hereto.

                (b)    Authorization of Transaction. Buyer has full power and authority to
execute and deliver this Agreement and to perform its obligations hereunder, and the execution
and delivery by Buyer of this Agreement and the consummation of the Transaction have been
duly and validly authorized by all necessary corporate action on the part of Buyer. This
Agreement constitutes the legal, valid and binding obligation of Buyer enforceable in accordance
with its terms, except as such enforcement may be limited by applicable bankruptcy, insolvency,
moratorium or other laws from time to time in effect which affect creditors' rights generally and
by legal and equitable limitations on the enforceability of specific remedies.

                (c)     Noncontravention. Subject to the entry of the Sale Order, no filing with,
and no permit, authorization, consent or approval of, any Governmental Entity is necessaty for
the consummation by Buyer of the Transaction. Subject to the entry of the Sale Order, neither
the execution and the delive1y of this Agreement, nor the consummation of the Transaction, will
(i) violate any constitution, statute, regulation, rule, injunction, judgment, order, decree, ruling,
charge, or other restriction of any govermnent, governmental agency, or court to which Buyer is
subject or any provision of its articles of organization or other organizational document or (ii)
conflict with, result in a breach of, constitute a default under, result in the acceleration of, create
in any pmiy the right to accelerate, terminate, modify, or cancel, or require any notice under any
agreement, contract, lease, license, instrument, or other arrangement to which Buyer is a patiy or
by which it is bound or to which any of its assets is subject.

               (d)     Financial Statements. Buyer has the financial wherewithal and ability to
perform all of its obligations under this Agreement, including payment of the Purchase Price to
Seller.    Buyer shall have on the Closing Date sufficient unrestricted funds or committed lines
of credit on hand to pay the portion of the Purchase Price payable in cash at the Closing.

               (e)     Litigation. There is no claim, action, lawsuit, or proceeding, or to the
Knowledge of Buyer, any pending inquiry or investigation or any threatened claim, action,
lawsuit, proceeding, inquiry or investigation, in each case, by or against or affecting Buyer which

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has had or can be reasonably expected to have a material adverse effect on the ability of Buyer to
consummate the Transaction.

                (t)    Brokers. Buyer is not a party to any agreement, arrangement or
understanding with any Person which will result in the obligation of Buyer or Seller thereof to
pay any finder's fee, brokerage commission or similar payment.

                                            ARTICLE VII

                                   COVENANTS OF THE PARTIES

        7.01 Cooperation of the Parties. Except as expressly required by this Agreement,
each of the Parties will use its commercially reasonable efforts to take all actions and to do all
things necessary in order to promptly conswnmate and make effective the Transaction.

          7.02         Bankruptcy Court Matters.

                 (a)     Bidding Procedures. Promptly, but in any event, within five (5) days, after
the execution of this Agreement Seller will file a motion in the Bankruptcy Court for an order
approving bidding procedures for the sale of the Acquired Assets (the "Bidding Procedures
Order"), if such motion has not been filed previously. The Bidding Procedures Motion, shall,
among other things be in form and content reasonably acceptable to Buyer, and seek to designate
the Buyer as the "Stalking Horse Bidder", i.e. the party submitting the highest and best bid for
the Property prior to the auction to be conducted in accordance with bidding procedures subject
to Buyer's reasonable approval (the "Bidding Procedures"). Seller will seek approval of Bidding
Procedures that (i) approve the Break-Up Fee (as hereinafter defined), (ii) require that any
competing bidder for the Seller's assets must purchase them on substantially the same terms and
conditions as set forth in this Agreement (including the payment of the "Good Faith Deposit), but
for an amount at least $600,000 greater than the Purchase Price (the "Minimum Overbid"), and
(iii) that further bids must be made in increments of at least $100,000.

                (b)    Sale Motion. Promptly upon, but in any event, within five (5) days after
the entry of the Bidding Procedures Order, Seller shall file in the Bankruptcy Court one or more
motions seeking authorization of all relief required for the Sale Order, including, among other
things approval of the sale of the Acquired Assets pursuant to this Agreement and the
assumption and assignment of the Assumed Contracts (the "Sale Motion"), which Sale Motion
shall be in form reasonably acceptable to Buyer..

                (c)    Non-Assignment of Assets. Anything contained herein to the contrary
notwithstanding, this Agreement shall not constitute an agreement to assign any Acquired Asset
if, after giving effect to the provisions of sections 363 and 365 of the Bankruptcy Code, an
attempted assignment thereof, without obtaining a consent or approval required or necessary for
such assignment or transfer, would constitute a violation of the Bankruptcy Code, as expressly
determined by a final order of the Bankruptcy Court. If, after giving effect to the provisions of
sections 363 and 365 of the Bankruptcy Code, the Bankrnptcy Court determines by a final order
that such consent or approval is required but not obtained, and any Person refuses or fails to
perform or to accept performance based on such non-assignability, then Seller shall, upon

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Buyer's request and at Buyer's sole cost and expense, cooperate with Buyer in any reasonable
arrangement designed to provide for Buyer the benefits and obligations of such Acquired Asset,
including enforcement for the benefit of Buyer of any and all rights and remedies of Seller
against a third party arising out of such third patiy's refusal or failure to perform or to accept
perfonnance based on such non-assignability, or any breach or cancellation. Any assignment to
Buyer of any Acquired Asset that shall, after giving effect to the provisions of sections 363 and
365 of the Bankruptcy Code, require the consent or approval of any third party for such
assignment as aforesaid as expressly determined by a final order of the Bankruptcy Court shall
be made subject to such consent or approval being obtained. Any contract that would be an
Assumed Contract but is not assigned in accordance with the terms of this Agreement shall not
be considered an "Assumed Contract" for purposes hereof unless and until such contract is
assigned to Buyer following the Closing Date upon receipt of the requisite consents or approvals
to assignment and Bankruptcy Court approval.

        7.03 Break-up Fee. In consideration of the real and substantial benefits conferred by
the Buyer upon the Sel1er' s bankruptcy estate by providing a minimum floor bid upon which the
Seller, its creditors and the other bidders were able to rely and in consideration of the time,
expense and risks associated with serving as the "Initial Bidder," including legal fees and
expenses, overhead costs, due diligence expenses and other similar expenses related to the
negotiation and preparation of this Agreement and of all related transactional documentation, due
diligence and representation, Buyer has provided a material benefit to the Seller's estate by
increasing the likelihood that the best possible price for the Acquired Assets shall be received
and that the Break-Up Fee (as hereafter defined) is reasonable and appropriate in light of the size
and nature of the proposed sale transaction and comparable transactions, the commitments that
have been made and the efforts that have and shall be expended by the Buyer and was necessary
to induce the Buyer to pursue the transactions contemplated hereby under the terms of this
Agreement. Subject to the entry of the Bidding Procedures Order, if Buyer is not the successful
bidder for the purchase of the Acquired Assets and the Acquired Assets are sold to another
bidder, Seller will pay Buyer a break-up fee equal to five hundred thousand dollars
($500,000.00) (the "Break-up Fee").

        7.04 Notices and Consents. Except as expressly required by this Agreement, each of
the parties will promptly give any notices to, make any filings with, and use its commercially
reasonable efforts to obtain any authorizations, consents, and approvals of Governmental Entities
to consummate and make effective the Transaction.

        7.05 Full Access. From the Agreement Date through the Closing Date, the Seller will
pennit representatives of Buyer and its professionals to have full access at all reasonable times,
and in a manner so as not to unreasonably interfere with the normal business operations of the
Seller, to all books, records (including tax records), employees, contracts, and documents of or
pe1iaining to the Seller.

       7.06 Property Inspection and Testing. After the Agreement Date and prior to the
Closing Date, Buyer shall be permitted at its sole expense, to inspect (with consultants of its
choosing) the physical and environmental condition of the Real Property owned by Berkeley
Prope1iies LLC and used by the Seller. Buyer's inspection right shall include the right to test for


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contamination, provided that Buyer shall restore such Real Property to the condition it was in
prior to the conduct of any such inspection and testing.

        7.07 Name Change.           As soon as practicable following the Closing, and subject to
approval of the Bankruptcy Court, Seller shall discontinue the use of its current name (and any
other trade names cun:ently utilized by any Seller) and shall not subsequently change its name to
or otherwise use or employ any name which includes the words "Pacific Steel Casting Company"
or any similar designation without the prior written consent of Buyer, and Seller shall cause the
name of Seller in the caption of the Bankruptcy Case to be changed to the new name of Seller in
accordance with this Section 7.06. From and after the Closing, the Seller covenants and agrees
not to use or otherwise employ any of the trade names, corporate names, "d/b/a" names or any
mark that is confusingly similar to the Intellectual Property rights utilized by any of Seller in the
conduct of the Business or any Acquired Asset, which rights shall be included in the Acquired
Assets purchased hereunder. As soon as practicable following the Closing, Seller shall file all
necessary organizational amendments with the applicable Secretary of State of each Seller's
jurisdiction of formation and in each state in which each such Seller is qualified to do business
and with the Bankruptcy Court to effectuate the foregoing.

        7.08 Transfer Taxes. All taxes arising out of each transfer of the Acquired Assets and
any transfer taxes required to effect any recording or filing with respect thereto shall be borne by
Buyer. Seller and Buyer shall cooperate to timely prepare and file any tax return relating to such
transfer taxes, including, any claim for exempt or exclusion from the obligation or imposition of
any transfer taxes. Seller shall be solely liable for any income, capital gains or similar taxes
arising from the transfer of the Acquired Assets.

        7.09 Bulk Sales Laws. To the extent the bulk sales laws of any state are applicable to
the transactions contemplated by this Agreement, the parties hereby waive compliance with such
bulk sales laws and the Buyer shall pay any Liabilities for any such noncompliance as a
purchaser of assets pursuant to applicable law; provided, that Buyer shall in no case be deemed
to assume any Liabilities which are not otherwise Assumed Liabilities under Section 2.03(b) by
reason of such noncompliance, and Seller shall pay any Liabilities for any such noncompliance
as a seller of assets pursuant to applicable law.

          7.10     Multiemployer Plan.

                (a)    The Parties intend to comply with the requirements of Section 4204 of the
Employee Retirement Income Security Act of 1974, as amended ("ERISA") in order to ensure
that the transactions contemplated by this Agreement shall not be deemed a complete or partial
withdrawal from the CMTA - Glass, Molders, Pottery, Plastics & Allied Workers Local #164B
Pension Trust (the "Multiemployer Plan"). Accordingly Seller and Buyer agree:

                       (i)  After the Closing Date, Buyer shall contribute to the
Multiemployer Plan with respect to the Seller' s Business operations acquired by Buyer for
substantially the same number of "contribution base units" for which Seller had an "obligation to
contribute" to the Multiemployer Plan (as those terms are defined in Sections 400l(a)(ll) and
4212 of ERISA, respectively) pursuant to the Collective Bargaining Agreement. At or prior to



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the Closing Date, Seller shall assume and assign to the Buyer the Collective Bargaining
Agreement with the Union, effective as of the Closing.

                       (ii)    Buyer shall provide to the Multiemployer Plan, for a period of five
consecutive plan years commencing with the first plan year beginning after the Closing Date,
either a bond issued by a surety company that is an acceptable surety for purposes of Section 412
of ERISA or an amount held in escrow by a bank or similar financial institution satisfactory to
the Multiemployer Plan. The amount of such bond or escrow deposit shall be equal to the
greater of (A) the average annual contribution that Seller was required to make under the
Multiemployer Plan with respect to the operations of Seller's Business for the three plan years
immediately preceding the plan year in which the Closing Date occurs, or (B) the annual
contribution that Seller was required to make under the Multiemployer Plan with respect to the
operations of the Seller's Business for the last plan year immediately preceding the plan year in
which the Closing Date occurs. Such bond or escrow shall provide that it will be paid to the
Multiemployer Plan if Buyer withdraws from the Multi.employer Plan or fails to make a
contribution to the Multiemployer Plan when due, at any time during the first five plan years
beginning after the Closing Date. Buyer may, at its own cost and expense, seek any applicable
waiver or exemption from the Multiemployer Plan or the applicable Governmental Entity from
the requirement that it post a bond, as set forth in 29 C.F.R. Part 4204, and Seller shall cooperate
with Buyer in seeking such waiver or exemption, provided, however that Buyer shall comply
with all provisions of this Section 7.l0(a)(ii) for the period of time after the Closing Date in
which it is seeking but not yet obtained such a waiver or exemption.

                        (iii)   lf Buyer completely or paitially withdraws from the
Multi.employer Plai1 prior to the end of the fifth plan year of the Multiemployer Plan beginning
after the Closing Date, and Buyer's liability of the Buyer with respect to the Multiemployer Plan
is not paid, then Seller shall be secondarily liable for any withdrawal liability Seller would have
had to the Multiemployer Plan with respect to Buyer's operations during such five-year period
but for Section 4204 ofERlSA. Buyer shall indemnify Seller and hold Seller harmless from and
against any liability incurred by Seller pursuant to Section 4204 of ERISA and this subsection
(iii).

               (b)    Seller shall cooperate with Buyer if Buyer elects to prepare and submit to
the Multiemployer Plan or the Pension Benefit Guarantee Corporation ("PBGC") a request for a
variance or exemption from the bond/escrow requirement of Section 4204(a)(l)(B) ofERISA (as
described in clause (ii) of this subsection). Unless and until such a variance or exemption is
granted, Buyer shall comply with the bond/escrow requirement, except to the extent provided in
PBGC Regulation Section 2643.l l(d).

               (c)     To the extent that this Section 7.10 (without regard to this subsection) fails
to comply with the requirements of Section 4204 of ERISA such that the withdrawal liability
exemption provided by Section 4204 would be unavailable to Seller, the Patties agree that this
Section 7.109 shall be deemed to include any term (including the modification of any express
term herein) that is reasonably necessary to invoke the withdrawal liability exemption resulting
from the application of Section 4204 to the Transaction.

         7.11     Post-Closing Transition and Cooperation.

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                (a)    The Parties agree that following the Closing of the Transaction, they shall
cooperate to facilitate the ownership transition of the Business and the Acquired Assets to the
Buyer by taking such actions and executing such documents as may be necessary and appropriate
for such purpose. Buyer shall cooperate with Seller by making available to Seller upon its
reasonable request and upon reasonable notice and for reasonable time periods, former Seller
personnel employed by Buyer who have specific and unique knowledge of Seller's pre-Closing
operations such that their assistance would be reasonable and necessary to enable Seller to
complete its disclosure statement and plan of reorganization in the Bankruptcy Case and to
otherwise substantially comply with the requirements of the Bankruptcy Code. The Parties agree
to negotiate a reasonable compensation arrangement pursuant to which Seller shall pay Buyer for
the reasonable value of the time expended by such personnel for Seller's benefit.

                (b)     Notwithstanding Seller's assignment of all its prior and current workers
compensation Insurance Policies to Buyer, Buyer shall cooperate with Seller as necessary to
facilitate the transition to Buyer the processing and administration of claims actually or
potentially covered under such workers compensation Insurance Policies for acts or occurrences
arising prior to the Closing Date.

        7.12. Non-Union Pension Plan. On or before the Closing Date, Seller shall file with
the IRS a submission under the Voluntary Correction Program ("VCP") to correct errors
identified in the 2011 restatement of the Non-Union Pension Plan. To the extent the IRS
disqualifies the Non-Union Pension Plan and seeks to impose taxes (including penalties and
interest) or other costs by reason thereof, or discovers and asserts any other qualification issues
arising from occw-rences and circumstances prior to the Closing, or seeks to impose penalties or
costs on the Plan sponsor by reason thereof, Buyer shall asswne and pay the same.

                                            ARTICLE VIII

                                     EMPLOYEE MATTERS

         8.01      Employees.

                   (a) Rehired Employees.

                       (i)    From the Agreement Date and only so long as the Buyer is not in
breach hereof, Seller shall cooperate with Buyer and pem1it Buyer to (i) meet with employees of
the Seller at such times as Buyer shall reasonably request, (ii) speak with such employees who
are being considered for employment by Buyer, (iii) distribute to such employees such fo1ms and
other documents relating to potential employment by Buyer (including an incentive
compensation package to ce1iain members of management) after the Closing Date as Buyer may
reasonably request and (iv) permit Buyer to review personnel files and other relevant
employment infonnation regarding employees of the Seller.

                      (ii)     As of the Closing Date, Buyer will have arranged the ability to
offer to rehire, in Buyer's sole discretion, all or part of the employees of Seller. Seller will
provide a complete list of all of their current employees with an indication of which employees
are represented by the Union. Without limiting Buyer's discretion, one day after entry of the

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Sale Order, Buyer shall provide Seller with approximate lists of the number and categories of
employees to be offered employment. Any negotiations or discussions with members of the
Union or the Union Representative after the Closing Date shall be conducted according to the
requirements of the Collective Bargaining Agreement and applicable law. The employees who
accept Buyer's offer are referred to as the "Rehired Employees".

                     (iii)  To the extent not prohibited under applicable law, following the
Closing Date, Seller shall make available to Buyer such non-confidential data in personnel
records of Rehired Employees as is reasonably necessary for Buyer to transition such Rehired
Employees into Buyer's records.

                       (iv)    On the Closing Date, Seller shall pay to its employees, or reserve
for payment, the portion of the payroll and such other amounts as Seller is liable (including,
without limitation, applicable payroll taxes and amounts owed under Union Benefit Plans) that
first comes due following the Closing Date that relates to services performed by its employees
prior to the Closing Date. If reserved, such amount shall be paid in the next payroll coming due.

                      (v)     Effective immediately before the Closing, Seller shall terminate, at
its sole cost and expense, the employment of the Rehired Employees. Each Rehired Employee
who is not othe1wise participating in the Union Benefit Plans shall be eligible to participate in all
of Buyer's employee benefit plans in accordance with the terms of those plans to the same extent
and in the same manner as new employees of Buyer, or Buyer may permit or require those
Rehired Employees to continue to participate in the Assumed Plans.

                      (vi)   Except as othe1wise specifically set forth herein, Seller shall have
no responsibility whatsoever for any liabilities or obligations which relate in any way to such
Rehired Employee's employment service with Buyer.

               (b) Excluded Employees. Buyer shall have no obligation to offer employment to
any employee listed on Schedule 8.01 (b) (the "Excluded Employees"), but may hire them. Buyer
may amend Schedule 8.0l(b) from time to time on written notice to Seller; provided that such
Schedule 8.0 I (b) shall be finalized no later than one day prior to the Closing Date. If an
Excluded Employee is hired by Buyer, he or she is no longer an Excluded Employees and
becomes a Rehired Employee. The Excluded Employees and all obligations to the Excluded
Employees shall remain the sole responsibility of Seller, including, without limitation, all
severance, constructive notice or other costs under any contract, agreement or understanding and
any applicable federal, state, county, city, municipal or other laws, statutes, rules, regulations,
orders, consent decrees, permits or licenses in connection with the Excluded Employees.

                                               ARTICLE IX

                      CONDITIONS TO THE OBLIGATIONS OF THE PARTIES

         9.01         Conditions to Closing Applicable to All Parties.

               (a)    Order. As a condition to Closing, the Bankruptcy CoUii shall issue an
order (the "Sale Order"), which order shall be final and non-appealable and not be subject to any

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stay (unless the Parties waive the requirement that the Sale Order be final and non-appealable),
and which shall confirm the sale of the Acquired Assets to the Buyer, the assignment of the
Assumed Contracts to the Buyer, and authorization of the Transaction consistent with the terms
of this Agreement, in form and content reasonably satisfactory to Buyer. In the event that entry
of the Sale Order is appealed, Seller and Buyer shall use their respective reasonable efforts to
defend such appeal.

               (b)     Conditions to the Obligations of Buyer and Seller. The obligations of
Buyer and Seller to consummate the Transaction shall be subject to the satisfaction, or waiver by
such Party, at or prior to the Closing Date, of the condition that there shall be no (i) suit, action
or other proceeding threatened or brought by any Governmental Entity which seeks to restrain or
prohibit in any material respect the consummation of the Transaction; or (ii) injunction, stay,
order, judgment or decree in effect and issued by any Governmental Entity which restrains or
prohibits in any material respect the consummation of the Transaction.

               (c)    Notice and Opportunity to Cure.        If on the Closing Date any of the
conditions set forth in this Article IX are not satisfied, then the Party whose obligation to
perform hereunder is subject to such condition shall provide written notice to the other Party, and
if such condition is not satisfied within three business days of receipt of such notice, then the
Party giving notice shall have the right to terminate this Agreement by written notice given prior
to the Closing. If such notice of tennination is given by Buyer, the Good Faith Deposit shall be
immediately refunded to Buyer.

       9.02 Conditions · to the Obligations of Seller. The obligations of Seller to
consummate the Transaction shall be subject to the satisfaction at or prior to the Closing of the
following conditions:

                (a)     Representations and Warranties; Covenants. The representations and
warranties of Buyer contained in this Agreement shall be true and correct in all material respects
as of the Agreement Date and on the Closing Date. Representations and warranties that are made
as of an earlier date shall be true and correct as of such earlier date and on Closing.

                (b)    Buyer Deliveries. Seller shall have received from Buyer the deliverables
referred to in Section 4.0l(a) in form and substance reasonably satisfact01y to Seller;

               (c)    Sale Order. The Bankruptcy Court shall have entered the Sale Order
which as of the Closing Date shall be final and non-appealable and not subject to stay unless the
Buyer waives the requirement that the Sale Order be final and non-appealable.

        9.03 Conditions to the Obligations of Buyer. The obligations of Buyer to
conswnmate the Transaction shall be subject to the satisfaction at or prior to the Closing Date of
the following conditions:

               (a)     Representations and Warranties; Covenants. The representations and
warranties of Seller contained in this Agreement shall be true and correct in all material respects
as of the Agreement Date and on the Closing Date. Representations and warranties that are
made as of an earlier date shall be true and correct as of such earlier date and on the Closing
Date.

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                (b)     Bankruptcy Court Approval. The Bankruptcy Court shall have entered
each of the Bidding Procedures Order and the Sale Order in form and content reasonably
acceptable to Buyer which as of the Closing Date shall be final and non-appealable and not
subject to stay unless the Buyer waives the requirement that the Sale Order be final and non-
appealable. Among other things, the Sale Order must (i) approve, pursuant to Sections l 05, 363
and 365 of the Bankruptcy Code, (A) the execution, delivery and performance by Seller of this
Agreement, (B) the sale of the Acquired Assets to Buyer on the tenns set forth here, including
that such sale is free and clear of Encumbrances and claims ( except with respect to the Assumed
Liabilities), with such Liens, Encumbrances and claims to attach only to the proceeds of the sale;
and (C) the performance by Seller of its obligations under this Agreement; (ii) authorize and
direct Seller to assume and assign to Buyer the Assumed Contracts, and Intellectual Property
Assignments pursuant to Section 365 of the Bankruptcy Code; (iii), find that Buyer is a "good
faith" buyer within the meaning of Section 363(m) of the Bankruptcy Code and that the Buyer is
entitled to have the protections afforded by that section; (iv) contains a finding that reasonable
and adequate notice of the sale and transfer of the Acquired Assets to Buyer, and assumption and
assignment of the Assumed Contracts to the Buyer, has been provided to all parties required to
be given notice under the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy
Rules for the Northern District of California; (v) contains a finding that neither Seller nor Buyer
has engaged in any conduct that would cause or pennit the sale of the Acquired Assets to be
avoided under Section 363(n) of the Bankruptcy Code; (vi) bars any third patties from asserting
claims (including any claims for successor liability, including, without limitation, claims arising
from unassumed unexpired leases or executory contracts), Liens or Encumbrances of any kind or
nature against Buyer or the Acquired Assets that arose prior to Closing; and (vii) provides that
the Sale Order is binding on any and all successors and assigns, including any trustee appointed
after entry of the Sale Order pursuant to Sections 701 or 702 of the Bankruptcy Code. The Sale
Order shall be in full force and effect.

               (c)    Sale Order. Seller shall have delivered to Buyer (A) a certified copy of
the Sale Order and (B) copies of all affidavits of service of the Sale Motion seeking the Sale
Order or notice of such motion filed by or on behalf of Seller;

              (d)     Assumed Contracts. All of the Assumed Contracts shall be in full force
and assignable to, and assumable by, Buyer without the consent of the other party thereto,
pursuant to Section 365 of the Bankruptcy Code, or the required consents with respect thereto
shall have been obtained. Buyer shall exert reasonable efforts to obtain any third party consents
required for the assignment of the Assumed Contracts to Buyer. Seller shall reasonably
cooperate in Buyer's efforts to obtain such consents.

                (e)     Seller Deliveries. Buyer shall have received from Seller the deliverables
referred to in Section 4.0l(b) in form and substance reasonably satisfactory to Buyer.

               (f)     No Material Changes In Business, Acquired Assets. There shall have
been no change in the operation or use of the Business, the Acquired Assets or the Real Property
that is reasonably likely to have a Material Adverse Effect on the Business, the Acquired Assets
or the Real Property. Seller shall continue to operate in the ordinary course, including without
limitation backlogs within ordinary levels, orders met with ordinary timeliness, working capital
being maintained at ordinary levels, an absence of material customer order cancellation.

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               (g)     Import Castings In Transit. Seller's import castings in transit as listed on
the Accrued Expenses Break.down in the Cleary Gull data room are not in the possession of
Seller, have not already been sold, and have customer orders for 100% of the particular pa1is.

                (h)     Lease Of Real Propetty. Buyer shall have entered into a "triple net" lease
of the Real Prope1iy with Berkeley Properties, LLC, including monthly rent of $89,544.00, a 15-
year term with 5-year extension option in the form and on the terms and conditions described in
Exhibit 9.03(h) hereto ("Lease"). All representations and warranties of the Landlord under the
Lease shall be true and accurate in all material respects as of the Closing Date. Beginning on the
Agreement Date to the Closing Date, Buyer shall reasonably cooperate with Seller's attempt to
obtain all certificates of occupancy and zoning ce1tificates necessary to take occupancy and
continue operations as a steel foundry from and after the Closing Date.

              (i)      Real Property Contamination. In the event that testing is conducted on
behalf of Buyer of the environmental condition of the Real Property owned by Berkeley
Properties, LLC under Section 7.06, Buyer shall have received environmental testing results for
the such Real Property which (i) conclude that such Real Property is not contaminated (other
than any contamination identified in the Phase I or Phase II testing rep01ts previously obtained
by the Company and disclosed to Buyer), or (ii) concludes such Real Prope1ty is contaminated
(other than contamination identified in such Phase I and Phase II testing reports) and the
estimated costs of remediation are less than $750,000 provided in such case that Seller either
assumes the obligation to remediate such contamination at Seller's expense, or reduces the
Purchase Price in the amount of the estimated remediation costs.

                G)     Real Property Condition. In the event that testing is conducted on behalf
of Buyer of the physical condition of the Real Property owned by Berkeley Properties, LLC,
under Section 7.06, Buyer shall have received inspection reports for the such Real Property
which notes conditions in need of repair, rehabilitation or replacement and the aggregate amount
thereof is less than $750,000. Any cost attributable to repair, rehabilitation or replacement of a
condition identified in the Phase I or Phase II testing reports described in Section 9.03(i) shall be
disregarded for purposes of determining the aggregate amount of required repair, rehabilitation
or replacement costs. For purpose hereof any item of repair assumed by Berkeley Prope1ties
LLC under the Lease shall be excluded from the aggregate amount of estimated repair items.

                    Non-Union Pension Plan. Seller shall pay to the Non-Union Pension Plan,
                   (k)
all amounts necessary to meet the outstanding minimum contribution requirements for the Non-
Union Pension Plan with respect to the plan ending March 31, 2014, the estimated amount of
which is $760,000.

                                           ARTICLEX

                                       MISCELLANEOUS

       10.01 Survival of Representations, Warranties and Covenants. The representations
and warranties of Buyer and Seller contained in this Agreement and the covenants and
agreements of Buyer and Seller contained in this Agreement shall survive for a period of ninety
(90) days following the Closing Date and any claim of breach by either Patty shall made in

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writing delivered to the breaching Party on or before the end of such ninety (90) day period.
Any dispute arising out of a claimed breach shall be submitted to and resolved by the Bankruptcy
Court pursuant to Section 10.08 hereof. Any amount determined to be due to Buyer (either by
agreement of the Parties or by order of the Bankruptcy Court) on account of any breach of a
representation, wananty or covenant by Seller shall be paid to Buyer through a reduction in the
amount ofrent otherwise payable by Buyer to Berkeley Properties LLC under the Lease until the
amount of such rent abatement equals the amount determined to be due to Buyer, after which the
rent under the Lease shall be fully payable pursuant to the Lease terms. Buyer's sole and
exclusive remedy after the Closing Date for any Seller's breach of a representation, warranty or
covenant shall be such rent abatement. The Lease shall provide for Berkeley Prope1ties LLC's
consent to and recognition of Buyer's rights of offset and rent abatement hereunder.

        10.02 No Third-party Beneficiaries. This Agreement shall not confer any rights or
remedies upon any Person other than the parties and their respective successors and permitted
assigns.

       10.03 Entire Agreement. This Agreement (including the exhibits, schedules and
Disclosure Schedules referred to herein) and the Sale Order constitutes the entire agreement
between the parties and supersedes any prior understandings, agreements, or representations by
or between the parties, written or oral, to the extent they relate in any way to the subject matter
hereof or thereof.

         10.04 Succession and Assignment. This Agreement shall be binding upon and inure to
the benefit of the parties named herein and their respective successors and pennitted assigns. No
Party may assign either this Agreement or any of its rights, interests, or obligations hereunder
without the prior written approval of the other Party; provided, however, that nothing herein shall
prohibit the assignment of Buyer's rights and obligations) to any direct or indirect subsidiary or
affiliate (formed or to be forn,ed). No such Buyer assignment shall relieve it of its obligations
under this Agreement prior to the Closing. From and after the Closing and assuming payment in
full of the Purchase Price, Speyside Fund, LLC is released from further liabilities and obligations
hereunder, and its assignee subsidiary shall be solely liable for the obligations of the Buyer.

       10.05 Counterparts; Signatures. This Agreement may be executed in one or more
counterparts, each of which shall be deemed an original but all of which together shall constitute
one and the same instrument. Signatures of the parties transmitted by facsimile or by electronic
media or similar means shall be deemed to be their original signature for all purposes.

        10.06 Headings. The section headings contained in this Agreement are inse1ted for
convenience and reference purposes only and shall not affect in any way the meaning or
interpretation of this Agreement.

        10.07 Notices. All notices, requests, demands, claims, and other communications
hereunder shall be in writing. Any notice, request, demand, claim, or other communication
hereunder shall be deemed duly given if (and then two (2) Business Days after) it is sent by
registered or certified rriail, return receipt requested, postage prepaid, and addressed to the
intended recipient as set forth below:



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         If to The Seller:

         Pacific Steel Casting Company
         c/o Katie Delsol
         85 Lakeside Drive
         Corte Madera, CA 94925
         Phone:
         Facsimile:

         Copy to:

         Michael Malter, Esq.
         Binder & Malter LLP
         2775 Park A venue
         Santa Clara, CA 95050
         Phone:408-295-1700
         Facsimile: 408-295-1531
         Email: michael@bindermalter.com

         and

         Stephen A. Dennis, Esq.
         Thoits, Love, Hershberger & McLean
         285 Hamilton Avenue, Suite 300
         Palo Alto, CA 94301
         Phone: 650-327-4200
         Facsimile: 650-325-5572
         Email: sdennis@thoits.com

         Ifto Buyer:

         Speyside Fund, LLC
         Attn: Jeffrey Stone
         55 Bridge St.
         Lambetiville, NJ 08530
         Phone: 800-897-9721
         Facsimile: 855-269-3979

         Copy to:

         Gary Kaplan, Esq.
         Farella Braun+ Maitel LLP
         235 Montgomery Street, l tn Floor
         San Francisco, CA 94104
         Phone: 415-954-4940
         Facsimile: 415-954-4480
         Email: gkaplan@fbm.com

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       Any Pai1y may send any notice, request, demand, claim, or other communication
hereunder to the intended recipient at the address set forth above using any other means
(including personal delivery, expedited courier, messenger service, telecopy, ordinary mail, or
electronic mail), but no such notice, request, demand, claim, or other communication shall be
deemed to have been duly given unless and until it is actually received by the intended recipient.
Any Party may change the address to which notices, requests, demands, claims, and other
communications hereunder are to be delivered by giving the other Party notice in the manner
herein set forth.

     10.08 SUBMISSION TO JURISDICTION. THE PARTIES HEREBY AGREE
THAT ANY AND ALL CLAIMS, ACTIONS, CAUSES OF ACTION, SUITS AND
PROCEEDINGS RELATING TO THIS AGREEMENT OR THE OTHER AGREErvIBNTS
CONTEMPLATED HEREIN SHALL BE FILED AND MAINTAINED IN THE UNITED
STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,
OAKLAND DIVISION,

       10.09 Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of California, and where applicable, the Bankruptcy Code.

        10.10 Amendments and Waivers. No amendment of any provision of this Agreement
shall be valid unless the same shall be in writing and signed by Buyer, the Seller.        No
amendment of any provision of Section 7.10 affecting the treatment of the Multiemployer Plan
hereunder, shall be made without the written consent of the Multiemployer Plan. No waiver by
any Party of any default, misrepresentation, or breach of warranty or covenant hereunder,
whether intentional or not, shall be deemed to extend to any prior or subsequent default,
misrepresentation, or breach of warranty or covenant hereunder or affect in any way any rights
arising by virtue of any prior or subsequent such occunence.

        10.11 Severability. Any term or provision of this Agreement that is invalid or
unenforceable in any situation in ai1y jurisdiction shall not affect the validity or enforceability of
the remaining tenns and provisions hereof or the validity or enforceability of the offending term
or provision in any other situation or in any other jurisdiction. To the extent legally permissible,
any illegal, invalid or unenforceable provision of this Agreement shall be replaced by a valid
provision that will implement the commercial purpose of the illegal, invalid or unenforceable
prov1s1on.

        10.12 Fees and Expenses. Except as otherwise provided in the Agreement, each Paiiy
shall bear the fees, costs and expenses incurred by it, in connection with or in anticipation of this
Agreement and the consummation of the Transaction. In the event of the bringing of any action,
Bankruptcy Court proceeding or suit by a Paiiy against another Party by reason of any breach of
any of the covenants or agreements or any material inaccuracies in any of the representations and
warranties on the part of the other Paiiy ai·ising out of this Agreement, the prevailing Pa11y in
such action, Bankruptcy Court proceeding or suit, shall be entitled to have and recover of and
from the other Pa1iy all costs and expenses of suit, including reasonable attorneys' fees.




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         10.13 Construction. The parties have participated jointly in the negotiation and
drafting of this Agreement. In the event an ambiguity or question of intent or interpretation
arises, this Agreement shall be construed as if drafted jointly by the patties and no presumption
or burden of proof shall arise favoring or disfavoring any Party by virtue of the authorship of any
of the provisions of this Agreement. Any reference to any federal, state, local, or foreign statute
or law shall be deemed also to refer to all rules and regulations promulgated thereunder, unless
the context requires otherwise. The word "including" shall mean including without limitation.

       10.14 Fair Consideration. The Parties acknowledge and agree that the Purchase Price
represents fair consideration and reasonable equivalent value for the sale and transfer of the
Business and Acquired Assets, and the Transaction, covenants, and agreements set forth in this
Agreement, which consideration was agreed upon as the result of arm's-length good-faith
negotiations among the Patties and their respective representatives.

        10.15 Incorporation of Schedules. The Schedules and the Disclosure Schedules
identified in this Agreement are incorporated herein by reference and made a pati hereof.

        10.16 Gender and Number. When the context of this Agreement requires, the general
of all words shall include the masculine, feminine, and neuter, and the number of all words shall
include the singular and plural.

     10.17 No Consequential or Punitive Damages. NO PARTY (OR ITS AFFILIATES
OR REPRESENTATIVES) SHALL, UNDER ANY CIRCUMSTANCE, BE LIABLE TO THE
OTHER PARTY (OR ITS AFFILIATES OR REPRESENTATIVES) FOR ANY
CONSEQUENTIAL, EXEMPLARY OR PUNITIVE DAMAGES CLAIMED BY SUCH
OTHER PARTY UNDER THE TERMS OF OR DUE TO ANY BREACH OF THIS
AGREEMENT, INCLUDING LOSS OF REVENUE OR INCOME, DAMAGES BASED ON
ANY MULTIPLIER OF PROFITS OR OTHER VALUATION METRIC, COST OF CAPITAL,
DIMINUTION OF VALUE OR LOSS OF BUSINESS REPUTATION OR OPPORTUNITY.

        10.18 Time of Essence. Time is of the essence of each and every term, condition,
obligation and provision hereof.

        10.19 Waiver. Any term or condition of this Agreement may be waived at any time by
the Party that is entitled to the benefit thereof, but only if such waiver is evidenced by a writing
signed by such Party. No failure on the part of any Party to exercise, and no delay in exercising
any.right, power or remedy created hereunder, shall operate as a waiver thereof, nor shall any
single or partial exercise of any right, power or remedy by any such Party preclude any other or
fu1ther exercise thereof or the exercise of any other right, power or remedy. No waiver by any
Party of any breach of or default in any tem1 or condition of this Agreement shall constitute a
waiver of or assent to any succeeding breach of or default in the same or any other tem1 or
condition hereof.




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        IN WITNESS WHEREOF, the Pa1ties, by their duly authotized representatives, have
 executed tllis Agreement as of the date first set forth above_



                                         SELLER

                                        PACIFIC STEEL CASTING COMPANY




                                                Katie Delsol, Pi-esident




                                         BUYER·
                                         SPEYSIDEFUND, LLC



                                        By:-------------

                                         Name: - - - - - - -- - -- - ---'--
                                         Title:----------'--------




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       IN WITNESS \~/HEREOF. the Parties, by their duly authorized representatives. have
executed this Agreement as of the date first set forth above.




                                        PACIFIC STEEL CASTING COTv1PANY




                                        By:

                                                Karie Delsol. President




                                        BUYER



                                        SPEYSIDE FUND, LLC




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Case:
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                                             Exhibit A

                                             Definitions


Certain Definitions.    The following terms, as used in this Agreement, have the following
meanings:

"2013 Year-end Financial Statements" is defined in Section 5 .0 l(f).

"2014 Year-end Financial Statements" is defined in Section 5.0 l(f).

"Acquired Assets" is defined in Section 2.0l(a).

"Agreement Date" is defined in the first paragraph of this Agreement.

"April 30, 2014 Interim Financial Statements" is defined in Section 5.01 (f).

"Assumed Contracts" is defined in Section 2.04(a).

"Assumed Liabilities" is defined in Section 2.03(6).

"Assumed Plan" means a Benefit Plan assumed by the Buyer.

"Bankruptcy Case" is defined in Recital B.

"Bankruptcy Code" is defined in Recital B.

"Bankruptcy Cou1t" is defined in Recital B.

"Benefit Plans" means all plans maintained, funded or administered by Seller for the benefit of
Seller's employees, including health, dental, vision, long-te1m disability, life insurance policy,
401 (k) plans, and pension plans.

"Bidding Procedures Order" is defined in Section 7 .02(a).

"Break-up Fee" is defined in Section 7.03.

"Business" is defined in Recital A.

"Buyer" is defined in the first paragraph to this Agreement.

"Buyer's Audited Financial Statements" is defined in Section 6.0 l(d).

"Buyer's Financial Statements" is defined in Section 6.01 ( d).

"Buyer's Interim Financial Statements" is defined in Section 6.0l(d).




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"Cash" and "Cash Equivalents" means currency, coins, checks received but not yet deposited,
checking accounts, petty cash, savings accounts, money market accounts, and sholi-term, highly
liquid investments with a maturity of three months or less at the time of purchase such as U.S.
treasury bills and commercial paper.

"Closing Date" is defined in Section 2.0l(a).

"Collective Bargaining Agreement" means the Agreement between Pacific Steel Casting
Company and Local 164B of the Glass, Molders, Pottery, Plastics & Allied Workers
International Union and establishes Seller's obligation to contribute to the CMTA-Glass,
Molders, Pottery, Plastics & Allied Workers (Local 164B) Pension Trust during the period
March 21, 2011 through March 15, 2015.

"Contracts" means all contracts, licenses, sublicenses, agreements, commitments, leases,
arrangements, instruments, guaranties, bids and proposals to which the Seller is a party and
relating to the Business.

"Cure Amounts" is defined in Section 2.04(b).

"Debtor" is defined in the first paragraph of this Agreement.

"Encumbrances" means any interest, claim, Lien, mortgage, pledge, security interest, obligation,
encumbrance, lien (statutory or other), liability, charge, lease, covenant, easement, option, right
of others, hypothecation, conditional sale agreement or restriction (whether on voting, sale,
transfer, defenses, set-off or recoupment rights, disposition, or otherwise), whether imposed by
agreement, understanding, law, equity, or otherwise ..

"Environmental Claim" means all liabilities, damages, obligations, claims or losses of any kind
whatsoever imposed, incurred or arising from or under any Environmental Law or resulting from
the presence of any Hazardous Substance.

"Environmental Laws" means any federal, state, local or foreign statute, law, ordinance or
promulgated rule, regulation, code or directive, any duties imposed under common law, any
judicial or administrative decree, order or judgment (whether or not by consent), any request or
demand from a Governmental Entity, or any provision or condition of any permit, license or
other operating authorization relating to (i) the protection of the enviromnent or human, worker
or public health and welfare, or the protection of the health and safety of any workers,
employees, and the public or (ii) the manufacture, processing, distribution, use, treatment,
 storage, disposal, transpo1t, handling or actual or potential release, discharge or emission of any
 Hazardous Substance, including but not limited to the Clean Water Act, the Toxic Substances
Control Act, the Clean Air Act, the Comprehensive Environmental Response, Compensation and
Liability Act, the Resource Conservation and Recovery Act, the River and Harbor Act, the
Federal Insecticide, Fungicide and Rodenticide Act, the Toxic Substances Control Act, the
 Federal Mine Safety and Health Act, the Occupational Safety and Health Act, and any state or
 local law, ordinance, rule, regulation, code or directive regulating the same or similar matters.

"Environmental Pe1mits" means any and all Permits issued in accordance with or pursuant to any
Environmental Law.

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"ERISA" is defined in Section 7. l 0(a).

"Excluded Assets" is described in Section 2.02.

"Executory Contract" is defined in Section 2.04(a).

"Financial Advisor" is defined in Section 3.0l(c)(ii).

"Financial Statements" is defined in Section 5.0l(f).

"GAAP" is defined in Section 5.0l(f).

"Good Faith Deposit" is defined in Section 3.01.

"Governmental Entity" means any federal, state, municipal, local or foreign governnient,
political subdivision, legislature, court, agency, department, bureau, commission or other
governmental or quasi-governmental or regulatory authority, agency, commission body or
instrumentality, including any industry or other non-governmental self-regulatory organizations.

"Hazardous Substances" means any substance, waste, contaminant, pollutant or material
regulated or governed by any Environmental Law, including, but not limited to, (a) all
substances, wastes, contaminants, pollutants and materials defined or designated as hazardous,
dangerous or toxic pursuant to any applicable Environmental Law and (b) asbestos, mold,
polychlorinated biphenyls ("PCBs") and petroleum.

"Initial Credit Bid" is defined in Section 3.01 (b)(i).

"Insurance Policies" is defined in Section 5.0l(o).

 "Intellectual Prope1ty'' means (i) inventions, ideas or conceptions of potentially patentable
subject matter, whether or not reduced to practice, whether or not yet made the subject of a
pending patent application or applications, (ii) patents and patent applications (including any
continuations, continuations-in-pait, divisionals, reissues, renewals and applications for any of
the foregoing), (i) and (ii) collectively, "Patents"), (iii) trademai·ks, service marks, trade dress,
designs, logos, trade names, corporate names, and any derivative, thereof, used by Seller in
connection with the operation of the Business, and general intangibles of like nature whether or
not registered, including all common law rights and registrations and applications for registration
thereof, together with all goodwill relating to the foregoing (collectively, "Trademarks"), (iv)
copyrights, whether or not registered, and registrations and applications for registration thereof,
and all rights therein provided by multinational treaties or conventions (collectively,
"Copyrights"), (v) computer software, including, without limitation, source code, operating
systems and specifications, data, data bases, files, documentation and other materials related
thereto, (vi) trade secrets and confidential, technical or business information (including, without
limitation, ideas, inventions (whether or not patentable), formulas and compositions), (vii)
technology (including, without limitation, know-how and show-how), production processes and
techniques, research and development information, drawings, specifications, designs, sketches,
design archives, plans, proposals, technical data, copyrightable works, financial, marketing, and
business data, pricing and cost information, business and marketing plans and customer and

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supplier lists and information, whether or not confidential, whether cunent or historical, (viii) all
web sites, and domain names, and all content contained therein, (ix) all rights to obtain and apply
for Patents, and to register Trademarks and Copyrights, (x) copies and tangible embodiments of
all of the foregoing, in whatever form or medium, (xi) all rights to sue, recover and retain
damages (and costs and attorneys' fees) for present and past infringement of any of the
Intellectual Prope1ty hereinabove set out, and (xii) all common law rights with respect to the
Intellectual Prope1ty hereinabove set out.

"Interim Financial Statements" is defined in Section 5.0 l(f).

"IRC" is defined in Section 5.0l(q)(ii).

"Inventory" means all of Seller's inventory, including products, works in process, processed
parts, finished goods, raw materials and components intended for sale wherever located.

"IRS" is defined in Section 3.01 ( t).

"Knowledge" means the actual knowledge of any executive officer of the Seller, or any
executive officer of the Buyer, as the case may be.

"Lease" is defined in Section 9.03(h).

"Liabilities" is defined in Section 2.03(a).

"Liens" means any claim, lien (as defined in Section 101(37) of the Bankruptcy Code),
condition, pledge, option, charge, hypothecation, easement, security interest, right-of-way,
encroachment, mortgage, deed of trust, covenant, restriction, reservation, agreement of record,
restriction on use or voting (in the case of any security interest) preference, tax (including
foreign, federal, state or local income, gross receipts, sales, use, ad valorem, gains, profits,
excise, franchise or other taxes, fees, levies, or other duties or assessments imposed by any
Governmental Entity), or any other encumbrance of any nature whatsoever.

"Material Adverse Effect" shall mean any event, change, condition or effect which, when
considered either individually or in the aggregate together with other events, changes, conditions
or effects, is or is reasonably likely to be, materially adverse to the Acquired Assets, the Real
Property or the Business taken as a whole or to the Transaction, other than events, changes,
conditions or effects (i) affecting the United States economy generally, (ii) the industry in which
Seller operates, in each case without a disproportionate impact on the Business or (iii) arising
from the commencement of the Chapter 11 case or any action ordered by the Bankruptcy Court
and approved by Buyer.

"Minimum Overbid" is defined in Section 7.02(a).

"Multiemployer Plan" is defined in Section 7. lO(a).

"Net Working Capital" means the sum of the values of Seller's trade accounts receivable, net of
any allowances for doubtful accounts or unprocessed returns, and Inventory, net of reserves.
Accounts receivable shall be valued in accordance with GAAP, consistently applied, and shall

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satisfy all of the representations and warranties in Section 5.0l(h) in order to be included. To
avoid doubt, inter company accounts and accounts receivable due from affiliates shall be
excluded. [nventory of domestic castings (work in process and finished goods) shall be valued in
accordance with the amounts per ton for each category identified on Schedule 3.0l(c)(ii),
inventory of import castings and raw materials shall be determined in accordance with GAAP,
consistently applied. All Inventory shall be undamaged and in condition for use or sale in the
ordinary course. Inventory reserves shall be determined in accordance with GAAP, consistently
applied. Goods which have been paid for but have not been delivered by the Closing Date
constitute Inventory for purposes of calculating Net Working Capital.

"Non-Union Pension Plan" means the single employer defined benefit pension plan provided for
certain of Seller's current and fonner non-union employees entitled the Pacific Steel Casting
Company Defined Benefit Pension Plan and Trust (Tax ID XX-XXXXXXX).

"PBGC'' is defined in Section 7 .1 0(b).

"Patty" and "Patties" are defined in the first paragraph to this Agreement.

"Pension Plans" means collectively the Multiemployer Plan and the Non-Union Pension Plan.

"Permits" is defined in Section 2.0l(a)(vi).

"Person" means an individual, a partnership, a corporation, an association, a joint stock
company, a bust, a joint venture, an unincorporated organization, or a Governmental Entity (or
any department, agency, or political subdivision thereof).

"Petition" is defined in Recital B.

"Petition Date" is March 10, 2014.

"Purchase Price" is defined in Section 3.0l(b).

"Purchase Price Adjustment Statement" is defined in Section 3.0l(c)(ii).

"Real Property" is defined in Section 5.0l(k).

"Rehired Employees" is defined in Section 8.0 I (a)(ii).

"Release" means any spilling, leaking, pumping, pouring, emitting, emptying, discharging,
injecting, escaping, leaching, seeping, migrating, dumping or disposing of any Hazardous
Substance (including the abandonment or discarding of barrels, containers and other closed
receptacles containing any Hazardous Substance) into the indoor or outdoor environment,
including, without limitation, the movement of Hazardous Substances through or in the ambient
air, soil, surface or ground water, or property.

"Sale Order" is the order by the Bankruptcy Couti as described in Section 9.0l(a).

"Seller" is defined in the first paragraph of this Agreement.


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"Seller Disclosure Schedules" is defined in Section 5.01.

"Taxes" all taxes, charges, fees, levies, penalties or other assessments imposed by any United
States federal, state, local or foreign taxing authority, including, but not limited to, income, gross
receipts, license, stamp, occupation, premium, windfall profits, environmental, custom duty,
capital stock or other equity, excise, real property, personal property, water and sewer charges,
municipal utility district, ad valorem, sales, use, transfer, franchise, payroll, employment,
withholding, severance, social security or other tax of any kind whatsoever, including any
interest, penalties or additions attributable thereto, whether disputed or not.

"Tax Return" mean any return, declaration, report, claim for refund, information return or other
document (including any related or supporting information) required to be filed with respect to
Taxes, including any schedule or attachment thereto, and including any amendment thereof.

"Transaction" is defined in Recital C.

"Union Benefit Plans" means the CMTA-Glass, Molders, Pottery, Plastics & Allied Workers
(Local 164B) Pension Trust and the CMTA-Glass, Molders, Pottery, Plastics & Allied Workers
(Local 164B) Welfare Plan.

"Union" means Local 164B of the Glass, Molders, Pottery, Plastics & Allied Workers
International Union.




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                                 SCHEDULE 2.02(g)

                     Deposits and Prepaid Amounts Funded by PS



                   Vendor                                    Amount

Pacific Gas and Electric                                                     $849,786
Occidental Energy Marketing                                                   120,000
Airgas USA                                                                     20,000
AT&T                                                                            18, 110
EBMUD                                                                            4,866
Sprint                                                                           4,118
Cogent                                                                           2,400
Chang, Ruthenberg & Love, P.C                                                    4,524
Binder & Malter                                                               4 50,000
8PM                                                                             50,000




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                                 SCHEDULE 2.03(b)(iii)

                              Buyer assumed Benefit Plans



MEDICAL
Anthem Blue Cross of California Preferred Direct Access
Policy #253089
Kaiser Permanente - Northern California
Policy Number: #37173

DENTAL
Reliance Standard
Policy Number: #136-4050-1

LONG-TERM DISABILITY
Reliance Standard
Policy Number: #120499

LIFE & ACCIDENTAL DEATH & DISMEMBERMENT
Reliance Standard
Policy Nwnber: #146828

VISION
EyeMed Vision Care
Policy Number: 9681503

WELFARE PLAN
CMTA-Glass, Molders, Pottery, Plastics & Allied Workers (Local 164B) Welfare Plan

40l(K) PLAN
Pacific Steel Casting Company Retirement Plan (TIN XX-XXXXXXX)

PENSION PLAN
Pacific Steel Casting Company Defined Benefit Pension Plan and Trust (TIN XX-XXXXXXX)

CMTA - Glass, Molders, Pottery, Plastics & Allied Workers Local #164B Pension Trust, (TIN
XX-XXXXXXX)




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                                       SCHEDULE 2.03(b)(iii)

 Retirees under the Non-Union Pension Plan, whose termination date occurred after April
                         1, 2011 and prior to the Closing Date:

                                         Termination
 Payroll Name              Hire Date     Date
 Welch, Betty Jane         04/06/1994    01/10/2012
 Yost, Steven              05/12/1998    03/28/2013
 Dias, Fernando C.         09/29/1980    03/31/2012
 Emmerichs, Horst Joe      11/11/1963    03/31/2011
 Lee, Douglas M            08/01/1975    01/15/2012
 Neely, Robert Ward        03/12/1979    12/31/2013
 Patterson, John Carlton   01/05/1970    12/31/2013
 Scott, Barry George       06/10/1996    08/31/2013
 Soares, Richard S         06/15/1964    12/31/2013
 Soto, Marco A.            10/15/1990    03/31/2013




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                                  Transferable licenses, permits, etc.



1. Air - 3 Bay Area Air Quality Management District permits; one for each plant

2. Storm water- General Industrial Storm Water Permit

3. Industrial Water- East Bay Municipal Utility District Discharge Permit

4. Hazardous Materials, Universal Waste, Hazardous Waste Generator - City of Berkeley Unified Program
   Consolidated Permit and Registration

5. Berkeley Business License




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            14-41045       Doc#
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                       Employees With Accrued and Unpaid Vacation Benefits




             PACIF(C STEEL CA.STING COMPANY                                  CHB
             Accrued Vacation                                            6117/2014
             May3\ 2014                                                    4'50:00


                                                       Vi;ic,itio.ri
                                                        liability

             Ali, Raj;,k M                         $        5,88980
             Anand; Ajay K                                  4,663.:76
             Apa,rt<l, Laljtr(,                            18,Q34.5Q
              Anish, Thotl,ithii V.                        14,664.40
             Aragon, Robert .Jess                           5,620.31
              Benge, Ro.naJd                                3,606.00
              Bricfges, Charles. H                         20,913.06
             Costa, Ryari Paul                              4,642.87
             'dayi, FredVincen!,                           24,357.03
              De1sa1,. Catherine, B                        27,787.35
              Droesch, David c:                             3,029.00
             Emrnerichs, Mike d                            23,293.71
              Emme./ichs,. Tom                             13,019:45
             .Ferreira:, J(').:,e A                        13,796,50
              Ferrell, Nettie                               9,248.46
              Fbrtuna, Antonio F,                          14,794.,14
              Garcia:; Arfi:land Ca$enlil9                   5.27~ 35
             G;,11.i.eb, Christopher                       14,783,37
             Hajia_ghazadeh Marandi, Elmira                 1,096.30
              Ledesma., E:rii::ka C.                        1,129.88
              Ledesma, Marc G.                              6,931 . 90
              Look,. Steven R                              12,056,88
              Pepe, Ernma:nueli P..                         6,750.07
              Petersen, Ri:lss T.                          13,826.97
             'Polvi,. David                                 e;e41.95
              Rivera., Vicky S                              1,853.34
              Rodriguez, Paola. P.                          2,573.,97
              Roytfeld, Rita                                 7,71iL28
             saeteurn, Meuyo.                               4,651.14
             Scott; Barry John                              5,408.75
             Schr·oeder; Efrain                             3,503.8:J
              Skeen, steven 8                                2,928.24
              Siiva, Paul Tony                             11,467.56
              Sf Atidreyi, David F..                        5,582.25
              standafer, bmrid C•                          2cl,404.82
              stev,ms, David A.                            11,171.80
              Thulasiraman, Thirurriudi                     9,042.66
              Wang, Cunmin                                 10,646.50
              Woodmansee, Joshua: P                         3,081.36

             Subtotal. Salaried·                   $     386,244.31

             Alv<1rehga, Je.heffer                 $         2,600..0Q
             Bandy, Ronald s                                 3,771.36
             Bqnini, Jason R                                   843.78
             Diaz,RiYilS, JestJs                             3,105.00
             Davis, Tony·J                                   8,123.43




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            Doran, Paul Ni                          2;240.00
            Ferguson, Ge.n.e E..                    1,2.77.50
            Franco, Rifardo. G.                     2,840.12
            Jimenez; Guadalupe                      1 190B OD
            Lihg, Jo.hn                             1,5/10,00
            Ltipez, Jessica                         1,:188.00
            Pacheco Cabanas;, Veronica              1,152.D.0
            Pan: Baohua                             6,29i,44
            Rodriguez Yo1nez, Cristobal             6,30!:J.28
            Roytfeld, Mark .                        3,581,46
            Sayavong, Connie. B                     6;308,46
            Sil:Veiri'l; Ja$Oi1 M                   3,640.80
            Subtotal - Non°Union Hourly        $   56,721.63

            Acosta, Juah                            1,7$3.3!l
            Acosta, Victor Sergio                     568,52
            Agu.ilar Oe Amaya, Ro~c1                1,50052
            Aguilat Ramos, Gonzalo
            Aguilar, Santiago                         722.34
            Aguil<;ira, q:onzaJo• V                 1\665.30
            Aguilera, Leonel A                        1,17.69
            Akauola; lkahihifo                      1,248.50
            Alvare2; James                            315,60
            ,Alvarez; Jose R..                        370.06
             Alvarez, Luis                            705.16
            Alvarez.:. Marcus
            Amoiral; Jose· I.                       5,15452
            Amaya, E:merson                         1,467.47
            Amaya, JuUo C
            /\nglo, Marcelino 0                       752.42
            AppleQate, William H,                   5)02.27
            Aranda, .Jose:                          2,062.05
            Aranda, l..pr!lnzo                        221.18
            ArevafCl, Jos.i A                       2,633,19
            Arias Jr., jase Luis                    1,069.91
            Arias, Beni\q Nava.rro                  4,00594
             Arias, Vivian                            693.37
             Arriola Valenzuela, Kifder
            Arroyo, Adrian                           .635..58
             Arroyo, Richarq                        t14Q.43
             Asuncicn, Jsagilni L                   1;684:91
            :Ayala Jr., Ramon                         49114
             Ayala, Jase M,                         8.072.56
             Baca, Nicolas:                         2;493.29
             Banda, Ruqy H:                           768..68
             B<l.rajas, Bryan                       1,,000 60
             Bartolonneu,. George C                 3}46.67
             Baxter, Leonard L                      1,;378.42
             Baza.n .Menpo;z~, Jose L.                69S.38
             Benson Sr:, George                     1,158.15
             Berber, Dlonicfo ··                    2,132.46
             Bl,rnco Ei,.cala nle, Efrain           3,084.97
             Eilaz Miranda, Pedr□ A.                4,448.73.
            Bra~il, Mwr                               4291,0




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             Brow1\ fy'lonicqua                     616,53
             Suenro:;tro, GabrieJ                 1,155,39
             Buggs, Stev:enJ                        701,20
             Burke, Michael P.                    1,45528
             Buslam<Jn(e D$. Merinp, Marra I.      '4$7.20
             Cabt~ra, Angel                        .589.40
             Calde.ron Armenta, :Cesar              943, 00
             Caideron, Jo$eT                      1;~46.49
             Campos; Ja;;e Lui$                     575_30
             Cifrnpos-Hetnandez, Nmando           3;446,25
             Ca_rranza Soria, Edgar                 46\5~
             cammo Juarez, J Enrique              2;978.48
             Carreno;:Jose Francisco              s ;201 61
             Carri[lb, Luis M,                    5,61663
             Cassidy', Jo~eph                       584.83,
             Castario, Alfonso                    4;305.82
             Castillo; 'Edgardo                     210.20
             Cei<'!, Guillerma                      378.11)
             Chappelle, Kelly D;                    975.36
             Chavez A, Erib Jaime                 2;385.02
             Chen,~la Hu;i                        2;44Q3$
             Contreras Saucedp, Hector M            426.c35
             Core.na Perez, Jorge                   790.44
             Coria, Jose Manuel                   4,001 .06
             Costa, ChristOp~er D:                  108.55
             Costa, Edmundo R.                    2,762,51
             Costa, Nelson                          438.00
             Costa, Rui P,                        1,653;60
             Crouchet, Zepp                         673,07
             Cruz,)oel                              541-32
             De Leo_n_, Hortensia                   474.12
             Debernardis, John M                    350.57
             Delacruz, Roberto                    6,310.58
             Del~fuente, Xe.her                     786.64
             Denzler, Roland P                    2;256.79
             Diaz Guerra, Ma C                    2;2381 6
             Diaz, Alfonso                          678,59
             Diaz, s~muel                           197.92
             Dougla$,. Christopher A              1,290.69.
             Puarte" Manuel C.:                     667.72
             Duenas, Martin                       2,837.!36
             Duran R.oman, Agustih                  869,32
             Duran, Javier                        1,122.;i3
             Elias Vazquez, Jprge
             Equihua, Martin                      1,,102.37
             ·Escalante, Manuel                   5;:395_73
             Esparza Lopez, Salvador              1,488.17
             EspinosacRuiz; Carlos Rafael           388.51
             Espinoza., Armando                     852.48
             Panas Va$que~ Carlos
             Faumul, Marcus                         754!92
             Fierra Aviles-; Juan                 1,111 .99
             FiguE;!rqa, James                    1,7'.2Q.71'
             Flores Pizano, Ju.an                   970.1·5
             Fletes, Eclwa/d L                    3,545.44




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             Fl9res,. Marco
             Fo.nte, Maril) R.                      4;388.30
             Fortur'te; ArithOhy C.                   437.47
             Frison, Phillip ·                       .47326
             Fuiler,·Marcus L
             Ga.llegos, LWiS                          625.93
             Garay, Jose M.                           373.17
             Ga.rci<1 !3ecerra, Francisco ,J.       2,499.88
             Garc:i<1 Delg_add, Jose                  6,34:1.3
             Gar<'.iaDelgitdo, Miguel A.            3;,105.. 41
             Garcia R'ubio, Bulmaro
             Garcia., Jaime        .                  55472
             Garcia, Juan                             .491.14
             daroia, Leonel                           156.57
             Garcia., Lui!f M
             Garcia; Marc;o                           242'61
             G,;1rcla; Samuei N                     1,71.0.49
             Gar~iaeM~raVillaaEsteoan                  759.07
             Garcia-Rodrigue;c; Alfredo             1 .~32.90
             Gaviola, Benjamin M.
             Godine;z; .Robert Ray                    8.59,45
              Gomez M., Jorge A                     3,0(56.26
             Gomez; Francisco,                      2,713:17
              Goncalves, F'rancisco L               2:320.72
             ·Gonzalez, Ba:rl)Ota, du~dalupe
              Oon:zalez Espinoza, Heribe.rt□          702.61
              Gonzalez Lopez, Cipriano                918.58
             Gonzai$Z Sanchez; Jo rge                 903,.29
              Gonzalez,. Adrian                       .459,43
              Gonzalez, Fernarido                   1,078.62
              Gonz,;1lez, Lazaro                    2,536.02
              Gonzalez, Leandro                     2,531l,:04
              Gonzalez, Rafael
              Gray, ,Ju Iis·                          812,03
              Guetrero, Jo:se J.                      939.64
              Guerrero, Marcial                     1,918.45
              Guzman, Hendre                          3tl0,(lp
              Haro, Arturo                          2,182:7(5
              Haro, Jaime M.                        1,634.98
             Harris,,.Charles                         204.93
              Hayag, R1Mael                         1;086 71
              He. Yuheng                             ;904_04
              Heaton, Jan J.                          391.37-
              Hernandez Zuniga, Daniel              1,151.94
              Hernandez, Gabriel                    2,014.09
              Hernandez. Jorg,e H.                  1,490,50
              Hernandez; Jose J                       781 . 87
              Hernandez, Jose Luit, v.              1,703.06
              Hernandez, Juan M                       449.Co
              He.rna~dez. Ramo~                       893.20
              Herrera Rodriguez, Heriberto
              Ho; Kam Sang         ·                2,169 71
              Huert1;1 Mo rai Lorenzo               3,593,80
              Huerii.l T eiles, jose A              2,626,28
              Huerta, Jesus·                          2.16.45




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             Hughes, Nata$ha ~                         621.46
             HiJrtac;lo, R9l:ier)o R                 2,66ii.19
             Jngram,Plez                             2,137.10
             Iraheta Alvarado; Gilberto               .753.54
             Islas, D,iVid                             606.58
             Jackson, Virgil                           709.62
             Juan, Ulysses                             M036
             Keel$, $yrorr E                         1,155.98
             Kuo, Tung
             Lankhamdaeng; Alouilli                  4;87929.
             Lavanh;Von ·                            2,224,98
             LaW,JJavid T,                           3,416.2~
             L€on. Alvaro.                            . 452.39
             Leon: Jqs,; Luis                           419.8$
             Leon-E~~rza, .Abra.ham                     488.00
             Ley\'a.Camacl-)o, Cesar                 1,235.09
             ~i, Bang Yang ·                         3;858,66
             Li,YE! LianT                            5;825,49.
             Lieu,Cuong N                            2,034,16
             Uong, Kie Lien                          3,226.70
             Loconte, 'Mi.c.hael'J.                  .2·,722.62
             Lomeli Barboza, Catalina                1,849.85
             LomeliBarboza , Federico
             Lope,; jr,, Jaime                         369<95
             Lopez M;ifcl\:inado, Raul
             L'opezPerei;.Gabriel                    1,254.60
             Lopez,. Refugjo .G.                     2,94.6.00
             Lo(f.,ng; soriny-                         449.09
             Loza Garcia,. /3:rturo                  1,2 61 .,,·
             Lozano, Juan A                          3,007.58
             Madrfga,I Hernartdez, Jepthe              3.43.98
             Mafuahir,gano, Charle$                    490.67
             Magana, Laura L.                          495.59
             Magdalenq Morales; Mig(fel                335.8$
             Maldcmc1do Chavez, Yuritzia Aide        1,435.16
             Maldonado, George. P.                     763.91
             Ma.ra1tilJa, Jai.rne                      806.23
             Marcelin, Romel                         1,504.72
             Marrero Andujar: Jose,                    402.16
             Martinez; Carlos                        4,665.52
             Martinez, P\"dro                        6,7~7.00
             Mall$, Rqbert D.                        8,290:92
             Medina;,.Apolinar                       2,565.80
             Mejia, Eduardo                          1,048. 97
             Melgoia, Antonio E                      3,081.90
             Mendoza-, Jose· Manuel                      29,15
             Miramontes0 Guevata, Enrique.           2,496.88
             Moh<!rnec;I, Kamal          ·             569.0.8
             Moleli; Moelala                         1,323.54
             Montes De Q i,~ RLleliis, Luis          1,739'77
             Montes De oca, Antpnio                  1,479.09
             Montoy Martinez, Edgar Adrian           2,087.77
             Montoya Jr,., Jaime                     1,:416.76
             Montoya Vazque.:, Francisco               41 9,74
             Montoya, Abel V                         2,323,66.




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             Mi;,nfoy11, Jaime,                     ~.220)-9
             Montoya, Juv.enUno v                   1,514,92
             Montoya; Margarito                     1,558,99
              Montoya-Cruz, Carlos                    349.83
              Mani, Aldo                            1,2Qe.il~
             Morafe.s.De Moniei>; Gloria L            .574.11
             .Morales, Aodres                       1.,109:60
              Morales, An<.:lres M                  1,303.60
              Morales, Roma.n                          675.,13,
              Morales,. Roman                       1,261,61'
              Mareno, $alvador                      :\578.75
             Moss)r., ce6J1                           325.04
             Munoz Lamas, Henri A                   2,202.45
             Munaz; Manuel                          1,087.88
             Murphy: Jr:, Willie P.                 3,651.63
             Navarro Mehdo:za, .Rafael              2',313.79
             Nefurn, Jumaane• ·
             Neri Jirnehez,. Ml~~ei                   521329
             Nlviris, MorkH                         1,115.43
              Ochoa.Rosas; Vicenfe·                   589.19
             :Qcfro9, Antc;inlo                     3;064.,25
             Ochoa, Antonio                         1,672.01
              Ochoa; Salvador                         182.0d
              OlmosTarula, Guadalupe                  399,69
              Orozco, Michael                         761.70
              Orte9a Aguilar, Moirvin,              3,14::1. 45
              OrtiiGonzalez, Jose L                 3,584.'84
              Ortiz, John                           1,371.22
             .Ortiz,. Jose,                         2,.193.13
              Ortiz;. Jp$e Lui~
              Osl:>orne, Jopatban A                   103.64
              Osoorne, Tyrone E                     1,057.27
              Osias, Rhay A                           757.90
             Ouka·, BriartJ                         ,.s4:is-r
             Pacheco Pardo, Adrian
             Pacheco, Raymond R                     1,320.8.8
             P~dllla Mac)el, Alfonso                  351..35
             Padilla Said amt Ernesto
             Padilla Saldana; Juan
             Pajarito, Cruz. ·                      ::1;477.79
             Pak, Henryk                            1,284.81
             Pal.Os Lo~;z; Pedro Ge rardd             493.75
             Paredes:Rivera, Raul                     568.21
             Patterson, Daniel John                 3;;~{;,$84
             Pedroza , Ignacio                        !302.74
             Pedroza, Sergio                           842.08
             Pen1:1.Jt:, Jo.Se                         29497
             Pena, Edga r                              486.28
             Pena, Jorge H.                         8,350.41
             Pep_e; Frank                           1,050.17
             Perez, EnriquEi                        7;252.67
             Perez, Gerardo M.                      1.,673.23
             Perez; -Jose                              84!;i,17
             Per~z; Juan Piceno                        700.25
             P.,,rez-Diaz, Faustino                 2,653.44




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            P,hanissay; Jason                       540,15.
            Pirnenteil, Gustavo                     799.80
            Pineda, Manuel B,                     4,260,97
            Piresr Delio F.                         689.30
            f'qnce,jesµs                             2f)&65
            Ptado Cantteras, Francisco               738.03
            Quijada, Jose E.                       5,190,?il
            R:0\!nirez, Mrian                       592,94
            R'1mirez; A,dtian,11                     517.131
             RarnosJr;,.Antoriio G                 2,455.01
             Ramos, Jorge                            539,81
             Reyes Perez, Roxana A                 1,32e;:29
             Reyes, Angel                          2;471,57
             Reyes, Efren                          2,089 ..d5
             Reye~, Fld~hciO s                       111,15
             Reyno$o Marql,iez, F1<1r\Cisco         231.65
             Reynoso,. Luis      ·                 2,465A~
            .Rivera, Andres                        3,01008
             Rivera:, Afliulfo                     6,525.11
             Roa,Eddy                                583.29
             Rodiles, Jose Orio ndo                  344,47'
             RoorigUes, Marco P                    2;114.17
             Rodriguez Camacho, Armando              947.71
             Rodrigll¢z Mena, Roberto                607.72
             Rodriguez, A!)el                      2,407.04
             Rodriguez, Heman                        264;86
             Rodriguez, Jesus                      3,835.85
             Rodriguez, Jose L                     2;601.45
             Rodriguez,' Jose R:                     944.$8
             Rodriguez, Miguel A                   2,.470,61
             Rodrigue.z, Nico l~s,                 3,044.67
             Rodriquez•. Roberto                   1,881.76
             Rojas Marroquin, Otman                   596..61
             RoJq co rtez; Jose Luis               2,311.35
             RoJo, .Jose G                         4,186.08
             Romero Vargas, Hector                 2,893.00
             R9mero, D;,ivid.                        2Dl63
             Romo Lopez, Arturo
             Romo Martin, Araceli                    491.14
             Romo l?enaloza, Jose                    174..54
             Romo, Alperto                         1,09t69
             Rubalcava, Frank                      1,111.23
            ·Rubio N,, Martin                        928.25
            Ruelas Hernandez, Miguel A               614.29
            Ruiz; Juan                             2;590.23,
            Sae Yang, Chan Khoun                     592.94
            Saechao, c~an Cheng                      758$4
            Saechao, Cheng Chierig                 3,466.72
            Saechao, Cheng Choy                    2,2635d
            Saecha,o·, Kao. Meuy                   3,838,12
            Saechao,San                            2,016.48
            Saechao, San Varig                       s1e.02
            Saenz, Jo$e G.        ·                  498.88
            $aephanh, Kao C.                         726.21
            S;ieyahg, Nal Fong                     1,805.40




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            Salazar, Nicolas                             6,451.42
            Sa,l\lador, A9uson B.                         986,,19
            Sah Juari, Marvin                             470.47
            -Sanchez, Antonio                           2,926,89
             Sanchez; i=~tnancfo      M.                 1,521.27
            :Santibanez, E;i.Jseoio.                      488.00
             Santoyo, Manuel                            '2,.911.19
            $ebasfoi,n, Ga iy                             696.31
             Sebastian,. Vl/ilfred. i:;                   332.6~
             Sermeno, Miguel A.                           898..98
             Silva Loera; rJanue!                        2,09231
             Silva, Tony/~.                              2,15871
             Silveira, Antonia F,                        4,·876.58
              Simas, Robert M.                           2,791.47
              Sithideth, Bpunlouam                       2,520.68
             Sivilay, Ngeun                              . 619.59
             Srriith, lvanH                                647,55
              Smith, stanl,\!Y G,                        2,898.0;i
              Solaria, Delfino•                          2,931.0!l
              Sornchith·,. Keurt                         7,91 t.71
              $9uks~rnphanh, Kht'!un                       234,67
              Smire~, Fortino J,                         1,291.12
              Suarez; Salvador                           3,520..31
              Tam; Wing Tirn                             1,944.24
              T1;1mayo, jo$$ q.                          4,632.97
              Tang, Desmo.rtd c:                            29 09
              Taylar, Fredrick H..                         118.05
              Tei,<eira, Albano p;                       4,001.40
              Terriquez-Hernandez, Dagoberto             1,017.18
              Thomas, Manue.1                            2,64865
              Thorn\pn, Morgan                           1,492.85
              Torres.bc.~oa;·Christopher                   228,24
              Torres, Ignacio                            5,630,35
              Trinh, Ryati                               1:17(),10
             .Urti2; Ro rnualdo                          1,821.76
              VasquezAyala, Jesus
              Vasquez Montoya, Rene
              Vasquez: Ohafre                            2,015.68
             Vaug_tih, Dashiiwn L                        1,053,16
              Vazquez; Erik•                               489.04
              Va;zquez, Pedro                              488.00
              Vega,, Sergio                                810.38
              Velasco., Martin F                         2,294.55
              Velazquez Guevarsi, Pedro A                1,924.92
              Vieira, Jose                               1 ;400.05
              Villanueva, Marcos.A                       1,434.76
              Villll:sent'.lr ?µlido, Raul               3,038.(38
              Ziindava!, Salvador l':-lavarro            5_,166.60
              Za;zuefa,NoraceJI                             582.69
              zvrll?, Patil◊ Martirie.z                  3,046.20

             Subtotal - Union Hourly            $     589,475.89

             Total                              $·   1 032 441 .83




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Case:
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Case: 19-40193
      14-41045                 Doc#
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                               SCHEDULE 2.03(b)(vi)

                         Accounts payable assumed by Buyer

This to be populated with Accounts Payable to PACCAR of just under $1 million,
details to follow later today from Speyside.




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                                         SCHEDULE 2.04(a)

                  Executory contracts and Unexpired Leases to Assumed

ADP, Inc. - Major Accounts Agreement dated 9/25/13 for payroll and tax related services

AT&T Corp. -Master Agreement for backup data circuits

B&L Information Systems - Software Services and Hosting Agreement

Cogent Communications -Internet Access Agreement

De Lage Landen Financial Services -Leased Komats, Combilift

GE Capital - Lease ofTennant Model S30, etc.

Glass, Molders, Pottery, Plastics & Allied Workers International Union, AFL-CIO, CLC Local #164B -
Collective Bargaining Agreement

Howard Robinson - Real Property Lease for Plan 2 Yard

Ingram Micro, Inc. - Software License Agreement

Kaspersky Lab, Inc. - Software License

Komatsu Forklift LLC Oakland - leased forklifts

Marlin Leasing -lease of Genie Articulating electronic boom

Microsoft - Software license

Modern Instrument Controls, Inc. - Agreement for equipment collaboration

NMHG Financial Services - Lease of 2 Yale forklifts

Optimized Performance Technologies -Agreement for quality management system maintenance

Principal Life Insurance Co. - Real Property Lease of Oakland warehouse 725 85th Ave, Unit H, Oak, CA
94621




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Case:
Case 19-04057
Case: 19-40193
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Ricardo E. Gomez, Inc. dba Professional Finishing - Coating Agreement

Techordia, LLC - IT licenses, service agreements, etc.

Toyota Motor Credit Corporation - lease for forklifts

Tyco Integrated Security LLC -Alarm/security contract

VMware International Limited - Software license




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Case:
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                                                   SCHEDULE 3.0l(c)(ii)

                                                     Net Working Capital



 PACIFIC STEEL CASTING COMPANY                                                                                                          C.HB
 Networking Capitil                                                                                                                 6/171201'4
 March '.:11, 20·14 Md.Maf31, 2014                                                                                                   17;00:0o·


                                                                                             Total
                                                                       Notional             Notional
                                                     Tons               Cost                 Cost
                                                      al                 per                   at
                                                  3131/2014.              Im                3i31!2014

 bomestic Castings.-WIP                               1,187.904, $               6,353 $       7,546.754
 Domestic Casiings - Finished Goods                    505,049     $             7:975         4,027,766

 Total                                                1,692.953                        $      11,574,520 .

                                                                                              Total
                                                                       Ni::>tionil.l         Notional
                                                     Tons                 Cost                 Cost
                                                      at                   per·                 at
                                                  5/31/2014               JQ!1              5/31/2014

 Domestic.Castings - WIP                              1,303594. $                6,353 $'      8,281,733
 Domestic Castings - Finished Goods.                   550.709 $                 1;975         4,391/304

 Total                                                1.,854.303                       $      12,673,637" .


                                                                       3/31/2014.           5/31/2014             Proposal

 Oom$stic Castings                                                 $     11,574,520 S:        12,673,637      $    12,673,637     5/31/2014
 linportC:astin gs                                                          529,890              831,850              831 ,850:   5/31/2014
 Materials                                                                  276,193              431..9 65            431 ,~$5    5/31/2014
 Accounts Receivable                                                     12,400,006           12,627,309.                         3/31/2014
 Vacation Adjwstment
 Net Workihg Capital                                               $     24,780,609 $         26,564,761


 Noles:
 1,. Import Castings - GIL accqtJnts 14611000 and 14613000.
 2, Matedals - GIL accounts 14101 ODO, 14102000,. 14103000, 14.10104000 and 1.4105000,
 3. Accounts Re.ceivable - GIL .accounts .1~001000, 13002000, 13003000 and 13029000. These·
 accounts iriclud.e the. NR detail less (1) unprocessed returns, (ii}. the amo~nts identifled and accrued
 at year end for quality adjustments but applied to· individual accounts after the. close, and (iii) the
 allowa nee for doubtful accounts.                                                             ·




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Case: 19-40193
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                                SCHEDULE 5.0l{a)

                        Jurisdictions where Seller is qualfied



California




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      14-41045     Doc#
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                                      SCHEDULE 5.0l(h)

                                      Problem Receivables



All trade accounts receivable reflected in the Financial Statements are subject to the Seller's
normal return and warranty policies and procedures.

The Seller's returns are warranty returns. A customer's right ofretum is not unconditional; a
customer cannot return castings simply because it no longer wants them. If the amount of future
returns can be reasonably estimated, then current GAAP calls for the current recognition of the
costs or losses that may be expected in connection with any returns in accordance with ASC 450-
20, the ASC section on loss contingencies. The estimates do not need to be made on a part-by-
part basis, but can reflect meaningful levels of aggregation.

Under ASC 450-20, expected warranty costs or losses would need to be accrued if they were
probable and reasonably estimable. Certainly, the Seller's experience indicates that warranty
returns are probable. Given the Seller's changing customer product mix and the variety of
casting technologies employed in the Seller's plants, the "reasonably estimable" criteria
precludes the accrual of the Seller's warranty costs or losses at the time of sale."

As a result, Seller does not accrue for warranty returns, so the qualification is consistent with
GAAP and Seller's financial statements.

The aggregate amount of wananty returns from customers for the 90 day period following the
Closing Date shall not exceed $100,000. To the extent such returns exceeds $ l 00,000, Seller
sha11 pay to Buyer the full amount of such excess.




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Case:
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                                 SCHEDULE 5.0l(j)

                      Intellectual Property (previously 5.0l(i))



Trademark: U.S. Trademark Registration No. 1193508 (PS- logo), owned by Seller




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                                     SCHEDULE 5.0l(k)

                               Real property used in the business



The Seller leases the following parcels of Real Property from Berkeley Properties, LLC:


    1        640 Gilman               59-2345-1
    2        648 PaQe Street          59-2323-1
    3        1310 3rd Street          59-2345-2-2
    4        1333 2nd Street          59-2345-9
    5        1401 East Shore          59-2341-4
    6        1420 2nd Street          59-2341-5
    7        1421 2nd Street          59-2340-8-2
    8        1305 East Shore          59-2344-1-2
    9        1314 2nd Street          59-2344-3-1
    10       1320 2nd Street          59-2344-4-1



The real property above is owned by BP, who leases it to PSC pursuant to a written lease
agreement. This property is colloquially referred to by the Debtors as the "Berkeley Campus"
and the lease between PSC and BP is referred to as the "Berkeley Campus Lease".


Seller leases the warehouse located at 725 85 th Avenue, Unit H, Oakland, California 94621,
from Principal Life Insurance Company. Seller leases a group of lots that border the
Berkeley Campus at the corner of Second Street and Page Street, Berkeley, California, which
Seller leases from Howard F. Robinson.




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Case:
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                                      SCHEDULE 5.01(])

                                    Litigation and Disputes



Notice of Intent to Fine Pursuant to Section 274A of the Immigration and Nationality
Act, U.S. Department of Homeland Security, served May 3, 2013.

Seller also refers to and incorporates by reference in this Schedule 5.01(1), all matters disclosed
in Schedule 5.0l(m).




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                                  SCHEDULE 5.0l(m)

                          Compliance with Laws Exceptions



BAAQMD- Notice of Violation 8/11/2011, failure to meet permit condition #00486 IC,
minimum pressure of 1, across the carbon bed. Settled.

DTSC - Violation 4/9/2009, CA H&S Code section 25189.S(a);CA Code of Regulations Title
22, section 66262.11 Entered into consent decree with DTSC 7/10/2010.

CA OSHA Notice of Proposed Penalties 9/19/2013, inspection #316438910 -6 citations.
Partially Settled.

CA OSHA Notice of Proposed Penalties 2/10/2013, inspection #316442185 -3. Settled.

CA OSHA Notice of Proposed Penalties 7/15/2011, inspection #312362742 - 1. Settled.

CA OSHA Alleged Condition 7/29/2013 Title 8 CCR 3203(a)(6). Closed.

CA OSHA Notice of Proposed Penalties 4/07/2010, inspection #312358559-3 Settled.

CA OSHA Notice of Proposed Penalties l/17/2012, inspection #315315580 - 2 Settled.

CA OSHA Notice of Proposed Penalties 11/10/2011, inspection #315315093 - 3 Settled.

Those items listed on Schedule 5.0l(n)(i) and pennits listed on Schedule 5.0l(n)(iii)




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                                  SCHEDULE 5.0l(n){i)

                      Environmental Law Compliance Exceptions



In the Matter of: Pacific Steel Casting Co., California Dept. of Toxic Substances Control,
Consent Order dated 7/28/2010, Docket No. HWCA 2010-2176. Entered into consent decree
with DTSC 7/10/2010.

In the Matter of: Pacific Steel Casting Co., City of Berkeley Toxics Management Division
Consent Order Docket No. TMD 11-006. Entered into consent decree with City of
Berkeley 1/20/2011.

Communities for a Better Environment v. Pacific Steel Casting Company, Case No. C-06-4184-
BZ, Consent decree entered 3/16/2007.

Rosie Lee Evans et al. v. Pacific Steel Casting Company, Case No. RG08383068 and Settlement
Agreement and General Release effective 6/28/2012.

Baykeeper v. Pacific Steel Casting Co., Civ. No. 3:12-CV-05955-JCS and Consent Decree dated
6/11/2013 and entered 8/5/2013.

PSC received from East Bay Municipal Utility District (EB MUD) a new industrial waste water
permit October 2013. Prior to this pe1mit PSC had a zero discharge permit with EBMUD.

Expanded Phase I Environmental Site Assessment, Anchor Environmental Consultants, Inc.,
November 3, 2002.

Phase ll Environmental Site Assessment, Anchor Environmental Consultants, Inc., January 22,
2003.

Phase I Environmental Site Assessment, Partner Engineering and Science, Inc., November 26,
2012.

Limited Phase II Environmental Site Assessment, TRC Solutions, Inc., April 1, 2013.




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                                        SCHEDULE 5.0l(n)(ii)

                      Environmental , H&S reports (previously (n){ii)(2)


           Renort Name                          A@licable                                  Date(s)
                                         Statute/RegjRule/Permit
                                                Condition
Storm Water Report                    NPDES Permit # CAS00000 1              July l -2009-2013

Storm Water Report - Group            Metal Casting Stormwater               December 1 - 2009-2013
Monitoring Plan                       Monitoring Group, Inc.
EBMUD Compliance        Testing &     East Bay Municipal Utility District-   June 31, December 31, 2013
Reporting                             Periodic Compliance Reports            (New permit issued November 2013.
                                      CCCSD Class nu Permit                  Annual reporting require under old
                                                                             pennit 2009-2012)
CARB Reporting -                      Title 13 CCR Sec. 2025                 July I, 2014- One time registration
Truck and Bus Fleet (Registration
and Filter Installation)
Emissions Minimization Plan           BAAQMD Rule 12-13                      May 1, 2014 (New regulation)
Odor Test Summary Report              Pennit Condition Nos. #7134 and        Plant 2 January 31 2009-2013
                                      #486 (BAAQMD)                          Plant l April 30 2009-2013
NESHAP Compliance Report              40 CFR 63.7751 NESHAP                  January 31 2010-2014
                                      (EPA and BAAQ"MD)                      July 31 2009-2013
HRA - Health Risk Assessment          Quarterly Notifications - Health &     March, June, September, December,
                                      Safety Code Section 44300 et seq.      each year 2009-2013
BAAQMD - Annual emission report       Synthetic Minor Operating Permit       July 30 2009-2013
                                      Cond. #20207 (BAQMD)
BAAQMD - Annual data update           40 CFR 70-7 I, H&SC 42300 et seq.,     Plant 3 -August 2009-2013
                                      BAAQMD Regulation 2                    Plants l & 2- September 2009-2013

BAAQMD - Source Testing               Permit Condition # 23694               Annual - October 2009-2013

BAAQND/EPA - Opacity Testing          40 CFR 63.7731 (b); NESHAP             Semi-annual - 2009-2013

EPA Emergency Pla1ming and            40 CFR 355; 40 CFR 370; H&SC           March l - 2009-2013
Chemical Inventory Reporting -        25503.5-25506; 19 CCR 2729
Hazardous Material Business Plan,
submitted to Berkeley CUPA

EPAToxic Release Inventory                        40 CFR372                  July l - 2009-2013
Reporting
EBMUD Compliance        Testing &     East Bay Municipal Utility District-   December 1, 2013 (New permit
Reporting                             Discharge log and TIO Compliance       issued November 20 13. (No
                                      Report                                 reporting required under old pe1rnit)
LQG - Biennial Repo1t                 40 CFR 262.41, CCR 66262.41            Submitted request fo r exemption
                                                                             March l , 2014 - Currently exempt
                                                                             from reporting - Not LQG
Slug Discharge Plan                   East Bay Municipal Utility District    Biennial submittal December I ,
                                                                             2013 (New permit issued in 2013,
                                                                             first time required)

Phase I Environmental Site Assessment, Partner Engineering and Science, Inc., November 26, 20 12.

Limited Phase II Environmental Site Assessment, 1RC Solutions, Inc., April 1, 2013.

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                                     SCHEDULE 5.0l(n)(iii)

                                  Environmental, etc. permits



Bay Area Air Quality Management District, Permit to Operate, Plant# 187 (Co-Plant 1), expires
December 1, 2014.

Bay Area Air Quality Management District, Permit to Operate, Plant #703 (Co-Plant 2), expires
December I, 2014.

Bay Area Air Quality Management District, Permit to Operate, Plant# 1603 (Co-Plant 3), expires
November 1, 2014.

East Bay Municipal Utility District, Wastewater Discharge Permit, expires November 7, 2018.

City of Berkeley, CUPA, Unified Program Consolidated Permit and Registration, expired March 1, 2014,
renewal in process.

National Pollutant Discharge Elimination System (NPDES) General Penn it for Storm Water Discharges
Associated with Industrial Activities NPDES # CAS000O0Ol.

Storm Water Pollution Prevention Plan (SWPPP), dated February 21, 2014.

City of Berkeley Business License #14 00010043.

City of Berkeley Use Permit #7388 (1975) Plant #2.

City of Berkeley UP #01-70000007 ( 1996) Modification to UP#7388 to build Sand Recycling Unit.

City of Berkeley UP #8957 (1981) Plant #3.

City of Berkeley UP #06-10000045 (2006) Modification to UP#8957 to build carbon unit.




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                                          SCHEDULE 5.0l(o)

                                             Insurance Policies



Commercial Package

Commercial Property                                   Subject to specific limits, exclusions and deductibles:
Inland Marine
General Liability                                     Limits

Travelers Property Casualty Company of America        Buildings: $26,738,908
Expires: April 1, 2015                                Personal Property: $1,360,594
                                                      Stock: $6,990,000
                                                      Equipment: $24,276,530
                                                      Patterns: $17,200,000

                                                      Business Income and Extra Expense: $32,507,546

                                                      General Liability: $2,000,000/$1,000,000

                                                      ERISA: $2,000,000/$1,000,000

Commercial Automobile

Travelers Property Casualty Company of America        Subject to specific limits, exclusions and deductibles:
Expires: April 1, 2015
                                                      Combined Single Limit: $1 ,000,000

Excess/Umbrella Liability

St. Paul Fire and Marine Insurance Company            Subject to specific limits, exclusions and deductibles:
Expires: April 1, 2015
                                                      Umbrella Liability: $20,000,000/$20,000,000

Eguiument Breakdown (Boiler & Machinerv)

Travelers Property Casualty Company of America        Subject to specific limits, exclusions and deductibles:
Expires: Aprill, 20 15
                                                      Total Limit per Breakdown: $100,000,000

Commercial Crime

Crime Coverage                                        Subject to specific limits, exclusions and deductibles:
Fiduciary Liability Coverage
D&O and Entity Liability Coverage                     Maximum Aggregate Limits
Employment Practices Liability Coverage
                                                      Fiduciary Liability: $1 ,000,000
Chubb Group oflnsurance Companies                     D&O and Entity Liability: $1,000,000
Expires: October 31, 2014                             Employment Practices Liability: $1,000,000

Workers Compensation

Sently Casualty Company                               Subject to specific limits, exclusions and deductibles:
Expires: April I, 2015
                                                      Statutory Limits


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Case:
Case 19-04057
Case: 19-40193
      14-41045         Doc#
                       Doc# 85
                       Claim     Filed:
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                                   SCHEDULE 5.0l(p)

                                         Brokers



The Seller has entered into an agreement with Cleary Gull Inc. ("Cleary Gull") whereby Cleary
Gull will receive certain payments from the Seller upon completion of the transactions
contemplated by this Agreement. Agreement is attached.




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Case:
Case 19-04057
Case: 19-40193
      14-41045       Doc#
                     Doc# 85
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                                       A.DDENDUMTOENGAGEMENT LETTER AGREEl\iENT

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                   en&il&ement (e~r dated January 29, 2014 (the ''Engagement ;L&tter'i)by@clblltweeµ;Pacific
                   Steel Casting Coi;rtparty (''Deptor") a,itd <.:!+eaJ:yGutliuc. {"Cteary Gull"):. Ali.provisions of tb.e
                   $pgage\)lentietier not altered or deleted bytlifsAddendum shailtem/lln ill; ef:Ce()t l.u CR$e of
                   any conflict between the EngagemeniLe~~ andthi~ Addep.dx1ni; the.terms iuid cotiditious cd: this
                   Addendum sµall prevail, . . .
                           II      Notwithstanding anything to the contra,_;y 1n the E11gag~ment Letter, the.1erm
                   "Aggl'esitte Considei:atfon,"defmed in, S~ti9n 3.Cofthe Engagement Letter, does not fuclude
                   any withdrawal liability assocfated with. Debtor's multi-employetpensio1i ph1n; whether or notit
                   is l\SSUJ)l~ qirectJr or Jni;tireqtly, or {riggerecl apd paid, by the buyer, Uitless it is liquidated in a
                   settlement with the refovant union and paid bythe buyer.
                          2,      Nqt:with!ittindi:ng anythjpg to the con1;rary (ii tb.e Engag:~ment Letter, theter:ri1
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                   connection with the. assumption ofDebtot'S tnulti-employer p.erisibri plllii.
                   "DEBTOR"                                                 ''CLEAJ{Y GtrLL''
                   PACIFIC STEBLCASTllilG C6MPAl'lY                         CLMRY d{JLL !NC..


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                                                    of the C-Ompeny;
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                                  plili;~iiien( agent Clr UO!lerWriler wnb respect io the, Tr=ction and that *eN. is llD <;>lb.er person..ihat ii
                                  enlii:le~ .lo a finder's fee. or any"type ofbrokerai;e or 0th.er COTT)n~ssipil in connection wjth th~ Tt;msactillll.
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                                  payable to any other, fmanchtl advi;;or by th~ Q>mpait~ or any oilier 11erson in connection with the subjec!
                                  matter c;ifthls l'.ilgag(in:ientshall !'educe or othei:wis~ affect ,v,y amounfa pay~ble h~under to Cleal)' Qull.

                       3,         Couiperuialfon

                                  A.        !SR fee

                                  The Coml'a11y is payi\lg Cleary Gull a fee for initial advisofy r,;emces .reµderei\ ("U3R Fee") in three (3)
                                  installments adollows,

                                             Amount                P@bfo lroon,
                                             $37,500               Ifa.ecutlon ofthis letter ag;reetnerit
                                             $25,000               Rei:eilll: Jtf pt:op1>sed \nitial (ndi<;<\tlqn. of interest, letter ofintent,
                                                                   meliitjr~dlJ!ll otu1;detlitanding or other proposru.fora Traimtclion
                                                                   from an In~rested Party
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                                  JnterestedParties before die earlier ofMarch 1, ZOHor )he, daf<!J:he{'.ompany files: for t)l'Otection under
                                   Chapter li ofthe Fe<leral banl,ruptty )l\,Ys; atJd (ii) any portion ofihe !SRFee tbat is paidand not rofun!!ed
                                   shall he creQited against tl)c_ 1;mnsacilMFee.,is described below,

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                                   CJeaty G'.lll's compensation forth~• services is ):ru-gely deptind()flf<>n tlie qutcoine o(tl1is assi~eni. If a
                                   1)'1lhSa9\ip!I .is COD$\!l1J111Rted, th~n tbe. Coinpnny sbaU payCleary OuU e. ~\l~css: feti (tpe "r rans~ction
                                   f'ee"), in: \)a&b. via wire transfur at CODSUlll!WltiPQ of tl:ie Twns~ti<m, of F<>Uf ijundred Thousand Dollars
                                   ($400;000), less the amount of the JSR F~ pil,jd by ):he ~mprui.y, )llil1 an incentive foe (the ''fucentive
                                   Fee',1 equivalent ht Five percent (5%} <>f t)ieA,ggr~e ~nsideration (as defined below} equl'l tq or. in.
                                   excess of Eight"')!\ MJ1liori IlQllai~ ($18,QOO,OQO}                      ·                          ·

                                   c,        Defuiltion of Apmgate Consideration.
                                   For ptirposes oi'this letter agreement, tM te\lu."AgSJ1'!iat¢ ConsideratitiD'' sball.mean an amow1t co1Dpufod
                                   i.iJ accQtdance with the follow.ins.,




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                                                 escrow; and (b) the total     amount       offodebiedn.ess of the Company       for    mouey oorrowed
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                                                 price equivalent· t11 lhe· average per share price -at which the conttolling interest· is
                                                 acquired,.                            '

                                         (iii)   _Aggregafo Copsideratlon will !l.lso, in"1nde• (witlwut dµplicatii:m. of amQWit~ 9th~i~e
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                                                 of the Transaction; or their affiliat~ 11Dd paid by the Company or any .other P"'tr. to such
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                                         (iv)    If ill[ ilr a, portion of tha consideration l?ayable in· oannection with. tha Transaction
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                                                    average of,:the last sal.e ,pnces on each Qf the tep (raaJ:,;ig \li!YS eiil;ling, wltb th~ s~co;id
                                                    trading.day preceding the. closing:of fue Transaction and (b) in the absence of ,a pllbli9
                                                    trading lllll!ket iherefor, the-fair market value ther.eofon the day p1'1leeding the dosing Clf
                                                    llie 1):iinsaqtjon, C&risiileratioo or assets o!h~ than cash or securities. shall be valued ·at
                                                    f4ii- rri!!rli:et:Vi!ll.(e as ofih¢ <tatil ofC9J!sU1Itinalion of ihe Transaction.,

                                         (vU)       T'o~ falnnl\rket v4)i:ie or pre~ent valu~ of any coriip\Jrienl ()fAggi:~s~o yifajli(lemtlo11
                                                    qther th!in ~~h snail ~ sue!\ 1'11\(l\Jptl!S may be agreed by the Company and Cleary, :<li:til.
                                                    liowever;, ifth<) )!Brtiei, .Bf~ l!il;ibl~ to agree upon a :fulr:ma,keivalrie_ or p1~1t ·valoe,
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                                                    the,;, each will _i,el~ ai:i, in:v'~\J:l).e.nt i>a)l!tjng l:li:'¢_ respect~' _the ineigii~ ,¢d
                                                    acquisitions ileld to objectively de!emiine a bona fide fair m_a:rket valll<> or present value.
                                                    The midpoint between ihe two bona fide fairmarket value• or present values estnbli'~hed
                                                    by _sµch :firms will be the fair (DJU,ret value ot present value for puqioses of this letier
                                                    ilgreemei)f.. •Tl1ll. :f<',es of such, irivestm!'iii, batikers wJating: to sucb detilrr:ni11atioo will be
                                                    shared, ~illly by th~ Comps:ny ~l\d <;J¢~ry Gull,

                              Term lli:ld Termfoation

                              Ullon nlnety {90). days' written notice, the Company or Cleary Gull may t ~ e tho l'!ngagem,~t
                              effectlve at any time 100re thnn \Welve (l2) months nftet the dllte. hllreof (the earliest sudt a teni:linat:ion
                              i\ITTi~ 111l1Y be giyen is ninety (90) days prio:r to the end of1his twelve (l2) month period), Cleaiy Gull also
                              triay teJ'J,tl.Ulalll the El)gllgernetit upon n~e (SJ days' 'Wlitten notice after Cl~a!)' Gull !\as determi,o.~ in ii$
                              sole discretiol),.:ll\ilt.the,::e ~as beeit µ: :µi;ite,'ial adver~ chiuig~ ill 'lb.~ b.usiiiess, p,o!>Pe$, market valul: or
                              f,riil,t:Icial crmditiort of the C::bmpl!lly, Any such rennfrration sMII b~ )Vjthi;,i).f~ny ~\itiriu'uig obligation of
                              ti\~ Cpmpqny or Cleazy Gull ~cept lhat; (a) the Coinp'!-QY sba)l fo!lla\n. obligate,!                            to
                                                                                                                                              pay        futi any
                              ¢ompensatioh <;lllled_ .Md·. ~p~~ fucu.rred. by Cl~ Gull, to tl\e ~ , of termination; (b) ilio
                              lli<l,emriIBC!!tj~ J>rti,visi<J()s (~ de(in;ed below) B!ld Jgi, PF9V\$i0t1'1 of )',.rsgro.pli.s} !1:troUj!h ~ i.1:/ll l'O!l)aii:I .iri
                              efilict, ~ {c). if ihe Com~ if)/tiares i\nY Tr11I1.\'llcti9n witlµn: ei@~ (18) lli,<>\ti:!1$ fo)lowihg @Ph
                              termination.with any patty that prforto such termination: {i) Cleary Gitli id!itl~fie<l, to tho Conipa.ny '¥' a
                              potential participant in a TratJSl!Ction. or (il) •coutacte.d or was contacted.by th<> Company or Cll¾lly ciu:li
                              with respect to a., p.oten\ial Trans1Wtion, ilien. Cleazy Gull shall be entitled to· aJJ fees pzyahle- under-
                              Pm:agraph.3 Will,iespec.tro $ucli, 'fl"•rn,acJiM regardless of whether CJei,ry Gull. is involvecl in initim;fug 01,
                              cpDf!U!llinating theTI\Uls!lctiorj.                                                                                           ·



                             'Wi)et;her· or :ii.Gt a Trarisilcli:on her'euw:l!'t, iii. conSlll'ntnated, in ll!ldit:iou to the _f;,,¢s QCiswbed abqVl).; anif
                              el(cfu:tjv~ o:f any aiti<itirits Jltl!erwise J)ay~ble PJ!lttiant wthe Il)del)')o.iti~lion Provisions, JM subjedto the
                              liiliiµitjqiJ below, tlJ~. Con:ipa.ny a~s ttH'tlir.nburw C:leaiy Gull from ti,aje tq tjpje ui,on: i~ r~qu~st for all
                             prop,;rl~ doc~m.<;nted expen:scs incurred by Cleary t;Juif in ,ioruiectidil with the performanco-of its services.
                             ·hereunder, beoerallY ihese expenses, will represent travel,: document procurement and delJvety; otber
                              expcm,es reaso11ably .allocable to Cleary GWl's performa11ce of its services under this. !e!t:!lr agree111e11t ,md
                             related matters, but they will also incfode the. fees, and. expenses of Clearr Gull'S: attorneys and other
                              professional advisoruhould CIC!!ly Gu.It determine thl\t tbefr advic!l is required m eonnootion v,illJ tha
                              Engagementor in or.d~· to co!llllle!~ a'Tf'':""'3ction. UP.oil ex~Pl.ltion of~Jette; agreement the Cooipahi
                             sb~ll depo.sit with CJ~ Qull Sev"°' Thoµsailll Five lfl).nured Dolli$ ($7,500)i!ll a ii.lridfot payri\.ent of.
                             s'!,c!l ~i>•n~~s a~_ lii.;;utrii;I; wbi9h fiiiui sl;i!Jl be repkl\isb¢d py th~ Ccmiw.mY. \>ntllui t¢ (1 O) day~ qf.r:e?elpt
                              c>f ~ tilOJilh]y ~tllle/1:ie'I\\.it~m t;:\\'llrY GulhifeJ<P~ses incttrred _lllltil silc!j lili1e th.at th~ ~l~ive.ruilo]lnt,
                              deposited by the Compatiy with Clea,y Gull is equal to Thlrty Thousand Dollars ($30,000). Tho. CoD1pany
                             ihallre.imburse any such. expenses ofCleary Gu!Un excess of Thirty ThousalldDs>l]ars ($l0,000) at the
                             same tii)"le, .;iJJ.d only if,--~ 'fiiµ,~a9tion foe is p~yl\ble. For_ the si!li;e of c]a,rity, Cleary. GQI.I' ~• Engag~m;~ut.
                              i,halJ not illql)ld~ gjvi]'lg tax, legijl; regltl~tory,. ~cc:ouatjng c;ir other sp~j~J,i~t: ar technic~l advice or




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                   Pacific Steel Casting Company
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                            assoclated: services;· insiead, tbe Company will •retain .appropriate ~dvisors experieriPeil. \;;ii:11 ihii typ~. (lf
                            transaction, talre their advice and be tespq!i~ible.fi/'i aU fee~ ~ii<:\ e1'.'.()el\$es, ·~. well ~ all other ~sbi: ai:id
                            expenses associated.with the Ttansac!loll,                                             ·

                   6.

                            T/i~ Cmnp!jny wiil .fiitnijl, C[e~ry 0\ill w.i:ii •ll!<b iµfypl'lat)on concernin$ tho Company and i~ industry as
                            Cleary Gr;i!t~®~bly requests iii copn~c\ion wiih ¢I$ Engagem,ent The CQmpWiy will en.sure, and
                            hereby warranls and represents that such iof\illl1.tionwil~ not ~tam any untrue .stati:monf of material met
                            or 01)1it to. st;ite any jna,teiial f~c( necessary to make the statements iherein not misleading in light. of the
                            circumstance$ under which such statements are. made, the, CompA.ny further will e!lllure, and hereby
                            Wlll1"Bnts and t,vresents that any flDfiltcie:I forecasts IIJld proJectiPUS inat. i.t inalres avhlliµ)l, or prQvidllS to
                            Cleai:y .Gull wil).hej,r~pare4.in, good.;fiti!h !!Pel: wil.l be based upqn assu.niptions that retl~ctt!ie ~ best
                            ~ l y ~vaiL.lM estii):,l\t¢8 Uiadjui!~• oftliemanag~in,nt o:( the Company !IS to tli<ima!t~ coveied
                            !1)11Ieby and, ill tight of ~ cjrC'Ullista1lces I.ID~ whiclj they are made, are r~O!lJlble. To. adaltion, the
                            q>mpany w:iU k:\lel> Qleary Qtill "4vi!;ei:l of all llJaterial deveioproents affecting, the Company O!' its
                            flli,a!\cial position, The Compru1y recol¢izes and agrees, that Cleary Gull (~) ,viii ~ly solely on. such
                            information and .otl\or information, avllila;,le irom ieµerally r~cog,tlzw public .~Oil~ in petfqniJiiii\ the'
                            services CQ)l!emplateo het®nder; and (bJ will not UJ.ldcrtake ind@enc!ent' verification ot; liru!•dq~ not
                            assume resp()osibiilt:,, foithe awµi'aey or ~1111>letet1e,s of; $uclt iliforin~tion.
                            The Company a.clmowJ\!dg<iS tliat all op/nipns and ildvice (wdtten qf otal) giveii by, Cl~ <lull to. the
                            Co,tttpally [!)' co.nnectj()Jl wlili Cleary Gull's En~etnent will be vested by tlie Company as confidential, are
                            ii1tetl9ed .solely fer th~ ~se of the Board of Direciors and, senior management of' the Comp!lny in
                            0011sii:!cJ'lng tne Transaction to which they relate and are notf<ll' the use oJ; and cannot ~-r;:lied upori, by
                            any   othei: ()"1'SO!l p~ be usec,1 or reli~d IJI)OD tor BlJY ojhe.i1 J?l>'l'ose. Witbqnt Ilmii:iitioll; no ~UCfi!>pinions or
                            i!dvic~ $al.I corisf.i.Me• ~• reco1tnne11dation: to aby ~old~,. creditor or crep.iims'. !lornmfttee of the
                            C9l'.llpaj!J ct'lilce,l'l)(!,$ a<;tion: th¥ sµcl.i J?ersllllS might 01 should take in connection   with     fu() Transaction.
                            Excep~ as, r¢qufr~d by' law or by order of a court pf cQmpetenl:judsdiction, the Cpmpany ;¼$fees !bat l10
                            suclioph1lons or advice may be used io so!ic;it 'Sllareholder, cmiitor Qr, i:r~ditors' ~n:imiltt)ll appt~val g.f
                            any tronsactlon or fo1· any other purpose orteprod!!aed, ~eqili)~ted. qil;oted or referred t¢ at any .thne or
                             otli~"Wi$ ciisclq~d,io ll1lY .third Pe.rlY, in ;iiiy !ll~mi,;r or :for ~iiy.pµ,i:pose, nor s1i!tll any public references to
                            C!.i:ar,: ®U b¢ inadebytheC\impany(¢r i llC~~C!1l<iilll)1 without th~ptio~written conse1i! of.Cleary Gull.
                             Wit!li)ilt priot co»sul!:iltior1 with Clwi.y Gull, the Company shall not make any disclosure of s1tcl\ opinions
                             or ailvfo& e><ce)'I as re,iuired by ..law oi- by .order ,of a.• court of competent jurisdiction or ma:11<> •l!Ill'
                            fl!lJlO\lUCetn~nl OJ:' iiHng (bat is so i;equii'e;:1 in Whicb, PPlltY Owl's llllllll) :qipeers. Cleaj Qu]1 is nql
                            responsi];)le <i~ \lab!,; to any 1'i,cipie1it o(' 'll4\licii. providl!d by Cleary Gull as· a result. of a court• order
                            teq,1iring (11:scloturt:thereof.

                            Iliocm11ifir.ation
                            Tlie Company agrees io, the fudemnillciltion and copjribtitiori.pttwi$iliiis set fotth <in. Muiox Aami:ched to
                            this letter •£.reamenfand incorporaied herein ln their entirety (the "Jnslfllllhlficiilionl'rovisians''.).

                   ll.      Mlsfel'tnneot1S
                            Ila$>h ofCl~ry O\IU .and !~li .¢omp~ny j'i,preseots ·that this letter agreement has in all respects been du.ly
                            n46it/I'ized, executed :uid'. delivered by lind.on behalfof.itself. Thisieher l)greement 110d theiru!eill;'lifi9i!tjon
                            Prqvisl~ns embody the. entire agreement and llllderrtanding of the ]:'ilrties h~reto and ~µpetsede ;ill priqr
                            agl'eements and ,uullerstBil~ :wtitt¢iI and om], rela~ihg to·1J:1~ ~1liJect :,ilatter: bcrcqf and may not be
                            moditi~ m anien,decl; <>t fliiy IB!!Jl oi pro',i$\otj hercof\\iaiy~d, or di~cru1rg¥, except in. wilting si~ed by
                            the Jlarly ~/;"ins( wh~1 ~1,9h Ol,o(jificati.011, wajvcr or diss,harge ls sought .to be enfurced..              This
                                                                                                                                            Jette;




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                         app!icaple 1a\Y$ ofWisccu:is~ withoµ( reg~rd 19.Jiri!lciple(qf co¢.licf9fljlW~.                               ·
                         the Company agree.s to seek the appointmentof Cleary .Gull as it,\', im'l>stllfent banker in any chapter l l
                         bankrnptcy case filed by the Comeanx und.n: the standards pennitteit in 1l :ClS.C. §327(a) and ~328(a)
                         .P\U'Slliint to wliicl\, the lll.~tiv'•:P~ is·~. CQn!ingeril fee payalile t.1J.;,li th/a\ dosing pfa ~e ofasse~ offu~
                          Company. Tho. Company'• .ftts. and e,q:,ense& shall be subject to review by ib.o Bankruptcy Co1llt only
                         under the standard of.review prtlvi\led in U TJ.S.C•. §~28(11) 11nd ~ball not· be. subjec;t tq reyj¢.w DJ)~~ U.
                         U,s;q. ~~30(a); R~view shall ~e lll\Mr.the sfaii<lal,l tl)at proyii:!es tliatl<QJ)ipep.sijti9p. !lwarde,;I. llYili~ Court
                         jj;)e:y: differ Jfoi:n tlie C<lmpllllSat\on prb0d~d iii thiJi agniei:!iCll1t ol11y if;. "the tenn~ and copditions J:lrove t<,
                         ))aye Been fuiprovi4ent.lri. ligbt of d(}velopm¢nt.not capable o£1J~fug ~nticipated at the time offue. nicing of
                          sooli tehnil: and conditions)' . The, Companya shall not be requited (v >1dhere fu. the duiddlnes for
                          Ci>mpeusation: and Expense Reimbursement <,f.Profes.s1onals and Tm.mi"" promulg,ited mthe, Nor!:hem
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                         ;Nothing in. 1hi$ lett<:r agi,'l:"lltent ot ~gagemwit shall .U!lm Cle(liy Qull's ~bllity, to consul\ a:pd cqn(l11ct
                         lJus/neS$ fofan~ witb.. o\h¢1'.il, /nclo<(ing ¢<>1)lpclitQts of the· C,0riil'any,. aiid to engagil in.e1ctiy(t[es aimilllt tq
                         t:hcse cont~l!lillli.te~ heie11iul¢whe!l;ietf9t' i!S 0W4 accollilt or fot t~e a¢¢ount of"otbe;s or b11y'; sell <ir !)old
                         secu,jties lit or for others,

                         Cleary Gulhnayrefer         to. the 'Transaction and.the :Company, after it is otherw.Js~ public knowledge, in
                         traditi.o:ual "tombstono'' llilllO.unGe111~nts or any of 'its profiissional. protno\fonal materials. Furth~r; ff
                         requested by Cleary Gull, 'tbe Cilinp~y sfu\11 Jncltide ..a mutually aq¢ptiible ret'e(en¢e 11,i Cleary .Oull ll1 wy
                         preilS,telea.se or other l'ubtfo.:annoti!lcementinade by the Company nigarding the matters descdb~d in this
                         letter al¥eement                                                   ·

                         The.Compruiy acknowledges B))d agmis that (a) this letter agi'cemeiltdqes Jlot constifutp a comwitiMilt oI!
                         tmde(taking. on. the part.. of. Cleary: G:uH; to prqyide .ariy fma:ncing_ and, 900$' uot. ensui:'e; tM sµ~cessfi)l
                         comple\i\in (\f the Tr'lrt5a¢(ipil;. (b~ Ql,ciiiy quu is ai;tini Majl. in~e~endCl)f cqµf1:n9t<ir l)¢1;1iui)d~, luiq
                         neitbe(a:nything iil. th\s. letter agt~p.i<ajt pPr t!,e lj~Ul\i ot'Cfoiu;: GiJll' $ ~ervi¢s sll'!llbe deemed to create a
                         p~rtner~hip or l1du,ci~iy rehliion,'l\ip between cieary. Guii and the Company. or any other party; and. '(c)
                         Cleary Gu)) hns. no duties or obligations to the employees, equity, holders. or creditors ofthe Company by
                         virr,.te oflhi$. letter "b'T~<;ment or iheretention.ofCleary GuH here1111der, and,,tio s'uchp~-SO!l shaltl,,e
                         deeriie.d a \IWll, paey 1:>cne~cl<iiy ·of tl:!.is l~er i,greotjl~11t or ))lilie· ~ilY: rights' by virtue of ihi• Jeuer
                         agreement or the i"tontion of Cleary Gull here\Irlder.• ·                                       ·            ·

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                          {Jport th~ re11s(>oilbfe ~eq4~st ofany, party hereto, all parties hereto ap to execuro and deliver to ihe
                         requesting party an original o(ihis AgreemellL                                     ·




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                      Please• ci,ruii:Il:t thaH:he· fof!'goin(l comclly: •~• forih qur agreement .by s1gwng: anf relllming to Cleaty G@ tlw
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                                  ·;;:_~
                      By;




                      Accepted m,d agreed to, as oftlie date of this letter:




                      By:.
                             Name: ,         Kt<±1;e,      Oe.. l$&•1
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                   tx C011P.e¢1.io11, wi~ th~ ~n~ageml\iit of Cleal)' Gull '&y l,'atjfic $~\ c;;astftig dompat1y pum\!8il~ to ll letter agteeinetit
                   dated; Jan11~iy 29:; 2Q14, befy;oon ilteQ)mpany ~rtil Cleary Gull. i1il jhn;ty be aili,~ed; frQiµ tiiii~totiil;le (tir~."Letter
                   ~ement"),the Company hereby agro,5 as follows:

                   l'he Com:pany l!grees to mdemnify Cleary (fall, its presentand former con!rollinflper.sons (aa such.term ls. deffued
                   in the S¢ourrti~s   Act    of l933), ijffiU&!t\s; din:!ctot$, officers, ".1'1P)oyei,s, agen/s "'!d repn,sentimves (r::lr::ary Gull and
                   ~ell, SllCji JjersonJiemg 0Q "llidaj:iinined ),'arty") from ~n4 agajpspl)ly llll<i au fos•..S, ~lipms, dw~ges, j)ldgm¢nts;
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                                     SCHEDULE 5.0l(g)

                             Matters Relating to Benefit Plans



1.      On or around May 8, 2014, Seller became aware of an error contained in the Adoption
Agreement for the restated plan document for the Pension Plan for Employees of Pacific Steel
Casting Company (refened to herein as "the Plan") effective as of April 1, 2011. The error
relates to an indication in the Adoption Agreement that the Plan provides an unreduced early
retirement subsidy to all participants. The Plan does not provide an early retirement benefit
without reduction to the participants (except with respect to certain pa1ticipants who commence
benefits after attaining age 62) as indicated by the document in effect for the Plan immediately
prior to the 2011 restatement. Buyer is in the process of conecting this error, in addition to
several other subsequently identified enors made by a third party in the preparation of the
Adoption Agreement for the 2011 restatement. A draft corrective amendment addressing these
errors is attached.

2.     With respect to Seller's representation in Section 5.0l(q)(ii)(l2), Seller discloses that it
has ERJSA Affiliates which include (a) Tri-Pacific, Inc. and (b) Berkeley Properties, LLC.




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                                           AMENDMENT TO Ti-iE
                                     PENSION PLAN FOR EMPLOYEES OF
                                     PACfFIC STEEL CASTING COMPANY


                  This, Amendment (Amendment): to the Pension Plan for Employees of Pacific
                  Steel Casting company (Plan) ls adopted by Pacific Steei Casting Company
                  (Employer} to be effec;:;tive on and as-of the date(s) setfcnth below. ·

                                                     RECITALS

                  Whereas:

                  A,    The Employer originally established the Plan. effectiYEl as• of Augu$t 28,
                        1961 as a,. defined benefit pension plari for the Employer's non°Linioh
                        employees Who satisfy the Plan's eligibility requirements.

                  l3.   Ttw Plan is .intended tp be a tax qualified plan 4nder section 4-01 (a) ofthe
                        lnt13rna! RevenLJe. Code (Co!le) and a pension p!an under the: Employee
                        Retiteineht Income Se9urity Act of1974 (ERISA).

                  C.    The Plan operates on a plan year ending .on March 31 each year.

                  D,    The Employer relies on third party service providers to maintain the Plan
                        in compliance with toe requirements of both the Code and BRISA,
                        ihcluding; but not limited to; th.e preparation of the plan and trust
                        documents, the preparation of amendments. to the plan arid trust
                        documents, the. annual actuarial valuationsi the adminlstratfon of the
                        benefits under th!; Plan, and the preparation and filing of tile annual
                        ~eport$ with the lnterrial Revenue Service ancj the Department of Labor.

                  E.    For many years, the Employer has used, and continues to use, the
                        services of Nicholas & Hicks as the third party administrator for the Plah
                        and Roben Haness of Hanes$ &.Associates ,;1s .the, actuary. for the Plan.

                  F.    The, Employer Linderst~nds and believes that. Nicholas & Hicks ,;1nd Robert
                        Haness are Very experienced ih assisting empioyers with plans such as
                        the Plan.                                 ·

                  G.    The Employer has amended the plan and trust documents and restated
                        the pfan an~ trust documents from fime. to time over th.e years since the
                        Plan's inception,

                  H.    In 200:3, Nicholas Se Hicks prepared a restatement of fhe plan and trust
                        c:!ocument in order to update the Plan for changes in the Code and ERISA ..


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                  L              On Decemb.er 19, 2003, Nicholas & Hicks sehtthe restatemento.fthe plan
                                 and trust document to the: Employer With an indication that It had been
                                 reviewe<;l by Robert Haness as well.

                  J..            The Employer adopted the 2003 restatement in December 2003'..

                  K.             On, March 15, 2006, the. Ernpkryer cidopled an amendment, prepared by
                                 Nicholas~ Hicks; that ceasec;l all b1;_nefit c1ccruc:1ls un<lertl'ie Plan effective
                                 c1sof r,Jlarch 31, 2006, andth¢EmpJoy¢r gay¢ the notice, al~o j:>repar$d by
                                 Nicholas: $,_. Hicks, th!=lt is reqllired to pe gjyen, by i:>oth the CodE:? 1md
                                 ERISA, to all of the .partlcipants lh the, Plan regarding the cessation of
                                 future benefit accruals under the Plan.

                  L              Between 2006 and 2011, th.e E:mployer c1clopted other amiandments to the
                                 2003 restaternentof the plan and trust document, all prepaJed by Nichcila·s
                                 &Hicks.

                  M.             111 2011, Nichol.as ~ Hic*s' prepc1red a restatement of the pl;:in pl')d trust
                                 documeot in order to llpdate the Plan for chc1nges in the Code and ERl$A
                                 sfnce_the 2003. restat¢ment, a~d·sent the re.statement _of. ~he plan and trust
                                 document to the Employer with an indication that the 2011' restatement
                                 made no substantive changes to theway In the Plan was operated.

                  N.             The Employer adopted the 2011 restatement ih. June. 2011, effective. as. of
                                 April 1, 2011 , in. reliance on the representations made by Nicholas & Hicks
                                 regarding the restatement of the Plan.

                  O.             The Employer has just recently learhed that Nicholas & Hicks made a
                                 number of errors when preparing the 2011 restatement' of the plan ancl
                                 trust document as ev/qenced by c9mmL,Jnications from both Nicholas &.
                                 Hicks and. Robert Haness;, whjch errors were not caught previously by the
                                 Employer because ofthe Empioyer's reliance on born Nicholas & Hicks
                                 and Robert Haness in the preparation of the 2011 restatement documents.

                  P.             The Employer h.as qetermined that these error,;; 111acle changes. to the
                                 terms of the· Plan that were neve( intended by t_he Employer, never
                                 expected to. be rnade by the partH::fpants, ahd never communicated to the
                                 participants in the summary plan .description fdt the Plan, a summary of
                                 material modifications to the surnrnary plan description for the Plan; or in
                                 any other manner:

                  Q,             The Employer has also determined that Robert Haness . has beeh
                                 performing the actuarial valuations fo~ the Plan and coordinating the
                                 adminiitration of the Plan with Nichctlas & Hicks in a manner that is
                                 consistent with the way in which the 2011 restatement should h<lve been


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                             prepared rather than in accordance with the erroneous documehts
                             prepared by Nicholas & Hicks:

                  R.         The Employer wis.he.s to <;:orrecf these errors. in I.he plan ,me;! trust
                             documents by the adoption of this corrective amendment so that (i) the
                             plan and frust .doc.uments ate worded as they· Should have been worded
                             by Nicholas & Hicks when it prepared the :20:tt restatement., (ii) the plan
                             and trust docl!ments i:ire consJst~nt will) the µnd.erstanding of the Plan by
                             the Employer; the particjparit~· and Robert H;;1ness, and (iii) the p!ah an~
                             trust docurn1;?nts are consistent with the manner in Woi<::h the P!an has
                             been adtnihistered by Nicholas.& Hicks and Robert Hahess oh behalf of
                             the Employer.

                                                        OPERATIVE PROVISIONS

                  Now,, therefore, the Employer amends the Plan by correcting the folloWing
                                    in
                  provisions the· Adoption Agreement that was signed on June 5 , 2011; effective-
                  a$: of April t, 2011.:                        ·              ·     ·

                  t,            Part II Section 01, ''Notrilcil .Form of Benefit,'' is amended and restated to
                                read as fallows:                                                          ·

                                The penettts <Jetermined          In   this Ser;tion are. payable at Normc1I
                                Retirement Date as follows:

                                           For Tier 1 Particip,ants,. cJn annuity guatcJnteed payable tor one
                                            hundred twenty (120) monthly payments and continued thereafter
                                           for the life of the Participant. The first monthly payment shall be·
                                           ma.de as. of the first day of the month coincident with or next
                                           followtng the Participant's Normal Retirement Dc1te with th.e ia,st
                                           payment c1s of the first day offhe month in which th~ Participant's,
                                            death occurs orthe one hundred twenty (120) month payment
                                           period .expires, Whichever occurs later: Tier 1 Participants inr;Jude
                                           Salaried f=mployees; Hourly Shipping Department Manc1gers,
                                           Hourly Prq,;Juction Schedulers anc:/ Administrative A~!stants.

                                            For Tiet 2 P~rlicipanfs, ah annuity payable monthly for: the life of
                                            the Patticipaht. The, ttrst monthly payment shall be made as of
                                            the first day of the. month coincident with or next tolfoWing the•
                                            Participant's Nonna/ Retirement Ol;lte with the Jastpayment as qt·
                                            the fjrsf day of the month in which (he Pa,rticipanrs deiith or;r;urs.
                                            Tier 2' Participants· include Hourly Paid Employees other than
                                            those' classified as Tiet 1 Partkipants.

                  2.            Part II Section D11, "Plan Actuarial Equrvalence," item (a), "Plan/Code
                                Section 415 .As.sumptions," i.s amenqed and restated to refld as folJqws:


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                                   a:.1 Pre-retirement interest rate: eightperc,ent (8%)
                                   {;!,~Pre-retirement rnqrtality tal)f e: lJP84; Unis~x ·
                                   aA Post•retirernenUnterest rate: l{Jighf-percl!Jnt (8%)
                                   a.5 Post-retifeinent mortality table: UPB4 unisex
                    3.             Part II Section D13, "Determination of Top Heavy Status,'' ttem (b) is
                                                                                          0


                                   amemqeq and restatecl to read as follows;              ·

                                   b,           The actuarial assumptions fo be used ih detefrhining, the Top-
                                               .Heavy Ratio shall be.'.
                                               b..1      Pre-refiremf;lntinterestrat('J: eightperc_ent(f./%)
                                               b.2       Pre-retirementmr>rt_afitytabfe: UP84 Uni:;;ex ·
                                               bA        Post-retirementintefest rate: eight percent (8%)
                                               b·.5      Post-retirement mortality table: UP84 Unisex·

                    4.             Pa.rt .II Section F1, "E;arly Retirement Benefit," is am.endecl and restc:iteq
                                   to reaq as. fc;il!ows;      ·
                                   For tier 1 Participants; the Acttlied Benefit is actuatially reduced tot
                                   eatfycomtnenc_ement. For T(er 2Participants, the Acctu1;,d Benefitis not
                                   actuarially reduced/or early commenc.ement it the Annuity Startin£! Date
                                   is on or after age sixty-two r62)- For Tier 2 Participants, if the Annuity
                                   Starting Date          ,s.
                                                     prior to age $xty-two (62); the Ac;c;iued :Benefit i1:,,
                                   redqcerJ tor early commencement by zero and five. tehth~ percent
                                   (0.50%). toreach month that the Participant's Annuity Slatting Date
                                   precedes the Participant's sixty~second (62nd) birthday. For ali
                                   Participants, whether tier 1 Participants or tier 2 Partir;lpants, the Early
                                   Reti{"f?ment Benefit' shall commence as of ti)e qay of thee month
                                   coincident with qi next following the Particip1:mt's efected Annuity
                                   Starting Date.

                    5.             Part 11 Section G1, "Method of Distribution," is amended and restated to
                                   reacl as follows:.

                                                                           Tied Participants        Tier 2 Participants

                                   Lump  Sum not to exceed                          Yes                        Yes
                                   $5,000
                                   Life Annuity                                     Yes                        Yes

                                   50o/o175%1100% .Joint              &             Yes                        Yes
                                   Survivor Annuity


                                                                                                                     PA9(l, 1,a11
                                                                                                                     2\VJOii<W~
                    CHAhlB :RJ'rHEN9~ ;.G &.·LOK~ l'.6                    .., 4 -                                        6~/1-~




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                                  Life. Annuity with a certain                   Yes                     /lio
                                  period of 10 years

                      6..         Part I! Se~tion <3Q; "Requireci Min.irnum Oistributions," i!:/ amenc:!eci by
                                  unmarking items (k) and {k2), so that a joint ahd survivor annuity is not              a
                                  form .ofpaymeht for Required Minimum Distributforts.

                      7.          Part II Section 1-!6, ''Multiple Pian Prqyisrons," is amended and restateci
                                  to read a.s. fo IIQwl}r
                                  The Ernp!Oyei Which maintains. a qualified defined contribution plan in
                                  Which any Participant is; was;_ or coufd become a Partfcif)flnl adds the
                                  follovdn[l prpvision which it deems necessary to satisfy section 416 of
                                  tfie Code beca4se of the required aggregatiQn ofmultiple plans:

                                  f.        Other - .Specify; a rnihirnurn contribution a/Jocafion of three
                                            percent (3%) oi each non-key Participant's totai Compensation
                                            shall i)e pro\ii.cJed.in a defiM.ct contnbu(i(,n plan offh13 Employer.

                      AH other provisiohs of the Plan as in effect prior to this Arnerid_nient sh$1f re main
                      unchanged by this Amendment.

                      Executed this_.._._.. _. day ofJune, 2014,

                                                                        Pacific Steel Casting <:::ornpany



                                                                        By:

                                                                        Title:




                                                                                                                P;\00~1,ol,:
                                                                                                                '21\".30$003;
                      cHA"IG RUTHENBERG &:LONG ?c                    - 5-                                            614 /11




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                                    SCHEDULE 6.0l(a)

                     Jurisdictions where Buyer is qualified to do business




                                            None.



[Note of Explanation - Speyside Fund LLC is a Delaware LLC, with no offices, operations
or assets in other states requiring foreign state qualification. It will form a subsidiary,
either domesticated in California, or qualified to do business in California, to take title to
the assets and operations as Buyer at Closing.]




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                                   SCHEDULE 8.0l(b)

                                   Excluded Employees



              To be completed no later than one day prior to the Closing Date




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SCHEDULES

2.02(g) ................................................................................... Deposits and Prepaid Amounts Funded by PS
2.03(b)(iii) ........................................................................................................ Buyer assumed Benefit Plans
2.03(b)(iv) ............................................................................................... Transferable licenses, permits, etc.
2.03(b)(v) .............................................................. Employees With Accrued and Unpaid Vacation Benefits
2.03(b)(vi) ............................................................................................ Accounts payable assumed by Buyer
2.04(a) .................................................................... Executory contracts and Unexpired Leases to Assumed
3.0l(c)(ii) ...................................................................................................................... Net Working Capital
5.01(a} .................................................................................................. Jurisdictions where Seller is qualfied
5.01(h) ........................................................................................... Problem Receivables (previously 5.0l(g)
S.0l(i)(iii) .................................................................................................... Agreements with tax authorities
S.0l(j) ............................................................................................ Intellectual Property (previous ly 5.0l(i))
5.0l(k) .................................................................................................... Real property used in the business
5.01(1) ........................................................................................................................ Litigation and Disputes
5.0l(m} .....................................................................................................Compliance with Laws Exceptions
5.0l(n)(i) .................................................................................... Environmental Law Compliance Exceptions
S.0l(n)(ii} ......................................................................... Environmental , H&S reports (previously (n}(ii)(2)
S.0l(n)(iii) .......................................................................................................... Environmental, etc. permits
5.0l(o) ............................................................................................................................... Insurance Policies
S.0l(p) ................................................................................................................................................Brokers
S.0l(q) ....................................................................................................... Matters Relating to Benefit Plans
6.0l(a} ............................................................................Jurisdicions where Buyer is qualfied to do buiness
8.0l(b) ........................................................................................................................... Excluded Employees




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                                                                                                                                                                Exhibit 9.03(h)


                               i
                           AIR COMMERCIAL REAL ESTATE ASSOCIATION
                STANDARD INDUSTRIAL/COMMERCIAL SINGLE-TENANT LEASE-- NET
                                           (DO NOT USE THIS FORM FOR MULTI-TENANT BUILDINGS)

    1.            Basic Provisions ("Basic Provisions'').
                  1.1    Parties: This Lease {"Lease"), dated for reference purposes only _ _ _ _ _ _ _ _ _2_0_1_4_ _ _ _ _ _ __ _ __
    is made by and between Berkeley              Properties, LLC, a California limited liability company
                                                                                                                                                         ("Lessor")
    and     [to be inserted; Lessee will be an affili ate o f Speyside Fund , LLC ]
                                                                                                                                                        {"Lessee"),
    (collectively the "Parties," or individually a "Party").
                  1.2    Premises: That certain real properly, including all improvements therein or to be provided by Lessor under the terms of this Lease,
    andcommonlyknownas1333               2nd Street, 1310 3rd Street, and 6 40 Gilman Street, Berkeley
    located in the County of _A_l_a_;n_e_d_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                        , Slate of California
    and generally described as (describe briefly the nature of th e property and, if applicable, the "Project'", if the property is located within a Project)




                                                                                                                            ("Premises"). (S ee also Paragraph 2)
                  1.3    Term:   15               years and    O                   months ("Original Term") commencing _ _ _ _ _ _ _ _ _ _ _ __
    ("Commencement Date"] and ending _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ("Expiration Date"). {See also Paragraph 3)
                  1.4    Early Possession: lf the Premises are available Lessee may have non-exclusive possession of the Premises commencing
    N /A                                                                                         ("Early Possession Date"). (See also Paragraphs 3.2 and 3 .3)
                  1.5       $8 9, 5 5 4 . 0 0 per month ("Base Rent"), payable on the _f_i_r_s_t_ _ _ _ _ _ _ _ _ _ _ _ _ __ day of
                         Base Rent:
    each month commencing on the Commencement Date
                                                                                                                                            • (See a~o Paragraph 4 )
    0 If this box is checked, there are provisions in this Lease for the Base Rent ta be adjusted. See Paragraph _5_1_______

                  1.6    Security Deposit: $89,55-+.00 ("Security Deposit")
                  1.9    13asGJ Rant and Ot~Ries         Pa:e IJf.}eA Exec:1:1:tien:
                         (a)     Qase ReRt:   ~:J. 00                    fer'


                                                                                       l":Oeo~ri!y D•~••it"). (Sos ales Para~ra,h •I




                         (e)     T ofal 01:1e U13or1 Emrnution ef this loasa: $9 . G 9


             1.7  Agreed Use: cas t stee l                foundry operation, related offi ce functions and any othe r
    l e gally p e rmitte d u s e s                                                                                                      •   (See also Paragraphs 6
    a nd 53)
                  1.8    Insuring Party; ~ Lessee is the "Insuring Party·• unless otherwise stated herein. (See also Paragraph 8}
                  1.9    Real Estate Brokers: (See also Paragraph 15)
                         (a) Representation: The following real estate brokers (the "Brokers") and brokerage relationships exist in this transaction (check
    applicable boxes):

    ON/A                                                                                                        represents Lessor exclusively ("Lessor's Broker.. );
    ON/A                                                                                                     represents Lessee exclusively (" Lessee's Broker''); or
    ON/A                                                                                            represents both Lessor and Lessee ("Dual Agency").
                         (b) Payment to Brokers: Upon execution and delivery of this Lease by both Parties, Lessor shall pay lo the Broker the fee agreed to
    in their separate written agreement (or if there is no such agreement, the sum of N / A                            or N / A             % of the total Base Rent)
    for the brokerage servkes rendered by the Brokers.
                  1.10   Guarantor. The obligations of the Lessee under this Lease are to be guaranteed by _ _ _ _ _ _ __ __ _ _ _ _ _ __

    - - - - - - - - - - - - - - - - - - - - - - - - - - -- -- - - - - - - ("Guarantor"). (See also Paragraph 37)
           1. 11 Attachments. Attached hereto are the following, all of which constitute a part of this Lease:
    liZI   aA   O<lde.'a' ,FA A ddendum6 consisting of Paragraphs _
                                                                  5_1________ through _5_6_ _ _ _ _ __
    D      a plot plan depicting the Premises;
    D      a current set of the Rules and Regulations;
    D a Work Letter;
    D      other (specify): - -- -- - - - - - - - - - - - - - --                                 - - - - - -- -- - - - - - - - - - - - - -




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    INITIALS                                                                                                                                            INITIALS

    ©2001 -AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                                            FORM STN-11-8/0SE

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    2.              Premises.
                    2.1            Letting. Lessor hereby leases to Lessee, and Lessee hereby leases from Lessor, the Premises, for the term, at the rental, and
    upon all of the terms, covenants and conditions set forth in this Lease. \Nhile the approximate square footage of the Premises may have been used in
    the marketing of the Premises for purposes of comparison, the Base Rent stated herein is NOT tied to square footage and is not subject to adjustment
    should the actual size be determined to be different. Note: Lessee is advised to verify the actual size prior to executing this Lease.
                    2.2            Condition. Lessor shall deliver the Premises to Lessee broom clean and free of debris on the Commencement Date or the Early
    Possession Date, whichever first occurs ("Start Date")., -na, so lsne a· lF]e ·squirnd se~":ez -sRtms~s@.gs,e;:~                                         P□F3grapih    7.1:b) i...o~s· · a~--

    ealaiA:e b; Le"see ace iA slfe"t i'l1iA taiFI; E!·ys lell· , iA@ '!se 8tar. Da'.e, . aFFa..'.s t'·t Le66or make~ no representation or warranty that the
    existing electrical, plumbing, fire sprinkler, lighting, heating, ventilating and air conditioning systems ("HVAC''), loading doors, sump pumps, if any, and
    all other such elements in the Premises, stlaer ·aac 1hsss seAslR<etsa                       la,· Leases, shall be in good operating cordition on said date, that the structural
    elements of the roof, bearing walls and foundation of any buildings on the Premises {the "Building") shall be free of material defects, or aR4 that the
    Premises do not contain hazardous leve~s of any mold or fungi defined as toxic under applicable state or federal law. If e ABn -□!v!pl:anGo · ;~Fl s.,..'EI
    '"amomty e::fsts as sf tl:ie 8'afl 9atc, er if ene af sueR s~•sterns             w    e'eFAeRtG sReul9 r:ra!i=l;:!A G!ian w fa'I '.''ithfn ~he appropriate •.1acmnt., ~e io:!, Lessor
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                    2.3            Compliance.     Lessor represents and warrants that use of the Premises as a foundry with related
    office and warehouse use Is a permitted use within the zone wherein the Premises ie; located under the City of
    Berkeley ordinances. Lessor shall obtain and deliver to Lee;see prior to occupancy a Zoning Research Letter
    from the City of Berkeley confirming that such use Is perm itted. If required by the City of Berkeley, Lessor ,shall
    al5o obtain a certificate of occupancy with re!ipect to the Premi5e6 l5sued by the City of Berkeley In connection
    with Lessee\, occupancy of the Preml,ses, and ,shall at Lessor's expense addree;s and correct any matters
    required by the City In order to obtain the Certificate of Occupancy. Except as provided above.                                                                      Lessor    make~ no
    representation or warranty that warrants that to the iaost 9f i!e kno "lod~g the improvements on the Premises comply wtt:h                                           ~ building codes,
    applicable laws, covenants or restrictions of record, regulations, and ordinances ("Applicable Requirements") tha~ wose is elfoo.-:,t 'as time that ease
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    Applicable Requirements are hereafter changed so as to require during the term of this Lease the construction of an addition to or an alteration of the
    Premises and/or Building, the remediation of any Hazardous Substance, or the reinforcement or other physical modification of the Unit, Premises
    and/or Building ("Capital Expenditure"), Lessor and Lessee shall allocate the cost of such work as follows:
                                   (a) Subject to Paragraph 2.3(c) below, whether or not ii such Capital Expenditures are required as a result of the spocific and
    unique use of the Premises by Lessee as compared with uses by tenants in general, Lessee shall be fully responsible for the cost thereof, provided,
    however that if such Capital Expenditure is required during the last 2 years of this Lease and the cost thereof exceeds 6 months' Base Rent, Lessee
    may instead terminate this Lease unless Lessor notifies Lessee, in writing, within 10 days after receipt of Lessee's termination notice that Lessor has
    elected to pay the difference between the actual cost thereof and an amount equal to 6 months' Base Rent. If Lessee elects termination, Lessee shall
    immediately cease the use of the Premises which requires such Capital Expenditure and deliver to Lessor wrrtten notice specifying a termination date at
    least 90 days thereafter. Such termination dale shall, however, in no event be earlier than the last day that Lessee could legally utilize the Premises
    without commencing such Capital Expenditure.
                                   (b) If suer Capital EnporiEiiture ic AGt 1he result of tho spooifis and unique •Jso of the JlreR1icos b~, Lccsoo (sl:lch as. §9"3FA"'~En1al'y
    rnanaatad seisFRio modifcation5), then Losser sl=lall pa/ fer s1:::1sh Capital EJ(pend!hire anEI Lessea sllall onl)• So o911gatoa lo ~ay, oaGA mGn~l=i 8blfiRg the
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    days Nri;~sn netice ta I essor.
                                   (c) Notwithstanding the above, the provisions concerning Capital Expenditures are intended to apply on!y to non-voluntary,
    unexpected, and new Applicable Requirements.                       If the Capital Expenditures are instead triggered by Lessee as a result of a n actual or proposed
    change in use, change in intensity of use 1 or modification to the Premises then1 and in that event 1 Lessee shall either: (i) immedlately cease such
    changed use or intensity of use and/or take such other steps as may be necessary to elim inate the requirement for such Capital Expenditu~, or (ii)
    complete such Capital Expenditure at its own expense. Lessee shall not, however, have any right to terminate this Lease.
                     2.4           Acknowledgements, Lessee acknowledges that: (a) it has been given an opportunity to inspect and measure the Premises, {bi it
    has been advised by Lessor ane4Y Bcsl·o,s lo satisfy itseW with respect to the size and condition of the Premises (including but not limited to the



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    INITIALS                                                                                                                                                                       INITIALS

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    electrical, HVAC and fire sprinkler systems, security, environmental aspects, and compliance with Applicable Requirements and the Americans with
    Disabilities Act), and their suitabilrty for Lessee's intended use, (c) Lessee has made such invesOgation as it deem s necessary with reference to s uch
    matters and assumes al! responsibility therefor as the same relate to ]ts occupancy of the Premises, (d) it is not relying on any representation regar-ding
    as le '.he s;,o gf the Premises made b y - Lessor, except fo ,, the repr eeentations 5et                                               fo r,ch in thie Leble;e, (e) the square footage of the
    Premises was not material to Lessee's decision to lease the Premises and pay the Rent stated herein, and (f) neither Lessor, n::w Lessor's agent s, P.e-i:
    ~ have mad~ any oral or written representations or warranties with respect to said matters other than                                                as set forth in this Lease.        ln at!Eftien .
    Leeser aol'MS ule'3§e- that:             fi) @relr;grs ha-,e ~aas Re r~;rscsntah:1r:s, pPZF.!.:ses er ••<aFrantias ~sncsrnin!§I Ls 6Gse 'c al;@'.~, ta hep,2r the Lo-sg er
    Guitai?i~ity te 8""1:Jf?J' 1'he PreFAiceG. anEi (Fi) :tis LaGsc::'s cola reef?0."Cibilily te in< :::ctigato the ;:iranGi&I eepah!it:,c ar:d'or E'Ji'"bility of aHproposed tenants.
                   2.5
    ~ri;r tg the Sta:=t Qate bes see was tho ,a "r:t9F er accr·par:tf gf •1=1e Promises. IR sw::h B " □n', Lessee shi!il1 Pe respans'ble fflr a ny r;g~g5carr "9rFGctP<a




    3.             Tenn,
                   3.1           Term, The Commencement Date, Expiration Date and Original Term of this Lease are as specified in Paragraph 1,3,
                   3.2           Early Po$sessioo.              ◊ A)   F1FS irion horein §F3ntin§ boss□□ Early Po-soss:□n 0f il=lo Pf0ITT·1sss is n:e,jest te anG! ,zenditiono3 ..19on the
    PreP.'-liEBs Q-i-g 2" □ i!able for EYGh i;aceescion ~r:gr ~e th o G9FRA=1encor:r1ent Oats. ll ny s1rnnt gf early PeecNrnton er:tl}' can• BJ'S a R9R e::clus·p,a right ts
    eect:J?r i\:le Premis9e. lf L ossee t0latl:,1 or 13artiall;1 0cc1:Jpias tho Premises prior 10 tho Cemm cnscn:icAt Da~e, !he ob!igatien to pay Bass f-1:ont shaJ~....ge
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    tin9 insur-noe premiums and to rr1ainla1R th□ Prcmirnc) shall ba ~n offoc:t durin9 suGh peried. /'ny su-h Earl) Pecssssicn e;hall net a#sc t ihe 12xp lrat isn
    Ga!Q,

             .3.3      Delay In Possession, Lessor shall a.§rses ts b!se iis 8ast seR=iFTrrGi:lly rsas:Gna91e -tt□rlc !a deliver possession of the Premises
    to Lessee by the Commencement Date. ~, despite said efforts, Lessor is unable to deliver possession by such date, Lessor shall"""1. be subject lo "Al'

    liability therefor, nor osall sseh ia:lare af!osl tae , a!iei\1 eneis                     bease, In a ddi t ion t o any other r emedies available to Lessee, Lessee shall not,
    ~ be obligated to pay Rent or perform it s other obligations until Lessor delivers possession of the Prem ises and any period of rent abatement

    that Lessee would otherwise have enjoyed shall run from 1he date of delivery of possession and conlirue for a period equal to what Lessee wou ld
    otherwise have enjoyed under the terms hereof, but minus any days of delay caused by the acts or omissions of Lessee. If possession is not delivered
    within 60 days after the Commencement Date, Lessee may, at its option, by notice in writing ·cri~hin 10 e-ys after the end of such 60 day period 1 cancel
    this lease, in which event the Parties shall be discharged from all obllgations hereunder. I' sbl-h · ~j•t.--n " S,_i... 3 :E .... st rasai,sEl B1 Lsssor withi;; Ga.iS 1 G
    d- y paRG3, Lees go's right ta sancel shall ta;::;:nin.:~3. If 1=1c5ccscien gf tho P:-omis36 ls not dcH11ercGI v ith in 12,Q dayc -P.a,r tl=1e G:iFAn:ionoaFP.snt 9Jte, tr.is
    Lease shell terminate Lnless t.1tho~ agreements are roached tio~• esn Lo!:!scr :::nci Les Me, in ,,1ritin9.

                   3.4           Lessee Compliance. Lessor shaH not be required to deliver possession of the Premises to Lessee unlil Lessee complies with its
    obligation to provlde evidence of insurance (Paragraph 8.5),                                Pending delivery of such evidence, Lessee sh all be required lo perform all of its
    obligations under this Lease from and after the Start Date, including the payment of Rent, notwithstanding Lesso~s election to withhold possession
    pending receipt of such evidence of insurance. Further, if Lessee is r equired to perform any other conditions prior to or concurrent with the Start Date,
    the Start Dale shall occur but Lessor may elect to withhold possession until such conditions are satisfied.
    4,             Rent
                   4.1.          Rent Defined, All monetary obligations of Lessee to Lessor under the terms of this Lease (except for the Security Deposit) are
    deemed to be rent ("Rent")-
                   4 .2          Payment            Lessee shall cause payment of Rent to be recei ved by Lessor in lawful money of the United Stales, without offset or
    deductlon (except as specifica~y permitted in this Lease), on or before the day on. which it is due. All monetary amounts shall be rounded to the nearest
    whole dollar. In the event that any invoice prepared by Lessor is inaccurate such inaccuracy shall not constitute a waiver and Lessee shall be obligate d
    to pay 1he amount set forth in this Lease, Rent for any period during 1he term hereof which is for less than one full calendar month shall be prorated
    based upon the actual number of days of said month, Payment of Rent shall be made to Lessor at its address stated herein or to such other persons or
    place as Lessor may from time lo time designate in writing. Acceptance of a payment which is less than the amount then due shall not be a waiver of
    Lessor's rights to the balance of such Rent, regardless of Lessor's endorsement of any check so stat[ng. In the event that any check, draft, or other
    instrument of payment given by Lessee to Lessor is dishonored for any reason, Lessee agrees to pay to Lessor the sum of $25 in addition t o any Late
    Charge and Lessor, at its option, may requlre all future Rent be paid by cashier's check. Payments w ill be applied first to accrued late charges and
    attorney's fees, second ta accrued interest, then to Base Rent, Insurance and Real Property Taxes, and any remaining am ount to any other ou tst anding
    ch arges or costs.
                   44'".JC-~-,n-.s,ssc<>o<>Gifi<atfG.n- Foes,   In eddit!on to 1hc Base Rent, Lcssea shalf ~n~• to Lesser ea: h m c nth an amauRt 9q1:1a~ ~
    eoee - ·a1ion s - ooAEl3rrdF1iLIF1 ~o-          :o ied s      a- s - eced ag- i;-;s~   tA- Prs. i- ss. £a:EI FfiBn!oa chall ba f'B id st tl;ia caR~c tiRSs am:! ·n the ca;:;-, e FF18:Fr=1er a.:: t!=ls


    5         Security Deposit. Lessee shall de posit wtth Le ssor on e r prior to t he Commencement Date lo:lj;!Sn sHoc1::.foR hs:=esf the Security
    De posit as security for Lessee's faithful performance of its obligations under this Lease, If Lessee fails to pay Rent, or otherwise Defaulls under this
    Lease, Lessor may use, apply or relain all or any portion of said Security Deposit for the payment of an y amount already due Lessor, for Rents which
    will be due in the future, and/ or to reimburse or compensate Lessor for any liabilrty, expense, ross or damage which Lessor m ay suffer or incur b y
    reason thereof. If Lessor uses or a pp ties all or any portion of the Security Deposit, lessee shall within 10 d ays after wrilten request therefor deposit
    monies with Lessor sufficient to restore said Security Deposit to the full amount required by this Lease. ~f the lssss R ~r:i~ i:=icre" ses d blrir=:ag th ~~
    this Laasa, Lossoa sha!!. 1-lp0~ • ritt9n req61ost :from Le::se", dgpes:t adSitia--:al meniss u•'th Lsscor te that 'he •ot2I am s int of :hs :S oeurily Q-pas:• £hall
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                     225-5  Part 10/02/20
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    Security Deposit separate from its general accounts. Within 90 days after the expiration or termination of this Lease, Lessor shall return that portion of
    the Security Deposit not used or applied by Lessor. No part of the Security Deposit shall be considered lo be held in trust. to bear interest or to be
    prepayment for any monies to be paid by Lessee under this Lease.
    6.          Use.
                6.1         Use. Lessee shall use and occupy the Premises only for the Agr eed Use, or any other legal use which is reasonably comparable
    thereto, and for no other purpose. Lessee shall not use or permit the use of the Premises in a manner that Is unlawful, srnatae iasr:Aage. o r waste .Qf--a
    niic-AG9, sr 11=i-t 9istt::1rl:ls s,...,..Y~ants af er cablsss ElaR,a:ge te noighbari . . . §J p1;01T1iseG er pref;Jortie&. O~Rer t~an g:.frGie. sigrial ...nd secin!a q o G□ §s, b~i;sgo
    cha!I net koep e~ alla 11 • in tho Prcrnices an~ 13cts, 3R1FRalc, /3iFSe, fish, s ~ lessor shall not unreasonably withhold or delay tts consent to an y
    written request for a modification of the Agreed Use, so long as the same will not impair the structural integrity of the improvements on the Premises or
    the mechanlcal or electrical systems therein, and/or is not slgnificantly more burdensome to the Premises. If Lessor elects to withhold consent, Lessor
    shall within 7 days after such request give written notification of same, which notice shall tnclude an exp[anatiorc of Lessor's objecttons to the change in
    the Agreed Use.
                6.2          Hazardous Substances.
                            (a) Reportable Uses Require Consent. The term "Hazardous Substance" as used in this Lease shall mean any product,
    substance, or waste whose presence, use, manufacture, disposal, transportation, or release, either by itself or in combination with other materiats
    expected to be on the Premises, is either: (i) potentially injurious lo the public health, safety or welfare, the environment or the Premises, (ii) regu lated
    or monl1ored by any governmental authority, or (iii) a basis for potential liability of Lessor to any governmental agency or third party under any applicable
    statute or common law theory. Hazardous Substances shall include, but not be limited to, hydrocarbons, petroleum, gasoline, and/or crude oil or any
    products1 by-products or fractions thereof.            Lessee shall not engage in any activity in or on 1he Premises which constitutes a Reportable Use of
    Hazardous Substances without the express prlor written consent of Lessor and timely compliance (at Lessee's expense) with all Applicable
    Requirements. ''Reportable Use" shall mean (j) the installation or use of any above or below ground storage tank, (ii) the generation, possession,
    storage, use, transportation, or disposal of a Hazardous Substance that requ'res a permit from, or with respect to which a report, notice, registrat[on or
    business plan is requred to be filed with, any governmental authority, and/or (iii) the presence at the Premises of a Hazardous Substance with respect
    to which any Applicable Requirements requires th~t a notice be given to persons entering or occupying the Premises or neighboring properties.
    Notwithstanding the foregoing,          Lessee may use any ordinary and customary materials reasonably required to be used in the normaf course of the
    Agreed Use, ordinary office supplies (copier toner, liquid paper, glue, etc.} and common household cleaning materials, so long as such use is in
    compliance with all Applicable Requirements, is not a Reportable Use, and does not expose the Premises or neighboring property to any meaningful
    risk of contamination or damage or expose Lessor to any liability therefor. In addition, Lessor may condition its consent to any Rep-cir1able Use upon
    receiving such additional assurances as Lessor reasonably deems necessary to protect itself, the public, the Premises and/or the environment against
    damage1 contamination, in.fury and/or ITabiltty, including, but not limited to 1 the 1nslallatlon (and removal on or bef ore Lease expiration or ter mination) of

                                                                                  Notwithst anding anything to thB
    protective modifications (such as concrete encasements) and/or increasing the Security Deposit
    contrary in thB foregoing, LeBs;or is; deemed to coneent to Reportable Uses of a kind and character made In the
    operation of the steel castings foundry business acquired by Lessee concurrently with this Lease, subject to
    Lessee's continuing obligations to comply with all Applicable Requirements In connection therewith.
                             (b) Duty to lnfonn Lessor. If Lessee knows, or has reasonable cause to believe, that a Hazardous Substance has come t o be

    located in, on, under or about the Premises, other than as previously consented to by Lessor, Lessee shall immediately gtve wriHen notice of such fact
    to Lessor, and provide Lessor with a copy of any report, notice, claim or other documentation which it has concerning the presence of such Hazardous
    Substance.
                             (c) Lessee Remediation. Lessee shall not cause or permit any Hazardous Substance to be spilled or released in1 on, under1 or
    about the Premises (including through the plumbing or sanitary sewer system) and shall prompt ly, at Lessee' s expense, comply with all App licable
    Requirements and take all investigatory and/or remedial action reasonably recommended, whether or not formally ordered or required, for \he cleanup
    of any contamination of, and for the maintenance, security and/or monitoring of the Premises or neighboring properties, that was caused or materially
    contributed to by Lessee 1 or pertaining to or involving any Hazardous Subst ance brought onto the Premises during the term of this Lease, by or for
    Lessee, or any third party.
                             (d) Lessee Indemnification. Lessee shall indemnify, defend and hold Lessor, its agents, employees, lenders and ground lessor,
    if any, harmless from and against any and all loss of rents and/or damages, liabilities, judgments, claims, expenses, penalties, and attorneys' and

            fees arising out of or involving any Hazardous Substance brought onto the Premises by or for Lessee, or any third party du ring t he
    consultants1

    term hereof (provided, however, that lessee shall have nc liability under this Lease with respect to underground migration of any Hazardous
    Substance under the Premises fro m adjacent properties not caused or contributed to by Lessee). Lessee's obligations shall include, but not be limited
    to. the effects of any contamination or injury to person, property or the environment created or suffered by Lessee, and the cost of investigation,
    removal, remediation1 restoration and/or abatement, and shall survive the expiration or termination of this Lease. No termination, canceHation or
    release agreement entered into by Lessor and Lessee shall release lessee from its obligations under this Lease with respect to Hazardous
    Substances, unless specifically so agreed by Lessor in writing at the time of such agreement.

                    (e) Lessor Indemnification. Lessor and its successors and assigns shall indemnify, defend,
    reimburse and hold Lessee, its employees and lenders, harmless from and against any and all environmental
    damages, including the cost of remediation, which result from "LJndi;;closed Hazardous Su~stancea" as defined
    below in paragraph 56, Hazardous Subs!ances which mcic!ed on tho PrnFRicos prior to Locseo'c o s e ~ or
    which are caused by the gross negligence or willful misconduct of Lessor, its agents or employees. Lessor's
    obligations, as and when required by the Applicable Requirements, shall include, but not be limited to, the cost
    of investigation, removal, remediation, restoration and/or abatement, and shall survive the expiration or
    termination of this Lease. Lesso r shall be entitled to a credit against its indem nification obligations under this
    Paragraph 6.2(e) equal to the amoun"t of any purchase price reduction or other econom ic benefit received by
    Le5see under or pursuant to the Asset Purchase Agreement (a5 de5erll7ed In Paragraph 56) with respect to
    the evernt or circumstance giving rise to Lesso r's indemnification obligation.

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                          (f) tnvestigations and Remediations.             Lessor shall retain the responsibility and pay for any investigations or remediation

    measures required by governmental entitles having jurtsdlctlon w ith respect to the existence of Undlsclo::)ed. Hazardous Substances on the Premises
    prior 1o lessee's occupancy, Ala66 sush rni:ncdiaf9n i'.P.aacurn ~s requirod a,.. a 1=□sbllt ef boscea's 1;·:-0 (iAcb3;ng ",o 1:,.....aticns", as dsfi1e"' in pa•.a~rapl:l,
    1,J(a) i3sls"•) 9f tRe l2rsrr1isss, lr1 rn::ii~h 01 e"":t bee;eee shaIl hs "SGpar;~r ;uch i;,~yFRent. Lessee shall cooperate fu lly in any such activities at 1he
    request of Lessor, including allowing Lessor and Lessor's agents to have reasonable access to the Premises at reasonable Umes in order to carry out

    lessor's investigative and remedial responsibilities. Lee;e;or ,;hall         be entltcled to a credit aga lI15t Its            payment ol,llgatlon,; under this
    Paragraph 6.2(f) equal to the amount of any purchae;e price reduction or other economic benefit received by Lee;e;ee
    under or pure;uant to the Ae;set Purchase Agreement (as dee;cribed in Paragraph 56) with ree;pect to the event or
    circume;tance giving rle;e        to   Lessor',; payment obligation.
                      (g) Lessor Termination Option. If a Hazardous Substance Condition Involving an Undi,;closed Hazardous Sube;tance
    (see Paragraph 9.1(e)) occurs during the term of this Lease, unless Lessee is legally responsible therefor (in which case Lessee shall make the
    investigation and remediation thereof required by the Applicable Requirements and this Lease shaH oontinue in full force and effect, but subject to

    Lessor's rights under Paragraph 6.2(d) and Paragraph 13), Lessor shall may, at Lessor's option, either (i) investigate and remediate such Hazardous
    Substance Condition, if required, as soon as reasonably possible at Lessor's expense., in which event this Lease shall continue in full force and effect,

    or (ii) if the estimated e-0st to remediate such condition exceeds 4.a 18        times the then monthly Base Rent or $100,000, whichever
    is greater,      give written notice to Lessee, within 30 days aft.er receipt       by Lessor of know1edge of the occurrence of such Hazardous Substance
    Condition, of Lessor's desire to terminate this Lease as of the dale 60 days following the date of such notice. In the event Lessor elects to give a
    termination notice, Lessee may, within 10 days thereafter, give w ritten nottce to Lessor of Lessee's commitment to pay the amount by which the cost of

                                                                                  +a 1B times the then monthly Base Rent or
    the remediation of such Hazardous Substance Condition exceeds an amount equal to
    $100,000, whichever is greater. Lessee shall provide Lessor with said funds or satisfactory assurance thereof within 30 days following such
    commitment.      In such event, this Lease shall continue in full force and effect 1 and Lessor shall proceed to make such remediation as soon as
    reasonably possible after the required funds are available. If Lessee does not give such notice and provide the required funds o r assurance thereof
    within the time provided, this lease shall terminate as of the date specified in Lessor's notice of termination.
               6.3         Lessee's Compliance with Applicabre Requirements. Except as othel\Vise provided in this Lease, Lessee shall, at Lessee's
    sole expense, fully, diligently and in a timely manner, materially comply with all Applicable Requirements, the requirements of any applicable fire
    insurance underwriter or rating bureau, and the recommendations of Lessor's engineers and/or consultants which relate in any manner to the such
    Requirements, without regard to whether such Requirements are now in effect or become effective after the Start Date. Lessee shall, wilhin 1O days
    after receipt of Lessor"s written request, provide Lessor with copies of all ;,tlrmits and other docurnents, and other information evidencing Lessee's
    compliaf¥'e w!h any Applicable Requirements specified by Lessor, and shall immediately upon receipt, notify Lessor in writing (with copies of any
    documents Involved) of any threatened or actual claim, notice, citation, warning, complaint or report pertaining to or involving 1he failure of Lessee or the
    Premises to comply w[th any Applicable Requirement s. Li!"t9·~·iso, Loscoe shal! :FAFFieS;atel,r gi11 a ufHe·1 nG~·s- '9 bsosor st: C) -n; q,tor Glar;:;age ta 'ha
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                                                                            to t he contrary in the foregoing, Lese;ee
    that might inoica!o tho presence ~I male in 'ho Premises. Notwlthe;tandl ng anything
    shallnot be required to r emedy or to expend funde; to correct any violation of Applicable Requ lrement6 exle;ting
    on the Commencement Date lne;ofar ae; ,;uch remedy or correction would r equire r epair, a lteration, or
    Improvement          of the f'rem le;ee;, which  ,;hall be Le,:;sor'e; sole reepo11eibility,
          6.4              Inspection; Compliance. l essor and lessor 's "Lender'' (as defined in Paragraph 30) and consultants shall have the right to
    enter into Premises at any time, in the case of an emergency, and oth erwise at reasonable times after reasonable notice, for the purpose of inspecting
    the condition of the Premises and for verifying compliance by Lessee with this Lease. The cast of any such inspections shall be paid by Lessor, unless
    a violation of Applicable Requirements, or a Hazardous Substance Condition (see paragraph 9.1) is found to exist or be imminent, or the inspection is
    requested or ordered by a governmental authority as a re,;ult of Lessee's spec ific               Uele   of the Premises. In such case, Lessee shall upon request
    reimburse Lessor for the cost of such inspection, so long as such inspection Is reasonably related to the violatlon or contamination. In addition, Lessee
    shall provide copies of all relevant material safety data sheets (MSDS) to Lessor within 1O days of the receipt of a wr!ten request therefor.
    7.         Maintenaoce; Repairs, Utility Installations; Trade Fb;tures and Alterations.
               7.1         Lessee's Obligations,
                           {a) In General. Subject to the provisions of Paragraph 2.2 (Condition), 2.3 (Compliaf¥'e), 6.3 (lessee's Compliancewilh Applicable
    Requirements), 7 .1(d) (Replacement), 7.2 (Lesso~s Obligations), 9 (Damage or Destruction), and 14 (Condemnation), Lessee shall, at Lessee's sole
    expense, keep the Premises, Utility Installations {intended for Lessee's exclusive use, no matter where located), and Alterations In good order, condition
    and repair (whether or not the portkm of the Premises requiring repairs, or the means of repairjng the same, are reasonably or readily accessible to
    Lessee, and whether or not the need for such repairs occurs as a result of Lessee's use, any prior use. the elements or the age of such portion of t he
    Premises), including, but not limited to, all equipment or facilities, such as plumbing, HVAC equipment, electrical, lighting facilities, boilers, pressure
    vesse1s, fire protection system, fixtures1 w alls {Interior and exterior), foundations, ceilings, roofs, roof drainage systems, floors, window-s, doors, plate
    glass, skylights, landscaping, driveways, parking lots, fences, retaining walls, signs, sidevvalks and parkways located in, on, or adjacent to the
    Premises. Lessee, in keeping the Premises in good order 1 condttion and repair, sh all exercise and perform good maintenance practices , ~pgsifo;a11)
    i.10!1,e·ng ths ;;r2s· '"EFFl~:-:t anG R1air.tsnans~ G-f..t,R-G - - s ~ ~Fach; FG1:16!ir:9 9y P-r-srapA 7.1 (9) 1- a!a··r. Lessee's obligations shall include rest orations,
    replacements or renewals when necessary to keep the Premises and all improvements !hereon or a part thereof in good order, condition and state of

    repair. Lessee shall, during the term of lhis lease, keep the exterior appearance of the Building in good a f!i-ct class condition (including, e.g. graffiti
    removal) consistent with past. practices and the exterior appearance of o ther simHar faciHties of comparable age and size in the vicinity, including,

    when necessary, !he exterior repainting of the Building. Notwithstanding anything to the contrary In the foregoing, Les5ee
    h as    accepted                       Lessor warrantle5 as to condition and repair and Intends to operate Its
                          the Premises without
    eteel ca5tlngs bu,;lnees In the   current condition and e;tate of r epair of the f'remlsee;. L85see reserves
    di,:;cretlon to conduct maintenance and repair In accordance with lte own operating needs and practlce,s and
    need not compl y with a ny Lee;sor r equeet5 for r epa ir, replacement or and maln·~enance of particular item,; ae



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Case: 19-04057
Case 19-40193
Case:          Doc#
               Doc# 85
      14-41045 Claim      Filed:
                     2-1 Part
                     225-5    5 10/02/20
                                   Filed
                              Filed:         Entered:
                                         01/28/19
                                     06/30/14         10/02/20
                                                   Desc
                                                Entered: Exhibit13:34:49
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    t,hey exl,;;t 011 the Cornmencement Dat-e, except to the extent the requested Items are reasonably expected to
    adversely affect health and safety of occupants and Invitee,:; of the Premise,:;.

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    8art=wne', "er the ... est Lt-..srac.¥.

                                (c) Failure to Perfom,.              If Lessee fails to perform Lessee's obligations under this Paragraph 7.1 after written notice and a
    reasonabie opportun ity to cure, Lessor may enter upon the Premises after 10 days' prior written notice to Lessee (except In the case of an
    emergency, in which case no notice shall be required), perform such obligations on Lessee's behalf, and put the Premises in good order, cond"ition and

    repair, and Lessee s hall promptly pay to Lessor a sum equal t ~                                         100%       of the cost thereof.        Notwith,;tandlng anything to the
    contrary in the foregoing, Lessor shall not hava tha right to make maintenance or repairs of any Item which
    Les,:;ee, in the propar exercle;e of It,; di,:;cretlon under Section 7.1(a). chooe;e,:; not to make or to defer to a lati,r
    time.
                                (d) Replacement Subject to Lessee's tndemnificatton of Lessor as set forth in Paragraph 8.7 below, and without re1iev[ng Lessee
    of liability resulting from Lessee's failure to exercise and perform good maintenance practices, if an item dassi:iGoi:1 ·A Paragra13h 7.1('3) cannot be
    repaired other than at a cost which is in excess of 50% of the cost of replacing such item, then such item shall be replaced by Lessor, and the cost
    thereof shall be prorated between the Parties and Lessee shall only be obligated to pay. each month during the remainder of the term of this Lease, on
    the date on which Base Rent is due, an amount equal to the product of multiplying the cost of such replacement by a fraction, the numerator of which is
    one, and the denominator of which is 144 (ie. 11144th of the cost per month). Lessee shall pay Interest on the unamortized balance but may prepay its
    obligation at any time.

            7.2       Lessor's Obligations. Subject to the provisions of Par agraphs 2.2 (Condition), 2.3 (Compliance), 7 .1(dj (Replacement), 9
    (Damage or Destruction) and 14 (Condemnation). it is intended by the Parties hereto that Lessor have no obligation. in any manner whatsoever, to
    repair and maintain the Premises, or the equipment therein, all of which obligations are intended to be that of the Lessee. It is the intention of the
    Parties that the terms of this Lease govern the respective obligations of the Parties as to maintenance and repatr of the Premtses, and they expressly
    waive the benefit of any statute nCNt or hereafter in effect to the extent it is Inconsistent with the terms of this Lease.
                  7.3           Utility Installations; Trade Fixtures: Alterations.
                                (a) Definitions. The term "Utifity Installations" refers to al floor and window coverings, air and/or vacuum lines, power panels,
    electrical distribution, security and fire protection systems, communication cabling, lighting fixtures, HVAC equipment, plumbing, and fencing in or on
    the Premises. The term "Trade Fixtures" shall mean Lessee's machinery and equipment that can be removed without doing materjal damage to the
    Premises. The term "Alterations" shall mean any modification of the improvements, other than Utility Installations or Trade Fixtures, whether by
    addition or deletion. "Lessee Owned Alterations and/or Utility Installations" are defined as Alterations and/or Utility Installations made by Lessee
    that are not yet owned by Lessor pursuanl to Paragraph 7.4(a).
                                (b) Consent. Lessee shall not make any Alterations or Utility Installations to the Premises without Lessofs prior written consent.
    Lessee may, however, make non.structural Alterations or Utility Installations to the interior of the Premises (excluding the roof) without such consent but
    upon notfce to Lessor, as long as they are not visible froi:n the outside, do not involve puncturing, relocating or removing the roof or any existing walls,
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                                                                                                                                                                                               esssr.,. Lessor
    may, as a precondition to granting such approval1 require Lessee to utmze a contractor chosen and/or approved by Lessor. Any Alterations or Utility
    Installations that Lessee shall dasire to make and which require the consent of the Lessor shall be presented to Lessor In written form with detailed
    plans. Consent shall be deemed conditioned upon Lessee's: (i) acquiring aH applicable governmental permits, (ii) furnishing Lessor with copies of both
    the permits and the plans and specifications prior to commencement of the work, and {iii) compliance with all conditions of sald permits arid other
    Applicable Requirements in a prompt and expeditious manner. Any Alterations or Utility Installations shall be performed in a workmanlike manner with
    good and sufficient materials. Lessee shall promptly upon completion furnish Lessor with as-built plans and specifications. For ,vcrl, ,. hi ...h s0s~s an
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    le 150% sf tl=ie estimate::! ssst of s1;1sh /llteraHoA er Utility IRstallation andi'.er 1:.1p0n Loscoe's posting an additional Secu:rit~ Depesil with bcrssor.
                                (c) Liens: Bonds. Lessee shall pay, when due. all claims for labor or matertals furnished or alleged to have been furnished to or
    for Lessee- at or for use on the Premises, which claims are or may be secured by any mechanic's or malerialmen's lien against the Premises or any
    interest therein. Lessee shall g[ve Lessor not less than 10 days notlce prior to the commencement of any work in, on or about the Premises, and
    Lessor shall have the right to post notices of non-responsibility. If Lessee shall contest the validity of any such lien 1 c1aim or demand, then Lessee
    shall, at its sole expense defend and protect itself, Lessor and the Premises against the same and shall pay and satisfy any such adverse judgment th at
    may be rendered thereon before the enforcement thereof. If Lessor shall require, Lessee shall furnish a surety bond in an amount equal to 150% of the
    amount of such contested lien, claim or demand, indemnifying Lessor against liability for the same. If Lessor e 1s~ts ts partcipato :r: aR;- i:w::h oo~
    b acce- e;~all 12a~• bgc5a~'5 a:,er;:ieyc1 is,es ~MEI seE~- .
                  7.4           Ownership; Removal; Surrender; and Restoration.
                           (a) Ownership. 8u~s... , ~... !..sccor'..._ right tG rs.,bli~o ~oA:rn ,al or o!ast G",'ncre;t:i;p as hersl1-aftor :e,:-iiJ"'~El:6!, a:t ,A..II Alterations and
    Utility Installations made by Lessee shall be the property of Lessee, but considered a part of the Premises. lesser Arny, a' 3Py tima, oles~ in ,~,rit~
    trn tho G•.'·nor c f all or a"'y       epoc:r.-gg f'::!Ft sf tho Ls--e;se 0,. noa /1,!lorat'ons ana u :i~'.Jy lt1sia~l 2tiiiJRS. Unless -at!=Jsr•. :se ·ns!ruc•ca fJ- .. par::igra;:h 7.4~b)
    ~ /\II Lessee Owned Alterations and Utility Installations shall, at the expiration or termination of this Lease, become the property of Lessor and
    be surrendered by Lessee with the Premises.
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Case 19-40193
Case:          Doc#
               Doc# 85
      14-41045 Claim      Filed:
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                     225-5    5 10/02/20
                                   Filed
                              Filed:         Entered:
                                         01/28/19
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                                                Entered: Exhibit13:34:49
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                           (c) Surrender; Restoration. Lessee shall surrender the Premlses by the Expiration Date or any earlier termination date, with all of

    the improvements, parts and surfaces thereof broom clean and free of debris1 and in good operating order, condition and state of repair,                                  but    no

    better than the condition and etate of repair on the Commencement Date,                             ordinarywearandtearexcepted. "Ordinary wear
    arYJ tea~• shall not include any damage or deterioration that would have been prevented by good maintenance practice. tleMleelaHS'ng tlao fersgei!,fr
    ~oasc is fer 12 Fll@~c, 1hon Lnscoo shall Sl:!Wsndor tho Prci::nicz.c in the sarno GGndi'ign as dolil'0'0d to boscon GA tl:lo ~tart Dato ,.,ith NO
    alle aaes for erElisari• '' ear a.sa tear       lessee shall repair any damage occasioned by the installation, maintenance or removal of Trade Fixtures,
    lessee owned Alterations and/or Utility Installations, furnishings, and equipment as well as the removal of any storage tank installed by or for Lessee.
    Lessee s h a l l ~ remove from the Premises any and all Hazardous Substances brought onto the Premises by or for Lessee, or any third party

    duting the term hereof (except Hazardous Substances wh·1ch were deposited via underground migration from areas outside of the Premises) to tho
    extent reo~uired by Applicable Law e •eR if 5ui;R reFRaHal wmJl\3 --equire bes5ee ts r3sr:t=□rR=1 sr r3a~• far • •□--Ir that s:(soeBs i;;tatldl9P., ra~1;1i'"erRants.
    Trade Fixtures shaH remain the property of Lessee and shall be removed by Lessee. Any personal property of Lessee not removed on or before the
    Expiration Date or any earlier termination date shall be deemed to have been abandoned by Lessee and may be disposed of or retained by Lessor as
    Lessor may desire. The failure by Lessee to timely vacate the Premises pursuant to this Paragraph 7.4{c) without the express wri1ten consent of Lessor
    shall constitute a holdover under the provisions of Paragraph 26 below,
    8_         Insurance; Indemnity.
               8.1          Payment For Insurance.             Lessee shall pay for all insurance required under Paragraph 8 except to the extent of the cost
    attributable to !",ability insurance carried by Lessor under Paragraph 8.2(b) in excess of $2,000,000 per occurrence.                              Premiums for policy periods
    commencing prior to or extending beyond the Lease term shall be prorated to correspond lo the Lease term. Payment shall be made by Lessee to
    Lessor within 10 days following receipt of an invoice.
               8.2          Liability Insurance.
                            (a) Carried by Lessee. Lessee shall obtain and keep in force a Commercial General Liability policy of insurance protecting Lessee
    and Lessor as an addilbnat insured against claims for bodily injury, personal injury and property damage based upon or arising out of the ownership,
    use, occupancy or maintenance of the Premises and all areas appurtenant thereto. Such insurance shall be on an occurrence basis providing single
    limit coverage in an amount not less than $1,000,000 per occurrence with an annual aggregate of not less than $2,000,000. Lessee shall add Lessor as
    an additional insured by means of an endorsement at least as broad as the Insurance Service Organization's "Additional Insured-Managers or Lessors
    of Premises" Endorsement. The policy shall not contain any Intra-Insured exclusions as between insured persons or organizatlons, but shall include
    coverage for llabHity assumed under this Lease as an "insured contract" for the performance of Lessee's indemnity obligations under th is Lease. The
    limits of said insurance shall not, however, limit the liability of Lessee nor relieve Lessee of any obligation hereunder.                                 Lessee shall provide an
    endorsement on its liability policy(ies) which provides that its insurance shall be primary t o and not contributory with any similar insurance earned by
    Lessor, whose insurance shall bt! considered excess insurance onty.

                          (b) Carried by Lessor. Lessor may, at its sole coe-t a nd expen se, ma4knaintain liability insurance as described in Paragraph
    8.2(a)1 in addition to, and not in lieu of, the insurance required to be maintained by Lessee. Lessee shall not be named as an additional insured there in.
               8.3          Proj>erty Insurance • Building, Improvements and Rental Value.

                            (a) Building    and Improvements.          The Insuring Party shall obtain and keep in force a policy or policies in the name of Lessor and
    Lessee, with loss payab1e to Lessor_. Leseee, any ground-lessor, and to any Lender Insuring loss or damage to the Premises. The amount of such
    insurance shall be equal to the full insurable replacement cost of the Premises, as the same shall exist from time to time, or the amount required by any
    Lender,   but in no event more than the commercially reasonable and avaifable insurable value thereof.                                Lessee owned Alterations and UtHity
    Installations, Trade Fixtures,     and Lessee's personal property shall be insured by Lessee ns:t 121' baccG11=. lf the coverage is available and commercially
    appropriate, such policy or policies shall insure against all risks of direct physical loss or damage (except the perils of flood and/or earthquake~
    rs 9"ire~ ~ya bssaer), including coverage for debris removal and the enforcement of any Applicable Requirements requiring the upgrading, demolition,
    reconstruction or replacement of any portion of the Premises as the result of a covered loss. Said policy or policies shall also contain an agreed
    valuation provision in lieu of any coinsurance clause, waiver of subrogatTon, and inflation guard protect ion causing an increase in the annual property
    insurance coverage amount by a factor of not less than the adjusted U.S. Department of Labor Consumer Price Index for All Urban Consumers for the

    city nearest to where the Premises are located. If su ch insurance coverage has a deductible clause, the deductible amount shall not e x c e e d ~

    $250,000           per occurrence, and Lessee shall be liable for such deductible amount in the event of an Insured Loss.
                            (b) Rental Varue. The Insuring Party shall obtain and keep in force a policy or policies in the name of Lessor w ith loss payable to
    Lessor and any Lender, insuring the loss of the full Rent for one year with an extended period of indemnity for an                          additl □ nal   180 da ys CRental Value
    insurance'•).     Said insurance shall contain an agreed valuation provision in lieu of any coinsurance clause. and the amount □f coverage shall be
    adjusted annually to reflect the projected Rent olhe,wise payable by Lessee, for the next 12 month period~ Lessee shall be liable f or any deductible
    amount in the event of such loss.
                            (c) 0Eijstant Premisos. If the Pr emicos - re part sf a 'argor bu!1ding, or of a group of b• ·i1dings o o,noc:1 la)• bess 2r 1:·hiGt1 : ,.0 aQ;a:ent
    t o ~ho Prem:s0!;, :Re L□ GG99 st:lall fii~"'Vl)' iFicr~aso in '...'1 9 p1rsr=riibJP.1 S ~er tho 33rn~s;:ty lncura;::icg sf su sti 9t:ild in§J er 91::!:11=.fn§~ if -ajEI 'nc,.saca is
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                8.4         Lessee·s Property; Business Interruption Insurance.
                            (a} Property Damage. Lessee shall obtain and maintain insurance coverage on all of Le ssee's p ersonal prop erty, Trade Fixtures,
    and Lessee Owned Alterations and Utility Installations. Such insurance shall be full replacement cost coverage with a deductible of not to exceed

    $12§,000,0QO $250,000 per occurrence. The proceeds from any such insurance shall be used by Lessee for the replacement of personal
    property, Trade Fixtures and Lessee Owned Alterations and Utility Installations. Lessee shall provide lessor w ith written evidence that such insurance
    is in force.
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                                                                                  Four
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                               of Five) of Page
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                           (c) No Representation of Adequate Coverage. Lessor makes no representation that the limits or forms of coverage of insurance
    specified herein are adequate to cover Lessee's property, business operations or obligations under this Lease
               8.5         Insurance Policies. Insurance required herein shall be by companies duly licensed or admi1ted to transact business in the state
    where the Premises are located, and maintaining during the policy term a "General Policyholders Rating" of at least A-, VI, as set forth in the most
    current issue of "Best's Insurance Guide'', or such other rating as may be required by a Lender. Lessee shall not do or perm it to be done anything
    which invalidates the required insurance policies. Lessee shall, prior to the Start Date, deliver to Lessor certif.ied copies of policies of such insurance or
    certificates evidencing the existence and amounts of the required insurance, No such policy shall be cancelable or subject 1o modification except after
    30 days prior written notice to Lessor. Lessee shall, at least 10 days prior to the expiration of such policies, furnish Lessor with evidence of renewals or
    "insurance bindersh evidencing renewal thereof, or Lessor may order such insurance and charge the cost thereof to Lessee, which amount shall be
    payable by Lessee to Lessor upon demand. Such poHcies shall be for a tern, of at least one year, or the length of the remaining term of this Lease1
    whichever is less. If either Party shall fail to procure and maintain the insurance required to be carried by it, the other Party may, but shall not be
    required to, procure and maintain the same.
               8,6         Waiver of Subrogation. Without affecting any other rights or remedies, Lessee and Lessor each hereby release and nelieve the
    other, and waive their entire right to reco\ler damages against the other, for loss of or damage to its property arising out of or incident t o the perils
    required to be insured against herein. The effect of such releases and waivers is not limited by the amount of insurance carried or required, or by an y
    deductibles applicable hereto. The Parties agree to have their respective property damage insurance carriers waive any right to subrogation that such
    companies may have against Lessor or Lessee, as the case may be, so long as the insurance is not invalidated thereby.
               8.7         Indemnity. Except for Lessor's- negligence or willful misconduct, Lessee shall indemnify, protect, defend and hold harmless
    the Premises, Lessor and i1s agents, Lessor's mast er or ground lessor, partners and Lenders, from and against any and air claims, loss of rents and/or
    damages, liens, judgments, penalties, attorneys' and consultants' fess, expenses and/or liabilities arising out of, involving, or in connection with, the use
    and/or occupancy of the Premises by Lessee. {f any action or proceeding \s brought against Lessor by reason of any of the foregoing matters, Lessee
    shall upon notice defend the same at Lessee's expense by counsel reasonably satisfactory to Lessor and Lessor shall cooperate wrth Lessee in such
    defense. Lessor need not have first paid any such claim in order to be defended or indemnified.
               8,8         Exemption of Lessor and its Agents from Liability, Notwithstanding the negligence or breach of this Lease by Lessor or its
    agents, neither Lessor nor its agents shall be liable under any circumstances for: (i) injury or damage to the person or goods, wares, merchandise or
    other property of Lessee, lessee1 s employees, contractors, invitees, customers, or any other person in or about the Premtses, whether such damage or
    injury is caused by or results from fire, steam, electricity, gas, w ater or rain, indoor air quality, the presence of mold or from the breakage, leakage,
    obstruction or other defects of pipes, fire sprinklers, wires, appliances, plumbing, HVAC or lighting fixtures, or f rom any other cause, whether the said
    Injury or damage results from conditions arising upon the Premises or upon other portions of the building of which the Premises are a part, or from other
    sources or places, (ti) any damages arising from any act or neglect of any other tenant of Lessor or from the failure of Lessor or its agen1s to enforce
    the provisions cf any other lease in the Project, or (iii) injury to Lessee's bus·tf1ess or for any loss of income or profit therefrom. Instead, it is int ended
    that Lessee's sole recourse in the event of such damages or injury be to file a claim on the insurance policy(ies) that Lessee is required to maintain

    pursuant to the provisions of paragraph 8.
              8.9       Failure to Provide Insurance. Lessee acknowledges that any failure on its part to obtain or maintain the insurance required
    herein will expose Lessor to risks and potentially cause Lessor to incur costs not contemplated by this Lease, the extent of which will be extremely
    difficult to ascertain. os~srr.;1n§I}', 'er any FAentR er perlign ihcre9f that bESEGO 900s R9t main~ein the rs quiro8 insurance andJor does :-:st pro • i 9 ~
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    9.          Damage or Destruction.
                9.1         Definitions,
                            {a) "Premises Partial Damage 11 shall mean damage or destruction ta the improvements on the Premises, o ther than Lessee
    Owned Alterations and UtHity lnstallations1 wh tch can reasonably be repaired in 6 months or less from the date of the damage or destruction. Lessor
    shall notify Lessee in wrting wohin 30 days from lhe date of the damage or destruction as to whether or not the damage is Partial or TotaL
    Notwithstanding the foregoing, Premises Partial Damage shall not include damage to windows, doors, and/or other similar ttems which Lessee has the
    responsibility lo repair or replace pursuant to the provisions of Paragraph 7, 1,
                            (b) "'Premises Total Destruction" shall mean damage or destruction to the Premises, other than Lessee Owned Alterations and
    Utility Installations and Trade Fixtures, which cannot reasonably be repaired in 6 months or less from the date of the damage or destruction. Lessor
    shall notify Lessee in writlng within 30 days from the date of the damage or destruction as to whether or not the damage is Partial or Total.
                            (c) "Insured Loss" shall mean damage or destruction to tmprovements on the Premises, other than lessee Owned Alterations and

    Utility Installations and Trade Fixtures, which was caused by an event c overed  by insurancr; or required to be covered by the insurance described in
    Paragraph 8,3(a). irrespective of any deductible amounts or ccverage limits involved,
                            (d) 1'R..eplacement Cost1' shall mean the cost t o repair or rebuBd the improvements owned by Lessor a1 the time of the occurrence
    to their condition existlng immediately prior thereto, includ ing demolition, debris removal and upgrading required by the operation of Applicable
     Requirements, and without deduction for depreciation
                            {e) 11 Hazardous Substance Condition" shal1 mean the occurre nce or discovery of a condition involving the presence of, or a
    contamination by, a Hazardous Subst ance, in, an, or under the Premises which requires remediation.

               9.2           Partial Damage - Insured Loss. If a Premises Partial Damage that is an Insured Loss occurs. then Lee;see ~                       hall,Bt
     Laceer'e c:.p ....nsa, rep air such damage lb61t net b: ssee·s Trade Fixt•dr9 c 0r b€6sGa Qw n29 fl)'. .;imli@ns an9 I r~:lit~1 lns~alla ~ as soon as reasonably
     possible and this Lease shall continue in full force and e f f e c t . ~,t1G" -11 @r, tha~ 6€:&ssa s~all, at ~s-- r's els-rm, F?.al·a ~he r2 p a ~
     d3n,age g r dod,.ucticn the ;Gt" ! Gost tg ropair ef '°.'Ai c'l '.s-$4G,GOO--&F-+:ree, aA EI, !r. su,.h e ·eri~, Lessor shall make any apptlcable insurance proceeds
     available to Lessee on a reasonable basis for that purpose. Notwit~1stand ing the foregoing, if the required insurance was not in fo rce or the Insurance



                                                                         PAGE 8 OF 18

     INITIALS

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Case 19-40193
Case:          Doc#
               Doc# 85
      14-41045 Claim      Filed:
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    proceeds are not sufficient to effect such repai", the Insuring Party shall promptly contribute the shortage in proceeds fe~sepl as lg the doe ,,..fhf~
    is Lessos'c respcm:ibil:tt·)           :3S   and when required to complete said repairs.             In 1ha o ,•en~, he •·e   ,or, such   ch'.c'ri:?:go ,, .as d uo to ~h a klct t~at. by ~ea,son sf
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    iase,anao aha I' Ile mads a><ailable lor tee refaiee if ma~e bl' eiteer Party.
                    9.3           Partial Damage - Uninsured Loss. If a Premises Partial Damage that is not an Insured Loss occurs, unless caused by ,a
    RElglig:effi or willful mit-condu ct aGt of Lessee (ln which event Lessee shall make the repalrs at Lessee's expense), Lessee ~                                                F-   may either: (i)
    repar such damage as soon as reasonably possible a t - Lee,5ee's expense, in which event thi s Lease shall continue in full force and effect, or
    (ii) terminate this Lease by giving written notice t o ~ Lessor within 30 days after receipt by lee..- Lee;see of knowledge of !he occurrence of
    such damage. Such termination shall be effective 60 days followlng                         the date of such notice. In the event .besoof Lessee elects to termlnate this Lease,
    ~           Le-ssor shall have the right within 10 days after receipt of the termination notice to give written notice t o ~ Lessee o f ~ Lessor's
    commitment to pay for the repair of such damage without reimbursement f r o m ~ le5se.e:. ~ Le95or shall provide~ Lese;ee with said
    funds or satisfactory assurance thereof within 30 days after making such comm i!ment. In such event this Lease shall continue in full force and effect,
    and~              Lee,see shall proceed to make such repairs as soon as reasonably possible after the required funds are available. I f ~ Leasor does
    not make the required commitment, this Lease shall terminate as of the date specified in the term tnat[on noti ce.

                    9.4           Total Destruction. Notwithstanding any other provision hereof, if a Premises Total Destruction occurs, Le,,sce may elect to
    terminate this Lease ssall tsFFfliRate 60 days following a PremiseB Total Dee;tt-uction - - . - If Leesee does not elect to t erminate
    thie Lease, Lessee shall repair and ret=-tore t he Prern ioes in accord ance with Section 9 .2. lf ths a~?.~a!;ls sr dae~FUstion "'as                                               eal!lo □i3   b; •l..s
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    Para@rap!a 8 €
                    9.5           Damage Near End of Term. lf at any t ime during the last 6 months of this Lease there is damage for which the cost to repa ir

    exceeds one month's Base Rent, whether or not an Insured Loss, be&w, Leesee may lermina!e this Lease effective 60 days fo llowing !he date of
    occurrence of such damage by giving a written termination notice to ~ Lessor within 30 days after the date of occurrence of such damage.
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                    9.6           Abatement of Rent; Lessee's Remedies.

                                  (a) Abatement, In the event of Premises Partial Damage or Premises Total Destruction or a Hazardous Substance Condition                                               for
    which Lessee is not responsible under this Lease,                                            the Rent payable by Lessee for the period required for the repa ir, remediation or
    restoration of such damage shall be abated in proportion to the degree to which Lessee's use of the Premises ls impaired, 9blt As~ 1s orooed tl10
    ~Foeeaes reoei,,a<l from ~Re l'lae~i.,a;aG9, All other obligations of Lessee hereunder shall be performed by Lessee, and Lessor shall have no
    liability for any such damage, destruction, remediation, repair o r restoration except as provided herein.
                                  (b) Remedies. If Lessor is obligated to repair or restc,-e the Premises and does not commence, in a substantial and meaningfu l
    way, such repair or restoration within 90 days after such obligation shaH accrue, Lessee may, at any time prior to the commencement of such repair or
    restoration, give written notice to Lessor and to any Lenders of whfch Lessee has actual notice1 of Lessee's election to terminate this Lease on a date
    riot le ss than 60 days foflowTng the giving of such notice. If Lessee gives such notice and such repair or restoration is not commenced within 30 days
    thereafter, this Lease sha!I terminate as of the date specified in said notice. If the repair or restoration is commenced within such 30 days, this Lease
    shall continue in full force and effect. "Commence" shall mean either the unconditional authorization of the preparation of the required plans, or the
    beginning of the actual work on the Premlses1 whichever first occurs .
                    9.7            Termination; Advance Payments. Upon term ination of this Lease pursuant to Paragraph 6.2(g) or Paragrap', 9, an equitable
    adjustment shall be made concerning advance Base Rent and any other advance payments made by Lessee to Lessor. Lessor shall, in addition, return
    to Lessee so much of Lessee's Security Deposit as has not been, or is not then required to be, used by Lessor.
     10.            Real Property Taxes.
                    10.1           Definition.       As used herein, the term "Real Property Taxes" shall mean all rea l property                                taxes and         gene1·al, special
    dist rict a5Be%ments, rental rece ipts tax 01· other governmtental imposjj;ior e; imposed on the Prerr.ises 0 1· Project. Real Propcrt:y
    Taxes shalr not include atry taxes- impoe:,ed on t he net incotre o-F Lesf~cr, a ny franchise or corporate t axes impaBed o'1 Lessor, a ny
    businees !ice nBe fees impo6cd o n L.e:ssor or a ny transfor t axes asseBsed on a sale or t ransfer cf t he P'remis eB or Project . ~~
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     INITIALS                                                                                                                                                                              INITIALS

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Case: 19-04057
Case 19-40193
Case:          Doc#
               Doc# 85
      14-41045 Claim      Filed:
                     2-1 Part
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                                   Filed
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                10.2         Payment of Taxes. In addition to Base Rent, Lessee shall pay to Lessor an amount equal lo lhe Real Property Tax installment
    due at least 20 days prior to the applicable delinquency date. If any such installment shall cover any period of time prior lo or after the expiration or
    termination of this Lease, Lessee's share of such installment shall be prorated. In the event Lessee incurs a late charge on any Rent payment, LessOi'
    may estimate the current Real Property Taxes, and require that such taxes be paid in advance to Lessor by Lessee monthly in advance with the
    payment of the Base Rent. Such monthly payments shall be an amount equal to the amount of the estimated installment of taxes divided by the
    number of months remaining before the month in which said installment becomes delinquent. When the actual amount of lhe applicable tax b ill is
    known, the amount of such equal monthly advance payments shall be adjusted as required to provide the funds needed to pay the applicable taxes. If
    the amount collected by Lessor is insufficient to pay such Real Property Taxes when due, Lessee shall pay Lessor, upon demand, such additional sum
    as is necessary. Advance payments may be fntermlngled with other moneys of Lessor and shall not bear interest. In the event of a Breach by Lessee
    in the performance of its obligations under this Lease, then any such advance payments may be treated by Lessor as an additional Security Deposit
                10.3         Joint Assessment. If the Premises are not separately assessed, Lessee's liability shall be an equrtable proportion of the Real
    Property Taxes for all of the land and improvements included within the lax parcel assessed, such proportion lo be conclusively detennined by Lessor
    from the respective valuations assigned in the assessor's work sheets or such other Information as may be reasonably available.
                10.4         Personal Property Taxes. Lessee shall pay, prior to delinquency, all taxes assessed against and levied upon Lessee Owned
    Alteratlons 1 Util\ty Installations, Trade Fixtures, furnishings, equipment and aH personal property of Lessee. When possible, Lessee shall cause its
    Lessee Owned Alterations and Utility Installations, Trade Fixtures, furnishings, equipment and all other personal property to be assessed and billed
    separately from the real property of Lessor. If any of Lessee's said property shall be assessed with Lesso(s real properly, Lessee shall pay Lessor the
    taxes attributable to Lessee's property within 10 days after receipt of a written statement setting forth the taxes applicable to Lessee's property.
    11.         Utilities and Services. Lessee shall pay for all water, gas, hea~ light, power, telephone, trash disposal and other utilities and services
    supplied to the Premises, together with any taxes thereon. If any such services are not separately metered or billed to Lessee, Lessee shall pay a
    reasonable proportion, to be determtned by Lessor, of all charges jointly metered or billed, There sha11 be no abatement of rent and Lessor shall not be
    liable in any respect whatsoever for the inadequacy, stoppage, internuption or discontinuance of any utility or service due to riot, strike, labor dispute,
    breakdown, accident, repair or other cause beyond Lessor's reasonable control or in cooperation with governmental request or directions.
    12.         Assignment and Subletting.
                12.1         Lessor's Consent Required.
                             (a) Lessee shaH not voluntarily or by operation of law assign, transfer, mortgage or encumber (collectively, "assign or
    assignment·•) or sublet all or any part of Lessee's interest in this Lease or in the Premises wtthout Lessor's prior written consent.
                             (9~ Unless Losces is e eerpGnati9A aAEI its steel, ic puEllicl:,. 1raEleEI eA a Aatisna! s~ecl~ a "'Range, a ehan(3e in ths control of Lessee
    sha 1l Eenstltute an asslgnmei"'t F9EJblirlR§ sansent. nm irar:isfor, on a cum1,,1lati~ a basis, of 25% or R1cre af the                  HO[n@   saPtrnl ef Lrsea s Aal! eensfluto a
    shaAgs in son~•91 "er ~:c 13uq:1seo.
                             (c) The Involvement of Lessee or its assets in any transaction, or series of transactions (by way of merger, sale, acquisition,
    financing, transfer, leveraged buy~out or otherwise), whether or not a formal assignment or hypothecation of this Lease or Lessee's assets occurs,
    which results or will result in a reduction of the Net Worth of Lessee by an amount greater than 25% of such Net Worth as it was represented at the
    time of the executten of this Lease or at the time of the most recent assignment to which Lessor has consented, or as it exists immediately prior to said
    transaction or transactions constituting such reduction, whichever was or ts greater, shall be considered an assignment of this Lease to which Lessor
    may withhold its consent. "Net Worth of Lessee" shall mean the net worth of Lessee {excluding any guarantors) established under generally accepted
    accounting princ1p1es.
                             (d) An assignment or subletting without consent shall, at Lessor's option, be a Default curable after notice per Paragraph 13.1(c), or
    a noncurable Breach without the necessity of any notice and grace period. !f Lesser e 1eG~s te troa~ sr..ie~ unapprc"e~ assi@nmont ar                                   si 1blol~ir:ig   as a
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    cie'in,. t'1e remainder of the lease term shall Ila increased to 11 G'• sf 'he se~edule" adjusted rent.
                             (e) Lessee's remedy for any breach of Paragraph 12.1 by Lessor shall be limited to compensalo,y damages and/or injunctive relief.
                             f) Lessor may reasonably withhold consent to a proposed assignment or subletting if Les see is in Default at the time consent is
    requested.
                             (g) Notwithstanding the foregoing, allowing a de minimis portion of the Premises, ie. 20 square feet or -,ss, to be used by a third
    party vendor in connection with the installation of           a vending machine or payphone shall not constitute a subletting.
                             (h) NotwlthsJ;anding J;he foregoing, In the even'!; of any proposal by Lessee to assign t his Lease
    to (a) an en1;11;y controlling, con1;rolled by or under common conJ;rol wiJ;h Le1:>stie,                                                 (17) a succesGor entity relaJ;ed
    to Lessee by merger, acqulslJ;lon. con0olldation. reorganlzaJ;lon. or ( c) a purchae;er of e;ubstantially a ll of
    Le0e;ee'0 ae;0ets locaJ;ed In the PremlGe!:i, Lese;or may not withhold or condition Its consen-i; provided J;hat, J;he
    ne1; worth of the assignee shall be equal to or greater than 100o/. of the net worth of LeB!:iee at the J;lme of
    such assignment. Le%ee 1:,hall provide 1;1,e Lessor with not less than twtinty (20) buslne!:is days advance
    noJ;lcti of any such proposed a!:islgnmtint and Leeisee shall provldtl Lessor wit h reasonable financial Information
    regarding the net worth of the Lessee and the proposed a!:isignee.
                 12.2        Terms and Conditions Applicable to Assignment and Subletting.
                             (a) Regardless of Lessors consent, no assignment or subletting shall: (i) be effective without the express written assumption by
    such assignee or sublessee of the obllgations of Lessee under this l ease, (ii} release Lessee of any obligations hereunder. or (iii) alter the primary

    liability of Lessee for the payment of Rent or for the performance of any other obligations to be performed by Lessee,                                    provided that upon an
    ase;ignment of this Lease to ,;in entity of equa l or superior creditworthlMss as Lessee at the                                                     time of    such asslg;,111en1;,
    Lessee will be releaeed fro111 all further liability under this Lease.
                             (bl Lessor may accept Rent or performance of Lessee's obligations from any person other than Lessee pending approval or


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Case:          Doc#
               Doc# 85
      14-41045 Claim      Filed:
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    disapproval of an assignment. Neither a delay in the approva1 or disapproval of such assignment nor the acceptance of Rent or performance shall
    constitute a waiver or estoppel of Lessor's right lo exercise its remedies for Lessee's Default or Breach.
                         (c) Lessor's consent to any assignment or subletting shall not constitute a consent ta any subsequent assignment or subletting.
                         (d) In the event of any Default or Breach by Lessee, Lessor may proceed directly against Lessee, any Guarantors or anyone else
    responsible far the performance of Lessee's obligations under this Lease, lncludlng any assignee or sublessee, without first exhausting Lessor1s
    remedies against any other person or entity responsible therefor to Lessor, or any security held by Lessor.
                         (e) Each request for consent to an assignment or subletting shall be in writing, accompanled by information relevant to Lessor's
    determination as to the financial and operationaf responsibiHty and appropriateness of the proposed assignee or sublessee, including but not limited to
    the intended use and/or required modification of the Premises, if any, together with a fee of $500 as consideration for Lessor's considering and
    processing said request,     Lessee agrees to provide Lessor with such other or additional infom1ation and/or documentation as may be reasonabry
    requested. (See also Paragraph 36)
                         (f) Any assignee of, or sublessee under, this Lease shall, by reason of accepting such assignment, entering fnto such sublease, or
    entering Into possession of the Premises or any portion thereof, be deemed to have assumed and agreed to conform and comply with each and every
    term, covenant, condition and ob[lgatlon herein to be observed or perfonned by Lessee during the term of said assignment or subfease, other than such
    obligations as are contrary to or inconsistent with provisions of an assignment or sublease to wh'tch Lessor has specifically consented to in writing.
                         (g) Lasssr's eencoAt tG aA) as::i@A~ont er suBlsttiA§ sha!I A@t traAsrer ~9 tRe assignos er sublascoe any Op'ien 9--aA!9~
    sr'g~nal bsssso b~• tAiE Lease unless such transfer is e;pesi~ically sencsntgd le By besser lR .....!tin§. (~ee   Pa:esr□f?l=l   '2fL2)
               12.3      Additional Terms and Conditions Applicable to Subletting. The following terms and conditions shall apply to any subletting by
    Lessee of all or any part of the Premises and shall be deemed included in all subleases under this Lease whether or not expressly incorporated therein:
                         (a} Lessee hereby assigns and transfers to lessor all of lessee's int erest in        anRent payab1e on any sublease, and Lessor may
    collect such Rent and apply same toward Lessee's obligations under this Lease; provided, however, that until a Breach shall occur in the performance
    of Lessee's obltgations, Lessee may collect said Rent. In the event that the amount co!lect ed by Lessor exceeds Lessee's then outstanding obfigations
    any such excess shall be refunded lo Lessee. Lessor shall not, by reason of the foregoing or any assignment of such sublease, nor by reason of the
    collection of Rent, be deemed liable to the sublessee for any failure of Lessee to perform and comply with any of Lessee's obliga tions to such
    sublessee. lessee hereby irrevocably authorizes and direct s any such sublessee, upon receipt of a written notice from Lessor stating that a Breach
    exists in the petformance of Lessee's obligations under this Lease, to pay to Lessor all Rent due and to become due under the sublease. Sublessee
    shall rely upon any such notice from Lessor and shall pay all Rents to Lessor without any obligalion or right to inquire as to whether such Breach exists,
    notwithstanding any claim from Lessee to the contrary.
                         (b) In the event of a Breach by Lessee, Lessor may, at its option, require sublessee to attom to Lessor, in which event Lessor shall
    undertake the obligatklns of the sub lessor under such sublease from the time of the exercise of said option to the expiration of such sublease; provided,
    however, Lessor shall not be liable for any prepaid rents or security deposit paid by such sublessee to such sublessor or for any prior Defaults or
    Breaches of such sublessor.
                         (c) Any matter requiring the consent of the sublessor under a sub-.ase shall also require the consent of Lessor.
                         (d) No sublessee shall further assign or sublet all or any part of the Premises without Lessor's prior written consent.
                         (e) Lessor shall deliver a copy of any notice of Default or Breach by Lessee to the sublessee, who shall have the right to cure the
    Default of Lessee within the grace period, if any, specffied in such notice. The sublessee shaH have a right of reimbursement and offset from and
    against Lessee for any such Defaults cured by the sublessee.
    13.        Default; Breach; Remedies,
               13.1      Default; Breach. A "Default'' is defined as a failure by the Lessee to comply with or perform any of the terms, covenants,
    conditions or Rules and Regulations under this Lease. A "Breach.. is defined as the occurrence of one er more of the follow!ng Defaults, and the
    failure of Lessee to cure such Default within any applicable grace period:
                         (a) The abandonment of the Pre mises; or the vacating of the Premises without providing a commercia lly reasonable level of
    security, or where the coverage of the property insurance described in Paragraph 8.3 is jeopardized as a result thereof, or without providing reasonable
    assurances to minimize potential vandalism.
                         (b) The failure of Lessee to make any payment of Rent or any Security Deposit requ~ed to be made by Lessee hereunder, whether
    to Lessor or to a third party, when d ue, to provide reasonable evidence of insurance or surety bond, or to fulfill any oDITgation under this Lease which

    endangers or threatens lrfe or property, where such fai!ure continues for a period of ~ business days following written notice to Lessee. THE
    ACCEPTANCE BY LESSOR OF A PARTIAL PAYMENT OF RENT OR SECURl1Y DEPOSIT SHALL NOT CONSTITUTE A WAIVER OF ANY OF
    LESSOR'S RIGHTS, INCLUDING LESSOR'S RIGHT TO RECOVER POSSESSION OF THE PREMISE S.
                         (c) The faflure of Lessee to allow Lessor and/or its agents access to the Premises or the commission of waste, e"t er eEts

    cenet[tbit'AS ~utilic er pri·ialo nu;sanee, and/or an illega1 activity on the Premises by Lessee, where such actions continue for a period of ~5 business
    days following written noUce to Lessee.
                         (d) The failure by Lessee to provide (i) reasonable written evidence of compliance with Applicable Requirements, (ii) tlio scr · so
    ~            iii) the rescission of an unauthorized assignment or subletting, (iv) an Estoppel Certificate or finardsl statomoR~c. (v) a requested
    subordination purst:a.nt to this Lease, ( i) euiE!eRos -ensarn-ng an/ g1.rrar'y .:Rdl&r        0
                                                                                                       :.a:-,.nJ-sr , (vii} any document requested under Paragraph 42,
    (viii) material safety data sheets (MSDS), or (ix ) any other documentation or informatio n which Lessor may reasonably require of Lessee under the
    terms cf this Lease, where any such failure continues for a period of .:W3O days following written notice to Lessee
                         {e) A Default by Lessee as lo the terms, covenants, conditions or provisions of this Lease, or of the rules adopted under Paragraph
    40 hereof, other than those described in subparagraphs 13.1 (a), (b), (c) or (d), above, where such Default con tinues for a period of 30 days after written
    notice: provided, however, tha1 if the nature of Lessee's Default Is such that more than 30 days are reasonably required for its cure. then it shall not be
    deemed to be a Breach if Lessee commences such c ure within said 30 day period and thereafter diligently prosecutes such cure to completion.
                          (I) The occurrence of any of the following events: (i) the making of any general arrangement or assignment for the benern of
    creditors; (ii) becoming a 11debtor1• as defined in 11 U.S.C. §101 or any successor statute thereto (unless, in the case of a petition fifed against Lessee,
    the same is dismissed within 60 days); (iii) the appointment of a trustee or receiver to take possession of substantially all of Lessee' s assets located at
    the Premises or of Lessee's lnterest in this Lease, where possession is not restored to Les see within 30 days; or (iv) the attachmen1, execution or other



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    INITIALS

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Case: 19-04057
Case 19-40193
Case:          Doc#
               Doc# 85
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                                           39 7 of 7                                    607
   judicial setzure of subsiantially all of Lessee's assets located at 1he Premises or of Lessee's interest in this Lease, where such seizure is not discharged
   within 30 days; provided, however, in the event that any provision of this subparagraph is contrary lo any applicable law, such provision shall be of no
   force or effect, and not affect the validity of the remaining provisions.
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            13.2     Remedies. lf Lessee fails to pertorm any of its affirmative duties or obl'igations, within -'I-Q.30 days after written notice (or in case of
   an emergency, without notice), Lessor may, at its option, perform such duty or obligation on Lessee's behalf, including but not limited to the obtaining of
   reasonably required bonds, insurance policies, or governmental licenses, permits or approvals. Lessee sha[I pay to Lessor an amount equal to 115% of
   the costs and expenses incurred by Lessor in such performance upon receipt of an invoice therefor. In the event of a Breact,, Lessor may, with or
   without further notice or demand, and without limiting Lessor in the exercise of any right or remedy which Lessor may have by reason of such Breach:
                           (a) Terminate lessee's right to possession of the Premises by any lawful means, in which case this Lease shall terminate and
   Lessee shall immediately surrender possession to Lessor. In such event Lessor shall be entitled to recover from Lessee: (i) the unpaid Rent which had
   been earned at the time of termination; (ii) the worth at the time of award of the amount by which the unpaid rent which would have been earned after
   termination until the time of award exceeds the amount of such rental loss that the Lessee proves could have been reasonably avoided; (iii) the worth at
   the time of award of the amount by which the unpaid rent for the balance of the term after the time of award exceeds the amount of such rental loss that
   the Lessee proves could be reasonably avoided; and (iv) any other amount necessary to compensate Lessor for all the detriment proximately caused by
   the Lessee's failure to perform its obligations under this Lease or which in the ordinary course of things would be likely to result therefrom, including but
   not limfted to the cost of recovering possession of the Premises, expenses of reletting, including necessary renovation and alteration of the Premises,
   reasonable attorneys' fees, and that portion of any leasing commission paid by Lessor in connection with this Lease applicable lo the unexpired term of
   this Lease. The worth at the time of award of the amount referred to in provision (iii) of the immediately preceding sentence shall be computed by
   discounting such amount at the discount rate of the Federal Reserve Bank of the D istrict within wh\ch the Premises are located at the time of award
   plus one percent. Efforts by Lessor to mitigate damages caused by Lessee's Breach of this lease shall not waive Lessors right to recover damages
   under Paragraph 12. If termination of this Lease is obtained through the provisional remedy of unlawful detainer, Lessor shall have the right to recover
   in such proceeding any unpaid Rent and damages as are recoverable therein, or Lessor may reserve the right lo recover all or any part thereof in a
   separate suit If a notice and grace period required under Paragraph 13.1 was not previously g[ven, a notice to pay rent or quit, or to. perform or quit
   given to Lessee under the unlawful detainer statute shall also constitute the notice required by Paragraph 13.1. In such case, the applicable grace
   period required by Paragraph 13.1 and the unlawful detainer statule shall run concurrently, and the failure of Lessee ta cure lhe Default within the
   greater of the two such grace periods shall constitute both an unlawful detainer and a Breach of this Lease entitling Lessor to the remedies provided for
   in this Lease andJ□ r by said statute.
                           (b) Continue the Lease and Lessee's right to possession and recover the Rent as it becomes due, ln which event Lessee may
   sublet or assign, subject only to reasonable limitations.            Acts of maintenance, efforts to relet 1 and/or the appointrnent of a receiver to protect the
   Lesso(s interests, shall not constitute a term ination of the Lessee's right to possession.
                           (c) Pursue any other remedy now or herea1ter available under the laws or judic ial decisions of the state wherein the Premises are
   located. The expiration or termination of this Lease and/or the termtnation of Lessee's right to possession shall not relieve Lesses from liabH~y under
   any indemnity provisions of this Lease as to matters occurring or accruing during the term hereof or by reason of Lessee's occupancy of the Premises.
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   pro11icions of th is parO§raph unless spe s t''cally s0 stated in 1,vritin9 by Lessor at tho time sf c, ;I=, acceptam;e.
               13.4        late Charges,       Lessee hereby acknowledges that late payment by Lessee of Rent will cause lessor to incur costs not
   contemplated by this Lease, the exact amount of which will be extremely difficult lo ascertain. Such costs include, but are not limited to, processing and
   accounting charges, and late charges which may be imposed upon Lessor by any Lender. Accordingly, if any Rent shall not be received by Lessor

   within ~10 days after such amount shaH be due, then, without any requirement for notice to Lessee, Lessee shall immediately pay to Lessor a one-time
   late charge equal te-4--Q..% 57" of each such overdue amount or $100, whichever is greater. The Parties hereby agree that such late charge represents a
   fair and reasonable estimate of the costs Lessor will incur by reason of such late payment. Acceptance of such !ate charge by Lessor shall in no even t
   constitute a waiver of Lessee's Default or Breach with respect to such overdue amount, nor prevent the exercise of any of the other rights and remedies
   granted hereunder. In the event that a lale charge is payable hereunder, whether or not collected, for 3 consecutive installments of Base Rent, then
   notwithstanding any provision of th!s Lease to the contrary1 Base Rent shall, at Lessor's option, become due and payable quarterly in advance.
               13.5        Enterest.   Any monetary payment due Lessor hereunder, other than late charges, not received by Lessor, when due as to
   scheduled payments (such as Base Rent) or wilhin 30 days following the date on which it was due far non-schedu led payment, shall bear interest from
   the date when due, as to scheduled payments, or the 31st day after it was due as to non-scheduled payments. The interest ('"Interest'") charged shall
   be computed at the rate of 10% per annum but shall not exceed the maximum rate a llowed by law. Interest i s payable in addition lo the potential late
   charge provided for in Paragraph 13.4.
               13.6        Breach by Lessor.
                           (a) Notice of Breach. Lessor shall not be deemed tn breach of this lease unless Lessor fails within a reasonable time to perform
   an obligation required to be performed by Lessor. For purposes of this Paragraph, a reasonable time shall in no event be less than 30 days after



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Case:
Case 19-04057
Case: 19-40193
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   receipt by Lessor, and any Lender whose name and address shall have been furnished Lessee in writing for such purpose, of written notice speclfying
   wherein such obligation of Lessor has not been performed; provided, however, 1hal if the nature of Lessors obligation is such that more than 30 days
   are reasonably required for its perfonnance, then Lessor shall not be in breach if performance is commenced within such 30 day period and thereafter
   diligently pursued to comp~tion.
                               (b) Perfonmance by Lessee on Behalf of Lessor, In the event ttlat neither Lessor nor Lender cures said breach within 30 days
   after receipt of said notice, or if having commenced said cure they do not diligenily pursue it to completion, then Lessee may elect to cure said breach

   al Lessee's expense and offset from Ren1 the actual and reasonable cost to perform such cure, provided, however, that all such                               offsets shall
   not cumulatively             exceed     an amount equal         to three (3) times             the Initial month's BtHM Rent under this                   Lease, reeervlng
   Le55ee's right to seek reimbursement from Lesiaor for any such expense In excess of such offoet.                      provided,
   however, !hat such offset shall not e*ceed an amount equal to the greater of one month's Base Rent
   or the Security Deposit, reserving Lessee's right to seek reimbursement from Lessor for any such
   m<pense in O)(COSS of sueh offset. Lessee shall document the cosl of said cure and supply said documentation to Lessor.
   14.         Condemnation. If the Premises or any portion thereof are taken under the power of eminent domain or sold under the threat of the exercise
   of said power (collective~ "Condemnation"), this Lease shall terminate as to the part taken as of the date the condemning authority takes title or
   possession, whichever first occurs. If more ihan 10% of ihe Building, or more than 25% of that portion of the Premises not occupied by any building, is
   taken by Condemnation, Lessee may,             .at Lessee's option, to be exercised in writing within 10 days after Lessor shall have given Lessee written notice of
   such taking (or in the absence of such notice, wlthin 10 days after the condemning authority shall have taken possession) terminate this Lease as of the
   date the condemning authority takes such possession. If Lessee does not terminate this Lease in accordance with the foregoing, this Lease shall
   remain Tn full force and effect as lo the portion of the Premises remaining, except that the Base Rent shall be reduced in proportion to the reduction in
   utility of the Premises caused by such Condemnation. Condemnation awards and/or payments shall be the property of Lessor, whether such award
   shall be made as compensation for diminution in value of the leasehold, the value of the part taken, or for severance damages; provided, however, thai
   Lessee shall be entitled to any compensation paid by the condemnor for Lessee's relocation expenses, loss of business goodwill and/or Trade Fixtures,
   without regard to whether or not this Lease is terminated pursuant to the provisions of this Paragraph. All AlleraUons and Utility Installations made to
   the Premises by Lessee, for purposes of Condemnation only, shall be considered the property of the Lessee and Lessee shall be entitled 10 any and all
   compensation which is payable therefor. In the event that this Lease is not terminated by reason of the Condemnation, LessQf shat! repair any damage
   to the Premises caused by such Condemnation.
   15.         Brokerage Fees. NI,',
               15.1            AdSitional GGA1ffli&Gion. IR a99i~!0R ·o t he f)&yr=F!9filS gu•eQ ;:HK€« ·ant tG F2a"agraph 1 ,Q abOHO, ---nd 1t,1Alesc Lasser and tho B r ~
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    16.         Estoppel Certificates.
                               {a) Each Party (as "Responding Party'') shall within 10 days after written notice from the ottler Party {the "Requesting Party")
    execute, acknowledge and deliver to the Requesting Party a statement in writing in form similar to the then most current "Estoppel Certificate•· form
    published by the AIR Commercial Real Estate Association, plus such additional information, confirmation and/or statements as may be reas onably
    requested by \he Requesting Party.
                               {b) If the Responding Party shall fail to execute or deliver 1he Es\oppel Certificate within such 10 day period , the Requesting Party
    may execute an Estoppel Certificate stating that: (i) the Lease is in full force and effect without modification except as may be represented by \he
    Requesting Party, (ii) there are no uncured defaults in the Requesting Party's performance, and {iii) if Lessor is the Requesting Party, no1 more than one
    month's rent has been paid in advance. Prospective purchasers and encumbrancers may rely upon the Requesting Party's Estoppel Certificate, and the
    Responding Party shall be eslopped from denying the truth of lhe facts contained in said Certificate.
                               (c) If Lessor desires to financ.e, refinance, or sell the Premises, or any part thereof, Lessee and all Guarantors shall within 10 days
    aft.er written notice from Lessor deliver to any potential lender or purchaser designated by Lessor such financial statements as may be reason ably
    required by such lender or purchaser, including but not limited to Lessee's financial statements for the past 3 years. All such financial statements shall
    be received by Lessor and such lender or purchaser 1n confidence and shall be used only for the purposes herein set forth
                                                         0
    17.         Definition of Lessor. The t erm              Lessor0 as used herein shall mean the owner or owners at the time in question of the fee title to the
    Premises, or, if this is a sublease, of the Lessee's interest in the prior lease. In the event of a transfer of Lessor's title or Interest in the Premises or this
    Lease, Lessor shall d eliver lo the transfe ree or assignee {in cash or by credit) any unused Security Deposit held by lessor. Upon such transfer or
    assignment and delivery of the Security Deposit, as aforesaid, the prior Lessor shall be relieved of all liabilrry wrrh respect 10 the obligations and /or
    covena nts under this Lease thereafter to be performed by the Lessor. Subject to the foregolng1 the obligations and/or covenant s in this Lease to be


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    INITIALS                                                                                                                                                          INITIALS

    ©2001 -AIR COMMERCIAL REAL ESTATE ASSOCIATION                                                                                                         FORM STN-11-8/0BE

Case:
Case 19-04057
Case: 19-40193
      14-41045                        Doc#
                                      Doc# 85
                                      Claim     Filed:
                                            2-1 Part
                                            225-5    6 10/02/20
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   performed by the Lessor shaU be binding only upon the Lessor as hereinal>ove defined.
   18.          Severability. Toe invalidity of any provision of this Lease, as detemnined l>y a court of competent jurisdiction. shall in no way affect the
   validity of any other provision hereof.
   19.          Days. Unless otherwise specifically indicated to the contrary, the word 11days1' as used in this Lease shall mean and refer to calendar days.
   20           Limitation on Liability.            The obligations of Lessor under this Lease shaH ·not constitute personal obligations of Lessor or its partners,
   members, directors, officers or shareholders, and Lessee shall look to the Premises, and to no o1her assets of Lessor, for the satisfaction of any liability
   of Lessor with respect to this Lease, and shall not seek recourse against Lessor's partners, members. directors, officers or shareholders, or any of their
   personal assets for such satisfaction.
   21.          Time of essence. Time is of the essence w·1th respect to the performance of all obligations to be performed or observed by the Parties under
   this Lease.
   22.          No Prior or Other Agreements; Broker Disclaimer. This Lease contains all agreements between the Parties with respect to any matter
   mentioned herein, and no other prior or contemporaneous agreement or understanding shall be effective. Lessor and Lessee each represents and
   warrants to the Brokers 1hat it has made, and is relying solely upon, its own investigation as to the nature, quality, character and financial responsibi lity
   of the other Party to this Lease and as 1o the use, nature, quality and character of the Premises. Brokers have no responsibility with respect thereto or
   with respect to any default or breach hereof by either Party.
   23.          Notices.
                23.1          Notice Requirements. All notices required or permitted by this Lease or applicable law sha11 be in writing and may be delivered in

   person (by hand or by courier) or may be sent by ~ certified                                   or   reg'store~ mail or U.S. Postal Service Express Mail                        or   ether nationa lly
   re:cogrJzed cvernight courier , with postage prepaid, or by facsimile transmission, and shall be deemed sufficiently given if served in a manner
   specttied in this Paragraph 23. The addresses noted adjacent lo a Party's signature on th is Lease shall be that Party's address for delivery or mailing of
   notices. Either Party may by written notice to the other spec"ify a different address for notice, except that upon Lessee's taking possession of the
   Premises, the Premises shall constltute Lessee's address for notice. A copy of all notices to Lessor shall be concurrently transmitted to such party or
   parties at such addresses as Lessor may from time to time hereafter designate in wrrting.

                23.2          Date of Notice. Any. notice sent by Fegisterod er certified mail, re turn receipt requested, U.S . Postal Servic e Express Marl or
   other nat iona_lly recognized overn;ght co urier shall be deemed given on the date of delivery shown on the receipt card or the delivery 1·e cords
   of the Express ~A ail or other courier , or if no aoliwf) oato ·s shown, tho postanl, lhc-acn. If sent •1' rogular ffi"il the aat'oe shall be deamad~"
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   transmitted by facsimile transmission or similar means shall be deemed delivered upon telephone confimn ation of receipt (confirmation report from fax
   machine is sufficient), provided a copy is also delivered via delivery or mall. If notice is received on a Saturday, Sunday or legal holiday, it shall be
   deemed received on the next business day.
   24.          Waivers.
                              {a)           No wa'rver by Lessor of the Default or Breach of any term, covenant or condition hereof by Lessee, shall be deemed a
   waiver of any other term, covenant or condition hereof, or of any subsequent Default or Breach by Lessee of the same or of any other term, covenant or
    condition hereof.        Lessor's consent to1 or approval of, any act shall not be deemed to render unnecessary the obtaini ng of Lessor's consent to1 or
    approval of, any subsequent or similar act by Lessee, or be construed as the basis of an estoppel to enforce the provision or provisions of this Lease
    requiring such consent.
                              (b)           The acceptance of Rent by Lessor shall not be a waiver of any Default or Breach by Lessee. Any payment by Lessee
    may be accepted by Lessor on account of moneys or damages due Lessor, notwithstanding any qualifying statements or conditions made Dy Lessee in
    connection therewith, which such statements and/or conditions shall be of no force or effect whatsoever unless specifically agreed to in writing by
    Lessor at or before tile time of deposit of such payme.nt.
                              (c)           THE PARTIES AGREE THAT THE TERMS OF THIS LEASE SHALL GOVERN WITH REGARD TO ALL MATTERS
    RELATED THERETO AND HEREBY WArvE THE PROVISIONS OF ANY PRESENT OR FUTURE STATUTE T O THE EXTENT THAT SUCH
    STATUTE IS INCONSISTENT WITH THIS LEASE.
    25.          QisGlos1.1res Rsga--eing Tho Na~ldr e sf a Real Estate /\gen.cy Relationship.
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Case: 19-40193
      14-41045                          Doc#
                                        Doc# 85
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   26.         No Right To Holdover. Lessee has no right to retain possession of the Premises or any part thereof beyond the expiration or termination of
   this Lease. In the event that Lessee holds over, then the Base Rent shall be increased to 150% of the Base Rent applicable immediately preceding the
    expiration or termination. Nothing contained herein shall be construed as consent by Lessor to any holding over by Lessee.
   27.         Cumulative Remedies. No remedy or election hereunder shall be deemed exclusive but shall, wherever possible, be cumulative with all
    other remedies at law or in equity.
   28.         Covenants and Conditions; Construction of Agreement. All provisions of this Lease to be observed or performed by Lessee are both
    covenants and conditions. In construing this Lease, all headings and titles are for the convenience of the Parties only and shall not be considered a
    part of this Lease. Whenever required by the context, the singular shall include the plural and vice versa. This Lease shall not be construed as if
    prepared by one of the Parties, but rather according to its fair meaning as a whole, as if bot h Parties had prepared it.
    29.         Binding Effect; Choice        of Law. This Lease shall be binding upon the Parties, their personal representatives, successors and assigns and
    be governed by the laws of the State in which the Premises are located. So iong                   as Lessor's current bankruptcy cave remains open (Northern
    District of California, Oakland Divi sion,            Case    No, 14-41O48-RLE) , any lltlgatlon          between tho Parties hereto concerning thi e Le,;ee
    shall be initiated in tho United Statoe Bankruptcy Court for the Northern District of California, Oakland Division. Following such time
    ae Leeeor's     current bankruptcy          case   has been closed, any litigation between the Parties hereto concerning this Lease shall be initiated in the
    county in which the Premises are located,
    30.        Subordination; Attornment; Non-Disturbance.
               30.1         Subordination. This Lease and any Option granted hereby shall be subject and subordinate to any ground lease, mortgage, deed
    of trust, or other hypothecation or security device (collectively, "Security Device"), now or hereafter placed upon the Premises, to any and all advances
    made on the security thereof, and to all renewars, modifications, and extensions thereof . Lessee agrees that the holders of any such Securlty Devices
    (in this Lease together referred to as "Lender") shall have no liability or obligafon to perform any of the obligations of Lessor under this Lease. Any
    Lender   may elect to    have this Lease and/or any Option granted hereby superior to the lien of its Security Device by giving written notice thereof to
    Lessee, whereupon this Lease and such Options shall be deemed prior to such Securrty Device, notwithstanding the relative dates o f the
    documentation or recordation thereof.

               30.2         Attornment. In the event that Lessor transfers title to the Premises, or the Premises are acquired by another upon the foreclosure
    or termrnation of a Security Devlse to which this Lease ls subordinated (i) Lessee shall, subject to the non-disturbance provisions of Paragraph 30_3,
    attom to such new owner, and upon request, enter fnto a new lease, containing all of the terms and provisions of this Lease, w ith such new owner for
    the remainder of the term hereof, or, at the election of the new own-er, this Lease will automatically become a new lease between Lessee and such new
    owner, and (ii) Lessor shaH thereafter be relieved of any further obtigations hereunder and such new owner shall assume all of Lessor's obligations,
    except that such new owner shall not: (a} be liable for any act or omission of any prior tessor or with respect to events occurring prior to acquisition of
    ownership; (b)     ao cul>je·t to anI• effeets <l' aof<snsoe ,,, hies Leccee rnigl1t ~a· a aga:net GR)' prior loss or, (ol be bound by prepayment of more than one
    monthrs rent, or    fdl 9 9 'iable far the rotum gf an)< secu~:ty d □13ssit paf9 1s any p1Fior lesser      t. hi£h,.   as A9l [1@ i9 9r srotiilo:j ts s;iaA ns :: a•.,nor.

                30.3        Non-Disturbance. Lessor represents and warrants t hat no          Security Devices currently affect the Pr-ernises. With
    respect to Security Devtces entered into by Lessor after the execution of this Lease, Lessee's subordination of this Lease shall be subject to receiving a
    commercially reasonable non--d1sturbance agreement (a "Non.Disturbance Agreement") from the Lender which Non-Disturbance Agreement provides
    that Lessee's possession of the Premises, and this Lease, including any options to extend the tenn hereof, will not be disturbed so long as Lessee is
    not in Breach hereof and attorns to the record owner of the Premises.                      i;:1c,1rthar, "rithiP. EQ Ela}'" after f.,s o~~SG!Jtisn ef th's Lo.:.ce, Leeser sl1a 11, i:f
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                30.4        Self-Executing. The agreements contained in this Paragraph 30 shall be effective without the execution of any further documents;
    provided, however, that, upon written request from Lessor or a Lender in connection with a sale, financing                          or refinancing   of the P remises, Lessee and
    Lessor shall execute such further writings as may be reasonably required to separately document any subordination, attornment and/or
    Non~Disturbance Agreement provided for herein.
    31.         Attorneys' Fees. If any P a r t y ~ brings an action or proceeding Jnvolv[ng the Premises whether founded [n tort, con1ract or equity, or
    to declare rights hereunder, the Prevaifing Party (as hereafter defined} in any such proceeding, action, or appeal thereon, shall be entitled to reasonab[e
    attorneys' fees. Such fees may be awarded in the same suit or recovered in a separate sun:, whether or not such action or proceeding is pursued to
    decision or judgment. The term, '"Prevailing Party" shall incfude, without limitation, a Party ~ who substantially obtains or defeats the relief
    sought, as the case may be, whether by compromise, settlement, judgment. or the abandonment by the other Party -                                           of its claim or defense.
    The attorneys' fees award shall not be computed in accordance with any court fee schedule, but shall be such as to ful~ reimburse all attorneys' fees
    reasonably Incurred. In addTtlon 1 Lessor shall be entitled to attorneys' fees, costs and expenses incurre d in the preparation and servlce of notices of
    Default and consultations Jn connection therewith, whether or not a l egal action is subsequently commenced lo connectio n with such Def ault or resulting
    Breach ($200 is a reasonable minimum per occurrence for such services and consultation).
    32.         Lessor's Access; Showing Premises; Repairs. Lessor and Lessor's agents shall have the right to enter the Premises at any time, in the
    case of an emergency, and o1herwise at reasonable times after reasonable prior notice for the purpose of showing the same to prospective purchasers,


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    INITIALS

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Case:
Case 19-04057
Case: 19-40193
      14-41045                      Doc#
                                    Doc# 85
                                    Claim     Filed:
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                                          225-5    6 10/02/20
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   lenders, or. duh,"lg         the   1a'3t six months of             t he tt:nrI ht:rc:of, tenants,      and making such alterations, repairs, improvements or additions to the
   Premises as Lessor and Lessee agree a m ~ - necessary or desirable and tRe SFGCt'R§, \:'Ging and 1v1aiP.'o:r:ing ef :1f1it;os, e~nci:2s, pipes ae=iG!
   ee'":E!'..!i!E tRra:...:0h tRa PraR1lsoc ana'ter e~Ror 13rom~sos as long as there is no material adverse effect to Lessee1s use of the Premises. All such activittes
   shall be without abatement of rent or liability to Lessee.
   33.          Auctions. Lessee shall not conduct, nor pem,it to be conducted, any auction upon the Premises without Lessor's prior w ritten consent.
   Lessor shall not be ob~gated to exercise any standard of reasonableness in determfning whether to permit an auction.
   34.          Signs. Lessor may place on the Premises ordinary "For Sale" signs at any time and ordinary "For Lease" signs during the last 6 months of
   the tenn hereof. Except for ordinary "for sublease" signs, Lessee shall not place any sign upon the Premises without Lessor's prior written consent. All
   signs must comply with all Applicable Requirements.
   35.          Termination; Merger. Unless specfically stated otherwlse in writing by lessor, the ·voluntary or other surrender of this Lease by Lessee 1 the
   mutual termination or cancellation hereof, or a termination hereof by Lessor for Breach by Lessee, shall automatically terminate any sub(ease or lesser
   estate in the Premises; provided1 however, that Lessor may elect to continue any one or all existing subtenancies. Lessor's failure within 10 days
   following any such event to elect to the contrary by written notice to the holder of any such fesser interest, shall constitute Lessor's election to have
   such event constitute the termination of such interest.
   36.          Consents. Except as othenwise provided herein, wherever in this Lease the consent of a Party is required to an act by or for the other Party,
   such consent shall not be unreasonably withheld or delayed. Lessor's actual reasonable costs and expenses (including but not Hm ited to architectsr,
   attorneys', engineers' and other consultants' fees) incurred in the consideration of, or response to, a request by Lessee for any Lessor consent,
   including but not limited to consents ta an assignment 1 a subletting or the presence or use of a Hazardous Substance, shall be paid by Lessee upon
   receipt of an invoice and supporting documentation therefor.                               Lessor1s consent to any act, assignment or subletting shall not constitute an
   acknowledgment that no Default or Breach by Lessee of this Lease exists, nor shall such consent be deemed a waiver of any then existing Default or
   Breach, except as may be otherwise specifically stated in writing by Lessor at the llme of such consent. The failure to specify herein any particular
   condition to Lessor's consent shall not preclude the imposition by Lessor at the time of consent of such further or other c ondiions as a re then
   reasonable with reference to the particular matter for which consent is being given. In the event that either Party disagrees with any determination
   made by the other hereunder and reasonably requests the reasons for such determination, the determining party shall furnish its reasons 1n writing and
   in reasonable detail within 10 business days following such request.
   37           Guarantor.
                37.1           Execution. The Guarantors, Wany, shall each execute a guaranty in the form most recently published by the AIR Commercial Real
   Estate Association, and each such Guarantor shall have the same obligations as Lessee under this Lease.
                37.2           Default. It shall const itute a Default of the Lessee if any Guarantor fails or refuses, upon request to provide: (a) evidence of the
   execution of the guaranty, including the authority of the party signing on Guarantor's behalf ta obligate Guarantor1 and in the case of a corporate
   Guarantor. a certified copy of a resolution of its board of directors authorizing the making of such guaranty, (b) current financial statements, (c) an
   Estoppel Certificate, or (d) written confirmation that the guaranty is still in effect.
   38.          Quiet Possession. Subject to payment by Lessee of the Rent and perfonnance of all of the covenants, conditions and provisions on
   Lessee's part to be observed and perfonned under thts Lease, Lessee shall have quiet possession and quiet enjoyment of the Premises during the term
   hereof.
   39.          Options. If Lessee is granted an Option, as defined below, then the folk>wing provisions shall apply:
                39.1           Definition. "Option" shall mean: (a) the right to extend or reduce the term of or renew this Lease or to extend or reduce the term
   of or renew any lease that Lessee has on other property of Lessor; (b) the right offirst refusal or first offer to lease either the Premises o r other property
   of Lessor; (c) the right to purchase, the right of first offer to purchase or the right of first refusal to purchase the Premises or other property of Lessor.
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                39.3           Multiple Options. In the event that Lessee has any multiple Options to extend or renew this Lease, a later Option cannot be
   exercised unless the prior Options have been validly exercised.
                39.4           Effect of Default on Options.
                               (a) Lessee shall have no right to exercise an Option: (i) during the period commencing with the giving of any notice of Default and
   continuing un1il said Default is cured, (it) S°ldFiA§ the pioRe9 af ~iAW                   arw   Rorit ic unp-i'J ( •. ithout roga1d ~s u·~ather naii-e 1hEPSGf is 3F ren Laccoa), (iii)
   during the time Lessee is in Breach of this Lease1 or (iv) ln the event that Lessee has been given 3 or more notices of separate Default1 whether or not
   the Defaults are cured, during the 12 month period immediately preceding t he exercise of the Option.
                               (b) The period of time within which an Option may be exercised shall not be extended or enlarged by reason of Lessee's inability to
   exercise an Option because of the provisions of Paragraph 39.4(a).
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   41.          Sec urity Measures, Lessee he reby acknowledges that the Rent payable t o Lessor hereunder does not include the cost of guard service or
   other security measures, and that Lessor shall have no obligation whatsoever to provide same. Lessee assumes all responsibility for the protectio n of
   the Premises, Lessee, its agents and invitees and their property from the acts of third parties.


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Case: 19-40193
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   43.              Performance Under Protest. If at any time a dispute shaB arise as to any amount or sum of money to be paid by one Party to the other
   under the provisions hereof, the Party against whom the obligation to pay the money is asserted shall have the right to make payment "under protest"
   and such payment shall not be regarded as a voluntary payment and there shall survive the right on the part of said Party to institute suit for recovery of
   such sum. If ii shall be adjudged that there was no legal obligation on the part of said Party to pay such sum or any part thereof, said Party shall be
   entitled to recover such sum or so much t hereof as it was not legally required to pay. A Party who does not initiate suit for the recovery of sums paid
   "under protest" with 6 months shall be deemed to have waived its right to protest such payment.
   44.              Authority; Multiple Parties; Execution.
                              (a)       W either Party hereto is a corporation, trust, limited liability company,             partnership, or similar entity, each individual
   executing this Lease on behalf of such entity represents and warrants that he or she is duly authorized to execute and deliver this Lease on Its behalf.
    Each Party shall, within 30 days after request, deliver to the other Party satisfactory evidence of such authority.
                              (b)       If this Lease is executed by more than one person or entity as "Lessee", each such person or entity shall be jointly and
    severally liable hereunder. It is agreed that any one of the named Lessees shall be empowered to execute any amendment to this Lease, or other
    document ancillary thereto and bind all of the named Lessees, and Lessor may rely on the same as if all of the named Lessees had executed such
    document.
                              (c)       This Lease may be executed by the Parties in counterparts, each of which shall be deemed an original and all of which
   together shall constitute one and the same instrument
   45.              Conflict. Any conflict between the printed provisions of this Lease and typewritten or handwritten provisions shall be controlled by the
   typewritten or handwritten provisions.
   46.              Offer, Preparation of this Lease by either Party or their agent and submission of same to tihe other Party shall not be deemed an offer to
    lease lo the other Party. This Lease is not intended to be binding until executed and delivered by all Parties hereto.
    47.             Amendments. This Lease may be modified only in writing, signed by the Parties in interest at the time of the modification.               Ag   IOti§   □-   tAs,
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    48.             Waiver of Jury Trial.     THE PARTIES HEREBY WAfVE THEIR RESPECTIVE RIGHTS TO TRIAL BY JURY IN ANY ACTION OR
    PROCEEDING INVOLVING THE PROPERTY OR ARISING OUT OF THIS AGREEMENT.
    49.             Arbitration of Disputes. An Addendum requiring the Arbitration of all disputes between the Parties and/or Brokers arising out of this Lease
    D      is   D     is not attached to this Lease.
    50,             Americans with Disabilities Act Since compliance with the Americans with Disabilities Act (ADA) is dependent upon Lessee's specific use
    of the Premises, Lessor makes no warranty or representation as to whether or not the Premises comply with ADA or any simifar [eglslation. In the
    event that Lessee's use of the Premises requires modifications or additions to the Premises in order to be in ADA compliance, Lessee agrees to make
    any such necessary modifications and/or additions at Lessee's expense.


    LESSOR AND LESSEE HAVE CAREFULLY READ AND REVIEWED THIS LEASE AND EACH TERM AND PROVISION CONTAINED HEREIN, AND
    BY THE EXECUTION OF THIS LEASE SHOW THEIR INFORMED AND VOLUNTARY CONSENT THERETO. THE PARTIES HEREBY AGREE
    THAT, AT THE T IME THIS LEASE IS EXECUTED, THE TERMS OF THIS LEASE ARE COMMERCIALLY REASONABLE AND EFFECTUATE T HE
    INTENT AND PURPOSE OF LESSOR AND LESSEE WITH RESPECT TO THE PREMISES.
    ATTENTION: NO REPRESENTATION OR RECOMMENDATION IS MADE BY THE AIR COMMERCIAL REAL ESTATE ASSOCIATION OR BY ANY
    BROKER AS TO THE LEGAL SUFFICIENCY, LEGAL EFFECT, OR TAX CONSEQUENCES OF THIS LEASE OR THE TRANSACTION TO WHICH
    IT RELATES. THE PARTIES ARE URGED TO:
    1. SEEK ADVICE OF COUNSEL AS TO THE LEGAL AND TAX CONSEQUENCES OF THIS LEASE.
    2. RETAIN APPROPRIATE CONSULTANTS TO REVIEW AND INVESTIGATE THE CONDITION OF THE PREMISES. SAID INVESTIGATION
    SHOULD INCLUDE BUT NOT BE LIMITED TO: THE POSSIBLE PRESENCE OF HAZARDOUS SUBSTANCES, THE ZONING OF THE PREMISES,
    THE STRUCTURAL INTEGRITY, THE CONDITION OF THE ROOF AND OPERATING SYSTEMS, AND THE SUITABILITY OF THE PREMISES FOR
    LESSEE'S INTENDED USE.


    WARNING: IF THE PREMISES IS LOCATED IN A STATE OTHER THAN CALIFORNIA, CERTAIN PROVISIONS OF THE LEASE MAY NEED TO
    BE REVISED TO COMPLY WITH THE LAWS OF THE STATE IN WHICH THE PREMISES IS LOCATED.


    The parties hereto have executed this Lease at the place and on the dates specified above the[r respective signatures.


    Executed at: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Executed at: _ _ _ __ _ _ _ _ _ _ _ _ _ __ __ _ __
    On:                                                                                    On: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


    By LESSOR:                                                                             By LESSEE:
    Berkel e y Properties, LLC
    A Cal i fornia l imited liability company

    By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ By: _ __ _ _ _ _ _ _ __ _ _ __ _ _ _ _ _ __
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    BROKER:                                                              BROKER:



    Attn                                                                     Attn:
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    NOTICE: These fonns are often modified to meet changing requirements of law and industry needs. Always write or call to make sure you
    are utilizing the most current form:   AIR Commercial Real Estate Association,            800 W 6th Street, Suite 800, Los Angeles, CA 90017.
    Telephone Na. (213) 687-8777. Fax No.: (213) 687-8616.


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                                                    ADDENDUM
    Date:
               --------------
     By and Between (Lessor) Berkeley Properti.es, LLC, a Californi a limited liabilit y company
                    (Lessee) _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     Address of Premises: 1333 2nd Street, 1310 Th ird Street and 640 Gilman Street
                                    Berkele, CA


    Paragraphs 53 -   56


    In the event of any conflict between !he provisions of this Addendum and the printed provisions of the Lease, this Addendum shall
    control.


    53. /\GREED USE. Notwithstanding any other provision of the Lease, dur ing the f irst five (5) yearn of t he
    Original Term, the /\greed Use shall be limited J;o c.%1; steel foundry operations an d related office uses. No
    other use of the Premises srial l be permitted during such period cf time.

   54. SHARING OF BONUS RENT. If Lessee sublets any part of J;he Premises, t hen with respect to the
   subleased space, Lessee sha!I pay to Lessor fifty percent (50%) of the positive difference, if any, between (a)
   all consideration paid by the sublessee tc Lessee attributable to t he sublet space (after deducting "~herefrom
   reasonable real estate broker f ees, tenan·c improvem ent allowances, legal fees and ot,her out-of-pocket costs
   paid by Lessee in connection with such subletting, which for purposes of this calculation shall be amortized on
   a straight-line basis over the J;ffm of such sublease), less (b) the Rent payable under this Lease allocable to
   the space su blet for J;he term of the subltt. Such amount shall be paid to Lesoo1· on the same basis, wh etrier
   periodic or in lump sum, that such considerat ion is paid to Lessee by its sublessee, and shall be paid within ten
   (10) business days after receipt of same by Lessee.

    55. Lessor agrees that any amount determined to be due to Lessee (as Buyer) under Section 10.01 of
   that certain Asset Purchase Agreement (the "Asset Purchase A{lreement") dated as of
   _ _ _ _ _ _ _ _ by and between Lessee (as successor in interest to Speyside Fund, LLC) , and
    Pacific Steel Castin{l Company, a Cal ifornia corporation ("Seller"), on account of any breach of a
    representation, warranty or covenant by Seller under the Aseiet Purchase Agreement shall be paid to
    Lessee through an abatement In the amount of rent otherwise payable by Lessee to Lessor under this
    Lease until the amount of such rent abatement equals the amount determined to be due to Lessee
    under the Asset Purchase Agreement, after which the rent under the Lease sha ll be fully payable
    pursuant to the termei of this Lease.


    56. Pursuant to the terms of the Asset Purchase Agreement. Seller provided to Lessee due diligence
    materials, Including without limitation certain environmental repor-ts relating to th e Premises
    (collectively "Asset Purchase Agreement Disclosures"), and Lessee has also had a n opportunity to
    conduct its own physical and regulatory environmental investigations of the Premises ("Lessess's
    Environmental Due Diligence") prior to the closing of th e transaction under the Asset Purchase
    Agreement. The Asset Purchase Agreement provides for a purchase price adjustment in the event any
    conta mination by Hazardous Materials not disclosed in the Asset Purchase Agreement Disclosures is
    discovered at any time up to ninety (90) days following the closing. For purposes of this Lease, the
   term "Undisclosed Hazardous Substances" means any Hazardous Substances which (i) existed on the
   Premises prior to Lessee\; occupancy, (ii) was not disclosed In a11y of -~he Asset Purchase Agreement
    Disclosures, and (Iii) the existence of which was made awa re t o Les,;;ee or any of Lessee's employees or
    agente; as a result of Lese;ee'B Environmental Due Diligence before t he closing or with in ninety (90)



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   Le66or 6hall have no re,;ponsibility or payment obligation for the lnve:;tlgation or remediation of any
   Hazardous Substances except with re6pect to Undl%losed Hazardous Substances a,; expre66ly
   provided in Paraqraph6 6.Z(e), 6.Z(f), and 6.Z(g). unle6e required by law or governmental authority.




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                                FIRST AMENDMENT TO
                             ASSET PURCHASE AGREEMENT


       This First Amendment to Asset Purchase Agreement (“Amendment”) is entered into by
and between Pacific Steel Casting Company, a California corporation (the “Debtor” or “Seller”)
and Speyside Fund, LLC (the “Buyer” including any assignee of Buyer) as of this 21st day of
August, 2014 (“Amendment Date”) (Seller and Buyer are sometimes referred to herein
individually as a “Party” and collectively as the “Parties”.)

                                             Recitals

         A.      The Parties previously entered into an Asset Purchase Agreement dated June 19,
2014 (“ Original Agreement”) pursuant to which Buyer agreed to purchase and Seller agreed to
sell substantially all of Seller’s business and assets and Buyer agreed to assume certain specified
liabilities of Seller (collectively the “Asset Sale”). (All capitalized terms used herein shall have
the same meaning as that ascribed to such term in the Agreement.)

       B.      A Sale Order was entered by the Bankruptcy Court, approving the Asset Sale.

        C.     Disputes have arisen between the Parties concerning the application of the terms
of the Agreement to certain items, which the Parties have resolved but which require changes to
be made to the Agreement.

       NOW, THEREFORE, in consideration of the mutual promises of the Parties and other
consideration the receipt and sufficiency of which is hereby acknowledged, the Parties agree to
amend the Original Agreement as follows:

       1.      Exhibit A is amended by adding the following definition:

       “Agreement” means the Asset Purchase Agreement by and between Speyside Fund LLC
and Pacific Steel Casting Company dated June 19, 2014, as amended by the First Amendment to
Asset Purchase Agreement by and between Speyside Fund LLC and Pacific Steel Casting
Company dated August 21, 2014.

         2.    Section 2.03 (b) of the Original Agreement is amended to delete clauses (vi) and
(vii) therefrom.

       3.      Schedule 2.03(b)(vi) is deleted.

       4.      Section 2.04(a) and Schedule 2.04(a) of the Original Agreement are amended to
conform to the revised list of Assumed Contracts and the related Cure Amounts filed with the
Bankruptcy Court on July 28, 2014 as described in the Supplemental Declaration of Charles H.
Bridges, Jr. In Support of Motion to Assume and Assign Executory Contracts and Leases in

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Connection with Proposed Sale of Assets (docket #261). Seller and Buyer have further
determined and agreed that with respect to certain equipment leases in such Supplemental
Declaration which are mutually agreed to be disguised finance leases, Seller will pay and retire
all remaining amounts due thereunder, acquire and transfer to Buyer the equipment leased
thereunder.

       5.      Subsections 3.01(a) and (b) are amended to provide in their entirety as follows:

       3.01    Purchase Price.

                (a)    Good Faith Deposit. Upon execution of this Agreement the Buyer shall
pay $500,000 for deposit into the Binder & Malter LLP Client Trust Account in escrow on
behalf of Seller and Buyer by delivery of a cashier’s check to Binder & Malter LLP or wire
transfer into said account. This is the “Good Faith Deposit.”

                (b)    The purchase price for the Acquired Assets (the “Purchase Price”) shall
consist of the following:

                      (i)     $9,800,000.00;

                      (ii)    the Good Faith Deposit; and

                      (iv)    any additional amount the Buyer chooses, in its sole discretion, to
over-bid at the Auction.

The Parties agree that, as of the Amendment Date, the Purchase Price is approximately
$10,300,000.00.

       6.      Section 3.01(c)(i) is amended to add the following provision at the end of the
Section:

        “ Net Working Capital on the Closing Date will include the PACCAR account receivable
without regard to any possible setoff rights PACCAR may assert or have arising from its
prepetition claim in the Bankruptcy case.”

       7.      Section 4.01 shall be amended to provide in its entirety as follows:

         4.01 Closing. The consummation of the Transaction (the "Closing") shall take place
on August 29, 2014 at the offices of Seller’s counsel, unless otherwise mutually agreed by the
Parties.

       8.      Section 5.01(o) is amended to provide in its entirety as follows:

        (o) Insurance. Schedule 5.01(o) hereto sets forth a summary of each insurance policy
carried by Seller (including any self-insurance programs) (collectively “Insurance Policies”). All
such insurance policies are valid and binding and in full force and effect. Except as provided in
the following sentences, all premiums due under the Insurance Policies have been paid in full


                                                2

Case:
 Case 19-04057
 Case: 14-41045 Doc#
       19-40193  Doc#85
                Claim 2-1 Filed:
                          Part
                      289-3    7 10/02/20
                                   Filed
                               Filed:        Entered:
                                         01/28/19
                                      08/21/14        10/02/20
                                                    Desc
                                                 Entered:      13:34:49
                                                          Exhibit
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and Seller has not received any notice of cancellation or termination in respect of any such policy
nor is Seller in default thereunder. Sentry Insurance has made unsecured claims based on alleged
nonpayment of charges for Seller’s workers compensation policies, substantially all of which
relate to the 2012/2013 policy year. Further, Sentry Insurance has expressed its intention to
terminate the Seller’s workers compensation policy for the 2014/2015 policy year effective with
the Closing. Certain premiums and charges invoiced by Sentry to Seller for the current policy
year have not been paid.

       9.      A new Section 7.13 is added to provide in its entirety as follows:

        7.13 Workers Compensation. Seller and Buyer have determined that Seller’s
workers compensation insurer, Sentry Insurance, is unwilling to consent to the assignment of
Seller’s worker’s compensation insurance policies to Buyer and intends to terminate such
policies effective with the Closing. Buyer shall be entitled to receive and retain any overfunding
amounts received by Seller from Sentry Insurance with respect to Seller’s workers compensation
insurance coverage. Buyer shall also be entitled to receive and retain all premium rebates
received by Seller from Sentry Insurance on account of the termination of Seller’s workers
compensation coverage. Seller shall fully cooperate with Buyer as necessary: (a) to assign and
pay to Buyer all cash amounts received by Seller from Sentry Insurance on account of such
overfunding and premium rebates, and (b) in all of Buyer’s interactions with Sentry Insurance.
Buyer shall have no obligation to pay to Sentry any amount for alleged underfunding for workers
compensation insurance coverage arising from any pre-Closing Date periods, including but not
limited to Sentry Insurance’s pending claim of $890,000, and any adjustments Sentry may
propose to Seller’s policies after the Closing Date.

        With respect to all pending claims under Seller’s workers compensation insurance
policies with Sentry Insurance, after the Closing Date Seller shall use its best efforts to assure
that Sentry Insurance continues to defend all such claims. Buyer shall take over administration of
such pending claims from and after the Closing Date. Buyer and Seller shall cooperate and share
information with regard to the administration of such claims on a regular basis.

       10.     Section 9.01(d) is added to provide in its entirety as follows:

       (d)    Bankruptcy Court Approval. The Bankruptcy Court shall have issued an order
approving the modification of the Agreement by the Amendment.

       11.     Section 9.03(h) is amended to add the following sentence at the end of the
Section:

       “The base rent under the Lease shall be abated (but not Buyer’s obligations under the
Lease to pay the security deposit, real estate taxes, insurance and common area maintenance)
beginning on the Lease commencement date and continuing until the amount of base rent
otherwise due but abated equals $1,000,000. Base rent shall thereafter be payable by Buyer in
accordance with the terms of the Lease.”

                                                 3

Case:
 Case 19-04057
 Case: 14-41045 Doc#
       19-40193  Doc#85
                Claim 2-1 Filed:
                          Part
                      289-3    7 10/02/20
                                   Filed
                               Filed:        Entered:
                                         01/28/19
                                      08/21/14        10/02/20
                                                    Desc
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       Exhibit 9.03(h) is hereby replaced with the form of Lease attached hereto.

       12.     Section 10.01 is amended to provide in its entirety as follows:

      10.01 Survival of Representations, Warranties and Covenants and Liability
Limitation.

        (a)    Survival. The representations and warranties of Buyer and Seller contained in
this Agreement and the covenants and agreements of Buyer and Seller contained in this
Agreement shall survive for a period of ninety (90) days following the Closing Date and any
claim of breach by either Party shall made in writing delivered to the breaching Party on or
before the end of such ninety (90) day period. Any dispute arising out of a claimed breach shall
be submitted to and resolved by the Bankruptcy Court pursuant to Section 10.08 hereof.

        (b)    Source of Payment of Liability. Any amount determined to be due to Buyer
(either by agreement of the Parties or by order of the Bankruptcy Court) on account of any
breach of a representation, warranty or covenant by Seller shall be paid to Buyer through a
reduction in the amount of base rent otherwise payable by Buyer to Berkeley Properties LLC
under the Lease until the amount of such base rent abatement equals the amount determined to be
due to Buyer, after which the base rent under the Lease shall be fully payable pursuant to the
Lease terms. Buyer’s sole and exclusive remedy after the Closing Date for any Seller’s breach
of a representation, warranty or covenant shall be such rent abatement. Buyer’s obligations under
the Lease to pay the security deposit, real estate taxes, insurance and common area maintenance
shall not be subject to abatement for any such Buyer’s claims. The Lease shall provide for
Berkeley Properties LLC’s consent to and recognition of Buyer’s rights of offset and base rent
abatement hereunder.

         (c)    Limitation on Buyer’s Liability. The aggregate liability of Seller (which shall be
satisfied solely by a base rent abatement as described in Section 10.01(b)) for Buyer’s claims for
breaches of Seller’s representations, warranties or covenants shall not exceed one million five
hundred thousand dollars ($1,500,000); provided, however, that such limitation on Seller’s
liability shall not apply to claims made by Buyer for remedial costs incurred resulting from
Seller’s noncompliance with the requirements of (i) the Americans with Disabilities Act, (ii)
applicable fire safety laws, regulations, ordinances and codes, or (iii) any unresolved notices of
violation from the City of Berkeley regarding claimed violations of municipal ordinances or
codes by Seller or Berkeley Properties LLC.

       13. Assignment of Buyer’s Rights. Buyer hereby assigns its right, title and interest in
and to the Agreement to Pacific Steel Casting Company LLC, a Delaware limited liability
company in which Buyer is a principal owner. Seller hereby consents to such assignment
pursuant to Section 10.04 of the Original Agreement.

Except as expressly amended herein, all terms and conditions of the Agreement shall continue in
full force and effect, and are ratified and approved by the Parties.

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Case:
 Case 19-04057
 Case: 14-41045 Doc#
       19-40193  Doc#85
                Claim 2-1 Filed:
                          Part
                      289-3    7 10/02/20
                                   Filed
                               Filed:        Entered:
                                         01/28/19
                                      08/21/14        10/02/20
                                                    Desc
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                                           26 4 of 26                                     620
        IN WITNESS WHEREOF, the Parties, by their duly authorized representatives, have
 executed this Agreement as of the date first set forth above.



                                              SELLER

                                              PACIFIC STEEL CASTING COMPANY


                                              By:        / ( _ ~ !2J}~
                                                    - Katie
                                                      --    -------------
                                                            Delsol, President




                                              BUYER

                                              SPEYSIDE FUND, LLC .



                                              By: - - - - - - - - - - - - - - - -
                                                    Jeffrey A. Stone, Manager



        The undersigned, as Assignee of Buyer's rights under the Agreement, joins in the
 execution and delivery hereof and acknowledges that it is bound by the liabilities and obligations
 of the Buyer hereunder.



                                              PACIFIC STEEL CASTING COMPANY LLC



                                              By: - - - - - - - - - - - - - - - -
                                                    Jeffrey A. Stone, Manager




                                                    5



Case:
 Case 19-04057
 Case: 14-41045 Doc#
       19-40193  Doc#85
                Claim 2-1 Filed:
                          Part
                      289-3    7 10/02/20
                                   Filed
                               Filed:        Entered:
                                         01/28/19
                                      08/21/14        10/02/20
                                                    Desc
                                                 Entered:      13:34:49
                                                          Exhibit
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                                                                      First Amendment
                                                                                Page
                               to APA of 699
                                         Page
                                          26 5 of 26                                      621
          IN WITNESS WHEREOF, the Parties, by their duly authorized representatives, have
   executed this Agreement as of the date first set forth above.



                                                SELLER

                                                PACIFIC STEEL CASTING COMPANY



                                                By:-------------
                                                 Katie Delsol, President




                                                BUYER




           The undersigned, as Assignee of Buyer's rights under the Agreement, joins in the
   execution and delivery hereof and acknowledges that it is bound by the liabilities and obligations
   of the Buyer hereunder.



                                               PACIFIC STEEL CASTING COMPANY LLC




                                                  5




Case:
 Case:19-04057
 Case  14-41045 Doc#
      19-40193   Doc#85
                Claim 2-1 Filed:
                      289-3
                          Part 7 10/02/20
                               Filed:
                                   Filed     Entered:
                                      08/21/14
                                         01/28/19     10/02/20
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                                         Page                                             622
                                                ÿAIRÿCOMMERCIALÿREALÿESTATEÿASSOCIATION
              STANDARDÿINDUSTRIAL/COMMERCIALÿSINGLE-TENANTÿLEASEÿ--ÿNET
                                               (DOÿNOTÿUSEÿTHISÿFORMÿFORÿMULTI-TENANTÿBUILDINGS)

     1.ÿ        BasicÿProvisionsÿÿ("BasicÿProvisions").
                1.1ÿ        ÿ arties: ThisÿLeaseÿ("Lease"),ÿdatedÿforÿreferenceÿpurposesÿonlyÿÿ
                            P                                                                                                     Augustÿ29,ÿ2014ÿÿÿÿÿÿÿÿÿ ,
     isÿmadeÿbyÿandÿbetweenÿÿBerkeleyÿProperties,ÿLLC,ÿaÿCaliforniaÿlimitedÿliabilityÿcompanyÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                                                                                                                   ("Lessor")
                                                                                                                                                                ÿÿ ÿ
     andÿ ÿPacificÿSteelÿCastingÿCompanyÿLLC,ÿaÿDelawareÿlimitedÿliabilityÿcompanyÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                                                                                                                 ("Lessee"),
                                                                                                                                                              ÿÿ ÿ
     (collectivelyÿtheÿÿ"Parties," orÿindividuallyÿaÿÿ"Party").
                1.2ÿ        ÿPremises: Thatÿcertainÿrealÿproperty,ÿincludingÿallÿimprovementsÿthereinÿorÿtoÿbeÿprovidedÿbyÿLessorÿunderÿtheÿtermsÿofÿthisÿLease,
     andÿcommonlyÿknownÿasÿÿ1333ÿ2ndÿStreet,ÿ1310ÿ3rdÿStreet,ÿandÿ640ÿGilmanÿStreet,ÿBerkeleyÿÿÿÿÿÿÿÿÿÿ,
                                                                   ,ÿStateÿofÿÿCaliforniaÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ,
     locatedÿinÿtheÿCountyÿofÿÿAlamedaÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
     andÿgenerallyÿdescribedÿasÿ(describeÿbrieflyÿtheÿnatureÿofÿtheÿpropertyÿand,ÿifÿapplicable,ÿtheÿÿ"Project",ÿifÿtheÿpropertyÿisÿlocatedÿwithinÿaÿProject)ÿ ÿ
                                                                                                                                                                               ÿÿ
                                                                                                                                                                               ÿÿ
                                                                                                                                  ("Premises").ÿÿÿ(SeeÿalsoÿParagraphÿ2)
                                                                                                                                ÿÿÿ
                1.3ÿ        ÿ erm: 1
                            T                  yearsÿandÿÿ0ÿÿÿÿÿÿÿÿÿÿÿ
                                   ÿ 5ÿÿÿÿÿÿÿÿÿÿ                     monthsÿ("OriginalÿTerm")ÿcommencingÿÿAugustÿ29,ÿ2014ÿÿÿÿÿÿÿÿÿ
     ("CommencementÿDate")ÿandÿendingÿÿAugustÿ28,ÿ2029ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                               ("ExpirationÿDate").ÿÿ(SeeÿalsoÿParagraphÿ3)
                1.4ÿ        ÿEarly Possession:ÿ ÿIfÿ theÿ Premisesÿ areÿ availableÿ Lesseeÿ mayÿ haveÿ non-exclusiveÿ possessionÿ ofÿ theÿ Premisesÿ commencingÿÿ
     N/Aÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ                                   ("Early PossessionÿDate").ÿÿ(SeeÿalsoÿParagraphsÿ3.2ÿandÿ3.3)
                1.5ÿ      ÿ aseÿRent: $89,554.00ÿÿÿ
                          B                               perÿmonthÿ("BaseÿRent"),ÿpayableÿonÿtheÿÿfirstÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ                  dayÿof
     eachÿ monthÿ commencingÿ ÿonÿtheÿCommencementÿDateÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                                                                                ÿÿ.(SeeÿalsoÿParagraphÿ4)
      Ifÿthisÿboxÿisÿchecked,ÿthereÿareÿprovisionsÿinÿthisÿLeaseÿforÿtheÿBaseÿRentÿtoÿbeÿadjusted.ÿSeeÿParagraphÿÿ51ÿÿÿÿÿÿÿÿÿÿÿÿÿ
        ÿ      ÿ ÿ
                ÿÿ1.6ÿÿÿÿÿSecurityÿDeposit:ÿÿ$89,554.00ÿ("SecurityÿDeposit")
                ÿ1.6ÿ       ÿBaseÿRentÿandÿOtherÿMoniesÿPaidÿUponÿExecution:
                            (a)ÿ     ÿBaseÿRent: $0.00ÿÿÿÿÿÿÿÿÿÿÿ
                                                                forÿtheÿperiodÿÿ                                                                                             ÿÿ
                                                                                                                                                                           ÿÿ.
                ÿ           (ÿ b)ÿ   ÿSecurity Deposit: $270,884.00ÿÿÿÿÿÿÿ
                                                                         ("Security Deposit").ÿÿ(SeeÿalsoÿParagraphÿ5)
                ÿ           (ÿ c)ÿ   ÿAssociationÿFees: $0.00ÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                         forÿtheÿperiodÿÿ                                                                                    ÿÿ
     ÿ                      (d)ÿ     ÿOther: $N/Aÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ ÿ
                                                                    forÿ ÿ                                                                                                   ÿÿ
                                                                                                                                                                           ÿÿÿ
                                                                                                                                                                             .
     ÿ          ÿ           (e)ÿ     ÿTotalÿDueÿUponÿExecutionÿofÿthisÿLease: $0.00ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ.


                1.7ÿ        ÿAgreedÿUse:ÿÿcastÿsteelÿfoundryÿoperation,ÿrelatedÿofficeÿfunctionsÿandÿanyÿotherÿÿÿÿ
     legallyÿpermittedÿusesÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ.ÿÿ                                               (Seeÿ alsoÿ Paragraphs 6
     andÿ53)
             1.8ÿ ÿInsuringÿParty: ÿÿLessor ÿLessee isÿtheÿÿ"InsuringÿParty" unlessÿotherwiseÿstatedÿherein.ÿÿ(SeeÿalsoÿParagraphÿ8)
                1.9         RealÿEstateÿBrokers: (SeeÿalsoÿParagraphÿ15)
                            (a)ÿ ÿRepresentation:ÿ T
                                                   ÿ heÿ followingÿ realÿ estateÿ brokersÿ (theÿ ÿ"Brokers")ÿ andÿ brokerageÿ relationshipsÿ existÿ inÿ thisÿ transactionÿ (check
     applicableÿboxes):
      ÿN/AÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿrepresentsÿLessorÿexclusivelyÿ("Lessor'sÿBroker");
      ÿN/Aÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                               representsÿLesseeÿexclusivelyÿ("Lessee'sÿBroker");ÿorÿ ÿ
      ÿN/Aÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                               representsÿbothÿLessorÿandÿLesseeÿ("DualÿAgency").
                            (b)ÿÿPaymentÿtoÿBrokers: UponÿexecutionÿandÿdeliveryÿofÿthisÿLeaseÿbyÿbothÿParties,ÿLessorÿshallÿpayÿtoÿtheÿBrokerÿtheÿfeeÿagreedÿto
                                                                                                       orÿÿN/Aÿÿÿÿÿÿÿÿÿ%ÿofÿtheÿtotalÿBaseÿRent)
     inÿtheirÿseparateÿwrittenÿagreementÿ(orÿifÿthereÿisÿnoÿsuchÿagreement,ÿtheÿsumÿofÿÿN/Aÿÿÿÿÿÿÿÿÿÿÿÿÿ
     forÿtheÿbrokerageÿservicesÿrenderedÿbyÿtheÿBrokers.
                1.10ÿ       ÿ uarantor. TheÿobligationsÿofÿtheÿLesseeÿunderÿthisÿLeaseÿareÿtoÿbeÿguaranteedÿbyÿÿ
                            G                                                                                                                                         ÿÿ
                                                                                                                                ("Guarantor").ÿÿÿ(SeeÿalsoÿParagraphÿ37)
                                                                                                                              ÿÿÿ
                1.11        Attachments. Attachedÿheretoÿareÿtheÿfollowing,ÿallÿofÿwhichÿconstituteÿaÿpartÿofÿthisÿLease:
      ÿÿanÿAddendum ÿAddendumsÿÿconsistingÿofÿParagraphsÿÿ51ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                           throughÿÿ60ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
                                                                                                    ;
      aÿplotÿplanÿdepictingÿtheÿPremises;
      aÿcurrentÿsetÿofÿtheÿRulesÿandÿRegulations;
      aÿWorkÿLetter;
      otherÿ(specify):ÿÿ                                                                                                                                                    ÿÿ
                                                                                                                                                                             ÿÿ
                                                                                                                                                                           ÿÿÿ.

     _________ÿ         ÿ                                                 PAGEÿ1ÿOFÿ18ÿ                                                                            _________
     _________ÿ         ÿ                                                                                                                                          _________
     INITIALSÿ          ÿ                                                                                                                                          INITIALS
                                                                                                                                    ÿ                  ÿ
Case:
 Case  19-04057
       19-40193          Doc#
                         Claim85        Filed:7 10/02/20
    ©2001ÿ-ÿAIRÿCOMMERCIALÿREALÿESTATEÿASSOCIATIONÿ
                                  2-1 Part          ÿ
                                                    Filed     Entered:Desc
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                                                                             Exhibit             Page 623 of
                                                                                           FORMÿSTN-11-8/08E
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                                                           26
                                                                Entered:
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     2.ÿ        Premises.
                2.1ÿ        ÿLetting. LessorÿherebyÿleasesÿtoÿLessee,ÿandÿLesseeÿherebyÿleasesÿfromÿLessor,ÿtheÿPremises,ÿforÿtheÿterm,ÿatÿtheÿrental,ÿand
     uponÿallÿofÿtheÿterms,ÿcovenantsÿandÿconditionsÿsetÿforthÿinÿthisÿLease.ÿÿWhileÿtheÿapproximateÿsquareÿfootageÿofÿtheÿPremisesÿmayÿhaveÿbeenÿusedÿin
     theÿmarketingÿofÿtheÿPremisesÿforÿpurposesÿofÿcomparison,ÿtheÿBaseÿRentÿstatedÿhereinÿisÿNOTÿtiedÿtoÿsquareÿfootageÿandÿisÿnotÿsubjectÿtoÿadjustment
     shouldÿtheÿactualÿsizeÿbeÿdeterminedÿtoÿbeÿdifferent.ÿÿÿÿNote:ÿLesseeÿisÿadvisedÿtoÿverify theÿactualÿsizeÿpriorÿtoÿexecutingÿthisÿLease.
                2.2ÿ        ÿCondition. LessorÿshallÿdeliverÿtheÿPremisesÿtoÿLesseeÿbroomÿcleanÿandÿfreeÿofÿdebrisÿonÿtheÿCommencementÿDateÿorÿtheÿEarly
     Possessionÿ Date,ÿ whicheverÿ firstÿ occursÿ ("Startÿ Date").,ÿ a
                                                                     ÿ nd,ÿ soÿ longÿ asÿ theÿ requiredÿ serviceÿ contractsÿ describedÿ inÿ Paragraphÿ 7.1(b)ÿ belowÿ are
     obtainedÿbyÿLesseeÿandÿinÿeffectÿwithinÿthirtyÿdaysÿfollowingÿtheÿStartÿDate,ÿwarrantsÿthatÿÿÿLessorÿmakesÿnoÿrepresentationÿorÿwarrantyÿthatÿÿthe
     existingÿelectrical,ÿplumbing,ÿfireÿsprinkler,ÿlighting,ÿheating,ÿventilatingÿandÿairÿconditioningÿsystemsÿ("HVAC"),ÿloadingÿdoors,ÿsumpÿpumps,ÿifÿany,ÿand
     allÿotherÿsuchÿelementsÿinÿtheÿPremises,ÿÿotherÿthanÿthoseÿconstructedÿbyÿLessee,ÿshallÿbeÿinÿgoodÿoperatingÿconditionÿonÿsaidÿdate,ÿthatÿtheÿstructural
     elementsÿofÿtheÿroof,ÿbearingÿwallsÿandÿfoundationÿofÿanyÿbuildingsÿonÿtheÿPremisesÿ(theÿÿ"Building")ÿshallÿbeÿfreeÿofÿmaterialÿdefects,ÿÿorÿÿand thatÿthe
     Premisesÿ doÿ notÿ containÿ hazardousÿ levelsÿ ofÿ anyÿ moldÿ orÿ fungiÿ definedÿ asÿ toxicÿ underÿ applicableÿ stateÿ orÿ federalÿ law.ÿ ÿIfÿ aÿ non-complianceÿ withÿ said
     warrantyÿ existsÿ asÿ ofÿ theÿ Startÿ Date,ÿ orÿ ifÿ oneÿ ofÿ suchÿ systemsÿ orÿ elementsÿ shouldÿ malfunctionÿ orÿ failÿ withinÿ theÿ appropriateÿ warrantyÿ period,ÿ Lessor
     shall,ÿasÿLessor'sÿsoleÿobligationÿwithÿrespectÿtoÿsuchÿmatter,ÿexceptÿasÿotherwiseÿprovidedÿinÿthisÿLease,ÿpromptlyÿafterÿreceiptÿofÿwrittenÿnoticeÿfrom
     Lesseeÿ settingÿ forthÿ withÿ specificityÿ theÿ natureÿ andÿ extentÿ ofÿ suchÿ non-compliance,ÿ malfunctionÿ orÿ failure,ÿ rectifyÿ sameÿ atÿ Lessor'sÿ expense.ÿ ÿ The
     warrantyÿ periodsÿ shallÿ beÿ asÿ follows:ÿ (i)ÿ 6ÿ monthsÿ asÿ toÿ theÿ HVACÿ systems,ÿ andÿ (ii)ÿ 30ÿ daysÿ asÿ toÿ theÿ remainingÿ systemsÿ andÿ otherÿ elementsÿ ofÿ the
     Building.ÿÿIfÿLesseeÿdoesÿnotÿgiveÿLessorÿtheÿrequiredÿnoticeÿwithinÿtheÿappropriateÿwarrantyÿperiod,ÿcorrectionÿofÿanyÿsuchÿnon-compliance,ÿmalfunction
     orÿfailureÿshallÿbeÿtheÿobligationÿofÿLesseeÿatÿLessee'sÿsoleÿcostÿandÿexpense.

             2.3ÿ    ÿCompliance. ÿÿLessorÿrepresentsÿandÿwarrantsÿthatÿuseÿofÿtheÿPremisesÿasÿaÿfoundryÿwithÿrelated
     officeÿandÿwarehouseÿuseÿisÿaÿpermittedÿuseÿwithinÿtheÿzoneÿwhereinÿtheÿPremisesÿisÿlocatedÿunderÿtheÿCityÿof
     Berkeleyÿordinances.ÿ ÿ Lessorÿ shallÿ obtainÿandÿdeliverÿtoÿLesseeÿpriorÿtoÿoccupancyÿaÿZoningÿResearchÿLetter
     fromÿtheÿCityÿofÿBerkeleyÿconfirmingÿthatÿsuchÿuseÿisÿpermitted.ÿÿIfÿrequiredÿbyÿtheÿCityÿofÿBerkeley,ÿLessorÿshall
     alsoÿobtainÿaÿcertificateÿofÿoccupancyÿwithÿrespectÿtoÿtheÿPremisesÿissuedÿbyÿtheÿCityÿofÿBerkeleyÿinÿconnection
     withÿ Lessee'sÿ occupancyÿ ofÿ theÿ Premises,ÿ andÿ shallÿ atÿ Lessor'sÿ expenseÿ addressÿ andÿ correctÿ anyÿ matters
     requiredÿbyÿtheÿCityÿinÿorderÿtoÿobtainÿtheÿCertificateÿofÿOccupancy.ÿÿExceptÿasÿprovidedÿabove.ÿÿÿLessor makesÿno
     representationÿorÿwarrantyÿthatÿÿ ÿwarrantsÿ thatÿ toÿ theÿ bestÿ ofÿ itsÿ knowledge theÿ improvementsÿ onÿ theÿ Premisesÿ complyÿ withÿÿthe buildingÿcodes,
     applicableÿlaws,ÿcovenantsÿorÿrestrictionsÿofÿrecord,ÿregulations,ÿandÿordinancesÿ("ApplicableÿRequirements") thatÿwereÿinÿeffectÿatÿtheÿtimeÿthatÿeach
     improvement,ÿorÿportionÿthereof,ÿwasÿconstructed.ÿÿSaidÿwarrantyÿdoesÿnotÿapplyÿtoÿtheÿuseÿtoÿwhichÿLesseeÿwillÿputÿtheÿPremises,ÿmodificationsÿwhich
     mayÿbeÿrequiredÿbyÿtheÿAmericansÿwithÿDisabilitiesÿActÿorÿanyÿsimilarÿlawsÿasÿaÿresultÿofÿLessee'sÿuseÿ(seeÿParagraphÿ50),ÿorÿtoÿanyÿAlterationsÿorÿUtility
     Installationsÿ(asÿdefinedÿinÿParagraphÿ7.3(a))ÿmadeÿorÿtoÿbeÿmadeÿbyÿLessee. ÿNOTE:ÿLesseeÿisÿresponsibleÿforÿdeterminingÿwhether
     orÿ notÿ theÿ Applicableÿ Requirements,ÿ andÿ especiallyÿ theÿ zoning,ÿ areÿ appropriateÿ forÿ Lessee'sÿ intendedÿ use,ÿ and
     acknowledgesÿthatÿpastÿusesÿofÿtheÿPremisesÿmayÿnoÿlongerÿbeÿallowed. ÿ ÿIfÿ theÿ Premisesÿ doÿ notÿ complyÿ withÿ saidÿ warranty,
     Lessorÿ shall,ÿ exceptÿ asÿ otherwiseÿ provided,ÿ promptlyÿ afterÿ receiptÿ ofÿ writtenÿ noticeÿ fromÿ Lesseeÿ settingÿ forthÿ withÿ specificityÿ theÿ natureÿ andÿ extentÿ of
     suchÿnon-compliance,ÿrectifyÿtheÿsameÿatÿLessor'sÿexpense. ÿIfÿLesseeÿdoesÿnotÿgiveÿLessorÿwrittenÿnoticeÿofÿaÿnon-complianceÿwithÿthisÿwarrantyÿwithin
     6ÿ monthsÿ followingÿ theÿ Startÿ Date,ÿ correctionÿ ofÿ thatÿ non-complianceÿ shallÿ beÿ theÿ obligationÿ ofÿ Lesseeÿ atÿ Lessee'sÿ soleÿ costÿ andÿ expense. ÿ ÿ ÿ ÿIfÿ the
     ApplicableÿRequirementsÿareÿhereafterÿchangedÿsoÿasÿtoÿrequireÿduringÿtheÿtermÿofÿthisÿLeaseÿtheÿconstructionÿofÿanÿadditionÿtoÿorÿanÿalterationÿofÿthe
     Premisesÿ and/orÿ Building,ÿ theÿ remediationÿ ofÿ anyÿ Hazardousÿ Substance,ÿ orÿ theÿ reinforcementÿ orÿ otherÿ physicalÿ modificationÿ ofÿ theÿ Unit,ÿ Premises
     and/orÿBuildingÿ("CapitalÿExpenditure"),ÿLessorÿandÿLesseeÿshallÿallocateÿtheÿcostÿofÿsuchÿworkÿasÿfollows:
                        (a)ÿSubjectÿtoÿParagraphÿ2.3(c)ÿbelow,ÿÿwhetherÿorÿnotÿÿif suchÿCapitalÿExpendituresÿareÿrequiredÿasÿaÿresultÿofÿtheÿspecificÿand
     uniqueÿuseÿofÿtheÿPremisesÿbyÿLesseeÿasÿcomparedÿwithÿusesÿbyÿtenantsÿinÿgeneral,ÿLesseeÿshallÿbeÿfullyÿresponsibleÿforÿtheÿcostÿthereof,ÿprovided,
     howeverÿthatÿifÿsuchÿCapitalÿExpenditureÿisÿrequiredÿduringÿtheÿlastÿ2ÿyearsÿofÿthisÿLeaseÿandÿtheÿcostÿthereofÿexceedsÿ6ÿmonths'ÿBaseÿRent,ÿLessee
     mayÿinsteadÿterminateÿthisÿLeaseÿunlessÿLessorÿnotifiesÿLessee,ÿinÿwriting,ÿwithinÿ10ÿdaysÿafterÿreceiptÿofÿLessee'sÿterminationÿnoticeÿthatÿLessorÿhas
     electedÿtoÿpayÿtheÿdifferenceÿbetweenÿtheÿactualÿcostÿthereofÿandÿanÿamountÿequalÿtoÿ6ÿmonths'ÿBaseÿRent.ÿÿIfÿLesseeÿelectsÿtermination,ÿLesseeÿshall
     immediatelyÿceaseÿtheÿuseÿofÿtheÿPremisesÿwhichÿrequiresÿsuchÿCapitalÿExpenditureÿandÿdeliverÿtoÿLessorÿwrittenÿnoticeÿspecifyingÿaÿterminationÿdateÿat
     leastÿ90ÿdaysÿthereafter.ÿÿSuchÿterminationÿdateÿshall,ÿhowever,ÿinÿnoÿeventÿbeÿearlierÿthanÿtheÿlastÿdayÿthatÿLesseeÿcouldÿlegallyÿutilizeÿtheÿPremises
     withoutÿcommencingÿsuchÿCapitalÿExpenditure.ÿ ÿ
                             (b)ÿÿIfÿsuchÿCapitalÿExpenditureÿisÿnotÿtheÿresultÿofÿtheÿspecificÿandÿuniqueÿuseÿofÿtheÿPremisesÿbyÿLesseeÿ(suchÿas,ÿgovernmentally
     mandatedÿseismicÿmodifications),ÿthenÿLessorÿshallÿpayÿforÿsuchÿCapitalÿExpenditureÿandÿLesseeÿshallÿonlyÿbeÿobligatedÿtoÿpay,ÿeachÿmonthÿduringÿthe
     remainderÿofÿtheÿtermÿofÿthisÿLeaseÿorÿanyÿextensionÿthereof,ÿonÿtheÿdateÿthatÿonÿwhichÿtheÿBaseÿRentÿisÿdue,ÿanÿamountÿequalÿtoÿ144thÿofÿtheÿportionÿof
     suchÿcostsÿreasonablyÿattributableÿtoÿtheÿPremises.ÿÿLesseeÿshallÿpayÿInterestÿonÿtheÿbalanceÿbutÿmayÿprepayÿitsÿobligationÿatÿanyÿtime.ÿIf,ÿhowever,
     suchÿCapitalÿExpenditureÿisÿrequiredÿduringÿtheÿlastÿ2ÿyearsÿofÿthisÿLeaseÿorÿifÿLessorÿreasonablyÿdeterminesÿthatÿitÿisÿnotÿeconomicallyÿfeasibleÿtoÿpay
     itsÿ shareÿ thereof,ÿ Lessorÿ shallÿ haveÿ theÿ optionÿ toÿ terminateÿ thisÿ Leaseÿ uponÿ 90ÿ daysÿ priorÿ writtenÿ noticeÿ toÿ Lesseeÿ unlessÿ Lesseeÿ notifiesÿ Lessor,ÿ in
     writing,ÿ withinÿ 10ÿ daysÿ afterÿ receiptÿ ofÿ Lessor'sÿ terminationÿ noticeÿ thatÿ Lesseeÿ willÿ payÿ forÿ suchÿ Capitalÿ Expenditure.ÿ Ifÿ Lessorÿ doesÿ notÿ electÿ to
     terminate,ÿandÿfailsÿtoÿtenderÿitsÿshareÿofÿanyÿsuchÿCapitalÿExpenditure,ÿLesseeÿmayÿadvanceÿsuchÿfundsÿandÿdeductÿsame,ÿwithÿInterest,ÿfromÿRent
     untilÿLessor'sÿshareÿofÿsuchÿcostsÿhaveÿbeenÿfullyÿpaid.ÿÿIfÿLesseeÿisÿunableÿtoÿfinanceÿLessor'sÿshare,ÿorÿifÿtheÿbalanceÿofÿtheÿRentÿdueÿandÿpayableÿfor
     theÿremainderÿofÿthisÿLeaseÿisÿnotÿsufficientÿtoÿfullyÿreimburseÿLesseeÿonÿanÿoffsetÿbasis,ÿLesseeÿshallÿhaveÿtheÿrightÿtoÿterminateÿthisÿLeaseÿuponÿ30
     daysÿwrittenÿnoticeÿtoÿLessor.
                             (c)ÿ Notwithstandingÿ theÿ above,ÿ theÿ provisionsÿ concerningÿ Capitalÿ Expendituresÿ areÿ intendedÿ toÿ applyÿ onlyÿ toÿ non-voluntary,
     unexpected,ÿ andÿ newÿ Applicableÿ Requirements.ÿ ÿ Ifÿ theÿ Capitalÿ Expendituresÿ areÿ insteadÿ triggeredÿ byÿ Lesseeÿ asÿ aÿ resultÿ ofÿ anÿ actualÿ orÿ proposed
     changeÿ inÿ use,ÿ changeÿ inÿ intensityÿ ofÿ use,ÿ orÿ modificationÿ toÿ theÿ Premisesÿ then,ÿ andÿ inÿ thatÿ event,ÿ Lesseeÿ shallÿ either:ÿ (i)ÿ immediatelyÿ ceaseÿ such
     changedÿ useÿ orÿ intensityÿ ofÿ useÿ and/orÿ takeÿ suchÿ otherÿ stepsÿ asÿ mayÿ beÿ necessaryÿ toÿ eliminateÿ theÿ requirementÿ forÿ suchÿ Capitalÿ Expenditure,ÿ orÿ (ii)
     completeÿsuchÿCapitalÿExpenditureÿatÿitsÿownÿexpense.ÿLesseeÿshallÿnot,ÿhowever,ÿhaveÿanyÿrightÿtoÿterminateÿthisÿLease.
                2.4ÿÿ       ÿAcknowledgements. Lesseeÿacknowledgesÿthat:ÿÿ(a)ÿitÿhasÿbeenÿgivenÿanÿopportunityÿtoÿinspectÿandÿmeasureÿtheÿPremises,ÿ(b)ÿit
     hasÿ beenÿ advisedÿ byÿ Lessorÿ ÿand/orÿ Brokers toÿ satisfyÿ itselfÿ withÿ respectÿ toÿ theÿ sizeÿ andÿ conditionÿ ofÿ theÿ Premisesÿ (includingÿ butÿ notÿ limitedÿ toÿ the



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     electrical,ÿHVACÿandÿfireÿsprinklerÿsystems,ÿsecurity,ÿenvironmentalÿÿaspects,ÿandÿcomplianceÿwithÿApplicableÿRequirementsÿandÿ theÿAmericansÿwith
     DisabilitiesÿAct),ÿandÿtheirÿsuitabilityÿforÿLessee'sÿintendedÿuse,ÿ(c)ÿLesseeÿhasÿmadeÿsuchÿinvestigationÿasÿitÿdeemsÿnecessaryÿwithÿreferenceÿtoÿsuch
     mattersÿandÿassumesÿallÿresponsibilityÿthereforÿasÿtheÿsameÿrelateÿtoÿitsÿoccupancyÿofÿtheÿPremises,ÿ(d)ÿitÿisÿnotÿrelyingÿonÿanyÿrepresentation regarding
     asÿtoÿtheÿsizeÿof theÿPremisesÿmadeÿby Brokersÿor Lessor,ÿexceptÿforÿtheÿrepresentationsÿsetÿforthÿinÿthisÿLease,ÿ(e)ÿtheÿsquareÿfootageÿofÿthe
     PremisesÿwasÿnotÿmaterialÿtoÿLessee'sÿdecisionÿtoÿleaseÿtheÿPremisesÿandÿpayÿtheÿRentÿstatedÿherein,ÿandÿ(f)ÿneitherÿLessor, nor Lessor'sÿagents,ÿÿnor
     Brokers haveÿ madeÿ anyÿ oralÿ orÿ writtenÿ representationsÿ orÿ warrantiesÿ withÿ respectÿ toÿ saidÿ mattersÿ otherÿ thanÿ asÿ setÿ forthÿ inÿ thisÿ Lease.ÿ ÿ ÿInÿ addition,
     Lessorÿ acknowledgesÿ that:ÿ (i)ÿ Brokersÿ haveÿ madeÿ noÿ representations,ÿ promisesÿ orÿ warrantiesÿ concerningÿ Lessee'sÿ abilityÿ toÿ honorÿ theÿ Leaseÿ or
     suitabilityÿtoÿoccupyÿtheÿPremises,ÿandÿ(ii)ÿitÿisÿLessor'sÿsoleÿresponsibilityÿtoÿinvestigateÿtheÿfinancialÿcapabilityÿand/orÿsuitabilityÿofÿallÿproposedÿtenants.
                2.5ÿ         ÿLesseeÿasÿPriorÿOwner/Occupant. TheÿwarrantiesÿmadeÿbyÿLessorÿinÿParagraphÿ2ÿshallÿbeÿofÿnoÿforceÿorÿeffectÿifÿimmediately
     priorÿtoÿtheÿStartÿDateÿLesseeÿwasÿtheÿownerÿorÿoccupantÿofÿtheÿPremises.ÿÿInÿsuchÿevent,ÿLesseeÿshallÿbeÿresponsibleÿforÿanyÿnecessaryÿcorrective
     work.


     3.ÿ        ÿ erm.
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                3.1ÿ         ÿTerm. TheÿCommencementÿDate,ÿExpirationÿDateÿandÿOriginalÿTermÿofÿthisÿLeaseÿareÿasÿspecifiedÿinÿParagraphÿ1.3.
                3.2ÿ         ÿEarly Possession. ÿÿAnyÿprovisionÿhereinÿgrantingÿLesseeÿEarlyÿPossessionÿofÿtheÿPremisesÿisÿsubjectÿtoÿandÿconditionedÿuponÿthe
     PremisesÿbeingÿavailableÿforÿsuchÿpossessionÿpriorÿtoÿtheÿCommencementÿDate.ÿÿAnyÿgrantÿofÿEarlyÿPossessionÿonlyÿconveysÿaÿnon-exclusiveÿrightÿto
     occupyÿtheÿPremises.ÿÿIfÿLesseeÿtotallyÿorÿpartiallyÿoccupiesÿtheÿPremisesÿpriorÿtoÿtheÿCommencementÿDate,ÿtheÿobligationÿtoÿpayÿBaseÿRentÿshallÿbe
     abatedÿforÿtheÿperiodÿofÿsuchÿEarlyÿPossession.ÿÿAllÿotherÿtermsÿofÿthisÿLeaseÿ(includingÿbutÿnotÿlimitedÿtoÿtheÿobligationsÿtoÿpayÿRealÿPropertyÿTaxes
     andÿinsuranceÿpremiumsÿandÿtoÿmaintainÿtheÿPremises)ÿshallÿbeÿinÿeffectÿduringÿsuchÿperiod.ÿÿAnyÿsuchÿEarlyÿPossessionÿshallÿnotÿaffectÿtheÿExpiration
     Date.
              3.3ÿ      ÿDelay InÿPossession. Lessorÿÿshall ÿagreesÿtoÿuseÿitsÿbestÿcommerciallyÿreasonableÿeffortsÿto deliverÿpossessionÿofÿtheÿPremises
     toÿLesseeÿbyÿtheÿCommencementÿDate.ÿÿIf,ÿdespiteÿsaidÿefforts,ÿLessorÿisÿunableÿtoÿdeliverÿpossessionÿbyÿsuchÿdate,ÿLessorÿshall not beÿsubjectÿtoÿÿany
     liabilityÿtherefor,ÿnorÿshallÿsuchÿfailureÿaffectÿtheÿvalidityÿofÿthisÿLease.ÿÿInÿadditionÿtoÿanyÿotherÿremediesÿavailableÿtoÿLessee,ÿÿLesseeÿshallÿnot,
     however, beÿobligatedÿtoÿpayÿRentÿorÿperformÿitsÿotherÿobligationsÿuntilÿLessorÿdeliversÿpossessionÿofÿtheÿPremisesÿandÿanyÿperiodÿofÿrentÿabatement
     thatÿ Lesseeÿ wouldÿ otherwiseÿ haveÿ enjoyedÿ shallÿ runÿ from theÿ dateÿ ofÿ deliveryÿ ofÿ possessionÿ andÿ continueÿ forÿ aÿ periodÿ equalÿ toÿ whatÿ Lesseeÿ would
     otherwiseÿhaveÿenjoyedÿunderÿtheÿtermsÿhereof,ÿbutÿminusÿanyÿdaysÿofÿdelayÿcausedÿbyÿtheÿactsÿorÿomissionsÿofÿLessee.ÿÿIfÿpossessionÿisÿnotÿdelivered
     withinÿ60ÿdaysÿafterÿtheÿCommencementÿDate,ÿLesseeÿmay,ÿatÿitsÿoption,ÿbyÿnoticeÿinÿwritingÿÿwithinÿ10ÿdays afterÿtheÿendÿofÿsuchÿ60ÿdayÿperiod,ÿcancel
     thisÿLease,ÿinÿwhichÿeventÿtheÿPartiesÿshallÿbeÿdischargedÿfromÿallÿobligationsÿhereunder.ÿÿÿIfÿsuchÿwrittenÿnoticeÿisÿnotÿreceivedÿbyÿLessorÿwithinÿsaidÿ10
     dayÿperiod,ÿLessee'sÿrightÿtoÿcancelÿshallÿterminate. ÿIfÿpossessionÿofÿtheÿPremisesÿisÿnotÿdeliveredÿwithinÿ120ÿdaysÿafterÿtheÿCommencementÿDate,ÿthis
     LeaseÿshallÿterminateÿunlessÿotherÿagreementsÿareÿreachedÿbetweenÿLessorÿandÿLessee,ÿinÿwriting.
                3.4ÿ         ÿLesseeÿCompliance. LessorÿshallÿnotÿbeÿrequiredÿtoÿdeliverÿpossessionÿofÿtheÿPremisesÿtoÿLesseeÿuntilÿLesseeÿcompliesÿwithÿits
     obligationÿ toÿ provideÿ evidenceÿ ofÿ insuranceÿ (Paragraphÿ 8.5).ÿ ÿ Pendingÿ deliveryÿ ofÿ suchÿ evidence,ÿ Lesseeÿ shallÿ beÿ requiredÿ toÿ performÿ allÿ ofÿ its
     obligationsÿ underÿ thisÿ Leaseÿ fromÿ andÿ afterÿ theÿ Startÿ Date,ÿ includingÿ theÿ paymentÿ ofÿ Rent,ÿ notwithstandingÿ Lessor'sÿ electionÿ toÿ withholdÿ possession
     pendingÿreceiptÿofÿsuchÿevidenceÿofÿinsurance.ÿÿFurther,ÿifÿLesseeÿisÿrequiredÿtoÿperformÿanyÿotherÿconditionsÿpriorÿtoÿorÿconcurrentÿwithÿtheÿStartÿDate,
     theÿStartÿDateÿshallÿoccurÿbutÿLessorÿmayÿelectÿtoÿwithholdÿpossessionÿuntilÿsuchÿconditionsÿareÿsatisfied.
     4.ÿ        ÿ ent.
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                4.1.ÿ        ÿ entÿDefined. AllÿmonetaryÿobligationsÿofÿLesseeÿtoÿLessorÿunderÿtheÿtermsÿofÿthisÿLeaseÿ(exceptÿforÿtheÿSecurityÿDeposit)ÿare
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     deemedÿtoÿbeÿrentÿ("Rent").
                4.2ÿÿ        ÿPayment.     LesseeÿshallÿcauseÿpaymentÿofÿRentÿtoÿbeÿreceivedÿbyÿLessorÿinÿlawfulÿmoneyÿofÿtheÿUnitedÿStates,ÿwithoutÿoffsetÿor
     deductionÿ(exceptÿasÿspecificallyÿpermittedÿinÿthisÿLease),ÿonÿorÿbeforeÿtheÿdayÿonÿwhichÿitÿisÿdue.ÿAllÿmonetaryÿamountsÿshallÿbeÿroundedÿtoÿtheÿnearest
     wholeÿdollar.ÿÿInÿtheÿeventÿthatÿanyÿinvoiceÿpreparedÿbyÿLessorÿisÿinaccurateÿsuchÿinaccuracyÿshallÿnotÿconstituteÿaÿwaiverÿandÿLesseeÿshallÿbeÿobligated
     toÿpayÿtheÿamountÿsetÿforthÿinÿthisÿLease.ÿÿRentÿforÿanyÿperiodÿduringÿtheÿtermÿhereofÿwhichÿisÿforÿlessÿthanÿoneÿfullÿcalendarÿmonthÿshallÿbeÿprorated
     basedÿuponÿtheÿactualÿnumberÿofÿdaysÿofÿsaidÿmonth.ÿÿPaymentÿofÿRentÿshallÿbeÿmadeÿtoÿLessorÿatÿitsÿaddressÿstatedÿhereinÿorÿtoÿsuchÿotherÿpersonsÿor
     placeÿasÿLessorÿmayÿfrom timeÿtoÿtimeÿdesignateÿinÿwriting.ÿÿAcceptanceÿofÿaÿpaymentÿwhichÿisÿlessÿthanÿtheÿamountÿthenÿdueÿshallÿnotÿbeÿaÿwaiverÿof
     Lessor'sÿrightsÿtoÿtheÿbalanceÿofÿsuchÿRent,ÿregardlessÿofÿLessor'sÿendorsementÿofÿanyÿcheckÿsoÿstating.ÿÿInÿtheÿeventÿthatÿanyÿcheck,ÿdraft,ÿorÿother
     instrumentÿofÿpaymentÿgivenÿbyÿLesseeÿtoÿLessorÿisÿdishonoredÿforÿanyÿreason,ÿLesseeÿagreesÿtoÿpayÿtoÿLessorÿtheÿsumÿofÿ$25ÿinÿadditionÿtoÿanyÿLate
     ChargeÿandÿLessor,ÿatÿitsÿoption,ÿmayÿrequireÿallÿfutureÿRentÿbeÿpaidÿbyÿcashier'sÿcheck.ÿÿPaymentsÿwillÿbeÿappliedÿfirstÿtoÿaccruedÿlateÿchargesÿand
     attorney'sÿfees,ÿsecondÿtoÿaccruedÿinterest,ÿthenÿtoÿBaseÿRent,ÿInsuranceÿandÿRealÿPropertyÿTaxes,ÿandÿanyÿremainingÿamountÿtoÿanyÿotherÿoutstanding
     chargesÿorÿcosts.
                ÿ4.3ÿ        ÿAssociationÿ Fees. Inÿ additionÿ toÿ theÿ Baseÿ Rent,ÿ Lesseeÿ shallÿ payÿ toÿ Lessorÿ eachÿ monthÿ anÿ amountÿ equalÿ toÿ anyÿ owner's
     associationÿorÿcondominiumÿfeesÿleviedÿorÿassessedÿagainstÿtheÿPremises.ÿÿSaidÿmoniesÿshallÿbeÿpaidÿatÿtheÿsameÿtimeÿandÿinÿtheÿsameÿmannerÿasÿthe
     BaseÿRent.
     5.       Security Deposit.ÿ ÿ Lesseeÿ shallÿ depositÿ withÿ Lessor ÿonÿ orÿ priorÿ toÿ theÿ Commencementÿ Date ÿuponÿ ÿ executionÿ hereof theÿ Security
     DepositÿasÿsecurityÿforÿLessee'sÿfaithfulÿperformanceÿofÿitsÿobligationsÿunderÿthisÿLease.ÿÿIfÿLesseeÿfailsÿtoÿpayÿRent,ÿorÿotherwiseÿDefaultsÿunderÿthis
     Lease,ÿLessorÿmayÿuse,ÿapplyÿorÿretainÿallÿorÿanyÿportionÿofÿsaidÿSecurityÿDepositÿforÿtheÿpaymentÿofÿanyÿamountÿalreadyÿdueÿLessor,ÿforÿRentsÿwhich
     willÿ beÿ dueÿ inÿ theÿ future,ÿ and/ÿ orÿ toÿ reimburseÿ orÿ compensateÿ Lessorÿ forÿ anyÿ liability,ÿ expense,ÿ lossÿ orÿ damageÿ whichÿ Lessorÿ mayÿ sufferÿ orÿ incurÿ by
     reasonÿthereof.ÿÿIfÿLessorÿusesÿorÿappliesÿallÿorÿanyÿportionÿofÿtheÿSecurityÿDeposit,ÿLesseeÿshallÿwithinÿ10ÿdaysÿafterÿwrittenÿrequestÿthereforÿdeposit
     moniesÿwithÿLessorÿsufficientÿtoÿrestoreÿsaidÿSecurityÿDepositÿtoÿtheÿfullÿamountÿrequiredÿbyÿthisÿLease.ÿÿIfÿtheÿBaseÿRentÿincreasesÿduringÿtheÿtermÿof
     thisÿLease,ÿLesseeÿshall,ÿuponÿwrittenÿrequestÿfromÿLessor,ÿdepositÿadditionalÿmoniesÿwithÿLessorÿsoÿthatÿtheÿtotalÿamountÿofÿtheÿSecurityÿDepositÿshall
     atÿallÿtimesÿbearÿtheÿsameÿproportionÿtoÿtheÿincreasedÿBaseÿRentÿasÿtheÿinitialÿSecurityÿDepositÿboreÿtoÿtheÿinitialÿBaseÿRent.ÿÿShouldÿtheÿAgreedÿUseÿbe
     amendedÿtoÿaccommodateÿaÿmaterialÿchangeÿinÿtheÿbusinessÿofÿLesseeÿorÿtoÿaccommodateÿaÿsublesseeÿorÿassignee,ÿLessorÿshallÿhaveÿtheÿrightÿto
     increaseÿtheÿSecurityÿDepositÿtoÿtheÿextentÿnecessary,ÿinÿLessor'sÿreasonableÿjudgment,ÿtoÿaccountÿforÿanyÿincreasedÿwearÿandÿtearÿthatÿtheÿPremises
     mayÿsufferÿasÿaÿresultÿthereof.ÿÿIfÿaÿchangeÿinÿcontrolÿofÿLesseeÿoccursÿduringÿthisÿLeaseÿandÿfollowingÿsuchÿchangeÿtheÿfinancialÿconditionÿofÿLesseeÿis,
     inÿ Lessor'sÿ reasonableÿ judgment,ÿ significantlyÿ reduced,ÿ Lesseeÿ shallÿ depositÿ suchÿ additionalÿ moniesÿ withÿ Lessorÿ asÿ shallÿ beÿ sufficientÿ toÿ causeÿ the
     Securityÿ Depositÿ toÿ beÿ atÿ aÿ commerciallyÿ reasonableÿ levelÿ basedÿ onÿ suchÿ changeÿ inÿ financialÿ condition. Lessorÿ shallÿ notÿ beÿ requiredÿ toÿ keepÿ the


     _________ÿ          ÿ                                               PAGEÿ3ÿOFÿ18ÿ                                                                               _________
     _________ÿ          ÿ                                                                                                                                           _________
     INITIALSÿ           ÿ                                                                                                                                           INITIALS
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Case:
 Case  19-04057
       19-40193          Doc#
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     SecurityÿDepositÿseparateÿfromÿitsÿgeneralÿaccounts.ÿWithinÿ90ÿdaysÿafterÿtheÿexpirationÿorÿterminationÿofÿthisÿLease,ÿLessorÿshallÿreturnÿthatÿportionÿof
     theÿ Securityÿ Depositÿ notÿ usedÿ orÿ appliedÿ byÿ Lessor.ÿ Noÿ partÿ ofÿ theÿ Securityÿ Depositÿ shallÿ beÿ consideredÿ toÿ beÿ heldÿ inÿ trust,ÿ toÿ bearÿ interestÿ orÿ toÿ be
     prepaymentÿforÿanyÿmoniesÿtoÿbeÿpaidÿbyÿLesseeÿunderÿthisÿLease.
     6.ÿ        ÿ se.
                U
                6.1ÿ        ÿUse.ÿÿLesseeÿshallÿuseÿandÿoccupyÿtheÿPremisesÿonlyÿforÿtheÿAgreedÿUse,ÿorÿanyÿotherÿlegalÿuseÿwhichÿisÿreasonablyÿcomparable
     thereto,ÿandÿforÿnoÿotherÿpurpose.ÿÿLesseeÿshallÿnotÿuseÿorÿpermitÿtheÿuseÿofÿtheÿPremisesÿinÿaÿmannerÿthatÿisÿunlawful,ÿcreatesÿdamage, ÿorÿÿwasteÿÿorÿa
     nuisance,ÿorÿthatÿdisturbsÿoccupantsÿofÿorÿcausesÿdamageÿtoÿneighboringÿpremisesÿorÿproperties.ÿÿOtherÿthanÿguide,ÿsignalÿandÿseeingÿeyeÿdogs,ÿLessee
     shallÿ notÿ keepÿ orÿ allowÿ inÿ theÿ Premisesÿ anyÿ pets,ÿ animals,ÿ birds,ÿ fish,ÿ orÿ reptiles. Lessorÿ shallÿ notÿ unreasonablyÿ withholdÿ orÿ delayÿ itsÿ consentÿ toÿ any
     writtenÿrequestÿforÿaÿmodificationÿofÿtheÿAgreedÿUse,ÿsoÿlongÿasÿtheÿsameÿwillÿnotÿimpairÿtheÿstructuralÿintegrityÿofÿtheÿimprovementsÿonÿtheÿPremisesÿor
     theÿmechanicalÿorÿelectricalÿsystemsÿtherein,ÿand/orÿisÿnotÿsignificantlyÿmoreÿburdensomeÿtoÿtheÿPremises.ÿÿIfÿLessorÿelectsÿtoÿwithholdÿconsent,ÿLessor
     shallÿwithinÿ7ÿdaysÿafterÿsuchÿrequestÿgiveÿwrittenÿnotificationÿofÿsame,ÿwhichÿnoticeÿshallÿincludeÿanÿexplanationÿofÿLessor'sÿobjectionsÿtoÿtheÿchangeÿin
     theÿAgreedÿUse.
                6.2ÿ        ÿHazardousÿSubstances.
                            (a)ÿ ÿReportableÿ Usesÿ Requireÿ Consent. Theÿ termÿ ÿ"Hazardousÿ Substance" asÿ usedÿ inÿ thisÿ Leaseÿ shallÿ meanÿ anyÿ product,
     substance,ÿ orÿ wasteÿ whoseÿ presence,ÿ use,ÿ manufacture,ÿ disposal,ÿ transportation,ÿ orÿ release,ÿ eitherÿ byÿ itselfÿ orÿ inÿ combinationÿ withÿ otherÿ materials
     expectedÿtoÿbeÿonÿtheÿPremises,ÿisÿeither:ÿ(i)ÿpotentiallyÿinjuriousÿtoÿtheÿpublicÿhealth,ÿsafetyÿorÿwelfare,ÿtheÿenvironmentÿorÿtheÿPremises,ÿ(ii)ÿregulated
     orÿmonitoredÿbyÿanyÿgovernmentalÿauthority,ÿorÿ(iii)ÿaÿbasisÿforÿpotentialÿliabilityÿofÿLessorÿtoÿanyÿgovernmentalÿagencyÿorÿthirdÿpartyÿunderÿanyÿapplicable
     statuteÿorÿcommonÿlawÿtheory.ÿÿHazardousÿSubstancesÿshallÿinclude,ÿbutÿnotÿbeÿlimitedÿto,ÿhydrocarbons,ÿpetroleum,ÿgasoline,ÿand/orÿcrudeÿoilÿorÿany
     products,ÿ by-productsÿ orÿ fractionsÿ thereof.ÿ ÿ Lesseeÿ shallÿ notÿ engageÿ inÿ anyÿ activityÿ inÿ orÿ onÿ theÿ Premisesÿ whichÿ constitutesÿ aÿ Reportableÿ Useÿ of
     Hazardousÿ Substancesÿ withoutÿ theÿ expressÿ priorÿ writtenÿ consentÿ ofÿ Lessorÿ andÿ timelyÿ complianceÿ (atÿ Lessee'sÿ expense)ÿ withÿ allÿ Applicable
     Requirements.ÿ ÿ ÿ"Reportableÿ Use" shallÿ meanÿ (i)ÿ theÿ installationÿ orÿ useÿ ofÿ anyÿ aboveÿ orÿ belowÿ groundÿ storageÿ tank,ÿ (ii)ÿ theÿ generation,ÿ possession,
     storage,ÿuse,ÿtransportation,ÿorÿdisposalÿofÿaÿHazardousÿSubstanceÿthatÿrequiresÿaÿpermitÿfrom,ÿorÿwithÿrespectÿtoÿwhichÿaÿreport,ÿnotice,ÿregistrationÿor
     businessÿplanÿisÿrequiredÿtoÿbeÿfiledÿwith,ÿanyÿgovernmentalÿauthority,ÿand/orÿ(iii)ÿtheÿpresenceÿatÿtheÿPremisesÿofÿaÿHazardousÿSubstanceÿwithÿrespect
     toÿ whichÿ anyÿ Applicableÿ Requirementsÿ requiresÿ thatÿ aÿ noticeÿ beÿ givenÿ toÿ personsÿ enteringÿ orÿ occupyingÿ theÿ Premisesÿ orÿ neighboringÿ properties.ÿ ÿ
     Notwithstandingÿ theÿ foregoing,ÿ ÿ Lesseeÿ mayÿ useÿ anyÿ ordinaryÿ andÿ customaryÿ materialsÿ reasonablyÿ requiredÿ toÿ beÿ usedÿ inÿ theÿ normalÿ courseÿ ofÿ the
     Agreedÿ Use,ÿ ordinaryÿ officeÿ suppliesÿ (copierÿ toner,ÿ liquidÿ paper,ÿ glue,ÿ etc.)ÿ andÿ commonÿ householdÿ cleaningÿ materials,ÿ soÿ longÿ asÿ suchÿ useÿ isÿ in
     complianceÿwithÿallÿApplicableÿRequirements,ÿisÿnotÿaÿReportableÿUse,ÿandÿdoesÿnotÿexposeÿtheÿPremisesÿorÿneighboringÿpropertyÿtoÿanyÿmeaningful
     riskÿofÿcontaminationÿorÿdamageÿorÿexposeÿLessorÿtoÿanyÿliabilityÿtherefor.ÿÿInÿaddition,ÿLessorÿmayÿconditionÿitsÿconsentÿtoÿanyÿReportableÿUseÿupon
     receivingÿsuchÿadditionalÿassurancesÿasÿLessorÿreasonablyÿdeemsÿnecessaryÿtoÿprotectÿitself,ÿtheÿpublic,ÿtheÿPremisesÿand/orÿtheÿenvironmentÿagainst
     damage,ÿcontamination,ÿinjuryÿand/orÿliability,ÿincluding,ÿbutÿnotÿlimitedÿto,ÿtheÿinstallationÿ(andÿremovalÿonÿorÿbeforeÿLeaseÿexpirationÿorÿtermination)ÿof

     protectiveÿ modificationsÿ (suchÿ asÿ concreteÿ encasements)ÿ and/orÿ increasingÿ theÿ Securityÿ Deposit. ÿ ÿNotwithstandingÿ anythingÿ toÿ the
     contraryÿinÿtheÿforegoing,ÿLessorÿisÿdeemedÿtoÿconsentÿtoÿReportableÿUsesÿofÿaÿkindÿandÿcharacterÿmadeÿinÿthe
     operationÿofÿtheÿsteelÿcastingsÿfoundryÿbusinessÿacquiredÿbyÿLesseeÿconcurrentlyÿwithÿthisÿLease,ÿsubjectÿto
     Lessee'sÿcontinuingÿobligationsÿtoÿcomplyÿwithÿallÿApplicableÿRequirementsÿinÿconnectionÿtherewith.
                            (b)ÿÿDuty toÿInformÿLessor.ÿÿIfÿLesseeÿknows,ÿorÿhasÿreasonableÿcauseÿtoÿbelieve,ÿthatÿaÿHazardousÿSubstanceÿhasÿcomeÿtoÿbe
     locatedÿin,ÿon,ÿunderÿorÿaboutÿtheÿPremises,ÿotherÿthanÿas ÿpreviouslyÿconsentedÿtoÿbyÿLessor,ÿLesseeÿshallÿimmediatelyÿgiveÿwrittenÿnoticeÿofÿsuchÿfact
     toÿLessor,ÿandÿprovideÿLessorÿwithÿaÿcopyÿofÿanyÿreport,ÿnotice,ÿclaimÿorÿotherÿdocumentationÿwhichÿitÿhasÿconcerningÿtheÿpresenceÿofÿsuchÿHazardous
     Substance.
                            (c)ÿÿLesseeÿRemediation. LesseeÿshallÿnotÿcauseÿorÿpermitÿanyÿHazardousÿSubstanceÿtoÿbeÿspilledÿorÿreleasedÿin,ÿon,ÿunder,ÿor
     aboutÿ theÿ Premisesÿ (includingÿ throughÿ theÿ plumbingÿ orÿ sanitaryÿ sewerÿ system)ÿ andÿ shallÿ promptly,ÿ atÿ Lessee'sÿ expense,ÿ complyÿ withÿ allÿ Applicable
     Requirementsÿandÿtakeÿallÿinvestigatoryÿand/orÿremedialÿactionÿreasonablyÿrecommended,ÿwhetherÿorÿnotÿformallyÿorderedÿorÿrequired,ÿforÿtheÿcleanup
     ofÿanyÿcontaminationÿof,ÿandÿforÿtheÿmaintenance,ÿsecurityÿand/orÿmonitoringÿofÿtheÿPremisesÿorÿneighboringÿproperties,ÿthatÿwasÿcausedÿorÿmaterially
     contributedÿ toÿ byÿ Lessee,ÿ orÿ pertainingÿ toÿ orÿ involvingÿ anyÿ Hazardousÿ Substanceÿ broughtÿ ontoÿ theÿ Premisesÿ duringÿ theÿ termÿ ofÿ thisÿ Lease,ÿ byÿ orÿ for
     Lessee,ÿorÿanyÿthirdÿparty.ÿÿ ÿ
                            (d)ÿÿLesseeÿIndemnification. Lesseeÿshallÿindemnify,ÿÿdefendÿandÿholdÿLessor,ÿitsÿagents,ÿemployees,ÿlendersÿandÿgroundÿlessor,
     ifÿ any,ÿ harmlessÿ fromÿ andÿ againstÿ anyÿ andÿ allÿ lossÿ ofÿ rentsÿ and/orÿ damages,ÿ liabilities,ÿ judgments,ÿ claims,ÿ expenses,ÿ penalties,ÿ andÿ attorneys'ÿ and

     consultants'ÿ feesÿ arisingÿ outÿ ofÿ orÿ involvingÿ anyÿ Hazardousÿ Substanceÿ broughtÿ ontoÿ theÿ Premisesÿ byÿ orÿ forÿ Lessee,ÿ orÿ anyÿ thirdÿ party d
                                                                                                                                                               ÿ uringÿthe
     termÿ hereof   (provided,ÿ however,ÿ thatÿ Lesseeÿ shallÿ haveÿ noÿ liabilityÿ underÿ thisÿ Leaseÿ withÿ respectÿ toÿ undergroundÿ migrationÿ ofÿ anyÿ Hazardous
     SubstanceÿunderÿtheÿPremisesÿfromÿadjacentÿpropertiesÿnotÿcausedÿorÿcontributedÿtoÿbyÿLessee).ÿÿLessee'sÿobligationsÿshallÿinclude,ÿbutÿnotÿbeÿlimited
     to,ÿ theÿ effectsÿ ofÿ anyÿ contaminationÿ orÿ injuryÿ toÿ person,ÿ propertyÿ orÿ theÿ environmentÿ createdÿ orÿ sufferedÿ byÿ Lessee,ÿ andÿ theÿ costÿ ofÿ investigation,
     removal,ÿ remediation,ÿ restorationÿ and/orÿ abatement,ÿ andÿ shallÿ surviveÿ theÿ expirationÿ orÿ terminationÿ ofÿ thisÿ Lease.ÿ ÿ ÿNoÿ termination,ÿ cancellationÿ or
     releaseÿagreementÿenteredÿintoÿby LessorÿandÿLesseeÿshallÿreleaseÿLesseeÿfromÿitsÿobligationsÿunderÿthisÿLeaseÿwithÿrespectÿtoÿHazardous
     Substances,ÿunlessÿspecifically soÿagreedÿby Lessorÿinÿwritingÿatÿtheÿtimeÿofÿsuchÿagreement.

                          ÿ essorÿ Indemnification. Lessorÿ andÿ itsÿ successorsÿ andÿ assignsÿ shallÿ indemnify,ÿ defend,
                     (e)ÿ L
     reimburseÿandÿholdÿLessee,ÿitsÿemployeesÿandÿlenders,ÿharmlessÿfromÿandÿagainstÿanyÿandÿallÿenvironmental
     damages,ÿ includingÿ theÿ costÿ of remediation,ÿ ÿ whichÿ resultÿ fromÿ ÿ"Undisclosedÿ Hazardousÿ Substances"ÿ asÿ defined
     belowÿinÿparagraphÿ56,ÿÿÿHazardousÿSubstancesÿwhichÿexistedÿonÿtheÿPremisesÿpriorÿtoÿLessee'sÿoccupancy or
     whichÿareÿcausedÿbyÿtheÿgrossÿnegligenceÿorÿwillfulÿmisconductÿof Lessor,ÿitsÿagentsÿorÿemployees.ÿÿLessor's
     obligations,ÿasÿandÿwhenÿrequiredÿbyÿtheÿApplicableÿRequirements,ÿshallÿinclude,ÿbutÿnotÿbeÿlimitedÿto,ÿtheÿcost
     ofÿ investigation,ÿ removal,ÿ remediation,ÿ restorationÿ and/orÿ abatement,ÿ andÿ shallÿ surviveÿ theÿ expirationÿ or
     terminationÿof thisÿLease. ÿÿLessorÿshallÿbeÿentitledÿtoÿaÿcreditÿagainstÿitsÿindemnificationÿobligationsÿunderÿthis
     Paragraphÿ6.2(e)ÿequalÿtoÿtheÿamountÿofÿanyÿpurchaseÿpriceÿreductionÿorÿotherÿeconomicÿbenefitÿreceivedÿby
     LesseeÿunderÿorÿpursuantÿtoÿtheÿAssetÿPurchaseÿAgreementÿ(asÿdescribedÿinÿParagraphÿ56)ÿwithÿrespectÿto
     theÿeventÿorÿcircumstanceÿgivingÿriseÿtoÿLessor'sÿindemnificationÿobligation.ÿÿÿÿ ÿ
     _________ÿ         ÿ                                                 PAGEÿ4ÿOFÿ18ÿ                                                                                 _________
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Case:
 Case  19-04057
       19-40193          Doc#
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                            (f)ÿ ÿInvestigationsÿ andÿ Remediations.          Lessorÿ shallÿ retainÿ theÿ responsibilityÿ andÿ payÿ forÿ anyÿ investigationsÿ orÿ remediation

     measuresÿrequiredÿbyÿgovernmentalÿentitiesÿhavingÿjurisdictionÿwithÿrespectÿtoÿtheÿexistenceÿofÿÿUndisclosedÿÿHazardousÿSubstancesÿonÿtheÿPremises
     priorÿtoÿLessee'sÿoccupancy,ÿÿunlessÿsuchÿremediationÿmeasureÿisÿrequiredÿasÿaÿresultÿofÿLessee'sÿuseÿ(includingÿ"Alterations",ÿasÿdefinedÿinÿparagraph
     7.3(a)ÿbelow)ÿofÿtheÿPremises, inÿwhichÿeventÿLesseeÿshallÿbeÿresponsibleÿforÿsuchÿpayment.ÿÿLesseeÿshallÿcooperateÿfullyÿinÿanyÿsuchÿactivitiesÿatÿthe
     requestÿofÿLessor,ÿincludingÿallowingÿLessorÿandÿLessor'sÿagentsÿtoÿhaveÿreasonableÿaccessÿtoÿtheÿPremisesÿatÿreasonableÿtimesÿinÿorderÿtoÿcarryÿout

     Lessor'sÿinvestigativeÿandÿremedialÿresponsibilities. ÿÿLessorÿshallÿbeÿentitledÿtoÿaÿcreditÿagainstÿitsÿpaymentÿobligationsÿunderÿthis
     Paragraphÿ 6.2(f)ÿ equalÿ toÿ theÿ amountÿ ofÿ anyÿ purchaseÿ priceÿ reductionÿ orÿ otherÿ economicÿ benefitÿ receivedÿ byÿ Lessee
     underÿ orÿ pursuantÿ toÿ theÿ Assetÿ Purchaseÿ Agreementÿ (asÿ describedÿ inÿ Paragraphÿ 56)ÿ withÿ respectÿ toÿ theÿ eventÿ or
     circumstanceÿgivingÿriseÿtoÿLessor'sÿpaymentÿobligation.ÿÿÿ
                      (g)ÿÿLessorÿTerminationÿOption. IfÿaÿHazardousÿSubstanceÿCondition ÿinvolvingÿanÿUndisclosed ÿHazardousÿSubstance
     (seeÿ Paragraphÿ 9.1(e))ÿ occursÿ duringÿ theÿ termÿ ofÿ thisÿ Lease,ÿ unlessÿ Lesseeÿ isÿ legallyÿ responsibleÿ thereforÿ (inÿ whichÿ caseÿ Lesseeÿ shallÿ makeÿ the
     investigationÿ andÿ remediationÿ thereofÿ requiredÿ byÿ theÿ Applicableÿ Requirementsÿ andÿ thisÿ Leaseÿ shallÿ continueÿ inÿ fullÿ forceÿ andÿ effect,ÿ butÿ subjectÿ to
     Lessor'sÿrightsÿunderÿParagraphÿ6.2(d)ÿandÿParagraphÿ13),ÿLessorÿÿshallÿÿmay,ÿatÿLessor'sÿoption,ÿeitherÿ(i)ÿinvestigateÿandÿremediateÿsuchÿHazardous
     SubstanceÿCondition,ÿifÿrequired,ÿasÿsoonÿasÿreasonablyÿpossibleÿatÿLessor'sÿexpense.,ÿinÿwhichÿeventÿthisÿLeaseÿshallÿcontinueÿinÿfullÿforceÿandÿeffect,

     orÿ(ii)ÿifÿtheÿestimatedÿcostÿtoÿremediateÿsuchÿconditionÿexceedsÿÿ12          ÿ18 ÿtimesÿtheÿthenÿmonthlyÿBaseÿRentÿorÿ$100,000,ÿwhichever
     isÿ greater,     giveÿ writtenÿ noticeÿ toÿ Lessee,ÿ withinÿ 30ÿ daysÿ afterÿ receiptÿ byÿ Lessorÿ ofÿ knowledgeÿ ofÿ theÿ occurrenceÿ ofÿ suchÿ Hazardousÿ Substance
     Condition,ÿ ofÿ Lessor'sÿ desireÿ toÿ terminateÿ thisÿ Leaseÿ asÿ ofÿ theÿ dateÿ 60ÿ daysÿ followingÿ theÿ dateÿ ofÿ suchÿ notice.ÿ ÿ Inÿ theÿ eventÿ Lessorÿ electsÿ toÿ giveÿ a
     terminationÿnotice,ÿLesseeÿmay,ÿwithinÿ10ÿdaysÿthereafter,ÿgiveÿwrittenÿnoticeÿtoÿLessorÿofÿLessee'sÿcommitmentÿtoÿpayÿtheÿamountÿbyÿwhichÿtheÿcostÿof

     theÿ remediationÿ ofÿ suchÿ Hazardousÿ Substanceÿ Conditionÿ exceedsÿ anÿ amountÿ equalÿ to ÿ ÿ12 ÿ18 ÿtimesÿ theÿ thenÿ monthlyÿ Baseÿ Rentÿ or
     $100,000,ÿwhicheverÿisÿgreater.ÿÿLesseeÿshallÿprovideÿLessorÿwithÿsaidÿfundsÿorÿsatisfactoryÿassuranceÿthereofÿwithinÿ30ÿdaysÿfollowingÿsuch
     commitment.ÿ ÿ Inÿ suchÿ event,ÿ thisÿ Leaseÿ shallÿ continueÿ inÿ fullÿ forceÿ andÿ effect,ÿ andÿ Lessorÿ shallÿ proceedÿ toÿ makeÿ suchÿ remediationÿ asÿ soonÿ as
     reasonablyÿpossibleÿafterÿtheÿrequiredÿfundsÿareÿavailable.ÿÿIfÿLesseeÿdoesÿnotÿgiveÿsuchÿnoticeÿandÿprovideÿtheÿrequiredÿfundsÿorÿassuranceÿthereof
     withinÿtheÿtimeÿprovided,ÿthisÿLeaseÿshallÿterminateÿasÿofÿtheÿdateÿspecifiedÿinÿLessor'sÿnoticeÿofÿtermination.
                6.3ÿ        ÿLessee'sÿ Complianceÿ withÿ Applicableÿ Requirements. Exceptÿ asÿ otherwiseÿ providedÿ inÿ thisÿ Lease,ÿ Lesseeÿ shall,ÿ atÿ Lessee's
     soleÿ expense,ÿ fully,ÿ diligentlyÿ andÿ inÿ aÿ timelyÿ manner,ÿ materiallyÿ complyÿ withÿ allÿ Applicableÿ Requirements,ÿ theÿ requirementsÿ ofÿ anyÿ applicableÿ fire
     insuranceÿ underwriterÿ orÿ ratingÿ bureau,ÿ andÿ theÿ recommendationsÿ ofÿ Lessor'sÿ engineersÿ and/orÿ consultantsÿ whichÿ relateÿ inÿ anyÿ mannerÿ toÿ theÿ such
     Requirements,ÿwithoutÿregardÿtoÿwhetherÿsuchÿRequirementsÿareÿnowÿinÿeffectÿorÿbecomeÿeffectiveÿafterÿtheÿStartÿDate.ÿÿLesseeÿshall,ÿwithinÿ10ÿdays
     afterÿ receiptÿ ofÿ Lessor''sÿ writtenÿ request,ÿ provideÿ Lessorÿ withÿ copiesÿ ofÿ allÿ permitsÿ andÿ otherÿ documents,ÿ andÿ otherÿ informationÿ evidencingÿ Lessee's
     complianceÿ withÿ anyÿ Applicableÿ Requirementsÿ specifiedÿ byÿ Lessor,ÿ andÿ shallÿ immediatelyÿ uponÿ receipt,ÿ notifyÿ Lessorÿ inÿ writingÿ (withÿ copiesÿ ofÿ any
     documentsÿinvolved)ÿofÿanyÿthreatenedÿorÿactualÿclaim,ÿnotice,ÿcitation,ÿwarning,ÿcomplaintÿorÿreportÿpertainingÿtoÿorÿinvolvingÿtheÿfailureÿofÿLesseeÿorÿthe
     PremisesÿtoÿcomplyÿwithÿanyÿApplicableÿRequirements. Likewise,ÿLesseeÿshallÿimmediatelyÿgiveÿwrittenÿnoticeÿtoÿLessorÿof:ÿ(i)ÿanyÿwaterÿdamageÿtoÿthe
     Premisesÿandÿanyÿsuspectedÿseepage,ÿpooling,ÿdampnessÿorÿotherÿconditionÿconduciveÿtoÿtheÿproductionÿofÿmold;ÿorÿ(ii)ÿanyÿmustinessÿorÿotherÿodors

     thatÿmightÿindicateÿtheÿpresenceÿofÿmoldÿinÿtheÿPremises. ÿÿNotwithstandingÿanythingÿtoÿtheÿcontraryÿinÿtheÿforegoing,ÿLessee
     shallÿnotÿbeÿrequiredÿtoÿremedyÿorÿtoÿexpendÿfundsÿtoÿcorrectÿanyÿviolationÿofÿApplicableÿRequirementsÿexisting
     onÿ theÿ Commencementÿ Dateÿ insofarÿ asÿ suchÿ remedyÿ orÿ correctionÿ wouldÿ requireÿ repair,ÿ alteration,ÿ or
     improvementÿofÿtheÿPremises,ÿwhichÿshallÿbeÿLessor'sÿsoleÿresponsibility.ÿÿÿ
                6.4ÿÿ       ÿInspection;ÿ Compliance. Lessorÿ andÿ Lessor''sÿ ÿ"Lender" (asÿ definedÿ inÿ Paragraphÿ 30)ÿ andÿ consultantsÿ shallÿ haveÿ theÿ rightÿ to
     enterÿintoÿPremisesÿatÿanyÿtime,ÿinÿtheÿcaseÿofÿanÿemergency,ÿandÿotherwiseÿatÿreasonableÿtimesÿafterÿreasonableÿnotice,ÿforÿtheÿpurposeÿofÿinspecting
     theÿconditionÿofÿtheÿPremisesÿandÿforÿverifyingÿcomplianceÿbyÿLesseeÿwithÿthisÿLease.ÿÿTheÿcostÿofÿanyÿsuchÿinspectionsÿshallÿbeÿpaidÿbyÿLessor,ÿunless
     aÿviolationÿofÿApplicableÿRequirements,ÿorÿaÿHazardousÿSubstanceÿConditionÿ(seeÿparagraphÿ9.1)ÿisÿfoundÿtoÿexistÿorÿbeÿimminent,ÿorÿtheÿinspectionÿis
     requestedÿorÿorderedÿbyÿaÿgovernmentalÿauthority asÿaÿresultÿofÿLessee'sÿspecificÿuseÿofÿtheÿPremises.ÿÿInÿsuchÿcase,ÿLesseeÿshallÿuponÿrequest
     reimburseÿLessorÿforÿtheÿcostÿofÿsuchÿinspection,ÿsoÿlongÿasÿsuchÿinspectionÿisÿreasonablyÿrelatedÿtoÿtheÿviolationÿorÿcontamination.ÿÿInÿaddition,ÿLessee
     shallÿprovideÿcopiesÿofÿallÿrelevantÿmaterialÿsafetyÿdataÿsheetsÿ(MSDS)ÿtoÿLessorÿwithinÿ10ÿdaysÿofÿtheÿreceiptÿofÿaÿwrittenÿrequestÿtherefor.ÿÿ ÿ
     7.ÿ        ÿ aintenance;ÿRepairs,ÿUtility Installations;ÿTradeÿFixturesÿandÿAlterations.
                M
                7.1ÿÿ       ÿLessee'sÿObligations.
                            (a)ÿÿIn General. SubjectÿtoÿtheÿprovisionsÿofÿParagraphÿ2.2ÿ(Condition),ÿ2.3ÿ(Compliance),ÿ6.3ÿ(Lessee'sÿComplianceÿwithÿApplicable
     Requirements), ÿ7.1(d)ÿ(Replacement), 7.2ÿ(Lessor'sÿObligations),ÿ9ÿ(DamageÿorÿDestruction),ÿandÿ14ÿ(Condemnation),ÿLesseeÿshall,ÿatÿLessee'sÿsole
     expense,ÿkeepÿtheÿPremises,ÿUtilityÿInstallationsÿ(intendedÿforÿLessee'sÿexclusiveÿuse,ÿnoÿmatterÿwhereÿlocated),ÿandÿAlterationsÿinÿgoodÿorder,ÿcondition
     andÿ repairÿ (whetherÿ orÿ notÿ theÿ portionÿ ofÿ theÿ Premisesÿ requiringÿ repairs,ÿ orÿ theÿ meansÿ ofÿ repairingÿ theÿ same,ÿ areÿ reasonablyÿ orÿ readilyÿ accessibleÿ to
     Lessee,ÿandÿwhetherÿorÿnotÿtheÿneedÿforÿsuchÿrepairsÿoccursÿasÿaÿresultÿofÿLessee'sÿuse,ÿanyÿpriorÿuse,ÿtheÿelementsÿorÿtheÿageÿofÿsuchÿportionÿofÿthe
     Premises),ÿ including,ÿ butÿ notÿ limitedÿ to,ÿ allÿ equipmentÿ orÿ facilities,ÿ suchÿ asÿ plumbing,ÿ HVACÿ equipment,ÿ electrical,ÿ lightingÿ facilities,ÿ boilers,ÿ pressure
     vessels,ÿfireÿprotectionÿsystem,ÿfixtures,ÿwallsÿ(interiorÿandÿexterior),ÿfoundations,ÿceilings,ÿroofs,ÿroofÿdrainageÿsystems,ÿfloors,ÿwindows,ÿdoors,ÿplate
     glass,ÿ skylights,ÿ landscaping,ÿ driveways,ÿ parkingÿ lots,ÿ fences,ÿ retainingÿ walls,ÿ signs,ÿ sidewalksÿ andÿ parkwaysÿ locatedÿ in,ÿ on,ÿ orÿ adjacentÿ toÿ the
     Premises.ÿ Lessee,ÿ inÿ keepingÿ theÿ Premisesÿ inÿ goodÿ order,ÿ conditionÿ andÿ repair,ÿ shallÿ exerciseÿ andÿ performÿ goodÿ maintenanceÿ practices,ÿ specifically
     includingÿtheÿprocurementÿandÿmaintenanceÿofÿtheÿserviceÿcontractsÿrequiredÿbyÿParagraphÿ7.1(b)ÿbelow.ÿLessee'sÿobligationsÿshallÿincludeÿrestorations,
     replacementsÿorÿrenewalsÿwhenÿnecessaryÿtoÿkeepÿtheÿPremisesÿandÿallÿimprovementsÿthereonÿorÿaÿpartÿthereofÿinÿgoodÿorder,ÿconditionÿandÿstateÿof
     repair.ÿÿLesseeÿshall,ÿduringÿtheÿtermÿofÿthisÿLease,ÿkeepÿtheÿexteriorÿappearanceÿofÿtheÿBuildingÿin                 good ÿaÿfirst-class conditionÿ(including,ÿe.g.ÿgraffiti
     removal)ÿconsistentÿwithÿÿpastÿpracticesÿandÿÿtheÿexteriorÿappearanceÿofÿotherÿsimilarÿfacilitiesÿofÿcomparableÿageÿandÿsizeÿinÿtheÿvicinity,ÿincluding,
     whenÿ necessary,ÿ theÿ exteriorÿ repaintingÿ ofÿ theÿ Building. ÿ ÿNotwithstandingÿanythingÿtoÿtheÿcontraryÿinÿtheÿforegoing,ÿLessee
     hasÿacceptedÿtheÿPremisesÿwithoutÿLessorÿwarrantiesÿasÿtoÿconditionÿandÿrepairÿandÿintendsÿtoÿoperateÿits
     steelÿ castingsÿ businessÿ inÿ theÿ currentÿ conditionÿ andÿ stateÿ ofÿ repairÿ ofÿ theÿ Premises.ÿ ÿ Lesseeÿ reserves
     discretionÿtoÿconductÿmaintenanceÿandÿrepairÿinÿaccordanceÿwithÿitsÿownÿoperatingÿneedsÿandÿpracticesÿand
     needÿnotÿcomplyÿwithÿanyÿLessorÿrequestsÿforÿrepair,ÿreplacementÿorÿandÿmaintenanceÿofÿparticularÿitemsÿas

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     INITIALSÿ          ÿ                                                                                                                                              INITIALS
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       19-40193          Doc#
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     theyÿexistÿonÿtheÿCommencementÿDate,ÿexceptÿtoÿtheÿextentÿtheÿrequestedÿitemsÿareÿreasonablyÿexpectedÿto
     adverselyÿaffectÿhealthÿandÿsafetyÿofÿoccupantsÿandÿinviteesÿofÿtheÿPremises.ÿÿ ÿ

                ÿ           (ÿ b)ÿ ÿServiceÿ Contracts.    Lesseeÿ shall,ÿ atÿ Lessee'sÿ soleÿ expense,ÿ procureÿ andÿ maintainÿ contracts,ÿ withÿ copiesÿ toÿ Lessor,ÿ in
     customaryÿ formÿ andÿ substanceÿ for,ÿ andÿ withÿ contractorsÿ specializingÿ andÿ experiencedÿ inÿ theÿ maintenanceÿ ofÿ theÿ followingÿ equipmentÿ and
     improvements,ÿ ifÿ any,ÿ ifÿ andÿ whenÿ installedÿ onÿ theÿ Premises:ÿ ÿ (i)ÿ HVACÿ equipment,ÿ (ii)ÿ boiler,ÿ andÿ pressureÿ vessels,ÿ (iii)ÿ fireÿ extinguishingÿ systems,
     includingÿfireÿalarmÿand/orÿsmokeÿdetection,ÿ(iv)ÿlandscapingÿandÿirrigationÿsystems,ÿ(v)ÿroofÿcoveringÿandÿdrains,ÿandÿ(vi)ÿclarifiers.ÿHowever,ÿLessor
     reservesÿ theÿ right,ÿ uponÿ noticeÿ toÿ Lessee,ÿ toÿ procureÿ andÿ maintainÿ anyÿ orÿ allÿ ofÿ suchÿ serviceÿ contracts,ÿ andÿ ÿ Lesseeÿ shallÿ reimburseÿ Lessor,ÿ upon
     demand,ÿforÿtheÿcostÿthereof.
                      (c)ÿÿFailureÿ toÿ Perform. IfÿLesseeÿfailsÿtoÿperformÿLessee'sÿobligationsÿunderÿthisÿParagraphÿ7.1 ÿafterÿwrittenÿnoticeÿandÿa
     reasonableÿ opportunityÿ toÿ cure,ÿ Lessorÿ mayÿ enterÿ uponÿ theÿ Premisesÿ afterÿ 10ÿ days'ÿ priorÿ writtenÿ noticeÿ toÿ Lesseeÿ (exceptÿ inÿ theÿ caseÿ ofÿ an
     emergency,ÿinÿwhichÿcaseÿnoÿnoticeÿshallÿbeÿrequired),ÿperformÿsuchÿobligationsÿonÿLessee'sÿbehalf,ÿandÿputÿtheÿPremisesÿinÿgoodÿorder,ÿconditionÿand

     repair,ÿ andÿ Lesseeÿ shallÿ promptlyÿ payÿ toÿ Lessorÿ aÿ sumÿ equalÿ to 115% ÿ100%ÿ o
                                                                                           ÿ fÿ theÿ costÿ thereof. ÿ N
                                                                                                                      ÿ otwithstandingÿ anythingÿ toÿ the
     contraryÿinÿtheÿforegoing,ÿLessorÿshallÿnotÿhaveÿtheÿrightÿtoÿmakeÿmaintenanceÿorÿrepairsÿofÿanyÿitemÿwhich
     Lessee,ÿinÿtheÿproperÿexerciseÿofÿitsÿdiscretionÿunderÿSectionÿ7.1(a),ÿchoosesÿnotÿtoÿmakeÿorÿtoÿdeferÿtoÿaÿlater
     time.ÿÿÿ
                            (d)ÿÿReplacement. SubjectÿtoÿLessee'sÿindemnificationÿofÿLessorÿasÿsetÿforthÿinÿParagraphÿ8.7ÿbelow,ÿandÿwithoutÿrelievingÿLessee
     ofÿ liabilityÿ resultingÿ fromÿ Lessee'sÿ failureÿ toÿ exerciseÿ andÿ performÿ goodÿ maintenanceÿ practices,ÿ ifÿ anÿ itemÿ ÿdescribedÿ inÿ Paragraphÿ 7.1(b)ÿ ÿcannotÿ be
     repairedÿotherÿthanÿatÿaÿcostÿwhichÿisÿinÿexcessÿofÿ50%ÿofÿtheÿcostÿofÿreplacingÿsuchÿitem,ÿthenÿsuchÿitemÿshallÿbeÿreplacedÿbyÿLessor,ÿandÿtheÿcost
     thereofÿshallÿbeÿproratedÿbetweenÿtheÿPartiesÿandÿLesseeÿshallÿonlyÿbeÿobligatedÿtoÿpay,ÿeachÿmonthÿduringÿtheÿremainderÿofÿtheÿtermÿofÿthisÿLease,ÿon
     theÿdateÿonÿwhichÿBaseÿRentÿisÿdue,ÿanÿamountÿequalÿtoÿtheÿproductÿofÿmultiplyingÿtheÿcostÿofÿsuchÿreplacementÿbyÿaÿfraction,ÿtheÿnumeratorÿofÿwhichÿis
     one,ÿandÿtheÿdenominatorÿofÿwhichÿisÿ144ÿ(ie.ÿ1/144thÿofÿtheÿcostÿperÿmonth).ÿÿLesseeÿshallÿpayÿInterestÿonÿtheÿunamortizedÿbalanceÿÿbutÿmayÿprepayÿits
     obligationÿatÿanyÿtime.
              7.2ÿ      ÿLessor'sÿ Obligations. Subjectÿ toÿ theÿ provisionsÿ ofÿ Paragraphsÿ 2.2ÿ (Condition),ÿ 2.3ÿ (Compliance), 7           ÿ .1(d)ÿ (Replacement), 9
     (Damageÿ orÿ Destruction)ÿ andÿ 14ÿ (Condemnation),ÿ itÿ isÿ intendedÿ byÿ theÿ Partiesÿ heretoÿ thatÿ Lessorÿ haveÿ noÿ obligation,ÿ inÿ anyÿ mannerÿ whatsoever,ÿ to
     repairÿ andÿ maintainÿ theÿ Premises,ÿ orÿ theÿ equipmentÿ therein,ÿ allÿ ofÿ whichÿ obligationsÿ areÿ intendedÿ toÿ beÿ thatÿ ofÿ theÿ Lessee.ÿ ÿ Itÿ isÿ theÿ intentionÿ ofÿ the
     PartiesÿthatÿtheÿtermsÿofÿthisÿLeaseÿgovernÿtheÿrespectiveÿobligationsÿofÿtheÿPartiesÿasÿtoÿmaintenanceÿandÿrepairÿofÿtheÿPremises,ÿandÿtheyÿexpressly
     waiveÿtheÿbenefitÿofÿanyÿstatuteÿnowÿorÿhereafterÿinÿeffectÿtoÿtheÿextentÿitÿisÿinconsistentÿwithÿtheÿtermsÿofÿthisÿLease.
                7.3ÿ        ÿUtility Installations;ÿTradeÿFixtures;ÿAlterations.
                            (a)ÿÿDefinitions. Theÿtermÿ"Utility Installations"ÿrefersÿtoÿallÿfloorÿandÿwindowÿcoverings,ÿairÿand/orÿvacuumÿlines,ÿpowerÿpanels,
     electricalÿdistribution,ÿsecurityÿandÿfireÿprotectionÿsystems,ÿcommunicationÿcabling,ÿlightingÿfixtures,ÿHVACÿequipment,ÿplumbing,ÿandÿfencingÿinÿorÿon
     theÿPremises.ÿÿTheÿtermÿÿ"TradeÿFixtures"ÿÿshallÿmeanÿLessee'sÿmachineryÿandÿequipmentÿthatÿcanÿbeÿremovedÿwithoutÿdoingÿmaterialÿdamageÿtoÿthe
     Premises.ÿ ÿ Theÿ termÿ ÿ"Alterations" shallÿ meanÿ anyÿ modificationÿ ofÿ theÿ improvements,ÿ otherÿ thanÿ Utilityÿ Installationsÿ orÿ Tradeÿ Fixtures,ÿ whetherÿ by
     additionÿorÿdeletion.ÿÿ"LesseeÿOwnedÿAlterationsÿand/orÿUtility Installations"ÿareÿdefinedÿasÿAlterationsÿand/orÿUtilityÿInstallationsÿmadeÿbyÿLessee
     thatÿareÿnotÿyetÿownedÿbyÿLessorÿpursuantÿtoÿParagraphÿ7.4(a).ÿÿ ÿ
                            (b)ÿÿConsent. LesseeÿshallÿnotÿmakeÿanyÿAlterationsÿorÿUtilityÿInstallationsÿtoÿtheÿPremisesÿwithoutÿLessor'sÿpriorÿwrittenÿconsent.ÿ ÿ
     Lesseeÿmay,ÿhowever,ÿmakeÿnon-structuralÿAlterationsÿorÿUtilityÿInstallationsÿtoÿtheÿinteriorÿofÿtheÿPremisesÿ(excludingÿtheÿroof)ÿwithoutÿsuchÿconsentÿbut
     uponÿnoticeÿtoÿLessor,ÿasÿlongÿasÿtheyÿareÿnotÿvisibleÿfromÿtheÿoutside,ÿdoÿnotÿinvolveÿpuncturing,ÿrelocatingÿorÿremovingÿtheÿroofÿorÿanyÿexistingÿwalls,
     willÿ notÿ affectÿ theÿ electrical,ÿ plumbing,ÿ HVAC,ÿ and/orÿ lifeÿ safetyÿ systems,ÿ andÿ theÿ cumulativeÿ costÿ thereofÿ duringÿ thisÿ Leaseÿ asÿ extendedÿ doesÿ not
     exceedÿ aÿ sumÿ equalÿ toÿ 3ÿ month'sÿ Baseÿ Rentÿ inÿ theÿ aggregateÿ orÿ aÿ sumÿ equalÿ toÿ oneÿ month'sÿ Baseÿ Rentÿ ÿ inÿ anyÿ oneÿ year.ÿ ÿ N
                                                                                                                                                      ÿ otwithstandingÿ the
     foregoing,ÿLesseeÿshallÿnotÿmakeÿorÿpermitÿanyÿroofÿpenetrationsÿand/orÿinstallÿanythingÿonÿtheÿroofÿwithoutÿtheÿpriorÿwrittenÿapprovalÿofÿLessor. Lessor
     may,ÿasÿaÿpreconditionÿtoÿgrantingÿsuchÿapproval,ÿrequireÿLesseeÿtoÿutilizeÿaÿcontractorÿchosenÿand/orÿapprovedÿbyÿLessor.ÿÿAnyÿAlterationsÿorÿUtility
     Installationsÿ thatÿ Lesseeÿ shallÿ desireÿ toÿ makeÿ andÿ whichÿ requireÿ theÿ consentÿ ofÿ theÿ Lessorÿ shallÿ beÿ presentedÿ toÿ Lessorÿ inÿ writtenÿ formÿ withÿ detailed
     plans.ÿÿConsentÿshallÿbeÿdeemedÿconditionedÿuponÿLessee's:ÿÿ(i)ÿacquiringÿallÿapplicableÿgovernmentalÿpermits,ÿ(ii)ÿfurnishingÿLessorÿwithÿcopiesÿofÿboth
     theÿ permitsÿ andÿ theÿ plansÿ andÿ specificationsÿ priorÿ toÿ commencementÿ ofÿ theÿ work,ÿ andÿ (iii)ÿ complianceÿ withÿ allÿ conditionsÿ ofÿ saidÿ permitsÿ andÿ other
     ApplicableÿRequirementsÿinÿaÿpromptÿandÿexpeditiousÿmanner.ÿÿAnyÿAlterationsÿorÿUtilityÿInstallationsÿshallÿbeÿperformedÿinÿaÿworkmanlikeÿmannerÿwith
     goodÿandÿsufficientÿmaterials.ÿÿLesseeÿshallÿpromptlyÿuponÿcompletionÿfurnishÿLessorÿwithÿas-builtÿplansÿandÿspecifications. Forÿworkÿwhichÿcostsÿan
     amountÿinÿexcessÿofÿoneÿmonth'sÿBaseÿRent,ÿLessorÿmayÿconditionÿitsÿconsentÿuponÿLesseeÿprovidingÿaÿlienÿandÿcompletionÿbondÿinÿanÿamountÿequal
     toÿ150%ÿofÿtheÿestimatedÿcostÿofÿsuchÿAlterationÿorÿUtilityÿInstallationÿand/orÿuponÿLessee'sÿpostingÿanÿadditionalÿSecurityÿDepositÿwithÿLessor.
                            (c)ÿÿLiens;ÿBonds. Lesseeÿshallÿpay,ÿwhenÿdue,ÿallÿclaimsÿforÿlaborÿorÿmaterialsÿfurnishedÿorÿallegedÿtoÿhaveÿbeenÿfurnishedÿtoÿor
     forÿLesseeÿatÿorÿforÿuseÿonÿtheÿPremises,ÿwhichÿclaimsÿareÿorÿmayÿbeÿsecuredÿbyÿanyÿmechanic'sÿorÿmaterialmen'sÿlienÿagainstÿtheÿPremisesÿorÿany
     interestÿ therein.ÿ ÿ Lesseeÿ shallÿ giveÿ Lessorÿ notÿ lessÿ thanÿ 10ÿ daysÿ noticeÿ priorÿ toÿ theÿ commencementÿ ofÿ anyÿ workÿ in,ÿ onÿ orÿ aboutÿ theÿ Premises,ÿ and
     Lessorÿ shallÿ haveÿ theÿ rightÿ toÿ postÿ noticesÿ ofÿ non-responsibility.ÿ ÿ Ifÿ Lesseeÿ shallÿ contestÿ theÿ validityÿ ofÿ anyÿ suchÿ lien,ÿ claimÿ orÿ demand,ÿ thenÿ Lessee
     shall,ÿatÿitsÿsoleÿexpenseÿdefendÿandÿprotectÿitself,ÿLessorÿandÿtheÿPremisesÿagainstÿtheÿsameÿandÿshallÿpayÿandÿsatisfyÿanyÿsuchÿadverseÿjudgmentÿthat
     mayÿbeÿrenderedÿthereonÿbeforeÿtheÿenforcementÿthereof.ÿÿIfÿLessorÿshallÿrequire,ÿLesseeÿshallÿfurnishÿaÿsuretyÿbondÿinÿanÿamountÿequalÿtoÿ150%ÿofÿthe
     amountÿofÿsuchÿcontestedÿlien,ÿclaimÿorÿdemand,ÿindemnifyingÿLessorÿagainstÿliabilityÿforÿtheÿsame.ÿÿIfÿLessorÿelectsÿtoÿparticipateÿinÿanyÿsuchÿaction,
     LesseeÿshallÿpayÿLessor'sÿattorneys'ÿfeesÿandÿcosts.
                7.4ÿ        ÿOwnership;ÿRemoval;ÿSurrender;ÿandÿRestoration.
                                                                                                                                                           ÿ llÿÿAlterationsÿ and
                            (a)ÿ ÿOwnership. ÿ ÿSubjectÿ toÿ Lessor'sÿ rightÿ toÿ requireÿ removalÿ orÿ electÿ ownershipÿ asÿ hereinafterÿ provided,ÿ allÿ A
     UtilityÿInstallationsÿmadeÿbyÿLesseeÿshallÿbeÿtheÿpropertyÿofÿLessee,ÿbutÿconsideredÿaÿpartÿofÿtheÿPremises.ÿÿÿLessorÿmay,ÿatÿanyÿtime,ÿelectÿinÿwritingÿto
     beÿ theÿ ownerÿ ofÿ allÿ orÿ anyÿ specifiedÿ partÿ ofÿ theÿ Lesseeÿ Ownedÿ Alterationsÿ andÿ Utilityÿ Installations.ÿ ÿ Unlessÿ otherwiseÿ instructedÿ perÿ paragraphÿ 7.4(b)
     hereof,ÿall ÿAllÿÿLesseeÿOwnedÿAlterationsÿandÿUtilityÿInstallationsÿshall,ÿatÿtheÿexpirationÿorÿterminationÿofÿthisÿLease,ÿbecomeÿtheÿpropertyÿofÿLessorÿand
     beÿsurrenderedÿbyÿLesseeÿwithÿtheÿPremises.
                ÿ           (ÿ b)ÿÿRemoval.ÿÿByÿdeliveryÿtoÿLesseeÿofÿwrittenÿnoticeÿfromÿLessorÿnotÿearlierÿthanÿ90ÿandÿnotÿlaterÿthanÿ30ÿdaysÿpriorÿtoÿtheÿendÿof



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       19-40193          Doc#
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     theÿtermÿofÿthisÿLease,ÿLessorÿmayÿrequireÿthatÿanyÿorÿallÿLesseeÿOwnedÿAlterationsÿorÿUtilityÿInstallationsÿbeÿremovedÿbyÿtheÿexpirationÿorÿterminationÿof
     thisÿ Lease.ÿ ÿ Lessorÿ mayÿ requireÿ theÿ removalÿ atÿ anyÿ timeÿ ofÿ allÿ orÿ anyÿ partÿ ofÿ anyÿ Lesseeÿ Ownedÿ Alterationsÿ orÿ Utilityÿ Installationsÿ madeÿ withoutÿ the
     requiredÿconsent.
                            (c)ÿÿSurrender;ÿRestoration. LesseeÿshallÿsurrenderÿtheÿPremisesÿbyÿtheÿExpirationÿDateÿorÿanyÿearlierÿterminationÿdate,ÿwithÿallÿof

     theÿ improvements,ÿ partsÿ andÿ surfacesÿ thereofÿ broomÿ cleanÿ andÿ freeÿ ofÿ debris,ÿ andÿ inÿ goodÿ operatingÿ order,ÿ conditionÿ andÿ stateÿ ofÿ repair,ÿ b
                                                                                                                                                                    ÿ utÿno
     betterÿthanÿtheÿconditionÿandÿstateÿofÿrepairÿonÿtheÿCommencementÿDate,ÿÿordinaryÿwearÿandÿtearÿexcepted.ÿÿ"Ordinaryÿwear
     andÿtear"ÿshallÿnotÿincludeÿanyÿdamageÿorÿdeteriorationÿthatÿwouldÿhaveÿbeenÿpreventedÿbyÿgoodÿmaintenanceÿpractice.ÿÿÿNotwithstandingÿtheÿforegoing,
     ifÿthisÿLeaseÿisÿforÿ12ÿmonthsÿorÿless,ÿthenÿLesseeÿshallÿsurrenderÿtheÿPremisesÿinÿtheÿsameÿconditionÿasÿdeliveredÿtoÿLesseeÿonÿtheÿStartÿDateÿwithÿNO
     allowanceÿ forÿ ordinaryÿ wearÿ andÿ tear.ÿ ÿ Lesseeÿ shallÿ repairÿ anyÿ damageÿ occasionedÿ byÿ theÿ installation,ÿ maintenanceÿ orÿ removalÿ ofÿ Tradeÿ Fixtures,
     LesseeÿownedÿAlterationsÿand/orÿUtilityÿInstallations,ÿfurnishings,ÿandÿequipmentÿasÿwellÿasÿtheÿremovalÿofÿanyÿstorageÿtankÿinstalledÿbyÿorÿforÿLessee.ÿ ÿ
     Lesseeÿshallÿÿcompletely removeÿfromÿtheÿPremisesÿanyÿandÿallÿHazardousÿSubstancesÿbroughtÿontoÿtheÿPremisesÿbyÿorÿforÿLessee,ÿorÿanyÿthirdÿparty
     duringÿtheÿtermÿhereof (exceptÿHazardousÿSubstancesÿwhichÿwereÿdepositedÿviaÿundergroundÿmigrationÿfromÿareasÿoutsideÿofÿtheÿPremises) tÿ oÿthe
     extentÿrequiredÿbyÿApplicableÿLaw ÿevenÿ ifÿ suchÿ removalÿ wouldÿ requireÿ Lesseeÿ toÿ performÿ orÿ payÿ forÿ workÿ thatÿ exceedsÿ statutoryÿ requirements.ÿ ÿ
     TradeÿFixturesÿshallÿremainÿtheÿpropertyÿofÿLesseeÿandÿshallÿbeÿremovedÿbyÿLessee.ÿAnyÿpersonalÿpropertyÿofÿLesseeÿnotÿremovedÿonÿorÿbeforeÿthe
     ExpirationÿDateÿorÿanyÿearlierÿterminationÿdateÿshallÿbeÿdeemedÿtoÿhaveÿbeenÿabandonedÿbyÿLesseeÿandÿmayÿbeÿdisposedÿofÿorÿretainedÿbyÿLessorÿas
     Lessorÿmayÿdesire.ÿTheÿfailureÿbyÿLesseeÿtoÿtimelyÿvacateÿtheÿPremisesÿpursuantÿtoÿthisÿParagraphÿ7.4(c)ÿwithoutÿtheÿexpressÿwrittenÿconsentÿofÿLessor
     shallÿconstituteÿaÿholdoverÿunderÿtheÿprovisionsÿofÿParagraphÿ26ÿbelow.
     8.ÿ        Iÿnsurance;ÿIndemnity.
                8.1ÿ        ÿPaymentÿ Forÿ Insurance.        Lesseeÿ shallÿ payÿ forÿ allÿ insuranceÿ requiredÿ underÿ Paragraphÿ 8ÿ exceptÿ toÿ theÿ extentÿ ofÿ theÿ cost
     attributableÿ toÿ liabilityÿ insuranceÿ carriedÿ byÿ Lessorÿ underÿ Paragraphÿ 8.2(b)ÿ inÿ excessÿ ofÿ $2,000,000ÿ perÿ occurrence.ÿ ÿ Premiumsÿ forÿ policyÿ periods
     commencingÿ priorÿ toÿ orÿ extendingÿ beyondÿ theÿ Leaseÿ termÿ shallÿ beÿ proratedÿ toÿ correspondÿ toÿ theÿ Leaseÿ term.ÿ ÿ Paymentÿ shallÿ beÿ madeÿ byÿ Lesseeÿ to
     Lessorÿwithinÿ10ÿdaysÿfollowingÿreceiptÿofÿanÿinvoice.
                8.2ÿ        ÿLiability Insurance.
                            (a)ÿÿCarriedÿby Lessee. LesseeÿshallÿobtainÿandÿkeepÿinÿforceÿaÿCommercialÿGeneralÿLiabilityÿpolicyÿofÿinsuranceÿprotectingÿLessee
     andÿLessorÿasÿanÿadditionalÿinsuredÿagainstÿclaimsÿforÿbodilyÿinjury,ÿpersonalÿinjuryÿandÿpropertyÿdamageÿbasedÿuponÿorÿarisingÿoutÿofÿtheÿownership,
     use,ÿoccupancyÿorÿmaintenanceÿofÿtheÿPremisesÿandÿallÿareasÿappurtenantÿthereto.ÿÿSuchÿinsuranceÿshallÿbeÿonÿanÿoccurrenceÿbasisÿprovidingÿsingle
     limitÿcoverageÿinÿanÿamountÿnotÿlessÿthanÿ$1,000,000ÿperÿoccurrenceÿwithÿanÿannualÿaggregateÿofÿnotÿlessÿthanÿ$2,000,000.ÿLesseeÿshallÿaddÿLessorÿas
     anÿadditionalÿinsuredÿbyÿmeansÿofÿanÿendorsementÿatÿleastÿasÿbroadÿasÿtheÿInsuranceÿServiceÿOrganization'sÿ"AdditionalÿInsured-ManagersÿorÿLessors
     ofÿ Premises"ÿ Endorsement.ÿ Theÿ policyÿ shallÿ notÿ containÿ anyÿ intra-insuredÿ exclusionsÿ asÿ betweenÿ insuredÿ personsÿ orÿ organizations,ÿ butÿ shallÿ include
     coverageÿforÿliabilityÿassumedÿunderÿthisÿLeaseÿasÿanÿ"insuredÿcontract"ÿforÿtheÿperformanceÿofÿLessee'sÿindemnityÿobligationsÿunderÿthisÿLease.ÿÿThe
     limitsÿ ofÿ saidÿ insuranceÿ shallÿ not,ÿ however,ÿ limitÿ theÿ liabilityÿ ofÿ Lesseeÿ norÿ relieveÿ Lesseeÿ ofÿ anyÿ obligationÿ hereunder.ÿ ÿ Lesseeÿ shallÿ provideÿ an
     endorsementÿonÿitsÿliabilityÿpolicy(ies)ÿwhichÿprovidesÿthatÿitsÿinsuranceÿshallÿbeÿprimaryÿtoÿandÿnotÿcontributoryÿwithÿanyÿsimilarÿinsuranceÿcarriedÿby
     Lessor,ÿwhoseÿinsuranceÿshallÿbeÿconsideredÿexcessÿinsuranceÿonly.
                           (b)ÿÿCarriedÿbyÿLessor. Lessor m   ÿ ay,ÿatÿitsÿsoleÿcostÿandÿexpense, ÿshallÿÿmaintainÿliabilityÿinsuranceÿasÿdescribedÿinÿParagraph
     8.2(a),ÿinÿadditionÿto,ÿandÿnotÿinÿlieuÿof,ÿtheÿinsuranceÿrequiredÿtoÿbeÿmaintainedÿbyÿLessee.ÿÿLesseeÿshallÿnotÿbeÿnamedÿasÿanÿadditionalÿinsuredÿtherein.
                8.3ÿ        ÿProperty Insuranceÿ-ÿBuilding,ÿImprovementsÿandÿRentalÿValue.
                        (a)ÿÿBuildingÿandÿImprovements. TheÿInsuringÿPartyÿshallÿobtainÿandÿkeepÿinÿforceÿaÿpolicyÿorÿpoliciesÿinÿtheÿnameÿofÿLessor a
                                                                                                                                                     ÿ nd
     Lessee,ÿwithÿlossÿpayableÿtoÿLessor,ÿLessee,ÿanyÿground-lessor,ÿandÿtoÿanyÿLenderÿinsuringÿlossÿorÿdamageÿtoÿtheÿPremises.ÿÿTheÿamountÿofÿsuch
     insuranceÿshallÿbeÿequalÿtoÿtheÿfullÿinsurableÿreplacementÿcostÿofÿtheÿPremises,ÿasÿtheÿsameÿshallÿexistÿfromÿtimeÿtoÿtime,ÿorÿtheÿamountÿrequiredÿbyÿany
     Lender,ÿ butÿ inÿ noÿ eventÿ moreÿ thanÿ theÿ commerciallyÿ reasonableÿ andÿ availableÿ insurableÿ valueÿ thereof.ÿ ÿ Lesseeÿ Ownedÿ Alterationsÿ andÿ Utility
     Installations,ÿTradeÿFixtures,ÿandÿLessee'sÿpersonalÿpropertyÿshallÿbeÿinsuredÿbyÿLesseeÿÿnotÿbyÿLessor.ÿÿIfÿtheÿcoverageÿisÿavailableÿandÿcommercially
     appropriate,ÿsuchÿpolicyÿorÿpoliciesÿshallÿinsureÿagainstÿallÿrisksÿofÿdirectÿphysicalÿlossÿorÿdamageÿ(exceptÿtheÿperilsÿofÿfloodÿand/orÿearthquakeÿÿunless
     requiredÿbyÿaÿLender),ÿincludingÿcoverageÿforÿdebrisÿremovalÿandÿtheÿenforcementÿofÿanyÿApplicableÿRequirementsÿrequiringÿtheÿupgrading,ÿdemolition,
     reconstructionÿ orÿ replacementÿ ofÿ anyÿ portionÿ ofÿ theÿ Premisesÿ asÿ theÿ resultÿ ofÿ aÿ coveredÿ loss.ÿ ÿ Saidÿ policyÿ orÿ policiesÿ shallÿ alsoÿ containÿ anÿ agreed
     valuationÿprovisionÿinÿlieuÿofÿanyÿcoinsuranceÿclause,ÿwaiverÿofÿsubrogation,ÿandÿinflationÿguardÿprotectionÿcausingÿanÿincreaseÿinÿtheÿannualÿproperty
     insuranceÿcoverageÿamountÿbyÿaÿfactorÿofÿnotÿlessÿthanÿtheÿadjustedÿU.S.ÿDepartmentÿofÿLaborÿConsumerÿPriceÿIndexÿforÿAllÿUrbanÿConsumersÿforÿthe
     cityÿnearestÿtoÿwhereÿtheÿPremisesÿareÿlocated.ÿÿIfÿsuchÿinsuranceÿcoverageÿhasÿaÿdeductibleÿclause,ÿtheÿdeductibleÿamountÿshallÿnotÿexceedÿ$125,000
     $250,000 ÿperÿoccurrence,ÿandÿLesseeÿshallÿbeÿliableÿforÿsuchÿdeductibleÿamountÿinÿtheÿeventÿofÿanÿInsuredÿLoss.
                            (b)ÿÿRentalÿValue. TheÿInsuringÿPartyÿshallÿobtainÿandÿkeepÿinÿforceÿaÿpolicyÿorÿpoliciesÿinÿtheÿnameÿofÿLessorÿwithÿlossÿpayableÿto
     LessorÿandÿanyÿLender,ÿinsuringÿtheÿlossÿofÿtheÿfullÿRentÿforÿoneÿyearÿwithÿanÿextendedÿperiodÿofÿindemnityÿforÿanÿadditionalÿ180ÿdaysÿ("RentalÿValue
     insurance").ÿ ÿ Saidÿ insuranceÿ shallÿ containÿ anÿ agreedÿ valuationÿ provisionÿ inÿ lieuÿ ofÿ anyÿ coinsuranceÿ clause,ÿ andÿ theÿ amountÿ ofÿ coverageÿ shallÿ be
     adjustedÿannuallyÿtoÿreflectÿtheÿprojectedÿRentÿotherwiseÿpayableÿbyÿLessee,ÿforÿtheÿnextÿ12ÿmonthÿperiod.ÿÿLesseeÿshallÿbeÿliableÿforÿanyÿdeductible
     amountÿinÿtheÿeventÿofÿsuchÿloss.
                ÿ           (ÿ c)ÿÿAdjacentÿPremises. IfÿtheÿPremisesÿareÿpartÿofÿaÿlargerÿbuilding,ÿorÿofÿaÿgroupÿofÿbuildingsÿownedÿbyÿLessorÿwhichÿareÿadjacent
     toÿ theÿ Premises,ÿ theÿ Lesseeÿ shallÿ payÿ forÿ anyÿ increaseÿ inÿ theÿ premiumsÿ forÿ theÿ propertyÿ insuranceÿ ofÿ suchÿ buildingÿ orÿ buildingsÿ ifÿ saidÿ increaseÿ is
     causedÿbyÿLessee'sÿacts,ÿomissions,ÿuseÿorÿoccupancyÿofÿtheÿPremises.
                8.4ÿ        ÿLessee'sÿProperty;ÿBusinessÿInterruptionÿInsurance.
                            (a)ÿÿProperty Damage. LesseeÿshallÿobtainÿandÿmaintainÿinsuranceÿcoverageÿonÿallÿofÿLessee'sÿpersonalÿproperty,ÿTradeÿFixtures,
     andÿ Lesseeÿ Ownedÿ Alterationsÿ andÿ Utilityÿ Installations.ÿ ÿ Suchÿ insuranceÿ shallÿ beÿ fullÿ replacementÿ costÿ coverageÿ withÿ aÿ deductibleÿ ofÿ notÿ toÿ exceed

     $125,000,000 ÿ$250,000 ÿperÿ occurrence.ÿ ÿ Theÿ proceedsÿ fromÿ anyÿ suchÿ insuranceÿ shallÿ beÿ usedÿ byÿ Lesseeÿ forÿ theÿ replacementÿ ofÿ personal
     property,ÿTradeÿFixturesÿandÿLesseeÿOwnedÿAlterationsÿandÿUtilityÿInstallations.ÿÿLesseeÿshallÿprovideÿLessorÿwithÿwrittenÿevidenceÿthatÿsuchÿinsurance
     isÿinÿforce.
                ÿ           (ÿ b)ÿ ÿBusinessÿ Interruption. Lesseeÿ shallÿ obtainÿ andÿ maintainÿ lossÿ ofÿ incomeÿ andÿ extraÿ expenseÿ insuranceÿ inÿ amountsÿ asÿ will
     reimburseÿLesseeÿforÿdirectÿorÿindirectÿlossÿofÿearningsÿattributableÿtoÿallÿperilsÿcommonlyÿinsuredÿagainstÿbyÿprudentÿlesseesÿinÿtheÿbusinessÿofÿLessee
     orÿattributableÿtoÿpreventionÿofÿaccessÿtoÿtheÿPremisesÿasÿaÿresultÿofÿsuchÿperils. ÿ

     _________ÿ        ÿ                                                 PAGEÿ7ÿOFÿ18ÿ                                                                               _________
     _________ÿ        ÿ                                                                                                                                             _________
     INITIALSÿ         ÿ                                                                                                                                             INITIALS
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Case:
 Case  19-04057
       19-40193          Doc#
                         Claim85        Filed:7 10/02/20
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                                                                             Exhibit13:34:49     Page 629 of
                                                                                           FORMÿSTN-11-8/08E
                                                                                      2 - First Amendment
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                            (c)ÿÿNoÿRepresentationÿofÿAdequateÿCoverage. Lessorÿmakesÿnoÿrepresentationÿthatÿtheÿlimitsÿorÿformsÿofÿcoverageÿofÿinsurance
     specifiedÿhereinÿareÿadequateÿtoÿcoverÿLessee'sÿproperty,ÿbusinessÿoperationsÿorÿobligationsÿunderÿthisÿLease.
                8.5ÿ        ÿInsuranceÿPolicies.ÿÿInsuranceÿrequiredÿhereinÿshallÿbeÿbyÿcompaniesÿdulyÿlicensedÿorÿadmittedÿtoÿtransactÿbusinessÿinÿtheÿstate
     whereÿ theÿ Premisesÿ areÿ located,ÿ andÿ maintainingÿ duringÿ theÿ policyÿ termÿ aÿ "Generalÿ Policyholdersÿ Rating"ÿ ofÿ atÿ leastÿ A-,ÿ VI,ÿ asÿ setÿ forthÿ inÿ theÿ most
     currentÿ issueÿ ofÿ "Best'sÿ Insuranceÿ Guide",ÿ orÿ suchÿ otherÿ ratingÿ asÿ mayÿ beÿ requiredÿ byÿ aÿ Lender.ÿ ÿ Lesseeÿ shallÿ notÿ doÿ orÿ permitÿ toÿ beÿ doneÿ anything
     whichÿinvalidatesÿtheÿrequiredÿinsuranceÿpolicies.ÿÿLesseeÿshall,ÿpriorÿtoÿtheÿStartÿDate,ÿdeliverÿtoÿLessorÿcertifiedÿcopiesÿofÿpoliciesÿofÿsuchÿinsuranceÿor
     certificatesÿevidencingÿtheÿexistenceÿandÿamountsÿofÿtheÿrequiredÿinsurance.ÿÿNoÿsuchÿpolicyÿshallÿbeÿcancelableÿorÿsubjectÿtoÿmodificationÿexceptÿafter
     30ÿdaysÿpriorÿwrittenÿnoticeÿtoÿLessor.ÿÿLesseeÿshall,ÿatÿleastÿ10ÿdaysÿpriorÿtoÿtheÿexpirationÿofÿsuchÿpolicies,ÿfurnishÿLessorÿwithÿevidenceÿofÿrenewalsÿor
     "insuranceÿ binders"ÿ evidencingÿ renewalÿ thereof,ÿ orÿ Lessorÿ mayÿ orderÿ suchÿ insuranceÿ andÿ chargeÿ theÿ costÿ thereofÿ toÿ Lessee,ÿ whichÿ amountÿ shallÿ be
     payableÿbyÿLesseeÿtoÿLessorÿuponÿdemand.ÿÿSuchÿpoliciesÿshallÿbeÿforÿaÿtermÿofÿatÿleastÿoneÿyear,ÿorÿtheÿlengthÿofÿtheÿremainingÿtermÿofÿthisÿLease,
     whicheverÿ isÿ less.ÿ ÿ Ifÿ eitherÿ Partyÿ shallÿ failÿ toÿ procureÿ andÿ maintainÿ theÿ insuranceÿ requiredÿ toÿ beÿ carriedÿ byÿ it,ÿ theÿ otherÿ Partyÿ may,ÿ butÿ shallÿ notÿ be
     requiredÿto,ÿprocureÿandÿmaintainÿtheÿsame.
                8.6ÿ        ÿW aiverÿofÿSubrogation. Withoutÿaffectingÿanyÿotherÿrightsÿorÿremedies,ÿLesseeÿandÿLessorÿeachÿherebyÿreleaseÿandÿrelieveÿthe
     other,ÿ andÿ waiveÿ theirÿ entireÿ rightÿ toÿ recoverÿ damagesÿ againstÿ theÿ other,ÿ forÿ lossÿ ofÿ orÿ damageÿ toÿ itsÿ propertyÿ arisingÿ outÿ ofÿ orÿ incidentÿ toÿ theÿ perils
     requiredÿtoÿbeÿinsuredÿagainstÿherein.ÿÿTheÿeffectÿofÿsuchÿreleasesÿandÿwaiversÿisÿnotÿlimitedÿbyÿtheÿamountÿofÿinsuranceÿcarriedÿorÿrequired,ÿorÿbyÿany
     deductiblesÿapplicableÿhereto.ÿÿTheÿPartiesÿagreeÿtoÿhaveÿtheirÿrespectiveÿpropertyÿdamageÿinsuranceÿcarriersÿwaiveÿanyÿrightÿtoÿsubrogationÿthatÿsuch
     companiesÿmayÿhaveÿagainstÿLessorÿorÿLessee,ÿasÿtheÿcaseÿmayÿbe,ÿsoÿlongÿasÿtheÿinsuranceÿisÿnotÿinvalidatedÿthereby.
                8.7ÿ        ÿIndemnity. ExceptÿforÿLessor's gross negligenceÿorÿwillfulÿmisconduct,ÿLesseeÿshallÿindemnify,ÿprotect,ÿdefendÿandÿholdÿharmless
     theÿPremises,ÿLessorÿandÿitsÿagents,ÿLessor'sÿmasterÿorÿgroundÿlessor,ÿpartnersÿandÿLenders,ÿfromÿandÿagainstÿanyÿandÿallÿclaims,ÿlossÿofÿrentsÿand/or
     damages,ÿliens,ÿjudgments,ÿpenalties,ÿattorneys'ÿandÿconsultants'ÿfees,ÿexpensesÿand/orÿliabilitiesÿarisingÿoutÿof,ÿinvolving,ÿorÿinÿconnectionÿwith,ÿtheÿuse
     and/orÿoccupancyÿofÿtheÿPremisesÿbyÿLessee.ÿÿIfÿanyÿactionÿorÿproceedingÿisÿbroughtÿagainstÿLessorÿbyÿreasonÿofÿanyÿofÿtheÿforegoingÿmatters,ÿLessee
     shallÿuponÿnoticeÿdefendÿtheÿsameÿatÿLessee'sÿexpenseÿbyÿcounselÿreasonablyÿsatisfactoryÿtoÿLessorÿandÿLessorÿshallÿcooperateÿwithÿLesseeÿinÿsuch
     defense.ÿÿLessorÿneedÿnotÿhaveÿfirstÿpaidÿanyÿsuchÿclaimÿinÿorderÿtoÿbeÿdefendedÿorÿindemnified.
                8.8ÿ        ÿExemptionÿ ofÿ Lessorÿ andÿ itsÿ Agentsÿ fromÿ Liability.ÿ ÿ Notwithstandingÿ theÿ negligenceÿ orÿ breachÿ ofÿ thisÿ Leaseÿ byÿ Lessorÿ orÿ its
     agents,ÿneitherÿLessorÿnorÿitsÿagentsÿshallÿbeÿliableÿunderÿanyÿcircumstancesÿfor:ÿ(i)ÿinjuryÿorÿdamageÿtoÿtheÿpersonÿorÿgoods,ÿwares,ÿmerchandiseÿor
     otherÿpropertyÿofÿLessee,ÿLessee'sÿemployees,ÿcontractors,ÿinvitees,ÿcustomers,ÿorÿanyÿotherÿpersonÿinÿorÿaboutÿtheÿPremises,ÿwhetherÿsuchÿdamageÿor
     injuryÿ isÿ causedÿ byÿ orÿ resultsÿ fromÿ fire,ÿ steam,ÿ electricity,ÿ gas,ÿ waterÿ orÿ rain,ÿ indoorÿ airÿ quality,ÿ theÿ presenceÿ ofÿ moldÿ orÿ fromÿ theÿ breakage,ÿ leakage,
     obstructionÿorÿotherÿdefectsÿofÿpipes,ÿfireÿsprinklers,ÿwires,ÿappliances,ÿplumbing,ÿHVACÿorÿlightingÿfixtures,ÿorÿfromÿanyÿotherÿcause,ÿwhetherÿtheÿsaid
     injuryÿorÿdamageÿresultsÿfromÿconditionsÿarisingÿuponÿtheÿPremisesÿorÿuponÿotherÿportionsÿofÿtheÿbuildingÿofÿwhichÿtheÿPremisesÿareÿaÿpart,ÿorÿfromÿother
     sourcesÿorÿplaces,ÿ(ii)ÿanyÿdamagesÿarisingÿfromÿanyÿactÿorÿneglectÿofÿanyÿotherÿtenantÿofÿLessorÿorÿfromÿtheÿfailureÿofÿLessorÿorÿitsÿagentsÿtoÿenforce
     theÿprovisionsÿofÿanyÿotherÿleaseÿinÿtheÿProject,ÿorÿ(iii)ÿinjuryÿtoÿLessee'sÿbusinessÿorÿforÿanyÿlossÿofÿincomeÿorÿprofitÿtherefrom.ÿÿInstead,ÿitÿisÿintended
     thatÿLessee'sÿsoleÿrecourseÿinÿtheÿeventÿofÿsuchÿdamagesÿorÿinjuryÿbeÿtoÿfileÿaÿclaimÿonÿtheÿinsuranceÿpolicy(ies)ÿthatÿLesseeÿisÿrequiredÿtoÿmaintain
     pursuantÿtoÿtheÿprovisionsÿofÿparagraphÿ8.     ÿ
               8.9ÿ      ÿFailureÿ toÿ Provideÿ Insurance. Lesseeÿ acknowledgesÿ thatÿ anyÿ failureÿ onÿ itsÿ partÿ toÿ obtainÿ orÿ maintainÿ theÿ insuranceÿ required
     hereinÿ willÿ exposeÿ Lessorÿ toÿ risksÿ andÿ potentiallyÿ causeÿ Lessorÿ toÿ incurÿ costsÿ notÿ contemplatedÿ byÿ thisÿ Lease,ÿ theÿ extentÿ ofÿ whichÿ willÿ beÿ extremely
     difficultÿtoÿascertain.ÿÿÿAccordingly,ÿforÿanyÿmonthÿorÿportionÿthereofÿthatÿLesseeÿdoesÿnotÿmaintainÿtheÿrequiredÿinsuranceÿand/orÿdoesÿnotÿprovideÿLessor
     withÿtheÿrequiredÿbindersÿorÿcertificatesÿevidencingÿtheÿexistenceÿofÿtheÿrequiredÿinsurance,ÿtheÿBaseÿRentÿshallÿbeÿautomaticallyÿincreased,ÿwithoutÿany
     requirementÿforÿnoticeÿtoÿLessee,ÿbyÿanÿamountÿequalÿtoÿ10%ÿofÿtheÿthenÿexistingÿBaseÿRentÿorÿ$100,ÿwhicheverÿisÿgreater.ÿTheÿpartiesÿagreeÿthatÿsuch
     increaseÿinÿBaseÿRentÿrepresentsÿfairÿandÿreasonableÿcompensationÿforÿtheÿadditionalÿrisk/costsÿthatÿLessorÿwillÿincurÿbyÿreasonÿofÿLessee'sÿfailureÿto
     maintainÿ theÿ requiredÿ insurance.ÿ Suchÿ increaseÿ inÿ Baseÿ Rentÿ shallÿ inÿ noÿ eventÿ constituteÿ aÿ waiverÿ ofÿ Lessee'sÿ Defaultÿ orÿ Breachÿ withÿ respectÿ toÿ the
     failureÿtoÿmaintainÿsuchÿinsurance,ÿpreventÿtheÿexerciseÿofÿanyÿofÿtheÿotherÿrightsÿandÿremediesÿgrantedÿhereunder,ÿnorÿrelieveÿLesseeÿofÿitsÿobligationÿto
     maintainÿtheÿinsuranceÿspecifiedÿinÿthisÿLease.
     9.ÿ        ÿ amageÿorÿDestruction.
                D
                9.1ÿ        ÿDefinitions.
                            (a)ÿ ÿ"Premisesÿ Partialÿ Damage" shallÿ meanÿ damageÿ orÿ destructionÿ toÿ theÿ improvementsÿ onÿ theÿ Premises,ÿ otherÿ thanÿ Lessee
     OwnedÿAlterationsÿandÿUtilityÿInstallations,ÿwhichÿcanÿreasonablyÿbeÿrepairedÿinÿ6ÿmonthsÿorÿlessÿfromÿtheÿdateÿofÿtheÿdamageÿorÿdestruction.ÿÿLessor
     shallÿ notifyÿ Lesseeÿ inÿ writingÿ withinÿ 30ÿ daysÿ fromÿ theÿ dateÿ ofÿ theÿ damageÿ orÿ destructionÿ asÿ toÿ whetherÿ orÿ notÿ theÿ damageÿ isÿ Partialÿ orÿ Total.
     Notwithstandingÿtheÿforegoing,ÿPremisesÿPartialÿDamageÿshallÿnotÿincludeÿdamageÿtoÿwindows,ÿdoors,ÿand/orÿotherÿsimilarÿitemsÿwhichÿLesseeÿhasÿthe
     responsibilityÿtoÿrepairÿorÿreplaceÿpursuantÿtoÿtheÿprovisionsÿofÿParagraphÿ7.1.
                            (b)ÿÿ"PremisesÿTotalÿDestruction" shallÿmeanÿdamageÿorÿdestructionÿtoÿtheÿPremises,ÿotherÿthanÿLesseeÿOwnedÿAlterationsÿand
     UtilityÿInstallationsÿandÿTradeÿFixtures,ÿwhichÿcannotÿreasonablyÿbeÿrepairedÿinÿ6ÿmonthsÿorÿlessÿfromÿtheÿdateÿofÿtheÿdamageÿorÿdestruction.ÿÿLessor
     shallÿnotifyÿLesseeÿinÿwritingÿwithinÿ30ÿdaysÿfromÿtheÿdateÿofÿtheÿdamageÿorÿdestructionÿasÿtoÿwhetherÿorÿnotÿtheÿdamageÿisÿPartialÿorÿTotal.
                            (c)ÿÿ"InsuredÿLoss" shallÿmeanÿdamageÿorÿdestructionÿtoÿimprovementsÿonÿtheÿPremises,ÿotherÿthanÿLesseeÿOwnedÿAlterationsÿand
     UtilityÿInstallationsÿandÿTradeÿFixtures,ÿwhichÿwasÿcausedÿbyÿanÿevent ÿcoveredÿbyÿinsuranceÿorÿÿrequiredÿtoÿbeÿcoveredÿbyÿtheÿinsuranceÿdescribedÿin
     Paragraphÿ8.3(a),ÿirrespectiveÿofÿanyÿdeductibleÿamountsÿorÿcoverageÿlimitsÿinvolved.
                            (d)ÿÿ"ReplacementÿCost" shallÿmeanÿtheÿcostÿtoÿrepairÿorÿrebuildÿtheÿimprovementsÿownedÿbyÿLessorÿatÿtheÿtimeÿofÿtheÿoccurrence
     toÿ theirÿ conditionÿ existingÿ immediatelyÿ priorÿ thereto,ÿ includingÿ demolition,ÿ debrisÿ removalÿ andÿ upgradingÿ requiredÿ byÿ theÿ operationÿ ofÿ Applicable
     Requirements,ÿandÿwithoutÿdeductionÿforÿdepreciation.
                            (e)ÿ "ÿ Hazardousÿ Substanceÿ Condition" shallÿ meanÿ theÿ occurrenceÿ orÿ discoveryÿ ofÿ aÿ conditionÿ involvingÿ theÿ presenceÿ of,ÿ orÿ a
     contaminationÿby,ÿaÿHazardousÿSubstanceÿ,ÿin,ÿon,ÿorÿunderÿtheÿPremisesÿwhichÿrequiresÿremediation.
               9.2ÿ                                                                                                                       ÿ essee ÿLessorÿ ÿshall,ÿ at
                        ÿPartialÿ Damageÿ -ÿ Insuredÿ Loss. Ifÿ aÿ Premisesÿ Partialÿ Damageÿ thatÿ isÿ anÿ Insuredÿ Lossÿ occurs,ÿ thenÿ L
     Lessor'sÿexpense, repairÿsuchÿdamageÿÿ(butÿnotÿLessee'sÿTradeÿFixturesÿorÿLesseeÿOwnedÿAlterationsÿandÿUtilityÿInstallations) asÿsoonÿasÿreasonably
     possibleÿ andÿ thisÿ Leaseÿ shallÿ continueÿ inÿ fullÿ forceÿ andÿ effect.;ÿ provided,ÿ however,ÿ thatÿ Lesseeÿ shall,ÿ atÿ Lessor'sÿ election,ÿ makeÿ theÿ repairÿ ofÿ any
     damageÿorÿdestructionÿtheÿtotalÿcostÿtoÿrepairÿofÿwhichÿisÿ$10,000ÿorÿless,ÿand,ÿinÿsuchÿevent, Lessorÿshallÿmakeÿanyÿapplicableÿinsuranceÿproceeds
     availableÿtoÿLesseeÿonÿaÿreasonableÿbasisÿforÿthatÿpurpose.ÿÿNotwithstandingÿtheÿforegoing,ÿifÿtheÿrequiredÿinsuranceÿwasÿnotÿinÿforceÿorÿtheÿinsurance


     _________ÿ        ÿ                                                   PAGEÿ8ÿOFÿ18ÿ                                                                                  _________
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       19-40193          Doc#
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     proceedsÿareÿnotÿsufficientÿtoÿeffectÿsuchÿrepair,ÿtheÿInsuringÿPartyÿshallÿpromptlyÿcontributeÿtheÿshortageÿinÿproceedsÿÿ(exceptÿasÿtoÿtheÿdeductibleÿwhich
     isÿLessee'sÿresponsibility) asÿandÿwhenÿrequiredÿtoÿcompleteÿsaidÿrepairs.ÿÿÿInÿtheÿevent,ÿhowever,ÿsuchÿshortageÿwasÿdueÿtoÿtheÿfactÿthat,ÿbyÿreasonÿof
     theÿuniqueÿnatureÿofÿtheÿimprovements,ÿfullÿreplacementÿcostÿinsuranceÿcoverageÿwasÿnotÿcommerciallyÿreasonableÿandÿavailable,ÿLessorÿshallÿhaveÿno
     obligationÿtoÿpayÿforÿtheÿshortageÿinÿinsuranceÿproceedsÿorÿtoÿfullyÿrestoreÿtheÿuniqueÿaspectsÿofÿtheÿPremisesÿunlessÿLesseeÿprovidesÿLessorÿwithÿthe
     fundsÿtoÿcoverÿsame,ÿorÿadequateÿassuranceÿthereof,ÿwithinÿ10ÿdaysÿfollowingÿreceiptÿofÿwrittenÿnoticeÿofÿsuchÿshortageÿandÿrequestÿtherefor.ÿÿIfÿLessor
     receivesÿsaidÿfundsÿorÿadequateÿassuranceÿthereofÿwithinÿsaidÿ10ÿdayÿperiod,ÿtheÿpartyÿresponsibleÿforÿmakingÿtheÿrepairsÿshallÿcompleteÿthemÿasÿsoon
     asÿreasonablyÿpossibleÿandÿthisÿLeaseÿshallÿremainÿinÿfullÿforceÿandÿeffect.ÿÿIfÿsuchÿfundsÿorÿassuranceÿareÿnotÿreceived,ÿLessorÿmayÿneverthelessÿelect
     byÿ writtenÿ noticeÿ toÿ Lesseeÿ withinÿ 10ÿ daysÿ thereafterÿ to:ÿ ÿ (i)ÿ makeÿ suchÿ restorationÿ andÿ repairÿ asÿ isÿ commerciallyÿ reasonableÿ withÿ Lessorÿ payingÿ any
     shortageÿinÿproceeds,ÿinÿwhichÿcaseÿthisÿLeaseÿshallÿremainÿinÿfullÿforceÿandÿeffect,ÿorÿ(ii)ÿhaveÿthisÿLeaseÿterminateÿ30ÿdaysÿthereafter.ÿÿLesseeÿshall
     notÿbeÿentitledÿtoÿreimbursementÿofÿanyÿfundsÿcontributedÿbyÿLesseeÿtoÿrepairÿanyÿsuchÿdamageÿorÿdestruction.ÿÿPremisesÿPartialÿDamageÿdueÿtoÿflood
     orÿ earthquakeÿ shallÿ beÿ subjectÿ toÿ Paragraphÿ 9.3,ÿ notwithstandingÿ thatÿ thereÿ mayÿ beÿ someÿ insuranceÿ coverage,ÿ butÿ theÿ netÿ proceedsÿ ofÿ anyÿ such
     insuranceÿshallÿbeÿmadeÿavailableÿforÿtheÿrepairsÿifÿmadeÿbyÿeitherÿParty.
                9.3ÿ        ÿPartialÿ Damageÿ -ÿ Uninsuredÿ Loss. Ifÿ aÿ Premisesÿ Partialÿ Damageÿ thatÿ isÿ notÿ anÿ Insuredÿ Lossÿ occurs,ÿ unlessÿ causedÿ byÿ a
                                                                                                                                                                   ÿ
     negligentÿ or willfulÿ ÿmisconduct ÿact ofÿ Lesseeÿ (inÿ whichÿ eventÿ Lesseeÿ shallÿ makeÿ theÿ repairsÿ atÿ Lessee'sÿ expense),ÿ L
                                                                                                                                        ÿ essee ÿLessor mayÿ either:ÿ ÿ (i)
     repairÿsuchÿdamageÿasÿsoonÿasÿreasonablyÿpossibleÿatÿÿLessor's ÿLessee'sÿÿexpense,ÿinÿwhichÿeventÿthisÿLeaseÿshallÿcontinueÿinÿfullÿforceÿandÿeffect,ÿor
     (ii)ÿ terminateÿ thisÿ Leaseÿ byÿ givingÿ writtenÿ noticeÿ toÿÿLessee ÿLessor ÿwithinÿ 30ÿ daysÿ afterÿ receiptÿ byÿÿLessor ÿLessee ÿofÿ knowledgeÿ ofÿ theÿ occurrenceÿ of
     suchÿdamage.ÿÿSuchÿterminationÿshallÿbeÿeffectiveÿ60ÿdaysÿfollowingÿtheÿdateÿofÿsuchÿnotice.ÿÿInÿtheÿeventÿÿLessor ÿLessee electsÿtoÿterminateÿthisÿLease,
     Lessee ÿLessor shallÿhaveÿtheÿrightÿwithinÿ10ÿdaysÿafterÿreceiptÿofÿtheÿterminationÿnoticeÿtoÿgiveÿwrittenÿnoticeÿtoÿÿLessor ÿLessee ÿofÿÿLessee's ÿLessor's
     commitmentÿtoÿpayÿforÿtheÿrepairÿofÿsuchÿdamageÿwithoutÿreimbursementÿfromÿÿLessor ÿLessee.ÿÿÿLessee ÿLessorÿÿshallÿprovideÿÿLessor ÿLesseeÿÿwithÿsaid
     fundsÿorÿsatisfactoryÿassuranceÿthereofÿwithinÿ30ÿdaysÿafterÿmakingÿsuchÿcommitment.ÿÿInÿsuchÿeventÿthisÿLeaseÿshallÿcontinueÿinÿfullÿforceÿandÿeffect,
     andÿÿLessor L
                 ÿ esseeÿÿshallÿproceedÿtoÿmakeÿsuchÿrepairsÿasÿsoonÿasÿreasonablyÿpossibleÿafterÿtheÿrequiredÿfundsÿareÿavailable.ÿÿIfÿÿLessee ÿLessorÿÿdoes
     notÿmakeÿtheÿrequiredÿcommitment,ÿthisÿLeaseÿshallÿterminateÿasÿofÿtheÿdateÿspecifiedÿinÿtheÿterminationÿnotice.
              9.4ÿ     ÿTotalÿ Destruction. Notwithstandingÿ anyÿ otherÿ provisionÿ hereof,ÿ ifÿ aÿ Premisesÿ Totalÿ Destructionÿ occurs, ÿLesseeÿmayÿelectÿto
     terminate thisÿLeaseÿÿshallÿterminateÿÿ60ÿdaysÿfollowing a
                                                              ÿ ÿPremisesÿTotalÿDestruction suchÿDestruction.ÿÿÿIfÿLesseeÿdoesÿnotÿelectÿtoÿterminate
     thisÿLease,ÿLesseeÿshallÿrepairÿandÿrestoreÿtheÿPremisesÿinÿaccordanceÿwithÿSectionÿ9.2.ÿÿÿIfÿtheÿdamageÿorÿdestructionÿwasÿcausedÿbyÿthe
     grossÿ negligenceÿ orÿ willfulÿ misconductÿ ofÿ Lessee,ÿ Lessorÿ shallÿ haveÿ theÿ rightÿ toÿ recoverÿ Lessor'sÿ damagesÿ from Lessee,ÿ exceptÿ asÿ providedÿ in
     Paragraphÿ8.6.
                9.5ÿ        ÿDamageÿ Nearÿ Endÿ ofÿ Term. Ifÿ atÿ anyÿ timeÿ duringÿ theÿ lastÿ 6ÿ monthsÿ ofÿ thisÿ Leaseÿ thereÿ isÿ damageÿ forÿ whichÿ theÿ costÿ toÿ repair
     exceedsÿ oneÿ month'sÿ Baseÿ Rent,ÿ whetherÿ orÿ notÿ anÿ Insuredÿ Loss,ÿ ÿLessor      Lessee mayÿ terminateÿ thisÿ Leaseÿ effectiveÿ 60ÿ daysÿ followingÿ theÿ dateÿ of
     occurrenceÿ ofÿ suchÿ damageÿ byÿ givingÿ aÿ writtenÿ terminationÿ noticeÿ toÿ ÿLessee ÿLessor withinÿ 30ÿ daysÿ afterÿ theÿ dateÿ ofÿ occurrenceÿ ofÿ suchÿ damage.ÿ ÿ
     Notwithstandingÿ theÿ foregoing,ÿ ifÿ Lesseeÿ atÿ thatÿ timeÿ hasÿ anÿ exercisableÿ optionÿ toÿ extendÿ thisÿ Leaseÿ orÿ toÿ purchaseÿ theÿ Premises,ÿ thenÿ Lesseeÿ may
     preserveÿthisÿLeaseÿby,ÿ(a)ÿexercisingÿsuchÿoptionÿandÿ(b)ÿprovidingÿLessorÿwithÿanyÿshortageÿinÿinsuranceÿproceedsÿ(orÿadequateÿassuranceÿthereof)
     neededÿ toÿ makeÿ theÿ repairsÿ onÿ orÿ beforeÿ theÿ earlierÿ ofÿ (i)ÿ theÿ dateÿ whichÿ isÿ 10ÿ daysÿ afterÿ Lessee'sÿ receiptÿ ofÿ Lessor'sÿ writtenÿ noticeÿ purportingÿ to
     terminateÿ thisÿ Lease,ÿ orÿ (ii)ÿ theÿ dayÿ priorÿ toÿ theÿ dateÿ uponÿ whichÿ suchÿ optionÿ expires.ÿ ÿ Ifÿ Lesseeÿ dulyÿ exercisesÿ suchÿ optionÿ duringÿ suchÿ periodÿ and
     providesÿ Lessorÿ withÿ fundsÿ (orÿ adequateÿ assuranceÿ thereof)ÿ toÿ coverÿ anyÿ shortageÿ inÿ insuranceÿ proceeds,ÿ Lessorÿ shall,ÿ atÿ Lessor'sÿ commercially
     reasonableÿ expense,ÿ repairÿ suchÿ damageÿ asÿ soonÿ asÿ reasonablyÿ possibleÿ andÿ thisÿ Leaseÿ shallÿ continueÿ inÿ fullÿ forceÿ andÿ effect.ÿ ÿ Ifÿ Lesseeÿ failsÿ to
     exerciseÿsuchÿoptionÿandÿprovideÿsuchÿfundsÿorÿassuranceÿduringÿsuchÿperiod,ÿthenÿthisÿLeaseÿshallÿterminateÿonÿtheÿdateÿspecifiedÿinÿtheÿtermination
     noticeÿandÿLessee'sÿoptionÿshallÿbeÿextinguished.
                9.6ÿ        ÿAbatementÿofÿRent;ÿLessee'sÿRemedies.

                   (a)ÿÿAbatement. InÿtheÿeventÿofÿPremisesÿPartialÿDamageÿorÿPremisesÿTotalÿDestructionÿorÿaÿHazardousÿSubstanceÿCondition ÿfor
     whichÿLesseeÿisÿnotÿresponsibleÿunderÿthisÿLease, tÿheÿRentÿpayableÿbyÿLesseeÿforÿtheÿperiodÿrequiredÿforÿtheÿrepair,ÿremediationÿor
     restorationÿ ofÿ suchÿ damageÿ shallÿ beÿ abatedÿ inÿ proportionÿ toÿ theÿ degreeÿ toÿ whichÿ Lessee'sÿ useÿ ofÿ theÿ Premisesÿ isÿ impaired,ÿ butÿ notÿ toÿ exceedÿ the
     proceedsÿreceivedÿfromÿtheÿRentalÿValueÿinsurance.ÿÿAllÿotherÿobligationsÿofÿLesseeÿhereunderÿshallÿbeÿperformedÿbyÿLessee,ÿandÿLessorÿshallÿhaveÿno
     liabilityÿforÿanyÿsuchÿdamage,ÿdestruction,ÿremediation,ÿrepairÿorÿrestorationÿexceptÿasÿprovidedÿherein.
                            (b)ÿÿRemedies.ÿÿIfÿLessorÿisÿobligatedÿtoÿrepairÿorÿrestoreÿtheÿPremisesÿandÿdoesÿnotÿcommence,ÿinÿaÿsubstantialÿandÿmeaningful
     way,ÿsuchÿrepairÿorÿrestorationÿwithinÿ90ÿdaysÿafterÿsuchÿobligationÿshallÿaccrue,ÿLesseeÿmay,ÿatÿanyÿtimeÿpriorÿtoÿtheÿcommencementÿofÿsuchÿrepairÿor
     restoration,ÿgiveÿwrittenÿnoticeÿtoÿLessorÿandÿtoÿanyÿLendersÿofÿwhichÿLesseeÿhasÿactualÿnotice,ÿofÿLessee'sÿelectionÿtoÿterminateÿthisÿLeaseÿonÿaÿdate
     notÿlessÿthanÿ60ÿdaysÿfollowingÿtheÿgivingÿofÿsuchÿnotice.ÿÿIfÿLesseeÿgivesÿsuchÿnoticeÿandÿsuchÿrepairÿorÿrestorationÿisÿnotÿcommencedÿwithinÿ30ÿdays
     thereafter,ÿthisÿLeaseÿshallÿterminateÿasÿofÿtheÿdateÿspecifiedÿinÿsaidÿnotice.ÿÿIfÿtheÿrepairÿorÿrestorationÿisÿcommencedÿwithinÿsuchÿ30ÿdays,ÿthisÿLease
     shallÿ continueÿ inÿ fullÿ forceÿ andÿ effect.ÿ ÿ "Commence"ÿ shallÿ meanÿ eitherÿ theÿ unconditionalÿ authorizationÿ ofÿ theÿ preparationÿ ofÿ theÿ requiredÿ plans,ÿ orÿ the
     beginningÿofÿtheÿactualÿworkÿonÿtheÿPremises,ÿwhicheverÿfirstÿoccurs.
                9.7ÿ        ÿTermination;ÿ Advanceÿ Payments. Uponÿ terminationÿ ofÿ thisÿ Leaseÿ pursuantÿ toÿ Paragraphÿ 6.2(g)ÿ orÿ Paragraphÿ 9,ÿ anÿ equitable
     adjustmentÿshallÿbeÿmadeÿconcerningÿadvanceÿBaseÿRentÿandÿanyÿotherÿadvanceÿpaymentsÿmadeÿbyÿLesseeÿtoÿLessor.ÿÿLessorÿshall,ÿinÿaddition,ÿreturn
     toÿLesseeÿsoÿmuchÿofÿLessee'sÿSecurityÿDepositÿasÿhasÿnotÿbeen,ÿorÿisÿnotÿthenÿrequiredÿtoÿbe,ÿusedÿbyÿLessor.
     10.ÿ       ÿRealÿProperty Taxes.
              10.1ÿ    ÿDefinition. Asÿ usedÿ herein,ÿ theÿ termÿ ÿ"Realÿ Property Taxes" shallÿ ÿmeanÿ allÿ realÿ propertyÿ taxesÿ andÿ general,ÿ special
     districtÿassessments,ÿrentalÿreceiptsÿtaxÿorÿotherÿgovernmtentalÿimpositionsÿimposedÿonÿtheÿPremisesÿorÿProject.ÿÿRealÿProperty
     TaxesÿshallÿnotÿincludeÿanyÿtaxesÿimposedÿonÿtheÿnetÿincomeÿofÿLessor,ÿanyÿfranchiseÿorÿcorporateÿtaxesÿimposedÿonÿLessor,ÿany
     businessÿlicenseÿfeesÿimposedÿonÿLessorÿorÿanyÿtransferÿtaxesÿassessedÿonÿaÿsaleÿorÿtransferÿofÿtheÿPremisesÿorÿProject.ÿÿÿincludeÿany
     formÿ ofÿ assessment;ÿ realÿ estate,ÿ general,ÿ special,ÿ ordinaryÿ orÿ extraordinary,ÿ orÿ rentalÿ levyÿ orÿ taxÿ (otherÿ thanÿ inheritance,ÿ personalÿ incomeÿ orÿ estate
     taxes);ÿimprovementÿbond;ÿand/orÿlicenseÿfeeÿimposedÿuponÿorÿleviedÿagainstÿanyÿlegalÿorÿequitableÿinterestÿofÿLessorÿinÿtheÿPremisesÿorÿtheÿProject,
     Lessor'sÿrightÿtoÿotherÿincomeÿtherefrom,ÿand/orÿLessor'sÿbusinessÿofÿleasing,ÿbyÿanyÿauthorityÿhavingÿtheÿdirectÿorÿindirectÿpowerÿtoÿtaxÿandÿwhereÿthe
     fundsÿareÿgeneratedÿwithÿreferenceÿtoÿtheÿBuildingÿaddressÿandÿwhereÿtheÿproceedsÿsoÿgeneratedÿareÿtoÿbeÿappliedÿbyÿtheÿcity,ÿcountyÿorÿotherÿlocal
     taxingÿauthorityÿofÿaÿjurisdictionÿwithinÿwhichÿtheÿPremisesÿareÿlocated.ÿÿRealÿPropertyÿTaxesÿshallÿalsoÿincludeÿanyÿtax,ÿfee,ÿlevy,ÿassessmentÿorÿcharge,
     orÿanyÿincreaseÿtherein:ÿ(i)ÿimposedÿbyÿreasonÿofÿeventsÿoccurringÿduringÿtheÿtermÿofÿthisÿLease,ÿincludingÿbutÿnotÿlimitedÿto,ÿaÿchangeÿinÿtheÿownership


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       19-40193          Doc#
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     ofÿtheÿPremises,ÿandÿ(ii)ÿleviedÿorÿassessedÿonÿmachineryÿorÿequipmentÿprovidedÿbyÿLessorÿtoÿLesseeÿpursuantÿtoÿthisÿLease.
                10.2ÿ       ÿPaymentÿofÿTaxes. InÿadditionÿtoÿBaseÿRent,ÿLesseeÿshallÿpayÿtoÿLessorÿanÿamountÿequalÿtoÿtheÿRealÿPropertyÿTaxÿinstallment
     dueÿatÿleastÿ20ÿdaysÿpriorÿtoÿtheÿapplicableÿdelinquencyÿdate.ÿÿIfÿanyÿsuchÿinstallmentÿshallÿcoverÿanyÿperiodÿofÿtimeÿpriorÿtoÿorÿafterÿtheÿexpirationÿor
     terminationÿofÿthisÿLease,ÿLessee'sÿshareÿofÿsuchÿinstallmentÿshallÿbeÿprorated.ÿÿInÿtheÿeventÿLesseeÿincursÿaÿlateÿchargeÿonÿanyÿRentÿpayment,ÿLessor
     mayÿ estimateÿ theÿ currentÿ Realÿ Propertyÿ Taxes,ÿ andÿ requireÿ thatÿ suchÿ taxesÿ beÿ paidÿ inÿ advanceÿ toÿ Lessorÿ byÿ Lesseeÿ monthlyÿ inÿ advanceÿ withÿ the
     paymentÿ ofÿ theÿ Baseÿ Rent.ÿ ÿ Suchÿ monthlyÿ paymentsÿ shallÿ beÿ anÿ amountÿ equalÿ toÿ theÿ amountÿ ofÿ theÿ estimatedÿ installmentÿ ofÿ taxesÿ dividedÿ byÿ the
     numberÿ ofÿ monthsÿ remainingÿ beforeÿ theÿ monthÿ inÿ whichÿ saidÿ installmentÿ becomesÿ delinquent.ÿ ÿ Whenÿ theÿ actualÿ amountÿ ofÿ theÿ applicableÿ taxÿ billÿ is
     known,ÿtheÿamountÿofÿsuchÿequalÿmonthlyÿadvanceÿpaymentsÿshallÿbeÿadjustedÿasÿrequiredÿtoÿprovideÿtheÿfundsÿneededÿtoÿpayÿtheÿapplicableÿtaxes.ÿÿIf
     theÿamountÿcollectedÿbyÿLessorÿisÿinsufficientÿtoÿpayÿsuchÿRealÿPropertyÿTaxesÿwhenÿdue,ÿLesseeÿshallÿpayÿLessor,ÿuponÿÿdemand,ÿsuchÿadditionalÿsum
     asÿisÿnecessary.ÿÿAdvanceÿpaymentsÿmayÿbeÿintermingledÿwithÿotherÿmoneysÿofÿLessorÿandÿshallÿnotÿbearÿinterest.ÿÿInÿtheÿeventÿofÿaÿBreachÿbyÿLessee
     inÿtheÿperformanceÿofÿitsÿobligationsÿunderÿthisÿLease,ÿthenÿanyÿsuchÿadvanceÿpaymentsÿmayÿbeÿtreatedÿbyÿLessorÿasÿanÿadditionalÿSecurityÿDeposit.
                10.3ÿ       ÿJointÿ Assessment. Ifÿ theÿ Premisesÿ areÿ notÿ separatelyÿ assessed,ÿ Lessee'sÿ liabilityÿ shallÿ beÿ anÿ equitableÿ proportionÿ ofÿ theÿ Real
     PropertyÿTaxesÿforÿallÿofÿtheÿlandÿandÿimprovementsÿincludedÿwithinÿtheÿtaxÿparcelÿassessed,ÿsuchÿproportionÿtoÿbeÿconclusivelyÿdeterminedÿbyÿLessor
     fromÿtheÿrespectiveÿvaluationsÿassignedÿinÿtheÿassessor'sÿworkÿsheetsÿorÿsuchÿotherÿinformationÿasÿmayÿbeÿreasonablyÿavailable.
                10.4ÿ       ÿPersonalÿ Property Taxes. Lesseeÿ shallÿ pay,ÿ priorÿ toÿ delinquency,ÿ allÿ taxesÿ assessedÿ againstÿ andÿ leviedÿ uponÿ Lesseeÿ Owned
     Alterations,ÿ Utilityÿ Installations,ÿ Tradeÿ Fixtures,ÿ furnishings,ÿ equipmentÿ andÿ allÿ personalÿ propertyÿ ofÿ Lessee.ÿ ÿ Whenÿ possible,ÿ Lesseeÿ shallÿ causeÿ its
     Lesseeÿ Ownedÿ Alterationsÿ andÿ Utilityÿ Installations,ÿ Tradeÿ Fixtures,ÿ furnishings,ÿ equipmentÿ andÿ allÿ otherÿ personalÿ propertyÿ toÿ beÿ assessedÿ andÿ billed
     separatelyÿfromÿtheÿrealÿpropertyÿofÿLessor.ÿÿIfÿanyÿofÿLessee'sÿsaidÿpropertyÿshallÿbeÿassessedÿwithÿLessor'sÿrealÿproperty,ÿLesseeÿshallÿpayÿLessorÿthe
     taxesÿattributableÿtoÿLessee'sÿpropertyÿwithinÿ10ÿdaysÿafterÿreceiptÿofÿaÿwrittenÿstatementÿsettingÿforthÿtheÿtaxesÿapplicableÿtoÿLessee'sÿproperty.
     11.ÿ       ÿUtilitiesÿ andÿ Services. Lesseeÿ shallÿ payÿ forÿ allÿ water,ÿ gas,ÿ heat,ÿ light,ÿ power,ÿ telephone,ÿ trashÿ disposalÿ andÿ otherÿ utilitiesÿ andÿ services
     suppliedÿ toÿ theÿ Premises,ÿ togetherÿ withÿ anyÿ taxesÿ thereon.ÿ ÿ Ifÿ anyÿ suchÿ servicesÿ areÿ notÿ separatelyÿ meteredÿ orÿ billedÿ toÿ Lessee,ÿ Lesseeÿ shallÿ payÿ a
     reasonableÿproportion,ÿtoÿbeÿdeterminedÿbyÿLessor,ÿofÿallÿchargesÿjointlyÿmeteredÿorÿbilled.ÿÿThereÿshallÿbeÿnoÿabatementÿofÿrentÿandÿLessorÿshallÿnotÿbe
     liableÿinÿanyÿrespectÿwhatsoeverÿforÿtheÿinadequacy,ÿstoppage,ÿinterruptionÿorÿdiscontinuanceÿofÿanyÿutilityÿorÿserviceÿdueÿtoÿriot,ÿstrike,ÿlaborÿdispute,
     breakdown,ÿaccident,ÿrepairÿorÿotherÿcauseÿbeyondÿLessor'sÿreasonableÿcontrolÿorÿinÿcooperationÿwithÿgovernmentalÿrequestÿorÿdirections.ÿÿ ÿ
     12.ÿ       ÿAssignmentÿandÿSubletting.
                12.1ÿ       ÿLessor'sÿConsentÿRequired.
                            (a)ÿ Lesseeÿ shallÿ notÿ voluntarilyÿ orÿ byÿ operationÿ ofÿ lawÿ assign,ÿ transfer,ÿ mortgageÿ orÿ encumberÿ (collectively,ÿ ÿ"assignÿ or
     assignment")ÿorÿsubletÿallÿorÿanyÿpartÿofÿLessee'sÿinterestÿinÿthisÿLeaseÿorÿinÿtheÿPremisesÿwithoutÿLessor'sÿpriorÿwrittenÿconsent.
                ÿ           (ÿ b)ÿUnlessÿLesseeÿisÿaÿcorporationÿandÿitsÿstockÿisÿpubliclyÿtradedÿonÿaÿnationalÿstockÿexchange,ÿaÿchangeÿinÿtheÿcontrolÿofÿLessee
     shallÿconstituteÿanÿassignmentÿrequiringÿconsent.ÿTheÿtransfer,ÿonÿaÿcumulativeÿbasis,ÿofÿ25%ÿorÿmoreÿofÿtheÿvotingÿcontrolÿofÿLesseeÿshallÿconstituteÿa
     changeÿinÿcontrolÿforÿthisÿpurpose.
                            (c)ÿ Theÿ involvementÿ ofÿ Lesseeÿ orÿ itsÿ assetsÿ inÿ anyÿ transaction,ÿ orÿ seriesÿ ofÿ transactionsÿ (byÿ wayÿ ofÿ merger,ÿ sale,ÿ acquisition,
     financing,ÿ transfer,ÿ leveragedÿ buy-outÿ orÿ otherwise),ÿ whetherÿ orÿ notÿ aÿ formalÿ assignmentÿ orÿ hypothecationÿ ofÿ thisÿ Leaseÿ orÿ Lessee'sÿ assetsÿ occurs,
     whichÿresultsÿorÿwillÿresultÿinÿaÿreductionÿofÿtheÿNetÿWorthÿofÿLesseeÿbyÿanÿamountÿgreaterÿthanÿ25%ÿofÿsuchÿNetÿWorthÿasÿitÿwasÿrepresentedÿatÿthe
     timeÿofÿtheÿexecutionÿofÿthisÿLeaseÿorÿatÿtheÿtimeÿofÿtheÿmostÿrecentÿassignmentÿtoÿwhichÿLessorÿhasÿconsented,ÿorÿasÿitÿexistsÿimmediatelyÿpriorÿtoÿsaid
     transactionÿorÿtransactionsÿconstitutingÿsuchÿreduction,ÿwhicheverÿwasÿorÿisÿgreater,ÿshallÿbeÿconsideredÿanÿassignmentÿofÿthisÿLeaseÿtoÿwhichÿLessor
     mayÿwithholdÿitsÿconsent.ÿÿÿ"NetÿWorthÿofÿLessee" shallÿmeanÿtheÿnetÿworthÿofÿLesseeÿ(excludingÿanyÿguarantors)ÿestablishedÿunderÿgenerallyÿaccepted
     accountingÿprinciples.
                            (d)ÿAnÿassignmentÿorÿsublettingÿwithoutÿconsentÿshall,ÿatÿLessor'sÿoption,ÿbeÿaÿDefaultÿcurableÿafterÿnoticeÿperÿParagraphÿ13.1(c),ÿor
     aÿ noncurableÿ Breachÿ withoutÿ theÿ necessityÿ ofÿ anyÿ noticeÿ andÿ graceÿ period.ÿ ÿÿIfÿ Lessorÿ electsÿ toÿ treatÿ suchÿ unapprovedÿ assignmentÿ orÿ sublettingÿ asÿ a
     noncurableÿBreach,ÿLessorÿmayÿeither:ÿ(i)ÿterminateÿthisÿLease,ÿorÿ(ii)ÿuponÿ30ÿdaysÿwrittenÿnotice,ÿincreaseÿtheÿmonthlyÿBaseÿRentÿtoÿ110%ÿofÿtheÿBase
     Rentÿthenÿinÿeffect.ÿÿFurther,ÿinÿtheÿeventÿofÿsuchÿBreachÿandÿrentalÿadjustment,ÿ(i)ÿtheÿpurchaseÿpriceÿofÿanyÿoptionÿtoÿpurchaseÿtheÿPremisesÿheldÿby
     Lesseeÿ shallÿ beÿ subjectÿ toÿ similarÿ adjustmentÿ toÿ 110%ÿ ofÿ theÿ priceÿ previouslyÿ inÿ effect,ÿ andÿ (ii)ÿ allÿ fixedÿ andÿ non-fixedÿ rentalÿ adjustmentsÿ scheduled
     duringÿtheÿremainderÿofÿtheÿLeaseÿtermÿshallÿbeÿincreasedÿtoÿ110%ÿofÿtheÿscheduledÿadjustedÿrent.
                            (e)ÿLessee'sÿremedyÿforÿanyÿbreachÿofÿParagraphÿ12.1ÿbyÿLessorÿshallÿbeÿlimitedÿtoÿcompensatoryÿdamagesÿand/orÿinjunctiveÿrelief.
                            f)ÿLessorÿmayÿreasonablyÿwithholdÿconsentÿtoÿaÿproposedÿassignmentÿorÿsublettingÿifÿLesseeÿisÿinÿDefaultÿatÿtheÿtimeÿconsentÿis
     requested.
                            (g)ÿNotwithstandingÿtheÿforegoing,ÿallowingÿaÿdeÿminimisÿportionÿofÿtheÿPremises,ÿie.ÿ20ÿsquareÿfeetÿorÿless,ÿtoÿbeÿusedÿbyÿaÿthird
     partyÿvendorÿinÿconnectionÿwithÿtheÿinstallationÿofÿaÿvendingÿmachineÿorÿpayphoneÿshallÿnotÿconstituteÿaÿsubletting.

             ÿ       ÿ(h)ÿNotwithstandingÿtheÿforegoing,ÿinÿtheÿeventÿofÿanyÿproposalÿbyÿLesseeÿtoÿassignÿthisÿLease
     toÿ(a)ÿanÿentityÿcontrolling,ÿcontrolledÿbyÿorÿunderÿcommonÿcontrolÿwithÿLessee,ÿ(b)ÿaÿsuccessorÿentityÿrelated
     toÿ Lesseeÿ byÿ merger,ÿ acquisition,ÿ consolidation,ÿ reorganization,ÿ orÿ (c)ÿ aÿ purchaserÿ ofÿ substantiallyÿ allÿ of
     Lessee'sÿassetsÿlocatedÿinÿtheÿPremises,ÿLessorÿmayÿnotÿwithholdÿorÿconditionÿitsÿconsentÿprovidedÿthat,ÿthe
     netÿworthÿofÿtheÿassigneeÿshallÿbeÿequalÿtoÿorÿgreaterÿthanÿ100%ÿofÿtheÿnetÿworthÿofÿLesseeÿatÿtheÿtimeÿof
     suchÿ assignment.ÿ ÿ Lesseeÿ shallÿ provideÿ theÿ Lessorÿ withÿ notÿ lessÿ thanÿ twentyÿ (20)ÿ businessÿ daysÿ advance
     noticeÿofÿanyÿsuchÿproposedÿassignmentÿandÿLesseeÿshallÿprovideÿLessorÿwithÿreasonableÿfinancialÿinformation
     regardingÿtheÿnetÿworthÿofÿtheÿLesseeÿandÿtheÿproposedÿassignee.ÿÿÿ
                12.2ÿ       ÿTermsÿandÿConditionsÿApplicableÿtoÿAssignmentÿandÿSubletting.
                            (a)ÿRegardlessÿofÿLessor'sÿconsent,ÿnoÿassignmentÿorÿsublettingÿshall:ÿÿ(i)ÿbeÿeffectiveÿwithoutÿtheÿexpressÿwrittenÿassumptionÿby
     suchÿ assigneeÿ orÿ sublesseeÿ ofÿ theÿ obligationsÿ ofÿ Lesseeÿ underÿ thisÿ Lease,ÿ (ii)ÿ releaseÿ Lesseeÿ ofÿ anyÿ obligationsÿ hereunder,ÿ orÿ (iii)ÿ alterÿ theÿ primary

     liabilityÿ ofÿ Lesseeÿ forÿ theÿ paymentÿ ofÿ Rentÿ orÿ forÿ theÿ performanceÿ ofÿ anyÿ otherÿ obligationsÿ toÿ beÿ performedÿ byÿ Lessee,ÿÿprovidedÿthatÿuponÿan
     assignmentÿofÿthisÿLeaseÿtoÿanÿentityÿofÿequalÿorÿsuperiorÿcreditworthinessÿasÿLesseeÿatÿtheÿtimeÿofÿsuchÿassignment,
     LesseeÿwillÿbeÿreleasedÿfromÿallÿfurtherÿliabilityÿunderÿthisÿLease.
                            (b)ÿ Lessorÿ mayÿ acceptÿ Rentÿ orÿ performanceÿ ofÿ Lessee'sÿ obligationsÿ fromÿ anyÿ personÿ otherÿ thanÿ Lesseeÿ pendingÿ approvalÿ or


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     disapprovalÿ ofÿ anÿ assignment.ÿ ÿ Neitherÿ aÿ delayÿ inÿ theÿ approvalÿ orÿ disapprovalÿ ofÿ suchÿ assignmentÿ norÿ theÿ acceptanceÿ ofÿ Rentÿ orÿ performanceÿ shall
     constituteÿaÿwaiverÿorÿestoppelÿofÿLessor'sÿrightÿtoÿexerciseÿitsÿremediesÿforÿLessee'sÿDefaultÿorÿBreach.
                            (c)ÿLessor'sÿconsentÿtoÿanyÿassignmentÿorÿsublettingÿshallÿnotÿconstituteÿaÿconsentÿtoÿanyÿsubsequentÿassignmentÿorÿsubletting.
                            (d)ÿInÿtheÿeventÿofÿanyÿDefaultÿorÿBreachÿbyÿLessee,ÿLessorÿmayÿproceedÿdirectlyÿagainstÿLessee,ÿanyÿGuarantorsÿorÿanyoneÿelse
     responsibleÿ forÿ theÿ performanceÿ ofÿ Lessee'sÿ obligationsÿ underÿ thisÿ Lease,ÿ includingÿ anyÿ assigneeÿ orÿ sublessee,ÿ withoutÿ firstÿ exhaustingÿ Lessor's
     remediesÿagainstÿanyÿotherÿpersonÿorÿentityÿresponsibleÿthereforÿtoÿLessor,ÿorÿanyÿsecurityÿheldÿbyÿLessor.
                            (e)ÿ Eachÿ requestÿ forÿ consentÿ toÿ anÿ assignmentÿ orÿ sublettingÿ shallÿ beÿ inÿ writing,ÿ accompaniedÿ byÿ informationÿ relevantÿ toÿ Lessor's
     determinationÿasÿtoÿtheÿfinancialÿandÿoperationalÿresponsibilityÿandÿappropriatenessÿofÿtheÿproposedÿassigneeÿorÿsublessee,ÿincludingÿbutÿnotÿlimitedÿto
     theÿ intendedÿ useÿ and/orÿ requiredÿ modificationÿ ofÿ theÿ Premises,ÿ ifÿ any,ÿ togetherÿ withÿ aÿ feeÿ ofÿ $500ÿ asÿ considerationÿ forÿ Lessor'sÿ consideringÿ and
     processingÿ saidÿ request.ÿ ÿ Lesseeÿ agreesÿ toÿ provideÿ Lessorÿ withÿ suchÿ otherÿ orÿ additionalÿ informationÿ and/orÿ documentationÿ asÿ mayÿ beÿ reasonably
     requested.ÿ(SeeÿalsoÿParagraphÿ36)
                            (f)ÿAnyÿassigneeÿof,ÿorÿsublesseeÿunder,ÿthisÿLeaseÿshall,ÿbyÿreasonÿofÿacceptingÿsuchÿassignment,ÿenteringÿintoÿsuchÿsublease,ÿor
     enteringÿintoÿpossessionÿofÿtheÿPremisesÿorÿanyÿportionÿthereof,ÿbeÿdeemedÿtoÿhaveÿassumedÿandÿagreedÿtoÿconformÿandÿcomplyÿwithÿeachÿandÿevery
     term,ÿcovenant,ÿconditionÿandÿobligationÿhereinÿtoÿbeÿobservedÿorÿperformedÿbyÿLesseeÿduringÿtheÿtermÿofÿsaidÿassignmentÿorÿsublease,ÿotherÿthanÿsuch
     obligationsÿasÿareÿcontraryÿtoÿorÿinconsistentÿwithÿprovisionsÿofÿanÿassignmentÿorÿsubleaseÿtoÿwhichÿLessorÿhasÿspecificallyÿconsentedÿtoÿinÿwriting.
                ÿ           (ÿ g)ÿ Lessor'sÿ consentÿ toÿ anyÿ assignmentÿ orÿ sublettingÿ shallÿ notÿ transferÿ toÿ theÿ assigneeÿ orÿ sublesseeÿ anyÿ Optionÿ grantedÿ toÿ the
     originalÿLesseeÿbyÿthisÿLeaseÿunlessÿsuchÿtransferÿisÿspecificallyÿconsentedÿtoÿbyÿLessorÿinÿwriting.ÿ(SeeÿParagraphÿ39.2)
                12.3ÿ       ÿAdditionalÿTermsÿandÿConditionsÿApplicableÿtoÿSubletting. Theÿfollowingÿtermsÿandÿconditionsÿshallÿapplyÿtoÿanyÿsublettingÿby
     LesseeÿofÿallÿorÿanyÿpartÿofÿtheÿPremisesÿandÿshallÿbeÿdeemedÿincludedÿinÿallÿsubleasesÿunderÿthisÿLeaseÿwhetherÿorÿnotÿexpresslyÿincorporatedÿtherein:
                            (a)ÿLesseeÿherebyÿassignsÿandÿtransfersÿtoÿLessorÿallÿofÿLessee'sÿinterestÿinÿallÿRentÿpayableÿonÿanyÿsublease,ÿandÿLessorÿmay
     collectÿsuchÿRentÿandÿapplyÿsameÿtowardÿLessee'sÿobligationsÿunderÿthisÿLease;ÿprovided,ÿhowever,ÿthatÿuntilÿaÿBreachÿshallÿoccurÿinÿtheÿperformance
     ofÿLessee'sÿobligations,ÿLesseeÿmayÿcollectÿsaidÿRent.ÿInÿtheÿeventÿthatÿtheÿamountÿcollectedÿbyÿLessorÿexceedsÿLessee'sÿthenÿoutstandingÿobligations
     anyÿsuchÿexcessÿshallÿbeÿrefundedÿtoÿLessee.ÿLessorÿshallÿnot,ÿbyÿreasonÿofÿtheÿforegoingÿorÿanyÿassignmentÿofÿsuchÿsublease,ÿnorÿbyÿreasonÿofÿthe
     collectionÿ ofÿ Rent,ÿ beÿ deemedÿ liableÿ toÿ theÿ sublesseeÿ forÿ anyÿ failureÿ ofÿ Lesseeÿ toÿ performÿ andÿ complyÿ withÿ anyÿ ofÿ Lessee'sÿ obligationsÿ toÿ such
     sublessee.ÿÿLesseeÿherebyÿirrevocablyÿauthorizesÿandÿdirectsÿanyÿsuchÿsublessee,ÿuponÿreceiptÿofÿaÿwrittenÿnoticeÿfromÿLessorÿstatingÿthatÿaÿBreach
     existsÿinÿtheÿperformanceÿofÿLessee'sÿobligationsÿunderÿthisÿLease,ÿtoÿpayÿtoÿLessorÿallÿRentÿdueÿandÿtoÿbecomeÿdueÿunderÿtheÿsublease.ÿÿSublessee
     shallÿrelyÿuponÿanyÿsuchÿnoticeÿfromÿLessorÿandÿshallÿpayÿallÿRentsÿtoÿLessorÿwithoutÿanyÿobligationÿorÿrightÿtoÿinquireÿasÿtoÿwhetherÿsuchÿBreachÿexists,
     notwithstandingÿanyÿclaimÿfromÿLesseeÿtoÿtheÿcontrary.
                            (b)ÿInÿtheÿeventÿofÿaÿBreachÿbyÿLessee,ÿLessorÿmay,ÿatÿitsÿoption,ÿrequireÿsublesseeÿtoÿattornÿtoÿLessor,ÿinÿwhichÿeventÿLessorÿshall
     undertakeÿtheÿobligationsÿofÿtheÿsublessorÿunderÿsuchÿsubleaseÿfromÿtheÿtimeÿofÿtheÿexerciseÿofÿsaidÿoptionÿtoÿtheÿexpirationÿofÿsuchÿsublease;ÿprovided,
     however,ÿ Lessorÿ shallÿ notÿ beÿ liableÿ forÿ anyÿ prepaidÿ rentsÿ orÿ securityÿ depositÿ paidÿ byÿ suchÿ sublesseeÿ toÿ suchÿ sublessorÿ orÿ forÿ anyÿ priorÿ Defaultsÿ or
     Breachesÿofÿsuchÿsublessor.
                            (c)ÿAnyÿmatterÿrequiringÿtheÿconsentÿofÿtheÿsublessorÿunderÿaÿsubleaseÿshallÿalsoÿrequireÿtheÿconsentÿofÿLessor.
                            (d)ÿNoÿsublesseeÿshallÿfurtherÿassignÿorÿsubletÿallÿorÿanyÿpartÿofÿtheÿPremisesÿwithoutÿLessor'sÿpriorÿwrittenÿconsent.
                            (e)ÿLessorÿshallÿdeliverÿaÿcopyÿofÿanyÿnoticeÿofÿDefaultÿorÿBreachÿbyÿLesseeÿtoÿtheÿsublessee,ÿwhoÿshallÿhaveÿtheÿrightÿtoÿcureÿthe
     Defaultÿ ofÿ Lesseeÿ withinÿ theÿ graceÿ period,ÿ ifÿ any,ÿ specifiedÿ inÿ suchÿ notice.ÿ ÿ Theÿ sublesseeÿ shallÿ haveÿ aÿ rightÿ ofÿ reimbursementÿ andÿ offsetÿ fromÿ and
     againstÿLesseeÿforÿanyÿsuchÿDefaultsÿcuredÿbyÿtheÿsublessee.
     13.ÿ       ÿDefault;ÿBreach;ÿRemedies.
                13.1ÿ       ÿDefault;ÿ Breach. Aÿ ÿ"Default" isÿ definedÿ asÿ aÿ failureÿ byÿ theÿ Lesseeÿ toÿ complyÿ withÿ orÿ performÿ anyÿ ofÿ theÿ terms,ÿ covenants,
     conditionsÿ orÿ Rulesÿ andÿ Regulationsÿ underÿ thisÿ Lease.ÿ ÿ Aÿ ÿ"Breach" isÿ definedÿ asÿ theÿ occurrenceÿ ofÿ oneÿ orÿ moreÿ ofÿ theÿ followingÿ Defaults,ÿ andÿ the
     failureÿofÿLesseeÿtoÿcureÿsuchÿDefaultÿwithinÿanyÿapplicableÿgraceÿperiod:
                            (a)ÿ Theÿ abandonmentÿ ofÿ theÿ Premises;ÿ orÿ theÿ vacatingÿ ofÿ theÿ Premisesÿ withoutÿ providingÿ aÿ commerciallyÿ reasonableÿ levelÿ of
     security,ÿorÿwhereÿtheÿcoverageÿofÿtheÿpropertyÿinsuranceÿdescribedÿinÿParagraphÿ8.3ÿisÿjeopardizedÿasÿaÿresultÿthereof,ÿorÿwithoutÿprovidingÿreasonable
     assurancesÿtoÿminimizeÿpotentialÿvandalism.
                            (b)ÿTheÿfailureÿofÿLesseeÿtoÿmakeÿanyÿpaymentÿofÿRentÿorÿanyÿSecurityÿDepositÿrequiredÿtoÿbeÿmadeÿbyÿLesseeÿhereunder,ÿwhether
     toÿLessorÿorÿtoÿaÿthirdÿparty,ÿwhenÿdue,ÿtoÿprovideÿreasonableÿevidenceÿofÿinsuranceÿorÿsuretyÿbond,ÿorÿtoÿfulfillÿanyÿobligationÿunderÿthisÿLeaseÿwhich
     endangersÿ orÿ threatensÿ lifeÿ orÿ property,ÿ whereÿ suchÿ failureÿ continuesÿ forÿ aÿ periodÿ ofÿ ÿ35 businessÿ daysÿ followingÿ writtenÿ noticeÿ toÿ Lessee.ÿ THE
     ACCEPTANCEÿ BYÿ LESSORÿ OFÿ Aÿ PARTIALÿ PAYMENTÿ OFÿ RENTÿ ORÿ SECURITYÿ DEPOSITÿ SHALLÿ NOTÿ CONSTITUTEÿ Aÿ WAIVERÿ OFÿ ANYÿ OF
     LESSOR'SÿRIGHTS,ÿINCLUDINGÿLESSOR'SÿRIGHTÿTOÿRECOVERÿPOSSESSIONÿOFÿTHEÿPREMISES.
                            (c)ÿ Theÿ failureÿ ofÿ Lesseeÿ toÿ allowÿ Lessorÿ and/orÿ itsÿ agentsÿ accessÿ toÿ theÿ Premisesÿ orÿ theÿ commissionÿ ofÿ waste,ÿ actÿ orÿ acts
     constitutingÿpublicÿorÿprivateÿnuisance,ÿand/orÿanÿillegalÿactivityÿonÿtheÿPremisesÿbyÿLessee,ÿwhereÿsuchÿactionsÿcontinueÿforÿaÿperiodÿofÿÿ35 business
     daysÿfollowingÿwrittenÿnoticeÿtoÿLessee.
                            (d)ÿ Theÿ failureÿ byÿ Lesseeÿ toÿ provideÿ (i)ÿ reasonableÿ writtenÿ evidenceÿ ofÿ complianceÿ withÿ Applicableÿ Requirements,ÿ ÿ(ii)ÿ theÿ service
     contracts,ÿ ÿ(iii)ÿ theÿ rescissionÿ ofÿ anÿ unauthorizedÿ assignmentÿ orÿ subletting,ÿ (iv)ÿ anÿ Estoppelÿ Certificateÿ o
                                                                                                                              ÿ rÿ financialÿ statements,ÿ (v)ÿ aÿ requested
     subordination ÿpursuantÿtoÿthisÿLease,ÿÿ(vi)ÿevidenceÿconcerningÿanyÿguarantyÿand/orÿGuarantor, (vii)ÿanyÿdocumentÿrequestedÿunderÿParagraphÿ42,
     (viii)ÿ materialÿ safetyÿ dataÿ sheetsÿ (MSDS),ÿ orÿ (ix)ÿ anyÿ otherÿ documentationÿ orÿ informationÿ whichÿ Lessorÿ mayÿ reasonablyÿ requireÿ ofÿ Lesseeÿ underÿ the
     termsÿofÿthisÿLease,ÿwhereÿanyÿsuchÿfailureÿcontinuesÿforÿaÿperiodÿofÿÿ1030 daysÿfollowingÿwrittenÿnoticeÿtoÿLessee.
                          (e)ÿAÿDefaultÿbyÿLesseeÿasÿtoÿtheÿterms,ÿcovenants,ÿconditionsÿorÿprovisionsÿofÿthisÿLease,ÿorÿofÿtheÿrulesÿadoptedÿunderÿParagraph
     40ÿhereof,ÿotherÿthanÿthoseÿdescribedÿinÿsubparagraphsÿ13.1(a),ÿ(b),ÿ(c)ÿorÿ(d),ÿabove,ÿwhereÿsuchÿDefaultÿcontinuesÿforÿaÿperiodÿofÿ30ÿdaysÿafterÿwritten
     notice;ÿprovided,ÿhowever,ÿthatÿifÿtheÿnatureÿofÿLessee'sÿDefaultÿisÿsuchÿthatÿmoreÿthanÿ30ÿdaysÿareÿreasonablyÿrequiredÿforÿitsÿcure,ÿthenÿitÿshallÿnotÿbe
     deemedÿtoÿbeÿaÿBreachÿifÿLesseeÿcommencesÿsuchÿcureÿwithinÿsaidÿ30ÿdayÿperiodÿandÿthereafterÿdiligentlyÿprosecutesÿsuchÿcureÿtoÿcompletion.
                            (f)ÿ Theÿ occurrenceÿ ofÿ anyÿ ofÿ theÿ followingÿ events:ÿ ÿ (i)ÿ theÿ makingÿ ofÿ anyÿ generalÿ arrangementÿ orÿ assignmentÿ forÿ theÿ benefitÿ of
     creditors;ÿ(ii)ÿbecomingÿaÿÿ"debtor" asÿdefinedÿinÿ11ÿU.S.C.ÿ§101ÿorÿanyÿsuccessorÿstatuteÿtheretoÿ(unless,ÿinÿtheÿcaseÿofÿaÿpetitionÿfiledÿagainstÿLessee,
     theÿsameÿisÿdismissedÿwithinÿ60ÿdays);ÿ(iii)ÿtheÿappointmentÿofÿaÿtrusteeÿorÿreceiverÿtoÿtakeÿpossessionÿofÿsubstantiallyÿallÿofÿLessee'sÿassetsÿlocatedÿat
     theÿPremisesÿorÿofÿLessee'sÿinterestÿinÿthisÿLease,ÿwhereÿpossessionÿisÿnotÿrestoredÿtoÿLesseeÿwithinÿ30ÿdays;ÿorÿ(iv)ÿtheÿattachment,ÿexecutionÿorÿother


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 Case  19-04057
       19-40193          Doc#
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     judicialÿseizureÿofÿsubstantiallyÿallÿofÿLessee'sÿassetsÿlocatedÿatÿtheÿPremisesÿorÿofÿLessee'sÿinterestÿinÿthisÿLease,ÿwhereÿsuchÿseizureÿisÿnotÿdischarged
     withinÿ30ÿdays;ÿprovided,ÿhowever,ÿinÿtheÿeventÿthatÿanyÿprovisionÿofÿthisÿsubparagraphÿisÿcontraryÿtoÿanyÿapplicableÿlaw,ÿsuchÿprovisionÿshallÿbeÿofÿno
     forceÿorÿeffect,ÿandÿnotÿaffectÿtheÿvalidityÿofÿtheÿremainingÿprovisions.
                ÿ            (ÿ g)ÿTheÿdiscoveryÿthatÿanyÿfinancialÿstatementÿofÿLesseeÿorÿofÿanyÿGuarantorÿgivenÿtoÿLessorÿwasÿmateriallyÿfalse.
                ÿ            (ÿ h)ÿIfÿtheÿperformanceÿofÿLessee'sÿobligationsÿunderÿthisÿLeaseÿisÿguaranteed:ÿÿ(i)ÿtheÿdeathÿofÿaÿGuarantor,ÿ(ii)ÿtheÿterminationÿofÿa
     Guarantor'sÿliabilityÿwithÿrespectÿtoÿthisÿLeaseÿotherÿthanÿinÿaccordanceÿwithÿtheÿtermsÿofÿsuchÿguaranty,ÿ(iii)ÿaÿGuarantor'sÿbecomingÿinsolventÿorÿthe
     subjectÿofÿaÿbankruptcyÿfiling,ÿ(iv)ÿaÿGuarantor'sÿrefusalÿtoÿhonorÿtheÿguaranty,ÿorÿ(v)ÿaÿGuarantor'sÿbreachÿofÿitsÿguarantyÿobligationÿonÿanÿanticipatory
     basis,ÿandÿLessee'sÿfailure,ÿwithinÿ60ÿdaysÿfollowingÿwrittenÿnoticeÿofÿanyÿsuchÿevent,ÿtoÿprovideÿwrittenÿalternativeÿassuranceÿorÿsecurity,ÿwhich,ÿwhen
     coupledÿwithÿtheÿthenÿexistingÿresourcesÿofÿLessee,ÿequalsÿorÿexceedsÿtheÿcombinedÿfinancialÿresourcesÿofÿLesseeÿandÿtheÿGuarantorsÿthatÿexistedÿat
     theÿtimeÿofÿexecutionÿofÿthisÿLease.
             13.2ÿ     ÿRemedies. IfÿLesseeÿfailsÿtoÿperformÿanyÿofÿitsÿaffirmativeÿdutiesÿorÿobligations,ÿwithinÿÿ1030 daysÿafterÿwrittenÿnoticeÿ(orÿinÿcaseÿof
     anÿemergency,ÿwithoutÿnotice),ÿLessorÿmay,ÿatÿitsÿoption,ÿperformÿsuchÿdutyÿorÿobligationÿonÿLessee'sÿbehalf,ÿincludingÿbutÿnotÿlimitedÿtoÿtheÿobtainingÿof
     reasonablyÿrequiredÿbonds,ÿinsuranceÿpolicies,ÿorÿgovernmentalÿlicenses,ÿpermitsÿorÿapprovals.ÿÿLesseeÿshallÿpayÿtoÿLessorÿanÿamountÿequalÿtoÿ115%ÿof
     theÿ costsÿ andÿ expensesÿ incurredÿ byÿ Lessorÿ inÿ suchÿ performanceÿ uponÿ receiptÿ ofÿ anÿ invoiceÿ therefor.ÿ ÿ Inÿ theÿ eventÿ ofÿ aÿ Breach,ÿ Lessorÿ may,ÿ withÿ or
     withoutÿfurtherÿnoticeÿorÿdemand,ÿandÿwithoutÿlimitingÿLessorÿinÿtheÿexerciseÿofÿanyÿrightÿorÿremedyÿwhichÿLessorÿmayÿhaveÿbyÿreasonÿofÿsuchÿBreach:
                             (a)ÿ Terminateÿ Lessee'sÿ rightÿ toÿ possessionÿ ofÿ theÿ Premisesÿ byÿ anyÿ lawfulÿ means,ÿ inÿ whichÿ caseÿ thisÿ Leaseÿ shallÿ terminateÿ and
     LesseeÿshallÿimmediatelyÿsurrenderÿpossessionÿtoÿLessor.ÿÿInÿsuchÿeventÿLessorÿshallÿbeÿentitledÿtoÿrecoverÿfrom Lessee:ÿÿ(i)ÿtheÿunpaidÿRentÿwhichÿhad
     beenÿearnedÿatÿtheÿtimeÿofÿtermination;ÿ(ii)ÿtheÿworthÿatÿtheÿtimeÿofÿawardÿofÿtheÿamountÿbyÿwhichÿtheÿunpaidÿrentÿwhichÿwouldÿhaveÿbeenÿearnedÿafter
     terminationÿuntilÿtheÿtimeÿofÿawardÿexceedsÿtheÿamountÿofÿsuchÿrentalÿlossÿthatÿtheÿLesseeÿprovesÿcouldÿhaveÿbeenÿreasonablyÿavoided;ÿ(iii)ÿtheÿworthÿat
     theÿtimeÿofÿawardÿofÿtheÿamountÿbyÿwhichÿtheÿunpaidÿrentÿforÿtheÿbalanceÿofÿtheÿtermÿafterÿtheÿtimeÿofÿawardÿexceedsÿtheÿamountÿofÿsuchÿrentalÿlossÿthat
     theÿLesseeÿprovesÿcouldÿbeÿreasonablyÿavoided;ÿandÿ(iv)ÿanyÿotherÿamountÿnecessaryÿtoÿcompensateÿLessorÿforÿallÿtheÿdetrimentÿproximatelyÿcausedÿby
     theÿLessee'sÿfailureÿtoÿperform itsÿobligationsÿunderÿthisÿLeaseÿorÿwhichÿinÿtheÿordinaryÿcourseÿofÿthingsÿwouldÿbeÿlikelyÿtoÿresultÿtherefrom,ÿincludingÿbut
     notÿlimitedÿtoÿtheÿcostÿofÿrecoveringÿpossessionÿofÿtheÿPremises,ÿexpensesÿofÿreletting,ÿincludingÿnecessaryÿrenovationÿandÿalterationÿofÿtheÿPremises,
     reasonableÿattorneys'ÿfees,ÿandÿthatÿportionÿofÿanyÿleasingÿcommissionÿpaidÿbyÿLessorÿinÿconnectionÿwithÿthisÿLeaseÿapplicableÿtoÿtheÿunexpiredÿtermÿof
     thisÿ Lease.ÿ ÿ Theÿ worthÿ atÿ theÿ timeÿ ofÿ awardÿ ofÿ theÿ amountÿ referredÿ toÿ inÿ provisionÿ (iii)ÿ ofÿ theÿ immediatelyÿ precedingÿ sentenceÿ shallÿ beÿ computedÿ by
     discountingÿsuchÿamountÿatÿtheÿdiscountÿrateÿofÿtheÿFederalÿReserveÿBankÿofÿtheÿDistrictÿwithinÿwhichÿtheÿPremisesÿareÿlocatedÿatÿtheÿtimeÿofÿaward
     plusÿoneÿpercent.ÿÿEffortsÿbyÿLessorÿtoÿmitigateÿdamagesÿcausedÿbyÿLessee'sÿBreachÿofÿthisÿLeaseÿshallÿnotÿwaiveÿLessor'sÿrightÿtoÿrecoverÿdamages
     underÿParagraphÿ12.ÿÿIfÿterminationÿofÿthisÿLeaseÿisÿobtainedÿthroughÿtheÿprovisionalÿremedyÿofÿunlawfulÿdetainer,ÿLessorÿshallÿhaveÿtheÿrightÿtoÿrecover
     inÿsuchÿproceedingÿanyÿunpaidÿRentÿandÿdamagesÿasÿareÿrecoverableÿtherein,ÿorÿLessorÿmayÿreserveÿtheÿrightÿtoÿrecoverÿallÿorÿanyÿpartÿthereofÿinÿa
     separateÿsuit.ÿÿIfÿaÿnoticeÿandÿgraceÿperiodÿrequiredÿunderÿParagraphÿ13.1ÿwasÿnotÿpreviouslyÿgiven,ÿaÿnoticeÿtoÿpayÿrentÿorÿquit,ÿorÿtoÿperformÿorÿquit
     givenÿ toÿ Lesseeÿ underÿ theÿ unlawfulÿ detainerÿ statuteÿ shallÿ alsoÿ constituteÿ theÿ noticeÿ requiredÿ byÿ Paragraphÿ 13.1.ÿ ÿ Inÿ suchÿ case,ÿ theÿ applicableÿ grace
     periodÿ requiredÿ byÿ Paragraphÿ 13.1ÿ andÿ theÿ unlawfulÿ detainerÿ statuteÿ shallÿ runÿ concurrently,ÿ andÿ theÿ failureÿ ofÿ Lesseeÿ toÿ cureÿ theÿ Defaultÿ withinÿ the
     greaterÿofÿtheÿtwoÿsuchÿgraceÿperiodsÿshallÿconstituteÿbothÿanÿunlawfulÿdetainerÿandÿaÿBreachÿofÿthisÿLeaseÿentitlingÿLessorÿtoÿtheÿremediesÿprovidedÿfor
     inÿthisÿLeaseÿand/orÿbyÿsaidÿstatute.
                             (b)ÿ Continueÿ theÿ Leaseÿ andÿ Lessee'sÿ rightÿ toÿ possessionÿ andÿ recoverÿ theÿ Rentÿ asÿ itÿ becomesÿ due,ÿ inÿ whichÿ eventÿ Lesseeÿ may
     subletÿ orÿ assign,ÿ subjectÿ onlyÿ toÿ reasonableÿ limitations.ÿ ÿ Actsÿ ofÿ maintenance,ÿ effortsÿ toÿ relet,ÿ and/orÿ theÿ appointmentÿ ofÿ aÿ receiverÿ toÿ protectÿ the
     Lessor'sÿinterests,ÿshallÿnotÿconstituteÿaÿterminationÿofÿtheÿLessee'sÿrightÿtoÿpossession.
                             (c)ÿPursueÿanyÿotherÿremedyÿnowÿorÿhereafterÿavailableÿunderÿtheÿlawsÿorÿjudicialÿdecisionsÿofÿtheÿstateÿwhereinÿtheÿPremisesÿare
     located.ÿÿTheÿexpirationÿorÿterminationÿofÿthisÿLeaseÿand/orÿtheÿterminationÿofÿLessee'sÿrightÿtoÿpossessionÿshallÿnotÿrelieveÿLesseeÿfromÿliabilityÿunder
     anyÿindemnityÿprovisionsÿofÿthisÿLeaseÿasÿtoÿmattersÿoccurringÿorÿaccruingÿduringÿtheÿtermÿhereofÿorÿbyÿreasonÿofÿLessee'sÿoccupancyÿofÿtheÿPremises.
                ÿ13.3ÿ       ÿInducementÿRecapture. Anyÿagreementÿforÿfreeÿorÿabatedÿrentÿorÿotherÿcharges,ÿorÿforÿtheÿgivingÿorÿpayingÿbyÿLessorÿtoÿorÿfor
     Lesseeÿofÿanyÿcashÿorÿotherÿbonus,ÿinducementÿorÿconsiderationÿforÿLessee'sÿenteringÿintoÿthisÿLease,ÿallÿofÿwhichÿconcessionsÿareÿhereinafterÿreferred
     toÿasÿÿ"InducementÿProvisions," shallÿbeÿdeemedÿconditionedÿuponÿLessee'sÿfullÿandÿfaithfulÿperformanceÿofÿallÿofÿtheÿterms,ÿcovenantsÿandÿconditions
     ofÿthisÿLease.ÿÿUponÿBreachÿofÿthisÿLeaseÿbyÿLessee,ÿanyÿsuchÿInducementÿProvisionÿshallÿautomaticallyÿbeÿdeemedÿdeletedÿfromÿthisÿLeaseÿandÿofÿno
     furtherÿ forceÿ orÿ effect,ÿ andÿ anyÿ rent,ÿ otherÿ charge,ÿ bonus,ÿ inducementÿ orÿ considerationÿ theretoforeÿ abated,ÿ givenÿ orÿ paidÿ byÿ Lessorÿ underÿ suchÿ an
     inducementÿProvisionÿshallÿbeÿimmediatelyÿdueÿandÿpayableÿbyÿLesseeÿtoÿLessor,ÿnotwithstandingÿanyÿsubsequentÿcureÿofÿsaidÿBreachÿbyÿLessee.ÿÿThe
     acceptanceÿbyÿLessorÿofÿrentÿorÿtheÿcureÿofÿtheÿBreachÿwhichÿinitiatedÿtheÿoperationÿofÿthisÿparagraphÿshallÿnotÿbeÿdeemedÿaÿwaiverÿbyÿLessorÿofÿthe
     provisionsÿofÿthisÿparagraphÿunlessÿspecificallyÿsoÿstatedÿinÿwritingÿbyÿLessorÿatÿtheÿtimeÿofÿsuchÿacceptance.
                13.4ÿ        ÿLateÿ Charges.     Lesseeÿ herebyÿ acknowledgesÿ thatÿ lateÿ paymentÿ byÿ Lesseeÿ ofÿ Rentÿ willÿ causeÿ Lessorÿ toÿ incurÿ costsÿ not
     contemplatedÿbyÿthisÿLease,ÿtheÿexactÿamountÿofÿwhichÿwillÿbeÿextremelyÿdifficultÿtoÿascertain.ÿÿSuchÿcostsÿinclude,ÿbutÿareÿnotÿlimitedÿto,ÿprocessingÿand
     accountingÿ charges,ÿ andÿ lateÿ chargesÿ whichÿ mayÿ beÿ imposedÿ uponÿ Lessorÿ byÿ anyÿ Lender.ÿ ÿ Accordingly,ÿ ifÿ anyÿ Rentÿ shallÿ notÿ beÿ receivedÿ byÿ Lessor
     withinÿÿ510 daysÿafterÿsuchÿamountÿshallÿbeÿdue,ÿthen,ÿwithoutÿanyÿrequirementÿforÿnoticeÿtoÿLessee,ÿLesseeÿshallÿimmediatelyÿpayÿtoÿLessorÿaÿone-time
     lateÿchargeÿequalÿto 10% ÿ5% ofÿeachÿsuchÿoverdueÿamountÿorÿ$100,ÿwhicheverÿisÿgreater.ÿÿTheÿPartiesÿherebyÿagreeÿthatÿsuchÿlateÿchargeÿrepresentsÿa
     fairÿandÿreasonableÿestimateÿofÿtheÿcostsÿLessorÿwillÿincurÿbyÿreasonÿofÿsuchÿlateÿpayment.ÿÿAcceptanceÿofÿsuchÿlateÿchargeÿbyÿLessorÿshallÿinÿnoÿevent
     constituteÿaÿwaiverÿofÿLessee'sÿDefaultÿorÿBreachÿwithÿrespectÿtoÿsuchÿoverdueÿamount,ÿnorÿpreventÿtheÿexerciseÿofÿanyÿofÿtheÿotherÿrightsÿandÿremedies
     grantedÿhereunder.ÿÿInÿtheÿeventÿthatÿaÿlateÿchargeÿisÿpayableÿhereunder,ÿwhetherÿorÿnotÿcollected,ÿforÿ3ÿconsecutiveÿinstallmentsÿofÿBaseÿRent,ÿthen
     notwithstandingÿanyÿprovisionÿofÿthisÿLeaseÿtoÿtheÿcontrary,ÿBaseÿRentÿshall,ÿatÿLessor'sÿoption,ÿbecomeÿdueÿandÿpayableÿquarterlyÿinÿadvance.
                13.5ÿ        ÿInterest.   Any monetaryÿ paymentÿ dueÿ Lessorÿ hereunder,ÿ otherÿ thanÿ lateÿ charges,ÿ notÿ receivedÿ byÿ Lessor,ÿ whenÿ dueÿ asÿ to
     scheduledÿpaymentsÿ(suchÿasÿBaseÿRent)ÿorÿwithinÿ30ÿdaysÿfollowingÿtheÿdateÿonÿwhichÿitÿwasÿdueÿforÿnon-scheduledÿpayment,ÿshallÿbearÿinterestÿfrom
     theÿdateÿwhenÿdue,ÿasÿtoÿscheduledÿpayments,ÿorÿtheÿ31stÿdayÿafterÿitÿwasÿdueÿasÿtoÿnon-scheduledÿpayments.ÿÿTheÿinterestÿ("Interest")ÿchargedÿshall
     beÿcomputedÿatÿtheÿrateÿofÿ10%ÿperÿannumÿbutÿshallÿnotÿexceedÿtheÿmaximumÿrateÿallowedÿbyÿlaw.ÿÿInterestÿisÿpayableÿinÿadditionÿtoÿtheÿpotentialÿlate
     chargeÿprovidedÿforÿinÿParagraphÿ13.4.
                13.6ÿ        ÿBreachÿby Lessor.
                             (a)ÿÿNoticeÿofÿBreach. LessorÿshallÿnotÿbeÿdeemedÿinÿbreachÿofÿthisÿLeaseÿunlessÿLessorÿfailsÿwithinÿaÿreasonableÿtimeÿtoÿperform
     anÿ obligationÿ requiredÿ toÿ beÿ performedÿ byÿ Lessor.ÿ ÿ Forÿ purposesÿ ofÿ thisÿ Paragraph,ÿ aÿ reasonableÿ timeÿ shallÿ inÿ noÿ eventÿ beÿ lessÿ thanÿ 30ÿ daysÿ after


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       19-40193          Doc#
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     receiptÿbyÿLessor,ÿandÿanyÿLenderÿwhoseÿnameÿandÿaddressÿshallÿhaveÿbeenÿfurnishedÿLesseeÿinÿwritingÿforÿsuchÿpurpose,ÿofÿwrittenÿnoticeÿspecifying
     whereinÿsuchÿobligationÿofÿLessorÿhasÿnotÿbeenÿperformed;ÿprovided,ÿhowever,ÿthatÿifÿtheÿnatureÿofÿLessor'sÿobligationÿisÿsuchÿthatÿmoreÿthanÿ30ÿdays
     areÿreasonablyÿrequiredÿforÿitsÿperformance,ÿthenÿLessorÿshallÿnotÿbeÿinÿbreachÿifÿperformanceÿisÿcommencedÿwithinÿsuchÿ30ÿdayÿperiodÿandÿthereafter
     diligentlyÿpursuedÿtoÿcompletion.
                             (b)ÿÿPerformanceÿby LesseeÿonÿBehalfÿofÿLessor. InÿtheÿeventÿthatÿneitherÿLessorÿnorÿLenderÿcuresÿsaidÿbreachÿwithinÿ30ÿdays
     afterÿreceiptÿofÿsaidÿnotice,ÿorÿifÿhavingÿcommencedÿsaidÿcureÿtheyÿdoÿnotÿdiligentlyÿpursueÿitÿtoÿcompletion,ÿthenÿLesseeÿmayÿelectÿtoÿcureÿsaidÿbreach

     atÿLessee'sÿexpenseÿandÿoffsetÿfromÿRentÿtheÿactualÿandÿreasonableÿcostÿtoÿperformÿsuchÿcure, ÿprovided,ÿhowever,ÿthatÿallÿsuchÿoffsetsÿshall
     notÿcumulativelyÿexceedÿanÿamountÿequalÿtoÿthreeÿ(3)ÿtimesÿtheÿinitialÿmonth'sÿBaseÿRentÿunderÿthisÿLease,ÿreserving
     Lessee'sÿ rightÿ toÿ seekÿ reimbursementÿ fromÿ Lessorÿ forÿ anyÿ suchÿ expenseÿ inÿ excessÿ ofÿ suchÿ offset.ÿ ÿ ÿ ÿ ÿprovided,
     however,ÿthatÿsuchÿoffsetÿshallÿnotÿexceedÿanÿamountÿequalÿtoÿtheÿgreaterÿofÿoneÿmonth'sÿBaseÿRent
     orÿ theÿ Securityÿ Deposit,ÿ reservingÿ Lessee'sÿ rightÿ toÿ seekÿ reimbursementÿ fromÿ Lessorÿ forÿ anyÿ such
     expenseÿinÿexcessÿofÿsuchÿoffset.ÿÿÿLesseeÿshallÿdocumentÿtheÿcostÿofÿsaidÿcureÿandÿsupplyÿsaidÿdocumentationÿtoÿLessor.
     14.ÿ       ÿCondemnation. IfÿtheÿPremisesÿorÿanyÿportionÿthereofÿareÿtakenÿunderÿtheÿpowerÿofÿeminentÿdomainÿorÿsoldÿunderÿtheÿthreatÿofÿtheÿexercise
     ofÿ saidÿ powerÿ (collectivelyÿ ÿ"Condemnation"),ÿ thisÿ Leaseÿ shallÿ terminateÿ asÿ toÿ theÿ partÿ takenÿ asÿ ofÿ theÿ dateÿ theÿ condemningÿ authorityÿ takesÿ titleÿ or
     possession,ÿwhicheverÿfirstÿoccurs.ÿÿIfÿmoreÿthanÿ10%ÿofÿtheÿBuilding,ÿorÿmoreÿthanÿ25%ÿofÿthatÿportionÿofÿtheÿPremisesÿnotÿoccupiedÿbyÿanyÿbuilding,ÿis
     takenÿbyÿCondemnation,ÿLesseeÿmay,ÿatÿLessee'sÿoption,ÿtoÿbeÿexercisedÿinÿwritingÿwithinÿ10ÿdaysÿafterÿLessorÿshallÿhaveÿgivenÿLesseeÿwrittenÿnoticeÿof
     suchÿtakingÿ(orÿinÿtheÿabsenceÿofÿsuchÿnotice,ÿwithinÿ10ÿdaysÿafterÿtheÿcondemningÿauthorityÿshallÿhaveÿtakenÿpossession)ÿterminateÿthisÿLeaseÿasÿofÿthe
     dateÿ theÿ condemningÿ authorityÿ takesÿ suchÿ possession.ÿ ÿ Ifÿ Lesseeÿ doesÿ notÿ terminateÿ thisÿ Leaseÿ inÿ accordanceÿ withÿ theÿ foregoing,ÿ thisÿ Leaseÿ shall
     remainÿinÿfullÿforceÿandÿeffectÿasÿtoÿtheÿportionÿofÿtheÿPremisesÿremaining,ÿexceptÿthatÿtheÿBaseÿRentÿshallÿbeÿreducedÿinÿproportionÿtoÿtheÿreductionÿin
     utilityÿofÿtheÿPremisesÿcausedÿbyÿsuchÿCondemnation.ÿÿCondemnationÿawardsÿand/orÿpaymentsÿshallÿbeÿtheÿpropertyÿofÿLessor,ÿwhetherÿsuchÿaward
     shallÿbeÿmadeÿasÿcompensationÿforÿdiminutionÿinÿvalueÿofÿtheÿleasehold,ÿtheÿvalueÿofÿtheÿpartÿtaken,ÿorÿforÿseveranceÿdamages;ÿprovided,ÿhowever,ÿthat
     LesseeÿshallÿbeÿentitledÿtoÿanyÿcompensationÿpaidÿbyÿtheÿcondemnorÿforÿLessee'sÿrelocationÿexpenses,ÿlossÿofÿbusinessÿgoodwillÿand/orÿTradeÿFixtures,
     withoutÿregardÿtoÿwhetherÿorÿnotÿthisÿLeaseÿisÿterminatedÿpursuantÿtoÿtheÿprovisionsÿofÿthisÿParagraph.ÿÿAllÿAlterationsÿandÿUtilityÿInstallationsÿmadeÿto
     theÿPremisesÿbyÿLessee,ÿforÿpurposesÿofÿCondemnationÿonly,ÿshallÿbeÿconsideredÿtheÿpropertyÿofÿtheÿLesseeÿandÿLesseeÿshallÿbeÿentitledÿtoÿanyÿandÿall
     compensationÿwhichÿisÿpayableÿtherefor.ÿÿInÿtheÿeventÿthatÿthisÿLeaseÿisÿnotÿterminatedÿbyÿreasonÿofÿtheÿCondemnation,ÿLessorÿshallÿrepairÿanyÿdamage
     toÿtheÿPremisesÿcausedÿbyÿsuchÿCondemnation.
     15.ÿ       ÿBrokerageÿFees. N/A
                ÿ15.1ÿ       ÿAdditionalÿCommission. InÿadditionÿtoÿtheÿpaymentsÿowedÿpursuantÿtoÿParagraphÿ1.9ÿabove,ÿandÿunlessÿLessorÿandÿtheÿBrokers
     otherwiseÿagreeÿinÿwriting,ÿLessorÿagreesÿthat:ÿÿ(a)ÿifÿLesseeÿexercisesÿanyÿOption,ÿ(b)ÿifÿLesseeÿorÿanyoneÿaffiliatedÿwithÿLesseeÿacquiresÿanyÿrightsÿto
     theÿ Premisesÿ orÿ otherÿ premisesÿ ownedÿ byÿ Lessorÿ andÿ locatedÿ withinÿ theÿ sameÿ Project,ÿ ifÿ any,ÿ withinÿ whichÿ theÿ Premisesÿ isÿ located,ÿ (c)ÿ ifÿ Lessee
     remainsÿ inÿ possessionÿ ofÿ theÿ Premises,ÿ withÿ theÿ consentÿ ofÿ Lessor,ÿ afterÿ theÿ expirationÿ ofÿ thisÿ Lease,ÿ orÿ (d)ÿ ifÿ Baseÿ Rentÿ isÿ increased,ÿ whetherÿ by
     agreementÿorÿoperationÿofÿanÿescalationÿclauseÿherein,ÿthen,ÿÿLessorÿshallÿpayÿBrokersÿaÿfeeÿinÿaccordanceÿwithÿtheÿscheduleÿofÿtheÿBrokersÿinÿeffectÿat
     theÿtimeÿofÿtheÿexecutionÿofÿthisÿLease.
                15.2ÿ        ÿAssumptionÿofÿObligations. AnyÿbuyerÿorÿtransfereeÿofÿLessor'sÿinterestÿinÿthisÿLeaseÿshallÿbeÿdeemedÿtoÿhaveÿassumedÿLessor's
     obligationÿhereunder.ÿÿBrokersÿshallÿbeÿthirdÿpartyÿbeneficiariesÿofÿtheÿprovisionsÿofÿParagraphsÿ1.9,ÿ15,ÿ22ÿandÿ31.ÿÿIfÿLessorÿfailsÿtoÿpayÿtoÿBrokersÿany
     amountsÿdueÿasÿandÿforÿbrokerageÿfeesÿpertainingÿtoÿthisÿLeaseÿwhenÿdue,ÿthenÿsuchÿamountsÿshallÿaccrueÿInterest.ÿÿInÿaddition,ÿifÿLessorÿfailsÿtoÿpay
     anyÿ amountsÿ toÿ Lessee'sÿ Brokerÿ whenÿ due,ÿ Lessee'sÿ Brokerÿ mayÿ sendÿ writtenÿ noticeÿ toÿ Lessorÿ andÿ Lesseeÿ ofÿ suchÿ failureÿ andÿ ifÿ Lessorÿ failsÿ toÿ pay
     suchÿamountsÿwithinÿ10ÿdaysÿafterÿsaidÿnotice,ÿLesseeÿshallÿpayÿsaidÿmoniesÿtoÿitsÿBrokerÿandÿoffsetÿsuchÿamountsÿagainstÿRent.ÿÿInÿaddition,ÿÿLessee's
     Brokerÿshallÿbeÿdeemedÿtoÿbeÿaÿthirdÿpartyÿbeneficiaryÿofÿanyÿcommissionÿagreementÿenteredÿintoÿbyÿand/orÿbetweenÿLessorÿandÿLessor'sÿBrokerÿforÿthe
     limitedÿpurposeÿofÿcollectingÿanyÿbrokerageÿfeeÿowed.
                15.3ÿ        ÿRepresentationsÿandÿIndemnitiesÿofÿBrokerÿRelationships. LesseeÿandÿLessorÿeachÿrepresentÿandÿwarrantÿtoÿtheÿotherÿthatÿit
     hasÿhadÿnoÿdealingsÿwithÿanyÿperson,ÿfirm,ÿbrokerÿorÿfinderÿ(otherÿthanÿtheÿBrokers,ÿifÿany)ÿinÿconnectionÿwithÿthisÿLease,ÿandÿthatÿnoÿoneÿotherÿthanÿsaid
     namedÿBrokersÿisÿentitledÿtoÿanyÿcommissionÿorÿfinder'sÿfeeÿinÿconnectionÿherewith.ÿÿLesseeÿandÿLessorÿdoÿeachÿherebyÿagreeÿtoÿindemnify,ÿprotect,
     defendÿandÿholdÿtheÿotherÿharmlessÿfromÿandÿagainstÿliabilityÿforÿcompensationÿorÿchargesÿwhichÿmayÿbeÿclaimedÿbyÿanyÿsuchÿunnamedÿbroker,ÿfinder
     orÿotherÿsimilarÿpartyÿbyÿreasonÿofÿanyÿdealingsÿorÿactionsÿofÿtheÿindemnifyingÿParty,ÿincludingÿanyÿcosts,ÿexpenses,ÿattorneys'ÿfeesÿreasonablyÿincurred
     withÿrespectÿthereto.
     16.ÿ       ÿEstoppelÿCertificates.
                             (a)ÿEachÿPartyÿ(asÿÿ"RespondingÿParty")ÿshallÿwithinÿ10ÿdaysÿafterÿwrittenÿnoticeÿfromÿtheÿotherÿPartyÿ(theÿÿ"RequestingÿParty")
     execute,ÿacknowledgeÿandÿdeliverÿtoÿtheÿRequestingÿPartyÿaÿstatementÿinÿwritingÿinÿformÿsimilarÿtoÿtheÿthenÿmostÿcurrentÿÿ"EstoppelÿCertificate" form
     publishedÿ byÿ theÿ AIRÿ Commercialÿ Realÿ Estateÿ Association,ÿ plusÿ suchÿ additionalÿ information,ÿ confirmationÿ and/orÿ statementsÿ asÿ mayÿ beÿ reasonably
     requestedÿbyÿtheÿRequestingÿParty.
                             (b)ÿIfÿtheÿRespondingÿPartyÿshallÿfailÿtoÿexecuteÿorÿdeliverÿtheÿEstoppelÿCertificateÿwithinÿsuchÿ10ÿdayÿperiod,ÿtheÿRequestingÿParty
     mayÿ executeÿ anÿ Estoppelÿ Certificateÿ statingÿ that:ÿ (i)ÿ theÿ Leaseÿ isÿ inÿ fullÿ forceÿ andÿ effectÿ withoutÿ modificationÿ exceptÿ asÿ mayÿ beÿ representedÿ byÿ the
     RequestingÿParty,ÿ(ii)ÿthereÿareÿnoÿuncuredÿdefaultsÿinÿtheÿRequestingÿParty'sÿperformance,ÿandÿ(iii)ÿifÿLessorÿisÿtheÿRequestingÿParty,ÿnotÿmoreÿthanÿone
     month'sÿrentÿhasÿbeenÿpaidÿinÿadvance.ÿProspectiveÿpurchasersÿandÿencumbrancersÿmayÿrelyÿuponÿtheÿRequestingÿParty'sÿEstoppelÿCertificate,ÿandÿthe
     RespondingÿPartyÿshallÿbeÿestoppedÿfrom denyingÿtheÿtruthÿofÿtheÿfactsÿcontainedÿinÿsaidÿCertificate.
                             (c)ÿIfÿLessorÿdesiresÿtoÿfinance,ÿrefinance,ÿorÿsellÿtheÿPremises,ÿorÿanyÿpartÿthereof,ÿLesseeÿandÿallÿGuarantorsÿshallÿwithinÿ10ÿdays
     afterÿ writtenÿ noticeÿ fromÿ Lessorÿ deliverÿ toÿ anyÿ potentialÿ lenderÿ orÿ purchaserÿ designatedÿ byÿ Lessorÿ suchÿ financialÿ statementsÿ asÿ mayÿ beÿ reasonably
     requiredÿbyÿsuchÿlenderÿorÿpurchaser,ÿincludingÿbutÿnotÿlimitedÿtoÿLessee'sÿfinancialÿstatementsÿforÿtheÿpastÿ3ÿyears.ÿÿAllÿsuchÿfinancialÿstatementsÿshall
     beÿreceivedÿbyÿLessorÿandÿsuchÿlenderÿorÿpurchaserÿinÿconfidenceÿandÿshallÿbeÿusedÿonlyÿforÿtheÿpurposesÿhereinÿsetÿforth.
     17.ÿ       ÿDefinitionÿ ofÿ Lessor. Theÿ termÿ ÿ"Lessor" asÿ usedÿ hereinÿ shallÿ meanÿ theÿ ownerÿ orÿ ownersÿ atÿ theÿ timeÿ inÿ questionÿ ofÿ theÿ feeÿ titleÿ toÿ the
     Premises,ÿor,ÿifÿthisÿisÿaÿsublease,ÿofÿtheÿLessee'sÿinterestÿinÿtheÿpriorÿlease.ÿÿInÿtheÿeventÿofÿaÿtransferÿofÿLessor'sÿtitleÿorÿinterestÿinÿtheÿPremisesÿorÿthis
     Lease,ÿ Lessorÿ shallÿ deliverÿ toÿ theÿ transfereeÿ orÿ assigneeÿ (inÿ cashÿ orÿ byÿ credit)ÿ anyÿ unusedÿ Securityÿ Depositÿ heldÿ byÿ Lessor.ÿ Uponÿ suchÿ transferÿ or
     assignmentÿ andÿ deliveryÿ ofÿ theÿ Securityÿ Deposit,ÿ asÿ aforesaid,ÿ theÿ priorÿ Lessorÿ shallÿ beÿ relievedÿ ofÿ allÿ liabilityÿ withÿ respectÿ toÿ theÿ obligationsÿ and/or
     covenantsÿunderÿthisÿLeaseÿthereafterÿtoÿbeÿperformedÿbyÿtheÿLessor.ÿÿSubjectÿtoÿtheÿforegoing,ÿtheÿobligationsÿand/orÿcovenantsÿinÿthisÿLeaseÿtoÿbe


     _________ÿ          ÿ                                               PAGEÿ13ÿOFÿ18ÿ                                                                               _________
     _________ÿ          ÿ                                                                                                                                            _________
     INITIALSÿ           ÿ                                                                                                                                            INITIALS
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       19-40193          Doc#
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     performedÿbyÿtheÿLessorÿshallÿbeÿbindingÿonlyÿuponÿtheÿLessorÿasÿhereinaboveÿdefined.ÿÿ ÿ
     18.ÿ        ÿSeverability. Theÿ invalidityÿ ofÿ anyÿ provisionÿ ofÿ thisÿ Lease,ÿ asÿ determinedÿ byÿ aÿ courtÿ ofÿ competentÿ jurisdiction,ÿ shallÿ inÿ noÿ wayÿ affectÿ the
     validityÿofÿanyÿotherÿprovisionÿhereof.
     19.ÿ        ÿDays. Unlessÿotherwiseÿspecificallyÿindicatedÿtoÿtheÿcontrary,ÿtheÿwordÿ"days"ÿasÿusedÿinÿthisÿLeaseÿshallÿmeanÿandÿreferÿtoÿcalendarÿdays.
     20.ÿ        ÿLimitationÿ onÿ Liability.ÿ ÿ Theÿ obligationsÿ ofÿ Lessorÿ underÿ thisÿ Leaseÿ shallÿ notÿ constituteÿ personalÿ obligationsÿ ofÿ Lessorÿ orÿ itsÿ partners,
     members,ÿdirectors,ÿofficersÿorÿshareholders,ÿandÿLesseeÿshallÿlookÿtoÿtheÿPremises,ÿandÿtoÿnoÿotherÿassetsÿofÿLessor,ÿforÿtheÿsatisfactionÿofÿanyÿliability
     ofÿLessorÿwithÿrespectÿtoÿthisÿLease,ÿandÿshallÿnotÿseekÿrecourseÿagainstÿLessor'sÿpartners,ÿmembers,ÿdirectors,ÿofficersÿorÿshareholders,ÿorÿanyÿofÿtheir
     personalÿassetsÿforÿsuchÿsatisfaction.
     21.ÿ        ÿTimeÿofÿEssence. TimeÿisÿofÿtheÿessenceÿwithÿrespectÿtoÿtheÿperformanceÿofÿallÿobligationsÿtoÿbeÿperformedÿorÿobservedÿbyÿtheÿPartiesÿunder
     thisÿLease.
     22.ÿ        ÿNoÿPriorÿorÿOtherÿAgreements;ÿBrokerÿDisclaimer. ThisÿLeaseÿcontainsÿallÿagreementsÿbetweenÿtheÿPartiesÿwithÿrespectÿtoÿanyÿmatter
     mentionedÿ herein,ÿ andÿ noÿ otherÿ priorÿ orÿ contemporaneousÿ agreementÿ orÿ understandingÿ shallÿ beÿ effective.ÿ ÿ Lessorÿ andÿ Lesseeÿ eachÿ representsÿ and
     warrantsÿtoÿtheÿBrokersÿthatÿitÿhasÿmade,ÿandÿisÿrelyingÿsolelyÿupon,ÿitsÿownÿinvestigationÿasÿtoÿtheÿnature,ÿquality,ÿcharacterÿandÿfinancialÿresponsibility
     ofÿtheÿotherÿPartyÿtoÿthisÿLeaseÿandÿasÿtoÿtheÿuse,ÿnature,ÿqualityÿandÿcharacterÿofÿtheÿPremises.ÿÿBrokersÿhaveÿnoÿresponsibilityÿwithÿrespectÿtheretoÿor
     withÿrespectÿtoÿanyÿdefaultÿorÿbreachÿhereofÿbyÿeitherÿParty.ÿ ÿ
     23.ÿ        ÿNotices.
                 23.1ÿ       ÿNoticeÿRequirements. AllÿnoticesÿrequiredÿorÿpermittedÿbyÿthisÿLeaseÿorÿapplicableÿlawÿshallÿbeÿinÿwritingÿandÿmayÿbeÿdeliveredÿin
     personÿ (byÿ handÿ orÿ byÿ courier)ÿ orÿ mayÿ beÿ sentÿ byÿ ÿregular, certifiedÿ ÿorÿ registered mailÿ orÿ U.S.ÿ Postalÿ Serviceÿ Expressÿ Mail ÿorÿ otherÿ nationally
     recognizedÿ overnightÿ courier,ÿ withÿ postageÿ prepaid,ÿ orÿ byÿ facsimileÿ transmission,ÿ andÿ shallÿ beÿ deemedÿ sufficientlyÿ givenÿ ifÿ servedÿ inÿ aÿ manner
     specifiedÿinÿthisÿParagraphÿ23.ÿÿTheÿaddressesÿnotedÿadjacentÿtoÿaÿParty'sÿsignatureÿonÿthisÿLeaseÿshallÿbeÿthatÿParty'sÿaddressÿforÿdeliveryÿorÿmailingÿof
     notices.ÿ ÿ Eitherÿ Partyÿ mayÿ byÿ writtenÿ noticeÿ toÿ theÿ otherÿ specifyÿ aÿ differentÿ addressÿ forÿ notice,ÿ exceptÿ thatÿ uponÿ Lessee'sÿ takingÿ possessionÿ ofÿ the
     Premises,ÿtheÿPremisesÿshallÿconstituteÿLessee'sÿaddressÿforÿnotice.ÿÿAÿcopyÿofÿallÿnoticesÿtoÿLessorÿshallÿbeÿconcurrentlyÿtransmittedÿtoÿsuchÿpartyÿor
     partiesÿatÿsuchÿaddressesÿasÿLessorÿmayÿfromÿtimeÿtoÿtimeÿhereafterÿdesignateÿinÿwriting.
              23.2ÿ    ÿDateÿofÿNotice. Anyÿnoticeÿsentÿbyÿÿregisteredÿor certifiedÿmail,ÿreturnÿreceiptÿrequested, U.S.ÿPostalÿServiceÿExpressÿMailÿor
     otherÿnationallyÿrecognizedÿovernightÿcourier shallÿbeÿdeemedÿgivenÿonÿtheÿdateÿofÿdeliveryÿshownÿonÿtheÿreceiptÿcard oÿ rÿtheÿdeliveryÿrecords
     ofÿtheÿExpressÿMailÿorÿotherÿcourier,ÿorÿifÿnoÿdeliveryÿdateÿisÿshown,ÿtheÿpostmarkÿthereon.ÿÿÿIfÿsentÿbyÿregularÿmailÿtheÿnoticeÿshallÿbeÿdeemedÿgiven
     72ÿ hoursÿ afterÿ theÿ sameÿ isÿ addressedÿ asÿ requiredÿ hereinÿ andÿ mailedÿ withÿ postageÿ prepaid.ÿ ÿ Noticesÿ deliveredÿ byÿ Unitedÿ Statesÿ Expressÿ Mailÿ or
     overnightÿcourierÿthatÿguaranteesÿnextÿdayÿdeliveryÿshallÿbeÿdeemedÿgivenÿ24ÿhoursÿafterÿdeliveryÿofÿtheÿsameÿtoÿtheÿPostalÿServiceÿorÿcourier. Notices
     transmittedÿbyÿfacsimileÿtransmissionÿorÿsimilarÿmeansÿshallÿbeÿdeemedÿdeliveredÿuponÿtelephoneÿconfirmationÿofÿreceiptÿ(confirmationÿreportÿfromÿfax
     machineÿ isÿ sufficient),ÿ providedÿ aÿ copyÿ isÿ alsoÿ deliveredÿ viaÿ deliveryÿ orÿ mail.ÿ ÿ Ifÿ noticeÿ isÿ receivedÿ onÿ aÿ Saturday,ÿ Sundayÿ orÿ legalÿ holiday,ÿ itÿ shallÿ be
     deemedÿreceivedÿonÿtheÿnextÿbusinessÿday.
     24.ÿ        ÿW aivers. ÿ ÿ
                             (a)ÿ        NoÿwaiverÿbyÿLessorÿofÿtheÿDefaultÿorÿBreachÿofÿanyÿterm,ÿcovenantÿorÿconditionÿhereofÿbyÿLessee,ÿshallÿbeÿdeemedÿa
     waiverÿofÿanyÿotherÿterm,ÿcovenantÿorÿconditionÿhereof,ÿorÿofÿanyÿsubsequentÿDefaultÿorÿBreachÿbyÿLesseeÿofÿtheÿsameÿorÿofÿanyÿotherÿterm,ÿcovenantÿor
     conditionÿ hereof.ÿ ÿ Lessor'sÿ consentÿ to,ÿ orÿ approvalÿ of,ÿ anyÿ actÿ shallÿ notÿ beÿ deemedÿ toÿ renderÿ unnecessaryÿ theÿ obtainingÿ ofÿ Lessor'sÿ consentÿ to,ÿ or
     approvalÿof,ÿanyÿsubsequentÿorÿsimilarÿactÿbyÿLessee,ÿorÿbeÿconstruedÿasÿtheÿbasisÿofÿanÿestoppelÿtoÿenforceÿtheÿprovisionÿorÿprovisionsÿofÿthisÿLease
     requiringÿsuchÿconsent.ÿÿ ÿ
                             (b)ÿ        TheÿacceptanceÿofÿRentÿbyÿLessorÿshallÿnotÿbeÿaÿwaiverÿofÿanyÿDefaultÿorÿBreachÿbyÿLessee.ÿÿAnyÿpaymentÿbyÿLessee
     mayÿbeÿacceptedÿbyÿLessorÿonÿaccountÿofÿmoneysÿorÿdamagesÿdueÿLessor,ÿnotwithstandingÿanyÿqualifyingÿstatementsÿorÿconditionsÿmadeÿbyÿLesseeÿin
     connectionÿ therewith,ÿ whichÿ suchÿ statementsÿ and/orÿ conditionsÿ shallÿ beÿ ofÿ noÿ forceÿ orÿ effectÿ whatsoeverÿ unlessÿ specificallyÿ agreedÿ toÿ inÿ writingÿ by
     Lessorÿatÿorÿbeforeÿtheÿtimeÿofÿdepositÿofÿsuchÿpayment.
                             (c)ÿ        THEÿ PARTIESÿ AGREEÿ THATÿ THEÿ TERMSÿ OFÿ THISÿ LEASEÿ SHALLÿ GOVERNÿ WITHÿ REGARDÿ TOÿ ALLÿ MATTERS
     RELATEDÿ THERETOÿ ANDÿ HEREBYÿ WAIVEÿ THEÿ PROVISIONSÿ OFÿ ANYÿ PRESENTÿ ORÿ FUTUREÿ STATUTEÿ TOÿ THEÿ EXTENTÿ THATÿ SUCH
     STATUTEÿISÿINCONSISTENTÿWITHÿTHISÿLEASE.
     25.ÿ        ÿDisclosuresÿRegardingÿTheÿNatureÿofÿaÿRealÿEstateÿAgency Relationship.
                             (a)ÿ        Whenÿenteringÿintoÿaÿdiscussionÿwithÿaÿrealÿestateÿagentÿregardingÿaÿrealÿestateÿtransaction,ÿaÿLessorÿorÿLesseeÿshould
     fromÿtheÿoutsetÿunderstandÿwhatÿtypeÿofÿagencyÿrelationshipÿorÿrepresentationÿitÿhasÿwithÿtheÿagentÿorÿagentsÿinÿtheÿtransaction.ÿÿLessorÿandÿLessee
     acknowledgeÿbeingÿadvisedÿbyÿtheÿBrokersÿinÿthisÿtransaction,ÿasÿfollows:
                                         (i)ÿ        ÿLessor'sÿAgent. AÿLessor'sÿagentÿunderÿaÿlistingÿagreementÿwithÿtheÿLessorÿactsÿasÿtheÿagentÿforÿtheÿLessor
     only.ÿÿAÿLessor'sÿagentÿorÿsubagentÿhasÿtheÿfollowingÿaffirmativeÿobligations:ÿÿÿToÿtheÿLessor: Aÿfiduciaryÿdutyÿofÿutmostÿcare,ÿintegrity,ÿhonesty,ÿand
     loyaltyÿ inÿ dealingsÿ withÿ theÿ Lessor.ÿ ÿ ÿToÿ theÿ Lesseeÿ andÿ theÿ Lessor: a.ÿ Diligentÿ exerciseÿ ofÿ reasonableÿ skillsÿ andÿ careÿ inÿ performanceÿ ofÿ theÿ agent's
     duties.ÿÿb.ÿAÿdutyÿofÿhonestÿandÿfairÿdealingÿandÿgoodÿfaith.ÿÿc.ÿAÿdutyÿtoÿdiscloseÿallÿfactsÿknownÿtoÿtheÿagentÿmateriallyÿaffectingÿtheÿvalueÿorÿdesirability
     ofÿtheÿpropertyÿthatÿareÿnotÿknownÿto,ÿorÿwithinÿtheÿdiligentÿattentionÿandÿobservationÿof,ÿtheÿParties.ÿÿAnÿagentÿisÿnotÿobligatedÿtoÿrevealÿtoÿeitherÿParty
     anyÿconfidentialÿinformationÿobtainedÿfromÿtheÿotherÿPartyÿwhichÿdoesÿnotÿinvolveÿtheÿaffirmativeÿdutiesÿsetÿforthÿabove.
                                         (ii)ÿ       ÿLessee'sÿAgent. AnÿagentÿcanÿagreeÿtoÿactÿasÿagentÿforÿtheÿLesseeÿonly.ÿÿInÿtheseÿsituations,ÿtheÿagentÿisÿnot
     theÿLessor'sÿagent,ÿevenÿifÿbyÿagreementÿtheÿagentÿmayÿreceiveÿcompensationÿforÿservicesÿrendered,ÿeitherÿinÿfullÿorÿinÿpartÿfromÿtheÿLessor.ÿÿAnÿagent
     actingÿ onlyÿ forÿ aÿ Lesseeÿ hasÿ theÿ followingÿ affirmativeÿ obligations.ÿ ÿ ÿToÿ theÿ Lessee: Aÿ fiduciaryÿ dutyÿ ofÿ utmostÿ care,ÿ integrity,ÿ honesty,ÿ andÿ loyaltyÿ in
     dealingsÿwithÿtheÿLessee.ÿÿÿToÿtheÿLesseeÿandÿtheÿLessor: a.ÿDiligentÿexerciseÿofÿreasonableÿskillsÿandÿcareÿinÿperformanceÿofÿtheÿagent'sÿduties.ÿÿb.ÿA
     dutyÿ ofÿ honestÿ andÿ fairÿ dealingÿ andÿ goodÿ faith.ÿ ÿ c.ÿ Aÿ dutyÿ toÿ discloseÿ allÿ factsÿ knownÿ toÿ theÿ agentÿ materiallyÿ affectingÿ theÿ valueÿ orÿ desirabilityÿ ofÿ the
     propertyÿthatÿareÿnotÿknownÿto,ÿorÿwithinÿtheÿdiligentÿattentionÿandÿobservationÿof,ÿtheÿParties.ÿÿAnÿagentÿisÿnotÿobligatedÿtoÿrevealÿtoÿeitherÿPartyÿany
     confidentialÿinformationÿobtainedÿfrom theÿotherÿPartyÿwhichÿdoesÿnotÿinvolveÿtheÿaffirmativeÿdutiesÿsetÿforthÿabove.
                                         (iii)ÿ      ÿAgentÿRepresentingÿBothÿLessorÿandÿLessee. Aÿrealÿestateÿagent,ÿeitherÿactingÿdirectlyÿorÿthroughÿoneÿorÿmore
     associateÿlicenses,ÿcanÿlegallyÿbeÿtheÿagentÿofÿbothÿtheÿLessorÿandÿtheÿLesseeÿinÿaÿtransaction,ÿbutÿonlyÿwithÿtheÿknowledgeÿandÿconsentÿofÿbothÿthe
     LessorÿandÿtheÿLessee.ÿInÿaÿdualÿagencyÿsituation,ÿtheÿagentÿhasÿtheÿfollowingÿaffirmativeÿobligationsÿtoÿbothÿtheÿLessorÿandÿtheÿLessee:ÿa.ÿAÿfiduciary
     dutyÿofÿutmostÿcare,ÿintegrity,ÿhonestyÿandÿloyaltyÿinÿtheÿdealingsÿwithÿeitherÿLessorÿorÿtheÿLessee.ÿÿb.ÿOtherÿdutiesÿtoÿtheÿLessorÿandÿtheÿLesseeÿas


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       19-40193          Doc#
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     statedÿaboveÿinÿsubparagraphsÿ(i)ÿorÿ(ii).ÿInÿrepresentingÿbothÿLessorÿandÿLessee,ÿtheÿagentÿmayÿnotÿwithoutÿtheÿexpressÿpermissionÿofÿtheÿrespective
     Party,ÿdiscloseÿtoÿtheÿotherÿPartyÿthatÿtheÿLessorÿwillÿacceptÿrentÿinÿanÿamountÿlessÿthanÿthatÿindicatedÿinÿtheÿlistingÿorÿthatÿtheÿLesseeÿisÿwillingÿtoÿpayÿa
     higherÿ rentÿ thanÿ thatÿ offered.ÿ Theÿ aboveÿ dutiesÿ ofÿ theÿ agentÿ inÿ aÿ realÿ estateÿ transactionÿ doÿ notÿ relieveÿ aÿ Lessorÿ orÿ Lesseeÿ fromÿ theÿ responsibilityÿ to
     protectÿtheirÿownÿinterests.ÿÿLessorÿandÿLesseeÿshouldÿcarefullyÿreadÿallÿagreementsÿtoÿassureÿthatÿtheyÿadequatelyÿexpressÿtheirÿunderstandingÿofÿthe
     transaction.ÿÿAÿrealÿestateÿagentÿisÿaÿpersonÿqualifiedÿtoÿadviseÿaboutÿrealÿestate.ÿÿIfÿlegalÿorÿtaxÿadviceÿisÿdesired,ÿconsultÿaÿcompetentÿprofessional.
                            (b)ÿ        Brokersÿhaveÿ noÿ responsibilityÿ withÿ respectÿ toÿ anyÿ defaultÿ orÿ breachÿ hereofÿ byÿ eitherÿ Party.ÿ ÿ Theÿ Partiesÿ agreeÿ thatÿ no
     lawsuitÿorÿotherÿlegalÿproceedingÿinvolvingÿanyÿbreachÿofÿduty,ÿerrorÿorÿomissionÿrelatingÿtoÿthisÿLeaseÿmayÿbeÿbroughtÿagainstÿBrokerÿmoreÿthanÿone
     yearÿ afterÿ theÿ Startÿ Dateÿ andÿ thatÿ theÿ liabilityÿ (includingÿ courtÿ costsÿ andÿ attorneys'ÿ fees),ÿ ofÿ anyÿ Brokerÿ withÿ respectÿ toÿ anyÿ suchÿ lawsuitÿ and/orÿ legal
     proceedingÿshallÿnotÿexceedÿtheÿfeeÿreceivedÿbyÿsuchÿBrokerÿpursuantÿtoÿthisÿLease;ÿprovided,ÿhowever,ÿthatÿtheÿforegoingÿlimitationÿonÿeachÿBroker's
     liabilityÿshallÿnotÿbeÿapplicableÿtoÿanyÿgrossÿnegligenceÿorÿwillfulÿmisconductÿofÿsuchÿBroker.
                            (c)ÿ        LessorÿandÿLesseeÿagreeÿtoÿidentifyÿtoÿBrokersÿasÿ"Confidential"ÿanyÿcommunicationÿorÿinformationÿgivenÿBrokersÿthatÿis
     consideredÿbyÿsuchÿPartyÿtoÿbeÿconfidential.
     26.ÿ       ÿNoÿRightÿToÿHoldover. LesseeÿhasÿnoÿrightÿtoÿretainÿpossessionÿofÿtheÿPremisesÿorÿanyÿpartÿthereofÿbeyondÿtheÿexpirationÿorÿterminationÿof
     thisÿLease.ÿÿInÿtheÿeventÿthatÿLesseeÿholdsÿover,ÿthenÿtheÿBaseÿRentÿshallÿbeÿincreasedÿtoÿ150%ÿofÿtheÿBaseÿRentÿapplicableÿimmediatelyÿprecedingÿthe
     expirationÿorÿtermination.ÿÿNothingÿcontainedÿhereinÿshallÿbeÿconstruedÿasÿconsentÿbyÿLessorÿtoÿanyÿholdingÿoverÿbyÿLessee.
     27.ÿ       ÿCumulativeÿ Remedies. Noÿ remedyÿ orÿ electionÿ hereunderÿ shallÿ beÿ deemedÿ exclusiveÿ butÿ shall,ÿ whereverÿ possible,ÿ beÿ cumulativeÿ withÿ all
     otherÿremediesÿatÿlawÿorÿinÿequity.
     28.ÿ       ÿCovenantsÿ andÿ Conditions;ÿ Constructionÿ ofÿ Agreement. Allÿ provisionsÿ ofÿ thisÿ Leaseÿ toÿ beÿ observedÿ orÿ performedÿ byÿ Lesseeÿ areÿ both
     covenantsÿandÿconditions.ÿÿInÿconstruingÿthisÿLease,ÿÿallÿheadingsÿandÿtitlesÿareÿforÿtheÿconvenienceÿofÿtheÿPartiesÿonlyÿandÿshallÿnotÿbeÿconsideredÿa
     partÿ ofÿ thisÿ Lease.ÿ ÿ Wheneverÿ requiredÿ byÿ theÿ context,ÿ theÿ singularÿ shallÿ includeÿ theÿ pluralÿ andÿ viceÿ versa.ÿ ÿ Thisÿ Leaseÿ shallÿ notÿ beÿ construedÿ asÿ if
     preparedÿbyÿoneÿofÿtheÿParties,ÿbutÿratherÿaccordingÿtoÿitsÿfairÿmeaningÿasÿaÿwhole,ÿasÿifÿbothÿPartiesÿhadÿpreparedÿit.
     29.ÿ       ÿBindingÿEffect;ÿChoiceÿofÿLaw. ThisÿLeaseÿshallÿbeÿbindingÿuponÿtheÿParties,ÿtheirÿpersonalÿrepresentatives,ÿsuccessorsÿandÿassignsÿand
     beÿgovernedÿbyÿtheÿlawsÿofÿtheÿStateÿinÿwhichÿtheÿPremisesÿareÿlocated.ÿÿSoÿlongÿasÿLessor'sÿcurrentÿbankruptcyÿcaseÿremainsÿopenÿ(Northern
     Districtÿ ofÿ California,ÿ Oaklandÿ Division,ÿ Caseÿ No.ÿ 14-41048-RLE),ÿ anyÿ litigationÿ betweenÿ theÿ Partiesÿ heretoÿ concerningÿ thisÿ Lease
     shallÿbeÿinitiatedÿinÿtheÿUnitedÿStatesÿBankruptcyÿCourtÿforÿtheÿNorthernÿDistrictÿofÿCalifornia,ÿOaklandÿDivision.ÿÿFollowingÿsuchÿtime
     asÿLessor'sÿcurrentÿbankruptcyÿcaseÿhasÿbeenÿclosed, ÿanyÿlitigationÿbetweenÿtheÿPartiesÿheretoÿconcerningÿthisÿLeaseÿshallÿbeÿinitiatedÿinÿthe
     countyÿinÿwhichÿtheÿPremisesÿareÿlocated.
     30.ÿ       ÿSubordination;ÿAttornment;ÿNon-Disturbance.
                30.1ÿ       ÿSubordination. ThisÿLeaseÿandÿanyÿOptionÿgrantedÿherebyÿshallÿbeÿsubjectÿandÿsubordinateÿtoÿanyÿgroundÿlease,ÿmortgage,ÿdeed
     ofÿtrust,ÿorÿotherÿhypothecationÿorÿsecurityÿdeviceÿ(collectively,ÿÿ"Security Device"),ÿnowÿorÿhereafterÿplacedÿuponÿtheÿPremises,ÿtoÿanyÿandÿallÿadvances
     madeÿonÿtheÿsecurityÿthereof,ÿandÿtoÿallÿrenewals,ÿmodifications,ÿandÿextensionsÿthereof.ÿÿLesseeÿagreesÿthatÿtheÿholdersÿofÿanyÿsuchÿSecurityÿDevices
     (inÿthisÿLeaseÿtogetherÿreferredÿtoÿasÿÿ"Lender")ÿshallÿhaveÿnoÿliabilityÿorÿobligationÿtoÿperformÿanyÿofÿtheÿobligationsÿofÿLessorÿunderÿthisÿLease.ÿÿAny
     Lenderÿ mayÿ electÿ toÿ haveÿ thisÿ Leaseÿ and/orÿ anyÿ Optionÿ grantedÿ herebyÿ superiorÿ toÿ theÿ lienÿ ofÿ itsÿ Securityÿ Deviceÿ ÿ byÿ givingÿ writtenÿ noticeÿ thereofÿ to
     Lessee,ÿ whereuponÿ thisÿ Leaseÿ andÿ suchÿ Optionsÿ shallÿ beÿ deemedÿ priorÿ toÿ suchÿ Securityÿ Device,ÿ notwithstandingÿ theÿ relativeÿ datesÿ ofÿ the
     documentationÿorÿrecordationÿthereof.
                30.2ÿ       ÿAttornment.ÿÿInÿtheÿeventÿthatÿLessorÿtransfersÿtitleÿtoÿtheÿPremises,ÿorÿtheÿPremisesÿareÿacquiredÿbyÿanotherÿuponÿtheÿforeclosure
     orÿterminationÿofÿaÿSecurityÿDeviseÿtoÿwhichÿthisÿLeaseÿisÿsubordinatedÿ(i)ÿLesseeÿshall,ÿsubjectÿtoÿtheÿnon-disturbanceÿprovisionsÿofÿParagraphÿ30.3,
     attornÿtoÿsuchÿnewÿowner,ÿandÿuponÿrequest,ÿenterÿintoÿaÿnewÿlease,ÿcontainingÿallÿofÿtheÿtermsÿandÿprovisionsÿofÿthisÿLease,ÿwithÿsuchÿnewÿownerÿfor
     theÿremainderÿofÿtheÿtermÿhereof,ÿor,ÿatÿtheÿelectionÿofÿtheÿnewÿowner,ÿthisÿLeaseÿwillÿautomaticallyÿbecomeÿaÿnewÿleaseÿbetweenÿLesseeÿandÿsuchÿnew
     owner,ÿ andÿ (ii)ÿ Lessorÿ shallÿ thereafterÿ beÿ relievedÿ ofÿ anyÿ furtherÿ obligationsÿ hereunderÿ andÿ suchÿ newÿ ownerÿ shallÿ assumeÿ allÿ ofÿ Lessor'sÿ obligations,
     exceptÿthatÿsuchÿnewÿownerÿshallÿnot:ÿ(a)ÿbeÿliableÿforÿanyÿactÿorÿomissionÿofÿanyÿpriorÿlessorÿorÿwithÿrespectÿtoÿeventsÿoccurringÿpriorÿtoÿacquisitionÿof
     ownership;ÿ(b)ÿÿbeÿsubjectÿtoÿanyÿoffsetsÿorÿdefensesÿwhichÿLesseeÿmightÿhaveÿagainstÿanyÿpriorÿlessor,ÿÿ(c)ÿÿbeÿboundÿbyÿprepaymentÿofÿmoreÿthanÿone
     month'sÿrent,ÿorÿ(d)ÿbeÿliableÿforÿtheÿreturnÿofÿanyÿsecurityÿdepositÿpaidÿtoÿanyÿpriorÿlessorÿwhichÿwasÿnotÿpaidÿorÿcreditedÿtoÿsuchÿnewÿÿowner.
               30.3ÿ     ÿNon-Disturbance. ÿ Lÿ essorÿ representsÿ andÿ warrantsÿ thatÿ noÿ Securityÿ Devicesÿ currentlyÿ affectÿ theÿ Premises.ÿ ÿ ÿWith
     respectÿtoÿSecurityÿDevicesÿenteredÿintoÿbyÿLessorÿafterÿtheÿexecutionÿofÿthisÿLease,ÿLessee'sÿsubordinationÿofÿthisÿLeaseÿshallÿbeÿsubjectÿtoÿreceivingÿa
     commerciallyÿreasonableÿnon-disturbanceÿagreementÿ(aÿÿ"Non-DisturbanceÿAgreement")ÿfromÿtheÿLenderÿwhichÿNon-DisturbanceÿAgreementÿprovides
     thatÿLessee'sÿpossessionÿofÿtheÿPremises,ÿandÿthisÿLease,ÿincludingÿanyÿoptionsÿtoÿextendÿtheÿtermÿhereof,ÿwillÿnotÿbeÿdisturbedÿsoÿlongÿasÿLesseeÿis
     notÿ inÿ Breachÿ hereofÿ andÿ attornsÿ toÿ theÿ recordÿ ownerÿ ofÿ theÿ Premises.ÿ ÿ Further,ÿ withinÿ 60ÿ daysÿ afterÿ theÿ executionÿ ofÿ thisÿ Lease,ÿ Lessorÿ shall,ÿ if
     requestedÿ byÿ Lessee,ÿ useÿ itsÿ commerciallyÿ reasonableÿ effortsÿ toÿ obtainÿ aÿ Non-Disturbanceÿ Agreementÿ fromÿ theÿ holderÿ ofÿ anyÿ pre-existingÿ Security
     Deviceÿ whichÿ isÿ securedÿ byÿ theÿ Premises.ÿ ÿ Inÿ theÿ eventÿ thatÿ Lessorÿ isÿ unableÿ toÿ provideÿ theÿ Non-Disturbanceÿ Agreementÿ withinÿ saidÿ 60ÿ days,ÿ then
     Lesseeÿmay,ÿatÿLessee'sÿoption,ÿdirectlyÿcontactÿLenderÿandÿattemptÿtoÿnegotiateÿforÿtheÿexecutionÿandÿdeliveryÿofÿaÿNon-DisturbanceÿAgreement.ÿÿ
                30.4ÿ       ÿSelf-Executing. TheÿagreementsÿcontainedÿinÿthisÿParagraphÿ30ÿshallÿbeÿeffectiveÿwithoutÿtheÿexecutionÿofÿanyÿfurtherÿdocuments;
     provided,ÿhowever,ÿthat,ÿuponÿwrittenÿrequestÿfromÿLessorÿorÿaÿLenderÿinÿconnectionÿwithÿaÿsale,ÿfinancingÿorÿrefinancingÿofÿtheÿPremises,ÿLesseeÿand
     Lessorÿ shallÿ executeÿ suchÿ furtherÿ writingsÿ asÿ mayÿ beÿ reasonablyÿ requiredÿ toÿ separatelyÿ documentÿ anyÿ subordination,ÿ attornmentÿ and/or
     Non-DisturbanceÿAgreementÿprovidedÿforÿherein.
     31.ÿ       ÿAttorneys'ÿFees. IfÿanyÿPartyÿÿorÿBroker bringsÿanÿactionÿorÿproceedingÿinvolvingÿtheÿPremisesÿwhetherÿfoundedÿinÿtort,ÿcontractÿorÿequity,ÿor
     toÿdeclareÿrightsÿhereunder,ÿtheÿPrevailingÿPartyÿ(asÿhereafterÿdefined)ÿinÿanyÿsuchÿproceeding,ÿaction,ÿorÿappealÿthereon,ÿshallÿbeÿentitledÿtoÿreasonable
     attorneys'ÿfees.ÿÿSuchÿfeesÿmayÿbeÿawardedÿinÿtheÿsameÿsuitÿorÿrecoveredÿinÿaÿseparateÿsuit,ÿwhetherÿorÿnotÿsuchÿactionÿorÿproceedingÿisÿpursuedÿto
     decisionÿorÿjudgment.ÿÿTheÿterm,ÿÿ"PrevailingÿParty" shallÿinclude,ÿwithoutÿlimitation,ÿaÿPartyÿÿorÿBroker whoÿsubstantiallyÿobtainsÿorÿdefeatsÿtheÿrelief
     sought,ÿasÿtheÿcaseÿmayÿbe,ÿwhetherÿbyÿcompromise,ÿsettlement,ÿjudgment,ÿorÿtheÿabandonmentÿbyÿtheÿotherÿPartyÿÿorÿBroker ofÿitsÿclaimÿorÿdefense.ÿ ÿ
     Theÿattorneys'ÿfeesÿawardÿshallÿnotÿbeÿcomputedÿinÿaccordanceÿwithÿanyÿcourtÿfeeÿschedule,ÿbutÿshallÿbeÿsuchÿasÿtoÿfullyÿreimburseÿallÿattorneys'ÿfees
     reasonablyÿincurred.ÿÿInÿaddition,ÿLessorÿshallÿbeÿentitledÿtoÿattorneys'ÿfees,ÿcostsÿandÿexpensesÿincurredÿinÿtheÿpreparationÿandÿserviceÿofÿnoticesÿof
     Defaultÿandÿconsultationsÿinÿconnectionÿtherewith,ÿwhetherÿorÿnotÿaÿlegalÿactionÿisÿsubsequentlyÿcommencedÿinÿconnectionÿwithÿsuchÿDefaultÿorÿresulting
     Breachÿ($200ÿisÿaÿreasonableÿminimumÿperÿoccurrenceÿforÿsuchÿservicesÿandÿconsultation).
     32.ÿ       ÿLessor'sÿAccess;ÿShowingÿPremises;ÿRepairs. LessorÿandÿLessor'sÿagentsÿshallÿhaveÿtheÿrightÿtoÿenterÿtheÿPremisesÿatÿanyÿtime,ÿinÿthe
     caseÿofÿanÿemergency,ÿandÿotherwiseÿatÿreasonableÿtimesÿafterÿreasonableÿpriorÿnoticeÿforÿtheÿpurposeÿofÿshowingÿtheÿsameÿtoÿprospectiveÿpurchasers,


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       19-40193          Doc#
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     lenders,ÿ or,ÿ duringÿ theÿ lastÿ sixÿ monthsÿ ofÿ theÿ termÿ hereof, tenants,ÿ andÿ makingÿ suchÿ alterations,ÿ repairs,ÿ improvementsÿ orÿ additionsÿ toÿ the
     PremisesÿasÿLessor andÿLesseeÿagreeÿare ÿmayÿdeem necessaryÿorÿdesirableÿÿandÿtheÿerecting,ÿusingÿandÿmaintainingÿofÿutilities,ÿservices,ÿpipesÿand
     conduitsÿthroughÿtheÿPremisesÿand/orÿotherÿpremises asÿlongÿasÿthereÿisÿnoÿmaterialÿadverseÿeffectÿtoÿLessee'sÿuseÿofÿtheÿPremises.ÿÿAllÿsuchÿactivities
     shallÿbeÿwithoutÿabatementÿofÿrentÿorÿliabilityÿtoÿLessee.
     33.ÿ       ÿAuctions. Lesseeÿ shallÿ notÿ conduct,ÿ norÿ permitÿ toÿ beÿ conducted,ÿ anyÿ auctionÿ uponÿ theÿ Premisesÿ withoutÿ Lessor'sÿ priorÿ writtenÿ consent.ÿ ÿ
     Lessorÿshallÿnotÿbeÿobligatedÿtoÿexerciseÿanyÿstandardÿofÿreasonablenessÿinÿdeterminingÿwhetherÿtoÿpermitÿanÿauction.
     34.ÿ       ÿSigns. LessorÿmayÿplaceÿonÿtheÿPremisesÿordinaryÿ"ForÿSale"ÿsignsÿatÿanyÿtimeÿandÿordinaryÿ"ForÿLease"ÿsignsÿduringÿtheÿlastÿ6ÿmonthsÿof
     theÿtermÿhereof.ÿÿExceptÿforÿordinaryÿ"forÿsublease"ÿsigns,ÿLesseeÿshallÿnotÿplaceÿanyÿsignÿuponÿtheÿPremisesÿwithoutÿLessor'sÿpriorÿwrittenÿconsent.ÿAll
     signsÿmustÿcomplyÿwithÿallÿApplicableÿRequirements.
     35.ÿ       ÿTermination;ÿMerger. UnlessÿspecificallyÿstatedÿotherwiseÿinÿwritingÿbyÿLessor,ÿtheÿvoluntaryÿorÿotherÿsurrenderÿofÿthisÿLeaseÿbyÿLessee,ÿthe
     mutualÿterminationÿorÿcancellationÿhereof,ÿorÿaÿterminationÿhereofÿbyÿLessorÿforÿBreachÿbyÿLessee,ÿshallÿautomaticallyÿterminateÿanyÿsubleaseÿorÿlesser
     estateÿ inÿ theÿ Premises;ÿ provided,ÿ however,ÿ thatÿ Lessorÿ mayÿ electÿ toÿ continueÿ anyÿ oneÿ orÿ allÿ existingÿ subtenancies.ÿ ÿ Lessor'sÿ failureÿ withinÿ 10ÿ days
     followingÿ anyÿ suchÿ eventÿ toÿ electÿ toÿ theÿ contraryÿ byÿ writtenÿ noticeÿ toÿ theÿ holderÿ ofÿ anyÿ suchÿ lesserÿ interest,ÿ shallÿ constituteÿ Lessor'sÿ electionÿ toÿ have
     suchÿeventÿconstituteÿtheÿterminationÿofÿsuchÿinterest.
     36.ÿ       ÿConsents. Exceptÿasÿotherwiseÿprovidedÿherein,ÿwhereverÿinÿthisÿLeaseÿtheÿconsentÿofÿaÿPartyÿisÿrequiredÿtoÿanÿactÿbyÿorÿforÿtheÿotherÿParty,
     suchÿconsentÿshallÿnotÿbeÿunreasonablyÿwithheldÿorÿdelayed.ÿÿLessor'sÿactualÿreasonableÿcostsÿandÿexpensesÿ(includingÿbutÿnotÿlimitedÿtoÿarchitects',
     attorneys',ÿ engineers'ÿ andÿ otherÿ consultants'ÿ fees)ÿ incurredÿ inÿ theÿ considerationÿ of,ÿ orÿ responseÿ to,ÿ aÿ requestÿ byÿ Lesseeÿ forÿ anyÿ Lessorÿ consent,
     includingÿbutÿnotÿlimitedÿtoÿconsentsÿtoÿanÿassignment,ÿaÿsublettingÿorÿtheÿpresenceÿorÿuseÿofÿaÿHazardousÿSubstance,ÿshallÿbeÿpaidÿbyÿLesseeÿupon
     receiptÿ ofÿ anÿ invoiceÿ andÿ supportingÿ documentationÿ therefor.ÿ ÿ Lessor'sÿ consentÿ toÿ anyÿ act,ÿ assignmentÿ orÿ sublettingÿ shallÿ notÿ constituteÿ an
     acknowledgmentÿthatÿnoÿDefaultÿorÿBreachÿbyÿLesseeÿofÿthisÿLeaseÿexists,ÿnorÿshallÿsuchÿconsentÿbeÿdeemedÿaÿwaiverÿofÿanyÿthenÿexistingÿDefaultÿor
     Breach,ÿ exceptÿ asÿ mayÿ beÿ otherwiseÿ specificallyÿ statedÿ inÿ writingÿ byÿ Lessorÿ atÿ theÿ timeÿ ofÿ suchÿ consent.ÿ ÿ Theÿ failureÿ toÿ specifyÿ hereinÿ anyÿ particular
     conditionÿ toÿ Lessor'sÿ consentÿ shallÿ notÿ precludeÿ theÿ impositionÿ byÿ Lessorÿ atÿ theÿ timeÿ ofÿ consentÿ ofÿ suchÿ furtherÿ orÿ otherÿ conditionsÿ asÿ areÿ then
     reasonableÿ withÿ referenceÿ toÿ theÿ particularÿ matterÿ forÿ whichÿ consentÿ isÿ beingÿ given.ÿ ÿ Inÿ theÿ eventÿ thatÿ eitherÿ Partyÿ disagreesÿ withÿ anyÿ determination
     madeÿbyÿtheÿotherÿhereunderÿandÿreasonablyÿrequestsÿtheÿreasonsÿforÿsuchÿdetermination,ÿtheÿdeterminingÿpartyÿshallÿfurnishÿitsÿreasonsÿinÿwritingÿand
     inÿreasonableÿdetailÿwithinÿ10ÿbusinessÿdaysÿfollowingÿsuchÿrequest.ÿ ÿ
     37.ÿ       ÿGuarantor.
                37.1ÿ        ÿExecution. TheÿGuarantors,ÿifÿany,ÿshallÿeachÿexecuteÿaÿguarantyÿinÿtheÿformÿmostÿrecentlyÿpublishedÿbyÿtheÿAIRÿCommercialÿReal
     EstateÿAssociation,ÿandÿeachÿsuchÿGuarantorÿshallÿhaveÿtheÿsameÿobligationsÿasÿLesseeÿunderÿthisÿLease.
                37.2ÿ        ÿDefault. ItÿshallÿconstituteÿaÿDefaultÿofÿtheÿLesseeÿifÿanyÿGuarantorÿfailsÿorÿrefuses,ÿuponÿrequestÿtoÿprovide:ÿÿ(a)ÿevidenceÿofÿthe
     executionÿ ofÿ theÿ guaranty,ÿ includingÿ theÿ authorityÿ ofÿ theÿ partyÿ signingÿ onÿ Guarantor'sÿ behalfÿ toÿ obligateÿ Guarantor,ÿ andÿ inÿ theÿ caseÿ ofÿ aÿ corporate
     Guarantor,ÿ aÿ certifiedÿ copyÿ ofÿ aÿ resolutionÿ ofÿ itsÿ boardÿ ofÿ directorsÿ authorizingÿ theÿ makingÿ ofÿ suchÿ guaranty,ÿ (b)ÿ currentÿ financialÿ statements,ÿ (c)ÿ an
     EstoppelÿCertificate,ÿorÿ(d)ÿwrittenÿconfirmationÿthatÿtheÿguarantyÿisÿstillÿinÿeffect.
     38.ÿÿ      ÿ uietÿ Possession. Subjectÿ toÿ paymentÿ byÿ Lesseeÿ ofÿ theÿ Rentÿ andÿ performanceÿ ofÿ allÿ ofÿ theÿ covenants,ÿ conditionsÿ andÿ provisionsÿ on
                Q
     Lessee'sÿpartÿtoÿbeÿobservedÿandÿperformedÿunderÿthisÿLease,ÿLesseeÿshallÿhaveÿquietÿpossessionÿandÿquietÿenjoymentÿofÿtheÿPremisesÿduringÿtheÿterm
     hereof.
     39.ÿÿ      ÿOptions. IfÿLesseeÿisÿgrantedÿanÿOption,ÿasÿdefinedÿbelow,ÿthenÿtheÿfollowingÿprovisionsÿshallÿapply:
                39.1ÿ        ÿDefinition.ÿÿ"Option" shallÿmean:ÿÿ(a)ÿtheÿrightÿtoÿextendÿorÿreduceÿtheÿterm ofÿorÿrenewÿthisÿLeaseÿorÿtoÿextendÿorÿreduceÿtheÿterm
     ofÿorÿrenewÿanyÿleaseÿthatÿLesseeÿhasÿonÿotherÿpropertyÿofÿLessor;ÿ(b)ÿtheÿrightÿofÿfirstÿrefusalÿorÿfirstÿofferÿtoÿleaseÿeitherÿtheÿPremisesÿorÿotherÿproperty
     ofÿLessor;ÿ(c)ÿtheÿrightÿtoÿpurchase,ÿtheÿrightÿofÿfirstÿofferÿtoÿpurchaseÿorÿtheÿrightÿofÿfirstÿrefusalÿtoÿpurchaseÿtheÿPremisesÿorÿotherÿpropertyÿofÿLessor.
                ÿ39.2ÿ       ÿOptionsÿPersonalÿToÿOriginalÿLessee. AnyÿOptionÿgrantedÿtoÿLesseeÿinÿthisÿLeaseÿisÿpersonalÿtoÿtheÿoriginalÿLessee,ÿandÿcannot
     beÿ assignedÿ orÿ exercisedÿ byÿ anyoneÿ otherÿ thanÿ saidÿ originalÿ Lesseeÿ andÿ onlyÿ whileÿ theÿ originalÿ Lesseeÿ isÿ inÿ fullÿ possessionÿ ofÿ theÿ Premisesÿ and,ÿ if
     requestedÿbyÿLessor,ÿwithÿLesseeÿcertifyingÿthatÿLesseeÿhasÿnoÿintentionÿofÿthereafterÿassigningÿorÿsubletting.ÿ ÿ
                39.3ÿ        ÿMultipleÿ Options. Inÿ theÿ eventÿ thatÿ Lesseeÿ hasÿ anyÿ multipleÿ Optionsÿ toÿ extendÿ orÿ renewÿ thisÿ Lease,ÿ aÿ laterÿ Optionÿ cannotÿ be
     exercisedÿunlessÿtheÿpriorÿOptionsÿhaveÿbeenÿvalidlyÿexercised.
                39.4ÿ        ÿEffectÿofÿDefaultÿonÿOptions. ÿ
                             (a)ÿLesseeÿshallÿhaveÿnoÿrightÿtoÿexerciseÿanÿOption:ÿÿ(i)ÿduringÿtheÿperiodÿcommencingÿwithÿtheÿgivingÿofÿanyÿnoticeÿofÿDefaultÿand
     continuingÿuntilÿsaidÿDefaultÿisÿcured,ÿÿ(ii)ÿduringÿtheÿperiodÿofÿtimeÿanyÿRentÿisÿunpaidÿ(withoutÿregardÿtoÿwhetherÿnoticeÿthereofÿisÿgivenÿLessee),ÿ(iii)
     duringÿtheÿtimeÿLesseeÿisÿinÿBreachÿofÿthisÿLease,ÿorÿ(iv)ÿinÿtheÿeventÿthatÿLesseeÿhasÿbeenÿgivenÿ3ÿorÿmoreÿnoticesÿofÿseparateÿDefault,ÿwhetherÿorÿnot
     theÿDefaultsÿareÿcured,ÿduringÿtheÿ12ÿmonthÿperiodÿimmediatelyÿprecedingÿtheÿexerciseÿofÿtheÿOption.
                             (b)ÿTheÿperiodÿofÿtimeÿwithinÿwhichÿanÿOptionÿmayÿbeÿexercisedÿshallÿnotÿbeÿextendedÿorÿenlargedÿbyÿreasonÿofÿLessee'sÿinabilityÿto
     exerciseÿanÿOptionÿbecauseÿofÿtheÿprovisionsÿofÿParagraphÿ39.4(a).
                ÿ            (ÿ c)ÿAnÿOptionÿshallÿterminateÿandÿbeÿofÿnoÿfurtherÿforceÿorÿeffect,ÿnotwithstandingÿLessee'sÿdueÿandÿtimelyÿexerciseÿofÿtheÿOption,ÿif,
     afterÿsuchÿexerciseÿandÿpriorÿtoÿtheÿcommencementÿofÿtheÿextendedÿtermÿorÿcompletionÿofÿtheÿpurchase,ÿ(i)ÿLesseeÿfailsÿtoÿpayÿRentÿforÿaÿperiodÿofÿ30
     daysÿafterÿsuchÿRentÿbecomesÿdueÿ(withoutÿanyÿnecessityÿofÿLessorÿtoÿgiveÿnoticeÿthereof),ÿorÿ(ii)ÿifÿLesseeÿcommitsÿaÿBreachÿofÿthisÿLease.
     40.ÿÿ      ÿMultipleÿBuildings. IfÿtheÿPremisesÿareÿaÿpartÿofÿaÿgroupÿofÿbuildingsÿcontrolledÿbyÿLessor,ÿLesseeÿagreesÿthatÿitÿwillÿabideÿbyÿandÿconformÿto
     allÿreasonableÿrulesÿandÿregulationsÿwhichÿLessorÿmayÿmakeÿfrom timeÿtoÿtimeÿforÿtheÿmanagement,ÿsafety,ÿandÿcareÿofÿsaidÿproperties,ÿincludingÿthe
     careÿ andÿ cleanlinessÿ ofÿ theÿ groundsÿ andÿ includingÿ theÿ parking,ÿ loadingÿ andÿ unloadingÿ ofÿ vehicles,ÿ andÿ toÿ causeÿ itsÿ employees,ÿ suppliers,ÿ shippers,
     customers,ÿcontractorsÿandÿinviteesÿtoÿsoÿabideÿandÿconform.ÿÿLesseeÿalsoÿagreesÿtoÿpayÿitsÿfairÿshareÿofÿcommonÿexpensesÿincurredÿinÿconnectionÿwith
     suchÿrulesÿandÿregulations.
     41.ÿ       ÿSecurity Measures. LesseeÿherebyÿacknowledgesÿthatÿtheÿRentÿpayableÿtoÿLessorÿhereunderÿdoesÿnotÿincludeÿtheÿcostÿofÿguardÿserviceÿor
     otherÿsecurityÿmeasures,ÿandÿthatÿLessorÿshallÿhaveÿnoÿobligationÿwhatsoeverÿtoÿprovideÿsame.ÿÿLesseeÿassumesÿallÿresponsibilityÿforÿtheÿprotectionÿof
     theÿPremises,ÿLessee,ÿitsÿagentsÿandÿinviteesÿandÿtheirÿpropertyÿfromÿtheÿactsÿofÿthirdÿparties.
     42.ÿ       ÿReservations. Lessorÿ reservesÿ toÿ itselfÿ theÿ right,ÿ fromÿ timeÿ toÿ time,ÿ toÿ grant,ÿ withoutÿ theÿ consentÿ orÿ joinderÿ ofÿ Lessee,ÿ suchÿ easements,
     rightsÿandÿdedicationsÿthatÿLessorÿdeemsÿnecessary,ÿandÿtoÿcauseÿtheÿrecordationÿofÿparcelÿmapsÿandÿrestrictions,ÿsoÿlongÿasÿsuchÿeasements,ÿrights,
     dedications,ÿ mapsÿ andÿ restrictionsÿ doÿ notÿ unreasonablyÿ interfereÿ withÿ theÿ useÿ ofÿ theÿ Premisesÿ byÿ Lessee.ÿ ÿ Lesseeÿ agreesÿ toÿ signÿ anyÿ documents


     _________ÿ          ÿ                                                PAGEÿ16ÿOFÿ18ÿ                                                                                _________
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     INITIALSÿ           ÿ                                                                                                                                              INITIALS
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       19-40193          Doc#
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     reasonablyÿrequestedÿbyÿLessorÿtoÿeffectuateÿanyÿsuchÿeasementÿrights,ÿdedication,ÿmapÿorÿrestrictions.
     43.ÿ        ÿPerformanceÿUnderÿProtest. IfÿatÿanyÿtimeÿaÿdisputeÿshallÿariseÿasÿtoÿanyÿamountÿorÿsumÿofÿmoneyÿtoÿbeÿpaidÿbyÿoneÿPartyÿtoÿtheÿother
     underÿtheÿprovisionsÿhereof,ÿtheÿPartyÿagainstÿwhomÿtheÿobligationÿtoÿpayÿtheÿmoneyÿisÿassertedÿshallÿhaveÿtheÿrightÿtoÿmakeÿpaymentÿ"underÿprotest"
     andÿsuchÿpaymentÿshallÿnotÿbeÿregardedÿasÿaÿvoluntaryÿpaymentÿandÿthereÿshallÿsurviveÿtheÿrightÿonÿtheÿpartÿofÿsaidÿPartyÿtoÿinstituteÿsuitÿforÿrecoveryÿof
     suchÿsum.ÿÿIfÿitÿshallÿbeÿadjudgedÿthatÿthereÿwasÿnoÿlegalÿobligationÿonÿtheÿpartÿofÿsaidÿPartyÿtoÿpayÿsuchÿsumÿorÿanyÿpartÿthereof,ÿsaidÿPartyÿshallÿbe
     entitledÿtoÿrecoverÿsuchÿsumÿorÿsoÿmuchÿthereofÿasÿitÿwasÿnotÿlegallyÿrequiredÿtoÿpay.ÿAÿPartyÿwhoÿdoesÿnotÿinitiateÿsuitÿforÿtheÿrecoveryÿofÿsumsÿpaid
     "underÿprotest"ÿwithÿ6ÿmonthsÿshallÿbeÿdeemedÿtoÿhaveÿwaivedÿitsÿrightÿtoÿprotestÿsuchÿpayment.
     44.ÿ        ÿAuthority;ÿMultipleÿParties;ÿExecution.
                            (a)ÿ       Ifÿ eitherÿ Partyÿ heretoÿ isÿ aÿ corporation,ÿ trust,ÿ limitedÿ liabilityÿ company,ÿ ÿ partnership,ÿ orÿ similarÿ entity,ÿ eachÿ individual
     executingÿthisÿLeaseÿonÿbehalfÿofÿsuchÿentityÿrepresentsÿandÿwarrantsÿthatÿheÿorÿsheÿisÿdulyÿauthorizedÿtoÿexecuteÿandÿdeliverÿthisÿLeaseÿonÿitsÿbehalf.
     EachÿPartyÿshall,ÿwithinÿ30ÿdaysÿafterÿrequest,ÿdeliverÿtoÿtheÿotherÿPartyÿsatisfactoryÿevidenceÿofÿsuchÿauthority.
                            (b)ÿ       IfÿthisÿLeaseÿisÿexecutedÿbyÿmoreÿthanÿoneÿpersonÿorÿentityÿasÿ"Lessee",ÿeachÿsuchÿpersonÿorÿentityÿshallÿbeÿjointlyÿand
     severallyÿ liableÿ hereunder.ÿ ÿ Itÿ isÿ agreedÿ thatÿ anyÿ oneÿ ofÿ theÿ namedÿ Lesseesÿ shallÿ beÿ empoweredÿ toÿ executeÿ anyÿ amendmentÿ toÿ thisÿ Lease,ÿ orÿ other
     documentÿancillaryÿtheretoÿandÿbindÿallÿofÿtheÿnamedÿLessees,ÿandÿLessorÿmayÿrelyÿonÿtheÿsameÿasÿifÿallÿofÿtheÿnamedÿLesseesÿhadÿexecutedÿsuch
     document.ÿ ÿ
                            (c)ÿ       ThisÿLeaseÿmayÿbeÿexecutedÿbyÿtheÿPartiesÿinÿcounterparts,ÿeachÿofÿwhichÿshallÿbeÿdeemedÿanÿoriginalÿandÿallÿofÿwhich
     togetherÿshallÿconstituteÿoneÿandÿtheÿsameÿinstrument.
     45.ÿ        ÿConflict. Anyÿ conflictÿ betweenÿ theÿ printedÿ provisionsÿ ofÿ thisÿ Leaseÿ andÿ typewrittenÿ orÿ handwrittenÿ provisionsÿ shallÿ beÿ controlledÿ byÿ the
     typewrittenÿorÿhandwrittenÿprovisions.
     46.ÿ        ÿOffer. PreparationÿofÿthisÿLeaseÿbyÿeitherÿPartyÿorÿtheirÿagentÿandÿsubmissionÿofÿsameÿtoÿtheÿotherÿPartyÿshallÿnotÿbeÿdeemedÿanÿofferÿto
     leaseÿtoÿtheÿotherÿParty.ÿÿThisÿLeaseÿisÿnotÿintendedÿtoÿbeÿbindingÿuntilÿexecutedÿandÿdeliveredÿbyÿallÿPartiesÿhereto.
     47.ÿ        ÿAmendments. ThisÿLeaseÿmayÿbeÿmodifiedÿonlyÿinÿwriting,ÿsignedÿbyÿtheÿPartiesÿinÿinterestÿatÿtheÿtimeÿofÿtheÿmodification.ÿÿÿAsÿlongÿasÿthey
     doÿnotÿmateriallyÿchangeÿLessee'sÿobligationsÿhereunder,ÿLesseeÿagreesÿtoÿmakeÿsuchÿreasonableÿnon-monetaryÿmodificationsÿtoÿthisÿLeaseÿasÿmayÿbe
     reasonablyÿrequiredÿbyÿaÿLenderÿinÿconnectionÿwithÿtheÿobtainingÿofÿnormalÿfinancingÿorÿrefinancingÿofÿtheÿPremises.
     48.ÿ        ÿW aiverÿ ofÿ Jury Trial.ÿ ÿ ÿ T
                                                ÿ HEÿ PARTIESÿ HEREBYÿ WAIVEÿ THEIRÿ RESPECTIVEÿ RIGHTSÿ TOÿ TRIALÿ BYÿ JURYÿ INÿ ANYÿ ACTIONÿ OR
     PROCEEDINGÿINVOLVINGÿTHEÿPROPERTYÿORÿARISINGÿOUTÿOFÿTHISÿAGREEMENT.
     49.ÿ        ÿArbitrationÿofÿDisputes. AnÿAddendumÿrequiringÿtheÿArbitrationÿofÿallÿdisputesÿbetweenÿtheÿPartiesÿand/orÿBrokersÿarisingÿoutÿofÿthisÿLease
      ÿÿis ÿÿ isÿnot attachedÿtoÿthisÿLease.ÿ ÿ
     50.ÿ        ÿAmericansÿwithÿDisabilitiesÿAct. SinceÿcomplianceÿwithÿtheÿAmericansÿwithÿDisabilitiesÿActÿ(ADA)ÿisÿdependentÿuponÿLessee'sÿspecificÿuse
     ofÿ theÿ Premises,ÿ Lessorÿ makesÿ noÿ warrantyÿ orÿ representationÿ asÿ toÿ whetherÿ orÿ notÿ theÿ Premisesÿ complyÿ withÿ ADAÿ orÿ anyÿ similarÿ legislation.ÿ ÿ Inÿ the
     eventÿthatÿLessee'sÿuseÿofÿtheÿPremisesÿrequiresÿmodificationsÿorÿadditionsÿtoÿtheÿPremisesÿinÿorderÿtoÿbeÿinÿADAÿcompliance,ÿLesseeÿagreesÿtoÿmake
     anyÿsuchÿnecessaryÿmodificationsÿand/orÿadditionsÿatÿLessee'sÿexpense.ÿ ÿ


     LESSORÿANDÿLESSEEÿHAVEÿCAREFULLYÿREADÿANDÿREVIEWEDÿTHISÿLEASEÿANDÿEACHÿTERMÿANDÿPROVISIONÿCONTAINEDÿHEREIN,ÿAND
     BYÿ THEÿ EXECUTIONÿ OFÿ THISÿ LEASEÿ SHOW THEIRÿ INFORMEDÿ ANDÿ VOLUNTARYÿ CONSENTÿ THERETO.ÿ ÿ THEÿ PARTIESÿ HEREBYÿ AGREE
     THAT,ÿATÿTHEÿTIMEÿTHISÿLEASEÿISÿEXECUTED,ÿTHEÿTERMSÿOFÿTHISÿLEASEÿAREÿCOMMERCIALLYÿREASONABLEÿANDÿEFFECTUATEÿTHE
     INTENTÿANDÿPURPOSEÿOFÿLESSORÿANDÿLESSEEÿWITHÿRESPECTÿTOÿTHEÿPREMISES.
     ATTENTION: NOÿREPRESENTATIONÿORÿRECOMMENDATIONÿISÿMADEÿBYÿTHEÿAIRÿCOMMERCIALÿREALÿESTATEÿASSOCIATIONÿORÿBYÿANY
     BROKERÿASÿTOÿTHEÿLEGALÿSUFFICIENCY,ÿLEGALÿEFFECT,ÿORÿTAXÿCONSEQUENCESÿOFÿTHISÿLEASEÿORÿTHEÿTRANSACTIONÿTOÿWHICH
     ITÿRELATES.ÿÿTHEÿPARTIESÿAREÿURGEDÿTO:
     1.ÿÿSEEKÿADVICEÿOFÿCOUNSELÿASÿTOÿTHEÿLEGALÿANDÿTAXÿCONSEQUENCESÿOFÿTHISÿLEASE.ÿ ÿ
     2.ÿ ÿ RETAINÿ APPROPRIATEÿ CONSULTANTSÿ TOÿ REVIEWÿ ANDÿ INVESTIGATEÿ THEÿ CONDITIONÿ OFÿ THEÿ PREMISES.ÿ ÿ SAIDÿ INVESTIGATION
     SHOULDÿINCLUDEÿBUTÿNOTÿBEÿLIMITEDÿTO:ÿTHEÿPOSSIBLEÿPRESENCEÿOFÿHAZARDOUSÿSUBSTANCES,ÿTHEÿZONINGÿOFÿTHEÿPREMISES,
     THEÿSTRUCTURALÿINTEGRITY,ÿTHEÿCONDITIONÿOFÿTHEÿROOFÿANDÿOPERATINGÿSYSTEMS,ÿANDÿTHEÿSUITABILITYÿOFÿTHEÿPREMISESÿFOR
     LESSEE'SÿINTENDEDÿUSE.ÿÿ ÿ


     WARNING: IF THEÿPREMISESÿISÿLOCATEDÿINÿA STATEÿOTHERÿTHANÿCALIFORNIA,ÿCERTAIN PROVISIONSÿOFÿTHEÿLEASEÿMAYÿNEEDÿTO
     BEÿREVISEDÿTOÿCOMPLYÿWITHÿTHEÿLAWSÿOFÿTHEÿSTATEÿINÿWHICHÿTHEÿPREMISESÿISÿLOCATED.ÿÿÿÿÿ ÿ


     TheÿpartiesÿheretoÿhaveÿexecutedÿthisÿLeaseÿatÿtheÿplaceÿandÿonÿtheÿdatesÿspecifiedÿaboveÿtheirÿrespectiveÿsignatures.


     Executedÿ at:ÿ ÿ                                                                   ÿÿExecutedÿ at:ÿ ÿ                                                                     ÿÿ
     On:ÿÿ                                                                             ÿÿ ÿOn:ÿÿ                                                                              ÿÿ ÿ

     ByÿÿLESSOR:                                                                           ByÿÿLESSEE:
     BerkeleyÿProperties,ÿLLCÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿPacificÿSteelÿCastingÿCompanyÿLLCÿÿÿÿÿÿÿÿÿÿÿÿ
     AÿCaliforniaÿlimitedÿliabilityÿcompanyÿÿÿÿÿÿÿÿAÿDelawareÿlimitedÿliabilityÿcompanyÿÿÿÿÿÿÿÿÿÿ

     By:ÿ ÿ                                                                              ÿÿBy:ÿÿ                                                                              ÿÿ ÿ
     Nameÿ Printed:ÿ ÿ                                                                   ÿÿNameÿ Printed:ÿ ÿ                                                                   ÿÿ
     Title:ÿ ÿ                                                                           ÿÿTitle:ÿ ÿ                                                                           ÿÿ
     By:ÿ ÿ                                                                              ÿÿBy:ÿ ÿ                                                                              ÿÿ
     Nameÿ Printed:ÿ ÿ                                                                   ÿÿNameÿ Printed:ÿ ÿ                                                                   ÿÿ
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     Address:ÿ ÿ                                                                         ÿÿAddress:ÿ ÿ                                                                         ÿÿ


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Case:
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       19-40193          Doc#
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     Facsimile:(    )ÿ ÿ
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     BROKER:ÿ       ÿ                                                            BROKER:
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     FederalÿIDÿNo.ÿÿ                                                            ÿ
                                                                              ÿÿFederalÿIDÿNo.ÿÿ                                                          ÿÿ ÿ

     NOTICE: ÿÿTheseÿformsÿareÿoftenÿmodifiedÿtoÿmeetÿchangingÿrequirementsÿofÿlawÿandÿindustry needs.ÿÿAlwaysÿwriteÿorÿcallÿtoÿmakeÿsureÿyou
     areÿ utilizingÿ theÿ mostÿ currentÿ form:ÿ ÿ AIRÿ Commercialÿ Realÿ Estateÿ Association,ÿ ÿ 800ÿ Wÿ 6thÿ Street,ÿ Suiteÿ 800,ÿ Losÿ Angeles,ÿ CA 90017.ÿ ÿ
     TelephoneÿNo.ÿ(213)ÿ687-8777.ÿÿFaxÿNo.:ÿ(213)ÿ687-8616.


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     INITIALSÿ          ÿ                                                                                                                        INITIALS
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Case:
 Case  19-04057
       19-40193          Doc#
                         Claim85        Filed:7 10/02/20
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                                              ADDENDUM

Date: August 29, 2014

By and Between (Lessor) Berkeley Properties, LLC, a California limited liability company
               (Lessee) Pacific Steel Casting Company LLC, a Delaware limited liability company

Address of Premises: 1333 2nd Street, 1310 Third Street and 640 Gilman Street, Berkeley, CA

Paragraphs 55-60

55.      Lessor agrees that any amount determined to be due to Lessee (as Buyer) under Section 10.01
(the “10.01 Amount”) of that certain Asset Purchase Agreement dated as of June 19, 2014 by and
between Speyside Fund, LLC, and Pacific Steel Casting Company, a California corporation ("Seller"), as
amended by the First Amendment to Asset Purchase Agreement dated August __, 2014 (as so amended,
the "Asset Purchase Agreement"), on account of any breach of a representation, warranty or covenant by
Seller under the Asset Purchase Agreement shall be paid to Lessee through an abatement in the amount of
base rent otherwise payable by Lessee to Lessor under this Lease. The abatement shall commence on the
later of (i) the end of the rent abatement provided for in Section 57 below or (ii) the final determination of
the 10.01 Amount, and shall continue until the amount of such base rent abatement equals the 10.01
Amount., after which the rent under the Lease shall be fully payable pursuant to the terms of this Lease.

56.      Pursuant to the terms of the Asset Purchase Agreement, Seller provided to Lessee due diligence
materials, including without limitation certain environmental reports identified in Schedule 5.01(n)(ii)
thereto relating to the Premises (collectively "Asset Purchase Agreement Disclosures"), and Lessee has
also had an opportunity to conduct its own physical and regulatory environmental investigations of the
Premises ("Lessees's Environmental Due Diligence") prior to the closing of the transaction under the
Asset Purchase Agreement. The Asset Purchase Agreement provides for a rent abatement in the event any
contamination by Hazardous Materials not disclosed in the Asset Purchase Agreement Disclosures is
discovered at any time up to ninety (90) days following the closing. For purposes of this Lease, the term
“Undisclosed Hazardous Substances” means any Hazardous Substances which (i) existed on the Premises
prior to Lessee’s occupancy, (ii) was not disclosed in any of the Asset Purchase Agreement Disclosures,
and (ii) the existence of which was made aware to Lessee or any of Lessee's employees or agents as a
result of Lessee's Environmental Due Diligence before the closing or within ninety (90) days thereafter.

Lessor shall have no responsibility or payment obligation for the investigation or remediation of any
Hazardous Substances except with respect to Undisclosed Hazardous Substances as expressly provided in
Paragraphs 6.2(e), 6.2(f), and 6.2(g), unless required by law or governmental authority.

57.     Lessee shall be entitled to an abatement in the amount of base rent otherwise payable by Lessee
to Lessor under this Lease commencing on the Commencement Date of the Lease and continuing until the
amount of such rent abatement equals $1,000,000, after which the rent under the Lease shall be fully
payable pursuant to the terms of this Lease, subject to any other provisions hereof expressly permitting
abatement of base rent.

58.     The Property Condition Assessment prepared by Atwell, LLC for Lessee identifies certain areas
of possible current noncompliance of the Premises with the Americans With Disabilities Act (“Possible
ADA Noncompliance”). Notwithstanding anything to the contrary in Sections 8.7 and 50 of this Lease,
Lessor shall indemnify, protect, defend and hold harmless Lessee, its members, managers, officers,
agents and lenders from and against any and all claims, damages, judgments, penalties attorneys’ and
consultants’ fees, expenses and/or liabilities arising out of, involving, or in connection with (i) notices of



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violation or other regulatory compliance actions or proceedings relating to Possible ADA
Noncompliance, and (ii) future private claims or legal proceedings under the ADA based in whole or in
part on areas of Possible ADA Noncompliance. If Lessor defaults or unreasonably delays paying or
peforming the indemnity in this Section, after written notice from Lessee, Lessee may pay or perform the
liabilities and obligations for which indemnity is sought and recover the reasonable amounts so paid by
Lessee., by means of an abatement of base rent hereunder, in addition to abatements described in Sections
55, 57 and 59 hereof. Notwithstanding the foregoing, Lessor shall have no obligation of indemnity and to
the extent such liabilities arise from any application by Lessee to make changes to the Premises or
changes made by Lessee to the Premises.

59.      The Property Condition Assessment prepared by Atwell, LLC for Lessee identifies certain areas
of possible current noncompliance of the Premises with the Applicable Requirements with regards to fire
prevention and safety (“Possible Fire Safety Noncompliance”). Notwithstanding anything to the contrary
in Section 8.7 of this Lease Lessor shall indemnify, protect, defend and hold harmless Lessee, its
members, managers officers, agents and lenders from and against any and all claims, damages,
judgments, penalties attorneys’ and consultants’ fees, expenses and/or liabilities arising out of, involving,
or in connection with notices of violation or other regulatory compliance actions or proceedings relating
to Possible Fire Safety Noncompliance. In the event that officials of the City of Berkeley require any
repairs or alteration of the Premises to remedy any of the areas of Possible Fire Safety Noncompliance
(“Required Work”), Lessor agrees to perform the Required Work in a timely fashion at Lessor’s expense.
If Lessor defaults or unreasonably delays in performing the Required Work or otherwise to indemnify
Lessee hereunder after written notice from Lessee, Lessee may perform the Required Work and recover
the reasonable amounts paid by Lessee to unaffiliated third parties to perform the Required Work, by
means of an abatement of base rent hereunder, in addition to abatements described in Sections 55, 57 and
58 hereof. Notwithstanding the foregoing, Lessor shall have no obligation to make any repairs or
alterations to the Premises if the requirement is related to any application by Lessee to make changes to
the Premises, or changes made by Lessee to the Premises and this Section 59 in no way constitutes a
representation or warranty by Lessor with respect to the safety of the Premises.

60.     The Premises includes that certain real property, including all improvements thereon, owned by
Lessor, commonly known as 648 Page Street, 1314, 1320, 1333, 1420 and 1421 2nd Street, 1310 3rd
Street, 640 Gilman St. and 1305 and 1401 Eastshore Highway in the City of Berkeley, located in
Alameda County, State of California, more particularly described on Exhibit A, attached hereto.




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                                TRUCKER ♦               Huss
                                    A PROFESSIONAL CORPORATION
                            ERISA AND EMPLOYEE BENEFITS ATTORNEYS



                                             December 28, 2017

Via Facsimile, Email and First Class Mail


Berkeley Properties, LLC                                Michael M. Lauter
c/o Arch & Beam Global LLC, Plan Administrator          Sheppard, Mullin, Richter & Hampton LLP
7 West 41st Avenue - #523                               Four Embarcadero Center, 17th Floor
San Mateo, CA 94403                                     San Francisco, CA 94111
Attn: Matthew English                                   F: (415) 403-6071
F: (415) 358-4486                                       mlauter@she1212ardmullin .com
sg. bg.ga@arch-beam.com
First America Title Insurance Company                   Krishnan V enkatesan
a Nebraska Corporatin                                   Pacific Steel Casting LLC
1 First American Way                                    1333 Second Street
Santa Ana, CA 92707                                     Berkeley, CA 94710
Attn: Michael Hickey
                                                        F: (510) 524-4673
                                                        kvenkatesan@gacificsteel.com
Richard N. Hill, Esq.                                   Gary M. Kaplan, Esq.
Littler Mendelson APC                                   Farella Braun & Martell LLP
650 California Street, 20th Floor                       Russ Building
San Francisco, CA 94108                                 235 Montgomery Street, 17th Floor
                                                        San Francisco, CA 94104
F: (415) 399-8490
rhill@ littler.com                                      F: (415) 954-4480
                                                        gka2lan@fbm.com

Gentlemen:
        Our office represents the CMTA-Glass, Molders, Pottery, Plastics and Allied Workers Local
164B Pension Trust (the "Trust"). This letter service as formal written notice that an "Event of
Default" has occurred under the terms of the Deed of Trust executed for the benefit of the Trust on
September 29, 2015 ; namely, Pacific Steel Casting Company, LLC (the "Buyer"), has failed to
satisfy the requirements of the sale of assets exemption to withdrawal liability set forth in ERISA §
4204(a)(l), 29 U.S.C. § 1384(a)(l), by failing to maintain the required bond or escrow arrangement
for five plan years following the asset sale. This constitutes both an " Event of Default" under the
Deed of Trust as well as a "Buyer Withdrawal" under the Stipulation Clarifying Treatment of Local




171246vl
               One Embarcadero Center, 12th Floor, San Francisco, California 94111-3628
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                   Tel (415) 788-3111       (415) 421-2017
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                                                           ♦ www.truckerhuss.com
                                                           Liability Page 1 of 4                        643
164B Claim Under Debtors' and Committee's Second Amended Joint Chapter 11 Plan of
Reorganization Dated April 30, 2015 (the "Stipulation" and "Plan of Reorganization" respectively).
        ERISA § 4204(a)(l)(B) requires that a purchaser in a Section 4204 asset sale provide to a
pension plan for a period of five plan years an acceptable bond or escrow arrangement. In this case,
the Buyer provided a cancellable bond from Berkley Surety Group, effective on or about July 1,
2015, and the Trust has received notification from Berkley that the bond was cancelled effective
December 14, 2017, well before the expiration of the statutory five-year period. Buyer is therefore
in violation of the ERISA bond requirement, rendering the sale of assets to Buyer no longer eligible
for the special treatment afforded under Section 4204. See Central States, Southeast & Southwest
Areas Health & Welfare Fund v. Cullum Cos., 973 F.2d 1333 (7th Cir. 1992) (noting that
requirement to post purchaser's bond for five years is a "continuing obligation" under Section 4204);
see also PBGC Opinion Letter 85-31 and 83-8 (stating that failure to maintain purchaser's bond or
escrow at any time during five-year period constitutes failure to comply with Section 4204).
       The Trust intends to exercise all of its rights and remedies under the Deed of Trust and Plan
of Reorganization, as well as any other applicable law. Please see the attached calculation of the
amount of Second Street Properties' withdrawal liability as the result of the failure to satisfy the
requirements of Section 4204.


                                             Very truly yours,




                                             Robert F. Schwartz


RFS:jh
Enclosures
cc:    Board of Trustees (Email Only)
       Rich Lapping, Esq. (Email Only)
       Conchita Lozano-Batista, Esq. (Email Only)
       Kristina Zinnen, Esq. (Email Only)




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                                              CMTA - MOLDERS/ALLIED WORKERS PENSION PLAN
                                   Withdrawal Liability Assessment for Terminations from July 1, 2014 - June 30, 2015


      6/30/2002 Unfunded Vested    Benefits for Withdrawal    Liability                                                          $1,226,156
 2    6/30/2003 Unfunded Vested    Benefits for Withdrawal    Liability                                                          $9,041,202
 3    6/30/2004 Unfunded Vested    Benefits for Withdrawal    Liability                                                          $8,036,879
 4    6/30/2005 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $13,120,198
 5    6/30/2006 Unfunded Vested    Benefits for Withdrawal    Liability                                                          $2,360,583
 6    6/30/2007 Unfunded Vested    Benefits for Withdrawal    Liability                                                          $5,611,185
 7    6/30/2008 Unfunded Vested    Benefits for Withdrawal    Liability                                                          $8,165,529
 8    6/30/2009 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $27,726,749
 9    6/30/2010 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $32,409,144
10    6/30/2011 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $34,251,338
11    6/30/2012 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $37,591,448
12    6/30/2013 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $37,991,270
13    6/30/2014 Unfunded Vested    Benefits for Withdrawal    Liability                                                         $34,248,083

14   6/30/2002 Pool Balance at 6/30/2014                                                                                           $490,462
15   6/30/2003 Pool Balance at 6/30/2014                                                                                         $3,544,359
16   6/30/2004 Pool Balance al 6/30/2014                                                                                          -$274,599
17   6/30/2005 Pool Balance at 6/30/2014                                                                                         $3,031,041
18   6/30/2006 Pool Balance at 6/30/2014                                                                                        -$6,033,840
19   6/30/2007 Pool Balance at 6/30/2014                                                                                         $2,243,148
20   6/30/2008 Pool Balance at 6/30/2014                                                                                         $2,049,102
21   6/30/2009 Pool Balance at 6/30/2014                                                                                        $15,060,398
22   6/30/201 O Pool Balance at 6/30/2014                                                                                        $4,964,584
23   6/30/2011 Pool Balance at 6/30/2014                                                                                         $3,124,443
24   6/30/2012 Pool Balance at 6/30/2014                                                                                         $4,821,771
25   6/30/2013 Pool Balance at 6/30/2014                                                                                         $2,550,855
26   6/30/2014 Pool Balance at 6/30/2014                                                                                        -$1,323,641

27 Total Affected Benefits Pools                                                                                                 $6,851,802

     Employer name                                                                                      PACIFIC STEEL CASTING COMPANY
     Employer number                                                                                                            240000000
28   Contributions from July 1, 1997 - June 30, 1998                                                                           $798,491.93
29   Contributions from July 1, 1998 - June 30, 1999                                                                           $553,975.38
30   Contributions from July 1, 1999 - June 30, 2000                                                                           $385,886.67
31   Contributions from July 1, 2000 - June 30, 2001                                                                           $547,779.26
32   Contributions from July 1, 2001 - June 30, 2002                                                                          $591,471.06
33   Contributions from July 1, 2002 - June 30, 2003                                                                          $464,746.50
34   Contributions from July 1, 2003 - June 30, 2004                                                                          $567,032.25
35   Contributions from July 1, 2004 - June 30, 2005                                                                          $890,691.48
36   Contributions from July 1, 2005 - June 30, 2006                                                                        $1,198,953.95
37   Contributions from July 1, 2006 - June 30, 2007                                                                        $1,262,836.45
38   Contributions from July 1, 2007 - June 30, 2008                                                                        $1,172,388.50
39   Contributions from July 1, 2008 - June 30, 2009                                                                          $858,677.24
40   Contributions from July 1, 2009 - June 30, 2010                                                                          $639,558.88
41   Contributions from July 1, 2010 - June 30, 2011                                                                        $1 ,159,198.10
42   Contributions from July 1, 2011 - June 30, 2012                                                                        $1 ,586, 462.19
43   Contributions from July 1, 2012 - June 30, 2013                                                                        $ 1,368,073.00
44   Contributions from July 1, 2013 - June 30, 2014                                                                          $1 ,177.327.26

45   Employer contributions from   July 1, 1997 - June 30,   2002 - sum   of items   (28) - (32)                              $2,877,604.30
46   Employer contributions from   July 1, 1998 - June 30,   2003 - sum   of items   (29) - (33)                              $2,543,858.87
47   Employer contributions from   July 1, 1999 - June 30,   2004- sum    of items   (30) - (34)                              $2,556,915.74
48   Employer contributions from   July 1, 2000 - June 30,   2005 - sum   of items   (31) - (35)                              $3,061,720.55
49   Employer contributions from   July 1, 2001 - June 30,   2006 - sum   of items   (32) - (36)                              $3,712,895.24
50   Employer contributions from   July 1, 2002 - June 30,   2007 - sum   of items   (33) - (37)                              $4,384,260.63
51   Employer contributions from   July 1, 2003 - June 30,   2008 - sum   of items   (34) - (38)                              $5,091,902.63
52   Employer contributions from   July 1, 2004 - June 30,   2009 - sum   of items   (35) - (39)                              $5,383,547.62
53   Employer contributions from   July 1, 2005 - June 30,   2010 - sum   of items   (36) - (40)                              $5,132,415.02
54   Employer contributions from   July 1, 2006 - June 30,   2011 - sum   of items   (37) - (41)                              $5,092,659.17
55   Employer contributions from   July 1, 2007 - June 30,   2012 - sum   of items   (38) - (42)                              $5,416,284.91
56   Employer contributions from   July 1, 2008 - June 30,   2013 - sum   of items   (39) - (43)                              $5,611,969.41
57   Employer contributions from   July 1, 2009 - June 30,   2014- sum    of items   (40) - (44)                              $5,930,619.43




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 58   Total plan contributions from     July 1, 1997 - June 30, 2002                     $5,426,816,00
 59   Total plan contributions from     July 1, 1998 - June 30, 2003                     $4,960,020.00
 60   Total plan contributions from     July 1, 1999 - June 30, 2004                     $4,921,647.00
 61   Total plan contributions from     July 1, 2000 - June 30, 2005                     $5,474,336.00
 62   Total plan contributions from     July 1, 2001 - June 30, 2006                     $6,330,769.00
 63   Total plan contributions from     July 1, 2002 - June 30, 2007                     $8,077,453.00
 64   Total plan contributions from     July 1, 2003 - June 30, 2008                     $8,862,892.00
 65   Total plan contributions from     July 1, 2004 - June 30, 2009                     $9,063,826.00
 66   Total plan contributions from     July 1, 2005- June 30, 2010                      $8,549,181.00
 67   Total plan contributions from     July 1, 2006 - June 30, 2011                     $8,593,803.00
 68   Total plan contributions from     July 1, 2007 - June 30, 2012                     $8,810,384.00
 69   Total plan contributions from     July 1, 2008 - June 30, 2013                     $8,975,908.00
 70   Total plan contributions from     July 1, 2009 - June 30, 2014                     $9,443,092.00

71    Employer fraction   of item   (58) - item   (45) divided   by item   (58)            53.025647%
72    Employer fraction   of item   (59) - item   (46) divided   by item   (59)            51.287270%
73    Employer fraction   of item   (60) - item   (47) divided   by item   (60)            51.952441%
74    Employer fraction   of item   (61) - item   (48) divided   by item   (61)            55.928619%
75    Employer fraction   of item   (62) - item   (49) divided   by item   (62)            58.648408%
76    Employer fraction   of item   (63) - item   (50) divided   by item   (63)            54.277761%
77    Employer fraction   of item   (64) - item   (51) divided   by item   (64)            57.451931%
78    Employer fraction   of item   (65) - item   (52) divided   by item   (65)            59.395973%
79    Employer fraction   of item   (66) - item   (53) divided   by item   (66)            60.033996%
80    Employer fraction   of item   (67) - item   (54) divided   by item   (67)            59.259669%
81    Employer fraction   of item   (68) - item   (55) divided   by item   (68)            61.476150%
82    Employer fraction   of item   (69) - item   (56) divided   by item   (69)            62.522582%
83    Employer fraction   of item   (70) - item   (57) divided   by item   (70)            62.803787%

84    Allocated share of item   (14) - item (14) times item (71)                            260,071.00
85    Allocated share of item   (15) - item (15) times item (72)                          1,817,805.00
86    Allocated share of item   (16) - item (16) times item (73)                           -142,661.00
87    Allocated share of item   (17) - item (17) times item (74)                          1,695,219.00
88    Allocated share of item   (18) - item (18) times item (75)                         -3,538,751.00
89    Allocated share of item   (19) - item (19) times item (76)                          1,217,531.00
90    Allocated share of item   (20) - item (20) times item (77)                          1,177,249.00
91    Allocated share of item   (21)- item (21) times item (78)                           8,945,270.00
92    Allocated share of item   (22) - item (22) times item (79)                          2,980,438.00
93    Allocated share of item   (23) - item (23) times item (80)                          1,851,535.00
94    Allocated share of item   (24) - item (24) times item (81)                          2,964,239.00
95    Allocated share of item   (25) - item (25) times item (82)                          1,594,860.00
96    Allocated share of item   (26) and (27) - item [(26) + (27)] times item (83)        3,471,894.00

97 Allocated amount - sum of items (84) to (96)                                         $24,294,699.00

98 Preliminary de minimis amount (deductible) - smaller of $50,000 and item (97)            $50,000.00
99 Reduction in de minimis amount- item (97) minus $100,000, but not less than $0       $24,194,699.00
100 Final de minim is amount - item (98) minus item (99), but not less than $0                   $0.00

101 Allocated Unfunded Vested Benefits - item (97) minus item (100)                     $24 .294.699.00!




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            EXHIBIT “13”

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                                         699                                          647
       Fill in this information to identify the case:

                                    Pacific Steel Casting C o m p a n y L L C
       Debtor 2
       ( S p o u s e , if filing)


       United S t a t e s Bankruptcy Court for the:                                                                             District of         California
                                                                                                                                                  (State)

       Case number                  1       93




     Official F o r m 4 1 0
     Proof of C l a i m
     R e a d the instructions before filling o u t this f o r m . T h i s f o r m i sfor m a k i n g a claim for p a y m e n t i na b a n k r u p t c y case. D o not u s e this f o r m t o
     m a k e a request for p a y m e n t o fa n a d m i n i s t r a t i v e e x p e n s e . M a k e s u c h a r e q u e s t a c c o r d i n g t o § 503.
     Filers m u s t l e a v e o u t o rredact information that is entitled t oprivacy o n this f o r m or o n a n y attached d o c u m e n t s . Attach redacted copies o f a n y
     documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements o frunning accounts, contracts, judgments,
     m o r t g a g e s , a n d security a g r e e m e n t s . D o n o t s e n d o r i g i n a l d o c u m e n t s ; t h e y m a y b e d e s t r o y e d after s c a n n i n g . Ift h e d o c u m e n t s a r e not available,
     explain inan attachment.
     A p e r s o n w h o files a fraudulent claim c o u l d b e fined u p to $ 5 0 0 , 0 0 0 , i m p r i s o n e d for up to 5 y e a r s , o rboth. 1 8U . S . C . §                                                                    and 3571.

     Fill i nall t h e i n f o r m a t i o n a b o u t t h e c l a i m a so f t h e d a t e t h e c a s e w a s filed. T h a t date i so n t h e n o t i c e o fb a n k r u p t c y ( F o r m 309) t h a t y o u                                               received.




                           Identify t h e C l a i m


        W h o isthe current
        creditor?
                                                          Pension Benefit Guaranty Corporation
                                                         N a m e of the current creditor (the person or entity to be paid for this claim)

                                                         Other n a m e s the creditor used with the debtor

2.      Has this claim been
        acquired from                                [7]         No
        someone else?                                •                  .    From whom


3.      Where should notices                             W h e r e s h o u l d n o t i c e s t ot h e creditor b e s e n t ?                                                       W h e r e s h o u l d p a y m e n t s t o t h e c r e d i t o r b e s e n t ? (if
        and payments t o the                                                                                                                                                       different)
        creditor be sent?
                                                         Office of the G e n e r a l C o u n s e l , Attn: Louisa
        Federal Rule of                                  Name                                                                                                                       Name
        Bankruptcy Procedure
        (FRBP) 2002(g)                                                      K Street, N.W., Suite 340
                                                         Number                      Street                                                                                         Number             Street

                                                         Washington, DC 20005-4026
                                                         City                                                       State                                     ZIP Code             City                                       State                         ZIP Code


                                                                                         202-326-4020, x3278                                                                       Contact phone

                                                         Contact email                                                                                                             Contact email




                                                         U n i f o r m c l a i m i d e n t i f i e r f o r e l e c t r o n i c p a y m e n t s in c h a p t e r   (if y o u u s e o n e ) :




4.      Does this claim a m e n d              [V] N o
        one already filed?                       j                                                                                                                            known)                                                  Filed o n
                                                                                                                                                                                                                                      MM    / DD       / YYYY



5.      D o y o u k n o w ifa n y o n e          [7]
        else h a s filed a proof
        of claim for this claim?


                          Case:
                            Case19-04057
                                  19-40193 Doc# 854-1Filed:
                                            Claim           10/02/20
                                                         Filed 02/28/19Entered: 10/02/20
                                                                         Desc Main       13:34:49 Page
                                                                                    Document       Page  648
                                                                                                       1 of  3 of
                                                                   699                                      241   648
       Official F o r m                                                                                                          Proof o f Claim                                                                                                  page 1
 Part 2:           G i v e I n f o r m a t i o n A b o u t t h e C l a i m a s of t h e D a t e t h e C a s e W a s F i l e d


6.   Do you have any number
     y o u use t oidentify the                         y e s . Last 4 digits of the debtor's account or a n y n u m b e r y o u u s e t oidentify the debtor:
     debtor?




7.                          the claim?               $        1,709,146                                        _. D o e s t h i s a m o u n t i n c l u d e i n t e r e s t o r o t h e r      charges?
                                                                                                                        No
                                                                                                                         Y e s . Attach statement itemizing interest, fees, e x p e n s e s , or other
                                                                                                                                 charges required b yBankruptcy Rule 3001(c)(2)(A).



     W h a t i st h e b a s i s o ft h e         E x a m p l e s : G o o d s sold, m o n e y loaned, lease, services performed, personal injury or wrongful death, o rcredit
     claim?
                                                 Attach redacted copies o fa n y d o c u m e n t s supporting the claim required b y Bankruptcy R u l e 3001(c).

                                                 Limit disclosing information that isentitled t o privacy, such a s health care information.

                                                 S t a t u t o r y Liability t othe P e n s i o n P l a n for E m p l o y e e s o f Pacific S t e e l C a s t i n g C o m p a n y for u n p a i d m i n i m u m funding
                                                 contributions                                 §§412      and 430, 2 9U.S.C. §            1082, 1342 and                          S e e attached statement.



9.   I sall o r p a r t o ft h e c l a i m               No
     secured?                                    [7]                                   s e c u r e d b ya lien o n property.
                                                                    Nature o f property:

                                                                    •   R e a l e s t a t e . I f t h e c l a i m i s s e c u r e d b y t h e d e b t o r ' s p r i n c i p a l r e s i d e n c e , f i l e a Mortgage Proof of Claim
                                                                                           Attachment         (Official F o r m                 w i t h t h i s Proof of Claim.
                                                                    G   Motor vehicle
                                                                    0   other. Describe:                        All property a n d rights to property (personal)

                                                                                  perfection:                   S e e attached statement.
                                                               A t t a c h r e d a c t e d c o p i e s o f d o c u m e n t s , if a n y , t h a t s h o w e v i d e n c e o f p e r f e c t i o n o f a s e c u r i t y i n t e r e s t ( f o r
                                                               e x a m p l e , a m o r t g a g e , lien, certificate o ftitle, f i n a n c i n g s t a t e m e n t , o r o t h e r d o c u m e n t t h a t s h o w s t h e lien h a s
                                                               b e e n filed o r recorded.)



                                                               Value of property:                                                    $
                                                               A m o u n t o f t h e c l a i m t h a t is s e c u r e d :            $


                                                                A m o u n t o ft h e c l a i m t h a t i s u n s e c u r e d :       $                                     _(The s u m of the secured and unsecured
                                                                                                                                                                            a m o u n t s s h o u l d m a t c h t h e a m o u n t i n line 7.)



                                                               A m o u n t n e c e s s a r y t oc u r e a n y d e f a u l t a s o ft h e d a t e o ft h e p e t i t i o n :               $_



                                                               A n n u a l I n t e r e s t R a t e ( w h e n c a s e w a s filed)                    %
                                                                •       Fixed
                                                                    G   Variable



     I st h i s c l a i m b a s e d o n a       [7] N o
     lease?
                                                 G     Yes. A m o u n t n e c e s s a r y t ocure a n y default as o fthe date o fthe petition.



     I st h i s c l a i m s u b j e c t t o a        N o
                                                              S e e attached statement.
     right o fsetoff?
                                                       Y e s . Identify the property:




                  Case:
                    Case19-04057
                          19-40193 Doc# 854-1Filed:
                                    Claim           10/02/20
                                                 Filed 02/28/19Entered: 10/02/20
                                                                 Desc Main       13:34:49 Page
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                                                                                               2 of 3 of
                                                           699                                      242  649
                                                                                                       Proof of Claim                                                                                                   Daae 2
   I sall o r part o ft h e c l a i m             •   N o
   entitled t opriority under
   11 U.S.C. § 507(a)?                           {7} Y e s . Check all that apply:                                                                                                                                          A m o u n t entitled t o priority

   A claim m a y b e partly                                 D   D o m e s t i c support obligations (including a l i m o n y and child support) under
   priority and partly                                              U . S . C . § 507(a)(1 )(A) o r (a)(1 )(B).
   nonpriority. For example,
   in s o m e c a t e g o r i e s , t h e                   D   U p t o$ 2 , 7 7 5 * o f deposits toward purchase, lease, o rrental o fproperty o rservices for
   law limits the a m o u n t                                   personal, family, o rhousehold use.           U.S.C. § 507(a)(7).
   entitled t o priority.
                                                        •       W a g e s , salaries, o r c o m m i s s i o n s (up t o        earned within             days before the
                                                                b a n k r u p t c y petition is filed     the debtor's business ends, w h i c h e v e r is earlier.
                                                                11 U . S . C .       507(a)(4).

                                                                T a x e s o rpenalties o w e d t og o v e r n m e n t a l units.                             U.S.C. §          507(a)(8).
                                                                                                                                                                                                                            $ unliquidated

                                                       [71 C o n t r i b u t i o n s t o a n e m p l o y e e b e n e f i t p l a n .               U.S.C. §          507(a)(5).
                                                                                                                                                                                                                            $ unliquidated

                                                                 Other. Specify subsection o f                             U.S.C. §                              that applies.
                                                                                                                                                                                                                            $ unliquidated

                                                        * A m o u n t s are subject to adjustment on                                   a n d every 3 y e a r s after that for c a s e s begun o n o r after the date o f adjustment.



                Sign Below


The person completing                           Check the appropriate                    box:
this proof o fclaim m u s t
sign a n d date it.                                          a mthe creditor.
FRBP
                                                            | a m the creditor's attorney o rauthorized agent.
If y o u file t h i s c l a i m             •                a mthe trustee, o rthe debtor, o rtheir authorized agent. Bankruptcy R u l e 3 0 0 4 .
electronically, F R B P
                                                             a m a guarantor, surety, endorser, o rother codebtor. Bankruptcy R u l e 3 0 0 5 .
5005(a)(2) authorizes courts
to establish local rules
specifying what a signature
                                                  u n d e r s t a n d t h a t a n a u t h o r i z e d s i g n a t u r e o n t h i s Proof of Claim s e r v e s a s a n a c k n o w l e d g m e n t t h a t w h e n c a l c u l a t i n g t h e
                                                a m o u n t o fthe claim, the creditor g a v e the debtor credit for a n y p a y m e n t s received t o w a r d the debt.
A person w h o files a
fraudulent claim could b e                       h a v e e x a m i n e d t h e i n f o r m a t i o n i n t h i s Proof of Claim a n d h a v e a r e a s o n a b l e b e l i e f t h a t t h e i n f o r m a t i o n i s t r u e
fined u pt o $500,000,                          and correct.
imprisoned for u pt o 5
years, o r both.
                                                  d e c l a r e u n d e r p e n a l t y o f p e r j u r y t h a t t h e ff o r e g o i n g i s t r u e a n d c o r r e c t .
1 8 U . S . C . §§152,157, a n d
3571.
                                                Executed o n date
                                                                                   MM f      DD      //   YYYY




                                                        Signature

                                                Print the n a m e o fthe p e r s o n w h o iscompleting a n d signing this claim:


                                            Name                                                                                                                                                        Thomas
                                                                                First n a m e                                              Middle n a m e                                                  Last n a m e


                                            Title                                Assistant General Counsel
                                                                                 Pension Benefit Guaranty Corporation
                                                                                            t h e c o r p o r a t e s e r v i c e r a s t h e c o m p a n y if t h e a u t h o r i z e d a g e n t is a s e r v i c e r .
                                            Company

                                                                                  1200 K Street, N.W., Suite 340
                                                                                Number                       Street
                                            Address                              Washington, D C 20005-4026
                                                                                City                                                                                              State                   ZIP Code

                                            Contact phone
                                                                                 202-326-4020 x 3457                                                                              Email




               Case:
                 Case19-04057
                       19-40193 Doc# 854-1Filed:
                                 Claim           10/02/20
                                              Filed 02/28/19Entered: 10/02/20
                                                              Desc Main       13:34:49 Page
                                                                         Document       Page  650
                                                                                            3 of 3 of
                                                        699                                      243                                                                                                                                                 650
                  A
                           Exhibit 1




Case:
Case 19-04057
      19-40193    Doc#
                  Claim85    Filed:
                         4-1 Part 2 10/02/20    Entered:
                                      Filed 02/28/19     10/02/20
                                                       Desc       13:34:49
                                                             Exhibit 1- PBGCPage  651All
                                                                             Lien on  of
                                           699 (personal) Page 1 of 2
                 property and rights to property                                         651
Case:
Case 19-04057
      19-40193    Doc#
                  Claim85    Filed:
                         4-1 Part 2 10/02/20    Entered:
                                      Filed 02/28/19     10/02/20
                                                       Desc       13:34:49
                                                             Exhibit 1- PBGCPage  652All
                                                                             Lien on  of
                                           699
                 property and rights to property (personal) Page 2 of 2                  652
                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
__________________________________________
                                           )
In re:                                     ) Chapter 7
                                           )
PACIFIC STEEL CASTING COMPANY LLC          ) Case No. 19-40193
                                           )
                                           ) Judge Roger L. Efremsky
                  Debtor.                 )
__________________________________________)

        PENSION BENEFIT GUARANTY CORPORATION’S STATEMENT
 IN SUPPORT OF ITS CLAIM FOR MINIMUM FUNDING CONTRIBUTIONS DUE TO
 THE PENSION PLAN FOR EMPLOYEES OF PACIFIC STEEL CASTING COMPANY

       The Pension Benefit Guaranty Corporation (“PBGC”), on behalf of the Pension Plan for

Employees of Pacific Steel Casting Company (the “Pension Plan”), hereby submits its Statement

in Support of its claim for minimum funding contributions that are due to the Pension Plan,

against Pacific Steel Casting Company LLC (“Debtor”), stating:

       1.      PBGC is a wholly-owned United States government corporation, and an agency of

the United States, that administers the defined benefit pension plan termination insurance program

under Title IV of the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C.

§§ 1301-1461 (2012 & Supp. V 2017) (“ERISA”). PBGC guarantees the payment of certain

pension benefits upon the termination of a single-employer pension plan covered by Title IV of

ERISA. When an underfunded plan terminates, PBGC generally becomes trustee of the plan and,

subject to certain statutory limitations, pays the plan’s unfunded benefits with its insurance funds.

 See 29 U.S.C. §§ 1321-1322, 1342, 1361.

       2.      The Pension Plan is a single-employer defined benefit pension plan covered by

Title IV of ERISA. See 29 U.S.C. § 1321.




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                  Doc# 4-1
                        85 Part
                             Filed:
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                                    Filed 02/28/19     10/02/20
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                                                                            In Support
                                          699 Contributions Page 1 of 4
            of Its Claim For Minimum Funding                                           653
       3.      The Debtor is a contributing sponsor of the Pension Plan, 29 U.S.C. § 1301(a)(13),

or a member of a contributing sponsor’s controlled group, 29 U.S.C. § 1301(a)(14).

       4.      On January 25, 2019, the Debtor filed a voluntary petition under Chapter 7 of the

Bankruptcy Code.

       5.      The contributing sponsor of the Pension Plan and each member of its controlled

group are jointly and severally liable to the Pension Plan for contributions necessary to satisfy the

minimum funding standards under sections 412 and 430 of the Internal Revenue Code (“IRC”)

and sections 302 and 303 of ERISA. IRC § 412(c)(11) (2007) (effective for pension plan years

beginning on or before Dec. 31, 2007); see also 29 U.S.C.A. § 1082(c)(11) (2007) (same); and

IRC § 412(b)(1) & (2) (2009) (effective for pension plan years beginning after Dec. 31, 2007); see

also 29 U.S.C.A. § 1082(b)(1) & (2) (2009) (same).1 If the Pension Plan terminates, this liability

may be owed to PBGC as the trustee appointed under 29 U.S.C. § 1342. See 29 U.S.C. §

1342(d)(1)(B)(ii) (a trustee appointed under § 1342(b) has the power “to collect for the plan any

amounts due the plan, including but not limited to the power to collect from the persons obligated

to meet the requirements of section 1082 of this title or the terms of the plan”) and 29 U.S.C. §

1362(c). Also, the Debtor may be contractually obligated to contribute to the Pension Plan.

       6.      If the contributing sponsor of the Pension Plan and each member of its controlled

group fail to pay a required minimum funding contribution installment or other required payment

before the due date for such installment or payment, and the unpaid balance of such installment or

other payment (including interest), when added to the aggregate unpaid balance of all preceding


       1
          References to the IRC, or to 29 U.S.C.A. §§ 1082 and 1083, with a date of 2007 refer
to the pre-PPA 2006 provisions in effect for pension plan years beginning on or before
December 31, 2007. References with a date of 2009 refer to the PPA 2006 provisions in effect
for pension plan years beginning after December 31, 2007.

                                                  2

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                             Filed:
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                                                                            In Support
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such installments and payments (including interest), exceeds $1 million, a statutory lien arises in

favor of the Pension Plan against the contributing sponsor and each member of its controlled

group upon all property and rights to property, whether real or personal, belonging to such person.

 29 U.S.C. § 1083(k); 26 U.S.C. §§ 412(n), 430(k). This lien is enforceable by PBGC. 26 U.S.C.

§§ 412(n)(5), 430(k)(5).

       7.      On January 24, 2019, PBGC filed a Notice of Federal Lien under 26 U.S.C.

§ 412(n) and/or § 430(k) in the amount of $1,709,146 against the Debtor for past due unpaid

minimum funding contributions and interest owed to the Pension Plan. By filing the Notice of

Federal Lien, PBGC perfected a lien described in 29 U.S.C. § 1083(k) and 26 U.S.C. §§ 412(n),

430(k) against all real and personal property of the Debtor. PBGC lacks sufficient information at

this time to determine the value of all such collateral and property belonging to or owned by the

Debtor. A true and correct copy of the Notice of Federal Lien is attached to this Statement in

Support as Exhibit 1 and is incorporated by reference.

       8.      PBGC files this claim to preserve its rights as a secured creditor in the amount of

$1,709,146.

       9.      If any portion of the secured claim is found to be unsecured, PBGC asserts priority

under 11 U.S.C. § 507(a)(8).

       10.     This is an estimated claim for contributions that are owed to the Pension Plan in the

amount of $1,709,146. In addition to the secured and priority status mentioned above, it is

separately entitled to priority as follows:

               (a)    The normal cost portions of contributions attributable to the post-petition
               period are entitled to administrative priority as ordinary course business expenses.
               11 U.S.C. §§ 503(b), 507(a)(2).

               (b)   The normal cost portion of contributions attributable to the 180-days
               immediately preceding the petition filing date (or cessation of the debtor’s business
                                                  3

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                             Filed:
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               if earlier) are entitled to priority under 11 U.S.C. § 507(a)(5).

       11.     If any portion of this claim is found to be both unsecured and not entitled to

priority, the PBGC asserts such portion as a general unsecured claim.

       12.     Documents supporting this claim include the Pension Plan document with

applicable amendments; relevant collateral agreements, if any; United States Internal Revenue

Service Form 5500s; and annual actuarial valuation reports for the Pension Plan. On information

and belief, Debtor or a member of its controlled group has in its possession and control copies or

originals of these documents.

       13.     PBGC is not aware of any other claim for these contributions having been filed by

any person with responsibility for administering the affairs of the Pension Plan.

       14.     PBGC’s investigation of this matter is continuing. The agency reserves the right to

amend, modify and supplement this proof of claim and/or to file additional proofs of claim. The

filing of this proof of claim is not intended to be and shall not be construed as (1) an election of

remedy or (2) a waiver or limitation of any rights of PBGC, the Pension Plan or any of its

beneficiaries or participants.

Dated: February 28, 2019                               STEPHANIE THOMAS
                                                       Assistant Chief Counsel
                                                       LOUISA A. SOULARD
                                                       Attorney
                                                       PENSION BENEFIT GUARANTY
                                                       CORPORATION
                                                       Office of the General Counsel
                                                       1200 K Street, NW
                                                       Washington, D.C. 20005-4026
                                                       Telephone: (202) 326-4020 ext. 3278
                                                       FAX: (202) 326-4112
                                                       Emails: soulard.louisa@pbgc.gov and
                                                               efile@pbgc.gov




                                                   3

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Case  19-04057 Claim
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                        85 Part
                             Filed:
                                 3 10/02/20   Entered:
                                    Filed 02/28/19     10/02/20
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            of Its Claim For Minimum Funding                                           656
   Fill In this information to identify the case:

   Debtor 1              Pacific Steel Castioa Comoanv LLC
   Debtor 2
   (Spouse, if filing)

   United States Bankruptcy Court for the:    Northern
                                              ----------
                                                                              District of   California
                                                                                            (State)

   Case number           19-40193




 Official Form 410
 Proof of Claim                                                                                                                                                        12/15

 Read the instructions before filling o ut this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form t o
 make a request for payment of an adm inistrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers m ust leave o ut o r redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning . If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the informatio n about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that y ou received.



•:r. ... -       I dentify t he Claim


1. Who is the current
    creditor?
                                    Pension Benefit Guaranty Corporation
                                    Name of the current creditor (the person or entity to be paid for this claim)

                                    Other names the creditor used with the debtor

2. Has t his claim been
                                  [{] No
    acquired from
    someone else?                 D Yes. From whom?

3. Where s hould notices            Where s hould notices to the creditor be sent?                               W here s hould payme nts t o the creditor be sent ? (if
    and payments to the                                                                                          different)
    credit o r be sent?
                                    Office of the General Counsel, Attn : Louisa Soulard
    Federal Rule of                 Name                                                                         Name
    Bankruptcy Procedure
    (FRBP) 2002(9)                  1200 K Street, N.W., Suite 340
                                    Number          Street                                                       Number          Street

                                    Washington, DC 20005-4026
                                    City                              State                           ZIP Code   City                          State                   ZIP Code

                                    Contact phone     202-326-4020 1 x3278                                       Contact phone

                                    Contact email     sou lard.louisa@pbgc.gov                                   Contact email



                                    Unifonm claim identifier for electronic payments in chapter 13 (if you use one):

                                   ------------------- -- ---
4. Does this claim amend          l2J No
   one already filed?
                                  D        Yes. Claim number on court claims registry (if known) ___                                      Filed on
                                                                                                                                                       MM   I DD   I yyyy



5. Do you know if anyone          0        No
   else has fi led a proof        0        Yes. Who made the earlier filing?
   of claim for this claim ?




                                                                                                                                                                241
   Official Fann 410                                                          Proof of Claim                                                                  page 1
          Case:
           Case19-04057
                19-40193 Doc# 8510-1
                          Claim    Filed: 10/02/20
                                       Filed 04/08/19Entered: 10/02/20
                                                        Desc Main      13:34:49 Page
                                                                   Document      Page1657
                                                                                      of 3of
                                                 699                                         657
            Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        [Z] No
   you use to Identify the        D Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:     __
   debtor?



7. How much is the claim?              $_3_2_2_,5_4_6_.6_5_______. Does this amount include Interest or other charges?
                                                                             [Z] No
                                                                              D   Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                       charges required by Bankruptcy Rule 3001 (c}(2)(A).


8. What is the basis of the       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                  Statutory Liability under 29               u.s c,
                                                                 § 1307 on account of the Pacific Steel Casting
                                  Company Defined Benefit Pension Plan. See attached statement.
9. Is all or part of the claim   0     No
   secured?                       D Yes.     The claim is secured by a lien on property.
                                             Nature of property:
                                             D Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                             □ Motor vehicle
                                             D Other. Describe:

                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                             been filed or recorded.)


                                             Value of property:                            $_ _ _ _ _ __

                                             Amount of the claim that is secured:          $_ _ _ _ _ __

                                             Amount of the claim that is unsecured: $_ _ _ _ _ _ _ (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $_ _ _ _ _ _ __



                                             Annual Interest Rate (when case was filed) _ _ _%
                                             D   Fixed
                                             D   Variable


10. ls this claim based on a     [l)   No
    lease?
                                  D    Yes. Amount necessary to cure any default as of the date of the petition.              $ _ _ _ _ _ _ __


11. Is this claim subject to a   @     No   See attached statement.
   right of setoff?
                                 D Yes. Identify the property: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                                                                242
 OfficialCase:41 O19-04057
           Case
         Form      19-40193            Doc# 8510-1
                                        Claim    Filed: 10/02/20
                                                     Filed 04/08/19
                                                          Proof        Entered:
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                                                                699                                             658
12. Is all or part of the claim       D    No
    entitled to priority under
    11 U.S.C. § 507(a)?            [Z] Yes. Check all that apply.·                                                                                  Amount entitled to priority

   A claim may be partly                   D    Domestic support obligations (including alimony and child support) under                           $._ _ _ __ _ _ __
   priority and partly                          11 U. S.C. § 507(a)(1)(A) or (a)(1)(B).
   nonpriority. For example,
   in some categories, the                 D    Up to $2,775' of deposits toward purchase, lease, or rental of property or services for
                                                personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $._ _ _ _ _ _ _ __
   law lim its the amount
   entitled to priority.
                                           0    Wages, salaries, or commissions (up to S12,475') earned within 180 days before the
                                                bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                  S,_ _ _ _ _ _ _ __
                                                11 U.S.C. § 507(a)(4).
                                          [Zl Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                S   unliguidated
                                          D Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $,_ _ _ __ _ __

                                          [Z] Other. Specify subsection of 11 u.s.c. § 507(a)G.l that applies.                                     s unliquidated
                                           • Amounts are subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or after the date of adjustment.




            Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it                 0        I am the creditor.
 FRBP 9011 (b).                   IZ) I am the creditor's attorney or authorized agent.
If you file this claim            0        I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP
5005(a)(2) authorizes courts
                                  0        I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

to establish local rules
specifying what a signature
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
is.
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be         I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000,             and correct.
imprisoned for up to 5
years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
18 U.S.C. §§ 152, 157, and
3571.
                                  Executed on date
                                                                    i       ·W l°\
                                                                  DD    I   YYYY




                                           Signature


                                  Print the name of the person who is completing and signing this claim:


                                  Name                     Stephanie                                                                 Thomas
                                                          First name                           Middle name                            Last name


                                  Title                    Assistant General Counsel
                                  Company                  Pension Benefit Guaranty Corporation
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                  1200 K Street, N.W., Suite 340
                                                          Number             Street

                                                          Washington , DC 20005-4026
                                                          City                                                         State          ZIP Code

                                  Contact phone
                                                           202-326-4020                                                Email
                                                                                                                               thomas.stephanie@pbgc.gov



                                                                                                                                                               243
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        Form     19-40193 Doc# 8510-1
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                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                        THE NORTHERN DISTRICT OF CALIFORNIA

Inre:                                                 )       Chapter 7
                                                      )
PACIFIC STEEL CASTING COMPANY LLC                     )       Case No. 19-40193
                                                      )
                                                      )
                       Debtor.                        )

        STATEMENT OF THE PENSION BENEFIT GUARANTY CORPORATION
         IN SUPPORT OF ITS CLAIM FOR PENSION INSURANCE PREMIUMS

        The Pension Benefit Guaranty Corporation ("PBGC") hereby submits this Statement in

Support of its claim against Pacific Steel Casting Company LLC (the "Debtor") for pension

insurance premiums with respect to the Pacific Steel Casting Company Defined Benefit Pension

Plan (the "Pension Plan"), stating:

        1.     PBGC is a wholly owned United States government corporation, and an agency of

the United States, that administers the defined benefit pension plan termination insurance program

under Title IV of the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C.

§§ 1301-1461 (2012 & Supp. V 2017) ("ERISA"). PBGC guarantees the payment of certain

pension benefits upon the termination of a single-employer pension plan covered by Title IV of

ERISA. When an underfunded plan terminates, PBGC generally becomes trustee of the plan and,

subject to certain statutory limitations, pays the plan's unfunded benefits with its insurance funds.

See 29 U.S.C. §§ 1321-1322, 1342, 1361

        2.     The Pension Plan is a single-employer defined benefit pension plan covered by

Title IV ofERISA. See 29 U.S.C. § 1321

        3.     The Debtor is a contributing sponsor of the Pension Plan, 29 U.S.C. § 1301(a)(13),

or a member of a contributing sponsor's controlled group, 29 U.S.C. § 130l(a)(14).,


                                                  1

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                                                                         Support
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       4.      On January 25, 2019, the Debtor filed a petition for relief under Chapter 7 of the

Bankruptcy Code.

       5.      The contributing sponsor of the Pension Plan or the Pension Plan's Plan

Administrator is the designated payor of PBGC insurance premiums. 29 U.S.C. § 1307(a), (e).

       6.      Each member of the contributing sponsor's controlled group is jointly and severally

liable to PBGC for insurance premiums, interest, and penalties (collectively, "Premiums") with

respect to the Pension Plan. 29 U.S.C. § 1307(e)(2). These Premiums include:

              (a)     Flat-Rate and Variable-Rate Premiums, see 29 U.S.C. § 1306(a)(3), 29

       C.F.R. § 4006.3, and

               (b)    If the Pension Plan terminates in a distress termination pursuant to 29

       U.S.C. §§ 1341(c)(2)(B)(ii) or (iii), or in an involuntary termination under 29 U.S.C. §

       1342, Termination Premiums at the rate of $1,250 per plan participant per year for three

       years. See 29 U.S.C. § 1306(a)(7), as amended by§ 8101(b) the Deficit Reduction Act of

       2005 (Pub. L. 109-171) and by§§ 40l(b) and 402(g)(2)(B) of the Pension Protection Act

       of 2006 (Pub. L. 109-280).

       7.     This is an estimated claim for Premiums that the Debtor owes or will owe to PBGC

in the total amount of $322,546.65, apportioned as follows:

              (a)     Flat- Rate and Variable-Rate Premiums arising after the petition date are

       administrative expenses entitled to priority under 11 U.S.C. §§ 503(b)(l) and 507(a)(2).

       This claim includes Flat- Rate and Variable-Rate Premiums arising after the petition date

       in an unliquidated amount. Alternatively, this claim is entitled to tax priority under 11

       u.s.c. § 507(8).

                                                 2

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               (b)    Flat- Rate and Variable-Rate Premiums arising before the petition date are

       general unsecured claims. This claim includes Flat-Rate and Variable-Rate Premiums

       arising before the petition date in an unliquidated amount.

               (c)    Termination Premiums are asserted as general unsecured claims.

       8.      Documents supporting this claim include the Pension Plan document with

applicable amendments; relevant collateral agreements, if any; United States Internal Revenue

Service Form 5500s; PBGC Annual Premium Payment forms; and annual actuarial valuation

reports for the Pension Plan. On information and belief, the Debtor or a member of its controlled

group has in its possession and control copies or originals of these documents.




                      [Remainder of This Page Intentionally Left Blank]




                                                 3

Case:
  Case19-04057
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        9.      PBGC's investigation of this matter is continuing. The agency reserves the right to

amend, modify, and supplement this proof of claim and/or to file additional proofs of claim. This

claim may be subject to a right of setoffby PBGC as an agency of the United States government,

and the right of the United States to withhold subject to offset amounts due from other federal

entities. The filing of this proof of claim is not intended to be and shall not be construed as (1) an

election of remedy or (2) a waiver or limitation of any rights of PBGC, the Pension Plan or any of

its beneficiaries or participants.


Dated: Washington, D.C.
       April5,2019

Stephanie Thomas
Assistant General Counsel
Louisa A. Soulard
Attorney
Office of the General Counsel
PENSION BENEFIT GUARANTY CORPORATION
1200 K Street, N.W.
Washington, D.C. 20005-4026
(202) 326-4020 ext. 3278
FAX: (202) 326-4112




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Case:
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Case:
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Case:
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                 Claim   Filed:
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Case:
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                 EXHIBIT “14”

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                                         699                                          671
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Pacific Steel Casting Company LLC                                                                              U.S. Bankruptcy Court
                                                                                                                      Northern District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             5/29/2019
 United States Bankruptcy Court           Northern District of California                                              Edward J. Emmons, Clerk
 Case number: 19−40193


Official Form 410
Proof of Claim                                                                                                                                          04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Speyside Fund, LLC
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Speyside Fund, LLC

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  24 Frank Lloyd Wright Drive
                                  Ann Arbor, MI 48106



                                  Contact phone                                                  Contact phone

                                  Contact email                                                  Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




          Case
        Case:   19-40193 Doc#
              19-04057    Claim
                              8527-1
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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      828761.90                      Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Secured Notes and Security Agreement/Money Loaned


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:               All assets


                                    Basis for perfection:                UCC Financing Statement

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $      82876190.00

                                    Amount of the claim that is               $      828761.90
                                    secured:
                                    Amount of the claim that is               $         0.00                       (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                          10         %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




      Case:
        Case19-04057
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                        Claim   Filed:Filed
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                                               699                                          673
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    lawl imits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                5/29/2019

                                                                 MM / DD / YYYY


                                 /s/ Rachel L. Hillegonds

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                  Rachel L. Hillegonds

                                                                      First name       Middle name            Last name
                                 Title

                                 Company                               Miller Johnson

                                                                      Identify the corporate servicer as the company if the authorized agent is a servicer
                                 Address                               Miller Johnson, PO Box 306

                                                                      Number Street
                                                                       Grand Rapids, MI 49501

                                                                      City State ZIP Code
                                 Contact phone             6168311711                           Email


Official Form 410                                                      Proof of Claim                                                   page 3




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                                                                              Attachment
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Case
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               Doc# 27-1
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Case
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               Doc# 27-1
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Case
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Case:
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THIS NOTE AND THE INDEBTEDNESS HEREUNDER IS SUBORDINATE TO THE                                            4

SENIOR LIABILITIES AS DEFINED IN THAT CERTAIN SUBORDINATION
AGREEMENT BY AND AMONG PACIFIC STEEL CASTING COMPANY LLC,
SPEYSIDE FUND LLC, AS AGENT; WELLS FARGO BANK, NATIONAL
ASSOCATION (AS AMENDED, SUPPLEMENTED OR OTHERWISE MODIFIED
FROM TIME TO TIME, THE "SUBORDINATION AGREEMENT"^. ON THE TERMS
AND CONDITIONS THEREIN AND ALL HOLDERS OF THE DEBT HEREUNDER
SHALL BE SUBJECT TO AND BOUND BY THE TERMS THEREOF.



                            SUBORDINATED SECURED NOTE

$4,000,000                                                                   December 30, 2016
                                                                             Berkeley, California

                FOR VALUE RECEIVED, PACIFIC STEEL CASTING COMPANY LLC, a
Delaware limited liability company (the "Borrower"L hei-eby promises to pay to SPEYSIDE
FUND LLC, a Delaware limited liability company, as agent ("Administrative Agent") for itself
and for the account of ALCAST COMPANY, an Illinois corporation and KRISHNAN
VENKATESAN, an individual (in the respective amounts set forth in Exhibit A) (each, a
"Lender"' and, collectively, the "Lenders"), at its of&ce located at on or before June 30, 2019
(die "Maturity Date"), or such earlier date as the principal amount of this Note may become due
in accordance with the provisions hereof, the principal sum of Four Million Dollars ($4,000,000)
or such lesser amount as shall equal the aggregate unpaid principal amount of the loans made by
the Lenders to the Borrower, witli interest thereon, in lawful money of the United States of
America and in immediately available funds, in accordance with the following tenns and
provisions. In no event shall interest hereunder exceed the maximum rate allowed under
Delaware law.

              1.      Tins Note shall be payable as follows:

              (a)    The Borrower shall pay to tire Administrative Agent for tire account of
       each Lender the outstanding principal amount due hereunder on die Maturity Date.

               (b)    The Borrower wiU pay to the Administrative Agent for the account of all
       Lenders in the aggregate interest on the outstanding principal amount due hereunder for
       the period from and including the date hereof to but excluding the date such principal
       amount of this Note shall he paid in frill at the rate (the "Interest Rate") of ten percent
       (10.00%) per annum.

               (c)    The Borrower will pay to the Administrative Agent for the account of all
       Lenders in the aggregate, a prepayment of the outstanding principal amount in the
       amount of one twentieth (1/20) of the original principal amount of each loan advanced
       hereunder. Such payments shall be due and payable quarterly, within one calendar mondi
       after the close of each fiscal quarter of the Borrower, commencing with the quarter
       ending March 31, 2017; provided however, that as of the Bonower's fiscal quarter
       immediately preceding such payment date, the Borrower is in default of any covenant


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        under the Senior Credit Agreement, or would be in default by reason of making the
        principal payment due hereon, or if the conditions to payment under the Subordination
        Agreement aren't satisfied, then such principal prepayment shall be suspended.

                (d)    Notwithstanding the provisions of clause (b) above, if an Event of Default
        (as such term is defined in that certain Credit Agreement dated as of June 2, 2015 by and
        between the Borrower and Wells Fargo Bank, National Association (the ''Senior
        Lender") as heretofore and hereafter amended (such agreement, as amended,
        supplemented or otherwise modified and in effect from time to time, hereinafter referred
        to as the "Senior Credit Agreement") shall occur and be continuing beyond any
        applicable notice and cure period, and shall not have been waived by the lenders under
        the Senior Credit Agreement, the Borrower will pay to the Administrative Agent for tlie
        account of all Lenders in the aggregate interest at the Post-Default Rate (as hereinafter
        defined) on the then outstanding principal amount of this Note and (to tlie fullest extent
        permitted by law) and on any other amount payable by the Borrower hereunder which
        shall not be paid in full when due (whether at stated maturity, by acceleration or
        otherwise), for tlie period from and including the due date thereof to but excluding tlie
        date the same is paid in full; provided, any such interest calculated at the Post-Default
        Rate shall only accrue so long as an Event of Default (as defined in the Senior Credit
        Agreement) shall then be continuing beyond any applicable notice and cure period and
        shall not have been waived under the Senior Credit Agreement. For purposes hereof, the
        term "Post-Default Rate" shall mean a rate per aimum equal to four percent (4.00%)
        above the Interest Rate.

               (e)     Accrued interest on the outstanding principal amount due hereunder shall
        be payable in arrears on the first business day in each calendar month subsequent to the
        date hereof (each, an "Interest Payment Date") commencing with Januaiy 1, 2017, and on
        tlie Maturity Date; provided, that interest payable at the Post-Default Rate shall be
        payable from time to time on demand. All interest hereunder shall be computed on the
        basis of a year of 365 days, and in each case shall be payable for the actual number of
        days elapsed (including the first day but excluding the last day).

               (f)     The amounts and timing of advances of principal amount of the loan
       evidenced hereby is in the discretion of the Administrative Agent, on behalf of the
       Lenders. Tliis is not a revolving note. The principal amount of loans hereunder, once
       repaid, may not be reboiTowed.


                2.     Upon (i) the occuixence and during tiie continuation of an Event of Default
(as defined in the Senior Credit Agreement) beyond any applicable notice and cure period, (ii)
the failure of the Borrower to pay the principal or interest on the loans made hereunder, when
and as the same shall become due and payable, which failure continues for three (3) business
days following tlie due date tliereof, or (iii) the failure of the Borrower to obseive or perfoim any
covenant, condition or agreement contained herein which failure referred to in this clause (hi)
continues for ten (10) days following written notice thereof 6*0111 the Lender to the Borrower
(each, an "Event of Default"), the Administrative Agent may, at its option, by notice to the
Bon-ower declare the entire outstanding principal amount of this Note, together with all accrued



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and unpaid interest thereon and any other amounts payable hereunder, to be immediately due and
payable and the Administrative Agent may proceed to exercise any rights or remedies it may
have herexmder, at law, in equity or otherwise. Notwithstanding anything to the contrary in the
foregoing, if any event described in clause (i) above shall occur and is subsequently cured or
waived by the Senior Lender (as such term is defined in the Subordination Agreement), during
the Standstill Period (as such term is defined below) then, upon payment to the Administrative
Agent of installments of principal hereof or accrued and unpaid interest hereon which would
otherwise have become due during the Standstill Period had such Event of Default not occurred,
then the corresponding Event of Default hereunder shall automatically be cured and waived
hereunder. As used herem, die term "Standstill Period" means the period beginning on the date
of the Event of Default under the Senior Credit Agreement, and ending on the date which such
Event of Default is cured under die express provisions of the Senior Credit Agreement allowing
for the right of cure, if any, or waived in writing by the Senior Lender.


               3.     The Borrower shall have the riglit at any time and from time to time to
prepay the outstanding principal amount due hereunder, in whole or in part, without premium or
penalty.

               4.      The Borrower, for itself and its successors and assigns, hereby waives
presentment, protest, demand, diligence, notice of dishonor and of nonpayment and waives and
renounces all rights to the benefits of any statute of limitations and any moratorium,
appraisement or exemption now provided ot which may hereafter be provided by any Federal or
state statute, including but not limited to exemptions provided by or allowed under the
Bankruptcy Code (as now or hereafter in effect), both as to itself personally and as to all of its
successors and assigns, whether real or personal, against the enforcement and collection of the
obligations evidenced by this Note and any and all extensions, renewals and modifications
hereof.

                5.     Each and every covenant or condition for the benefit of the Administrative
Agent and each Lender contained herein may be waived only by a writing signed by the
Administmtive Agent on its own behalf and on behalf of each Lender; nrovided. however, that
any such waiver by the Administrative Agent or such Lender shall be a waiver only with respect
to the instance for which such waiver is gi"anted and shall not be deemed to be a waiver by the
Administrative Agent or such Lender of the obligation of the Boirower thereafter to perfonn any
other or the same covenant or condition. No failure by the Administrative Agent to accelerate
the indebtedness evidenced hereby by reason of the occurrence of any Event of Default
hereunder, acceptance of a past due installment or indulgence granted from time to time shall be
construed to be a waiver of the right to insist upon tlie prompt payment thereafter or shall be
deemed to be a novation of this Note, a reinstatement of the debt evidenced hereby, or a waiver
of such right of acceleration or any other right, or be construed so as to preclude the exercise of
any right which the Administrative Agent or such Lender may have, whether by the laws of the
state governing this Note, by agreement or otherwise, and the Borrower hereby expressly waives
the benefit of any statute or rule of law or equity which would produce a result contrary to or in
conflict with the foregoing.




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              6.    This Note may be amended or modified only by an instrument in writing
signed by the Borrower and the Administrative Agent on its own behalf and on behalf of each
Lender.

             7.     The Borrower will famish to the Administrative Agent copies of (i) all
reports and other infonnation provided under the Senior Credit Agreement, and (ii) any
amendment or other modification occurring after the date hereof relating to the Senior Credit
Agreement.

               8.      Other than (i) Obligations (as such term is defined in the Senior Credit
Agreement), and (ii) any indebtedness of the Borrower existing on the date hereof, the Borrower
will not, and will not permit any subsidiary thereof to, create, incur, assume or pennit to exist
any indebtedness which by its express terms ranks in priority senior to the loans made hereunder
without the Lender's prior written consent.

               9.      The payment of this Note by tire Borrower, including any principal and
interest thereon, is hereby expressly made subordinate and subject in right of payment to the
prior payment in full of the obligations of the Borrower under tJie Senior Credit Agreement,
pursuant to the tenns of that certain Subordination Agreement between the Lender and the senior
lender.

                 10.     The provisions of this Note shall be binding upon and inure to the benefit
of the parties hereto and their respective successors and assigns; provided, however, the
Borrower shall not assign or transfer its rights hereunder without the prior written consent of the
Administrative Agent on its own behalf and on behalf of each Lender. Each Lender may at any
time assign or sell all or any part of its rights and obligations under this Note to (i) any of its
affiliates without notice to or approval by the Borrower, and (ii) to any other persons approved in
advance by the Borrower, which approval shall not be unreasonably withheld, provided, in each
case, such party agrees to become party hereto. Any actions taken by the Administrative Agent
on behalf of any Lender, including without limitation any amendments of this Note or waiver of
tlie tenns thereof, shall be binding on such Lender. Without limiting the foregoing, payments by
the Bon'ower to the Administrative Agent in accordance with the tenns of this Note shall
constitute tlie satisfaction and discharge in full of the Borrower's obligations to the Lenders with
respect to such payment, and it shall be the sole responsibility of the Administrative Agent to
allocate such payment among the Lenders in the proper manner

                11.    THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH. THF LAW OF THE STATE OF DELAWARE. The Bonower
hereby submits to tlie nonexclusive J urisdiction of the United States District Coiut for the Eastern
District of Michigan and of any Miclugan State Court sitting in Ann Arbor, Michigan for the
purposes of all legal proceedings arising out of or relating to this Note or the transactions
contemplated hereby. The Borrower irrevocably waives, to the fullest extent pennitted by law,
any objection which it may now or hereafter have to the laying of the venue of any such
proceeding brought in such a court and any claim that any such proceeding brought in such a
coui-t has been brought in an inconvenient forum,




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              12.     The Borrower hereby irrevocably waives, to the fullest extent permitted by
law, any and all ri^it to trial by jury in any legal proceeding arising out of or relating to this
Note.

                13.     If any provision hereof is invalid and unenforceable in any applicable
jurisdiction, then, to tlie fullest extent permitted by law, (i) the other provisions hereof shall
remain in full force and effect in such jurisdiction and shall be liberally construed in favor of the
Administrative Agent and the Lenders in order to cairy out the intentions of the parties hereto as
nearly as may be possible and (ii) tlie invalidity or unenforceability of any provision hereof in
any jurisdiction shall not affect the validity or enforceability of such provision in any other
jurisdiction.

                14.    The BoiTower shall pay or reimburse the Lender for pa5dng all reasonable
out of pocket expenses incun'ed by the Administrative Agent and the Lenders, including the
reasonable fees, charges and disbursements of counsel for the Administrative Agent, in
coimection with tliis Note and any other document executed in connection therewith (whether or
not the ti'ansactions contemplated hereby or thereby shall be consummated), including any
amendment, modification or waiver thereof; and all reasonable costs and expenses of the
Administrative Agent and tlie Lenders (including the reasonable fees and expenses of counsel) in
connection with any Event of Default hereunder and any enforcement or collection proceedings
resulting therefrom.

                15.     This Note amends and Restates the Subordinated Secured Note dated as of
October 28, 2016 from the Borrower to the Administrative Agent in the original principal
amount of $1,000,000 (the "Superseded Note"), and evidences $1,000,000 of debt heretofore
evidenced by the Superseded Note.             Nothing herein shall be construed as a novation or
termination of such indebtedness, or otlierwise to interrupt or adversely affect the existence or
priority of any security interests or liens securing such indebtedness.

              16.      Tliis Note is secured by the Security Agreement dated October 28, 2016
between the BoiTOwer and the Administiutive Agent, as collateral agent for the Lenders, and the
Lenders are entitled to the rights and benefits thereof.



                                [SIGNATURE PAGE FOLLOWS]




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               IN \\'^TNESS WHEREOF, the Borrower has caused this Note to be duly
executed by its authorized officers on the day and year &st above written.

                                      PACIFIC STEEL CASTING COMPANY LLC.




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                                   EXHIBIT A



Lender                                      Commitment Amount


SPEYSIDE FUND LLC                           $ 1,960,000



ALCAST COMPANY                              $ 1,960,000



KRISHNAN VENKATESAN                         $    80,000



                                            $ 4,000,000




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